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           EXHIBIT 1
Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 2 of 465
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Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 8 of 465
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           EXHIBIT 2
           Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 10 of 465




SILVERANG, ROSENZWEIG
& HALTZMAN, LLC
By: Mark S. Haltzman, Esquire
PA Atty. ID No. 38957
Woodlands Center
900 E. 8th Avenue, Suite 300
King of Prussia, PA 19406
(610) 263-0115                                      Attorney for Defendant,
mhaltzman@sanddlawyers.com                          Cottman Family, LLC

        IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA
BODO FAMILY, LLC                         :
t/a BODO FAMILY OF MEDIA                 :
LIMITED PARTNERSHIP, ET AL.              :      CIVIL ACTION
                             Plaintiffs, :
                                         :
              v.                         :      DOCKET NO. CV-2021-001678
                                         :
CYNTHIA COTTMAN                          :
                                         :
and                                      :
                                         :
VIRGINIA PALUSKY, as personal            :
representatives of the Estate of         :
Brooke Powell Cottman, ET AL.            :
                             Defendants. :
                     PRAECIPE FOR RULE TO FILE COMPLAINT

TO THE OFFICE OF JUDICIAL SUPPORT:

          Pursuant to Pa.R.C.P. 1037(a), on behalf of Defendant Cottman Family, LLC t/a Cottman
Family Limited Partnership, please issue a Rule upon Plaintiffs Bodo Family, LLC t/a Bodo
Family Media Limited Partnership, directly and derivatively on behalf of Media Station, Inc. t/a
Media Station, a limited partnership, Tunbridge, Inc. t/a Tunbridge, a limited partnership, and
Scarborough Mews, Inc. t/a Scarborough Mews, a limited partnership to file a Complaint within
twenty (20) days hereof or suffer the entry of Judgment of Non Pros.

                                             SILVERANG, ROSENZWEIG
                                             & HALTZMAN, LLC

Dated: February 25, 2021                     By:    /s/ Mark S. Haltzman
                                                    Mark S. Haltzman, Esquire
                                                    PA Atty. ID No. 38957


{01335832;1}                                    1
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               IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA

BODO FAMILY, LLC                                   :
t/a BODO FAMILY OF MEDIA                           :
LIMITED PARTNERSHIP, ET AL.                        :         CIVIL ACTION
                     Plaintiffs,                   :
                                                   :
                  v.                               :         DOCKET NO. CV-2021-001678
                                                   :
CYNTHIA COTTMAN                                    :
                                                   :
and                                                :
                                                   :
VIRGINIA PALUSKY, as personal                      :
representatives of the Estate of                   :
Brooke Powell Cottman, ET AL.                      :
                             Defendants.           :

                               RULE TO FILE COMPLAINT


          AND NOW, this _______ day of ________________, 2021, a Rule is hereby entered

upon Plaintiffs Bodo Family, LLC t/a Bodo Family Media Limited Partnership, directly and

derivatively on behalf of Media Station, Inc. t/a Media Station, a limited partnership, Tunbridge,

Inc. t/a Tunbridge, a limited partnership, and Scarborough Mews, Inc. t/a Scarborough Mews, a

limited partnership to file a Complaint within twenty (20) days after service hereof or suffer the

entry of Judgment of Non Pros pursuant to Pa.R.C.P. 1037(a).



                                             ______________________________
                                             OFFICE OF JUDICIAL SUPPORT




{01335832;1}
           Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 12 of 465




SILVERANG, ROSENZWEIG
& HALTZMAN, LLC
By: Mark S. Haltzman, Esquire
PA Atty. ID No. 38957
Woodlands Center
900 E. 8th Avenue, Suite 300
King of Prussia, PA 19406
(610) 263-0115                                           Attorney for Defendants,
mhaltzman@sanddlawyers.com                               Cottman Family, LLC

               IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA

BODO FAMILY, LLC                                     :
t/a BODO FAMILY OF MEDIA                             :
LIMITED PARTNERSHIP, ET AL.                          :           CIVIL ACTION
                     Plaintiffs,                     :
                                                     :
                  v.                                 :           DOCKET NO. CV-2021-001678
                                                     :
CYNTHIA COTTMAN                                      :
                                                     :
and                                                  :
                                                     :
VIRGINIA PALUSKY, as personal                        :
representatives of the Estate of                     :
Brooke Powell Cottman, ET AL.                        :
                             Defendants.             :

                                CERTIFICATE OF SERVICE
          The undersigned hereby certifies that on the date set forth below the attached Praecipe
for Rule to File Complaint, was served via the Court’s ECF system and U.S. First Class Mail
according to the Pennsylvania Rules of Civil Procedure, on all parties and/or counsel of record as
follows:
                                   Eugene F. Jarrell, III, Esquire
                                         Attorney at Law
                                       334 W. Front Street
                                        Media, PA 19063
                                      Attorney for Plaintiffs

                                              SILVERANG, ROSENZWEIG
                                              & HALTZMAN, LLC

Dated: February 25, 2021                      By:        /s/ Mark S. Haltzman
                                                         Mark S. Haltzman, Esquire
                                                         PA Atty. ID No. 38957
{01335832;1}                                     1
Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 13 of 465




            EXHIBIT 3
         Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 14 of 465


SILVERANG, ROSENZWEIG
& HALTZMAN, LLC
By: Mark S. Haltzman, Esquire
PA Atty. ID No. 38957
Woodlands Center
900 E. 8th Avenue, Suite 300
King of Prussia, PA 19406
(610) 263-0115                                              Attorney for Defendant,
mhaltzman@sanddlawyers.com                                  Cottman Family, LLC

           IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA

BODO FAMILY, LLC                                        :
t/a BODO FAMILY OF MEDIA                                :
LIMITED PARTNERSHIP, ET AL.                             :           CIVIL ACTION
                     Plaintiffs,                        :
                                                        :
                v.                                      :           DOCKET NO. CV-2021-001678
                                                        :
CYNTHIA COTTMAN                                         :
                                                        :
and                                                     :
                                                        :
VIRGINIA PALUSKY, as personal                           :
representatives of the Estate of                        :
Brooke Powell Cottman, ET AL.                           :
                             Defendants.                :

                     PRAECIPE TO ENTER JUDGMENT OF NON PROS

TO THE PROTHONOTARY:
        Kindly enter a Judgment of Non Pros in favor of Defendant Cottman Family, LLC t/a Cottman

Family Limited Partnership (“Cottman Family, LLC”) and against Plaintiffs Bodo Family, LLC t/a Bodo

Family Media Limited Partnership, directly and derivatively on behalf of Media Station, Inc. t/a Media

Station, a limited partnership, Tunbridge, Inc. t/a Tunbridge, a limited partnership, and Scarborough Mews,

Inc. t/a Scarborough Mews, a limited partnership (“Plaintiffs”) for failure to file a Complaint in the above-

captioned matter.

         A Writ of Summons was issued on behalf of the Plaintiffs against Defendants on or about

February 18, 2021. A true and correct copy of the Writ of Summons is hereto attached as

Exhibit 1.

{01348320;1}
         Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 15 of 465


         A Rule to File Complaint was issued and served upon the Plaintiffs on February 25, 2021

pursuant to Pa.R.C.P. 1037(a). A true and correct copy of the Rule to File Complaint is attached

hereto as Exhibit 2.

        Plaintiffs failed to file a Complaint within twenty (20) days of the issuance of the Rule to

File Complaint.

        After the passage of such twenty (20) days from the issuance of such rule without the

filing of a complaint, i.e. on or before March 17, 2021, notice pursuant to Pa.R.C.P. 237.4 was

served upon Plaintiffs and their counsel on March 19, 2021. A true and correct copy of that

notice is attached hereto as Exhibit 3.

         More than 10 days have now passed since service of the notice pursuant to Rule 237.4,

however, no Complaint has been filed by Plaintiffs in this action against Defendants.

         Pursuant to Pa.R.Civ.P. 1037(a), kindly enter Judgment Non Pros against Plaintiffs and in

favor of Defendant Cottman Family, LLC t/a Cottman Family Limited Partnership in the above-

captioned action for failure to file a Complaint, in the form attached.

                                       Respectfully submitted,

                                       SILVERANG, ROSENZWEIG
                                       & HALTZMAN, LLC

Date: March 30, 2021                   By:    /s/ Mark S. Haltzman
                                              Mark S. Haltzman, Esquire
                                              WOODLANDS CENTER
                                              900 East 8th Avenue, Suite 300
                                              King of Prussia, PA 19406
                                              (610) 263-0115
                                              Attorney for Defendant,
                                              Cottman Family, LLC




{01348320;1}
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 16 of 465


         IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA

BODO FAMILY, LLC                                   :
t/a BODO FAMILY OF MEDIA                           :
LIMITED PARTNERSHIP, ET AL.                        :          CIVIL ACTION
                     Plaintiffs,                   :
                                                   :
               v.                                  :          DOCKET NO. CV-2021-001678
                                                   :
CYNTHIA COTTMAN                                    :
                                                   :
and                                                :
                                                   :
VIRGINIA PALUSKY, as personal                      :
representatives of the Estate of                   :
Brooke Powell Cottman, ET AL.                      :
                             Defendants.           :

                                JUDGMENT OF NON PROS

       AND NOW, this ____ day of ___________, 2021, Judgment is hereby entered against

Plaintiffs Bodo Family, LLC t/a Bodo Family Media Limited Partnership, directly and

derivatively on behalf of Media Station, Inc. t/a Media Station, a limited partnership, Tunbridge,

Inc. t/a Tunbridge, a limited partnership, and Scarborough Mews, Inc. t/a Scarborough Mews, a

limited partnership and in favor of Defendant, Cottman Family, LLC t/a Cottman Family

Limited Partnership (“Plaintiffs”) for failure to file a Complaint within twenty (20) days of

service of a Rule pursuant to Pa.R.Civ.P. 1037(a), and within ten (10) days of service of a Rule

237.4 Notice, dismissing with prejudice the above-captioned action and forever barring any

further action by Plaintiffs and against Defendants under or related to this action which is the

subject of the above-captioned case.

                                                       PROTHONOTARY



                                                       By: __________________________
Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 17 of 465




            EXHIBIT 1
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 18 of 465



 IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY PENNSYLVANIA
                        CIVIL ACTION LAW


BQdo Family LLC t/a Bode Family of
Media Limited Partnership, directly and derivatively on
behalf ofMedia Station Inc t/a Media Station L P                                                No CV 2021 00                   ‘7 5/
Tunbrldge, Inc t/a Tunbridge, L P , and Scarborough                                                          ,.   ) L0
Mews, Inc t/a Scarborough Mews, L P                                                                                 U1
                      Rlamtiffs                                                                              kW (6



Cynt1ua Cottman aka Cindy Cottman and Virginia Palusky
                                                                                                             8 K! Mg
                                                                                                Jury Trial Demanded      00‘;
aka Vuginia Powell Cottman Palusky as personal
representatives of the Estate of Brooke Powell Cottman, et a1
(See attached List of Defendants)
                        Defendants

                                   PRAECIPE FOR WRIT OF SUMMONS

TO THE OFFICE OF JUDICIAL SUPPORT

Issue summons in the civil action in the above case and forward to ( ) Sheriff or (X) Attorney

                                                     /s/ Eu ene F Jarrell 111
                                                     Signature of Attorney / Pro Se
                                                     Eugene F Jamel] III
                                                     334 W Front Street
                                                     Media PA 19063
                                                     610 565 7070
                                                     ef1arrell@gmail com
                                                     Name/Address/Telephone Number of Attorney/Pro Se

Date     Februa                16 2021               Attorney Supreme Court ID Number 34748
                      ‘13:.“
   *              *            *         ’1‘     *      *      ’1‘             =14        *        *     *        *       31¢

         _                                     WRIT OF SUMMONS IN CIVIL ACTION
         5115':

TO C nthia Cottman aka Cind Cottman and Vir inia Palusk aka Vir ima Powe11 Cottman
Palus        as ersonal re resentatives of the Estate of Brooke Powell Cottman Cottman Famil
LLC t/a Cottman Famil LP C nthia Cottman aka Cind Cottman Vir ima Powell Cottman
Palusk       Media Statlon Inc t/a Medla Station L P Tunbrid e Inc t/a Turibrid e L P ahd
Scarborou h Mews Inc t/a Scarborou h Mews ’1 P                                                                                      ‘3‘.
                                                                     v.21                                                           1‘,

YOU ARE NOTIFIED THAT THE ABOVE NAMED PL                                                      IF (S) I   SW                         :
COMMENCED AN ACTION AGAINST YOU .                                                                                                   {gig

   te    02—] (0 low                                                       I         M           k, Esquire Director
             %\                                                        ‘             Ofﬁce of Judicial Support                  [SSUED
                                                                                                   7”                   0216 2021 Q3 41 PM
  Eizg 1:?                                                                           By                               °‘EE‘E£§X#£L°6$%4$$:§ERT
       Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 19 of 465




IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                       CIVIL ACTION LAW


Bodo Family LLC t/a Bodo Family of Media Limited
Partnership, directly and derivatively on behalf of
Media Station, Inc t/a Media Station, a limited partnership,
Tunbrldge, Inc t/a Tunbridge, a limited partnership, and
Scarborough Mews, Inc t/a Scarborough Mews, a limited          No CV 2021 ﬂﬂ/é7g)
partnershlp
202 Coventry Lane
Media PA 19063

                       Plaintiffs

               V

Cynthia Cottman aka Cindy Cottman and Virginia Palusky
aka Virginia Powell Cottman Palusky as personal
representatlves 0f the Estate of Brooke Powell Cottman,
254 Stanwich Road
Greenwich CT 06830


Cottman Famlly, LLC t/a Cottman Family Limited
Partnership,
340 Media Station Road
Media PA 19063

Cynthia Cottman aka Cindy Cottman,
254 Stanwich Road
Greenwich CT 06830

Virginia Powell Cottman Palusky,
111 N W 6th Street
Delray Beach FL

Medla Statlon, Inc t/a Media Station, a limited partnershlp,
340 Media Station Road
Medla PA 19063

Tunbridge, Inc t/a Tunbridge, a limited partnership, and
340 Media Station Road
Media PA 19063
      Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 20 of 465




Scarborough Mews, Inc t/a Scarborough Mews, a limited
partnership
340 Media Station Road
Medla PA 19063
                     Defendants
Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 21 of 465
Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 22 of 465




            EXHIBIT 2
           Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 23 of 465




SILVERANG, ROSENZWEIG
& HALTZMAN, LLC
By: Mark S. Haltzman, Esquire
PA Atty. ID No. 38957
Woodlands Center
900 E. 8th Avenue, Suite 300
King of Prussia, PA 19406
(610) 263-0115                                      Attorney for Defendant,
mhaltzman@sanddlawyers.com                          Cottman Family, LLC

        IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA
BODO FAMILY, LLC                         :
t/a BODO FAMILY OF MEDIA                 :
LIMITED PARTNERSHIP, ET AL.              :      CIVIL ACTION
                             Plaintiffs, :
                                         :
              v.                         :      DOCKET NO. CV-2021-001678
                                         :
CYNTHIA COTTMAN                          :
                                         :
and                                      :
                                         :
VIRGINIA PALUSKY, as personal            :
representatives of the Estate of         :
Brooke Powell Cottman, ET AL.            :
                             Defendants. :
                     PRAECIPE FOR RULE TO FILE COMPLAINT

TO THE OFFICE OF JUDICIAL SUPPORT:

          Pursuant to Pa.R.C.P. 1037(a), on behalf of Defendant Cottman Family, LLC t/a Cottman
Family Limited Partnership, please issue a Rule upon Plaintiffs Bodo Family, LLC t/a Bodo
Family Media Limited Partnership, directly and derivatively on behalf of Media Station, Inc. t/a
Media Station, a limited partnership, Tunbridge, Inc. t/a Tunbridge, a limited partnership, and
Scarborough Mews, Inc. t/a Scarborough Mews, a limited partnership to file a Complaint within
twenty (20) days hereof or suffer the entry of Judgment of Non Pros.

                                             SILVERANG, ROSENZWEIG
                                             & HALTZMAN, LLC

Dated: February 25, 2021                     By:    /s/ Mark S. Haltzman
                                                    Mark S. Haltzman, Esquire
                                                    PA Atty. ID No. 38957


{01335832;1}                                    1
           Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 24 of 465




               IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA

BODO FAMILY, LLC                                   :
t/a BODO FAMILY OF MEDIA                           :
LIMITED PARTNERSHIP, ET AL.                        :         CIVIL ACTION
                     Plaintiffs,                   :
                                                   :
                  v.                               :         DOCKET NO. CV-2021-001678
                                                   :
CYNTHIA COTTMAN                                    :
                                                   :
and                                                :
                                                   :
VIRGINIA PALUSKY, as personal                      :
representatives of the Estate of                   :
Brooke Powell Cottman, ET AL.                      :
                             Defendants.           :

                               RULE TO FILE COMPLAINT


          AND NOW, this _______ day of ________________, 2021, a Rule is hereby entered

upon Plaintiffs Bodo Family, LLC t/a Bodo Family Media Limited Partnership, directly and

derivatively on behalf of Media Station, Inc. t/a Media Station, a limited partnership, Tunbridge,

Inc. t/a Tunbridge, a limited partnership, and Scarborough Mews, Inc. t/a Scarborough Mews, a

limited partnership to file a Complaint within twenty (20) days after service hereof or suffer the

entry of Judgment of Non Pros pursuant to Pa.R.C.P. 1037(a).



                                             ______________________________
                                             OFFICE OF JUDICIAL SUPPORT




{01335832;1}
           Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 25 of 465




SILVERANG, ROSENZWEIG
& HALTZMAN, LLC
By: Mark S. Haltzman, Esquire
PA Atty. ID No. 38957
Woodlands Center
900 E. 8th Avenue, Suite 300
King of Prussia, PA 19406
(610) 263-0115                                           Attorney for Defendants,
mhaltzman@sanddlawyers.com                               Cottman Family, LLC

               IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA

BODO FAMILY, LLC                                     :
t/a BODO FAMILY OF MEDIA                             :
LIMITED PARTNERSHIP, ET AL.                          :           CIVIL ACTION
                     Plaintiffs,                     :
                                                     :
                  v.                                 :           DOCKET NO. CV-2021-001678
                                                     :
CYNTHIA COTTMAN                                      :
                                                     :
and                                                  :
                                                     :
VIRGINIA PALUSKY, as personal                        :
representatives of the Estate of                     :
Brooke Powell Cottman, ET AL.                        :
                             Defendants.             :

                                CERTIFICATE OF SERVICE
          The undersigned hereby certifies that on the date set forth below the attached Praecipe
for Rule to File Complaint, was served via the Court’s ECF system and U.S. First Class Mail
according to the Pennsylvania Rules of Civil Procedure, on all parties and/or counsel of record as
follows:
                                   Eugene F. Jarrell, III, Esquire
                                         Attorney at Law
                                       334 W. Front Street
                                        Media, PA 19063
                                      Attorney for Plaintiffs

                                              SILVERANG, ROSENZWEIG
                                              & HALTZMAN, LLC

Dated: February 25, 2021                      By:        /s/ Mark S. Haltzman
                                                         Mark S. Haltzman, Esquire
                                                         PA Atty. ID No. 38957
{01335832;1}                                     1
             Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 26 of 465




                 IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY PA

     BODO FAMILY, LLC
     t/a BODO FAMILY OF MEDIA
     LIMITED PARTNERSHIP ET AL                                   CIVIL ACTION
                                  Plamttfjﬁv

                     v                                           DOCKET NO CV 2021 001678

     CYNTHIA COTTMAN

     and

     VIRGINIA PALUSKY, as personal
     representatives of the Estate of
     Brooke Powell Cottman, ET AL                                                                                           3
                                                                                                                            5
                                  Defendants

                                    RULE TO FILE COMPLAINT                                                                  .


I:                          .        +5 day of Qhﬂégxﬂ§                            .                                        E
               AND NOW    th1s   $5                                  2021 a Rule Is hereby entered

     upon Plaintiffs Bodo Family, LLC t/a Bodo Family Media Limited Partnership, directly and

     derivativer on behalf of Media Station, Inc t/a Media Station, a limited partnership, Tunbridge,
I
y    Inc t/a Tunbridge, a limited partnership, and Scarborough Mews, Inc t/a Scarborough Mews, a

     limited partnership to ﬁle a Complaint within twenty (20) days aﬂer service hereof or suffer the

3    entry of Judgment of Non Pros pursuant to Pa R C P 1037(a)


                                                    7               I Ma                                                    .
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                                                                I

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Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 27 of 465
Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 28 of 465




            EXHIBIT 3
           Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 29 of 465




SILVERANG ROSENZWEIG
& HALTZMAN LLC
By Mark S Haltzman, Esquire
PA Atty ID No 38957
Woodlands Centel
900 E 8‘1‘Avenue, Suite 300
King of Prussia PA 19406
(610) 263 0115                                     Arte; neyfor Defendant
mhaltzman@sanddlawyers com                         Cottman Famzly LLC

       IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY PA
BODO FAMILY LLC
t/a BODO FAMILY OF MEDIA
LIMITED PARTNERSHIP ET AL                CIVIL ACTION
                     Plamtszv

               v                                           DOCKET NO CV 2021 001678

CYNTHIA COTTMAN

and

VIRGINIA PALUSKY as personal
lepl esentatives of the Estate of
B1 coke Powell Cottman, ET AL
                              Defendants

TO
        Bodo Family LLC                            Bodo Family LLC
        t/a Bodo Family of Media Limited t/a Bodo Family of Media Limited
        Partnership, directly and derivatively 0n Partnelship, directly and delivatively on
        behalf of Media Station, Inc t/a Media behalf of Media Station, Inc t/a Media
        Station, a limited paltneIShip Tunbridge, Station, a limited partnelship, Tunbridge
        Inc t/a Tunbridge, a limited partne1ship Inc t/a Tuanidge, a limited partnership,
        and     Scalborough    Mews,    Inc    t/a and    Scarbmough         Mews, Inc   t/a
        Scarborough Mews, a limited partnership    ScaIborough Mews, a limited partnelship
        202 Coventry Lane                          Eugene F Jewell III, Esquire
        Media PA 19063                             Attomey at Law
                                                   334 W Flont Street
                                                   Media PA 19063
                                                   Arm; mayfor Plall’lflffS‘

DATE OF NOTICE March 19 2021

                               IMPORTANT NOTICE
                        PURSUANT TO PENNSYLVANIA RULE OF
                              CIVIL PROCEDURE 237 4


{01344424 2}                                   1
           Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 30 of 465




  YOU ARE IN DEFAULT BECAUSE YOU HAVE FAILED TO FILE A COMPLAINT IN
  THIS CASE UNLESS YOU ACT WITHIN TEN DAYS FROM THE DATE OF THIS
  NOTICE A JUDGMENT MAY BE ENTERED AGAINST YOU WITHOUT A HEARING
  AND YOU MAY LOSE YOUR RIGHT TO SUE THE DEFENDANT AND THEREBY
  LOSE PROPERTY OR OTHER IMPORTANT RIGHTS

  YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE IF YOU DO NOT
  HAVE A LAWYER GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW THIS
  OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER

  IF YOU CANNOT AFFORD TO HIRE A LAWYER THIS OFFICE MAY BE ABLE TO
  PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
  SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE

                               Lawye1 s’ Refel r211 Sex vice
                                   Delawale County
                               Front and Lemon Sn eets
                                   Media PA 19063
                                    (610) 566 6625
                                  TTY (215) 451 6197

                                         SILVERAN  OSENZWEIG
                                         & HALT M N LC


                                                 Mark S Halt nan, Esquire
                                                 Attorney ID N 2389
                                                 Woodlands Cen}el
                                                 900 East 8‘“ Avenue, Suite 300
                                                 King ofPrussia PA 19406
                                                 (610) 263 0115
                                                 AttorneystI Defendant Coftman Famzly
                                                 LLC t/a Cottman Famzly Limited
                                                 Pal m6) sth




{01344424 2}                                2
                Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 31 of 465




SILVERANG ROSENZWEIG
& HALTZMAN LLC
By Mark S Haltzman, Esquile
PA Atty ID No 38957
Woodlands Center
900 E 8‘“ Avenue, Suite 300
King ofPlussia PA 19406
(610) 263 0115                                   Attorneyfm Defendant
mhaltzman@sanddlayyels com                              C0ttmcm Famzly LLC

         IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY PA
BODO FAMILY LLC
t/a BODO FAMILY OF MEDIA
LIMITED PARTNERSHIP ET AL                  CIVIL ACTION
                       Plamtzﬂs

                    v                                               DOCKET NO CV 2021 001678

CYNTHIA COTTMAN

and

VIRGINIA PALUSKY as personal
lepresentatives of the Estate of
Brooke Powell Cottman, ET AL
                          Defendants
                                    CERTIFICATE OF SERVICE

           The undelsigned heleby certiﬁes that on the date set forth below the attached [0 day notice
and this Celtiﬁcale ofSez wee was sewed pursuant to Pennsylvania Rules of Civil Pxocedule 237 4
Via Filst Class Mail, upon the following
                                      Eugene F Jauell, 111, Esquire
                                           Attorney at Law
                                           334 W Front Sheet
                                             Media PA 19063
                                          A Ital neyf0] Plamttﬁfs

                                           Bodo Family LLC
                                           202 Coventry Lane
                                            Media PA 19063

                                                         SILVERANG ROSENZWEIG
                                                         & HALTZMAN LLC

Date March 19 2021                               By      /s/ Malk S Haltzman
                                                         Malk S Haltzman, Esquile
                                                         Attomey ID No 38957



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Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 32 of 465
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         Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 34 of 465


SILVERANG, ROSENZWEIG
& HALTZMAN, LLC
By: Mark S. Haltzman, Esquire
PA Atty. ID No. 38957
Woodlands Center
900 E. 8th Avenue, Suite 300
King of Prussia, PA 19406
(610) 263-0115                                          Attorney for Defendants,
mhaltzman@sanddlawyers.com                              Cottman Family, LLC

           IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PA

BODO FAMILY, LLC                                    :
t/a BODO FAMILY OF MEDIA                            :
LIMITED PARTNERSHIP, ET AL.                         :           CIVIL ACTION
                     Plaintiffs,                    :
                                                    :
                v.                                  :           DOCKET NO. CV-2021-001678
                                                    :
CYNTHIA COTTMAN                                     :
                                                    :
and                                                 :
                                                    :
VIRGINIA PALUSKY, as personal                       :
representatives of the Estate of                    :
Brooke Powell Cottman, ET AL.                       :
                             Defendants.            :

                                CERTIFICATE OF SERVICE
         The undersigned hereby certifies that on the date set forth below the attached Praecipe to
Enter Judgment of Non Pros, was served via the Court’s ECF system and U.S. First Class Mail
according to the Pennsylvania Rules of Civil Procedure, on all parties and/or counsel of record as
follows:
                                   Eugene F. Jarrell, III, Esquire
                                         Attorney at Law
                                       334 W. Front Street
                                        Media, PA 19063
                                      Attorney for Plaintiffs

                                              SILVERANG, ROSENZWEIG
                                              & HALTZMAN, LLC

Dated: March 30, 2021                         By:       /s/ Mark S. Haltzman
                                                        Mark S. Haltzman, Esquire
                                                        PA Atty. ID No. 38957



{01348320;1}
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            EXHIBIT 4
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     IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY,
              PENNSYLVANIA OFFICE OF JUDICIAL SUPPORT

                           RULE OF CIVIL PROCEDURE NO. 236

Bodo Family LLC t/a Bodo Family of Media Limited
Partnership directly and derivatively on behalf of Media
Station Inc t/a Media Station LP Turnbridge Inc t/a
Turnbridge LP Scarborough Mews Inc t/a Scarborough
Mews Lp,
            Plaintiff
                                                            No. CV-2021-001678
v.

Cynthia Cottman Aka Cindy Cottman personal
representatives of the Estate of Brooke Powell Cottman
et al,
          Defendant.


      NOTICE IS GIVEN UNDER PENNSYLVANIA RULE OF CIVIL PROCEDURE NO. 236 THAT A

JUDGMENT IN THE ABOVE CASE HAS BEEN ENTERED ON 03-31-2021.



                                            SIGNED         2021-03-31

                                            PER            Office of Judicial Support



     TIME AND LEGAL LIABILITY DO NOT PERMIT THE OFFICE OF JUDICIAL
SUPPORT TO GIVE DOCKET INFORMATION BY TELEPHONE.
                                      NO EXCEPTIONS!

                 PUBLIC ACCESS INFORMATION: www.co.delaware.pa.us

CC: JARRELL III, EUGENE F, Cynthia Cottman Aka Cindy Cottman personal representatives
of the Estate of Brooke Powell Cottman, Virginia Palusky, Aka Virginia Powell Cottman Palusky
Personal Representative Of The Estate Of Brooke Powell Cottman, Cynthia Cottman Aka Cindy
Cottman, Virginia Powell Cottman Palusky, Media Station Inc t/a Media Station a limited
partnership, Tunbridge Inc t/a Tunbridge a limited partnership, Scarborough Mews inc t/a
Scarborough Mews a limited partnership, HALTZMAN, MARK S

HALTZMAN, MARK S CV-2021-001678
595 E LANCASTER AVENUE
SUITE 203
ST DAVIDS PA 19087-0000
Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 37 of 465




            EXHIBIT 5
            Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 38 of 465
      IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                COVER SHEET - NOTICE OF FILING OF MOTION OR PETITION UNDER
                             LOCAL RULES OF CIVIL PROCEDURE

CASE CAPTION:                                                        CIVIL CASE NO.

Bodo Family LLC et al v. Cynthia Cottman, et al                      CV-2021-001678

NATURE OF MATTER FILED: (please check one)

✔ Petition Pursuant to Rule 206.1             Response to Petition        Motion for Judgment on the
                                                                          Pleadings Pursuant to Rule 1034(a)
   Motion Pursuant to Rule 208.1              Response to Motion          Summary Judgment
                                                                          Pursuant to Rule 1035.2
   Family Law Petition/Motion Pursuant to Rule 206.8

  FILING PARTY IS RESPONSIBLE FOR SERVICE OF THE RULE RETURNABLE
              DATE OR HEARING DATE UPON ALL PARTIES
                                                                                April
                                                                    12th day of ____________,
A motion or petition was filed in the above captioned matter on the ____                      2021 which:
                                                                                              ______,
✔ Requires you, Respondent, to file an Answer within twenty (20) days of the above date to this notice, or risk
the entry of an Order in favor of the Petitioner. Answers must be filed and time stamped by the Office of
                                                  May
Judicial Support by 4:30 PM on the following date _______________ 1
                                                                  _____, 2021
                                                                         ________.


   Requires all parties, to appear at a hearing/conference on the ____ day of _____________, _______,
at _____ in Courtroom ____, Delaware County Courthouse, Media, Pennsylvania. At this hearing/conference
you must be prepared to present all testimony and/or argument, and must ensure that your witnesses will be
present.


   Was timely answered, thus requiring the scheduling of the following hearing in the above captioned matter
on: _______________ _____, ________ at 10:00 AM in Courtroom _____.

At this hearing, all parties must be prepared to present all testimony and/or argument and must ensure that
their witnesses will be present.


   Qualifies as an Uncontested Motion or Petition, and as such requires neither an answer from the Respondent
nor the scheduling of a hearing in this matter.


   Has been assigned to Judge _____________________________________.

                                           FOR OFFICE USE ONLY

Mailing date:                                           Processed by:
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 39 of 465




IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                       CIVIL ACTION-LAW


Bodo Family, LLC t/a Bodo Family of Media             :
Limited Partnership, directly and derivatively on
behalf of Media Station, Inc. t/a Media Station, a :                   No. CV-2021-001678
limited partnership,
Tunbridge, Inc. t/a Tunbridge, a limited partnership, :
and Scarborough Mews, Inc. t/a Scarborough
Mews, a limited partnership                           :

                       Plaintiffs                     :
               v.                                     :

Cynthia Cottman aka Cindy Cottman and Virginia :
Palusky aka Virginia Powell Cottman Palusky as
Personal representatives of the Estate of Brooke :
Powell Cottman;
                                                 :
Cottman Family, LLC t/a Cottman Family Limited
Partnership, et al.                              :

                       Defendants                     :


                                               ORDER

       ORDER, Now this                day of              2021, upon Plaintiffs’ Petition to Open

Judgment of Non Pros Pursuant to Pa.R.C.P. 237.3, and any response thereto, and said Petition

being filed within 10 days after entry of a Judgment of Non Pros on the docket, the Court hereby

ORDERS and DECREES that the Judgment of Non Pros is hereby OPENED. Plaintiffs shall file

the proposed Complaint within 10 days of notice of this Order.



                                                      By the Court:



                                                      _______________________________
                                                                                    J.
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IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                       CIVIL ACTION-LAW


Bodo Family, LLC t/a Bodo Family of Media             :
Limited Partnership, directly and derivatively on
behalf of Media Station, Inc. t/a Media Station, a :               No. CV-2021-001678
limited partnership,
Tunbridge, Inc. t/a Tunbridge, a limited partnership, :
and Scarborough Mews, Inc. t/a Scarborough
Mews, a limited partnership                           :

                       Plaintiffs                     :
               v.                                     :

Cynthia Cottman aka Cindy Cottman and Virginia :
Palusky aka Virginia Powell Cottman Palusky as
Personal representatives of the Estate of Brooke :
Powell Cottman;
                                                 :
Cottman Family, LLC t/a Cottman Family Limited
Partnership, et al.                              :

                       Defendants                     :


     PLAINTIFFS’ PETITION TO OPEN JUDGMENT OF NON PROS PURSUANT TO
                               PA.R.C.P. 237.3


1.     Petitioners Bodo Family, LLC t/a Bodo Family of Media Limited Partnership, directly and

derivatively on behalf of Media Station, Inc. t/a Media Station, a limited partnership, Tunbridge,

Inc. t/a Tunbridge, a limited partnership, and Scarborough Mews, Inc. t/a Scarborough Mews, a

limited partnership are Plaintiffs in the above caption action.

2.     Respondents are Defendants Cottman Family, LLC trading as Cottman Family Limited

Partnership, and the remaining Defendants.

3.     On February 16, 2021, Plaintiffs, by and through their attorney Eugene F. Jarrell, III,

initiated an action against the Respondents/Defendants by Praecipe for Writ of Summons.
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 41 of 465




4.     A Writ of Summons in Civil Action was issued against all the above named Defendants by

the appropriate representative of the Office of Judicial Support on February 16, 2021.

5.     Plaintiffs’ counsel’s name, address, telephone number, email address and attorney I.D.

number were set forth in the Praecipe for Writ of Summons.

6.     Plaintiffs’ counsel has been a registered attorney with the Delaware County efile system

since at least 2018 through the present.

7.     On or about February 25, 2021, attorney Mark S. Haltzman, Esquire entered his appearance

on behalf of “Defendant, Cottman Family, LLC t/a Cottman Family Limited Partnership”.

8.     On or about February 25, 2021, attorney Haltzman filed a Praecipe for Rule to File a

Complaint which resulted in a Rule being issued upon Plaintiffs to file a Complaint.

9.     Plaintiffs counsel, Eugene F. Jarrell, III, Esquire, despite being registered with the

Delaware County efile system and being identified by name, address, telephone number, email

address and attorney I.D. number on the Praecipe for Writ of Summons, did not receive an email

from the Delaware County efile system of attorney Haltzman’s Entry of Appearance, Praecipe for

Rule to File a Complaint or Rule to File a Complaint to any of the email addresses registered with

the Delaware County efile system, specifically efjarrell@gmail.com, ef.jarrell@verizon.net and

gene.jarrel@gmail.com.

10.    Although attorney Haltzman separately certified that the Entry of Appearance, Praecipe for

Rule to File a Complaint and Rule to File a Complaint were served by U.S. first class mail to

Eugene F. Jarrell, III, Esquire at his address identified on the Praecipe for Writ of Summons,

attorney Jarrell did not receive the Entry of Appearance, Praecipe for Rule to File a Complaint and

Rule to File a Complaint purportedly mailed to attorney Jarrell.
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 42 of 465




11.     On March 31, 2021, attorney Haltzman filed a Praecipe to Enter Judgment Non Pros which

resulted in a Judgment of Non Pros being entered against Petitioners/Plaintiffs.

12.     Counsel for Plaintiffs Eugene F. Jarrell, III, Esquire did not receive the Praecipe to Enter

Judgment of Non Pros or any of its accompanying exhibits or other filings from the Delaware

County efile system to any of his registered email addresses.

13.     Attached to the Praecipe to Enter Judgment filed by attorney Haltzman included a

certification that a 10-day notice of intent to enter a Judgment of Non Pros along with the certificate

of service was served by first class mail to Plaintiffs’ counsel Eugene F. Jarrell, III, Esquire and

Bodo Family, LLC on March 19, 2021.

14.     Attorney Jarrell did not receive the said 10-day notice and certificate of service purportedly

mailed March 19, 2021. The address for Bodo Family, LLC is the former residence Lou Bodo,

deceased, and was not received by any representative of Petitioners.

15.     On March 31, 2021, attorney Jarrell first became aware that a Judgment had been entered

in this action after receiving an email from the Delaware County C-Track CMS Document

Distribution System attached to which was a Rule 236 Notice of Judgment. A copy of the email

and 236 Notice of Judgment are attached as Exhibits 1 and 2.

16.     The originating email address is identified as “noreplyctrack@co.delaware.pa.us which is

different than the Delaware County efile notice originating email address which is

“noreplyefile@co.delaware.pa.us”.

17.     This led to attorney Jarrell discovering the above described filings by attorney Haltzman,

the issuance of the Rule to File a Complaint and the entry of Judgment of Non Pros against

Plaintiffs for failure to file a complaint.
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 43 of 465




18.    Attached hereto as Exhibit 3 is Plaintiffs proposed Complaint as required by Pa.R.C.P.

237.3(a), which states a meritorious cause of action against Respondents/Defendants.

19.    Pursuant to Rule 237.3(b)(1), “if the Petition is filed within 10 days from the entry of a

judgment of non pros on the docket, the court shall open the judgment if the proposed Complaint

states a meritorious cause of action.

20.    The filing of this Petition to Open pursuant to Rule 237.3(b)(1) on Monday, April 12, 2021

is timely under Pa.R.C.P. 106(b) as the tenth day falls on Saturday.

21.    “Rule 237.3(b) presumes that a petition filed within the ten-day period is both timely and

with reasonable explanation or legitimate excuse for the inactivity or delay.” Explanatory

Comment to Rule 237.3 – 1994.

22.    Nevertheless, Plaintiffs have taken timely action by the filing of this Petition to Open and

there is reasonable explanation and legitimate excuse for the delay in filing the Complaint.


       WHEREFORE, Plaintiffs request this Honorable Court to open the Judgment of Non Pros

to permit Plaintiffs to file the proposed Complaint attached hereto.




                                                     Eugene F. Jarrell, III
                                                     Eugene F. Jarrell, III, Esquire
                                                     Attorney for Plaintiffs
                                                     Attorney ID No.: 34748
                                                     334 W. Front Street
                                                     Media, PA 19063
                                                     (610) 565-6130
                                                     efjarrell@gmail.com
    Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 44 of 465




                                     VERIFICATION

       I, Eugene F. Jarrell, III, attorney for the Petitioners/Plaintiffs, and authorized to

make this verification, hereby verify that the facts set forth in Petitioners’ Petition to Open

Judgment of Non Pros Pursuant to Pa.R.C.P. 237.3 are true and correct to the best of my

knowledge, or information and belief. This verification is made subject to the penalties of

18 Pa.C.S.A. § 4904 relating to unsworn falsification to authorities.



                                                               /s/ Eugene F. Jarrell, III
                                                               Eugene F. Jarrell, III
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                        Exhibit 1
                Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 46 of 465


                                                                                      Gene Jarrell <efjarrell@gmail.com>



Delaware County Court of Common Pleas - Document Distribution from CV-2021-
001678
1 message

noreplyctrack@co.delaware.pa.us <noreplyctrack@co.delaware.pa.us>                           Wed, Mar 31, 2021 at 11:34 AM
To: efjarrell@gmail.com

  C-Track CMS
 Attached, please find a single PDF attachment comprised of the following individual documents:
    Notice - 236 Notice of Judgment
 Do not respond to this system-generated e-mail notification. For help with technical problems, please contact the system
 administrator

      Notice-236 Notice of Judgment.pdf
      77K
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                        Exhibit 2
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      IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY,
               PENNSYLVANIA OFFICE OF JUDICIAL SUPPORT

                            RULE OF CIVIL PROCEDURE NO. 236

 Bodo Family LLC t/a Bodo Family of Media Limited
 Partnership directly and derivatively on behalf of Media
 Station Inc t/a Media Station LP Turnbridge Inc t/a
 Turnbridge LP Scarborough Mews Inc t/a Scarborough
 Mews Lp,
             Plaintiff
                                                             No. CV-2021-001678
 v.

 Cynthia Cottman Aka Cindy Cottman personal
 representatives of the Estate of Brooke Powell Cottman
 et al,
           Defendant.


       NOTICE IS GIVEN UNDER PENNSYLVANIA RULE OF CIVIL PROCEDURE NO. 236 THAT A

JUDGMENT IN THE ABOVE CASE HAS BEEN ENTERED ON 03-31-2021.



                                             SIGNED         2021-03-31

                                             PER            Office of Judicial Support



     TIME AND LEGAL LIABILITY DO NOT PERMIT THE OFFICE OF JUDICIAL
SUPPORT TO GIVE DOCKET INFORMATION BY TELEPHONE.
                                       NO EXCEPTIONS!

                  PUBLIC ACCESS INFORMATION: www.co.delaware.pa.us

CC: JARRELL III, EUGENE F, Cynthia Cottman Aka Cindy Cottman personal representatives
of the Estate of Brooke Powell Cottman, Virginia Palusky, Aka Virginia Powell Cottman Palusky
Personal Representative Of The Estate Of Brooke Powell Cottman, Cynthia Cottman Aka Cindy
Cottman, Virginia Powell Cottman Palusky, Media Station Inc t/a Media Station a limited
partnership, Tunbridge Inc t/a Tunbridge a limited partnership, Scarborough Mews inc t/a
Scarborough Mews a limited partnership, HALTZMAN, MARK S


JARRELL III, EUGENE F         CV-2021-001678
334 W Front St
MEDIA PA 19063-0000
Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 49 of 465




                        Exhibit 3
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 50 of 465




IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                       CIVIL ACTION-LAW


Bodo Family, LLC t/a Bodo Family of Media             :
Limited Partnership, directly and derivatively on
behalf of Media Station, Inc. t/a Media Station, a    :   No. CV-2021-001678
limited partnership, Tunbridge, Inc. t/a Tunbridge,
a limited partnership, and Scarborough Mews, Inc.     :
t/a Scarborough Mews, a limited partnership
202 Coventry Lane                                     :
Media, PA 19063
                                                      :
                      Plaintiffs
                                                      :
                      v.
                                                 :
Cynthia Cottman aka Cindy Cottman and Virginia
Palusky aka Virginia Powell Cottman Palusky as :
Personal representatives of the Estate of Brooke
Powell Cottman                                   :
254 Stanwich Road
Greenwich, CT 06830                              :

Cottman Family, LLC t/a Cottman Family Limited :
Partnership
340 Media Station Road                           :
Media, PA 19063
                                                 :
Cynthia Cottman aka Cindy Cottman,
254 Stanwich Road                                :
Greenwich, CT 06830
                                                 :
Virginia Powell Cottman Palusky,
6827 Van Hyning Road                             :
Deansboro, NY 13328
                                                 :
Media Station, Inc. t/a Media Station, a limited
partnership                                      :
340 Media Station Road
Media, PA 19063                                  :

Tunbridge, Inc. t/a Tunbridge, a limited partnership :
340 Media Station Road
Media, PA 19063                                      :



                                                1
       Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 51 of 465




Scarborough Mews, Inc. t/a Scarborough Mews,
a limited partnership                              :
340 Media Station Road
Media, PA 19063                                    :

                       Defendants                  :


                                        COMPLAINT

1.     Plaintiff Bodo Family LLC is a limited liability company organized and existing under the

laws of the Commonwealth of Pennsylvania with a place of business at 580 S. Heilbron Drive,

Media, Pennsylvania 19063.

2.     Plaintiff Bodo Family of Media Limited Partnership is a limited partnership organized and

existing under the laws of the Commonwealth of Pennsylvania with a place of business at 580 S.

Heilbron Drive, Media, Pennsylvania 19063.

3.     Plaintiff Bodo Family LLC is the general partner to Plaintiff Bodo Family of Media

Limited Partnership.

4.     Plaintiff Media Station Inc. is a corporation organized and existing under the laws of the

Commonwealth of Pennsylvania and is the corporate general partner of Plaintiff Media Station, a

limited partnership organized and existing under the laws of the Commonwealth of Pennsylvania

(“Media Station LP”) with a registered address and place of business at 340 Media Station Road,

Media, PA 19063.

5.     Plaintiff Tunbridge Inc. is a corporation organized and existing under the laws of the

Commonwealth of Pennsylvania and is the corporate general partner of Plaintiff Tunbridge, a

limited partnership organized and existing under the laws of the Commonwealth of Pennsylvania

(“Tunbridge LP) with a registered address at 340 Media Station Road, Media, PA 19063.




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       Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 52 of 465




6.     Plaintiff Scarborough Mews Inc. is a corporation organized and existing under the laws of

the Commonwealth of Pennsylvania and is the corporate general partner of Plaintiff Scarborough

Mews, a limited partnership organized and existing under the laws of the Commonwealth of

Pennsylvania (“Scarborough Mews LP”) with a registered address at 340 Media Station Road,

Media, PA 19063.

7.     Defendant Cynthia Cottman aka Cindy Cottman is an adult individual residing at 354

Stanwich Road, Greenwich, Connecticut 06830 and is a Personal Representative of the Estate of

Brooke Powell Cottman, deceased.

8.     Defendant Virginia Palusky aka Virginia Powell Cottman Palusky is an adult individual

residing at 6827 Van Hyning Road, Deansboro, New York 13328 and is a Personal Representative

of the Estate of Brooke Powell Cottman, deceased.

9.     Defendant Cottman Family, LLC is a limited liability company organized and existing

under the laws of the Commonwealth of Pennsylvania and is a general partner of Defendant

Cottman Family Limited Partnership (“Cottman Family LP”), a limited partnership organized and

existing under the laws of the Commonwealth of Pennsylvania with a registered address of at 340

Media Station Road, Media, Pennsylvania 19063.

10.    Defendant Media Station, Inc. t/a Media Station LP, Tunbridge, Inc. t/a Tunbridge, and

Scarborough Mews, Inc. t/a Scarborough Mews LP are identified herein as nominal defendants.

11.    Brooke Powell Cottman (hereinafter “Brooke Cottman”) died February 13, 2020.

12.    Prior to his death, Brooke Cottman was at all relevant times hereto was a general partner

of Defendant Cottman Family Limited Partnership.

13.    On or about March 9, 2021, Defendants Cynthia Cottman and Virginia Palusky were each

appointed as Executrix and Personal Representative of the Estate of Brooke Cottman. Subsequent



                                               3
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 53 of 465




to Brooke Cottman’s death, it is believed that the Estate of Brooke Cottman, through the Personal

Representatives, was a general partner of Cottman Family Limited Partnership.

14.    Media Station LP, Tunbridge LP and Scarborough Mews LP (collectively, the “Limited

Partnerships”) were formed as single-purpose entities that own real estate and multi-family

housing units located in Delaware County, Pennsylvania.

15.    Media Station LP owns Media Station Apartments located at 340 Media Station Road,

Media, Delaware County, Pennsylvania 19063.

16.    Tunbridge LP owns Tunbridge Apartments located at 274 Glen Riddle Road, Media,

Delaware County, Pennsylvania.

17.    Scarborough Mews LP owns the Scarborough Mews Townhouses located at 501 N.

Orange Street, Media, Delaware County, Pennsylvania.

18.    Media Station LP was formed by Brooke Cottman and Lajos “Lou” Bodo, each of whom

owned an equal interest in the limited partnership.

19.    Tunbridge LP and Scarborough Mews LP were formed by Brooke Cottman, Lou Bodo,

and Edward W. Coslett, Jr., each of whom owned an equal interest in the limited partnership.

20.    Brooke Cottman and Lou Bodo also formed a separate entity, Media Station, Inc., to act

as the corporate general partner for Media Station LP.

21.    Brooke Cottman, Lou Bodo, and Edward W. Coslett, Jr. also formed separate entities,

Tunbridge, Inc. and Scarborough Mews, Inc., to act as the corporate general partner for

Tunbridge LP and Scarborough Mews LP.

22.    Over time, Brooke Cottman’s limited partner interests in the Limited Partnerships were

transferred to the Cottman Family Limited Partnership.




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        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 54 of 465




23.    Over time, Lou Bodo’s limited partner interests in the Limited Partnerships were

transferred to the Bodo Family of Media Limited Partnership.

24.    Over time, Edward W. Coslett, Jr.’s limited partner interests in the Limited Partnerships

were transferred to his family members and related entities collectively referred to as the Coslett

Limited Partners.

25.    Prior to his death, and at all relevant times prior thereto, Brooke P. Cottman was President

and a board Director Media Station, Inc., Tunbridge, Inc. and Scarborough Mews, Inc.

26.    At the time of the formation of Media Station, Inc., its shareholders were Brooke

Cottman (500 shares of Class B stock) and Lou Bodo (500 shares of Class A stock).

27.    In March 2014, Lou Bodo died.

28.    At the time of the formation of Tunbridge Inc. and Scarborough Mews, Inc., its

shareholders were Lou Bodo (Class A stock), Brooke Cottman (Class B stock) and Edward W.

Coslett, Jr. (Class C stock) each Class representing an equal ownership of Tunbridge Inc. and

Scarborough Mews, Inc.

29.    Upon his death, Lou Bodo’s shares in Media Station, Inc., Tunbridge, Inc., and

Scarborough Mews, Inc. were transferred in equal share amounts to his daughters, Shirley Bodo

and Deborah Convery.

30.    Prior to his death, Brooke Cottman remained owner of the 500 Class B shares of the

stock of Media Station, Inc.

31.    The affairs of Media Station, Inc. are governed by the company’s Bylaws, which were

adopted by the unanimous written consent of its shareholders on or about September 8, 2011. A

true and correct copy of the Bylaws of Media Station, Inc. (the “Bylaws”) is attached hereto as

Exhibit A.



                                                 5
        Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 55 of 465




32.    Under the Bylaws, the Board of Directors of Media Station, Inc. is to consist of two

Directors, one to be elected by the Class A shareholders and one to be elected by the Class B

shareholders. See Bylaws, at § 4.03(a) (Exhibit A).

33.    Until his death, Brooke Cottman served as the Class B Director of Media Station, Inc.

34.    At all times relevant prior to his death, Brooke Cottman served as the Class B Director

for Media Station, Inc., Tunbridge, Inc., and Scarborough Mews, Inc.

35.    Prior to his death, Brooke Cottman remained owner of the Class B shares of the stock of

Tunbridge Inc. and Scarborough Mews, Inc.

36.    The affairs of Tunbridge, Inc. are governed by the company’s Bylaws, which were

adopted by the unanimous written consent of its shareholders on or about September 8, 2011. A

true and correct copy of the Bylaws of Tunbridge, Inc. (the “Bylaws”) is attached hereto as

Exhibit B.

37.    Under the Bylaws, the Board of Directors of Tunbridge, Inc. is to consist of three

Directors, one to be elected by the Class A shareholders, one to be elected by the Class B

shareholders and one elected by the Class C shareholder. See Bylaws, at § 4.03(a) (Exhibit B).

38.    The affairs of Scarborough Mews, Inc. are governed by the company’s Bylaws, which

were adopted by the unanimous written consent of its shareholders on or about September 8,

2011. A true and correct copy of the Bylaws of Scarborough Mews, Inc. (the “Bylaws”) is

attached hereto as Exhibit C.

39.    Under the Bylaws, the Board of Directors of Scarborough Mews, Inc. is to consist of three

Directors, one to be elected by the Class A shareholders, one to be elected by the Class B

shareholders and one elected by the Class C shareholder. See Bylaws, at § 4.03(a) (Exhibit C).




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40.    Each of the Bylaws was signed and consented to by Brooke Cottman as a shareholder of

Media Station Inc., Tunbridge, Inc. and Scarborough Mews, Inc.

41.    Until his death, Brooke Cottman served as the Class B Director of Tunbridge Inc. and

Scarborough Mews, Inc.

42.    Brooke Cottman served as the President and Secretary of Media Station, Inc., Tunbridge,

Inc., and Scarborough Mews, Inc., and served in those capacities until his death.

43.    The By-Laws for Media Station, Inc., Tunbridge, Inc. and Scarborough Mews, Inc., each

provide at Section 4.01 (a), that “the business and affairs of the Corporation shall be managed

under the direction of the board of directors”. Further, Section 5.08 provides that the president,

who is subject “to the control of the board of directors”, is authorized to sign only those contracts

which are “authorized by the board of directors”.

44.    Section 4.03(b) of each of the By-Laws provides that the “shareholders shall cast votes to

select an independent advisor once annually at the same time the shareholders cast votes to elect

the directors.” In the event that the “board is unable to reach a resolution by the required number

of director votes on a particular matter or issue… The independent advisor will be permitted to

cast one vote as if he or she were a director with the sole purpose of breaking the deadlock.”

[Emphasis added].

45.    Following the resignation of the last of the independent advisers for the Media Station

Inc., Tunbridge Inc. and Scarborough Mews Inc., which occurred prior to 2015, a vacancy

existed for the role of independent advisor for each of the corporate general partners until 2020.

46.    As a result of the independent advisor vacancy for Media Station, Inc., a deadlock existed

regarding multiple matters and issues, including, but not limited to, the appointment of officers,




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particularly the president, as well as significant other issues, such as renovations, management and

financial issues.

47.    As a result of the independent advisor vacancy for Tunbridge Inc. and Scarborough

Mews Inc., a deadlock existed regarding multiple matters and issues, including, but not limited

to, the appointment of officers, particularly the president, as well as significant other issues, such

as renovations, management and financial issues.

48.    As the President of Media Station Inc., Tunbridge Inc. and Scarborough Mews Inc.,

Brooke Cottman exercised unilateral control and adverse domination over the corporations and

therefore exercised unilateral control and adverse domination of the respective Limited

Partnership of Media Station LP, Tunbridge LP and Scarborough Mews LP.

49.    In May 2017, Brooke Cottman formed AptRentz LLC, and he directed the filing of a

Certificate of Organization on May 24, 2017 with the Commonwealth of Pennsylvania,

Department of State, for AptRentz, LLC, a limited liability company organized and existing under

the laws of the Commonwealth of Pennsylvania (hereafter “AptRentz”).

50.    Prior to the death of Brooke Cottman, AptRentz was directly and/or indirectly owned by

Brooke Cottman, and his children and/or grandchildren, Cynthia Cottman, Virginia Palusky and/or

Graham Palusky, or entities controlled by Brooke Cottman and/or such persons.

51.    Since the death of Brooke Cottman, AptRentz has been directly and/or indirectly owned

by the Estate of Brooke Cottman, and the children and/or grandchildren of Brooke Cottman,

Cynthia Cottman, Virginia Palusky and/or Graham Palusky, or entities controlled by the Estate of

Brooke Cottman and/or such persons.

52.    Brooke Cottman formed AptRentz to act as a management company for Media Station LP,

Tunbridge LP and Scarborough Mews LP with the intent of receiving management fees and other


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payments from the Limited Partnerships and to divert profits from the Limited Partnerships and

distributions from being made to the limited partner or partners of the Limited Partnerships.

53.    Brooke Cottman’s intent in creating AptRentz was to divert profits from Media Station LP

and other distributions that would be due and owing to Bodo Family of Media Limited Partnership.

54.    Brooke Cottman’s intent was to divert profits from Tunbridge LP and Scarborough Mews

LP and other distributions to the limited partners Bodo Family of Media Limited Partnership and

the Coslett Limited Partnership.

55.    On June 12, 2017, Brooke Cottman, as President of Media Station Inc., on behalf of Media

Station Limited Partnership, unilaterally entered into a management agreement with AptRentz for

the management of Media Station Apartments. A copy of the AptRentz agreement is attached

hereto and made part of and marked Exhibit D.

56.    On June 12, 2017, Brooke Cottman, as President of Tunbridge Inc., on behalf of Tunbridge

Limited Partnership, unilaterally entered into a management agreement with AptRentz for the

management of Tunbridge Apartments. A copy of the AptRentz agreement is attached hereto and

made part of and marked Exhibit E.

57.    On June 12, 2017, Brooke Cottman, as President of Scarborough Mews Inc., on behalf of

Scarborough Mews LP, unilaterally entered into a management agreement with AptRentz for the

management of Scarborough Mews Apartments. A copy of the AptRentz agreement is attached

hereto, made part hereof and marked Exhibit F.

58.    The AptRentz agreements created by Brooke Cottman were standard form property

management contracts which are available online, however Brooke Cottman altered the language

of the standard form contract to exclude basic protections afforded the property owner, including




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payment obligations to the property owner. See the standard form property management contract

attached as Exhibit G.

59.    Each of the AptRentz agreements is essentially identical in its terms and conditions which

terms were not negotiated at arm’s length but rather written to favor AptRentz and insulate

AptRentz from the scrutiny of Bodo Family of Media Limited Partnership and the Coslett Limited

Partners to the detriment of Media Station LP, Tunbridge LP, Scarborough Mews LP, Bodo Family

of Media Limited Partnership and the Coslett Limited Partners.

60.    These management agreements were each signed by Jennie Mopsik, identified as

“Managing Agent” of AptRentz, LLC who was hired by Brooke Cottman.

61.    The Pennsylvania Real Estate Licensing and Registration Act (“RELRA”), 63 P.S. §§

455.101 et seq, specifically 63 P.S. § 455.301, requires that AptRentz LLC be a licensed entity

with a registered broker of record in order to act as property manager.

62.    AptRentz has not been a RELRA licensed entity with a registered broker of record.

63.    The AptRentz management agreements are illegal.

64.    Section 8.04 (a) of each of the By-Laws provides that “a contract or transaction between

the corporation and one or more of its directors or officers, or between the Corporation in another

Corporation… or other enterprise in which one or more of its directors and officers… have a

financial or other interest, shall not be void or voidable solely for that reason… if:

               (1) the material facts as to the relationship or interest and as to the contract or

               transaction are disclosed or are known to the Board of Directors and the board

               authorizes the contract or transaction by the affirmative vote of a majority of

               the disinterested directors even though the disinterested directors are less than

               a quorum.” [Emphasis added].


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65.    Section 8.04 (a) of the By-Laws govern the required process of approval of the AptRentz

management agreements as a result of Brooke Cottman’s financial and other interests in AptRentz,

and is consistent with the requirements set forth in 15 Pa.C.S.A. §1728(a) concerning interested

directors and officers.

66.    Brooke Cottman entered into all three of the AptRentz management agreement without

seeking a vote of the Directors of the corporate general partners to approve the agreements, or even

notifying the other Directors until after the agreements were executed.

67.    Brooke Cottman entering into the AptRentz management agreements was not in the best

interests of the Media Station Inc., Tunbridge Inc., or Scarborough Mews Inc., or any of the

Limited Partnerships.

68.    By the terms of Section 8.04 (a) of the Media Station By-Laws, the contract between

AptRentz and Media Station LP required approval by the affirmative vote of the sole disinterested

director of the Class A shares, Kevin Flynn, or his successor, James Proud, Esquire, both of whom

were directors appointed by Deborah Convery and Shirley Bodo.

69.    By the terms of Section 8.04 (a) of the Tunbridge, Inc. and Scarborough Mews, Inc. By-

Laws, the contract between AptRentz and Tunbridge LP and Scarborough Mews LP required

approval by the affirmative vote of the two disinterested directors, Branch Coslett (for the Coslett

related Class C shareholders), and Kevin Flynn, or his successor, James Proud, Esquire for the

Class A shareholder. In the event of a tie vote between the two disinterested directors, the tie-

breaking vote would be cast by the independent advisor.

70.    A resolution for the approval of the contracts between the AptRentz and Media Station,

Tunbridge, and Scarborough Mews was never put to a vote of the Directors or shareholders of

Media Station, Inc., Tunbridge, Inc. or Scarborough Mews, Inc.


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71.      Despite Brooke Cottman’s allegations to the contrary, Flynn never approved of the

contracts between AptRentz and Media Station LP, Tunbridge LP, or Scarborough Mews LP in

any of their discussions on June 13, 2017, or at any other time.

72.      To the contrary, Kevin Flynn expressly disapproved of the AptRentz contracts and their

terms.

73.      Flynn’s successor, James Proud, never approved of the AptRentz contracts.

74.      Following June 12, 2017, AptRentz began taking ever increasing control of the financial

aspects of Media Station LP, Tunbridge LP and Scarborough Mews LP, eventually taking control

over receipt of all tenant rent payments and security deposits, lease executions and the payment of

its own management fees and compensation, all in violation of the RELRA statutes.

75.      This control included opening one or more accounts with financial institutions to directly

receive all tenant rent payments and security deposits of the Limited Partnerships, and used these

accounts for the payment of management and other fees to itself, all in violation of the RELRA

statutes.

76.      AptRentz does not manage any other apartment complexes.

77.      AptRentz performs little or no services set forth in the management agreements, but rather

the services of operating the residential rental properties of the Limited Partnerships, and

remodeling of the rental units, continues to be undertaken by the staff employed and paid by the

Limited Partnerships, as it had been prior to the existence of the management agreements with

AptRentz.

78.      On February 21, 2018, James Proud as the Class A shareholder Director of Media Station,

Inc., Tunbridge, Inc., and Scarborough Mews, Inc., wrote a letter to Brooke Cottman concerning,

among other things, the AptRentz management agreements and in reply to requests made to Bodo

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Family of Media Limited Partnership, and Shirley Bodo and Deborah Convery for signed

documentation and consents relating to proposed loans from New York Community Bank to Media

Station LP and Tunbridge LP. A copy of the February 21, 2018 Proud letter is attached hereto,

made a part hereof and marked as Exhibit H.

79.     With the letter, James Proud enclosed the signed documentation requested of Bodo Family

of Media Limited Partnership, Shirley Bodo and Deborah Convery, and consented to their

submission to the Bank, conditioned upon AptRentz not acting as Construction manager or

property manager.

80.    Brooke Cottman received the Proud letter and signed documentation, and submitted the

documentation to the Bank, thereby agreeing to and accepting the terms of their usage.

81.    Thereafter, Brooke Cottman failed to terminate the AptRentz property management

agreements.

82.    On July 30, 2018, Cottman circulated a letter via email in which he described votes which

never occurred and informed the other two directors that he had already directed payments

exceeding $52,000 to his entity, AptRentz, and was intending to pay $170,463.23 into escrow on

August 1, 2018. The July 30, 2018 letter is attached hereto as Exhibit I.

83.    Brooke Cottman either failed to pay any such amounts into an escrow account or failed to

maintain the escrow, as no Cottman director or other representative of the Cottman parties will

supply evidence of its existence.

84.    From June 12, 2017 until his death, Brooke Cottman directed payments from the Limited

Partnerships to AptRentz and distributions and/or other payments from AptRentz to himself, which

payments were not in the best interests of the Limited Partnerships or their respective corporate

general partners..



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85.    During the same period Brooke Cottman directed distributions and other payments to

Cindy Cottman, Virginia Palusky and/or Graham Palusky from AptRentz, which payments were

not in the best interests of the Limited Partnerships or their respective corporate general partners..

86.    At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family Limited Partnership.

87.    Following the death of Brooke Cottman, Cynthia Cottman, Virginia Palusky and/or

Graham Palusky have assumed control of AptRentz, and have caused distributions and other

payments to themselves and/or other entities they control from AptRentz.

88.    Such distributions and payments were not in the best interests of the Limited Partnerships

or their respective corporate general partners.

89.    Following the death of Brooke Cottman, Virginia Palusky became an officer of Media

Station, Inc., and Cynthia Cottman became a director and officer of Tunbridge, Inc. and

Scarborough Mews, Inc.

90.    Since becoming an officer and/or director of Media Station, Inc., Tunbridge, Inc. and/ or

Scarborough Mews, Inc., Cynthia Cottman and Virginia Palusky have continued to receive and/or

cause distributions and other payments from AptRentz to themselves and/or other entities they

control, to the detriment and loss of Bodo Family of Media Limited Partnership, the other limited

partner of Media Station LP, and Bodo Family of Media Limited Partnership and the Coslett

Limited Partners, the other limited partners of Tunbridge LP and Scarborough Mews LP.

91.    Bodo Family LLC t/a Bodo Family of Media Limited Partnership brings the claims stated

herein directly, and derivatively on behalf of Media Station Inc. t/a Media Station LP, Tunbridge

Inc. t/a Tunbridge LP and Scarborough Mews, Inc. t/a Scarborough Mews LP.




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92.     Prior demand to the Limited Partnerships pursuant to 15 Pa.C.S.A § 8692 is excused to

prevent immediate and irreparable harm to the Limited Partnerships by the possible loss of the

tolling of the statute of limitations provided in 20 Pa.C.S.A § 3383 of claims arising from the self-

dealing conduct of Brooke Cottman, Cynthia Cottman and Virginia Palusky described herein.


                                             COUNT I
                                      Breach of Fiduciary Duty

      Bodo Family LLC t/a Bodo Family of Media Limited Partnership v. Cynthia Cottman
        and Virginia Palusky as Personal Representatives of the Estate of Brooke Powell
       Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership, Cynthia
                    Cottman individually and Virginia Palusky individually


93.     The Plaintiffs incorporate by reference the allegations contained in paragraphs one

through 92 above as though fully set forth herein.

94.     Brooke Cottman, as President and Director of Media Station, Inc., Tunbridge, Inc. and

Scarborough Mews, Inc., and the person who exercised unilateral of these corporate general

partners and thereby control over the Limited Partnerships, owed a common law and statutory

fiduciary duty of loyalty (including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c),

and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo Family of Media Limited Partnership as a

limited partner of the Limited Partnerships.

95.     As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

loyalty by forming AptRentz, directing distributions and payments from the Limited Partnerships

to AptRentz, and directing distributions from AptRentz to himself, Cindy Cottman, Virginia

Palusky and/or Graham Palusky.

96.     Following the death of Brooke Cottman, Cynthia Cottman as Director and officer of

Tunbridge, Inc. and Scarborough Mews, Inc. owed a common law and statutory fiduciary duty of



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loyalty (including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b),

(d)) to Bodo Family LLC t/a Bodo Family of Media Limited Partnership as a limited partner of

the Limited Partnerships.

97.    Following the death of Brooke Cottman, Virginia Palusky as officer of Media Station, Inc.,

owed a common law and statutory fiduciary duty of loyalty (including but not limited to 15

Pa.C.S.A. § 512(c), § 1712 (c), and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo Family of

Media Limited Partnership as a limited partner of the Limited Partnerships.

98.    As set forth in detail above, Cynthia Cottman and Virginia Palusky have breached the

fiduciary duty of loyalty by directing distributions and payments to AptRentz, and directing and

or receiving distributions from AptRentz to themselves, Graham Palusky and or other family

members.

99.    As a result of the aforesaid conduct of Brooke Cottman, Cynthia Cottman and Virginia

Palusky, Bodo Family, LLC t/a Bodo Family of Media Limited Partnership has sustained a loss of

distributions and other payments that they were entitled to from Media Station LP, Tunbridge LP

and Scarborough Mews LP.

100.   The above described conduct of Brooke Cottman, Cynthia Cottman and Virginia Palusky

was intentional, outrageous, willful and wanton, done with intent to harm Plaintiffs and in

disregard of their rights entitling Plaintiffs to punitive damages.

101.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.




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102.   Following the death of Brooke Cottman, Cynthia Cottman and Virginia Palusky acted on

behalf of themselves and as agents and representatives of Cottman Family LLC t/a Cottman Family

Limited Partnership acting with express, implied or apparent authority.

103.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited Partnership for the

compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership demand judgment for them and against Cynthia Cottman and Virginia Palusky as

personal representatives of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a

Cottman Family Limited Partnership, Cynthia Cottman individually and Virginia Palusky

individually in an amount of excess of $50,000.00 together with attorneys fees, punitive damages

and costs as allowed by law.



                                          COUNT II
                                    Breach of Fiduciary Duty

   Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf
    of Media Station Inc., t/a Media Station LP v. Cynthia Cottman and Virginia Palusky
    as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman Family
       LLC t/a Cottman Family Limited Partnership and Virginia Palusky individually

104.    The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

103 above as though fully set forth herein.

105.   Brooke Cottman, as President and Director of Media Station, Inc., and the person who

exercised unilateral control thereof and thereby control over Media Station LP, owed a common

law and statutory fiduciary duty of loyalty (including but not limited to 15 Pa.C.S.A. § 512(a), (c),

§ 1712(a), (c), and § 8649(b), (d)) to Media Station LP and Media Station, Inc.



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106.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

loyalty to Media Station LP and Media Station, Inc.by forming AptRentz, directing distributions

and payments to AptRentz from Media Station LP, and directing distributions from AptRentz to

himself, Cindy Cottman, Virginia Palusky and/or Graham Palusky.

107.   Following the death of Brooke Cottman, Virginia Palusky as an officer of Media Station,

Inc. owed a common law and statutory fiduciary duty of loyalty (including but not limited to 15

Pa.C.S.A. § 512 (c), § 1712 (c), and § 8649(b), (d)) to Media Station LP and Media Station, Inc.

108.   Virginia Palusky breached the fiduciary duty of loyalty to Media Station LP and Media

Station, Inc. by receiving payments from AptRentz while an officer of Media Station Inc, and

directing distributions from AptRentz to herself, Virginia Palusky, Graham Palusky and or other

family members.

109.   As a result of the aforesaid conduct of Brooke Cottman and Virginia Palusky, Media

Station LP has sustained a loss of profit which would have been available for distribution to its

other limited partner, Bodo Family of Media Limited Partnership.

110.   The above described conduct of Brooke Cottman and Virginia Palusky was intentional,

outrageous, willful and wanton, done with intent to harm Media Station LP and in disregard of its

rights entitling Media Station LP to punitive damages.

111.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.

112.   Following the death of Brooke Cottman, Virginia Palusky acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.



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113.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Media Station LP for the compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Media Station Inc. t/a Media Station LP demand judgment

for them and against Cynthia Cottman and Virginia Palusky as personal representatives of the

Estate of Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership

and Virginia Palusky individually in an amount of excess of $50,000.00 together with attorneys

fees, punitive damages and costs as allowed by law.

                                         COUNT III
                                   Breach of Fiduciary Duty

Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf of
 Tunbridge Inc., t/a Tunbridge LP v. Cynthia Cottman and Virginia Palusky as Personal
   Representatives of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a
       Cottman Family Limited Partnership and Cynthia Cottman individually

114.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

113 above as though fully set forth herein.

115.   Brooke Cottman, as President and Director of Tunbridge, Inc., and the person who

exercised unilateral control thereof and thereby control over Tunbridge LP, owed a common law

and statutory fiduciary duty of loyalty (including but not limited to 15 Pa.C.S.A. § 512(a), (c), §

1712(a), (c), and or § 8649(b), (d)) to Tunbridge LP and Tunbridge, Inc.

116.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

loyalty to Tunbridge LP and Tunbridge, Inc. by forming AptRentz, directing distributions and

payments to AptRentz from Tunbridge LP, and directing distributions from AptRentz to himself,

Cindy Cottman, Virginia Palusky and/or Graham Palusky.




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117.   Following the death of Brooke Cottman, Cynthia Cottman as an officer and Director of

Tunbridge, Inc. owed a common law and statutory fiduciary duty of loyalty (including but not

limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Tunbridge LP and

Tunbridge, Inc.

118.   As set forth in detail above, Cynthia Cottman breached the fiduciary duty of loyalty to

Tunbridge LP and Tunbridge, Inc. by receiving payments from AptRentz while an officer and

Director of Tunbridge, Inc, and directing distributions from AptRentz to herself, Virginia Palusky,

Graham Palusky and or other family members.

119.   As a result of the aforesaid conduct of Brooke Cottman and Cynthia Cottman, Tunbridge

LP has sustained a loss of profit which would have been available for distribution to its other

limited partner, Bodo Family of Media Limited Partnership.

120.   The above described conduct of Brooke Cottman and Cynthia Cottman was intentional,

outrageous, willful and wanton, done with intent to harm Tunbridge LP and in disregard of its

rights entitling Tunbridge LP to punitive damages.

121.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.

122.   Following the death of Brooke Cottman, Cynthia Cottman acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

123.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Tunbridge LP for the compensatory and punitive damages described above.




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       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Tunbridge Inc. t/a Tunbridge LP demand judgment for them

and against Cynthia Cottman and Virginia Palusky as personal representatives of the Estate of

Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership and

Cynthia Cottman individually in an amount of excess of $50,000.00 together with attorneys fees,

punitive damages and costs as allowed by law.


                                         COUNT IV
                                   Breach of Fiduciary Duty

Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf of
  Scarborough Mews Inc. t/a Scarborough Mews LP v. Cynthia Cottman and Virginia
 Palusky as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman
Family LLC t/a Cottman Family Limited Partnership and Cynthia Cottman individually

124.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

123 above as though fully set forth herein.

125.   Brooke Cottman, as President and Director of Scarborough Mews, Inc., and the person who

exercised unilateral control thereof and thereby control over Scarborough Mews LP, owed a

common law and statutory fiduciary duty of loyalty (including but not limited to 15 Pa.C.S.A. §

512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Scarborough Mews LP and Scarborough Mews,

Inc.

126.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

loyalty to Scarborough Mews LP and Scarborough Mews, Inc. by forming AptRentz, directing

distributions and payments to AptRentz from Scarborough Mews LP, and directing distributions

from AptRentz to himself, Cindy Cottman, Virginia Palusky and/or Graham Palusky.

127.   Following the death of Brooke Cottman, Cynthia Cottman as an officer and Director of

Tunbridge, Inc. owed a common law and statutory fiduciary duty of loyalty (including but not

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limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Scarborough Mews

LP and Scarborough Mews, Inc.

128.   As set forth in detail above, Cynthia Cottman breached the fiduciary duty of loyalty to

Scarborough Mews LP and Scarborough Mews, Inc. by receiving payments from AptRentz while

an officer and Director of Scarborough Mews, Inc., and directing distributions from AptRentz to

herself, Virginia Palusky, Graham Palusky and or other family members.

129.   As a result of the aforesaid conduct of Brooke Cottman and Cynthia Cottman, Scarborough

Mews LP has sustained a loss of profit which would have been available for distribution to its

other limited partner, Bodo Family of Media Limited Partnership.

130.   The above described conduct of Brooke Cottman and Cynthia Cottman was intentional,

outrageous, willful and wanton, done with intent to harm Scarborough Mews LP and in disregard

of its rights entitling Scarborough Mews LP to punitive damages.

131.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.

132.   Following the death of Brooke Cottman, Cynthia Cottman acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

133.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Scarborough Mews LP for the compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Scarborough Mews, Inc. t/a Scarborough Mews LP, demand

judgment for them and against Cynthia Cottman and Virginia Palusky as personal representatives



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of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited

Partnership and Cynthia Cottman individually in an amount of excess of $50,000.00 together with

attorneys fees, punitive damages and costs as allowed by law.



                                            COUNT V
                          Breach of Duty of Good Faith and Fair Dealing

    Bodo Family LLC t/a Bodo Family of Media Limited Partnership v. Cynthia Cottman
   and Virginia Palusky Personal Representatives of the Estate of Brooke Powell Cottman,
     Cottman Family LLC t/a Cottman Family Limited Partnership, Cynthia Cottman
                       individually and Virginia Palusky individually


134.    The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

133 above as though fully set forth herein.

135.   Brooke Cottman, as President and Director of Media Station, Inc., Tunbridge, Inc. and

Scarborough Mews, Inc., and the person who exercised unilateral of these corporate general

partners and thereby control over the Limited Partnerships, owed a common law and statutory

fiduciary duty of good faith and fair dealing (including but not limited to 15 Pa.C.S.A. § 512(a),

(c), § 1712(a), (c), and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo Family of Media Limited

Partnership as a limited partner of the Limited Partnerships.

136.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

good faith and fair dealing by forming AptRentz, directing distributions and payments from the

Limited Partnerships to AptRentz, and directing distributions from AptRentz to himself, Cindy

Cottman, Virginia Palusky and/or Graham Palusky.

137.   Following the death of Brooke Cottman, Cynthia Cottman as Director and officer of

Tunbridge, Inc. and Scarborough Mews, Inc. owed a common law and statutory fiduciary duty of

good faith and fair dealing (including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c),

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and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo Family of Media Limited Partnership as a

limited partner of the Limited Partnerships.

138.   Following the death of Brooke Cottman, Virginia Palusky as officer of Media Station, Inc.,

owed a common law and statutory fiduciary duty of good faith and fair dealing (including but not

limited to 15 Pa.C.S.A. § 512(c), § 1712 (c), and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo

Family of Media Limited Partnership as a limited partner of the Limited Partnerships.

139.   As set forth in detail above, Cynthia Cottman and Virginia Palusky have breached the

fiduciary duty of good faith and fair dealing by directing distributions and payments to AptRentz,

and directing and or receiving distributions from AptRentz to themselves, Graham Palusky and or

other family members.

140.   As a result of the aforesaid conduct of Brooke Cottman, Cynthia Cottman and Virginia

Palusky, Bodo Family, LLC t/a Bodo Family of Media Limited Partnership has sustained a loss of

distributions and other payments that they were entitled to from Media Station LP, Tunbridge LP

and Scarborough Mews LP.

141.   The above described conduct of Brooke Cottman, Cynthia Cottman and Virginia Palusky

was intentional, outrageous, willful and wanton, done with intent to harm Plaintiffs and in

disregard of their rights entitling Plaintiffs to punitive damages.

142.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.

143.   Following the death of Brooke Cottman, Cynthia Cottman and Virginia Palusky acted on

behalf of themselves and as agents and representatives of Cottman Family LLC t/a Cottman Family

Limited Partnership acting with express, implied or apparent authority.



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144.    Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited Partnership for the

compensatory and punitive damages described above.

        WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership demand judgment for them and against Cynthia Cottman and Virginia Palusky as

personal representatives of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a

Cottman Family Limited Partnership and Cynthia Cottman individually and Virginia Palusky

individually in an amount of excess of $50,000.00 together with attorneys fees, punitive damages

and costs as allowed by law.



                                         COUNT VI
                        Breach of Duty of Good Faith and Fair Dealing

    Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf
     of Media Station Inc., t/a Media Station LP v. Cynthia Cottman and Virginia Palusky
     as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman Family
       LLC t/a Cottman Family Limited Partnership, Cynthia Cottman individually and
                                 Virginia Palusky individually


145.    The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

144 above as though fully set forth herein.

146.    Brooke Cottman, as President and Director of Media Station, Inc., and the person who

exercised unilateral control thereof and thereby control over Media Station LP, owed a common

law and statutory fiduciary duty of good faith and fair dealing (including but not limited to 15

Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Media Station LP and Media

Station, Inc.




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147.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

good faith and fair dealing to Media Station LP and Media Station, Inc. by forming AptRentz,

directing distributions and payments to AptRentz from Media Station LP, and directing

distributions from AptRentz to himself, Cindy Cottman, Virginia Palusky and/or Graham Palusky.

148.   Following the death of Brooke Cottman, Virginia Palusky as an officer of Media Station,

Inc. owed a common law and statutory fiduciary duty of good faith and fair dealing (including but

not limited to 15 Pa.C.S.A. § 512(c), § 1712 (c), and or § 8649(b), (d)) to Media Station LP and

Media Station, Inc.

149.   Virginia Palusky breached the fiduciary duty good faith and fair dealing to Media Station

LP and Media Station, Inc. by receiving payments from AptRentz while an officer of Media Station

Inc, and directing distributions from AptRentz to herself, Virginia Palusky, Graham Palusky and

or other family members.

150.   As a result of the aforesaid conduct of Brooke Cottman and Virginia Palusky, Media

Station LP has sustained a loss of profit which would have been available for distribution to its

other limited partner, Bodo Family of Media Limited Partnership.

151.   The above described conduct of Brooke Cottman and Virginia Palusky was intentional,

outrageous, willful and wanton, done with intent to harm Media Station LP and in disregard of its

rights entitling Media Station LP to punitive damages.

152.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.




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153.   Following the death of Brooke Cottman, Virginia Palusky acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

154.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Media Station LP for the compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Media Station Inc. t/a Media Station LP demand judgment

for them and against Cynthia Cottman and Virginia Palusky as personal representatives of the

Estate of Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership,

Cynthia Cottman and Virginia Palusky in an amount of excess of $50,000.00 together with

attorneys fees, punitive damages and costs as allowed by law.


                                         COUNT VII
                        Breach of Duty of Good Faith and Fair Dealing

   Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf
      of Tunbridge Inc., t/a Tunbridge LP v. Cynthia Cottman and Virginia Palusky as
     Personal Representatives of the Estate of Brooke Powell Cottman, Cottman Family
      LLC t/a Cottman Family Limited Partnership and Cynthia Cottman individually


155.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

154 above as though fully set forth herein.

156.   Brooke Cottman, as President and Director of Tunbridge, Inc., and the person who

exercised unilateral control thereof and thereby control over Tunbridge LP, owed a common law

and statutory fiduciary duty of good faith and fair dealing (including but not limited to 15 Pa.C.S.A.

§ 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Tunbridge LP and Tunbridge, Inc.




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157.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

good faith and fair dealing to Tunbridge LP and Tunbridge, Inc. by forming AptRentz, directing

distributions and payments to AptRentz from Tunbridge LP, and directing distributions from

AptRentz to himself, Cindy Cottman, Virginia Palusky and/or Graham Palusky.

158.   Following the death of Brooke Cottman, Cynthia Cottman as an officer and Director of

Tunbridge, Inc. owed a common law and statutory fiduciary duty of good faith and fair dealing

(including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to

Tunbridge LP and Tunbridge, Inc.

159.   As set forth in detail above, Cynthia Cottman breached the fiduciary duty of good faith and

fair dealing to Tunbridge LP and Tunbridge, Inc. by receiving payments from AptRentz while an

officer and Director of Tunbridge, Inc, and directing distributions from AptRentz to herself,

Virginia Palusky, Graham Palusky and or other family members.

160.   As a result of the aforesaid conduct of Brooke Cottman and Cynthia Cottman, Tunbridge

LP has sustained a loss of profit which would have been available for distribution to its other

limited partner, Bodo Family of Media Limited Partnership.

161.   The above described conduct of Brooke Cottman and Cynthia Cottman was intentional,

outrageous, willful and wanton, done with intent to harm Tunbridge LP and in disregard of its

rights entitling Tunbridge LP to punitive damages.

162.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.




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163.   Following the death of Brooke Cottman, Cynthia Cottman acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

164.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Tunbridge LP for the compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Tunbridge Inc. t/a Tunbridge LP demand judgment for them

and against Cynthia Cottman and Virginia Palusky as personal representatives of the Estate of

Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership and

Cynthia Cottman individually in an amount of excess of $50,000.00 together with attorneys fees,

punitive damages and costs as allowed by law.


                                       COUNT VIII
                         Breach of Duty of Good Faith and Fair Dealing

   Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf
   of Scarborough Mews Inc., t/a Scarborough Mews LP v. Cynthia Cottman and Virginia
   Palusky as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman
         Family LLC t/a Cottman Family Limited Partnership and Cynthia Cottman
                                       individually


165.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

164 above as though fully set forth herein.

166.   Brooke Cottman, as President and Director of Scarborough Mews, Inc., and the person who

exercised unilateral control thereof and thereby control over Scarborough Mews LP, owed a

common law and statutory fiduciary duty of good faith and fair dealing (including but not limited

to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Scarborough Mews LP and

Scarborough Mews, Inc.

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167.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

good faith and fair dealing to Scarborough Mews LP and Scarborough Mews, Inc. by forming

AptRentz, directing distributions and payments to AptRentz from Scarborough Mews LP, and

directing distributions from AptRentz to himself, Cindy Cottman, Virginia Palusky and/or Graham

Palusky.

168.   Following the death of Brooke Cottman, Cynthia Cottman as an officer and Director of

Tunbridge, Inc. owed a common law and statutory fiduciary duty of good faith and fair dealing

(including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to

Scarborough Mews LP and Scarborough Mews, Inc.

169.   As set forth in detail above, Cynthia Cottman breached the fiduciary duty of good faith and

fair dealing to Scarborough Mews LP and Scarborough Mews, Inc. by receiving payments from

AptRentz while an officer and Director of Scarborough Mews, Inc., and directing distributions

from AptRentz to herself, Virginia Palusky, Graham Palusky and or other family members.

170.   As a result of the aforesaid conduct of Brooke Cottman and Cynthia Cottman, Scarborough

Mews LP has sustained a loss of profit which would have been available for distribution to its

other limited partner, Bodo Family of Media Limited Partnership.

171.   The above described conduct of Brooke Cottman and Cynthia Cottman was intentional,

outrageous, willful and wanton, done with intent to harm Scarborough Mews LP and in disregard

of its rights entitling Scarborough Mews LP to punitive damages.

172.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.




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173.     Following the death of Brooke Cottman, Cynthia Cottman acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

174.     Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Scarborough Mews LP for the compensatory and punitive damages described above.

         WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Scarborough Mews Inc., t/a Scarborough Mews LP demand

judgment for them and against Cynthia Cottman and Virginia Palusky as personal representatives

of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited

Partnership, Cynthia Cottman individually in an amount of excess of $50,000.00 together with

attorneys fees, punitive damages and costs as allowed by law.



                                          COUNT VIII
                                         Civil Conspiracy

       Bodo Family LLC t/a Bodo Family of Media Limited Partnership v. Cynthia Cottman
         and Virginia Palusky as Personal Representatives of the Estate of Brooke Powell
        Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership, Cynthia
                     Cottman individually and Virginia Palusky individually


175.     The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

174 above as though fully set forth herein.

176.     Brooke Powell Cottman, along with Cynthia Cottman and Virginia Palusky, and on behalf

of Cottman Family LLC t/a Cottman Family Limited Partnership conspired to divert funds away

from the Limited Partnerships with intent to decrease distributions that would be due Bodo Family

of Media Limited Partnership, the other limited partner of Media Station LP, and Bodo Family of




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Media Limited Partnership and the Coslett Limited Partners, the other limited partners of

Tunbridge LP and Scarborough Mews LP.

177.   As a result of this conspiracy, Bodo Family of Media Limited Partnership have sustained

substantial damages including loss of distributions from the Limited Partnerships resulting from

the payments to AptRentz.

178.   Cottman Family LLC t/a Cottman Family Limited Partnership is vicariously liable to

Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited Partnership for the compensatory

and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership demand judgment for them and against Cynthia Cottman and Virginia Palusky as

personal representatives of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a

Cottman Family Limited Partnership, Cynthia Cottman individually and Virginia Palusky

individually in an amount of excess of $50,000.00 together with attorneys fees, punitive damages

and costs as allowed by law.


                                         COUNT VIII
                                        Civil Conspiracy

Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf of
    Media Station Inc. t/a Media Station LP, Tunbridge Inc. t/a Tunbridge LP, and
  Scarborough Mews Inc. t/a Scarborough Mews LP v. Cynthia Cottman and Virginia
 Palusky as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman
Family LLC t/a Cottman Family Limited Partnership, Cynthia Cottman individually and
                            Virginia Palusky individually


179.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

178 above as though fully set forth herein.




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180.   Brooke Powell Cottman, along with Cynthia Cottman and Virginia Palusky and on behalf

of Cottman Family LLC t/a Cottman Family Limited Partnership conspired to divert funds away

from the Limited Partnerships with intent to decrease their profit which would have been available

for distribution to its other limited partner in Media Station LP, Bodo Family of Media Limited

Partnership, and its other limited partners in Tunbridge LP and Scarborough Mews LP, Bodo

Family of Media Limited Partnership and the Coslett Limited Partners.

181.   As a result of this conspiracy, Media Station LP, Tunbridge LP and Scarborough Mews LP

have sustained substantial damages including loss of distributions and or profits resulting from the

payments to AptRentz.

182.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Plaintiffs Media Station LP, Tunbridge LP, and Scarborough Mews LP for the

compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Media Station Inc. t/a Media Station LP, Tunbridge Inc. t/a

Tunbridge LP, and Scarborough Mews Inc. t/a Scarborough Mews LP demand judgment for them

and against Cynthia Cottman and Virginia Palusky as personal representatives of the Estate of

Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership, Cynthia

Cottman individually and Virginia Palusky individually in an amount of excess of $50,000.00

together with attorneys fees, punitive damages and costs as allowed by law.




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                                          COUNT IX
                                       Breach of Contract

Bodo Family LLC t/a Bodo Family of Media Limited Partnership directly and derivatively
  on behalf of Media Station Inc. t/a Media Station LP, Tunbridge Inc. t/a Tunbridge LP,
 and Scarborough Mews Inc. t/a Scarborough Mews LP v. Cynthia Cottman and Virginia
       Palusky as Personal Representatives of the Estate of Brooke Powell Cottman

183.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

182 above as though fully set forth herein.

184.   Brooke Cottman breached Section 5.08 of the corporate Bylaws of Media Station Inc.,

Tunbridge Inc. and Scarborough Mews Inc. by his failure to seek board approval prior to entering

into the AptRentz management agreements.

185.   Brooke Cottman breached Section 8.04 (a) of the corporate Bylaws of Media Station Inc.,

Tunbridge Inc. and Scarborough Mews Inc. by his failure to seek board approval from the other

disinterested directors prior to entering into the AptRentz management agreements.

186.   As Director and President of Media Station Inc., Tunbridge Inc. and Scarborough Mews

Inc., Brooke Cottman breached his contractual fiduciary duties and duty of good faith set forth in

sections 4.01 and 5.01(d) of the Bylaws of the Media Station, Inc., Tunbridge, Inc. and

Scarborough Mews, Inc.

187.   Brooke Cottman breached the terms and conditions set forth in the James Proud letter of

February 21, 2018 (Exhibit H) by his failure to terminate the AptRentz property management

agreements, despite submitting the signed documentation and consents of Bodo Family of Media

Limited Partnership, Shirley Bodo and Deborah Convery to New York Community Bank in

conjunction with the proposed loans to Media Station LP and Tunbridge LP.

188.   As a result of breaches by Brooke Cottman, Bodo Family of Media Limited Partnership

directly and derivatively on behalf of Media Station LP, Tunbridge LP and Scarborough Mews LP



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have sustained substantial damages including loss of distributions and or profits resulting from the

breaches and payments to AptRentz.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership directly, and derivatively on behalf of Media Station Inc. t/a Media Station LP,

Tunbridge Inc. t/a Tunbridge LP, and Scarborough Mews Inc. t/a Scarborough Mews LP demand

judgment for them and against Cynthia Cottman and Virginia Palusky as personal representatives

of the Estate of Brooke Powell Cottman in an amount of excess of $50,000.00 together with

attorneys fees and costs as allowed by law.




                                                             /s/ Eugene F. Jarrell, III
                                                             Eugene F. Jarrell, III, Esquire
                                                             Atty. I.D. No. 34748
                                                             Attorney for Plaintiffs
                                                             334 W. Front Street
                                                             Media, PA 19063
                                                             (610) 565-6130
                                                             efjarrell@gmail.com




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                        Exhibit A
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                                              BI'LAWS

                                                 OF

                                      MEDIA STATION INC.

                                    (a Penn syivani a corporation)



                                            ARTICLE      I
                                 OTTICES AND tr'ISCAL YEAR


           Section 1.01. REGISTERED OFFICE. The registered office of the corporation in
  Pennsylvania shall be at 340 Media Station Road, Media, PA 19063 until otherw-ise established
  by an amendmsnt of the articles or by the board of dkectors and a ri:cord of such gfrange is filed
  raith the Deparhent of State in the manner provided by law.

         Section 1.02. OTI{ER OFFICES. The corporation may also have offi.ces at such other
 places \riithin or without Pennsylvania as the board of directors may from time to time appoint
 or &e business of the corporation riray require.

        Section 1.03. FISCAL,     YEAR. The      fi.scal year of the, corporation shali begrn the 1st
 day ofJanuary in each year.

                                           ARTICLE      II
                      NOTICE - WAWE,RS - MEETINGS GENERALLY

         Section   2.01. MANNER
                              t
                                OF GI\rING NOTICE.

                (a) General Ru1e. Whenever written notice is required to be given to any
person under the provisions of the Business Corporation Law or by the Articles or these bylarvs,
it may be given to the person either personally or by sending a copy thereof by fust class or
 express mail, postage prepaid, or by telegram (with messenger service specified), telex or TWX
 (*ith answeiback received) or courier service, charges prepaid, or by facsimile tansmission, to
the addresS (or to the telex, TWX or facsimile number) of the persor appearing on the bools of
the corforation or, in the case of directors, supplied by the directois to the coeoration for the
purpose of notice. If the notice is sent by mail, telegraph or courier seruice, it,shall be deemed
to have been given to the person entitled therito when deposited in the Uniteil.states mail or
ratth a telegraph offi.ce or cowier service for delivery to that person or, in thp base of telex or
TWX, when dispatched or, in tle case of fassimile, w-hen received. A notiqe of meeting sha'I]
specify- the p1ace, day and hour of the meeting and any other inforaation required by any other
provision of the Business Corporation Law, the articles oi these bylaws.
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                         (b)Adjoumed Shareholder Meetings. .When a meeting of shareholders is
     adjoumed" it shall not be oecessary to give any notice of the adjoumed meeting or of the
     business to be 11ansacted at aa adjor:rned meeting, other tban by announcement at the meeting
     at which the adjournment is taken, unless the board fixes a nerv record date for the adjoumed
     meeting or these byla*s require notice of the business to be transacted and such notice has not
     previously been given.

             Section2.02. NOTICE OF MEETINGS OF BOARD OF DIRECTORS. Notice of a
     regular mgeting of the board of d.irectors need not be given. Notice of every special meeting of
     the board of directors shall be given to each director by telephone or in lrtiting at least 24 hor:rs
     (in the case of notice by telephone, telex, TWX or facsimile transmission) or 48 hours (in the
     case of notice by telegraph, courier sex-vice or express mail) or flve days (in the case of notice
     by ftg class mail) before the tiroe at rvhich the meeting is to be held. Every such notice shall
     state the time ar:d place of the meeting. Neither the business to be transacted at, nor the
     puryose of, any regular or special meeting of the board need be specified in a notice of a
     meeting.

               Section   2.03. NOICE OF MEETINGS OF SILAREHOLDERS'

                         (a)General RuIe. Written ootice of every meeting of the sbarebolders shall
     be given by, or at the direction ol'the secretary to each shareholder of record entitled to vote at
     the meetilg at least:

                                (1)      ten days prior to the day named for a meeting called to cousider a
                         fuadamental tansaction uacler 15 Pa. C.S. Chapter 19 regarding amendments of
                         arlicles of incorporation, mergers, consolidations, share exchanges, sale of
                         assets, divisions, conversions, liquidations and dissolution; or


                                @       five days prior to the day named for the meeting in any other   case.


                    neglects or refuses to give notice of a meeting, the person or persons caliing the
     tf the secretary
     meeting may do so. fu the case of a speeial meetilg of shareholders, flre notice shal1 specifr- t}e
     general nature of the business to be transacted, and i-n all cases the notice shall comply with the
     i*pr.r=    requirements of this section. The corporation shall not have a duty to augment the
     notice.

                           Notice of Action bv Shareholders on Bylaws. In the case of a meeting of
                         (b)
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     shareholders that has as one of its purposes acti.on on the bylaws, written notice shall be given
I
     to each shareholder that the purpose? or one of the purposes, of &e meetiag is to consider ttre
     adoption, amendment or repeal of &e bylain's. There sha1l be included in, or enclosed with, the
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     oott* a capy of the proposed amendment or a summary of the changes to be effected thereby-
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            Section   2.04. WAIVER     OF NOTICE.

                      (a)   Written'$/giver. Wbenever any *ritten notice is required to be given
    r:nder the provis-ions  of the Business Corporatioa law, the articles or these by'1aws, a *-aiver
    thereof in-writing, signed by the persorl or persons entitled to the notice, whether before or after
    the time stated therein, shaIl be deemed equivalent to the grving of the notice' Except as
    otherwise required by this subsection, neither the business to be transacted at, nor the purpose
    of, a meeting need be specified ia the waiver of notice of the m,eeting. h the case of a special
    meetilg of slareholderi the waiver olnotice shall specify the general oature of the business to
    be ka::-sacted.

                      (b) T/aiVer bv Attendance. Attendance of a person at any meeting shall
    constitute u *uir". of notice of the meeting except where a person attends a meeting for the
    express purpose of obj ecting, at the beginning of the meeting, to the u'nnsaotion of any business
    because the meeting tlas not lallfirlly called or convened'

            SCCIiON2.05. MODIFICATION OF PROPOSAL CONTAINED IN NONCE'
    $,&enever the language of a proposed resolution is included in a written notice of a meeting
    required to be given uod*r thi piodsions of the Business Corporadon Larv or the articles or
    these bylawr, th* meeting considering tbe resolutioa may without further notice adopt
                                                                                          it with
    such clarifying or other amendments as do not enlarge its original Purpose'

            section2.06. EXCEPTION TO REQIJIREMENT                OF NOTICE.


                      (a)  General Rule. Whenever any notice or corlmunication is required to be
    given to any person under the provisions of the Business Coqporation Law or by the articies or
    ihese hylaws or by the terms of uny agreement or other inskument or as a condition precedent
    to taking any colporate action aad cornmunication with that person is then unlawful, the
                                                                                             giving
    of the notice or commuaicationto that person shail not be required.
                                          'S/ithout Forwarding Addresses. Notice or o&er
                      (b)  Shaleholders
    communications shall not be sent to aoy shareholder i*ith whom the corporation has been
    unable to communicate for more than 24 consecutive months because commurications to the
    shareholder are ret{.rned unclaimed or the shareholder has otherwise failed to provide
                                                                                              ttre
    corporation lvith a crurent address. Whenever the shareholder provides the corporation with  a

    cgrrent address, the corporation shall commence sending notices and other communications to
    the shareholder in the same Eranner as to other shareholders.

                  2.07. USE OF CONFERENCE TELEPHONE AND SIMILAR EQUIPMENT.
            Section
    one or more perso$ may participate in a meeting of the board of directors or the shareholders
    of the           by means of conference telephoae or similar communicafions equipment by
          "orporutior
    means of srhich alt persons participating in the meeting can hear each other. Participation
                                                                                                ia a
    meeting pursuaut to this sectiou shall constitute presence in person at the meeting.


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                                                  ARTICLE      Itr
                                              SNdREHOLDERS

           Section3.O1. PLACE OF IVIEETING. All meetiags of the shareholders of t}e
     corporation shal1 be held at the registered of5ce of the corporation ualess another place is
     designated by the board of directors in the notice of a a:eetiag'

             Section 3.02. ANNUAI MEETING. The board of directors may fixthe date and time
     of the anirual meeting of the shareholders, but if no such date and time is fi,xed by the board, the
     meeting for any calendar year sha11 be held on the 15th day of April in such. year, if not a iegal
     ho6day under the laws of Pen-usy:lvani4 and, if a legal holiday, thea on the next succeeclirg
     business day, not a.saturday, at 10:00 o'clock, A. M., and at said meeting the sha:eholders then
     entitled to vote shall elect directors and shall transact such other business as rr1ay properll be
     brought before the meeting. If the annual meeting shall not have been called and held within
     six montls after the desigrated time, any shareholder' may call the meeting at any ti:ne
     thereafter. Except as otherwise provided in the articles, at least one meeting of the shareholder
     sha1l be held in each calendpr year for the election of directors.


             Section   3.03. SPECIAL MEETINGS'

                       (a)     Call of $pecial Meetines. Special meetings of the shareholders may be
     ca1led at any   time:

                               (1)     bytheboard ofdirectors; or

                                tZ)    unless otherwise provided in the articles, by shareholders entitled
                      to   cast at least 20Yo of the vote that all shareholders are entitled to cast at the
                       particular meeting'

                       (b)     Fixine Sme of Meeting.       any time, upon writteu. request of any
                                                               At
     person rv-ho has iat*a a special meetirg, it                                     fix the time of
                                                      shall be tbe duty of the secretary to
     ihe nr*"ting which shall be held not more thaa 60 days after the receipt of  the request.  If the
     secretary- neglects or reflises to fix a time of the meeting, the person or persoBs calling the
     meeting may do so.

             Section   3.04. QUORUM A]'{D ADJOURNMENT'

                       (")   Generai Rule. A meeting of shareholders of &e corporation duly calied
     shall aot be organized for the t'ansactiol of business unless a quorunr is preseat. The presence
     of shareholders entitled to cast at least a mqjoriry of the votes that all shareholders are entitled
     to cast on a parlicular matter to be acted upon at the meeting shail constitute a quorum for the
     purposes of locsideration and actior oa &e oatler. Shares of tie corporation, oi*led, directly
     o, La;rectty, by it      and conkolled, directly   or indirectly, by the board of directors of tlis

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     corporation, as such, shail not be cou:rted in determini:rg the total number of outstanding shares
     for quorum purposes at auy given time'

                        (b)IVithdrar],al of a Ouonrm. The sharebolders present at a duly organized
     meeting can continue to do busiaess untiL adjournment notwitlstanding the r*ith&alval of
     enough shareholders to leave less than a guorum.

                          AdjoFmment for Lack of Ouorur. If a meeting cannot be organi2ed
                        (c)
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     because u quoru* has uot aftended, those present may, sxcept as provided in the Business
     Cclporation Law, adjornn the meeting to such time and place as t.hey may determine-

                        (d)Adioumprents Ge.nerallv. Any meetir:g at w'hich directors are to be
     elected shall be adjolmed only from day to day, or for such longer periods not exceeding 15
     days each as the shareholders present aad entitled to vote shall direct, untiJ. the directors have
     been eleeted. Any other regular or special meeting may be adjoumed for such period as the
     shateholders present arld errtitled to vote shall direct'

                        (e) Electine Dkectors at Adjoqmed Meetiae. Those shareholders entitled to
     vote who attend a meetiag called for the election of directors that has been previously
     adjourned for lack of a quorum, although less than a quorum as fixed in this section shall
     nevertheless constitute a quorum for the pulpose of electing directors'

                        ffl   Other Action in. Absence   olQgg4rg.   Those shareholders entitled to vote
     rvho attend a meeting of shareholders that has beea        previously  adjourned for one or more
     periods aggregating ai least 15 days because of an absence of a quorum, although less than a
     q*o.u* ur A**a in this section, shal1nevertbeless constitute a quorml for the purpose of acting
     upon a11y raatter set forth in the aotice af &e meeting if the notice states that those shareholders
     vrho a1end the acljouraed meeting shall nevertleless constitute a quorum for the purpose of
     acting upon tle matter.

              Section   3.05. ACTTON BY SHAREHOLDERS'

                        (a)     General Rule. Except as otherwise provided in the Business Corporation
     Lalv   or the articles or these bylaws, lv-benever arry corporate action is to be taken by vote of the
     shareholders of the corporation, it shall be authorized upon receiving the affirmative vote of a
     majority of the votes cast by all shareholders entitled to vote thereon.
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                        (b)  Interested SharehokJers Any mergff or other transaction authorized
     ,nder 15pa.C.S. Subchapter 19C behveen the corporation or subsidiary thereof and a
 l
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     shareholder of this coqporatio4 or aay voluntary liquidation authorized under 15 Pa'C-S.
.l   Subchapter 19F h whicn a shareholder is teated differently fiom other shareholders of the
     ,r*" ,i*, (other tlaa any dissenting shareholders), shall require &e affi.rmative vote of the
     sh.areholders entitled to cast at least a majority of the votes that all shareholders other than the
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     interested shareholder are entitled to cast with respect to the tansaction, tithout counting the
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     voie of the interested shareholder. For the purposes of the preceding senterce, interested
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                                                                        transaction or rvho is teated
    shareholder shall include the shareholder who is a parly to tle
                                                                                &at-is acting jointly or
    difterently Aom other shareholders and any pelsoll, oI gloup ofpersons,
    ia concert wi& the interested shareholder *d *y person who, d.kectly or indirectiy,
                                                                                            conbols, is
    conkolled by or is under cotrunoa control raith the interested shareholder-
                                                                                         An   interested

    shareholder sba1l not include atry pelson who, in good faith and
                                                                              not for the purpose of
                                                                           oI trustee fOr one oI more
    circumventing this subsectior, is an agent, foenk, brOker, norninee
                                                                                    shareholders'
    other perso*, to th. extent that the other person or persoos are not interested

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                   (c)Exceptions.Subsection(b)shallnotapplytoatransaction:

                           (1)     that has been approved by a majority vote of the boarcl of
                   directorswit}outcor.rntingthevoteofdirectors.who:

                                   (r)       are directors or officers    of   or have a material equity
                           interest i:r, the interested shareholder; or

                                   (ii)    were norninated for election as a director by the interested
                           sharehoider, and first elected as a director, within 24 months
                                                                                            of the date
                           of the vote ou tle proposed transaction; or

                                    j:r which the consideration to be received by the shareholders for
                           {2)
                    shares of*y    class'of which shares are owned by the interested shareholder is
                    not less tlan the highest amount paid by the irrterested shareholder
                                                                                          in acquiring
                    shares of the same class.

                    (d)     Additional Approyals. The appror-als required by subsection (b) shali be
                                                                                               Law'
    in addition to, and oot irl li*, of, *V oAi. approval required by the Business Colporation
    the articles or these bylaws, or otherwise'
                                                                                           the chairrraa
            section 3.06. ORGANIZATI0N. At every mieting of the shareholders,
                                                                            absence of the c'hairman of
    of the board, if there be one, or, in the case of vacancy in oflice or
                                                                                        chairean of the
    the board, one of the following officers present in the arder stated: the vice
    board, if there be one, the presiEen! &e vice presidents in theirorder of
                                                                                 ralk and seniority, or a
    p*rroo chosen Uy vote of ?te shariiolders piesent, shall act as chairman of the meeting'
                                                                                                     The
                                                                           or in the absence of both  the
    iecretary or, in dhe absence of the secretary, aa assistant secletary,
                                                                     chain::an of the meeting,  shali acl
    secreiary and assis'raat sectetaries, u p.r.oo uppointed by the
    as secretary.

                                                                            Unless otherwise provided
            section 3.07. voTING RIGIIIS OF SILAREHOLDERS.
                                                                               one vote for every share
    in the articles, *r"ry sharebolder of the corporation shall be entilled to
    standing in the oa-m.e of the shareholder on the book of the corporation'




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       Section   3.08. VOTING AND OT}{ER ACTION BY PROXY'

                 (a)    General Bule.

                        (1)    Every shareholder entitled to vote at a meeting of shareholders or
                 to express consent or dissent to corporate action in writing without a meeting
                 may authorize another pelson to act for the shareholder by proxy.

                        (2)    The presence of, or vote or other action at a meeting of
                 sharehoiders, or the expression of consent or dissent to corporate action in
                 writing, by a proxy of a shareholder shal1 constitute the presence of, or vote or
                 acti.on by, or *ritten consenl or dissent of the shareholder.

                        (3)     where   l\,v*oor more proxies of a shareholder are present, the
                 .*rporuiioo sball, urless o&erwise expressly provided i" e? Plory', accept as the
                 vote of all shares represented thereby the vote cast by a majority of them and,
                                                                                                  if
                                                                              represeated  shall be
                 a majority of the pioxles camot agree whether the shares
                 voted or,rpoo the m.rrlner of voting the shares, the votiag of the shares shall be
                 divided equally among those persons'

                 (b)  Executioa a.nd Filine. Every proxy shali be executed in viriting by the
                                                                               and filed with the
shareholder or by tu. aofy u"A*ired. attonrey-in-fact of the shareholder
secretary of the corporatioo. A telegrarn, telex, cablegram, datagam
                                                                          or similar tansmission
                                                                                             of a
&om a slrareholder or atrorney-in-fact, or a photographic, facsimile 6Y similar reproduction
writing executed by a shareholder or attorney-in-fact:

                         (1)    may be h'eated as properly executed for purposes of this section;
                 and

                         Q)     sbali be so treated if it sets forth a con-fidential and unique
                 laentificaiion numbff or other mark fi:mished by the corporation to the
                 shareholder for the purposes of a particular meeting   e1   fuansaction'


                 (c)   Revocation. A proxy, udess coupled with an interest, shali be revocable
                                                                         proxy to &e contr:ary, but
at rvill, ont*itAri*Aog *y nthti agriement or any prov-ision in the
                                                                              has been given to &e
the revocation of a pro;y shall aot bi effective until wriiten notice tlereof
secrer-ary of the              An unrevoked proxy sha11 not be valid after three years &om the
                  "olporutoo.
date of its executioo oot"tt a longer time is expressly provided &erein.
                                                                              A proxy sha1l not be
revoked by the death or incapacity of the maker unless, before the vote
                                                                                 is countad or the
                                                                                    secretary of the
authority is exercised, written notice of the death or iacapacity is given to the
corporation.

               (d) Expenses. Unless othenvise restricted in the articles, the corporation
                                                                          of shareholders
shali pay th" ,.*ooubiJ$*es of solicitation of votes, proxies or consents
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     by or on behalf of the board of directors or its no-ninees for election to the board, including
     solicitation. by professional prory solicito'rs and other*ise.

             Section 3.09. VOTING BY FIDUCIARTES AND PLEDGEES. ShATCS Of thc
     corporation stand.ing in the lurme of a t'ustee or other fiduciary and shares held by an assignee
     for the benefit of creditors or by a receiver may be voted by the tmstee, fiduciary, assignee or
     receiver. A sbareholder *-hose shares are piedged shali be entitled to vote the shares rmtil the
     shares have been tran-sferred into the name of the pledgee, or a noarinee of the
-1                                                                                          pledgee, but
 I
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     nothing in this section shal1 affect the validity of a proxy given to a pledgee or aominee.

               Section 3.10. VOTING BY JOINT HOLDERS OF SIIARES'

                          General Rule. Where shares of the coqporation are held jointly or as
                         (a)
     tenants in common by tlYo oI more pefsons, as fiduciaries or othenr"ise:

                                        (1) if oaly one or more of such persons is present in person or by
                         proxy, alf of the shares standing in ttre aames of such persons shali be deemed to
                         be represented for the purpose of determining a quofl:m and the corporation
                         shall accept as the vote of a1l the shares the vote cast by a joint olYner or a
                         majorifY of them; aad

                                        (2)
                                          if thd persons are equally divided upon lvhether the shares held by
                         them sha1l be voted o, upo, the manler of voting the shares, &e voti::g of the
                         shares shall be divided eq-ually among the persons rvithout prejudice to tle
                                                                                                       dghts
                         of the joint o\lme s or the beneficial o1l,ners thereof among thenselves"

                         (b) Exception. lf there has been f,led with the secretary of the corporation
                                                                                                       a

     copy, certilied by- an uttoil"y at larv to be correct, of the relevant portions of tbe agleement
            which the shares are leta or the instrument by w'hich the trust or estate was created or the
     ""AL,
     order of court appointing them or of an order of court directing the voting of &e shares, the
     persorls specifi.e& as having sueh voting polver in the document latest in date of operative
                                                                                                  effect
     io filed, La ooty those persons, shall be entitied to vote the shares but only in accordance
     therewith.

               Section   3 .1   1   .   VOTING BY CORPORATIONS

                    (a) yotilg bv Comorate Shareboldejs. Any corporation that is a shareholder
     of this corporation *"y         by *y of its officers oI agents, or by plo)';,' appointed by aay
                                ""tt
     officer or fuent, rurless so:le other perso& by resolution of the board of directors of the other
                                                                                             or prolision
     coqporation or provtsion of its articles or bylaws, a copy of which resolution
     ce*ified to be correct by one of its officers has been filed with the secretary of this colporatioq
                                                                                              to vote the
     is appointed its general-or special proxy in which case that person shall be entitied
     shares.
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                  fh) Cont'olied Shares. Shares of this corporation owned, directly or
indirectly;    by it *a *ot'otied, directly or indirectly, by the board of directors of this
            as such, shall not be voted at atry meefing and shall not be counted
                                                                                 in determining
"o.poru{oo,
thejotal number of outstaading shares for votingpulposes at any   given time'

         SCCIiON    3.12. DETERMINATION OF S}IAREHOLDERS                OF RECORD.


                   (a)  Fixing Record Date. The board of directors may fix a time prior to the
date of *y ***tiog oisharebolders as a record date for the determiaation of the
                                                                                      shareholders
enlitled to notice of, o, to vote at, the meeti:rg, which time, except in &e case of an adjor:rned
**-alog, statt te ,.ot *or* tlaa 90 days prior to tle date of the meeting of shareholders. Oaly
                                                                                    any ha:rsfer of
shareholders of record on the date fixed sha1l be so entitled norwithstanding
shares on, the books of the corporation after any record. datE          fixed  as provided  in this
subsection. The board of directors may similsly frx a record date for the deiermination
                                                                                                 of
                                                                                         of reeord
shareholders of record for aay other purpose. WhEn a determinatioa of shareAolders
                                                                            the determination shali
has been made as provided in this section for purposes of a meeting,
apply to any adjoumment thereof unless the board fixes a new record date for
                                                                                     &e adjorrned
meeting.

                   (b)                                                         Ifarecord date is not
fixed:

                           (l)    The record date for determining shareholders eutitled to notice of
                   o, to voie at a meeting of strareholders shall be at the close of business on &e
                   date next preceding tli aay on wbich notice is given or, if ootice is waived,
                                                                                                   at
                   the close of Uusiliss on the d.ay immediately preceding the day on which      the
                   meeting is held-

                           e)      The record date for detennining shareholders entitled to express
                   consent or dissent to coqporate action in witing without a meeting, whea
                                                                                                prior
                                                                                                  the
                   action by the board of directors is not necessaly, to call a spegi{ meeting of
                   shareholders or propose an amendment of the articles, sha11       be the  close of
                   business on tle d.y-oo which the first written consent or dissenl request for a
                   special meeting or petition proposing aa amendment of the articles is filed with
                   the secretarY of the corPoration.

                           (3)    The record date for determining shareholders for any other
                    puq)osa rUutt U* at the close of business on the day on which the board of
                    directors adopts the resolution relating thereto'

          Section   3.13. VOTING LISTS.

                    (a)          Rule. The officer or agent having charge of the transfer books
                            General
                                                                                         vote at
for   shares   of the.orp*utioo in* *uk. a conrplete list of &e shareholders entitledto
                                                                            of and the uuxnber
any meeting of sharJholders, slanged in alphabetical orda, with the address



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                                    shal1 be produced and                     and place of the
                                                               kep open at the time
of shares held by each. The list
                                                                         the whole time of the
meeting and shalL be zubject to the inspection of any shareholder during
6sgfing for the pqposes thereof.

                (b) Fffect of List. Failure to comply with the requirements of this section
shall not effect a. ,*@ of *y *tion taken at a meeting
                                                        prior to a demand a! the meeting by
                                                gxamins the list. The original share register or
any shareholder entitled io voti tlereat 1s
                                                                           be prima facie evidence
h.a::sfer book, or a duplicate thereof kept in this Commonwealth, shall
                                                               share register or transfer book or to
as to who are the shariholders entitled to examine the list or
vote at anymeeting of shareholders.

        Section   3.14.   ILTDGES OF ELECTION'

                  (a) Appointneut. In           advance of any meeting of shareholders of the                '


corporation, the toard of directors may appoint
                                                            judges of election' w-ho need not be
sharehoiders, to act al the meeting or any a{oumment thereof'
                                                                      Ifjudges of election are not so
                                                                              of any shareholder shall,
ufpointed, the presiding officer ofth" meeti:lg may, and on the request
                                                                   judges shall be one or three' A
appoint juages of elecioa at the meeting. The number .of
p"iroo ,*'t o ir a candidate for ofiice to be fi11ed at tle meetiag sha11
                                                                          not act as a judge'

                  (b)     vacancies.     case any pelson appointed as a judge fails to appeal or
                                     "In                                by the board of directors
fails or refuses to act, tbe vacancy may be fil}edby appoirtmetrt made
                                                                    presiding officer thereof'
ia advance of the coavening of the meeting or at the meeting by &e

               (c) Duties. The judges of election shal1 detenaine the number of shares
sulstrmrting *d A. ,o@!o*., of t*ih the shares represented
                                                            at the meeting, the existence
                                                                        ballots, hear and
                                                                                    or
of a quorum, the autheatliity, validif and effect of proxies, receive votes
                                                                                 with  the right to vote'
deterrnine all ehalleng", *d questions in any way arisi:lg in
                                                                      connection
                                                                             may be proper to conduct
count and tabulate all-votes, aitermine the risuit and do such acts as
                                                                 judges  of election shall Plform
the election or vote with fairness to all shareholders' The                                         lheT
                                      to the best of their abiiiry and  as expeditiously  as is practical'
J.rti", impartially, in good   faith,
If there are three j"ig"r of ellction, the decision, act or ceriificate of a majority shal1 be
effective in all respects as tle decision , act or certificate of all.

                  (d)Report. On request of the presirling offrcer of the meeting, or of any
                                                             challenge or question or matter
shareholder, the judg;;;al make a ieport in witing of-aoy
determined by tfr"t", and execute a certificate of any fact found
                                                                   by them' Any report or
certificate made by them     sha11 be   prima facie evidence of the facts stated therein'

        SCCIiON   3.15. CONSENT          OF S}IAREHOLDERS         IN LIEU OF MEETING'

                     Unanimous_.\Yritten Co4sent. A:ry action required or
                                                                           permitted to be
                  (a)
                                                                  may   be taken without a
takea at a meeting ofE"lff-Uota*rr oi of a class of shareholders
meeting if, prior or subsequent to the action, a consent or consents
                                                                     tlereto by all of the




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shareholders v;-ho would be entitled to vote at a meeting
                                                          for such purpose sha1l be fiied with the
secretary of the corPoration

                     (b)partial Written Conseut. Any action required or pennitted to be taken at
a meeting of the ,h*.frld.., oi of a class of shareholders
                                                           may be taken r*ithout ameeting upoa
                                                                    to cast the minirnrun number
the u,riiten consent of shareholders rvho wouLd have been entitled
                                                                        at which al1 shareholders
of votes &at would t" o.."rr*y'to authorize the action at a meeting
                                                                       be  filed witb the secretary
entitled to vote thereon were present aud voting. The consents
                                                                 sha1l
                                                                   after at least ten days' ll.titten
of the corporation. The action shal1 not beco.Le effective until
                                                                    to vote thereon who has not
notice of the action has been given to each shareholder entitled
consented thereto.

            Section3'l6.MINORSASSECURITYHOLDERS.Thecoqporateoamaytreata
                                                                        capacity to receivi and to
minor who holds shares or obligations of the corporation as havin*e
                                                                      payments or distributions' to
empolver others to receive dir,idends, interest, principal and o&er
                                                                   exercise rights relaiing to zuch
vote Or express consent or dissent and to *uL" eleitions and
shares or obligations ualess, ln the case of pal1]leots
                                                 -of     or distributions on shares' the corporate
officer responsible for maietaining the fst          shareholders oI the transfer agent of the
                                                                            the treasurer or payi::g
            or, in the case of paymeats or distributions on obligations,
       or ageat has received *titten notice that the holder is a minor'
"orporutioo
od*.,
                                                 ARTICLE tV

                                         BOARD OF DIRECTORS

            Section   4.01. POWERS; PERSONAL LLABILITY'

                              General Rule. Uuless otberwise provided by statute
                                                                                 all pcrvers vested by
                      (a)
law-   in   tJre   corporutio*-ihfib* exercised  by cr ru:deithe authority o[ and^tfe business and
                                                                of, the board of directors'
affairs of the corporation shall be maaaged under the direction

                      (b)                                              .ce. A director shall stand in       a

fiduciary      r*tatili to 6* *rp*utioo         *a   tltutl    p*rform his or her duties as a director,
                                                              it
                                                                                                mav    serve'
               ;;;;;;r                                                     *&ich +1-^
                                                       e of the board upoa --J^:-t
                                                                                       l:-^^+^-
                                                                                   the director rff6rr c5friF
;:i;#-                      a membe.  br uoy committe
il";:;"intd;;'*r""er                 the direclgr reasonably believesi:,I. I. :r,*:_t"yi:r:rj:"::"t*
                                                                                   ^ !-^-, :-+^-^^+^ ^f +Lo

ffiIli#ffrrt-h                rr"t care, includinq.reas.orable inquirv,.tkil'T1l::tilt:ltri"pil:"":        ":
;:ffi##;J$ffi^;                        ,"d;;;ffiar
                                               circumsrani-:,           *
                                                                 perrorming his or her duties, a
                                                                 . ,a --! ^^^
                                                                 opinions,
                                                                              *^-^J-
                                                                              repods or o*a*c*anfc
                                                                                        statemen'ts,
director shall be entitled to rely in good failh oa information,
                                                                                     ^*

                                                                   case prepared or presente by
including financial statements aad other finaacial data, in each
any of the following:

                               (1)  one or more officels or employees of the corporation t'hom the
                      director ieasonably believes to be reliable and competent
                                                                                   in the matters
                      presented.




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                           (2)   Cognsel, public accountants or other pelsons as to matters
                                                                                            which
                   &e airejor reasonably believes to be within the        professional  or  expert
                   comPetence of zuch Person'

                           (3)    A committee of   the board upon which the director does not serve,
                   duly desipared    in   accordance rvith law, as lo maiters r*-ithin its designated
                                                                                          confidence'
                   authority,"ll.hich committee the director reasonably believes to merit

    A director shall not be considererl to be actin-s in     good faith if the director has knowiedge
x                                                                              to be unwarranted'
    concerni.ng the matter in question tbat r';oul,J cause his or her reliance

                   (c)    Consideration of Factors. ln dischargrng the duties of.&eir respective
    positions, the board of directors,               of the board and individual directors may, in
                                        "o'.,*iu"es                               of rlny action upon
    considerilg &e best interests of the corporaiion, consider the eft'ects
                                                                      and upon communities in which
    employees, upoa suppliers and customers of tU* corporation
    offices or other                 of the coqporatiotr are l0cated, aud ali other pertinent factors.
                     "rtuurrn*.nts
    The consideration of those factors shall noi coustitute a violatioa
                                                                        of subsection ft)'

                   (d)        presumption. Absent breach of fiduciary duty, lack of good faith or self-
                                                                      action shall be presumed to be in
    dealing, actions talien L a director or ally failure to talie any
    the best i:rterests of tJre corporation'

                   (e)     Persoral Liabilitv- of Directors'

                           (1) A director shall not be personally liable, as such, for monetary
                                                                       any action, unless:
                   damages io, *y action taken, or any faiiure to take

                                   (1)      the director has breached or failed to perform the duties of
                           his or her office under this section; and

                                   (ii)    the breach or failure to perforrn constifr.rtes self-dea1ing,
                           willful m.isconduct or recklessness'

                           e)      The provisions of paragraph (1) shall. nat apply to                the

                    ,"rpo*ibitity or liability of a director pursuant to any criminal statute, or fle
                    iiuUliit-.y of a director for the palment of tu*tt pursuant
                                                                                to local, State or Federal
                    law'
                                                                                              the board
                    (0     Notation of Disseni. A director u-ho is present at a meeting of
                                      of ae u"*+ at which action on auy corporate       matter  is takea
    of d"irectors, or of u.ffi*
                                                                    his or her dissent is entered in the
    shall be presumed to bave assented to the ,*iioo taken unless
                                                                       dissest to the action with the
    minutes of &e meeting or unless the dkector files a *ritten
                                                             or transmits the dissent ia writing to the
    secretary of the *.*ti"iu*fore the adjournmentthereof
                                                                        of the meeting' The right to
    secretary of the coffiation irnmediately after &e adjoumment
                                                                                         in this secti'a
    dissent shail not  ,*il;    a airector w.ho voted in favor of the action. Nothing



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      sha1l bar a director from asserting that minutes of the meeting incorrectly omiued
      d.issent if, promptly upon receipt of a copy of such milutes, the director notif.es
                                                                                                his or her
                                                                                          the secretary i:r
                                                                                                              ,t
      writing, of the asserted omission or inaccuracy-

              Section   4.02. QUALIFICATION AND SELECTION               OF DIRECTORS.


                        (a) Oualificatigns. Each director of the corporation shali be a natural person
      of full age who need not be a resident of Pennsylvani4 s1 a shareholder of the corporation.

                        (b)   Electiou of Directors. Except as otherrvise provided in these bylaws,
      directors of the                shal1 be elected by the shareholders. In elections for directors,
                        "orpo*tioo
      voting:reed not be by ballot, except upon deraand made by a shareholder entitled to vote at the
      election and before ihe voting besins. The candidates receivtng the higbest number of votes
      from each class or group oiclass"s, ii any, entifled to elect directors separateiy up to the
      aumber of directors io bi elected by the class or group of classes shall be elected. If at any
      meeting of sbareholders, directors of more than one class are to be elected, each class of
      directors shall be elected in a separate electioa-

                        (c)
                        \ -/ Cumulaiive Voting. Unless the articles provide for straight vsling, in
      each election of diiectori every shareholder entitled to vote shall have the right to multiply
                                                                                                      the
      number of votes to wtrich the shareholder may be entitled by the total number of directors to be
      elected in the same election by the holders of the class or classes of shares of which
                                                                                               his or her
      shares are a part and the shareholders may cast the whole number of his or her
                                                                                           votes  for one
      candidate or may distribute them among two or more caadidates.

              Section   4.03. NUMBER AND TERM Of' OFFICE'

                    (a) Nurqber. The boasd of dlectors shal1 consist of two directo5; -^ol.
      Class A director *a o* Cl.*s B dkector. Only shareholders owuing Ciass A
                                                                                stock of the
      corporation sba]l be eatitled to cast votes to elect the Class A director- Only shareholders
      or,laing Class B stock of tbe corporation shall be entitled to cast votes to elect the Ciass B
      director. The temr of appointment of each of the Class A Director and &e Class B Director
 I
.ii   shall be one year.

                        (b)  }rdep.endent Advisor. The shareholders sha1l cast votes to select an
  J   i.ndependent advisor once arrnuully at the same time the shareholders cast
                                                                                     votes to elect the
                                                                                 be given  uotice of nor
      directors. The independent ad^visor sha1l not be a director and sha1l not
      attend a,,y regular ir special neetings of the board of directors unless and until the board is
                                                                                    particular rnatter or
      unable to reach u ,"uolitioo by the required number of director votes on a
                                                                                         in this manner.
      issue during aregular or special meeting. Should the board become deadlocked
      any directoi maycali a special meeting of the board for the sole purpose of resolving any such
                                                                                             advisor that
      deadlock ar:6 ai least teidays prior to such meeting, give notice to the independent
      the meeting will take place *i thut the i:rdependent advisor shor.rld attend. At the meeting
                                                                                                       the
                                                                                              for the sole
      independent advisor wi1l be permitted to cast one vote as if he or she were a direetor
      purpose of breaking the deadlock.



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                (c)Tennofoffice..Eachd.irectororindependentadvisorshallholdoffice
                                                            until a successor has been
until the expiration ore: t*r* ro,
                                      o*i; t; or she was electld and                 decrease in the
              qualifrJ o. .,ntit his or her eartier death, resignadon or removal' A
selected an,1                                                          of any inc,nrbent director'
number of directors ,u-u        have &e effect of shortening &e term
                            "r,
              (d)Resignation.Anydirectororindependentadvisormayresignata::ytime
                                                                        upon receipt tbereof
upon written notice t"Eilorp"*tioo.- ra* resignation-sba1r be effective
bythecorporationoratsuchsubsequenttimeasshallbespecifiedia&enoticeofresignation.

        Section   4.04' VACANCIES'
                                                          board of directors'    including vacancies
                (a) General Rule. -vacancies in theand      vacancies of the independent advisor
resulting &om an i,,c.G;G          Eumb"i oi air""tors,                                to select a
                   ti-rr.a ty a majority voi*   a-   sharebolders who are be eatitled
positio4  shali be                            "i ua"itorship' as applicable' F e* event of a
director to fiI1 the directorshrp, * ira"i""Jt"t                               of such vacancy so
                                                give notice to th" sharebolders
vacancy, tt * corporution sUafiir"meOiaiety
                                               for the pur:pos: of casting votes for a replacement
that a shareholder meeti,g may be called
                                    g*r. Jir*"t", i"a.pendent advisoi so elected. shall serve for
director or independent adi-isor.                  "i                                        or until
                               terq  and        u           has beea selected and qualified'
the balance  of the unexpired             "oiif 'o""*'J'
                                         removal'
Uit o, her earlier death, resignation or
                                        Di                                  dV        . If there is au
 ,nn1'ed,^.#'t,u  (b)

 Hfl f 3rHtriJ.3,T:;trJ',"HH:?ffi ,ffi;;*;oruarof
                                                                                 HffJ;i'l'flTtri
                                                                             theshareholdersandthe

 independent director.

         Sectlon     4.05' REMOVAL        OF DIRECTORS'


                (a}Theentireboardofdirectors,branyclass                                        a*y
               or  any l"di"tdrrl dit"*r#ffi   Ut t**or.ed &om offi'ce *tthout assigdng
 of the board,                                                          of s,ares, entitledto elect
 cause by the..or* olr#ilffi;r,
                                   ;;i,a* irJra*rs of a class or series
                                                                   the board oI any one oI I]10IB
                                          case the board or a class of
 ditectors, or the elass of directors. In                                                boaid of
            are so remoYed,    new  directott **y: be elected at the same meeti'ng' The
 directors                                                           the unanimous vote or consent
 di.reitors may be .**"i      at any time with or witho*t cause by
 of shareholders endtled to vote thereon'

                 &)RemovalbythgBoard.TheboldofdirectolsIIIaydeclarevacant&e
                                      juffiy      declared of unsound mind or who
                                                                                         has been
  office  of a director who has been
                                                         fo' a t-tm of more than one year or i1;
  coavieted of an ofiense pueishable b; i*fi;"nment
                                                     the director does not accept the of'ce
                                                                                            either
  u,ithin 60 days uao *otiL of his o, her seiection*
  in writing or by attending      a meeti:rg   of the board of directors'


                                                                  e uoara is removed) if
                     G)Rernovalof.DirectorsE,lecte-dbyCumulatiu:.Vo.ting.Anindividual
  director   shal1   not be iemovea (*rt.r


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      sufficient votes are casl agaimt the resolution for his removal which, if cumulatively voted at an
      annual or other regular election of directors, r'ould be suff.cient to elect one or more directors
      to the board or to the class-

              Section4.06. PLACE OF MEETINGS. Meetings of the board of directors may be held
      at such place within or without Pen::sylvania as the board of directors may from time to time
      appoint or   as nlay be designated   in the notice of the meeting'

              Section 4.07. ORGANTZATION OF MEETINGS. At every meeting of the board of
      directors, the chairman of the board, if there be one, or, in the case of a vacancy ia the offi.ce or
      absence of tn" chairman of the board, one of the following ofEcers present in the order stated:
      the vice chairman of the board, if there be one, the president, the vice presidents in their order
      of ranlc and seniority, or a person chosen by a majority of the directors preselt, shall act as
      chairman of the mieting. The secretary or, in the absence of the secretary, an assislant
      secretary, or, in the absence of the secretary and the assistant secretaries, any person appointed
      by the chairman of the meeting, shall act as secretary.

              Section 4.08. REGI;LAR MEETINGS. Regular meetings of the board of directors
      shall be held at such time and place as shall be designated from time to time by resolution of the
      board of directors.

              Section4.09. SPECIAL MEETINGS. Special meetings of tle board of directors shall
  i
  I   be held whenever called by the chairman or by rw*o or more of ttre directors'
,.,


              Section    4.10. QUORLIM OF AND ACTION BY DIRECTORS'

                        (")  General Rule. A majority of the directors iu of6ce of the corporation
      shall be necessary to constitute a quorum for the transaction of business and the acts of a
      majoriry of the directors present and voting at a meeting at which a quorL{n is present sba1l be
      tAe acti of the board of directors. In the case of a vaca$cy in the board of directors, the
      remaining director and the independent advisor shall constitute a quoru"m'

                        (b)  .A.ction by Writren Consgnt. Any ac.tion required or
                                                                                      permltted to be taken
                                                                             il
      at a meeting of the Oiriito6 may be tal<en without a meeting prior or subsequent to the
      action, a consent or consents thereto by all of the directors in office is filed iffith the secretary of
      the corporation,

              Section 4.1     1, E)GC[]-IIVE AND OTHER COMMITTEES'
                        fa)
                        \-/  F,stablishment and Powers. The board of directors may, by resolution
      adopted by a majority     *r" directors in offi.ce, establish one or more committees to consist of
      oo* o, more directors"fof the corporation. Any committee, to the extent provided in the
      resolution of the board of dkectors, shall have and may exercise all of the powers aud authority
      of the board of directors except that a committee shall not have any pov/er or authority as to the
      following:


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                                                                      action requiring approval
                        (i)   The submission to shareholders of any
               or snarelotders under the Business
                                                  is corporation Law'

                                                                             board of directors'
                        A)        The creation or &lling of vacancies in the

                                                                             by-laws'
                        (3)       The adoption, ameadment or repeal of these

                        (4)Theamendmentorrepealofanyresolutionoftheboardthatby
                                                         by the board'
               its temrs is ameudable or repealable only

                        (5)Actioaonmatterscommittedbyaresolrrtionoftheboardof
               directors   io   anotber committee oI'the board'

               (b)A.lternateC-o$mitteeMembers.Theboardmaydesignateoneormole
                                                        any ableat or disqualifred
                    ,r"*b*' 'f *y **,nitto who may replace
directors as altemate
memberatanymeetingofthecommitleeorforthepurposesofanywrittenactionbythe
                                                                      member or mearbers
committee. Io the ;b;;";   disqualification of a m**b.i and alternate
                                                      at any meeting and not disqualifled
                                                present
cf a comraittee, the rnember or members thereof may usanimousiy appoint                another director
                                        a quonrm,
from voting, *letb., oinot constituting
toaetattbe*"*tiogi,'l*pru..oft}eabsentordisqualifiedmember.
                (c)Term.Eachcommitteeoftheboardshaliserveatthepleasureofthe
board.

                (d)ConimitteePJocedures-Theterm''boaldofdirectors''or'',boatd,''lYhen     of or tbe
                                          ,eluting to tle organizatiotr oI p-ro.cedures
used in any provisioo oFtfr*r. Uylaws                                               and refer to any
                                      of air..tor-=, shalr be Jonstrued to inclrrde
man$er of taking actisa by the board
**ecu'riv* or other committee of the board'
                                                           of directors sha1l have the authority to
        section4.12. .0M*ENSATION. The board
fixcompensatlonofdirectoffifortheirservicesasdirectorsandadirectormaybeasa]aried
officer of the corPoration'
                                               ARTICLE Y

                                                OF'FICERS

          Sectioo   5.01' OFFICERS GENERALLY'

                (a)Nr:mb.er.oualifi.catio*andDesigFationTheofficersofthecorporation
                                                          other offtcers as may be elected in
 shall be a president, a secretary, :_E.**GGE&                                be dire.'ors or
             ovitir tue,;;;i"*'of    Section 5'03' officdrs may but need not
 accordance                                                                            of i:11 age'
 shareholders of the corporation.
                                  The president and secretary ro* !* "*Tilpersons
                                                                                age' The board of
     teasurer  rnay  be a coryoradon, but if a trefixal p'*oo shall be of f,rl1
 The


                                                      i6
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                                                      the board a chairman of the board and a'r'ice
     directors may elect from among the members of
                                                        corporation. An)'arrmber of offices may be
     chairmaa of the m*a i"U" shal"l be officers of the
     held by the same Person.

                     (b)Resimations.Anyofficermayresignata]3ytimeuponrwittennoticeto
                                                               receipt thereof by the corporadon or at
     the corporation. The **ig;utio" tha1_b; effective upon
                                                             of resignation'
     such sribsequent time as m*y be specified in the notice

                      (c)      Bondins. The corporation may     secure the   fidelity of any or all of   its

     offi.cers bY bond or othenvise'
                                                                                 the articles, an officer
                      (d)   Standard of Care. Except as otherwise provided in
     shall perfonn his or her duties as ry 9fttcer   t  good faith, in a manner he or sbe reasonably
                                                                                  iogludirg reasonable
     believes to be in the iest interests of the *orporulioo and lvith such cate,
                                                           prudence would use under similar
     inquuy, skill and diligence, as a persoa of ordinary
     circumstances. A ;,-,i. ,,oo ,o p*rfor*. his or her
                                                         d*ies shafl not be liable by reason of
     having been an officer of the corporatroa'

             Sec-tion5'02,ELECTIONANDTERM0FoFFiCE.Theofficersofthecorporation,
                                                  pursuaat to section 5'03, shatl be elected aanualiy
:(   escept tbose etectecl by del*gated authoriqy
                                                          hold office for a term of oae year and until
     by the board orairitorr, anieach so.h offi".r shau
                                                                    her earlier death' resignation or
     a successor has been selectecL aad qualified or r:ntil his or
     removal.

                              SUBORDII{ATE OFFICERS' COMMTTEES AND AGENTS'
                                                                                                     ThC
                SECIiONS.O3.
                                                            other offi.cers and appoial stich committees,
     board of directors o.,.uy fro- time to time elect such
                                                         corporation may require' including ooe Or more
     employees or nther agen , *, the business of the
                                                                     each of *-hom shall hold office for
      assistant secretaries, and one oI mole assistant treasurers,
                                                       such duties as are proyided in these bylaws or as
      such period, have such authoriiy*, aad perforin
                                                                  The board of direetors may delegate to
     .the board of directors may &om time io time determine.
                                                                       officers and to retain or appoint
      any offi.cer or committ.. th" power to elect subordinate
                                                            aud to prescribe the authoriB' al1d duties of
      employees o, otner agertr, or committees thereof
                                                                    agents'
      su& subordinate officers, ssmmittees, employees or other

             Section 5.04. REMOVAL OF OFFICERS AND
                                                                  AGENTS' Any officer or agent of the
      corporation may beremoved by the board of direciors
                                                              i*ith or lvithout cause. The removal shall
                                                                  any pelson so remo.ved' Eiection or
      be without prejudice to the contract rights, f *y, of
                                                           ffeate contlact rights'
      appointrneni of * om.rr or agent shall not of itself
                                                                           because of death, resigaation'
              section 5.05. VACANCIES. A vacancy in any office
                                                            Ue tiitea Uy  the board of directors or by the
      removal, disqualification, ot any other cause, stralt
                                                                  ofiice has been delegated pursuaut to
      officer or committee to which the power to fiil such
      section 5.03, as the case rnay be, and if the office
                                                             is one for which these bylaws prescribe a
                                                            term.
      ierm, shall Ue nuea for the unexpired portion of the



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                Section 5.06. AUTHORITY. All officers of the corporation, as between themselves
        and the corporation, shali have such authority and perform such duties in the management of
        the corpor^tioo * may be provided by or pursuant to resolution or orders of the board of
        directors or in the absence oicontolling provisions in the resolutions or orders of the board of
        directors, as Elay be determined by or pursuant to these bylarvs.

                Secrion 5.07. TIIE CHAIRMAN OF TIIE BOARD. The chairman of the board if
T       there be ore, or in the absence of the chairma::, the vice chairmaa of the board, shali preside at
 I      all meetings of the shareholders and of the board of directors and shal1 perform such other
        duties as may from time to time be requested by the board of directors.

                Section 5.08. TFIE PRESIDENT. The president shall be the chief executive officer of
    I

 l
        the corporation and shall have general superrrision over the business and operations of the
!
I                    subject however, ts the control of the board of directors. The president shaii sign,
 t      "orporuiioo,
        exe-cute, and acknowledge, in the name of the corporation, deeds, mortgages, contracts
                                                                                                or other

-;
        i::struments authqnzed iL thg*bqard of dir-ect-ors,    except in  cases rvhgre tle  signing  and
 f
 !      executiontrrffis1yd"Iegatedbytheboardofdirectors,orbytheseby1aws,to
 t      some other officer or agent of the corporationi md, in general, sha11 perform all duties incident
        to the office of president and such other duties as ftom time to time may be assigued by the
 l
I
        board of directors.

                  Section 5.09. THE SECRETARY. The secretary or aa assistant secretary shal1 attend
        all meetings of tle sbareholders and of the board. of direcJors and shall record all votes of the
 I
 !
 t
        shareholders asd of the directors and the minutes of the meetings of the shareholders and of the
 :
        board of directors and of committees of the board in a book or books to be kept for that
I       plrryose; shali see that notices are given and records and reports properly kept aud filed by the
        .orpo.*iiotr as required by 1a*; shall be the custodian of the seal of the corporation and see that
t       it is affixed to alLdocuments to be executed on behalf of the corporation under its seal; and, in
 i
        general, shall perfona ali duties incident to the office of secretary, and such other duti'es as may
        &om time to time be assigned by the board of directors or the president'

                Section 5.10. TIIE TREASURER. The treasurer or an assistant treasurer shall have or
        provide for &e custody of the funds or other properly of the corporation; shall. collect and
        ieceive or provide for the coliection and receipt of moneys earned by or in any manner due to or
        received ty tte corporatioo; shall deposit all funds in his or her custody as treasurer i:r such
        ba::ks u. oth*, places of deposit as &e board of directors may frorn time to time designate;
        shall, *-henevei so required. by the board of directors, render an account shorning all
        transactioas as treasurer aad the financial conditioo of the corporationi md, in general, shall
         discharge such other duties as may from time to time be assigned by the board of directors or
        the president.

                 Section 5.11. SALARIES. The salaries of the officers electedbytheboard of directors
        sha11   be fixed from time to time by the board of directors or by such officer as may be
        designated by resolution of the board. The salaries or other compensatiol_of any other officers,
        .*pioy"., and o&er agents sha1l be fixed ftom time to time by the offi.cer or committee to

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                               (ii) to be based upor or attributable to the receipt by the
                       indemnified representative from the. corporafion of a personal benefit to
                       r,r'hich the indemnified representative is not legaliy entitled; or

                       (3)     to the extent such indem:rification has been finally determined in
               a final adjudicationpursuant to Section 7.06 to be otherwise unlawfrl.


               (b)     Pariial Payment.      If an indemnified representative is entitied to
indemnification i;1 respect of a portion, but not all, of any liabilities to rvhich such person may
be subjec! the co4poratioa sha]1 indemnify such indemnifi.ed representative to the maximum
exlent for suchportion of the iiabitties.

               (c)    Presumption, The termination of a proceeding by judgrnen! order,
settlement or convictioo or'.rpoo a plea of nolo contenders or its equivalent shal1 not of itself
create a presumption that the indemnlfied representative is not entitled to iodemnifi.cation.

                 (d)     Definitioas. For purposes of this Article:

                       (1)    "indemnifi.e,l capacify" means any and ali past, present and fuiure
               service by an indemaified representative in one or more capacities as a director,
               officer, employee or agroi of &e corporation, or, at tle request of the
               corporation,     u director, of[cer,' employee, agent, fiduciary- or trustee of
                            "i
               another corporation, partnership, joint venture, tmsq employee bene t plan or
               other entitY or enterPrise;

                       (2)      "indemnifi.ed representative" means any and all directors and
               offi.cers-of the corporation and any other person desigaate,l as an indemnified
               representative by &e board of directors of the corporation (w'hich may, but need
               nol, include any person serving at &e request of &e corporation, as a director,
               officer, employee, agent, fiduciary or trustee af another coqporatiol, parbrership,
               joint venfure, ffust, employee benelit plan or other entity or enterprise):

                       (3)     "liability" mearts any damage, judgment, amount paid in
               settlement, fine, penalfy, pu*itive damages, excise tax assessed lvith respect to
                                                                                        'without
               aa employee benifit p}aa, or cost or expense, of any natwe (including,
               limitation, attomeys I fees and disbursements) and

                       (4)      "proceeding" means any threatened, pending or conrpleted action,
                suit, upp;d oi other proceeding of aay nature, r*-bether civil, criminal,
                aOminist;ative or investigative, whether formal or informal, and.lvhether brought
                by or ia the right of the corporation, a class of its security holders or otherwise.

        SECtiON 7.02. PROCEEDINGS LTITIATED BY                                   INDEMNIFIED
REPRESENTATIyES. Notr+irhstanding any other provision of this Article, the corporation
sha11 not iudemnify under this Article an indenrifi.ed representative
                                                                      for any liability lncurred in



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                  e proceeding initiated (w-hich shali not be deemed to include counterclaims or affirmative
                  defenses) or participated il as an intervenor or amicus curiae by the person seeking
                  indemnifisation unless such initiation of or participation in the proceeding is authorized, either
                  before or after its commencemen! by the affirmative vote of a majority of the directors in
                  office. This section does not apply to a reimbursement of expenses incurred in successfuliy
                  prosecuting or defendi.ng an arbitation under Section 7.06 or otlenvise successfully
                  prosecuting or defending the rights of an indemnified represen'tative granted by or pursuant to
.l
             I
                  this Article.
              I
             ]

                           Section 7.03. ADYAhICiNG E)(PENSES. The corporation shall pay the expenses
                  (including afromeJs, fees and disbursements) incurred in good faith by an indemnified
                  representative in advance of tle fiaal disposition of a proceeding described in Section 7.01 or
                  the initiation of or participation in which is authorized pursuant to Section 7.02 upon receipt of
                  an undertaking by or on behalf of the i:rdemnifled representative to repay the amount if it is
                  ultimately determined pursuant to Section 7.06 that such person is not entitled to be
                  indemnified by the corporation pursuaat to this Article. The financial ability of an indemnified
                  representative to repay an advance shall not be a prerequisite to &e making of such advance.

                          Section 7.04. SECURING OF INDEMNIFICATiON OBLiGATIONS. to fiuther
                  effect, satisff or secure the indemnifi.cation obligations provided herein or othenvise, the
                  colporation may maintain insurance, obtain a letter of credit, act as self-insurer, create a
                  reseryer trust, escrow, cash collalteral or other fuad or account, enter into indemnification
         I
         i
                  agreements, pledge or grant a security interest in any assets or properties of the corporation, or
         )
                  use aoy other mechanism or araflgement whatsoever in such amounts, at such costs, arrd upon
                  such other teros and conditions as the board of directors shall deem appropriate. Abseut fraud,
         I
         I        the determination of the board of directors with respect to such amounts, costs, terms and
                  conditions shali be conclusive against a1l security holders, offlcers and directors and shall not
                  be subject to voidability.

                          Section 7.05. PAIa{ENT OF bIDEMNIFICATION. An i:rdemnified.representative
                  shall be entitled to indemaiflcation within 30 days after a written request for inden:nification
                  has been delivered to the secretary of the corporation.

                          Section 7.06. ARBITRATION.

                                 (")     Gereral Rule A:ry dispute related to the right to inden.'nification,
                  contribution or advancement of expenses as provided under this Article, except with respect to
                  indemnification for liabilities arising under the Securities Act of 1933 that the corporatioa has
                  undertaken to submit to a court for adjudication, shall be decided ouly by arbikation in the
                  metropolitan area in w-hich the principal executive offices of the corporation are located at the
                  time, in accordance with the commercial arbit'ation rules then in effect of the American
                  Arbitration Association, before a panel of three arbitrators, one of whom shall be selected by
                  the corporation, the second of whom shall be selected by tlre indsmrified representative and
                  third of whom shall be seleeted by the other two arbikators. In the absence of the American
                  Arbitration Association, or if for any reason arbihatior under the arbitation rules of the
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                                                                  22
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         Section 8   04 ilVTERESTED DIRECIORS               OR OIFICEp..S; eUORUM

                  (a)  Genetal Rule A contact oi uansaotionbefvveen the corporati,rn and one
 G1 mole of its ditectors oi ofr'icets or beti,veen the corporation and another corporation,
partnetship, joint ventul'e, trust oi other enterprise in lvhich one 01 mole of its directors ol
officers aie dilectots or officers or have a financial or othei interest, shali not be void or
voidable solely for that leason, or solely because the director or officer is pteseni at or
participates in the meeting of the board of directois that authorizes th.e contract or kan-saction,
oi solely because his, her or theii votes ale counted foi that prupose, i{:

                              (1)
                                the material facts as to the relationship ol interest and as to the
                  contract ot hansaction are disclcsed or ale knou,n to the boarcl of directors and
                  the board authorizes the conftact or tra:isacticn by the affirmative vote of a
                  majority of the disinterested directors even though the disinterested directols are
                  less than a quorum;

                              (2) the maierial facts as to his or her relationship or inteiest and as to
                  the contract ot transaction ar€ disclosed or aie kno'',.m to the shareholders entitled
                  to vote ihereon and the contract or tansaction is specifically approved in good
                  faith by vote of those shareholdels; or

                              (3)   the contraci or transaction is fafu as to the cotporaiion as of the
                  time   it   is authoiized, appioved or ratii'ied by rhe board of diiectors oi the
                  shareholciers

                (b) QUSfBn Common ot interested directors may be counied in determining
the presence o,f a quolum ai a meeting of the boad r.vhich authorizes a contract or fuansaction
specified in subsection (a)

         Section 8   05  DEPCSiTS Ail funds of the coipcration shall be deposited fiom time to
iirne to the credit of the cotporaiion in strch banks, trust companies or other depositoiies as the
boatci of directots may applove or designate, and all such funds sha1l be rvithdraun only upon
checks signed by such o11e oi more officers oi emplo'y'ees as the board of directors shall fiom
time to time deieimine

        Section   I06     CORPORAIE RECORDS

                  (a) Requir.ed Recoids Ihe cotpotaticn shali keep complete ancl accruate
books a:rd tecotds of account, minutes of the pioceedin-us of the incorporaiors, shaieholders and
directors and a shaie register giving the names and addiesses of all shateirolders and the number
and class of shares heid bv each The share register shall be kept at eithei the registered office
of the corporation in Permw{vania or at its principal pla-ce of business wherevel situated or at
the offi.ce of its registta:'or tlansfer agent Any books, minutes or other recoids may be in
vr,'ritten form or any other form capable of being conveited into l.nitten form within a reasonable
time


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provided by or granted pursuant to this Article shall continue as
                                                                   to a person viho has ceased to
                                                               prior to such time, and shall iaure
be an fudemnified repreientative in respect of matters arising
                                                                                        of such a
to the'benefit of the heirs, executors, 6dminiskators and personal representatives
person-

                                                                         as an
          section7.ll. RELIANCE OF PROVISIONS. Each person who shali act upon
indem::ified representative of the corporation shall be deemed
                                                               to be doing so in reliance
the rights provided in this Article'
                                                                             are intended to
        Section7.l2. INIERpRETATiON. The provisions of this Article
constitute Uyiaws authorizedby 15 Pa. C.S' $ 513 ard 1746 and
                                                              42Pa' C'S' $ 8365'


                                       ,#ff"'ffir,
                                                               shall have inscribed thereoh
      Section g.01. CORpORATE SEAL. The corporation seal
                                                                  lvords "corporate seal'
the name of the corporation, the year of its organization aod the
Pgnnsy-1vania".

                                                                        or other orders intriting
         section g.02. CHECKS. AlI ehecks, notes, bills of exehange
                                                                     or a]]y person authorized by
sl:all be slgned by such person or pelsons as the board of directors
resolution-of the board of directors may &om time to time designate'

          Section   8.03. CONTRACTS'
                                                                                     Corporation
                      General Rqle. Except as otherwise provided in tlie Business
                    (a)
                                                                          the board of directors
Larn il the case of tansactions thai require action by the shareholdets,
may autho TLze arly ofEcer oI ageBt to enter into any corkact or
                                                                    to execute or delivel atry
                                                                    be   general rtr confined to
insirumeat on behalf of the cofooratior," and such authority may"
specifi.c instances.

                    (b)statutory Form of Execution of Inqlruments. A-ny uote, mortgage,
                                                               an)a assigrr'ment or endorsement
evidence of i-ndebtedness, coiltract oi other docusrent, or
                                                                          person, lvheo signed by
thereof executed or eatered into berw*eea the corporation and any other
                                                                    to sign it, or by the president
one or more officers or agents having actual or apparent authority
                                                                                   treasuret of the
or vice president aad secretary or assistant secretary or treasurer or assistaat
                                                                                of     corporation'
             shall be held to have been properly executed for and in behalf
                                                                                   the
"orporutio4                                                                    shall have executed
wi&out  prejudice to the ri$ts of the coip&ation'against aoy pefson who
 the instniment in excess of his or her actual authority.

          section 8.04. INTERESTED DIRECTORS OR OFFICERS; QUORIIM'

             (a) General Ru1e. A contract or t'ansaction between the corporatios and one
 or more of ix directors or ofncers or betwee.a &e coqporation and another
                                                                             corporation-.
                                                                         ils directors or
                                                                 one oI mole of
 partnership, joint ventore, u.ust or other enterprise in *'hich


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to make copies or eKfacts therefrom. A           proper pl]Ipose shall mean a purpose reasonably
                                                                               wherl an attomey or
related to the interest of the person as a shareholder. in eyery instalce
                                                                               sball be accompanigd
other agent is &e person *'ho seeks &e right of inspection, the demand,
                                                                                     other agent to so
by a verified poll-er of attoraey or other rariting that authorizes the attorney or
act on behalf of the shareholder. The demand shall be directed to the
                                                                                  corporation at its
                                                                                    situated'
registered office in Pennsylvania or at its principal piace of business wherever

                                                                              agreed between the
         section g.07. FINANCIAL REPORTS. Unless othenvise
                                                                                      annual financial
corporation and a shareholdel the corporation shall fumish to its shareholders
                                                                 each fiscal year and a sfratement of
stat'ements, includin! at least a balanci sheet as of the end of
                                                                                prepared on &e basis
inco:ne and expens"i fo, &e fuca1 year. The frnancial statements shail be
                                                                            finalcial   statemeats for
of geaeraliy accepted accouating principles, if the corporation prepares
                                                                                                of the
t}.e fiscal year or that basis foi any pu{pose, and_may.be corsolidated statements
                                                                               shall be  mailed by the
corporation and one or more of its subsiii*i"r. The financial     statements
                                                                                     &e  close of  each
coiporation to each of its shareholders entitled thereto witliin 120 days
                                                                              after
                                                                                        corporati'on to
fi="J year and, after the mailing and upon *zitten request, shdl be mailed by the
any shareholder or benelicial ouillel entitied ihereto io whom a copy
                                                                          of the   most  recent annual
                                                                              audited or revierved by
fioancial statements has not previously beeo mailed. Statements tbat are
                                                                                  in other cas-es,.1ayh
a public accountant tUutt t" u.compalied by the report of tbe accountaxt;
                                                                         the financial records ofthe
copy shall be accompanied by a statement oitn. peffiotr ia charge of
corporation:

                        (i)     Stating his reasonable belief as to w'hethel oI ]1ot the financlal
                statements w-ere prepared in accorclance with generally accepted
                                                                                       accounting
                principles and, if not, describiag the basis of presentation'

                        (?)    Describiag any materiai respects 1n y,,.hich the financial
                                                                           those prepared for the
                statements lvere got prefared on a basis consistent r,lith
                Previous Year.
                                                                                be amended or
       section g.0g. AMENDMENT OF BYLAWS. These bylarvs may
                                                                           at any duly organized
repealed, or new bylarvs may be adopted only by vote of the shareholders
                                                                (relatil:g to notice of action by
amual or special **rtiog oi shar"hilders. iee Section 2.03(b)
shareholders on bYlaws).




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                u-]{A}i[vl OUS IYIUTTE]{        C   oN$ EI{T   O   r SEAREH   OI'qERS

                                   OIt TlrE   SlLAREuoLnrriS         OF MEDIA STATION       NC'
    nV   lfgU   Olr   ivfgptn'iq


                                                             (the "corporation"), pursuant to 15
         The undersigned Shareholders of Med.ia Station Inc.

Pa. C.S.A. $ 1766(a), consent inwriting to the following'

         APPROVED, the Shareholders consent that the Bylaws
                                                            of the Corporation previously         il

force sha1l be rePealed'
                                                            attached hereto as Exhibit "A"
         AppROVED, the Shareholders consent that the Bylaws

shall be adopted and shall become the Bylaws of the corporation'

         EFFECTWE, as of this        Blu      day of                2011 by unanimous consent of the
                                                       W
                                                                  below'
sbareholders of the corporatior, as evidenced by their signatures




                                                             f**"', h -{*
                                                           Laj os Boto, Shareholder


                                                           -F""e$r"V     E#F:           -
                                                           Brooke P. Cotlman, Shareholder
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                                            CERTIFICATION



                                                                             certify that the attached is
             l, w,ws, b<i*tj       ,Secretarl, of Media station Inc., hereby

                                                                the Shareholders of Media Station
     a true and correct copy of the written corsert executed by

     rnc., oa the        uu,   of &x4*fifg-     . 2ol1'
                    -P

!

I
                                                   Secretary




-L
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                        Exhibit B
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                                               gU}tsF"DCtr tE;C"

                                           (a Perns.vlvania-   c   or p ot   ation)



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                                        CFFICE S .AF]B     F"IS     CAN,      \T,.{F.

          Section 1       0i
                          P.EGISTERED C_,trFiCF Ihe regrstered oflice cf the co:poraiion
                                                                                                         in
 Pennn'1."3,,ia shall be at 34C lledia Station Road, I,,Iedia.-PA
                                                                      19C53 untt ctren;ise establishe,l
 bi' a;: amenciireat of 'rhe a*ricies ot 'oy thre board cf dtectois an.l a recoid
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 rvith the Deparr'nieni of State ia the matu-1er picyideC by 161-,,

                   02 CIEIE]R. OFFiCES The corpoiation ma),, aiso have ofijces ai such olhel
            Seciicn 1
 places ='vithin
               oi rvithcut,Deir:isvivzuia as the bcard of ciiectcis ma-.y'fict:n time tc time appo,r-it
 or the bushess of the corpcraiion rna.v ieqnire

            Seciion 1     03 FiSCAL yE,^ip, Ihe fisca1 1,e2 of rite, ccrporaticn        snal1 begrn   ine   1st
 cal,' o{ Ja:raly   iil   eac}i yeai


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                            PjOTICE - lir'AlllT,ES - FEEETII\-GS GEhEF.AILY

           Section 2      01   N,{AIr.lrER C,x Gfv.TiiG NOIiCF.

                    (a)        General R-u1e Y,'hene-r.ei r.i':itien noiice is required tc be given   ic    anv
person uncler the provisions of tire Business Corporation La.,i' oi
it ma-," be giYen to the pelson eiihcr personalli or bv sending a copyArticle-s
                                                                    by- the           or ihese bvla-^s,
                                                                             tliereof b;, flrst class or
exjliess maii, postage piepaid., oi by telegram (r,;ith messen-qer service
                                                                            specified), teiex    or I$,I{
(r'iith   ans-,-,eiback received) oi couli:r service, chalg., pr.pu.id, or by facsimiie tia.lsmission, tc
the addtess (oi to the te1ex, T\\X oi facsi:ni1e number) of ti,. p*rr"r, appeaiing
                                                                                         on the books cf
the corpcraiion oi, in the case of direciors, supplied by ths clilectcis #tn. cJr-ooraiion
                                                                                                  for the
pur*pose of nciice If the nctice rs seni b;' mail, ielegia-ph
                                                                 oi couiiei service, it snau be d,-emeC
io have been given to the peIscn entitled thereic r,...h-r. a.p".ited ix the United States mail
'"r'iih a telegaph office                                                                               oi
                            ot ccruier seivice for deliverr.to that person ci, in the case of ielex or
Ttr\'){, r-','h:n disparched or, in the case of facsimile, lvhen'ieciir.ed A nctice of
                                                                                           m;etin_E sha.il
specift the p1ace, day and hcur of the meeting and an;1 othei hfoimaiion i:quired
                                                                                             bv anf o.uhei
provrsic:r olthe Br-rslness coipoiai.ic: Larv, ihe a:iicles oi ihese
                                                                        b;.lar,s
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                  (b) Adjourned Shaeholdei Meetings $ihen a meeting of shareholders is
 adjourned, it shall not be necessaiy to give any notice of the adjcruned meeiing ol of the
 business to be hansacted at an adjourned meeting, other than by anncuncement at the meeting
 at         the adjournment is taken, urdess the boa"rd fixes a nelv I'ecold date fbr the adjouined
    "vhich
 meeting   ot these bylai,vs tequire notice of the business to be transacted and such notice has not
 previously been given

         Seciion 2 02 I.IOTICE OF tuXEETNGS OF BO,ARD OF DIRECIORS Noiice of a
legulai meeting of the board of directois need not be given Notice cf every special meeiing of
the board of directors shall be given to each dlector bv telepLrone or in nriting at least 24 hows
(in the case o{'notice by telephone, telex, TV\X or facsimile transmission) or 48 hours (in the
case of noiice by telegraph, couiiet sex-vice or expless mail) o: five days (in the case of notice
by firsi class mail) befoie the time at r,vhich the meeting is to be held Eveiy such notice shall
state the time and piace of the meeting Neithei the business to be transacted ai, noi the
ptllpose of, any regular or special meeting of the board need be specified in a notice of'a
meeting

         Section 2    03    NOTICE OF MEETINGS cF SHAREHOLDER.S

                (a) Geneial R.ule Written notice of every meeting of the shaieholclers shali
be given by, or at the directicn of, the secletzuy to each shareholder of recoid entitled to vote at
the meeting at least:

                           (1) ten ciays prior tc the day named fol a meeting called to considei a
                    frurdamentai transacticnrurder 15 Pa C S Chapier 19 regading amenclments of
                    articles   of   incorpotation, melgels, consolidaiions, share           ,*.h*grr,    sale of
                    assets, divisions, conveisions, liqr.ridations and dissolntion; or

                            (2)       five   days   piicr to the   day named   foi ihe meeting in any other   case

If the secieta.iy
                neglects or lefuses to girre notice of a meeting, 'the peison 01 pelsons calling               the
meeting may' do so, In the case of a specia-l meeting of sha;eholders, the notice shal1 specifu                the
genelal nattue of the business to be transacted, and in ail cases the nctice shall conr.ply rvith              the
express requirements of this section. Ihe ccrporation shall not have a cirrtl. to augment                      the
notice

                    (b)Notice of Action by' Shareholders on Bvlarvs In the case of a rneeting of
shareholders that ha.s as one of its purposes action onthe bylaws, r.rryittennotice shali be given
to each shareholder that the pLlrpose, or one of the puposes, of the meeting is to considel the
adcption, amendment or repeal of the bylarvs There shal1 be included in.. or enclosed r,vith, the
notice a copy of the proposed a-inendment 01 a surunary of the changes to be effectecl thereby
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             Section 2   04 WAIVER     OI NOIICE

                 (a) Wiitten Warvqr, \\trenever any r.rtitten notice is required to be given
 undet tle provisions of the Btisiness Corporation lar,v, the articles or these bylar,vs, a rvaiver
 thereof in writing, signed by the person or pelsons entitied to the notice, whether before or after
 the time stated therein, shal1 be deemed equivalent to the giving of:the notice Except as
 otherlvise required by this subsection, neither the business to be transacted at, nol the ptupose
 of, a meeting need be specified in the r,vaiver of notice of the meeting In the case of a special
 meeting of shareholdels, the r,vaiver of notice shali specifiT the generai nature of the business to
 be transacted

                 (b) Waivei by Attendance Aftendance of a perscn at any meeting shall
 consiitute a lvaivei of notice of the meeting except where a pelson attends a meeting for the
 expless pulpose of objecting, at the beginning of the meetiag, to the transaction of anv business
 because the meeting lrras not 1a-,i,{u11y called or convened

            section 2   05 MODIFICATION oF pRopcsAl,               CONTAtr|{ED It\i NOTICE
 'rtrlhenevet the language  of a proposed resoluiion is included in a r..iritten notice of a meeting
 tequiled to be given undel the provisions of the Business Corporaiion Lar,v or the articles or
 these bylar'vs, the mee'ring considering the resolution may r.vithout fiuthei notice adopt it i,viih
 s,-rch   clarifying or other arnendments as do noi enlarge its oiiginal purpose

            Section2    06   EXCEPTION TO R.EeUIREMENT OI NOTICE

                (a) Gclgt3lB'dg S/henever any totice oi coillfiIunicaiion is required to be
given to any pelscn undei the provisions of the Business Corporaiion Law or by the articles or
these bylatvs oi by the tettns of a.ny agleement oi other instiument 01 as a condition piecedenr
tc taking anv colpoia'te action and commu-nication with that perscn is then un1ar.vdr1, ihe giving
of the notice ol conimunication to thai pelson sha11 not be required

                (b) Shareholders lV-i.Lhout For-warcling AdCresses Notice 01 other
communications shall not be sent to any shareholdei r,vith *.hom the corporation has been
unable to cornmunicate for more than 24 consecutive months because communications to the
shareholder are leilrined tmclaimed or ihe shareholder has otherrvise failecl to provicle the
coipotation with a ci;rtent addtess \ilhener,,ei the shareholder ptovides the corpor,ation lvith a
cuit'ent addless, the cotporation shall commence sending notices and other communications to
the shareholder in the same mannel as to other shareholders

        Section 2 07 USE OF CONIERENCE TELEPHONE AND SIMILAR EeUtpLENI
Cne oi mole pelsoru may participate in a meeting of the board of dfuectors or the shareholders
of the cotpotation by rneans of confeience telephone or simiiar communications ecluipment by
means of r,vhich all pelsons paiticipating in the meeting can hear each other Participation in a
meeting puisuant tc this se ction shall constituie plesence in person a.t the meeting
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                                            \RTICI-E    {trtr


                                        S}IARTI{O{,DERS

        Section30l FLACE OF MEETI{G A1] meetings of the shareholders of the
 coiporation shal1 be held at the registered office of the corporation unless another place is
 designated by &e boaid of'directois in the notice of a meeting

        Section 3   02ANNUAL ivfEEIING The board of diiectors ma y fix the date and time
of the annual meeting of the shareliolders, but if no such date and time is fixed by the boaid, the
meeting fot any calendar year shall be held on the 15th day of Aprii in such year,if not a iegal
holiday rindei the lar,vs of Ferulsylvania, and, if'a legal holiday, then on the next succeeding
business da.v, not a Satuiday, at i0:00 o'ciock, A M , a"nd at said meeting the shareholderc then
entitled to vote shall elect diiectors and shali tansact such other business as may properly be
brought before the meeiing If the a.nnual meeting shall not have been called and held lr,ithin
six months aftel the designa-ted time, any shareholder' may call the meeiing at any time
theieafter Except as otherr.vise provided in the articles, ai leasi one rneeting of the shaeholder
shall be held in each calendal year for the election of diiectois

        Section     03   SPECIAL MEEIINTGS

                (a)      CalI o{'Specia-l }vieeiinqs Special meelings of the sharehoiders may be
callecl at any time:

                         (1)    by the boaid of'directois; or

                        (2) unless oiheiu.ise piovided in the aiticies, by shaisholders entitled
                to cast at least 20% of the rzote that all shateholders are entitled to cast at the
                pa:ticular rneeting

                (b) Fixing Time of lvie_etin-s At any time, upcn rv:iiten iequest of any
pelson whc has ca11ed a speciai meeting, it shal1 be the dury of the secretary to fix the time of
tlte meeting 'rvhich shall be held noi more than 60 days aftei the receipt of the request If the
secretaty neglects or reftises to fix a time of the meeiing, the peison 01 peisons calling the
meeting may do so,

        Section 3   04   QUORUM AND ADIOURNMENT

                (a)     General Rule A mee'uing of shareholders o{ the corporation duly ca1led
sha11not be otganized for the fiansacticn of business rmless a quolnm is present The presence
of shaieholders entitled to cast at least a majorily of the votes that all sha:ehclders a:e entitled
to cast on a particulal matter to be acted upon at the meeiing shall constiiu,te a quonlm for the
puposes o{ consideiation and action on the matter Shares of the corporation, ourred, directly
or indfuecily, by it and controlled, direcily or indirectly, by the boaid of' directors of this
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coipoiation, as such, shall not be counted in determining the total number of oritstanding shares
foi quortm  purposes ai an.v- given time

                (b)       Withdrai,val of'a O-uorum The shaieholders present at a duly organlzed
meeting can continue       to do business tmtil adjournment no&.iithslanding the v,tthdrawal of
enough sharehol.ders to leave less than a quoillm

              (c) Ad.iorunment -for Lack of O.uorum If a meeting carinot be organized
because a quolum has not attended, those preseni may, except as ptovidecl in the Business
Corporaticn Lal.r, adjorun the meeting to such time and place as the-v may deteinrine.

                (d) A4iournments Generally Any meeting ai i,r,&ich directols are to be
elected shall be adjourned only fiom day to day, or for such ionger periods not exceeding 15
days each as the shareholders present and entitled to vote sha1l direct, until the diiectors have
been elecied Any other regular or speciC meeting may be adjourned for such pericd as the
shareholcleis piesent and entitled to vote shall direci

               (e) Electing Directois at Adjoruned Meetiag Those shareholders entitled to
vote       attend a meeting ca11ed for the election of directors that has been pteviously
       r,.zho
adjcu:ned foi lack of a quorum, although less than a q-{orum as f,rxed in this section shali
nevertheiess constitute a quorrr-1x for the purpose of electing directors

                (f)     Othci Action in Absence of Q-uorum Those shareholders entitled to vote
r-,'ho attend a meeting   of shareholders that has been previouslv adjournecl for one 01 n-r.ole
periods aggegating at least 15 days because of an absence of a qlrolum, although less'*ran a
qlloium as fixed in this secticn, shall nevertheless consiitr-rte a quolum ior the pupose of a-cting
ripon any rnatier set forth in the notice of the meeting if the nciice states that those shaieholders
r.vho atiend the adjoruned meeting shali ne'',,erthe1ess constituie a quoir-rm for the purpose of
acting upon the rnatiei

         Section 3   05   ACTtrONI   BY SHAREHOLDERS

                (a)       Geneial   Rtile Excepi as otherwise provided in the Br.rsiness Corpotation
Law or the articles or these bylar.vs, rvhenever an)'coiporate action is to be taken by vote of the
sharehclders of the corpoiation, it sha1l be authorized upon receiving the affiimative vote of a
majority of the votes cast by a.11 sha:eholders entitled to vote theleon

              (b) trpterested Shareho_lders Any merger or other transaction authorized
rinder 15PaCS Subchapter 19C betr,veen the corpotation or subsidiaiy thereof and a
shaieholder of tlus corporation, 01 aly voluntary liquidation authotized nnder 15 PaC S
Subchapter 19I in rrhich a shareholder is treated differently fiom other sha:eholdeIs of the
same class (other than any dissenting shareholders), shall reqnire the afhrmative vote of the
shareholders entitled to cast at least a majority of the votes that all shareholders othet than the
interested shareholder are entitled to cast lvith respect to the transaction, rr,ithor"tt counting the
vote of the inteiested sharehclder For the pwposes of the preceding sentence, interested
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shareholder shall include the shaieholdei l,ihc is a pury io the iiansaction oi vrho is treated
difierentiy from othet shareholders and any pelson, or goup of'persons, thai is acting jointly or
in concert i,vjth the interested shareholder and any person r,vho, directiy or ildirectly, confto1s, is
controlled by ol is under common control ntth the inteiested shareholder An interested
shareholder shall not include any pelson u'ho, in good fa.ith and not foi the purpose of'
circ rmventing this subsection, is an agent, bank, broker, nominee or trustee lor one or moie
other petsons, to the extent that the othei petson      01 pelsons are   not interested shareholders

                 (c)      Excepti.ens Subseciion ('b) shalt not appiv to a transaciion:

                           (1)    that has been approved b-v a majodtT voie              of ihe board of
                 directors without cor:nting the vote of direc.tors rvho:

                                  (i)      ale directois oi officers of,      oi have a material equity
                          intetest in, the intetested shareholdei; or

                                  (ii)    weie nominated for eleciion as a director by the inteiested
                          shareholder, and first elected as a director, r.vithin 24 nonths of the date
                          of the vote on the proposed transaction; or

                         (2) in ri,hich the consideration to be receiveci bv the shareholders for
                 shares of any class of .,vhich shaes are ovmed by the interested shareholder is
                 not iess than the highest arnount paid by the interested shareholder in accluiring
                 shares   of the same class

                (d) Additional Approvals The ap,orovals iequired by subsection (b) sha11 be
in addition to, and not in iieu ofl, any other appraval requue<i b-y the Business Cotpoiation Lavn
the articles or these bylarxs, or otherr,-rise

         Section 3 06    ORGANIZATICN At eveiy rceeting of the sharcholders, thre chaiiman
of tire boatd, if there be one, or, in the case of vacancy in office or absence of the chairman of
the board, one of the {bllorving officeis present in the order stateci: the vice chairman of the
board, if there be one, the president, the vice presidents in their order of rank and seniority, or a
pelson chosen by vote of the shareholders present, shal1 act as chairman of the meeting The
sectetaty ot, in the absence of the secretaly, an assistant secletary, or in the absence of both the
secretaty and assistant secretaries, a person appointed by the chairman of the meeting, sha11 act
as secretary,

        Section3 07 VCTiNG zuGHTS OF SHAREI{OLDERS Unless otherrvise provided
in the aticles, every sha:eholder of the coiporation shall be entitled to one vote fbr every share
standing in the name of the shareiroldel on the books of the corpoiation,




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         Section 3   08 VCTIrrlc AliD OTHER ACIiCI\I         BY PROXY

                 (a)     Geneial Rule.

                         (1)  Every shareholder entitied to voie at a meeting of shareholdets or
                to erpress consent or dissent to corporate action in rvriting l-,'ithout a meetirrg
                may authorize anothel person to act for the shareholder by ploxy

                        (2)    The presence of, or vote or other action at a meeting of
                shareholders, ol the explession of consent or dissent to corpoiaie action in
                lwiting, by a prory of a shareholder shall constitrite the presence of, oi vote ol
                action by, or ln,ritten consent or dissent of the shareholder

                        (3) trI'herc tlvo or more ptoxies of a sha:eholder ate present, 'rhe
                corporation shall, unless otheiwise expiessly pro.;ided in the pioxy, accept as the
                vote of'all shares replesented thereby the vote cast by a majority of them and, if
                a majoriry of the proxies carurot agee r,l-hether the shares represented shal1 be
                voted ot upon the manner of'voting the share s, the vciing of the shaies shal1 be
                divided eqnally among those persons

                (b)       E-Eslltiaa-grlli iilile Every ploxy shall be executed in rv:iting bv the
shaieholder or by the duly auth.oiized attomey-in-fbct of'the shareholder and filed with the
secretary of the corporation A telegram, telex, cablegiam, dalagam oi sirnilar fiansmission
fiom a shareholdel or attorney-in-fact, oi a phoiogiaphic, facsimile or siinilai reptodnction of a
rvriting e..;ecnled b.v a shareholcler or attorney-La-fact:

                        (1)     may be heated as ptcpeily executed fbr puiposes oi this section;
                and


                        12) shall be so treated if it sets forth a confidential and unique
                identification ntirnbet 01 othet mark fuinished by the corporation to the
                shaieholder foi the pulposes of a particu-lai rneeting or ttansaction.

                 (c) Revocation A proxy, unless coi-rpled wi'rh an interest, shaii be revocable
at will, notlvithstanding any other ageement or any piovision in the proxy to the conta:y, but
the revocation of a pioxy sha1l not be eflective rmtil 'u.,titten notice thereof has been given to the
secretaty of the corporation An urrevcked proxy shail not be valid after tluee yeas fiom the
date of its execution unless a longer time is expiessly provided therein A pioxy sha1l not be
ievoked by the death or incapacity of the maker unless, befbre the vote is counted or the
authority is exeicised, w:itten notice of the Ceath or incapacity is given to ihe secretar\i of the
corporation

                (d)   Expenses Unless otherrvise restricted in the articles, the corporation
shali pay the teasonable ex,oenses of solicitation of votes, pioxies or consents of shareholdets




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 by or on beha"lf of the board of directors or iis nominees for election to the board. including
 sciiciration by prof'essionaL ploxy solicitors and oiheirvise

        Section3.09 VOTiNG BY FIDUCIAFJES A}'lD PLEDGEES Shares of the
colpotation standing in the name of a tuustee or oiher fiduciary and shares held by an assignee
for the benefit of creditors or by a receiver may he voted by the tiustee, fiduciary, assignee or
receiver. A shaeholdet lvhose shares are pledged shall be entitied to vote the shares uniil the
shares have been transferred into the name of the pledgee, 0L a nominee of the pledgee. but
nothing in this section slrall affect the validity of a pioxy given to a pledgee or nominee,

          Section 3   10   VOTNG BY IOINT HOLDERS            OF SI{,AR-ES

                 (a) General Rule \Vheie shares of the corporation a:e held jointlv or             as
tenants in common by two 01 mole pelsons, as fiduciaries or other"r,r,ise:

                           (1)    if  only one ol more of such persons is piesent in peison or by
                 pio.-(y, all of the shares standing in the names of zuch peisons shal1 be deemed to
                 be teptesented for the prupose of determining a quoium and the coipoiation
                 shal1 accept as tlie vote oi ail the shares tlie vote cast by a joint o'r ner or a
                 majority of them; and

                           (2)    if tlie persons
                                                are equallv divided upon r,vhether the shaies held by
                 them shali be voted or upon the marmer of voting ihe shares, the voting of the
                 sha.res shall be divided equally amcng the persons without prejuclice to the rights
                 of the joini olvners or the beneficial owners therecf among themsehzes

                 (b)   Exception If there has been fileC li,ith the secretaiy of the corpciation a
copYl c.eltified by an aitoiaey at lar.v io be corlect, of the relevant pcrtions of the agteemeni
under rvhich the sha:es are held ot the instument by vvtich the trust oi estate rvas created or the
oicler of couit appointing thern ot of an oidei of court directing the voting of the sirares, the
pelsons specified as having such voting polrrel in the docunent latesr in clate of opeiatirre eff'ect
sc filed, aad onl'r those peisons, shal1 be entitled to vote the shares but only in accoidance
therew,iih

          Section 3   11   VOTn{c BY CORPORATIOIVS

                 (a)       Voting by CorpqIALe-Shareholde.t-q Any coiporation tirat is a shareholder
o{ this cotporation may vote bv any of its offrcers 01 agents, oi by proxy appointed by any
ofr'icet oI agent, unless some other pelson, by resoh"rtion of the board of diiectois of the other
corporation or provision of its articles or bylaws, a copy of ra,'hich resolution or ptovision
certified to be correct by one of its officers has been filed r.iiththe secretary of this corporation,
is appointed its general or special pioxy in rnhich case that pelson     shal1 be entitled to vote the
shales,
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                (b) Contolied Shares Shares of this cor.ooiation or,vned, direcily or
 indirectly, by it and conftolled, directly or indfuectly, by the board o{ directois of this
 cotpotation, as such, shaii not be voted at any meeting and sha1l not be counted in deiermining
 the total number of outstanding shares for voting pluposes at any grven time

          section 3   12 DETERMINATION         oF sriAREHoLDER.s oF RECORD

                (a) Fixi4g.Becord Date. fhe board of dilectors may fix a time prior to the
date of any meeting of shareholdets as a record date fbr the cietermination of'the shaieholciers
entitled to notice of, or to vote at, the meeting, i.vhich time, except in the case of an aclioqrned
meeting, shall be not mole than 90 davs pdor to the date of the meeting of sharehoiders Only
shareholders of tecotd on the date fixed shall be so entitled notr,vithstanding any transfbr of
shates on' the books of the coipoiation aftei any lecord date fixed as provided in this
subsection The board of directors rnay simiiaily frx a reeoid date for the determiaation of'
shareholders of recctd fot any othel prupose \trIeeii a cleiermination of shaeholders of record
has been made as provided in this section for purposes of a rneeting, the d.eteimination shaLl
apply to any adjournment thereof unless the board fixes a new record clate for the acljourned
meetirrg

                (b)     Determination \Yl:ren a Record Date is Not     Fixed If a record clate is not
fixed:

                        (1)     The tecord daie fbr deteimining shareholders entitled tc notice of
                01 to vote at a meeting of shareholders shall be at the olose of business on the
                daie next pieceding the day on which notice is given or, if notice is r..raived, at
                the close cf business on the day irnmediaiely preceding ihe day on wlirch the
                meeting is held

                        (2) The record daie for determrning sharehoiders entitled to expiess
                collsent ot dissenr to cotpotate action in ir,:iting v,,ithr:ui a meeiing, r,vhen prior
                action by the boaid of diiectots is not necessary, to call a s;oecial meeting of the
                shareholdeis 01 plopose aii amendment of the articles, shal1 be the ciose of
                business on ihe day on r,vhich the first vo,.ryitten consent or dissent, lequest for a
                special meeting ol petition proposing an amendment of the aiticles is filed with
                the secietary oithe corporation

                        (3) fhe tecotd date foi deteimining shareholders for any other
                purpose sha1l be at the close of br"tsiness on the day on w&ich the board of
                directors adopts ihe resolution relating thereio

         Section 3   1.3 VOTING LISIS

               (a) General Ru1e. The officer or agent having charge of the transfbi books
fotshaies of tire cotporation shall ma.ke a complete list of the shareholders eniitied to vote at
any meeiing of shaeholders, arranged in aiphabetical order, with the address of and the numbei
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  of sha:es held by each fhe Lst shaIl be produced and k-ept open at the time and piace of the
  meeting and shall be subject tc the inspeciion of any shaieholder dr-uing the rvhole time of the
  meeting for the puposes theieof

                   (b) Eflect.olList Failue to compllz with the iequfuements of this section
  shall not effect the validity of any action taken at a meeting prior to a demancl at the meeting by
  any shateholdel entitled to voie thereat to examine the list The original share register or
  transfet book, or a duplicate ihereof kept in this Commonrvealth. shal1 be prima facie evidence
  as to rvho are the sha-teholders entitied to exarnine the list oi sha:e register or transfer book
                                                                                                    or to
  vote at any meeting of shaieholdei.s

             Section 3   14   IUDGES OF ELECTION

                   (a) AppointmeglL [n advance of any meeting of sharehoideis of the
 cotpotation, the boa-id of directols may appoint judges of election, r,\,ho neecl not be
 sha-rehoiders, to act at the meeting or any adjorunment theieof , If judges of election are not so
 appointed, the presiding officer of the meeting may, and on the request of a-ny shateholder sha1l,
 appoint judges of election at the meeting, The number of' judges shall be one or thiee A
 pelson',','ho is a candiC.ate foi office to be fiiled at the meeting shall not act as a jtid*ue

                 (b) Vacancies, In case any pelson appointed as a judge fails to appeai 01
 fails or refuses to act, the vacancy may be filled bv appcintmeni made by the boarcl of clireetors
 in advance of the convening of the meeting or at the meeting by the presiding officer theieof

                  (.) Dliiies The jttdges of election shall cleterraine the numbet of shares
ouistanding a"nd the voting povvei of each, the shares represented at tiie meeting. the existence
of a quorum, the authenticiily, validitl and effbct of pro><ies, receive votes oi bi[ots, hezu and
cieiermine all challenges and questions in any u,ay arisir-,g in connection lvith the right to voie,
count and tabulate all vctes, determine the result and do srich acts as may be plopel to concluct
ihe election ot vote rvith fairness to all shareholciers The judges of election shali perforril their
duties impartiallv, in good faith, to the best of their ability and as expeditior,rslv as is practical
If there ate ttuee judges of election, the decision, act or ceitificaie af a majority shall be
effective in all respects as tire decision, act or certificate of a1l

                   (d) Repott On tequest of the presiding officei of the meeting, or of anv
shareholdei, the judge shali make a repolt in witing of any challenge or question or maiter
determined bv them, and execute a certificate of my fact found by them Any repolt 01
celtiflcate made by them shall be piima facie evidence of the facts stated theiein

            section 3   15    CONSENT oF SF{,{REH0LDERS IN LIEU oF Iv{EETil\TG

              (a) Unanimous Wtitten Consent Any action requirecl oi permitied to be
      at a meeting of the shaiehoiders or of a class of shareholdeis may be taken r,vithout a
ta-tr<en
meeting if, prior or subsequeni to the action, a consent oi consents thereto by all of the




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 shareholders v,'ho r.vculd be entitlecl to vote at a meeiing for such pupose shali be irled. viith'rhe
 secleialy of the coipoialion

                   (b) Partial Written Consent Any action required or peimitted to be taken at
a rneeting    of the sha.reholdeis or of a class of shareholdets may be taken r,vithoui a meeiing upon
the r,riritten consent of shareholders r,vho vrould have been entitled to cast the minimum number
of votes that tvould be necessary to authorize lhe action at a meeting at rvhich all shaeholders
eatitled to vote thereon r,vete ptesent and voting The consents sirall be filed r,vith the secretaiy
of the corporation The action shail not become effective until after al least ten days' q,ritten
notice of the action has been given to each shareholder entitled to voie thereon rn,ho has not
consented iheieio.

           Seciion 3   16   IVIL\CRS AS SECURIIY HOLDERS The corporate on may treai a
minoi r,vho holds shares oi obligations cf the corporation as having capaciw to receive and to
el-opo\ivel othets to tecei',ze divideni.s, inieiest, principal and othet payments or distributions, to
vote or expless consent ot dissent and to make elections and exercise rights relating to such
shares or obligations tutless, in the case of payments or distributions on shares, the corporate
oi{icel tesponsible fbi maintaining the list of' shareholders oi the tiansfer agent of the
cotporation ot, in the case of payments or distiibutions on obtigations. ihe tleasuier or paving
officei or agent has received xryilten nciice that the holder is a minoi

                                            AR.TXCT,E   IV
                                    tsOAR,D OF'DIRECTOR.S

           Section 4   01   PO11/ERS; PERSO}{AL    LIABILITY

                  (a)   General.Rule Unless others'ise provided by stahlte all por,vers vesied by
1ar';   in the corporation shail be exercised by oi r-rnder the authoiity of, and the br-rsiness ancl
affairs of the cotpcration sha1l be managed unclei the direction of, the boaid of directors

                (b) Stanclaid of Care; J,,rstifiable Reliance A directoi sha1l stand in a
fiduciary relation to th'e cotpctation and shali is peiform his or her durties as a director,
including duties as a member of a:ry committee of the boaid upon which the director riray selve,
in good faith, in a mannel the director reasonably believes to be in the best interests of the
corporation and ivith such care, including reasonable inquiry, skili and diligence, as a person of
ordinary prudence rvouid use und.ei similar circumstances ln performing his or her duties, a
dlrector shall be entitleci to rely in goocl faith on infbrmaticn, opinions, reports oi statements,
includ-ing financial sta-iements and other financial data, in each ca.se prepared oi presented by
any of the follorving:

                        (1) One or more officers oi employees of the corporation r,vhom the
                 director reasonably believes to be reliable and competent in the matters
                 piesented




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                        (2)     Counsel, public accountaats or oiher pelsons as to matte-rs ,,i,tich
                the director reasonably believes to be lvithin the prof'essional or         expeit
                competence of such person

                       (3) A committee of the boad upon w-hich the director does not selve,
                duly designaled in accordance rvith lai,v, as to matters within its designated
                authotify-, i,v'hich committee the director reasonably believes to merit conf,rdence

A <iirectci shal1 noi be consideied to be acting in good faiLh if the ditector has knorriledge
concelning the mattei in question that lrzould cause h.is or her ieliance to be urr,r.airanted

                (c) Consideration of Factors In dischaiging the duties of their respective
positions, riie boald of directors, committees of the board and individrial direciors may, in
considering the best interests of the oorporation, consider the effects of any action upon
emplcyees, upon suppliers and customels of the cotporation and upon con:mr,rrities in ri,'hich
offices or other establishments of the corpoiation ale iocated, ancl al1 other pettinent f'a.ctors,
The consideiation of those factors sha11 not constitr-ite a violation of subseciion (b)

                (d)       Sresumption Absent breach of fiduciary dutl, lack of good faith or self-
dealing. actions taken as a diiector 01 any failure to iake any action shall be presumed to be in
    -best
the       interests of the corporaiion,,

                (e)    Peisonal l-iabilirv* of Directcrs

                         (i) A directoi     sha1l   nct be peisonaily liable, as such, for rnoneta:y
                clamages {br any a-ction ta.ken, or any faihue tc take any aeticn, tinless:

                               (i)      the director has breached or faiied to perform the duties of
                       his or hei office under ihis section; and

                               (ii)     the bieach oi faih-ue to perflcrm constihttes self-dealing,
                       willful misconduct or recklessness,

                         (2) Ihe provisions of paragraph (1) shall not apply to the
               responsibility or liability of a dfuector pursuant to any criminal statute, or the
               liabilit,v of a director for the palnnent of taxes pursuant to local, State or f ederal
               lalt'

               (f)      lrlotation of Dissent A director r,vho is piesent ai a meeting of the bcard
of directots, or of a committee of the board, at i,vhich action on aity colpolate matter is taken
shall be piesumed to have assented to the action iaken unless his or her dissent is enteied in the
minutes of the meeting or unless the driector files a i+ritten dissent to the a.ction with the
secletary of the meeting before the adjournment thereof or transmits the dissent in 'uvriting tc the
secreta.r-y of the corporation immediately aft.er the adjcrunmeat of the meetin-e The right to
dissent sha1l not apply to a director rvho voted in favoi of the action Nothing in this section



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 shal1 bar a director fioil asserting that rninutes of the meeiing incorrectl-v omitted his or her
 dissent if, promptiy upon receipt of a copv of such minutes, the director notifies the secieta:y in
 r.rr:iting. of the asserted omission or inaccLuacy,


            Section 4   02   QUALIFICATION AliD SELECTION OF DLR.ECIOR.S

                      (a)   Oualifications Each director of the corporation shall be a natural pelson
 of ftiil   age   who need not be a resident of Pennsllvania oi a sha:eholdet of the corporation

                      (b)Elc.otipn of ggsplaiq Except as otherlvise provided in these bylar-is,
dilectots of the cotpotation shall be elected by the sharehol<iers In eleciions for directois,
voting need not be by ballot, except upon demand made by a shareholcier entitled to vote at the
election and befole the voting begins The candidates receivirlg the highest number of votes
fiom each class oi group of classes, if ony, entitled to elect clirectors sepaiately rip to the
nuirrber of directors to be elected by tl-re class or gloup of classes shal1 be eleeted if at any
meeting of shareholdels, diiectors of more than one class are to be elected. each class of
direclors sliall be elected in a separate election

                     (c)     Cumu.lr'tive   Votine   Unless the articles provide for straight voting. in
each election of directols eveiy shzueholcler entitled to vote shajl have the righi to urultiplv the
numbel of votes to r,r'hich the shareholder may be entitled by the total numtier of directors to be
elected in fte same election by the holdeis of the class oi classes o{'shaies of rv-hich his or her
shares are a pait and the shaeholders ma,v cast the r,vhole numbei of his oi her izotes for one
canclidate cI may distribgte them among tv,,o 01 more candidates

            Section 4   03   NUN,{BER"   A\lD IEFJ\{    CF OFFiCE

                 (a) Nttrnbet The board of directors shall consist of th,ree dilectors - ons
Class A duectol, one Class B direcior ancl ote Ciass C direcior Only shareholders or,.m.ing
Class A stock of the cotpotation shali be entitleci to cast votes to elect the Class A director
Only siraieholders owning Class B stock of the corporation shali be entitled to cast votes to
elect the Class E dhector Only shareholders ou,:i.ing Class C stock of the corporation shall be
entitled to cast votes to elect the Class C diiector The term of appointment of each of the Class
A Director, the ciass B Diiectoi and the ciass c Director shall be one yeal

                     (b)  Independent Advisor The shareholders shail cast votes to seiect an
furdependent advisor once annualiy at the same time the shareholclers cast votes to elect the
directors The independent advisor shaii not be a drector and shal1 nct be given notice of nor
attend any regulai or special meetings of the board of directors uniess and until the board is
unable to reach a resolution by the required number of directoi votes on a paiticula matter oi'
issue during a tegulal or special meeting Shorild the board become deadlocked in this manne1,
any directol may call a special meeting of the board for the scle purpose of resolving any such
deadiock and, at least ten days prior io such meeting, give nctice to the independent advisor that
the meeting rz''ill take place and that the independent advisor should attend At the meeting the




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independent advisor r,vili be permiitecl to cast one vote as if he or she were a diiectcr fbr 'rhe sole
pulpose of brea.king the deadlock

                (c) Term of Oifice Each director or independent advisor shall hcld office
until the expi-ration o{ the term for rvhich he oi she r,vas elected and until a successor has been
selected and qualified or until his or her earlier death, resignation or lemoval A decrease in the
n,,rmbet of directors shali not harze the effect of shoitening the term of any incumbent director

                (d) Resisnation Arry directot ot independent acivisot mzy iesign at any time
upon rvritlen notice to the corporation The resignation shall be efiective upon receipt thereof
by the cotpoiation or at such subsequent time as shail be specif,ed in the notice of resignation

        Section 4   04   VACANCIES

                 (a) General Rule Vacancies in the board of directors, including vacancies
resuiting fiom an increase in the number of directors, and vacancies of the independent acivisor
position, shall be filled by a majority vote of the shaieholders r,r,ho are be entitled to select a
director to fill the directorship, or independent advisorship, as applicable ln the event of a
vacancy, the corporation shall imrnediatel,v give notice to the shareholders of such vacancy so
that a shareholder meeting may be called for the pulpose of casiing votes fbl a replacement
directoi oi independent acivisor, Each director or independent advisor so electecl shali serve for
the balance of the unexpired term, and until a successor has been selected anri qualified, or until
his or her eariiei death, resignation or renroval

                (b)    Action_by Diiectolt in the Event of an Unrilled Vacancy If there is an
unfilled vacancy in ths board, the remaining director may act only vzith the unanimous a,oproval
of the shaieholders, or in the event of a tie, lvith the approval of half of the shareholclers a-nd ihe
independent clirector

        Section 4   05   REMOVAL CF DIRECTORS

                (a)      Removal by the Shar-e-bolders the entire board of directors, or any class
oi the bcard, oi any inclividual direciot may be removed fiom ofiice            r.vithout assigning a.nv
cause by  the vote  of'shareholders, or of the iroldeis of a class or series of shares, entitlecl to elect
directors, or the class of dkectors In case the boeud oi a class of the boatd or anv one oi more
directors are so iemoved, nelv directors rnay be elected at the same meeting The board of
directors may be lernoved at a;ry time r,vith or without cause by the unanimoi-rs vote or consent
of shzueholders entitled to vote thereon

                tb)      Removal b)-ihe Board fhe boa:d of directois may declaie vacant the
office of a diiector r.,'ho has been judicially declaied of' unsound mind or who has been
convicted ol an oflense punishable by imprisonment for a term of more than one yeai or if,
within 60 days after notice of his or her seleciion, the director does not accept the office either
in rv:iting or by attending a meeting of the board of directois




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 cf the boa-id of'dilectois   except lhat. a committee shall not harre any power oi ar.rthorit.v as t0 the
 following:

                         (1) The submission to shzuehold.ers of'any action reqrifuing approval
                 of shareholders under the Business is Corpoiation Lar,v

                         (2)       The cieation or filling of vacancies in the boaid of'directors

                         (3)       The adoption, amendment or iepeal o{ these bylar.vs

                         {4) rhe ar"nendmeni or repeal of any resolution of the board that by
                 its terms is amenCable or repealable only by the boaid

                         (5)     Action on matte's committed by a resohition of the boaid of
                 diiectols to ancther cornmittee of the board

                 (b)    Aiternate Co-minitteq-Members The boaid. may designate one or more
directois as alternate members of any committee r.rho ma1, replace any abseni oi disquaiified
mernl-.er at any meeting of the cornmittee or fol the puposes of any t,titten action by the
coinmittee In the atrsence or disqualiiication of a member and alternate member or mernbers
of' a committee, the member or rnembers thereof present at any meeiing and not disqualified
from voting, r,vheiher or not constihiling a quoium- may unanimousiy appoint anoihq director
to act at the meeting in the place of the absent or disqualified membei.

                (c)     reim       Each committee of'the boa-id shall serve at the pieasure of the
boarcl

                (d)    Committee Procedures The ierm "board of diiectors" 01' "boa1d,," \../hen
used in any provision of these byiarvs reiating to the oiganization or procedures of oi the
marlrer of taking action by the bcard of diiectois, sha]l be constned to include and refel to any
executive or other committee of the boa:d

        Section 4 12 COI4PEhISAIICI.i The boaid of directois shall have the authority to
fix  compensation of diiectors foi their services as directors and a director may be a salaried
officer of the corporation

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                                              OF'FICER.S

         Section 5   01 OIIICERS       GENERALLY

               (a) lrTumber. Oualification and Degjgnatigq The officers of the coiporation
siiall be a ptesident, a secretary, a treasuler, and such othel officers as may be elected in
accoldance rvith the provisions of Secticn 5 03 Offrcels may but neecl not be diiectors or



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 shaieholdels of the cctporation The president and secretaiy shali be natural persons of'full age
 The treasruel may be a cotpoialion, trut if a natural pelson shall be of fuil age The boarcl of
 ditectois may elect irom arnong the members of the boaid. a chaiiman of the bca:d and a vice
 chairman of the board who shail be officeis of'the corporation Ary number of offices may be
 held by the same pelson.

               (b) Resisnationq Any officer may resigrr at any time upon lvritten notice to
 the corporation The resignation shall be effective upon receipt thereof by tire corporaiion or at
 such subsequent time as may be specified in &e notice of resignation

                (c)      Ponding The coipotation may secule the fidelih of         any   or all of its
officers by bond or otherrvise

                (d)    Standard of Care Except as oiher\yise provided in'rhe articles, an officei
shall perform his oi het duties as an officer il good {aith, in a mannei he or she reasonably
believes to be il the best interests of the corporaiion and lvith such care, inclr.rding reasonable
inquiry, skill and diiigence, as a pelson of otdinaly prudence r,r,ould use uncler similar
cit'cumstanoes A peison who so performs his or her cluties shail not be liable by reason of
having been an officer of the corporation

        Seciion 5 02 ELECTION AND TERr\4 CF OFFICE The offieers of tiie corpcia.tion,
except tliose elected bv delegated authority pursuant to Seciion 5 03, sha11 be elected aiurualiy
by the boad of directots, and each such officer shall hold office foi a. terrn of'one yeai and until
a strccessol has been selecied and qualiflecl or until hi-s or her earliei death, resignation or
reirioval

         SEction 5  03  SUEOP.DINAIE OFFiCERS, CO},ii',{lTTEES AND AGENIS The
boarci of diiectors may iiom time to time elect such other officers and appoint such committee-s,
en:ployees ot oiher agents as the busrness of the coiporation may lequire, inclucling one ol more
asslstant secieialies, afld one oi more assistant treastLrers, each of whom shall hoid office for
sr-rch period, have such authority, and peiform such duties as a.le provided in these bylalys or as
the boa-rd of cliiectors may fiorn time to time determine The board of directors may delegate to
any offlcer oi committee the po\,\iel' to elect subcrdinate officels and to retain oi appoint
einploYees ol other agents, oi committees theieof and to plescribe the authoiity and duties cf
such sriboidinate officers, cornmittees, employees or other agents

        Section 5   04REMOVAL OF CFFICERS AND AGEhIIS Any officer oi agent of the
cotpoiaiion may be removecl by the board of'directors with oi r,yithout cause The removal sha1l
be lviihout piejudice to the contract rights, if any, of any pelson so iemoved Election ot
appointment of an ofiicer ol agent shaLl not of itself create contact rights

        Sectron 5 05 IACANCIES A vacancy in any office becanse o{ dea-th, resignation,
temoval, disqualification, or any oiher cause, sha1l be filled by the board of dilectors or by the
officei or committee to r,-',,hich the por.ver to fiIl such oflice has been clelegated pursuant to



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 Section 5 03, as the case may be, and if the office is one for r,r,-hich these bylav,rs prescribe a
 teim, shall be fill,^d for the uriexpired portion of the term

         Section 5 06 AUTFIORIIY A11 officers of the cozpoiation, as betrveen themselves
 and the cotpotation, shall have such authority and perfbtm such duties in the management of
 the corporation as may be provided by oi pursuant to resolution or orders of &e boaid of
 directors or in the absence of controlling provisions in the resolutions or orders of the board of
 directors, as may be deteimined by or prxsuani to these byla-rvs

         Section 5 07 TFIE CHAIRMAN OF Tl{E BOARD The chairman of the board if
 there be one, oI in the absence of the chairman, the vice chairman of the board, shall preside at
 all meetings of the shareholders and of the board of diiectols and shall pei{bim such other
 duties as may fiom time to time be requested by the board of'dilectors

         Section 5 08 THE     PRESIDENT the president shall be the chief executive oflicer of
the colporation and    shal1 have general supervision over the business and operations of tire
 colporation, snbject however', to the controi of the boarcl of directors The president shal1 sign,
 execute, and acknowledge, in the name of the corporati.on, deeds, moltgages, contracts or othet
instrurneots authoiized by the boaid of directots, except in cases r,r,here the signing and
execution theieof shall be expressly delegated by the board of directors, or by these b1.-iar,vs, tc
sorne other officer 01 agent of the corpoiatlon; and, in generai, shali peifoim al.l duties incideni
to the office of piesident and srich other duties as fiom time to time ma.y be assigned by the
bcard of directors

       Section 5 09 XHE SECFJ,TARY The secretary 01 an assistant secietaly shall atiend
all meeiings of the sharehclders and of'the board of directors and shall record all votes of the
sharehoid-ets a:rd of the diiectors a:rd the rninutes of the meetings of the shareholdeis and of the
baatd. of directors ancl of corrunitiees of the board in a book or boohs to be kept for tliat
pulpose; shall see that notices ale given and records and repoits prcperlv kept anci fiied by the
cotpolation as required by law; shali 'be the custodian of the seai of the corporation and see that
it is affixed tc ali docurnents to be executecl on behalf of the corporation under its seal; and, in
generai, shall peiforin all duties incident to the office of secteiay, and such cthei duties as rnay
fiom time to time be assigned by the boaid of directors 01 rhe president

         Section 5 10 TFIE TREASURER The treasurel or an assistant teasurer shali have or
provide fbr the custody of the frurds or other property of the corpotation; shall collect a.nd
receive or provide fbi the collection ar,d receipt of moneys earned by or in any marner due to or
teceived by the corporation; shall deposit all fi.rnds in his or her custody as treasmer in such
ban-ks ot other places of deposit as the boaid of directors may fiom time to time designate;
shall. rvhenever so required by the boaid of diiectois, iendei an account shorving all
tlansactions a.s fueasurer and the financial condition of the corpolation; and, in general, shall
dischage such other duties as may fiour time to time be assigned by the board of diiectors or
the presideni




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         Seciion 5 i i SALARIES Jhe salaries of the officers elected by &e board of directors
 shall be fixed fiom time to time by the board of diiectors or by such of{icer as may be
 designated by resolution of the boa:d The sala-ries or other compensation of any othei officers.
 employees and other agents shali be fixed fiom time to time by the oflicer or committee tc
 which the por,'vet to elect such officels or to retain oi appoint such employees or other agenis
 has been delegated putsuant to Section 5 03 No officer shail be pievented fiom receiving such
 salary ot othet compensation by reason of'the fact that the officer is also a director of the
 coipoiation

         Section 5   12DISAILOWED COMPENSATION Anv payrnents made to an officer
ol employee of the corpoiaiion such as a salary, cor:rrnission, bonus, inteiest, rent, travel or
entertainment e,"'pense irrcured by him, r,vhich shali be disallorved in lltrole or in part as a
cleductible expense by the Internal Revenue Service, shall be teimbursed by such officer or
emplo"vee to the corpolation to the fuil extent of such disaliowance It shall be the duty of the
diiectols, as a Board, to enfolce payment of each such amount disallor,ved ln lieri of payment
by the officer or employee, subject to the determination of the clirectors, proportionate amolinis
maY be r.vithheld from ftiture cornpensaticn payments until the amount owed to the corporation
has been recovered

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         Section 6 01 SHARE CERTIFICT\IES If the a:ticies state that the corporation sha1l
issue rmoertificated sha:'es, tlie corporation shali give shaieholders all iniormation concerning
their slrales as is requfued by lar ii' the ccrpoiaticn issues ceitificaies, sricli certificates foi
shares of the cotpoiation shall be in sucii fbrm as a-pproved b-v the boalC of directors, and sha11
state thai the corporation is incorporated uilder the laws of Penasylvania, the name of the person
to rr,'honi issued, ancl the numbei and class of shares and the designation of the series (if any)
that the cettificats ieplesenis The share iegister ol tansfbi books and blank share cettificates
shall be kepi bv the seeretaty oi bv any iransfel agent oi legistrar d-esignated bv the boa:d of
cliiectors fbr that pupose

        Section 6  02    ISSUANCE The shaie ceitificates of the corporution shall be numbered
and registered in the share tegister or'ftansfel books of the corporation as they are issued fhev
sha1l be signed by the president or a vice president and by the secretary 01 an assistant secretary
or the treasulei oi an assistant treasuier, ancl shall bear the coiporate seal, r,vhich may be a
fa-csimile, engraved or printed; btrt wheie such certificate is signed by a transfei agent or a
registrai the signahrte of any corporate officei upon such. certi{icate may be a facsimile,
engraved ot printed In case any officer r,vho has signed, or whose f'acsimile signature has been
placed upon, any share ceitiflcate shall have ceased to be such officer because of death,
resignaticn or otherr,vise, before the certificate is issued, it may be issried with the same effect a-s
if the officei had not ceased to be such at the date of its issue The plovisions of this Section
6,02 shal1 be subject to any inconsistent or contrary agreement at the iime between the
corporation and any transfer agent or registlar



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        Section 6 03 TRqIISFER lta,esflers of sha:es shali be made on the shzue registei oi
ttansfet books of the cotporation upon surrender of the ceitificaie therefor, endoised by the
peison named in the ceitificate or by an attolney lalvf*lly constitr-rted in r.,riting No hansfbt
shall be made inconsistent w"ith the provisions of the Uniform Commercial Code, l Pa C S $
8101 et seq, and its amendments and supplements,

         Section 6 04 RECORD HOLDER OF SIIARES fhe corporation shal1 be entitled to
treai the pelso1l in r,vhose name any shale ol shares of the corporation stand on the books of the
corporation as the absolute ownei thereof, and shail nct be bound to lecognize any equitable or
other claim to, or intelest in, such share or shaes on the pa-lt of'any other person

         Section 605 LCST, DESIROYED OR. i{u-iILAIED CEP.,UFiCAIES The holder
of   an_v-shaies of the corpotation shall immediately notifir the corpotation of any ioss,
clestruction or matilation of the certificaie therefbi, and the board of clilectors may, in its
discietion, cause a ne-vr,' certificate or celtificates to be issued to such holdei, in case of
mutilaiion of the certificate, upon the surrender of the mutilated certificate or, in case of'loss oi
destrr:ction of the ceriificate, upon satisfactory pioof of such loss or destruction and, if the
board of directors shal1 sc deteimine, the deposit of a bond in such fotm and in sr.ich sum, and
with such surety ol srireties, as it ma-/ direct

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                        OTtrdll,- R AUTE{ CRNZE D REFRE S EIqT.AT N\ts S


         Section 7   0i   SCOPE OF IiYDEI\,4NIFICATION

                  (a) Geneial F,rile The corpoiation shali indemni& ar-i indemnified
repiesentative against erry liabiltV incurred in connection i;vtth any proceeding in r.vhich ihe
indemnified iepieseirta.tir.e may be involved as a pa.W oi other'"vise by reason of the fact that
such person is oi r,vas serving in an indemnified capacity, inciuding. r,vithout lirnitation,
liabiiities resulting fiom any actual or alleged breach or neglect of duff, error, misstatement or
misleading statement, negligence, gross negligence or act giving rise to strict or products
liabilil.v. except,

                          (1)    rvhere such indemnilication is ex,presslyprohibited by applicable
                lar.v;


                       (2) r,vhere the conduct of'the indemnified reptesentative has been
               finaliy determined pusuant to Section 7 06 or otheir.vise:

                                (i) to constitute lvillflil misconduct ol iecklessness within the
                          meaning of 15 Pa C S $ 513(b) ar.d 1746(b) and42 Pa. C S $ 8365(b)




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                         ol ary supelseding provision of iai.v sulficient in the circumstances to ba:
                         indemnification against liabilities arising ftom the conduct; oi

                                (ii)    to be based upon oi attributable to the receipt by the
                         indemnified representative fiom the corporation of a personal benefit to
                         rvhich the indemnified representative is not legal1y entiileci; or

                          (3) to the extent such indemnification has been fina1iy determined in
               a   final adjudicaticn pursuant to Section 7 A6 b be othenvise unlaqd.rl

                 (b) Partiai_Payrneni If an indemnified representative is entitled to
indemnilication in respect of a portion, bnt not all, of any liabilities to r,vhich such person may
be su.bject, the corpotation shali indemnifr such indemnified representative to the maximnm
exteirt fbr such portion of the liabilities

               (c)     Presumpiion The termination of a proceeding by juclgment, orcler',
settlement oi conviction oi npon a piea of nclo contendels or its equivalent shall not of itself
cteate a presumption that the inden^nified representative is not entitled to indemnification

                   (d)    Dgfinitions For purposes of this Article:

                       (1) "indemnified capacity" mearrs any and all past, piesent and futule
               service by an indemnified lepreseniative in one or mole capacities as a director,
               officer, employee or agent of the corporatioa, o!, at the ieqnest of the
               oorporaticn, as a director, offlcer,' employee, a.gent, fiduciary or tir.rstee of'
               another corporation, parhrership, jcint r/eniuie, tnrsi, ernployee benefit plan or
               othei entity oi enteipiise;

                         {2)    "indenmifiecl representative" meaas any and all diiectors and
               officeis of tire corporaiion anci any other persoa designated as an indernnified
               iepresentative by the board of diectots of the corporation (r.vhich may, but need
               not, include any peison serving at the request of the corporation, as a dilector,
               officer, emplo-yee, agent, fiduciary or trustee of anothei corpoiation. paitnership,
               joint venture, tlnst, employee benefit plan or othei entity or enierpiise):

                         (3)    "iiability" means Nry damage, jndgment, amotmt paid in
               setilement, frne, penaifl, pnnitive damages, excise tax assessed ,,vith respect to
               an employee benefit p1an. or cost or expense, of any natuie (including. withorit
               lirnitation, attorneys I fees and disbrusements) and

                         (4)    "pioceeding" means any tkeatened, pending or completed action,
               suit, appeal or other pioceeding of any rratrae, w-hether civil, ctiminal,
               administrative or investigaiive, whether foimal or infoimal, and lvhether brougirt
               by oi in the right of the corporation, a class of its secr-uity holders or oiherr,vise,,




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        secdon 7 02             PROCEEDNGS t\iITL{rED By                            NDENfl{IFIED
REPRESENTATIVES Notwithstancling any other provision of this Article, the coiporarion
shali not indemnify undei this A-rticle an indemnified representative fbr any liabilif incuned in
a proceeding furitialed (n'hich shall not be deemed to include counterclairns or affumative
deienses) or paiticipated in as an intervenor or amicus curiae by the pelson seeking
indemnification r.rniess such initia.tion of oi pa:ticipation in the proceeding is auihorized, eithet
before oi aftet its commencement, by the affirmati''ie vote of a majoiity of the direetors in
office This section does not applv to a teimbr-usement of expenses incurred in successfully
piosecuting or defending an arbitration under Section 7 06 or otheir,vise successfully
prosecuting ot defending the rights of an indemnifred lepresentative ganted by or putsuant to
this Article

         Section 7 03 ADVAIICING EXPENSES The ccipoiation sha.li pay the expenses
(inehidiag attomeys, fees and disbursements) incrured in good faith by an indemnified
teptesentative in advance of the final disposition of a proceeding described in Section 7..A1 ot
the initiation of or participation in r.r,'hich is atithorized pursuant io Section 7 02 upon receipt of
an rindertatriing by or on behalf' of the indemnified lepresentative to repa.y the amount if it is
ultimatel-v- detetmined puisuant to Section '7 06 lhat srich pelson is noi eniitled io be.
indemnified by the corporation pursuant to this Article The financial abilitr of an indeniaified
represeniative to repay an advance shall not be a prerequisite to the rnaking of such aclvance

        Section   7   0zlSECURiNG OF NDEh/fitiFiCATIOl.l OBLIGATIONS ro fuitLrei
efiect, sa-tisf} oI secuie the indemnrficalion obligations provided herein or otherr,r.ise, the
cot,ooiatior" may mainiain insurance, obtain a ieiter of credit, act as self-insurei, create a
Ieselve, tiusi, esctorv, cash collateral oi ottrrer flrnd or account, enter into indemnification
agleernenis, pledge ol grant a security in'ierest in anv assets oi properties of the corporaticn, or
use any othei mechanism or alrangement r,r,'hatsoever in such amorints, at stich costs, and upon
sucli other tetrcs and conCitions as the boaid of directors shali deem appropriate Abssnt fiaud,
the deteiminaticn of the boarcl of directors w'iih respect to such amounts, costs, teirns and
conditions shall be conclusive against all secwity holders, olficers and directols Brrd shall not
be sribject to voidability

        Section'7     05
                       PAYN'IENT OF INDEMNIFICATION An indemnified repiesentatir.e
shall be entitled to indemnification r,vithin 30 davs after a written request for indemnification
has been delivered to the secietaly of the coiporation

        Section 7     06    ,ITRBITRATION

               (a) Qe.lreral Rule Any dispute related to the right to indemnification,
contribution ol advancement of expenses as provided rurder this Article, except r.vith respect to
indemnificationfbi liabilities arising ruder the Secuiities Act of 1933 that the corporation has
undettaken to submit to a coult for adjudication, shall be decided only by a:bitration in the
metropolitan a:ea in lvhjch the piincipal execlrtive offices of the corpoiation are located ai the
time, in accordance lvith the commercial arbitration rules then in effect of the American
A:bitration Association, before a panel of tluee arbitators, one of r.vhcm shall be seiected by


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 ihe corporation, the second of whom shall be selected by the indemnified representative and
 thfud of whom shall be selected by the oiher tr,vo arbiiiators In the absence of -rhe American
 Aibitration Association, ot if'foi any reason arbitration under the arbitration iules of the
American A.rbitration Associaiion carinot be initiated, or i{'one of the pa-rties fails or reflises to
select an arbitlator or if' the arbitratois selected by the corporation and the indenrnified
reptesentative canaot aglee on the selection of the third a:bitiatcr within 30 days after such time
as the cotpotation and the indemnified iepresentative have each been notified of the selection of
the other's arbiftatoi, the necessary arbitrator or arbitrators shall be selected by the presiding
jtrdge of the court o{ genetal jurisclieiion in such metropolitan a:ea

                 (b)      Burden of   P(oof    The paity or pa"rties challenging the right of      an
indemnified repiesentati''re to the benefits of this A:ticle sliall have the burden of proof

                 (c)      Elpenses The coipotation shall reimburse an indemnified iepresentaiive
for the expenses (including      aliorneys' fbes and disbarsements) incuried in successftilly
prosecuting or defending such abitratior

                 (d) Effbct Any arrard enterec1 by the aibihators shall be final, binding and
ncnappealable and judgment may be entered thereorr b,v any party in accordance .,'vith
applicable larv in any court of competent juisdiction, ercept that the corporaiion sliall be
entitled to interpose as a der'ense in any such judicial enfoicement proceeding any prior finai
jttdicial deterinination ad.verse to the indemnified representative undei Section '7 .01{a)(2) in a
pioceeding not clirectly inr.olving indemnification undei this Article This arbitration provision
shall be specifically enfbr ceable

         Section 7 07 CCNIF-IBLITION If the indemnification piovideC fbr in this Ariicle or
oihelw'ise is unavailable for any reason in respect cf an1' liabilif.v" or poition thereof, the
corporation shall contribute to the tiabiiities to lvilcli the indemnified iepiesentative may be
subje ct in such proportion as is approp!-tate ta reflect tlie inteni of this futicle or othelwise,,


        Section 7    08NIAI.{DATORY INDEMNIFICATION CF DiRECIORS, OFFICERS,
ETC    Io the extent that an authorized iepiesentaiive of the corporaiion has been successful on
themeriisorotherlviseiil defenseof anyactionorproceedingrefeiredtoinl5Pa CS $ 1741
or 7742 or in defense of any claim, issne or maiier therein, such perscn shall be indemnified
aga-inst expenses (including attorneys' f'ees and disbrusements) actually and ieascnably incrured
by such pelson in connection therewith

       Section   7   09 CONIRACI RIGHTS; AIi4END}.4ENT OR. REPEAL Al1 rights under
this Article shal1 be deemed a contract          betr,yeen the corporation ;uid the indemnif,red
repiesentative pursuant to lvhich the corpolation and each indemnified representative intencl to
be legallv bound Any repeal, amendment or modification hereof shall be piospective only and
sha1l not affeci any rights or obligations then existing

      SeciionT i0 SCOPE OF ARTICLE The rights granted by this Article shall not be
deemed exclusive of any other iights to which those seeking indemnification, contribution or



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 advancement of expenses ma)'be entitled under any statute, agleemeni, vote of sha:eholders or
 disinterested dlectors ot otherp'ise both as to action in an indemnified capaciry and as to action
itt any oiher capacity The indemnification, contribuiion and advancement of expenses
provided b-v cr granted pursuant to this Article shall ccntinrie as to a pelson r.vho has ceased to
be an indemnified rcpresentative in respect of matters arising prior to such time, and shall inue
to the benefit of the heits, erecutorc, adminisftators and personal representaiives of such a
pelson

        Section711 RELIANCE OF PROVISIONS Each person ra'ho shall act as an
indemnified iepteseniaiive of the corpoiation shall be deemed to be doing so in reliance Llpol1
the rights provided in this Article

         Section 712 INTER.PRETATION The provisions of this Article a:e intended to
constitr;te bylaus a:-rthorized by i5 Pa C S $ 513 and 1746 and 4zpa C s S 8j65

                                           ART'ICI.E \T{N
                                        ]\qNSCEI.T,ANEOUS

        Section 8    01   CORPORATE      SEAL     The corporation seal shal1 have inscribed theteon
tlre name of the corpotation, the year of its orga.nization and the rvotds "Cornoiate                Seal-
Pennsylvania"

         Section 8   02CHECKS Ali checks, notes, bills of exchange oi other orders in u,riting
shail be signed by such pe,.son oi peiscns as the boaid of diectors 01 any pelson authorizecl by
resolution of the bcard or'directors may ftom time to time designate

        Section 8    03   COhIIRACTS

                {a)       General-Rule Except as otheir,r'ise piovide<L in   ttrre   Biisiness Corpcration
Law in the case of tierrsactions that requfue action by the shareholdeis, the boad cf dfuectois
may authoize any officer or agent to enter inio any contract or to execute or deliver any
insttument on behalf of the corporation. and such ar.rthority may be general or confined to
specific instanees

                (b)     Stafutor..r Egrm of Execution
                                                         -of In$truments Any note, mortgage,
evidence of indebtedness, confuact or other document, 01 any assigrrment ol endorsement
theieof, executed or enteted into betr,veen the corporation axd any other person,
                                                                                    ',vhen signed by
one oi rnore oflicers or agents having acfrial or apparent authority to sign ii, or by the president
ot vice president and sectetarS, or assistani secretary or treasurer or assisiant tieasuer of the
corporation, shail be held to have been propeily executed for and in behalf of the corpcration,
rvithout prejudice to the rights of the corporation against any pelson rvho shall have executed
the instrument in excess of his oi her aciua7 authori.tv




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         Section 8   04 INTER"ESTED DEECTORS             OR OFFICERS;eUOB.UM

                (a) Geneial R-ule A contract ot' tuansaciion behr.een the corporation and one
 01 mole of its ditectots or o'ulcets 01 befvveen the corporaiion and anothel coiporation,
 partnership, joint ventule, trust or other enterprise in w'hich one 01 more of its diectors
                                                                                              or
 officets aie dfuectots or o'rJlcers or have a financial or othei intelest, shali not be void oi
 voidable solely for that reason, or solely because the directol or officer is pi'eseni at or
participates in the meetilg of the boa.rd of directois that authorizes the contract or tran.saction"
oi sclely because his, her or'rheii votes a:,e counted fol that prupose, if :

                         (1)     the maierial fhcts as to the relaticnship ol irlterest and as to the
                 contraci or taesaciion are disclcssd oi e.re knorm to the board of directois and
                 the boad auihorizes the confuact or tra:rsacticn by the affuma'rive vote of a
                 majoiity of the disinterested directcrs even though the dtsinterestecl clirectors a:e
                 less than a qucrum;


                         A)      the maiedal facts as tc lrrs or hel relationship or interest and as to
                 the contraci ot transactton aie disclosed or aie kno'',.,,ntc the sha:eholders entitled
                 io t'ote thereon and the ccntract or transaction is specifically a€proved in good
                 faith by vote of ihose sha:eholders; or

                         (3) fire contraci or tuaruaction is fair as to the corpcraiion as of the
                time   it is authciized, appicved or ratified by the board of dLeciors oi the
                 shareholders

                (b) Quql8      Com:rcn oi interested diiectcrs may be corlnieC in determirung
the presance of a qaorum zi a rneetir,g of tne boa:d r,.,'hich au-thcrizes a coatract or fuansaction
specified in subsection (a)

         Sectron 8 05 DEPCSITS Ail fueds of the co:poiation sha11 be cleposite.d ficm time to
tirne to the cledit c{ the ccrporaiion ia silch banks, tiust companies or other depositories as the
boa:ci of directors may approve oi designate, and all such fi.rnds sha1l be rvithdcaun only u;oon
checks signed bv such cl1e oi moie ofllcers oi employees as the board of directors shali fiom
iime to iime deieimine

        Seotion 8 05 CORPORAIE RECORDS

                (a)      Required Recoids lhe corporaticn shali keep complete and accnrate
books and lecotds of account, minutes of the picceedin-es of the incorporaicis, shaieholders arrd
diremors and a shale tegister giviag the names and addiesses of all shaiehol<iers and the number,
and class of shares heid by each The share iegister shall be kept at eithei the regi.stered office
of the corporation in Pennry{1,ania or at ir's principai pla-ce of business lvhere.,iel situated or at
the office of its registlal' oi transier agent. Anv books, minutes or othei tecords may be in
r.r,titten form oi any othei form capable of being conveited into r,v:itten form lvithin a reasonabl.e
time



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                  (b)   Right of Lnsppslipn Every shareholder shai1, upon r.,riiten verified
demand stating the purpose ihereof have a right to examine, in person or by agent oi attorney,
during the usual houts for business for any propei pupose, the share register, books and records
of account, and tecords of the proceedings of the incorpolatois, shareholders and directors and
to make copies ot extacts theiefrom, A pioper pulpose sha1l mean a pulpose reasonably
related to the intetest of'the pelson as a shareholder in every instance lvhere an attorney or
othet agent is the person vzho seeks the right of inspection, the demand, sha11 be accomoanied
bv a verified pol,vet of attorney or othel writing that authorizes the attorney or other agent ro so
act on behalf of the sha:ehotrder The demand shail be directed to the corporation at irs
registered office in Pennsylvania ot atits principal place of business rvherever situated

         Sestion B 07 FINANCIAL REPORTS Unless othenvise ageed betr,veen the
corporation and a shzueholder, the corporation shali furnish to its sha.teholders annual financial
staierrrenis, including at least a balance sheet as o{ the end of each fiscal year and a statement of
inccme and expenses for the fiscal year The finzuncial statements shalL be prepaled on the basis
of'generally accepted accounting principles, if the coiporation prepares {inancial staternents fbr
the fisca1 yeal on that basis for any prirpose, and may be consolidated siatements of the
coipoiation and one or lno1e of its subsidiaries The flnancial statements shall be maiLed by the
corpotation to each of its sha:eholders entitled theleto within 120 da,vs after the close of'each
fiscal year and, aftel the mailing and upon u,ritien request, shall be maiied by the corpoiation to
any shateholder ot berreficiai o\.\rrer entitled thereio to rvhom a copy of the rnost recent annual
financial stalements has nct previously been mailed Statements that a-ie audited or revielved by
a public accounte"nt sha.li be accompanied by the report of the accountant; in other cases, each
copv shali be accompaniecl by a statement of the pelsorl in charge of the financia.l recoids of the
corporation:

                           (1) Stating his reasonable belief as io whether or not tlie rlnancial
                  statei:renis rveie plepe,red in accorclance r,vith generally accepted accorinting
                  principles and, if not, describing the basis of presentation

                          (2)          Describing any rnateiial respects   in.,;vhich ihe financial
                  statements were not prepared on a basis consistent i.vith those prepa:ed for the
                 previous      1,ear


       Section B 08 AVTENDMENT OF BYLAWS These byla,,vs may be amended or
lepealed, or nerv bylarvs ma-v be adopted only bv vote of the shareholders at any drily organizecl
anaual or special meeting of sharetrolders See Section 2 03(b) (reiating to notice of action by
shar eholder s on byiar,'zs)




                                                     /.o
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                                         cERTrFrCAJ]rON


             /1        n   ,/tt
       l, /,fr-'rL (;il!t*-,      Sectetaly of Tunbridge Inc, hereby certify that the attached is a

tiue and collect copy of the u'ritten consent executed bv the Shareholders of Trurbridge Inc,, on

the {i41,   auy   t    ,y'&,'6o-/tJ,zott
                      7__T-

                                           --i-a"o4'"X' &fti:---_
                                               Secretary
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               UNANI}{ OUS \IIRTTT EN CONSEI{T OF S.I{AREH OLDERS

      IN LIEU OF     1VTEETING OF THE STLAREHOIJDERS OF                       TTDIBRIDGE I\LC.



        The undersigned Shareholders of Tunbridge           Inc   (the "Corporation"), pursuantto 15 Pa

C S A, $ 1766(a), consent in   triting   to the following

       APPROVED, the Shareholders consent that the Bylar,r's of the Corporation previously in

force shall be repealed

       APPROVED, the Shareholders consent that the Bylaws attached herelo as Exhibit "A"

shall be adopted and shall become the Bylar.vs of the Corporation

       EFFECIIVE, as of tnir       Elr,.    day of   _!p+f,2011             by unanimous consent of   the

Shareholders of the Corpoiation, as evidenced by their signafiues belor,v




                                                                  fl-".-, tl, n{r-
                                                            Lajos Bodo, Shareholder




                                                            Brooke   P   Cottman, Shareholder




                                                            Edlvard Coslett, Ir
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                        Exhibit C
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                                              BYLA\YS

                                                  OF'


                               SCARBOR.OUGH &TEIYS, iNC.

                                     (a Pennsylvania coipor ation)



                                             ART'ICLE    I
                                   OFF'ICES AND F'HSCA.L }'EAR


          Section 1 01  R-EGISTERFID OFFICE The registercd office o{ the corpotation in
Pennsylvania shall be at34A Media Station Road, N{edia, PA 19063 until otherrvise established
by an amendment of the articles or by the board of directors and a tecold of such change is filed
.,vith the Departrnent of State in the mannel provided by la',v

        Section i.02    Of HER OFFICES The corporation may also have offices at such othei
piaces lvithin or rvithout Pennsylvania as the boaid of directors may fiom time to time appcint
or the business of the corporation may require

        Section 1   03 FISCAL      YEAR     The fisca1 year of the, coi^ooration shall begin the 1st
day of Ianuary in each Yeai

                                             eRTXCI.E   X{


                     NOTICE - IVAN\E,RS . MEETNNGS GENERAT,I,V

        Section 2   01   MAr\NER OF GIVING NOTICE

               (a)       Generai   Rule   \\4renever llritten notice is required to be given to any
person under the provisions of the Business Corporation Law- or by the Articles or these bylaws,
it may be given to the petson either personally or by sending a copy thereof by first class or
express mail, postage prepaid, or by teleg am (r,vith messenger service specified), telex or T1 /)(
(r,vith ansrveiback received) or coruier service, charges prepaid, or by facsimile transmission, to
ihe address (or to the telex, T\\X or facsimile number) of the pelson appearing on the books of
the corporation or; in ihe case of directors, supplied by the directols to the cotpotation for the
pupose of notice If the notice is sent bv mail, telegaph or courier setvice, it sha1l be deemed
to have been given to the person entitled thereto when deposited in the United States mail oi
lvith a telegraph office or coruier service for delivery to that pelson oi, in the case of telex ot
TYfX, y,hen dispatched or, in the case of facsimile, rvhen teceived A noiice of meeting shall
specify the place, day and hour of the meeting and any othel information iequired by any othet
plovision of the Business Corpotation Law, the articies or these bylaws
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                (b)      Ad.ioruned Shaeholder   lvieetings W'hen a meeting of'shareholders is
adjourned, it shall not be necessary to    give  any notice of the adjoutned meeting oi of the
business to be tansacted at an adiourned meeting, other than by announcement at &e meeting
at r.l'hich the adjorunment is taken, unless the board fixes a nelv recold date for the adjourned
meeting or these bylarvs reqnire notice of the business to be tansacted and such notice has nct
previousiy been given.

         Section2 02 NOTiCE OF MEEIINGS OF BOARD OF DIRECTORS Notice of a
regulat'meeting of the bozud of dfueciors need not be given Noiice of every special meeting of
the board of directots shall be given to each director bv ielephone or in vrritinB at least 24 hours
(in ihe case of'notice bv telephone, telex, T\trX or facsirnile transmission) or 48 hours (in the
case of notice by teiegaph, couriei sex-vice or express mail) or five days (in the case of notice
by firsi class mail) befbre the time at which the rneeting is to be held. Every su,ch notice shall
state the time and place of the meeting Neither the business to be tansacted at, nor the
ptnpose of, any regtilai or special meeting of the boaid need be spscified in a notice o{'a
mee"uin,s


         Section 2   03 NOIICE      OF IvIEEIINGS OF SHAREHOLDERS

                (a)      General   Rule Written notice of every meeting of the shaieholders       shali
be given by, or at the direction   oi   the secretary to each shareholder of record entitled to vote at
the meeting at least:

                      (1) ten days piicr to the day named fbr a meeting called to consider a
                fundamenlal transaction undei 15 Pa C S Chapter 19 iegarding amendments of
                articles of incorporation, mergers, consolidations, share exchanges, sale of
                assets, divisions, conr,'ersions, liquidations and dissolution; or

                        (2)    five days prior to the day named for the meeting in any other      case


If the secretary neglectsor refuses to give notice of a meeting, the person or pelsons calling      the
meeting may do so ln the case of a special meeting of shareholders, the notice shall specift        the
general nature of the business to be transacted, and in all cases the notice shal1 comply lvith     the
express requirements of this section, fhe corporation shall not have a duty to augment              the
notice

                (b)    Notice of'Action bv Shareholders on Byla.,vs In the case of a meeting of
sharehoiders that has as one of its purposes actjon on the bylarvs, rn'iitten notice shall be given
to each shareholder that the prupose, or one of the purposes, of the meeting is to consider the
adoption, amendment or iepeal of the bylarvs There shall be inciuded in, ol enclosed lvith, the
notice a copy of the propcsed amendment or a surunary of the changes to be effected thereby
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        Section 2   04   V/'AIVER OF NOTICE

                (a)     V/riuen Waiver Whenever any lv:itten notice is required to be given
under the provisions of the Business Corporation lar,,r, the articles or these bylalvs, a r.vaiver
thereof in w:iting, signed by the person oi'persons entitled to the notice. n'hether before oi after
the time stated therein, shall be deemed equivalent to the giving of the notice Except as
oiherr,vise required by this subsection, neither the business to be transacted at, nol the purpose
of, a meeting need be specified in the r,vaiver of notice of the meeting In the case of a special
meeting of'shareholders, the v,aivei of notice shall specifl the general natrue of the business to
be tansacted

                 (b) tri/aiver by Attendance Attendance of a person al ary1 meeting shali
constitute a r,l'aivei of notice of the meeting except rvhere a person attends a meeting for the
expiess pulpose of objecting, at the begin:ring of the meeting, to the transaction of any business
because the meeting lvas not lar,lflilly called or convened,

        Section 2   05 MCDiFICATICN OF PROPOSAL CONTAE{ED                           IN NOTICE
trl/henever the language of a proposed resolution is included in a r'.nitten notice of a meeting
required to be given under the provisions of the Business Corporation Lar,v oi the articles ot
these bylaws, the meeiing considering the resolution may i.yiflrout fi.tther notice adopt it lvith
such cla:ifying or other amendments as do not enlage its original pupose

        Section 2   06 EXCEPTICN      TC REQ{JIREMENT OF NOTICE

                (a) Geneial. Ruie lVhenevei anr7 noiice oi communicaiion is reqr-riied to be
given to any  pelson  undei the ptovisions of the Business Corporation Law or by the alticles ot
these bylaws or by the terms of any agieement oi other instrumeni ol as a- condition ptecedent
to taking any coipoiate action and cornrnunication with that peison is then unla',,rfiil, the giving
of the notice 01 colrrmunication to thai pelson shail not be required

                (b)     Shareholders Without Forr,r-arding Add-resses Notice oI other
communications shall not be sent to any shareholdei lvith lv-hom the cotporation has been
unable to communicate for more than 24 consecutive months because commnnications to the
shareholdel are retuined unclaimed or the shareholclet has otherr.vise failed to provide the
corporation lr.ith a cuirent address Whenever the shareholdei provides the corporation r,vith a
current addtess, the cotpolation shali commence sending notices and other communications to
the shu'eholder in the same mannel as to othet shareholders

        Section 2 07 USE OF CONFERENCE TELEPHONE AND SIMILAR EQUIPMENT
One or mole peisons may participate in a meeting of the board of dtectors ot the shareholders
of the corpoiation by means of conference telephone or similar communications equipment by
means of w'hich all persons participating in the meeting can hear each other Paiticipation in a
meeting prusuant to this secticn sha1l constitute presence in person at the meeting
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                                          AR.TXCLE      INN


                                       SFLARjE,HOtr.DERS

       Section 3   01PLACE OF IvIEETING A11 meetings of the shareholders of the
corporation shall be held at the registered offrce of'the corporation unless anothet place is
designated by the board o{'directors in the notice of   a   meeting,

        Section 3   02AMIUAL MEEIiNG The board of directors ma y fix the date and time
of the annual meeting of the shareholders, but if no such date and time is fixed by the board, the
meetingfor anycalendarvear shallbeheldonthe 15thdayof Aprilinsuchyeat,if notalega1
holiday undet the iaws of Pennsylvania, ancl, if a legal holiday, then on the next succeeding
business day, nct a Saturday, at 10:00 o'clock, A M, and at said meeting the shareholders then
entitied to vote shall elect directors and shall transact such other business as may properly be
brought beforc the meeting If the annual meeting shall noi have been called and held rvithin
six months after the designated time, any shareholder' muy call the meeting at any time
thereaftei Except as otherrvise provided in the articles, at least one rneeting of the shareholder
shaii be held in each calendat yl-at for the election of directors

        Section 3   03   SPECIAI I{EEIIbIGS

               (a)       eall of Spgqlal-l4gglqg! Special meetings o{ the shareholders mav be
called al any time:

                         (1)   by tlr.e bcard of directois; or

                         (2)   unless otherrvise provided in the articles, by shareholders entitled
               to cast at least 20a/o oi ttre vote tliat all shareholders ate entiiled tc cast at the
               particular meeting

               (b) Fixing Time of Ivieeting At any time, upon rryritten tequest of any
pelson who has called a special meeting, it shall be the duB of the sectetaty to fix the time of
the meeting which shall be held not more than 60 days after the receipt of the recluest If the
searetaly neglects or refuses to fix a time of the meeting. the person oI pelsons calling the
meeting may do so

        Section 3    04 QUORUM     AND ADIOURNIvIENI

                (a)     General Rule A meeting of shareholders of the colpotation duly called
sha1l not be oiganized for the tansaction of business unless a quolum is ptesent The ptesence
of shareholders entitled to cast at least a majority of the votes that all shareholders a:e entitled
io cast on a particular matter to be acted upon at the meeting shall constitute a quorum for the
prilposes of'consideration and action on the mafter,, Shaes of the corpotation, olr,ned, directly
br indirectly, by it and contolled, clirectly oi indilectly, by the board of directors of this
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colpolation, as such, shall not be counted in determining the total number of outstanding shares
for quorum puiposes at any given time

               (b)    Withdralv.al of a Quorum The shareholders present at a duly organized
meeting car continue to do business until adiournment noir,vithstanding the lvithdrar.val o{
enough shareholders to ieave less than a quolum,

               (c)   Adjournment for Lack of Ou.orr.rm If a meeting cannot be organized
because a quolurn has not attended, those ptesent may, except as provided in the Business
Corporation Law, adjourn the meeting to such time and place as they may determine

               (d)     Adjournments Geneially Any meeting at r,vhich directors are to be
elected shall be adjoruned only from day to day, or for such lon-eer periods not exceeding 15
days each as the shareholders present and entitled to vote sha1l direct, until the directots have
been elected Anv other regular ot speciai meeting may be adjourned for such period as the
shareholders present and entitled to vote shall direct

               (e)     Electinq Directors at Adiourned N{eeiing Those shareholders entitled to
vote rvho attend a meeting called foi the election of dilectors that has been previottsiy
adjourned for lack of a quorum, although less than a qllorum as fr-xed in this section sha1l
nevertheless constitrte a quoitim fbI the pupose of electing dilectois

               G)       Othei Aotion in Absence of Quorum Those shareholders entitled to vote
rz,,ho attend a meeting of sharehr.olders that ha.s been previouslv adjoumed for one 01 mcle
periods agglegating at least 15 <iays because of an absence of a qLiolum, although less than a
quolum as fixed in ttris section, sha1l neveitheless constiiute a q$orum for the pupose of acting
upon any matter set fbrth in the notiee of the meeting if the notice states that those shareholders
r,vho atteiid the adjourned meeting sha11 nevertireless constitute a qllolum fbr the putpose of
acting upon the matler

       Section 3   05 ACTION BY SI{AREHOI-DERS
               (a)     General Rule Except as oiherwise provided in the Business Cotporation
Law or the articles or these bylalvs, lvhenevet any colporate action is to be taken by vote of the
shareholders of the corporation, it shall be authorized npon receiving the affirmative vote of a
majority of the votes cast by ai1 shareholders entitled to vote thereon

               (b)     Interested Silu.eholders Any merget ol othei transaction authorized
under 15PaCS Subchapter 19C betr,veen the corpoiaiion or subsidiaiy theteof and a
shareholder of this corporation, or any voluntary liquidation authotized undet i5 PaCS
Subchapter 19I in lvhich a sharehoidEr is treated diffeientiy fiom other shat'eholders of the
same class (othei than any dissenting shareholders), shall require the affiIma.tive vote of the
shareholders entitled to cast at least a majorily of the votes that a1l shareholdets other than the
interested shareholder are entitleri to cast lvith respect to the tansaction, without counting the
vote cf the interested shareholder For the pruposes o{ the preceding sentence, interested
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shareholder shall include -rhe shareholder w'ho is a pafiy to the tansaction or lvho is tieated
differently fiorn oiher shareholdeis and any person, or gtoup of'persons, that is acting jointlv or
in concert with the interested shareholdei and any pelson w'ho, dilectly or indirectly, contiols, is
contiolled by or is under common control r,vith the inierested shareholder. An interested
shareholder shall not include any person who, in good faith and not for the purpose of
circumventing this subsection, is an agent, bank, broker, nominee oi hustee for one 01 moie
other persons, to the extent that the other person or persons are not interested shaeholders

                (c)     Exceptions Subsection (b) shall not apply to   a transaction:


                        (1) that has been approved by a majoriry vote             of the boa:d of
                dilectors without couating the voie of'directors rvho:

                                (i)     are directors or officers of, or have a mateiial equit-v
                        intelest in, the inierested sha:eholder; or

                                (iD     r.vere nominated fbr election as a dhectci by the intetested
                        shareholder, and fust elected as a director, r,vithin 24 months of ttre date
                        of'the vote on the proposed transaction; or

                        (2)     in w-hich the ccnsideration to be received by the sharehclders ibr
                shares of any class of which shaies zue or.med by the inteiested shareholdei is
                not less than the highest arnount paid by the interested shareholder in acquirin.g
                shares of the same class

                (d)      Additional Apprp:'.alq The approvals re,luired by subsection (b) shalL be
in addition to. and not irr lieu of, any other approva\ required by the Bttsiness Cotpotation Law,
the articles or these bylarvs, oi otherr,vise
                                           ,




        Section 3   06, ORGANIZT\IION At every meeiing of the shzueholdei's, the chailman
of'the board, if theie be one, or, in the case of vacancy- in office or absence of the chaiirnan of
the boatd, one of'the following oflicers preseni in the order stated: the vice chailman of the
board, if there be one, the president, the vice presidents in their order of tank and seniotity, ot a
pgrson chosen by vote of the shareholders plesent, shall act as chairman of the meeting The
secretary oi, in the absence of the secretary, an assistant secretaly, or inthe absence of boththe
secretary and assistant secretaries, a pelson appointed by the chailman of the meeting, shall act
as secretary.

        Section 3 07. VOTNG RIGHIS OF SIIAREHOLDERS Unless othetrvise provided
in the articles, every shareholder of the corporation shail be entitled to one vote foi everY share
standing in the name of ihe shareirolder on the books of the cotpotation
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        Section 3   08   VOTNG.{blD OTHER ACIION BY PROXY

                (a)      General Rule

                         (1)    Every shareholder entitled to vote at a meeting of sharehoiders or
                to express consent or disseni to coiporate action in rvriting without a meeting
                may authorize another pelson to act for the shareholder by pioxy

                         (2)     The presence of; or vote or other action at a meeting of
                sharehclders, or the expression of consent oi dissent to corporate action in
                r,vriting, by a pioxy o{ a shareholder shall constitute the presence of, oi vote ol
                action by, or rvrilten consent or dissent of the shareholder

                         (3)    t{heie t\,vo ol more proxies of a shareholder are present, the
                corporation shall, unless otheru"ise expressly provided in tire p1oxy, accept as the
                vote of'all shares tepresenied thereby the vote cast by a majority of them and, if
                a majority of the proxies carnot agree r,ir'hether the shares repiesented sha1l be
                voted or upon the mannet of'voting the shares, the voting of the shares shall be
                divided equally among those peisons,

                (b)      Eae_cution and   Filigg Every proxy shall be executed in rmiting by the
shareholder or by the duly authoiized attorney-in-fact of the shareholder and filed with the
secletarr,, of the corporation A telegam, telex, cablegram, datagram ol similar tansmission
flom a shareholdel or aftoiney-in-fa.ct, cr a photographic, fbcsimile or simiiar iepioduction of a
rv:iting erecutecl by a shareholdei oi attorney-in-fact:

                         (1)    may be treated as properly executed fbr purposes of this section;
                and

                        (2) shali be so treated if it sets forth a confidential and u.nique
                identification numbei 01 other mark fi.unished by the corporation to the
                shareholder foi the puiposes cf apa:ticrila rneeting or transaction

                  (c) Revocation, A proxy, unless coupled lvith an interest, shali be revocable
at lvill, notlvithstanding anv other agreement or any provision in the proxy to the confuarv, but
the revocation of a ploxy shall not be effective until r,-r:itten notice thereof has been given to the
secretary of the corporation An uruevoked proxv sha-1l not be valid after three years fiom the
date of its execution unless a longer time is expressly provided therein A proxv shal1 not be
revoked by the death or incapacity of the maker unless, before the vote is counted oi the
authority is exercised, lvritten notice of the death or incapacitv is given to the seci'etary of the
corporation

                (d) Expenses Unless otheillise restricted in the articies, the cotporation
shall pav the leasonable expenses of solicitation of votes, proxies oi consents of shareholders
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by ot on behalf of the board of dilectors or its nomi:rees for election to the boad, including
solicitation by proiessionai proxv solicitors and otherrvise

        Section 3      09
                        VOTI{G BY FIDUCIARIES A},lD PLEDGEES Shares of the
corpotation standing in the name of a trustee or other fiduciay and shares held by an assignee
fbr the benefit of creditors or by a teceivel ma,'* he voted by the tustee, fiduciary, assignee or
receivei A shareholder w'hose shates a.re pledged shall be entitied to vote the shares until the
shares have been ilansferred inio the name of the pledgee, or a nominee of the pledgee, but
nothing in this section shail affect the validity of a pioxy given tc a pledgee or norninee

           Section 3   10   VOIINIG BY IOINT IIOLDERS OF SFIARES

                  (a)       General   Rule \i.&ere sha:es of the corporation are held jointlv or    as
ienants in common by tw-o      01 rnole persons, as fiduciaries oi othetrvise:


                          (1) if oniy one or more of'such peisons is present in person or by
                  ploxy, all of the sha"res standing in the names of such pelsons shall be deemed to
                  be replesented fbi the purpose of'determining a quorum and the corporation
                  shall accept as the vote of ail the shares the vote cast by a joint o\lnei or a
                  majoiifv of them; and

                           (2) if the perscns are equally divided upon rvhether the shares held by
                  them shall be voted or upon the manner of voting the shaies, the voting of the
                  shares shal1 be divided equally alnong the persons rvithout prejudice to the rights
                  of the joint owneis or the beneficial owneis thereof among themse}ves

                (b) Exception If thele has been filed with the secretary of the coipoiation a
copv, certified by an attorney al law to be correct, of the relevant portions of the agreement
rinder w-hich the shares are held ot the insfoument by wliich the trust ol estate was created or the
order of court appointing them oi of an order of court directing the voting of the shares, the
pelsons specified as having such voting powel in the document latest in date of operative efibct
so filed, and only ihose persons, shall be entiiled to vcte the shares but only in accordance
theiewrth

           Section 3   11   VOTING BY CORPORATIONS

                (a) Voting bv Corporate Shareholders Any corpoiation that is a shareholder
of this  corpcration  may vote by any of its officeis 01 agents, or by proxy appointed by any
officer or ageni, unless some other person, by resolution of the borud of dfuectors of the other
corpoiation or provision of its articles or by-lalvs, a copy of ll'hich resolution or ptovision
ceitified to be correct by one of its officers has been filed 'tvith the secietary of this corporation,
is appointed its geneial or special proxy in r,v'hich case that person sha.ll be entitled to vote the
shares..
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                 (b) Con'uol1ed Shares Shares of this corpoiation ouneC, directly or
iadirectly,   by it and controlled. directly oi indirectly, by the boad of directors of this
corpotation, as such, shall not be voteC al any meeting and shall not be counted in deter-mining
the toial number of outstanding shares fbl voiing pluposes at any given time

         Section   3   12   DETERMNAIION OF SI{AREHOLDERS             OF RECORD

                (a) Fixing Recoid Date The bca-rd of directois may fix a time prior to the
daie of ariy meeting of sha:eholders as a record date for the determination of the shaieholders
eniitled to notice of, oi to vote at, the meeting, which time, except in the case of an adjouined
meeting, sha1l be not more than 90 days prior to the date o{ the meeting cf shareholders Only
shaieholders of recot'd on the date fixed shall be so enlitled notrvithstanding anv transfer of
shares on' the books of the cotporation aftei any recoid date fixed as provided in this
subsection The boatd of directors may simiiarly fix a record date for the determination of
shareholdeis of record for any other puipose, When a determination of shareholders of record
has been made as provided in this section foi purposes of a meeting, the determination shal1
apply to any adjorunn'rent theieof un-less the board fixes a ner,v record date for the adjoruned
meeting

                   &)       Determination WhQn a Record Date is Not Fixed If a record date is not
fixed:

                            (1)The recoid date for determining sha:eholders entitled to notice of
                or to vote at a meeting of sharehclders shall be at the close of business on the
                date next preceding the day on vrhich notice is given or, if noiice is viaived. at
                the close of business oa the day immediately preceding the day on rr,hich the
                meetlng is held

                            @   fhe record date fbr determining shareholders entitled to express
                consent ot dissent to corpoiate action in vzriting without a meeting, when prior
                action by the boaid of dtectois is noi necessary, to call a special meeting of the
                shareholders oI propose an amendment oI the articles, sha1l be the close of
                business on the day on r,r,'hich the first vritten consent or dissent, request foi a
                special meeting or petition proposing an amendment of the articles is filed r.vith
                the secretary of the corporation,

                        (3) The record date for determining shareholders foi any other
                purpose shall be at the ciose cf br-rsiness on the day on whicir the boaid of
                directors adopts the resclution relating theteto

         Section 3     13   VOTI{G LISTS

                (a) General Rrli-e.. The officer or agent having charge of the transfer books
for shares of the corpoiation shall mal<e a cornplete list of the shareholders entiiled to vote at
any meeting of shareholders, ana:rged in alphabetical order, r,r,ith the address of and the number
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of shares held b,v each lhe list shall be produced anC kept open ar the time and place of the
meeiing and shall be subject to the inspeciion af any shareholder during the ,ut'hole time of the
meeting for the pLuposes thereof

                (b) Effect of List Failue tc comply with the requLements of this section
shall not effect the validity of any action taken at a meeting prior to a demand at the meeting by
any shareholder entitled to vote thereat to exarnine the list fhe original share register or
tiansfei book, ol a duplicate thereof kepi in this Conrmonrvealth, shall be piima facie evidence
as to rvho are the shareholdets entitled to exarnine the list or sha:e register or transfer book or to
vote at any meeting of shareholders

        Section 3   14   iUDGES OF ELECT-iON

               (a) Appointment In advance of any rneeting of shaieholdeis of the
corpotation, the boaid of directors may appoint judges of election, rvho need not be
shareholdels, to act at the meeting ol any adjournment tirereof lf judges of election are not so
appointed, the presidilg officer of the meeting may, and on the request of any shaeholdei shall,
appoint judges of eleciion at the meeting The number of judges shall be one or tfuee, A
person lr,'ho is a candidaie for office to be fi1led at the meeting shal1 not act as a judge

                (b)      Vaca.ncies In case any pelson appointecl as a judge fails to appear or
fails or iefuses to act, the vacancy may be filled bv appointment made by the board of directors
in advance of the convening of the meeting or at the meeting by the presiding officer therec-f

                  (c) Drities The judges of election shali deteimine the numbei o{'shaies
otrtstanding and the voting po1ve1 of eacfu the shares repiesented ai the meeting, the existence
of a opotum, the authenticity, vaiidity and effect of proxies, receive votes 01 ballots, hear and
detetmine all challenges and questions in any r,vay arising in connection with the iight- to vote,
collnt and tabulate all vctes, detetmine the tesufi arrd do such acts asniay be proper to conduct
the eiection or vote with faimess to all shareholders fhe judges of election shall perfora thelr
duiies impaitially, in good faith, to the best of their abilitv and as expeditiously as is piactical
If there are ttuee judges of'election, the decisiofl, acl or certificate of a majotity sha1l be
eflfective in all respects as the decision, act or certificate of all

                (d)  Rep.ott On tequest of the presiding officei of the meeting, ot of any
sha"reholder, the judge shall make a report
                                          in writing of any challenge or qnestion or mafier
deteirnined by them, and execute a ceitificate of any fact found by them Any repoit or
certificate made by them shall be prima facie evidence of the facts stated theiein

        Section 3   15   CONSENT OI SHAR.EHOLDERS              n\tr   LIEU OF IVIEEING

                (a)  Unanimous Writtsn Consent Any action requfued or peimitted to be
taken at a meeting of the shareholders or of a class of shaieholders may be taken r,rzithout a
meeting if, prior or subsequent to the action, a consent or sonsents thereto by all of the




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shaieholders vr'ho rvould be entitled to vote at   a   meeiing for such pupose sha1l be filed lvith the
secletaly of the corporation

                (b)      Partial \liitten Consent Any action required or permitted to be taken at
a meeting of the shareholders    ot of a class of shareholders may be taken lvithont a meeting upon
the lrritten consent of shareholders who rvould have been entitled to cast the minimum number
of votes that would be necessary to authorize the action at a meeting at r,vhich all shareholclers
entitled to ',rote thereon viere present and voting Ihe consents shall be fi1ed wiih the secretay
of the coiporation fhe action shali not become effective until after ai least ten days' '*,r.ritien
notice of the action has been given to each sharehclder entitled to vote thereon lvho has not
consen'ied thereto

        Seciion 3 16 MINORS AS SECURIIY HOLDERS fhe corporate on may tueat a
minor 1.,'ho holds shates oi obligations of the corporation as having capaciiy to receive ancl to
empo\\€r others to receive dividends, interest, principal and other payments or distributions, to
vote or express consent ot dissent and to malce elections and exelcise tights relating to srich
shares or obligations unless, in the case of payrnents or distributions on shares, the coipoiate
officer responsible for maintaining the list of shareholders or the Bansfer agent of the
coiporation or', in the case of'payments or distiibutions on obligations, the fteasulei or paving
officet or agent has ieceived r,.aitten notice that the holder is a minor

                                          ..TR.TXCI,E XV

                                   E   OARD OF     DtrR.E,CT'O}R.S


        Section 4   01 PC\\ERS;     PER.SONAL LIAtsILITY

               (a)      Geneiai   Rule Unless otherwise provided by statute all pclveis vested by
lar,v in the cotpol'ation shall be exetcised by or under the authority of, and the business e,nd
affairs of the cotpotation shal1 be managed under the direciion of, the board of directois

               (b)     Standard of--Care: Jr.rstifiable R_qiiance        A   director shali stand   in   a
fiduciay relation to the corpoiation and shall is perform his or her duties as a           director,
including duties as a member of any committee of the board upon which the di-rector may selve ,
in good faith, in a mannel the director reasonably believes to be in the best interests of'the
coipotation and with snch care, including reasonable inquiry, skill and dili-eence, as a person of
oidinary prudence w-ould use under similai circumstances In peifotming his or her duties, a
diiector shall be entitled to rely in good faith on information, opi.nions, r'eports or statements,
including financial statements and othet financial data, in each case prepaied or presented by
any o{ the {bllowing:

                       (1)      One or moie officers or employees of the corporation vvhom the
               diiector reasonably believes    to be ieliable and competent in the matters
               presented,




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                         (2)  Counsel, public accountants or other petsons as to malters vrhich
                the directol teasonably believes to be lviihin the piofessional or       expert
                competence of such pelson

                         (3)  A committee of the board upon r.vhich the director does not serve,
                duly designaied in accotdance i.vith larv, as to matters wjthin its designatecl
                authority, w-hich committee the director reasonably believes to merit confidence

A  director shall not be consideied to be actin-q in good faith if the director has knor.vledge
 concetning the mattei in question that r,louid cause his or hei reliance to be unlvarianted

               (c) Consideration of Factors In discharging the duties of their respective
positions, the board of dfuectors, committees of the board and individual d}ectors may, i:r
considering the best iniet'ests of the corporation, consider the effecrs of any action rpon
employees, upon suppliets a:rd customers o{ the corporation and upon communilies in which
offices or othei establishments of the coiporation are located, and all other pertinent factors
The consideration of those factots shall not constitu're a violation of subsection ft)

                (d)      Fresumption Absent breach of fiduciary duty, iack of goocl faith or self-
deaiing, actions taken as a director 01 any f'aihue to take a:ry action shall be piesumed to be in
the best interests of the coiooration

                (e)     Petsonal Liabiiity o.i Dfu ectoi-q

                          (1) A dfuectot shali not be personaliy liable, as s*ch, fbi monetarl,
                damages lor any action taken,    oi any failuie to take any action, unless:

                                (i) the directoi has breached ol failed to perfbim ihe duties of
                        his or her oflice tmclei this section: and

                                  (i, the breach or f'ailuie to perform constiiutes self-clealing.
                        rvillftil misconduci ol r ecklessness,

                         (2) The provisions of paragiaph (1) shall not apply to the
                responsibility or liabiiitl of a directoi plusuam to any criminal statute, or the
                liabilitr of a directot for the payment of taxes putsuant to local, State or Fecleral
                law

                 (f) Notation of Dissent A director rvho is present at a meeting of the board
of' directors, or o{ a committee of the board, at '"r,hich action on an.v corporate malier is taken
shall be presrmrecl to have assented to the action taken unless his or her dissent is entered in the
minutes of the meeting or unless the clirectot files a w:itten dissent io the action lltth the
secretary of the meeting before the adjournment thereof or transmits the dissent in uriting to the
secretary of the corpoiation immediately after the adjournment of the meeting fhe right to
dissent shali not a.pply to a directol who voted in favor of the action Nothing in this section



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 sha1l ba: a director   fiom asseitiag that rnimtes cf the meeting incorrectly omitted his or her
 dissent if, promptlv upon receipt of a copy of sr:ch minutes, the diiector nctifies the secretary in
 vlriting, of the asserted omission ot inaccuracy,

         Section 4   02   QUALIFICATION AND SELECIION OF DIRECTORS

                   (a) O-ualifications Each director of the corporation sha1l be a natural peison
 of fllll age r.vho need not be a resident of Penasylvania or a sharehoidel of the corporation

                 (b) Election of Directg$ Except as otherwise piovided in these bylar,vs,
directors of the cotporation shall be elected by the shareholders In elections for directors,
voting need not be by ballot, except upon demand ma.de by a shareholder entitled to vote at the
election and before the voting begins The candidaies receiving the highest number of votes
fiom each class or $oup of classes, if any, entitled to elect directois sepa:ately up to the
number of diiectois to be elected by the class oi group of classes shall be elected If at any
meeting of shaleholdets, directots of more than ole class aie to be elected, each class of
directors sliall be elected in a sepaiate eleciion

                (c)       Cumulative   Voting   Unless the aiticles ptovide for siraight voting, in
each election of diectors evely shaieholder entitled to vote shali have the iight to multiply the
nurnber of votes to which the shareholdei may be entitied by the total number of dlectors to be
eieciecl in the same election by the holders of the class or classes of shares of r,'v'hich his or her
shales are a part and the shareholders may cast the r,vhole number o{ his or her voies for one
cairdidate 0r may disfuibute them among ti,vo or more candidaies

        Section 4    03   N-Uh'IBER   AND TERI{ OF OFFXCE

                (a)       Numbet The board of directors      sha.ll consist   of ttuee directcis -   one
Class   A dfuector, one Ciass B director anci one Class C dilector Only shaleholders olvning
Ciass   A stock of the corpoiation shall be entitled to cast votes to eiect the Class A director
Onlv shareholdets ow:ring Class B stock of the corporation shail be entitied to cast votes to
elect the Class E director Only shaieholCers oliming Class C stock cf the corpotation shall be
entitled to cast votes to elect the Class C director The term of appoinhnent of'each of the Class
A Director, the Class B Director and the Class C Director shall be one year

                (b) Independent Advisor The shareholders shall cast votes tc select an
independent advisoi once annllally at the same time the shareholders cast votes to elect the
dfuectors The independent advisor shall not be a dfuectoi and shall not be given notice of nor
attend any t'egular or special meetings of the bca:d of directors unless and rmtil the board is
unable to teach a resolution bv the recluired number of directol votes on a paiticular n-iatter or
issue duting a regula: or special meeting Should the board become deadlocked in this mannei,
any directot mdy call a special meeting of the boaid for the sole purpose of resolving any snch
deadlock and, at least ten days prior to such meeting, give notice to the independent advisor that
the meeting will take place and that the independent advisor should attend At the meeting the




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independent advisor '',vill be permitted to cast one vote as if he oi she lvere a director for the sole
purpose of breaking the deadlock

                (c) Teim of Office Each dilector or independent advisor shall hold office
until the expiration of the tetm for *-hich he or she was elected and until a successor has been
selected and qualified or until his or her earlier deat\ resignation or removal A decrease in the
numbet of directors shail not have the effect of shortening the term of any incumbent dilector

                (d) Resignation Arry diector or independent adr,"isor ma\i resign at any time
upon .,rtiiten notice to the cotpotation The resignation shall be effective upon receipt thereof
by the corporation or at such subsequent time as shall be specified in the notice of iesignation

        Section 4   04   VACA).ICiES

                 (a) GeneIal Rule. Vacancies in the board of directors, including vacancies
resulting fiom an increase in the numbet of'directors, and vacancies of the independent advisor
position, shall be filled by a majority vote of'the shaeholders rvho are&e-entitled to select a
dilector to fill the directorship, oI independent advisorship, as applicable in the event of a
vacancy, the corporation shall immediately give notice to the shazeholders of srich vacancy so
that a shareholder meeting may be cailed for the pupose of casting votes fbr a replacement
ditectot or independent advisor Fach director or independent advisor so elected sliall sene for
the balaxce of the turerpired tetm, and until a successol has been selected and qualified, oi until
his or her eailier death, resignation or removal.

                (b)     Action by DlectoLs in the_Event of an U.nr'riled I/aca4.cy If there is an
unfilled vacaltey in the boarcl, the temaining dilectoi may act only with the unanimous approval
of the shzuehoiders, ot in the event of a tie, with the appror,,al of half of the shareholilers ald the
independent dL ectoi

        Section 4   05   REMCVAL CF DIRECTORS

                (a)     Removal by the Shareholde-rs The entire board of directors, or any class
of the boatd, ol any individual director may be removed ftom office r.vithout          assigning an.7
caLISq by the vote of shareholders, or of'the holders of a class or series of shares, entitied to elect
directors, or the class of diiectors In case the board or a class of the board 01 any one or mol'e
directots aie so removed, nerv directois may be elected at the same meeting fhe boaid of
directors may be lemoved at any time u'ith or without cause by the unanimous vote 01 consent
of sharehclders entitled to vote thereon

                (b)         Removal by the Boaid The boad of directors may declare vacant the
office of a director rlto has been judicially declared of unsormd mind or who has been
convicted of an offense punishable by imprisonment fbr a term of more than one year or if,
vrithin 60 days after notice of his or her selection, the director does not accept the office eithel
in r,'r,riting or by attending a meeting of the board of diiectois




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                (") Renloval of Directors. Elected brrsumulative Yoiing An in<1i''rid-ura1
director shall not be i'emcved (unless the entiie boaid oi class of the boa-rd is removed) if
sufficient votes aie cast against the resoLution for his removal rvhich, i{ cumulatively voted at an
annual or other regula: election of directors, rvould be sufficient to elect one 01'mole directors
to the board or to the class

        Section 4   06PLACE OF IVIEEINGS N{eetings of the board of directors may be held
ai such place within or without Pennsylvania as the boaid o{ diiectois may fiom time to time
appoint or as may be designated in the notice of the meeting

        Section 4 07 OR.GANIZATION OF MEETINGS At every meeting of the boaid of
directols, tire chairman of the board, if there be one, or, in the case of a vacancy in ttre office or
absence of the chairman of &e board, one of the fbllowing ofi-rcers present in the ordet stated:
the vice chairi'nan of the board, if there be one, the ptesident, the vice presidents in their order
of rank and seniorifi, ot a pelson chosen by a majorit'i of the directors present, shall act as
chairman of the meeting The secretary or, in the absence of the secretary, an assista:rt
secteiary, or, irr the absence of the secretary and ihe assistant secretaiies, any peison appointed
by the chairman of the meeting. shall act as secretaiv,

        Section 4 08 REGULAR MEE,IINGS Reguiar meetings of the board of directors
shall be held at such time and place as shall be designated fiom time to time by resoluiion of the
board. of directors


        Section 4   09 SPECIAL MEETINGS Special meetings of the boaid of directors shal1
be held w'henever called by the chairman oi by two or moie of the dilectors

        Section 4   10   QUORIIIVI OF AND      ACIION BY DIRECTORS

               (a) General Rule A majoiiiv of the directors in oJfice of thre coiporation
shall be necessary to constitttte a quorum {bi the transaction of br-rsiness and the acts of a
majority of the diiectois piesent and voting at a meeting at r,i,hich a quorum is present shall be
the acts of'the board of directors In the case of a vacancy in the boald of dtectois, the
remaining director and the independent advisor shall constitr.tte a quorum

               (b) Action br,: lVritten Consent An"v action required or permitted to be taken
at a meeting of the directors may be taken lvithout a meeting if, prior or subsequent to the
action, a consent or consents thereto by all of the directors in office is filed rvith the sectetary of
the corporation

        Section 4   11 EXECUTI\E       AND OTHER COMVIITTEES

                (a) Establishrneni and Por,vers The board of directors may, by resohrtion
adoptedby a majoiitl of the directois in office, establish one or more coirlmittees to consist of
one ct moie ditectots of the corporation Any committee, to the extent provided in the
tesolution of the board of directors, shall have and may exercise all of the powels and authoriiy



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of the board of dfuectors except that a committee shail not have any po\yel oi authoriff       as   to the
follorving:

                          (1)  The submission to shareholders of any action requiring approval
                of shaieholders under the Busiless is Corporation Law

                          (2)    The creation or   filling of vacancies in the board of dilectors

                          (3)    The adoption, amendrnent or repeal of these bylar.vs

                          (4)   The amendment or repeal of any iesolution of the board that by
                its terms is amenCable or repealable only by the board

                          (5)    Aciion on matters committed by a resolution of the board o{
                dfuectors to another committee of the board

                (b) Alternate Committee irlembers The board may desigRate one ol mole
directors as aliernate membets of any committee r,v-ho rnay replace any absent or disqualifiecl
member at any meeting of the comrnittee or foi the pruposes of any l,.r:itten action by the
committee , In the absence or disqualification of a member and alternate member or members
of a cornmittee, tlie raember or members thereof pleseni at any meeting and not disqualified
liom voting, vi,hether or not constituting a quo1l1m, may unanimousiy appoint another director
to act at the meeting in the place of the absent or disqualified membel,

                (r)       Teim   Each committee or'the board shail seive at the pleasure of the
boaid

                (d)               Procedures The teim "boa'rd of dlectors" or' "board," rvhen
                          Committg-e
used in any provision of these bylar,vs relating to the oiganization or procedures of or the
mallner of taking action by the boa:d of diiectors, shall be conskued to include and refer to any
executive oi other committee of the board

        Section 4 12 COIV{PENSATION The board of directors shall have the authority to
fix  compensation of directors for thefu services as directors and a directol may be a salaried
officer of the corporation

                                            AR.TICLE V

                                            OF'F'ICER.S

         Section 5   01   OIFICERS GENERALLY

              (a) Number, Qualification and Desiglrption The officers of the corporation
shall be a president, a secretary, a treasnrei, and such other officeis as mary be elected in
accordance with the plovisions of Section 5 03 Officeis may but need not be directors or



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shareholders of the corpoiation The president and secretary  sha11 be naiural pelsons of ft1l1 age
The teasuiel rnay be a corporaiion, but if anatuial pelson shall be of full age The board of
directots may elect fiom among the members of the board a chairmal of the boa:d and a vice
chafuman of the board i,vho shal1 be officers of the corporation ,Any number o{'offrces may be
held by the same pelson

                (b)    Resis-nations Any officer may resign at any time upon r-,riiten notice to
the corpoiation The tesignation shail be effective upon receipt thereof by the cciporation or at
sr"lch snbsequent time as may be specified in the notice of resignation

                (c)      Bonding The corporation may       secure the fidelir.v   of any' or al1 of its
officers by bond or otheru,ise

                (d) Standard of'Care Ercept as otherlvise piovided in the articles, an officer
shall peiform his oi her duties as an officei in good faith, in a mannel he or she reasonably
believes to be in the best intetests of the corporatioa and rvith snch care, including reasonable
inciuiiy. skill and cliiigence. as a pelson of ordinary pmdence re.ouid use under similar
cfucumstances A petson lvhc so perfotms his or hei duties shal1 not be liable by reason of
having been an officer of the corpotatiort,

         Section 5  02  ELECTION AND TERM OF OFFICE The oft'icers of the corporation,
except those elected bv delegated authority pusuant to Section 5 03, sha1l be elected annr.tally
by tire board of directors, and each such officer shal1 hold office for a term of'one yeat and until
a successol has been selected and quaiified or until his oi her earlier death, iesignation ot
rei-ncval

        SCCI-iON503 SUBOR-DNATE OFFiCERS, COJVI]VIITIEES AND AGENTS, ThC
bcard of directors may fiorn time to time eleci such other officers and appoint snch committees,
ernployees or other agents as the bnsiness of ths corporation may requfue, inciuding one 01 more
assistant secietalies, and. one 01 fitole assistant treasureis, each of whom shall hold office fbr
such period, have such authority, and perfbrm such duties as a1e ptovided in these byiavvs or as
the boa:d of directors may fiom time to time determine The board of'directois mav delegaie to
anl' officer or committee the polivel to elect subordinate officers and to letain or appoint
employees or other agents, or commitlees thereof and to prescribe the authoriff and duties of
such subordinate officers, committees, employees or othel agents

        Section 5 04 REMOVAL OF OFFiCERS AND AGENIS Any officer or agent of the
corporation may be removed by the boad of directors r.vith or rvithout carlse f he removal shall
be rvithout prejudice to the contraci rights, if any, of'any person so removed Election or
appointmeni of an officer or agent shall not of itself create contract rights

        Section 5   05   VACANCIES A       vacarlcy in any oflice because of deattq resignation,
rerncval, disqualification, ol any other cause, shall be filied bv the board of dkectors or by the
officer or committee to which the porver to fill such office has been deiegated pursuant to



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 Seciion 5 03, as the case may be, arrd if the office is one for lvhich these bylaws prescribe a
 term, shall be filled for the unexpired portion of the term.

         Section 5   06. AUTHORITY       Al1 officers of the corporation, as between themselves
 and the cotpotation, shall have such authority and perfoim such duties in the management of'
 the corpolation as may be provided by or prusuant to resolution or orders of the board of
 directois or inthe absence of contlollingprovisions in the resolutions or orders of the board of
 directors, as may be deteimined by or pr.usuant to these byiaws

        Section 5 07 THE CHAIRMAN OF IHE BOARD The chairman of the boacl if
there be one, oI in the absence of the chairman, the vice chairman of &e board, shall pieside at
all meetings of the shareholders and of'the boaid of diiectors and shail perfoim such othei
duties as may fiom time to time be requested by the board of dilectors

        Section 5    08 TI{E PRESIDE}II The piesident shali be the chief'execuiive officer of
the cotpotation ancl shall have general supervision over the business and operations of the
colpotaiion, subject hovr/evei, to the contiol of the boaid of directors fhe president sirail sign,
execute, and ackno't,vledge, in the name of the corporation, deecls, moitgages, contacts or other
insiruments ar:-thorized by the board of directors, except in cases r,vhere the signing and
executicn thereof shall be exptessly delegated bythe board of'directors, oi bythese bylaws, to
some othet officei or agent oithe corporation; and, in general, shall peiform all duties incident
to the office of president aad such other duties as fiom time to time may be assigned try ihe
board of directors.

           Section 5 09 II{E SECRETARY The secretary ot at assistant secretai_v shall artend
all rneeiings of the shareholiiers and of the board of directors and shall recorcl all votes of the
sharehcldeis and of'the dilectors and the minutes of the meetings of the shareholders and of the
boarC of directors and of coinmittees of the boaicl in a book or books to be kept foz that
pupose; shail see that notices are gil'en and records and reports propeily kept and filec1 by the
cotporation as tequired by lat i; shall be the custodian of'the seai of the corporation and see that
it is afflrxed tc all documents to be executed on behalf cf the corpoiation under its seai; and, in
general, shail perform all duties incident to the office of secretary, and such othel duties as may
fiom tiroe to time be assigned by the board of directors or the president

        Section 5 10 THE TREASURER The treasurer or an assistant tieasurer shail have or
provide fbr the custody of the funds or other propeiiy of'the corporation; shall collect and
receive or provide foi the collectron ancl receipt of moneys earned by or in any mannel clue to or
received by the corporation; shali deposit all funds in his or her custody as tr,easurer in such
banks or othet places of deposit as ihe board of directois may fiom time to time d.esignate;
shall, rn'henever so required by the board of directors, render an account shorving all
transactions as tt'easutet and the financial condition of the corporation; and, in general, shall
discharge stich other duties as may ftom time to time be assignecl by the board of directors or
the president




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        Section 5 i 1 Sr\LARIES The salaries of the officers elected by the board of directors
shall be fixed fiom time to time by the boaid of diiectors or by such officei as may be
designated by resolution of the board The salaries or oiher compensation of any othei officeis,
em.oloyees and other agents shall be fixed fiom time to time by the officer or committee to
u'hich the powei to elect such officers or to retain or appoint such employees or other agents
has been delegated pusuant to Section 5 03 No officer shall be prevented fiom leceiving such
salary or other compensation by I'eason of the fact that the officer is also a directoi of'the
corpcration

        Section 5   12    DISALLO\1,G,D COfuIPENSATION Any payments made to an officei
or employee of the corporation       such as a salary, commission, bonus, intetest, rent, tmvel or
entertaiament expense incurred by him, r,v'hich sha11 be disallolved in *'hole ot in pait as a
deductible experse by ihe Internal Revenue Service, shail be reimbursed by such officer or
empioyee to the corporation to the fuli extent of such disallor,r,ance It shall be the dufy of the
directors, as a Board, to enforce par,mrent of each such amount disallowed in iieu of'papnent
by the oft-tcel or employee, sr"ibject to the determination of the directors, proportionate amounts
rnay be r,r,'itirheld fiom fuhrie compensation payments until the amount or.ved to the corporation
has been recoverecl.

                                           AR.TECE-E 1T

                         CERTIF'ICAT'ES OF ST'OCK, TRANSFER, ETC.

        Section 6   01    Si-tAFg CERTIFiCAIES If the articles state that the corporation shall
issue uncertificated shares, the coiporaticn shali gi'tie shareholders all information colcerning
theii shares as is requiied by 1av,' Ii the corporation issues certificates, such certificates for
shares of the coiporation shal1 be in such rtim as approved by the boaid of directors, and shall
state that the corpora-tion is incorporaied under the lar,.rs of Pennsylvania, the name of the person
to r.vhom issued, a.i"rd the number and class of shaies and the clesignation of the series (i{ any)
that the certificate represents The share register or hansier books and blank share ceitificates
shall be kept by the secretary or by any tiansfbl agent or regisfia: clesignated by the board of
dileciors for that pulpose

        Seotion 6 02 ISSUANCE The sha-re certificates of the corporation shall be numbered
and registered inthe share tegister or tlansfer books of the corporation as they are issued They
shali be signed bv the president ot a vice president and by the seqetary or an assistant secietaiy
oi the treasulei' ol an assistant fteasruer, and shall bear the corporate seal, r,vhich may be a
facsimile, engraved or piinted; but rvheie such certificate is signed by a transfer agent ol a
registrai the signatuie of any corpotate officer upon such certificaie may be a facsimile,
englaved or printed In case any offrcer v,'ho has signed, or .,vhose facsimile signature has been
placed upon, any share ceitificate shal1 have ceased to be such offrcer because o{ death,
resignation or oiheiwise, before the certificate is issued, tt may be issued rith the same effect as
if the officei had not ceased to be such at the date of its issue The provisions of'this Section
6 02 shall be subject to any inconsistent or contlaly agreernent at the time behveen the
colpolation and any fiansfer agent 01 registral


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        Section 6 03. IRANSFER Transfers of shaies shall be made on the share register or
transfer books of the corporation upon surrender of the certificate therefoi, endoised by ttre
petson named in the cettificate or by an attotney iauflilly constituted in r,r,.riting No transler
shall be made inconsistent with the provisioru of the Unifbrm Commeicial Code, 13 Pa C S $
8101 et seq, and its amendments and supplements

        Section 6   04  RECORD HOLDER OF SI{ARES lhe corporation shaIl be entitled to
teat the pelson in lvhose name any share or shares of the coiporaiion stand on the books of the
cotporation as the absolute o$mel tlereof, and shall not be bclind to recognize any equitable or
othet claim to, or interest in, such share or shares on the pa'r of any othei peison

        Section 605. LOST, DESTROYED OR MUTILATED CERIIFiCATES The holder
of anv   sha:es of the cotporation shall irnmediatelv notifi,- the corpoiation of any loss,
destuction or mutilation of the certificaie therefor, and the board of directors mav, in its
disctetion, cause a nerp cettificate or certificates to be issued to such holder, in case of'
mutilation of the cei'iificaie, ripon the srurender of'the mutilated. ceitificate or, in case of'loss or
destmc.iion of the ceitificate, upon satisfbctory proof of such ioss or desfiriciion and, if the
board of directors shall so determine, the deposit of a bond in such form and in such sum, ancl
with sueh suety ol suleties, as it may diiect

                                           ,^.RTECE,E WN

                 INDE    iVflNEF IC.ATION Otr DXR.E CT O R S, oFF'i CEP"S AI\D
                         OT}iER. AUT'I{OtrJZtrD RE FF.ESE NTAT'tr VE,S

        Section 7   01 SCOPE OF INDEh,INIFICATION
                (a)   Genetal      Rule    The corpoiation shall indemlifu an inCemnified
reptesentative against any liabiliry incrirred in corurection lvrth any picceeding in w'hich the
indemnified rep:eseniative may be involved as a pa:ty or oiherlvise by reasoa o{ the fact that
such petson is or tvas serving in an indemnified capacly, including, without liuritation,
liabilities resulting fiom any actual or alleged breach or neglect of duty, error, misstatement or,
misleading statemeni, negligence, gtoss negligence 01 act giving rise to strict ol products
liability, except:

                         (1)    rvhere such indernnification is expressly prohibited by applicable
               lalv;

                         (2)   l,vhere the conduct of the indemnified representative has been
               finally determined putsuant to Section 7 06 ot otherlvise:

                                (i)   to constitr.tte willfuI misconduct or recklessness u,ithin the
                         meaaing of i5 Pa C S $ 513(b) and I'745(b) and 42 Pa C S g 8365(b)




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                         01 any superseding plovision of lalv sufiicient in the circumstances to bar
                         indemnification against iiabiliiies a.rising fiom the conduct; or

                                (ii)    to be based upoa or attributabie to the receipt by the
                         indemnifiec representative fiom the corporation of a personal benefit to
                         w'hich the indemnified representative is not legally entitled: or

                          (3) to the exlent such indemnification has been finally determined in
               a   final adjudication pursuani to Section 7,.A6 b be otherlvise unlaro,,fll

                (b) Partial Pa)'ment If an indemnified repiesentative is entitled to
indemnification in lespect of a portion, but not ali, of anv liabilities to lvhich srich perscn may
be subject, the corporation shall indemmfu sr.rch indemnified representative to the maximum
extent {br such portion of the liabilities

               (c)    Piesumption The termination of a proceeding bv judgment, order,
settlement or conviction or Lrpon a plea of nolo contendeis or its equivalent shail not of itself
create a plesumption that the indemnified representative is not entitied to indemnification

                   (c)    DCIruliSlg   For puiposes of this Articie:

                       (1) "indemnified capaci6"' means any and ali pa.st, present and future
               service by an indemnified teptesentative in one 01 more capacities as a director,
               officei, employee or agent cI the corpotation, or. at the iequest of the
               corpora-tion, as a director, officer,' employee, agent, fiduciary or tiustee of
               ancther corporaiion, partnership, joint ventule, trust, ernployee benefit plan or
               other entiry 01 entelprise;

                         (2)     "inderiinit-ted iepiesentative" mearls any and all direciots and
               officeis of the coiporation and any other person designated as an indermified
               representative by the board of directors of the coiporation (v,hich malz, but need
               nct, include any person seiving at the request of the coiporation, as a diiector,
               officer, employee, agent, fiduciaiy or trlistee of another corpotation, partnership,
               joint ventru'e, trust, employee benefit plan or other entity or enterprise):

                         (3)    "liabilitl" means ar\y damage, judgment, amount paid in
               seitlement, fine, penalt.v, punitive damages, excise tax assessed lvith respect to
               an employee benefit plan, or cost or expense, of any natrue (including, without
               limitation, attorneys I fees and disbursements) and

                         (4)   "proceedirg" means any ttueaiened, pending or completed action,
               suit, appeal or other proceeding of' any nature, lvhether civil, ctiminal,
               aciministrative oi investigative, lvhether foimal or informal, and ll'hether brought
               by oi in the right of &e corporation, a class of its sectuity holders or otherlvise
                                                                                                 ,




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         section '7,02PROCEEDINGS [rtrI]tATED By                      E{DEIvINIFIED
 REPRESENTATMS ]rlotu'ithstanding anv other provision of this Article, the corporation
 shall not indem-nifv under this futicle an indemnified representative fbr any liabiliiv incurred in
 a proceeding initiated (which sha1l not be deemed to include counterclaims or affitmative
 defenses) or participaied in as an intervenor or zunicus curiae by the person seeking
 indemnificati.on unless such initiation of ol participation in the proceeding is authorized, eithei
 before ot aftet its commencement, by the affirmative vote of a majoritv of the directors in
 office This section cloes not apply to a reimbursement of exoenses incurred in successflilly
 prosecuting oI' def'ending an arbitation under Section 7 A6 u otherrvise successflilly
 prosecuting or defending the Iights of an indemnified represen'rative granted by or prrsuant to
 this Article

         Section7.03, ADVANCING EXPENSES The corporation shall pay the expenses
 (including attotneys, fees and disbrusements) incrured in gocd faith by an indemnified
representative in advance of the final disposition of a proceeding described in Section 7 01 or
the initiation of or participation in r,t-luch is authorized pursuant tc Section 7 02 upon receipt of
an undertaking by or on behalf of'the indemnified repiesentative to repay the amorut if it is
ultimately determined pursllant to Section 7 06 that such person is no'r entitled to be
indemnified by the corpoiation pursuant to this futicle The financral abiliry of an indemnified
lepi'esentative tc lepay an advance shali not be a prereqnisite to the making of such advance

        Section 7 04 SECURING OF hIDEIvfNIFICATION OBLIGAIIONS to ftirther
effect, satisfl 01 seclue ihe indemnification obligations proviCed heiein or otheitr,ise, the
corpotation may maintain insurance, obtain a letter of credit. act as self'-insurei, cleate a
leserve, tiust, escro$', cash coilateral oi other fund ol account, enter inic indemnification
agreemenls, pledge ot glant a secuity inteiest in any asseis or properties of the corpotation, or
use any other n:echanism 01 allangement \,v-hatsoe't,er in snch amounts. at such costs, and upon
such othei terms and conditions as the board cf directors shall deem appropiiate Absent ftaud,
the determination of the board of dilectors lvith respect to such amounts, costs, terms anC
conditions shal1 be conclusive against all secuiff holders, officers and cifuectors a"nd shall nct
be subject to voidabilih...

        Section 7 05 PAIa4ENT OF INDEX,{IIIFICATION An indemnified representaiii,e
shall be enlitled to indemnification rvithin 30 days after a written request fcr indemnification
has been delivered to the secletary of the corporation

        Section 7   06   ARBITRATION

               (a) General Rule Anv dispute related to the, right to indemnification,
contribution or advancement of expenses as provided unclel this Article, except llith respect to
indemnification for lia-bilities arising under the Securities Act of l93i thatthe corporation has
undertaken to submit to a colut for adjudication, shall be decided oniy by arbitration in the
metropolitan area irr which the ptincipal executive off,rces of the corporation are located at the
time, in accot'dance with the comrneicial arbitration niles then in e{fect o{ the Ameiican
fubitation Association, before a paxel of ttree abitrators, one of whom sha1l be selected. bv


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 ihe cotporation, the second of ra'hom shall be selected by the indemnified representative and
 third of ',vhom shall be seLected by the other tw'o arbitrators In the absence of the American
 Arbitration Association, or if for any 1'eason aibitration rurder ihe arbituation rules of'the
 Ametican Arbitlation Association cannot be initiated, or if one of the parties fails or refuses to
 select an abitratol or if the albitrators selected by the corporation and the indemnified
 rept'esentative camot aglee on the selection of the thid aibitrator r,vi'u6in 30 days after such time
 as the corporation and the indemnified representative have each been notified of the selection
                                                                                                of'
 the othet's albitl'atot, the necessaty arbitrator ot arbitrators shall tre selected by the presiciing
 jtidge of the court of general jurisdiction in sr.rch metropolitan area,

                 (b)   Burden of Proofl The paty or parties challenging the right                 of   an
 indemnified tepresentative to the benefits of tiris Article shall have the burden of proof

                 (c)    Expe{rs"es The corpoiation shall reimbuise an indemnified represeniative
for the expenses (includiag       attolneys' fees anC disbursernents) incurred        in   iuccessfully
prosecuting oi defending such arbitration

                 (d) EfIbct Any arrra:d eoteted by the arbitrators shall be final. binding and
nonappealable and judgment may be enteied thereon by any party in accorclance l.rith
applicable law in anv court of competent juisdiction, except that the corporation shall be
entitiecl to intelpose as a defense in any such judicial enfbrcement proceecling any plior finai
judicial determination advelse to tire indemnified representatire *rd", Section 701(a)(2) in a
proceeding not diiectly involr.'ing iademnification under this Articie This a:bitiation provision
shalI be specifically enforceable

        Section 7 07 CONIRIEUTION IJ the indemnificatioa provided foi in this Article or
othenvise is unavailabie for axy leason in respect of any liability or portion thereof, the
cotpotation shall contributo to the liabilities to r.vhich the indemaified represeniative may be
subject in such ploportion as is appropriate to refiect the inteni of this Articie oi other-wise

        SECIiONT 08 MANDAIORY IN'DEIViNIIFICATICN OF DIRECTORS, OFFICER.S,
ETC    To the extent that an authorized tepresentative of the corporation has been successftil on
themeritsoiotheir.viseilldefbnseof anl actionorproceedingreferedtoinl5pa CS 1741
                                                                                          $
ot 1742 or in defense of any claim, issue or matter thereia, snch person shall be indemnified
against expenses (including attorneys' f'ees and disbursements) actualiy and reasonably incruied
by such pelson in corutection therervith

        Section 7   09 CONTRACT RIGHTS; AMEND\4ENI OR REPEAL                         All rights   under
this Aticle shali be deemed a conllact betr,veen the corporation and the                   inderrnified
lepresentative prusuant to i,t'hich the corporation and each indemnified representative intend to
be iegally bound Any repeal, amendment or modification hereof shall be prospective only and
shall not affect any rights or obligations then existing

      Section 7 10 SCOPE OF ARTICLE lhe rights granted by this Article shall not be
deemed exclusive of anv other rights to r,vhich those seeking indemnification, coniribution or



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advancemeff- of'expenses may be entitled under any statute, agreement, vote of shaieholders or
disinteiested directors ot oiherlvise both as to action in an indemnified capaciry and as to action
in any other capaciff The indemnification, conhibution and advancement of expenses
provided by or granted pursuant to this Article shall continue as to a person who has ceasecl to
be an indemnified reptesentative in respect of mattets zuising prior to such time, and shall inure
to the benefit of the heirs, executors, adminisfiaiors and personal representatives of such a
person

        Section 7 1i RELTANCE OF PROVISIONS Each peison r,vlio shall act as an
indemnified tepresentative of'the corporation shall be deemed to be doing so in reliance upon
the rights provided in this Article

        Section 7     12 INTERPRETATIONI      The provisions of this Articie are intended to
consiitutebylar''is authorizedby 15 Pa C S $ 513 and 1746and4zpa C S $ 8365

                                          AR.TTCLE \TXI
                                        ryIXSCEX,X-ANEOLiS

        Section   B   01
                       CORPORATE SEAL The corporation seal shall have inscribed thereon
the name of     the cotpoiation, the yea.r of its organization and the r,.rords "Corporate Sea1,
Pennsylvania"

        Section B 02 CHECKS All checlis, notes, bil1s of exchange 01 oiher orders in i,r,riting
shall be signecl by such pe{son ol pelsons as the boaid of directors ot aty porson authorized b1z
lesohrtion of the board of diiectots may fiom time to time designate

        Section 8     03   CCNIRAC IS

              (a) Geneial Ri-rle Except as otherrvise provicled in the Business Coiporation
Law in the case of transactions that reqrrire action by the sha:ehoideis, the boaid of directors
may autholize any officer ol agent to enter into any contraci oi to execute ol deliver any
instuument on behalf of the cotpotation, and such authoiiry rnay be general or confined to
specific instances,

                 (b) Stattttory Fotm of Execution of instruments Any note, mortgage,
evidence of indebtefuess, conhact ot other document, or any assignment or endorsement
theieof, execi.tted or entered into bet.veen the corporation and any othet person, when signed bv
one 01 more officers ot agents having actual or apparent authoritv to sign it, or by the piesident
or vice president and secletaly oi assistant secretary oi treasurer or assistant treasurel of the
corporation, shall be held to have been properiy executed for and in behalf of the corporation,
rvithorrt prejudice to the rights of the corporation against any pelson r.r,ho sha1l have executed
the inshument in excess of his or her actnal authority




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         Section 8   04   NIERESIED DIRECTORS            OR CFFICERS; eUORU-|yi

                (a)       General   Rule A   contuact or tiansaction betlveen the corporation and one
 oI rflore of its dilectors or officers or betrveen the corpotation and another corpolation,
partnership, joint venture, fiust ot other enterprise in r,vhich one 01 more of its directors ot
officets are directols ot officers or have a financial or other inteiest, shall not be void or
voidable soleiy fbr that leason, or solely because the director or officer is present at oi
participates in ihe meeiing of the board of'dhectors ihat authotizes the contract or hansaction,
or solely because his, her or iheir votes are counted for that purpcse, if   :




                          (1)   the mateiial facts as to the reiationship or interest and as to the
                contract ot transaction ale disclosed or are knor,m to the board of directots and
                the boald authotizes the contiact or transaction by the affi.rmative vote of a
                majoritv of the disinterested directors even thoush the disi:rterested directols are
                less than a quorum;

                          (2)   the r:naterial facts as to his or her relationship or inierest and as to
                the contract or ftansaction are disclosed or are kno-"m to the shareholders entitlecl
                to vote thereon and the confuaci oi tiansaction is specifically approved in good
                faith by vote of tlose sharehoidei's; oI

                          (3)   the conttact or transaciion is fbir as to the corporation as of the
                time   it is authorized, apprcved oi ratifiecl by the board of directors oi the
                shareholciers

                (b)   Quoium Common oi interested directois may be counted ic determining
the piesence of a quolum at a meeting of the bcard ir&ich authorizes a contract or transactiorr
specihed in subsection (a)

        Section 8 05 DEPOSITS A11 flinds of the corporation sha1l be deposited fiom time to
time io the ciedit of the coipolation in such banks, fiust companies ot other depositories as the
board of directors may approve or designate, and all such funds shali be r,vithdiau,n only upon
checks signed by such one 01 mcre officers or emplo-vees as tlie board of directors shall fiom
time to time determine

        Section 8   06    CORPORATE RECORDS

                (a)      RqqUired R.ecoids The corpoiation sliall keep ccmplete ard accui'ate
books and records of account, minntes of the proceedings of the incorporators, sharehoiders and
directors and a share register giving the names and addresses of a1l shareholders and the number
and class of shaies held by each The share register shall be kept at either the registered office
of the coiporation in Pennsylvania or at its principal place of business whelevel situated or at
the office of rts registral or trans{'er agent Any books, minutes oi othel records may be in
i,rritten foirn or any othei form capable of being converted into wiitten form r.vithin a reasonable
time


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                (b)     Right_   of _Inspectiog Every sha:eholder shali, upon r,vriiten verified
 demand stating the purpose thereof, have a right to eramiae, in person o, by ug.ot oi ar-torney,
 druing the usual houis for br:siness fbr anv ploper purpose, the shaie register; books and records
 of'accotmt, and records of the proceedings of the incorporaiois, sharehoiders and dlectois and
to make copies oI ext'acts therefiom A proper pulpose sha1l mean a plupose reasonably
ielated to the interest of the person as a shareholder in every instao." ,rh.r. an attorne_v or
other ageat i-q the petson r.vho seeks the right of inspection, the demand, shall be accompanied.
by a veri{ied por,ver of attorney or other r,ititing ihat authorizes the attorney or othei agent to so
act on behalf of the shareholder fhe demand shall be diiected to the corporation at its
registered office in Pennsvlvania ol at its principal place of business r,vheiever sitgated

         Section 8 07 FINANCIAI REPORTS Unless otheirvise agreed between the
corporation and a shareholdei; the corporation shall furnish to its shareholdets annuaL financial
statements, including at least a balance sheet as of the end of each fisca1 year and a statement of
income and expenses for the fiscal yezu The financial statements shall be preparecl on the basis
of generally accepted accounting principles, if the corporation plepa-Ies financiat staternenis foi
the fiscal year on thal basis for any puipose, and may be consolidated statemenis of the
cciporation and one 01 mole of its subsidiruies The financial staiements shall be ma.ilecl by the
coipotation to each of iis sltateholdeis entitled thereto r,vithin i20 days aftei the close of each
fiscal year and, aftet the mailing a-ird upcn written request, shall be mailed by the corporation to
any shareholder ot beneficial olvnel entitled thereto to r.vhom a copy of the mosl receni annual
financial staiernents has not previously been rllailecl Statements that are auditeil oi revier,ved by
a pub'ic accountant shall be accompanied by the report of the accountant; in other cases. each
copv shali be accomparrieci by a statement of the peison in cha;ge of the finarncial iecords of the
coiporation:

                       (l)     Stating his reasonable belief as to r.vhether or not the lurancial
               statemenis  r,ve(e pi'epared in accordance lvith geneiallv accepted accountin_9
               principles and, if not, describing the basis of presentation,

                       (2)       Describing any maierial respects        in   y,,hich   the   financial
               statements l1'e1e not prepared on a basis coirsistent rvith those prepaed       for   the
               previous year

       Section 8  08   AfuIENDMENT OF BYLAWS lhese bylaws may be amended or
repealed, ol new bylalvs may be adopted only bv voie of ihe shareholdeis at any dulv organized
annual or special meeting of sha-reholders See Section 2 03(b) (lelating to notice of action by
shareholders on bylaws)




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                                       CERTIPICATION




                          'fllgtSecretary of Scarborough Mews, Inc,, hereby certify that
       I,                                                                                     the

attached    is a true and corlect copv of the uritten   consent execnted   by the Shareholders of

Scarborough Mew-s.     Inc, on the   daay of *erOffi,ufu?       ,2OlL




                                           '?rr,-aD,N, Wr,,             w-
                                            Secretary
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                Lr-l{ANIilIOUS \IIRITTE    N{   I O}SENT   OF S ILAREHOL         D   ERS

Ni LIEU OF NIEFTING OF TEIE SHAREHOLDERS OF SCARBOROUGH                                    N,IEWS. TNC.




        Ihe undersigned Shareholders of Scarborough Mews, Inc (the "Corporation"), pursuant

to 15 Pa C S A g 1766(a), consent in uriting to the follor,i,ing

       APPROVED, the Shareholders consent that the Bylar,r,s of the Corporation previously in

force shall be repealed

       APPROVED, the Shareholders consent that the Bylaws attached hereto as Exhibit "A"

shall be adopted and shall become the Bylarvs of the Corporation

       EFFECTIVE, as of this 8iu         day    of              2011 bv unanimous consent of the

Shareholders of the Corporation, as evidenced by their signatures belorv




                                                        'i' -rr.          {4 r-u-!*
                                                      rojolEoEJr,ilt'ota.,


                                                      Brooke    P   Cotlrnan, Sharehoider




                                                      Edrvard   W    Coslett,   h,   Shareholder
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                        Exhibit D
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                         Exhibit E
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                                       AptRentz, LLC
I'or property located at:        Tunbridse Anartments.2T4 Clen Riddle Road. Media. PA 19063

Effective:        June 12-   2017 v
Partnership(s):          'l\rnbridse Aoartments.   I-P   /

Ageni(s):         AptRentz LLC




                                       Mqnqgemenl
                                        Agreement




     ApfRenta rtc., 509 Dickinson St.. Philodel phio, PA lgl47, (P)215.266.778.5   /EJ   ApiRentzllC@gmoil.com
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  1.2 Description of Premises .                       Section   14   Liability Insurance
  1.3 Term                                            Section   15 Agent Assumes No        Liability
                                                      Section16 Psrtnership Responsible for            All
  1.4 Management Oflicc                               Expenses of Litigation
  I .5    Apartmenr for On-Site Staff                    16.l Fees for Legal Advice
                                                      section 17 Agent's compensation and
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                                                      Expenses
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  2.1.1 lnitial Deposit and Contingency Reserve          l'1.2     For Apartment Leasing
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                                                                   For Modemization
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Section 3 Collectiou of Rents and Other    Receipts      l'1.5     For Fire Restoration
                                                                   For Other Items of Murual
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   l0.l Expensc                                          Power of AttorneY
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             This Agreement is made   this               l2th      v/   day   of          June             .2017   -



             by and   between         Tunbridge Apartments.     LP                 ('Partnership") and


                              AptRentz   LLC                                       ("Agent'\.



                                          SECTION I, APPOINTMENT ANr) ACCEPTANCE

    t.l   Appointment and Acceptonce

    Partnership hereby appoints Agent as sole and exctusive Agent of Partnership to lease and manage the property-described
    in paragraph t.Z upon ttre termi and conditions provided herein. Agent accepts the appointment and sgrees to fumish the
    scrvicei oi its organization for the Ieasing and management of the Premises; and Partnership agrees to pay all expenses in
    connection with such services.




    t.2 Dcscription of Prenrises

    The property to be managed by Agent under this Agreement ("Premises") is known              as         Tunbridqe APartnents .
    tocateaat                 iZ+dtenRiadteRoaA.UeAia.pn           tgOe:            consisting   of the land,buildings, and other
    improvements.
I




    13 Term

    The term of this Agreement shall bc for an initial   periodpf        five (5J      year(s)        ("initial term") from      the
              l2th     Day   of       lune20l7                                    - be automaticatly
                                                             r' . and thereafter shall               renewed fiom year to year
    ,rlets t"rrninat"d ai provided in sections 2l or 27 herein.    Each of said one-year renewal periods is referred to as "term
    yeat",


    1.4 Managcment Office

    Partnership shall provide adequate space on the Premises tbr a management office. Partnership shall pay all exPenses
    related to such od"", includin!, but not limited to, furnishings, equipment, postage and office supplies, e lectricify and other
    utilities, and telephone.



    1.5   Apartment for 0n-Site Staff
    partnership shall provide a suitable apaftment(s) on the Prernises for the use of an on-site manager and/or a resident facilities
    manager and their famities, rent-free, except that such resident staffshall pay for heat and utilities in the same manner as
    other tenants. The specific apartment(s) shall be the Partnership's choice.
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                                            SECTION 2, BAI{K ACCOI.JNTS

The various bank accounts established under this Agreement shall be established in the Partnership's name but under
Agent's control. Agent's designees shall be the only parties authorized to draw upon such accounts, No amounts deposited
in any accounts establishcd under this Agreement shall in any event be commingled with any other funds of Agent.


2.1 Operafing (aud/or) Reserve Account(s)

Agent shall establish a separate account(s) known as the             Tunbridge Management Operating (and/or)
Reserve Account(s), separate and apan from Agent's corporate accounts, for the deposit ofreceipts collected as described
herein, in a bank or other institution whose deposits are insured by the federal government. Such depository shall be selected
by the Agent. However, Agent shall not be held liable in the event of bankruptcy or failure of a depository. Funds in the
Operating (and/or) Reserve Account(s) remain the properry of Partnership subject to disbursement of expenses by Agent as
desoibed in this Agreement.



2.1,1 Initial Deposit and Contingency Resewe

Immediate ly upon commencement of this Agreement, Partnership shall remit to Agent the sum of $             100.000.00
to be deposited in the Operating (and/or) Reserve Account(s) as initial deposit representing the estimated disbursemcnts to
be made in the first month following the cornrnencement of this Agreement, plus an additional sum of $l-0!*0ru.00--
as a contingency reserve. Partnership agroes to maintain the contingency reserve stated above at all times in the Operating
(and/or) Reserve Account(s) to enable Agent to pay the obligations of Paftnership under this Agreement as they become
due. Partnership and Agent shall review the amount of the contingency reserae from time to time and shall agree in writing
on a new contingency reserve amount when such is required.




2.2 Security Deposits

Agent shall, if required by law, maintain a separate interest-bearing account for tenant security deposis and advance rentals.
Such account shall be maintained in accordance with applicable state or locat laws. if any.




2.3 Fidelity Bond

Agent shall cause all personnel who handle or are responsible for safekeeping of any monies of Partnership to be covered
by fidelity bond with a company determined by Agent. Such a bond shalt be secured at Partnership's expense. tf a fidelity
bond cannot be obtained, an arrest and conviction bond shall be obtained at Partnership's expense. Partnership shall save
Agent harmless from any loss or damages caused by such personnel if no bond can be obtained.



                             SECTION 3, COLLECTIONS OF RENTS AIYD OTHER RECIPTS

3.1 Agent's   Autbority

Agent shall collect (and give receipts for, if necessary) all rents, charges and other amounts receivable on Partnership's
account in connection with the management and operation of the Premises. Such receipts (except tenants' security deposiS
and advance rentals, which shall be handled as specified in paragraphs2.2 and 3.3 hereof; and special charges, which shall
be handled as specified in paragraph 3.2 hereof) shall be deposited in the Operating (and/or) Reserve Account(s) maintained
by Agent for the Premises.
                                                                                                                             1
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3.2 SpecialCharges

If permined by applicable law, Agent may collect from tenants any or alt of the following: an administrative charge for late
payment ofrent, a charge for returned or non-negotiable checks, a credit report fee, an administrative charge and/or broker's
commission for subleasing. Agent need not account to Partnership for such charges and/or commission.




3.3 Security Deposits

Agent shall collec! deposi! and disburse tenant's security deposits in accordance with the terms of each tenant's      lease.
Agent shatl pay tenanls interest upon such security deposits only if required by law to do so; otherwise, any interest earned
on tenant securiry deposits is to be retained by Agent as compensation for administering these funds. Agent shall comply
with all applicable state or local laws conceming the responsibility for security deposits and interest, if any.



               SECTTON 4, DISBTTRSEMENTS F"ROM OPERATING (AND/OR) RESERVE ACCOUNT(S)

4.1 0perating Expenses

From the Operating (andior) Reserve Account(s), Agent is hereby authorized to pay or reimburse itself for all expenses and
costs of opiratingihe Premises and for all other sums due Agent under this Agreement, including Agent's compensation
under section 17.

4.2 Debt Service

PartnershipshaltgiveAgentadvancewrittennoticeofatleast             l0business       days   if   Partnership desires Agent to
make an additional monthly or recuning payments (such as mortgage indebtedness, general taxes, or special assessments,
or fire, steam boiler, or other insurance premiums) out of the proceeds from the Premises. If Partnership notifies Agent to
make such payments after the beginning of the term of this Agreement, Agent shall have the authorify to name a new
contingency reserve amount pursuant to paragraph 2.1.1 of this Agreernen! and Partnership shall maintain this new
contingency reserve amount at all times in the Operating (and/or) Reserve Account(s).




                               SECTION s, AGENT NOT REQUIRED TO ADVANCE FLJNDS

In the event that the balance in the Operating (and/or) Reserye Account(s) is at any time insufficient to Pay disbursements
                                      i
due and payable under paragraphs 4. and 4.2 above, Partnership shall, imrnediately upon notice, remit to Agent sufficient
funds to cover deficien"y       ieplenish the contingency reserve. In no event shall Agent be required to use its own funds
                           "na
to pay such disburs"*rrtr. Noi shall Agent be required to advance any monies to Partnerchip, to the Security Deposit
Account, or to the Operating (and/or) Reserve Accounl(s).

If Agent elects to advance any money in connection with the Premises to pay any expenses for Partnership, such advance
shalL be considered a loan subject to iepayment with interest, and Partnership hereby agrees to reimburse Agent, including
interest as provided in paragraph 17.7, and herehy authorizes Agent to deduct such amounts from any monies due
Partnership.
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               SECTION 6, DISBIIRSEMENTS FROM OPERATTNG (,A.ND/OR) RESERVE ACCOITNT(S)

By   the         20th            day of each month, Agent shall firrnish Partnership with a statement of cash receipts and
disbursements from the operation of the Premises during the previous month. In addition, Agent shall, on a mutually
acceptable sbhedule, prepare and submit to Partnership such other reports as are agreed on by both parties.




6.1 Partnership's Rigbt to   Audit

Partnership shall have t right to request periodic audits of all applicable accounts managed by Agent, and the cost of such
audit(s) shall be paid by Partnership.



                                                   SECTION T,ADVERTISING

Agent is authorized to advertise the Premises or portions thereof for rent, using periodicals, signs, plans, brochures' or
displays, or such other means as Agent may deem property and advisable. Agent is authorized to place signed on Premises
advertising the Premises for rent, provided such signs comply with applicable laws. The cost of such advertising shall be
paid out of the Operating (and/or) Reserve Account(s). AII advertising shall make clear that Agent is the manager and NOT
the Partnership of the Premises,




                                             sEcrIoN     8,   LEASING AI{D RENTING

8.1 Agent's Authority to Lease Premises

Agent shall use all reasonable efforts to keep the Premises rented by procuring tenants forthe Premises. Agent is authorized
to negotiate, prepare, and execute all leases, including all renewals and extensions ofleases (and expansions ofspace in the
Premises, if applicable) and to cancel and modiff existing leases. Agent shall execute all leases as agent for the Partnership'
AII coast of leasing shall be paid out of the Operating (and/or) Reserve Account(s). No lease shall be in excess of
         I        yiars(s) without written approval by Partnership. The form of the lease shall be agreed upon by Partnership
and Agent.




8.2 No Other Rental Agent

During the term of this Agreement, Partnership shall not authorizc any other person, firm, or corporation to negotiate or act
as leasing or rental agent with respect to any leases for space in the Premises. Partncrship agrees to promptly forward all
inquiries about lease to Agent.



8.3 Rental Rates

Agent is authorizcd to establish and change or revise alI rents, fbes, or deposits, and any other charges chargeable rvith
rcspect to the Premiscs.
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8.4 Enforcement of Leases

Agent is authorized to institute, in Partnership's namc, all legal actions or proceedings for the enforcement of any lease term,
for the collection of rent or other income from the Premises, or for the evicting of dispossessing of tenants or other Penions
from the Premises. Agent is authorized to sign and serve such notices as Agent deems necessary for lease enforcement,
including the collection of rent or other income. Agent is authorized, when expedient to settle, compromise, and release
such legal actions or suits or reinstate such tenancies. Any monies for such settlements paid out by Agent shall not exceed
$        N/A      without prior approval by Partnership. Attomey's fees, filing fees, court costs, and other necessary
expenses incurred in eonnection with such actions and not recovered from tenants shall be paid out of the Operating (and/or)
Reserve Account(s) or reimbursed direbtly to Agent by Partnership. Agent may select the attomey of its choice to handle
such litigation.




                                                    SECTION 9, EMPLOYEES

9.1 Agent's Authority to Hire

Agent is authorized to hire, superuise, discharge, and pay all employees, contractors, or other personnel necessary to be
employed in the management, maintenance, and operation of the Premises. All employees shall be deemed employees of
the Partnership/Agent, and Agent shall not be liable to Partnership or others for any act or omission on the part of such
employees.




9.2 Paftnership Pays Employee Expenses

All wages and fringe benefits payable to such employees hired per paragraph 9.1 above, and all local, state, and feral taxes
and assessments (inctuding but not limited to Social Security taxes, unemployment insurance, and worker's compensation
insurance) incident to the employment of such personnel, shall be paid by Agent out of the Operating (and/or) Reserve
Account(s) and shall be treated as operating expenses. Agent shall not be liable to such employees for their wages or
compensation.




9.3 Agent's Authority to f ile Returns

Agent shalt do and perform all actus required of an employer with respect to the Premises and shall execute and file al toc
and other returns required under the appticabte feral, state, and local laws, regulations, and/or ordinances governing
employmenl and all other statements and reports pertaining to labor employed in connection with the Premises and under
any similar federal or state law now or hereafter in force. ln connection with such filing, Partnership shall upon request
promptly execute and deliver to Agent atlnecessary powers of attomey, notices of appointment, and the like. Partnership
shall be responsible for all amounts required to be paid under the foregoing laws, and Agent shall pay the same from the
Operating (and/or) Reserve Account(s).




9.4   Workers' Compensation Insurance

Agent shall, at Partnership's expense, maintain workers' compensation insurance covering all liability ofthe employer under
established workers' cornpensation laws.
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9.5 Hold Harmless, Labor Laws

Agent shall be responsible for compliance with all applicable state or federal labor laws, Partnership shall indemnif,, defend,
and save Agent harmless from all claims, investigations, and suits, or from Partnership's actions or failures to act, with
respect to any alleged or actual viotation of state or federal labor laws. Pannership's obligation with respect to such
violation(s) shall include payment of all settlements, judgements, damages, liquidated damages, penalties, forfeitures, back
pay awards, court costs, litigation expenses, and attorney's fees.




                                    SECTION I(), MAINTENANCE AND REPAIR

Agent is authorized to make or cause to be made, through contracted services or othenvise, all ordinary repairs and
replacements reasonably necessary to preserve the Premises in its present condition and for the operating efliciency of the
Premises, and all alterations required to comply with lease requiremcnts, governmental regulations, or insurance
requirements. Agent is also authorized to decorate the Premises and to purchase or rent, on Partnership's behalf, all
equipment necessary for the management, maintenance, or operation of the Premises. Such maintenance and decorating
expenses shall be paid out of the Operating (and/or) Reserve Account(s). This section applies except where decorating
and/or maintenance are at tenants' expense as stipulated in a lease.




l0.l Approval for Exceptional    Maintenaoce Expenses

                                                                                                             of
The expl:rse to be incurred for any one items of maintenance, alteration, refurbishing, or repair shall not exceed the sum
$       15.000.00 , untess such expense is specifically authorized   by  Partnership, or is incurred under such
circumstances as Agent shatl reasonably deem to be an emergency. In an emergency where repairs are immediately
necessary for the preservation and safety of the Prem jses, or to avoid the suspension of an essential service to the Premises,
or to avoid danger to life or properry, or to comply with federal, state, or loca[ law. such emergency repairs shall be made
by Agent at Partnership's expcnse without prior approval,




                                  SECTION 11, CONTRACTS, UTILTTIES AND SERVICES

Agent is authorized to negotiate contracts for nonrecurring items of expense, not to excess $          15.000.00
unless approved by Partnership, and to enter into agreements in Partnership's name for all necessary repairs, maintenance,
minor alterations, and utility services. Agent shall, in Partnership's name and at Partnership's expense, make contacts on
Partnership's behalf for electricity, gas, telephone, firel, or water, and such other services as Agent shall deem necessary or
prudent for the operation of the Premises. Alt utility deposits shall be the Partnership's responsibility, except that Agent
may pay same from the Operating (and/or) Reserve Account(s) at Partnership's request.




                              SECTION 12, RELATIONSHIP OF AGENT TO PARTNERSHIP

The retationship of the parties to this Agreement shatl be that of Principal and Agent, and all duties to be performed by
Agent under this Agreement shall be for and on behalf of Partnership, in Partnership's name, and for Partnership's account.
In taking any action under this Agreement, Agent shall be acting onty as Agent for Partnership, and nothing in this
Agreemint shall be construed as creating a partnership, joint venture, or any other relationship between the parties to this
Agreement except that of Principal and Ageng or as requiring Agent to bear any portion of losses arising out of or cOnnected
with the Partnerihip or operation of the Premises. Nor shall Agent at any time during the period of this Agreement be
considered a direct employee of Partnership. Neither party shall have the power to bind or obligato the other exoept as
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expressly sot forth in the Agreement, except that Agent is authorized to act with such additional authority and power as may
be necessary to carry out the spirit and intent of this Agreement.




                                                 SECTION 13, SAVE HARMLESS

Partnership shall indemniff, defend, and save Agent harmless from all loss, damage, cost expense (including attomey's
fees), liability, or claims ior personal injury or property damage incurred or occuning in, on, or about the Premises.




                                         SECTION 14, LIABILITY INSURANCE

Partnership shatl obtain and keep in force adequate insurance against physical damage (e.g. fire with extended coverage
endorssfiiint, boiler and machiniry, etc...) and against liabiliry for loss, damage, or injuryto proPerty or persons which
might arise out of the occupancy, management, operation, or maintenance of the Premises. The amounts and types of
insurance shall be acceptabd to both Partnership and Agent, and any deductible required under such insurance policies shall
be Partnership's expenie. Agent shall be covered as an additional insured on all liability insurance maintained with respect
to the Premises. Llability insurance shall be adequate to protect the interest of both Partnership and Agent and in form,
substance, and amounts reasonably satisfactory to Agent. Partnership agrees to furnish Agent with certificates evidencing
such insurance or with duplicate copies of such polices   within     l0 business days of eth execution of this Agreement-
If Partnership faits to do sL, Agent may, but shail not be obligated  to, place said insurance and charge the cost thereof to the
Operating (and/or) Reserve Aicount(s). Said      policies  shall provide  that notice of default or cancellation shall be sent to
Agent as wett as Partnership and shall require a  minimum    of      60  business       days' written notice to Agent before any
cancellation of or changes to said  policies.




                                        SECTION 15, AGENT ASSUMES NO LIABILTTY

Agent assumes no liability whatsoever for any acts or missions of Partnership, or any previous Partnerships of the Premises,
oiuny previous management or other agent of either. Agent assumes no liability for any failure of or default by any tenant
in the payment of anyrent or other charges due Partnership or in the perfiormance of any obligation owed by any-tenant to
partnership pursuant to any lease or othJrwise. Nor does Agent assume any liability for previously unknown violations of
environmCntal or other regulation which may become known during the period this Agreement is in effect. Any such
regulatory viotations or h-azards discovered by Agent shall be brought to the attention of Partnership in writing an
Partnership shall promptly cure them.


                  SECTION 15, PARTNERSHTP RESPONSTBLE FOR ALL E)OENSE OF LITIGATION

Partnership shall pay all expenses incurred by Agent, including, but not limited to, reasonable attorneys' fees and Agent's
costs and iirne, and any liability, fines, penatties or the like, in connection with any claim, proceeding, or suit involving an
alleged violation by igent oi Partneiship, or both, of any law pertaining to fair employment, fair *edit reporting,
envi-ronmental protection, rent control, taxei, or fair housing, including but not limited to, any law prohibit or making illegal
discrimination on the basis of race, sex, creed, color, religion, nationat origin, or mental or physical handicap, provided
however, that Partnership shall not be responsible to Agent for any such expenses in the event Agent is finally adjudged to
have personally, and noi in u representative capacity, violated any such law. Nothing contained in lhis Agreement shall
obligate Agent to employ legal counse I to represent Partnership in any such proceeding or suit.
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l6.l   Fees   for Legal Advice

Partnership shall pay reasonable expenses incurred by Agent in obtaining legal advicc regarding compliance with any law
affecting the Premises or activities related to them. IF such expenditure also benefits others for whom Agent in this
Agreement acts in similar capacity, Pa(nership agrees to pay sn apportioned amount of such expense.




                                  SECTION 17, AGENT'S COMPENSATTON AND E)OENSES

As compensation for the service provided by Agent under this Agreement (and exclusive of reimbursement of expenses to
which Agent is entitled hereunder), Partnership shall pay Agent as follows:

17.1 For Management Seruices

The greater of (i)__*_13-650.80                        Srr rontt or       (ii)         3.00%        ofthe total monthly
gross receipts fiom the Premises, payable by  the          20th           day of each (l) calendar  month          for the
duration of this Agreement. Payments due Agent for period of less than a calendar month shall be prorated over the number
of days for which compensation is due. The percentage amount set forth in (ii) above shall be based upon the total gross
receipts from the Premises during the preceding month.

The term "gross receipts" shall be deemed to include all rents and other income and charges from the normal operation of
the Premises, including, but not limited to, rents, parking fees, laundry income, amenity income, forfeiled security deposits,
pet deposits, other fees and deposits, and other miscellaneous income. Gross receipts shall not be deemed to include the
special charges listed in paragraph 3.2, or excess interest on security deposis (from paragraph 3.3), or income arising out
of the sale of real property or the settlement of fire or other casualty losses and items of a similar nature.

l7.2 Eor Apartment Leasing
               N/A


17.3   For Commercial Leasing
               NiA


17.4 F'or Modernization (Rehab/Construction)

                   $2.000.00 per unit Fee


17.5   For Fire Restorrtion

                   N/A

17.6 For Othcr ltcrns of Mutual Agreement

          Bonus eoual to 10.00% of Annual Fee as result   of   10.00% increase ofrross-rgegiBE




17,7 For Interest on Unpaid Sums

Any sums due Agent under any provision of this Agrecment, and not paid       within            30    days after such sums
have becomc duc, shall bear intercst at the rate   of      10.00            o/o   per annum.
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                                                SECTION 18, REPRESNTATIONS

Partnership represents and warrants: That Partnership has full power and authority to enter this Agreement; that there are
no written or oral agreements affecting the Premises other than tenant leases, copies of which have been fumished to Agent;
that there are no recorded easements, restrictions, reservations, or rights of way which adversely affect the use of the
Premises for the purposes intended under this Agreement; that to ttre best of Partrership's knowledge, the properly is zoned
for the intended use; that all leasing and other permits forthe operation ofthe Prernises have been secured and are current;
that the building and its construction and operation do not violate any applicable statues, laws, ordinances, rules, regulations,
orders or the like (including, but not limited to, those pertaining to hazardous or toxic substances); that the building does
not contain any asbestos, urea, formaldehyde, radon, or other toxic or hazardous substance; and that no unsafe condition
exists.




                                            SECTION 19, STRUCTI'RAL CHANGES

Partnership expressly withholds from Agent any power or authority make any struchrral changes in any building or to make
any other majoi alterations or additions in or to any such building or to any equipment in any such building, or to incur any
expense chargeable to Partnership other than expenses related to exercising the express powers vested in Agent through this
Agreement without the prior written consent of the following person:


Name:

Brooke P. Cottman- Partner

However, such emergency repairs as may be required because of danger to life or property, or which are immediately
necessary for the preservation and safety ofthe Premises or the safety ofthe tenants and occupans thereof, or required to
avoid the suspension of any necessary service to the Premises, or to comply with any applicable federal, state, or local laws,
regulations, or ordinances, shall be authorized pursuant to paragraph l0.l of this Agreement, and Agent shall notifr
Partnersh ip appropriately.




                                            SECTION 20, BUILDING COMPLIANCE

Agent does not assume and is given no responsibility for compliance of the Premises or any building thereon or any
equipment therein with the requirements of any building codes or with any stature, ordinance, law, or regulation of any
govemmental body or of any public authority or official thereof having jurisdiction, except to notifr Partnership promptly
of forward to Partnership promptly any compliances, warnings, notices, or summonses received by Agent relating to such
matters. Partnership represents that to the best of Partnership's knowledge the Premises and all such equipment comply
with all of the Premises to any such officials and agrees to indemnifu and hold Agent, its representatives, and employees,
harmless of and frorn all loss, cost, expense, and liability whatsoever which may be imposed by reason of any prcsent or
future violation or alleged violation of such laws, ordinances, statutes, or regulations.
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                                                   SECTION 21, TERMINATION

21.1 Termination by Either Party

This Agreement may be terminated by either Partnership or Agent, with or without cause, at the end ofthe initial term or of
any following term year upon the giving of     60 days' written notice prior to the end of said initial term of
following term year.



21.2 Termination for Cause

Nonrithstanding the foregoing, this Agreement shall terminate in any event, and all obligations of the parties hereunder
shall cease (except as to liabilities.or obligation which have accrued or arisen prior to such termination, or which accrue
pursuant to paragraph 21.3 as a result of such termination, and obligations to insure and indemnifr), upon the occurrence of
any of the following events:


a)Breach of Agreement - Thirty (30) days after the receipt of notice by either parly to the other speciling in detail a material
breach of this Agreement, if such breach has not been cured within said thirty (30) day period; or if such breach is of a
nature that it cannot be cured within said thirty (30) day period but can be cured within a reasonable time thereafter, if efforts
to cure such breach have not commenced orland such efforts are not proceeding and being continued diligently both during
and after such thirty (30) day period prior to the breach being cured. However, the breach of any obligation of either party
hereunder to pay any monies to the other party under the terms of this Agreement shall be deemed to be curable within
thirty (30) days.

b) Failure to Act, Etc.- In the event that any insurance required of Partnership is not maintained without any lapse, or it is
alleged or charged that the Premises, or any portion thereof, or any act or failure to act by Partnership, its agent and
employees with respect to the Premises, fails to comply with any law or regulation, or any order or ruling of any public
authority, and Agent in its sole discretion considers that the action or position of ParErership or its represented with respect
thereto may result in damage or liability to Agenl or disciplinary proceeding with respect to Agent's license, Agent shall
have the right to terminate this Agreement at any time by written notice to Partnership of its election to do so, which
termination shall be effective upon the service of such notice. Such termination shall not release the indemnities of
Partnership set forth herein.

c) Excessive Damage    - Upon the destruction of or substantial damage to the Premises by any cause, or taking of all or a
substantial portion of the Premises by eminent domain, in either case making it impossible or impracticable to continue
operation of the Premises.

d) Inadequate lnsurance - If Agent deems that the liability insurance obtained by Partnership per section l4 is not reasonably
satisfactory to protect its interest under this Agreement, and ifPartnership and Agent cannot agrce as to adequate insurance,
Agent shall have the right to cancel this Agreement upon the service of the notice to Partnership.



21.3 Termination Compensation

If (i) Partnership terminates this Agreement before the end of the initial term or any subsequent term year as provided in
paragraph 2l .l above for any reason other than for a breach by Agent under paragraph 21.2(a) above, or if (ii) Agent
terminates this Agreement for a breach by Partnership under paragraph ?.1.2(a) above or pursuant to the provision of
paragraphs 21.2(b) or 21.2(d) above, then in any such event, Partnership shall be obligated to pay Agent as liquidated
damages an amount equal to the management fee eamed by Agent, as determined under paragraph l7.l above, for the
calendar month immediately preceding the month in which the notice of termination is given to Agent orto Partnership
multiplied-by the number of month and/or portions thereof remaining frqm the termination date until the end of the initial
                                                                                                                               l2
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term or term year in which the termination occurred. Such damages, ptus any amounts accruing to Agent prior to such
termination, shall be due and payable upon termination of this Agreement, to the extent that funds are available, such sums
shall be payable from the 0porating (and/or) Rsserys Account(s) shall be paid by Partnership 10 Agent upon demand,




21.4 Partnership Responsibility for Payments

Upon termination of or withdrawal from this Agreement, Partnership shall assume the obligation of any contract or
outstanding bill executed by Agent under this Agreement for and on behalf of Partnership and Reusability for payment of
all unpaid bills. ln addition, Partnership shall furnish Agent security, in an amount satisfactory to Agent, against any
obligations or liabilities which Agent may have properly incurred on Partnership's behalf under this Agreement.

Agent may withhold funds for ninety (90) days after the end of the month in which this Agreement is terminated, in order
to pay bills previously incurred but not yet invoiced and to close accounts. Agent shall deliver to Partnership, within ninety
(90) days after the end of the month in which this Agreement is terminate, any balance of monies due Parhership or of
tenant security deposits, or both, which were held by Agent with respect to the Premises, as well as a final accounting
reflecting the balance of income and expenses with respect to the Premises as of the date of terminator or withdrawal, and
all records, contracts, leases, receipts for deposits, and other papers or documents which pertain to the Premises.

21.5 Sale of Premises

In the event that the Premises are sold by Partnership during the period of this Agreement, Agent shall have exclusive rights
of representation in the sale as stated in a specific sales agreement to be negotiated separately. Upon transfer of Partnership,
this Agreement shall terminate by mutual consent of Partnership and Agent.




                              SE C   TI ON 22, INDEMIUtr'ICATION ST'RVTVES            TERMINATION

All representation and warranties of the parties contained herein shall survivc the termination of this Agreement. All
provisions of this Agreement that require Partnership to have insured or defend, reimburse, or indemnif Agent (including,
but not limited to, paragraph s2.1,2.3,5,8.4,9.2,9.5, 13, 14, I 5, 16, 17 .'1,20,21 .3, and 21.4) shall survive any termination;
and if Agent is or becomes involved in any proceeding or litigation by reason of having been Partnership's Agent, such
provisions shall apply as if they Agreement were still in effect.




                                                     SECTION 23, HEADINGS

All headings and silbheadings employed within this Agreement and in the accompanying List of Provisions are inserted
only for convenience and ease of reference and are not to be considered in construction or interpretation of any provision
of this Agreement.



                                                 SECTION 24, FORCE MAJEUR

Any delays in the perforn'rancc of any obligation olAgent under this Agreement shall be excuscd to the extent that such
delays are caused by wars, national emergencies, natural disasters, strikes, labor disputes, utility failures, governmcntal
regulations, riots, adverse weather, and other similar cause not within the control of Agent, and any time periods required
for performance shall be extended accordingly.



                                                                                                                              /)
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                                          SECTION 25, COMPLETE AGREE,MENT

This Agreemenl including any specified attachments, constitutes the entire agreement between Partnership and Agent with
respect to the management and operation of the Premises and supersedes and replaces any and all previous management
agreements entered into or/and negotiated between Partnership and Agent relating to the Premises covered by this
Agreement. No change to this Agreement shall be valid unless made by supplemental written agreement executed and
approved by Partnership and Agent, Except as otherwise provided herein, any and all amendments, additions, deflections
to this Agreement shall be null and void unless approved by Partnership and Agent in writing. Each partyto this Agreement
hereby acknowledges and agrees that the other party has made no warranties, representations, covenants, or. agreements,
express or implied, to such pafty, other than those expressly set forth herein, and that each party, in entering into and
executing this Agreement, has relied upon no warranties, representations, covenants, or agreements, expness or implied, to
such party, otherthan those expressly set forth herein.




                                    SECTION 26, RIGHTS CUMULATIVE; NO                 WAMR
No right or remedy herein conferred upon or reserved to either of the pa*ies to this Agreement is intended to be exclusive
of any other right or remedy, and each.and every right and remedy shall be cumulative and in addition to any other right or
remedy given under this Agreement or now or hereafter legally existing upon the occurrence of an event of default under
this Agreement. The failure ofeither party to this Agreement to insist at any time upon the occurrence of an event of default
under this Agreement. The failure of either party to this Agreement to insist at any time upon the strict observance or
performance of any of the provisions of this Agreement, or to exercise any right or remedy as provided in the Agreement
shatl not impair any such right or remedy or be constructed as a waivcr or relinquishment of such right or remedy with
respect to subsequent defaults. Every right and remedy given by this Agreement to the parties to it may be exercised from
time to time and as often as may be deemed expedient by those parties.




                              SECTION IT,APPLICABLE LAW AND PARTIAL INVALIDITY

The execution, interpretation, and performance of this Agreernent shall in all aspects be controlled and govemed by the
laws of the State of     PA         any part ofthis Agrecment shall be declared invalid or unenforceablg Agent shall have
                               -If
the option to terminate this Agreement by notice to Partnership.


                                                     SECTION 28, NOTICES

Any notices, demands, consents, and reports necessary or provided for under this Agreement shall be in writing and shall
be addressed as follows, or at such other address as Partnership and Agent individually may specifr hereafter in writing:

Agcnt:                   AntRentz I.[.C

Partnership:            Tunbridse Aoartments- LP

Such notice or other communication may be mailed by United States registered or certified mail, return receipt requested,
postage prepaid, and may be deposited in a United States Post Office or a depository for the receipt of mail regularly
maintained by the post office. Such notices, demands, consents, and reports may also be delivered by hand or by any other
receipted method or means permitted by law. For purposes of this Agreement, notices shall be deemed to have been "give"
or "delivered" upon personal delivery thereof or forry-eight (48) hours after having been deposited in the United States
mails as provided herein.


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                                                    StrCTION 29, NOTICBS

       Tlris agreement slrall be bilrding upon the partic.s hereto arrd their respcctive personal rcprescnlatives, heirs,
       adrninistrators, executors, successors and assigns.




       SICNATURtrS




       IN WITNESS WIjEIf OF. the parties hercto l:avc al'llxed or caused to hc affixed   the   ir respectivc signatures lhis
                 ta{n                    dayof Jqwl             .-             \7
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                                                 Company

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                                                 Arldress

                                                   474
                                                 (lity, Strtc, Zip




                                                 Agent

                                                 Firm
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Subrnitted by
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                         Exhibit F
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                                     AptRentz, LLC
F'or property located   at:     Scarboroueh Mews. 501 North Orange Street Media. PA 19063

Elfective:     June     12^2017                    r'
       -
Partnership(s):                                         /
                         Scarborough Mervs.   LP
Agent(c):      AptRentz LLC




                                     Mqnqgemenl
                                      Agreement




     AptRentz, LLC., 509 Dickinson St.. Phitodelphio. PA 19147, (P) 215.266.7785 (E) AptRentzLLC@gmoil.com
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     List of Provisions
                                                           Section 12 Relationship of Agent to
    'Section
               I Appointment of Managing Agent             Partnership
       l.l       Appointrnent and Acceptance               Section 13 Save Harmless
       1.2       Description of Premises                   Section 14 Liability Insurance
       1.3       Term                                      Section 15 Agent Assumes No Liability
       1.4                                                 Section 16 Partnership Responsible for AII
                 Management Oftice
                                                           Expenses of Litigation
       1.5       Apartment for On-Site Staff                  16.1. Fees for Logal Advice
    Section 2 Bank Accounts                                Section 17 Agentrs Compensation and
                                                           Eipenses
       2.1       Operating (and/or) Reserve Account(s)        17.l      For Management Services
       2.1.1     Initial Deposit and Contingency Reserve      17.2      For Apartment Leasing
       2.2       Securip Deposit Account                      17.3      For Commercial Leasing
                                                                        For Modernization
      2.3 Fidelity Bond                                       17.4      (Rehab/Constnrction)
    Section 3 Collection of Rents and Other Receipts          17.5      For Fire Restoration
                                                                        For Other Items of Mutual
       3.1      ,Agent's Authority                            17.6      Agreement
       3.2       SpecialCharges                               17.7      Interest on Unpaid Sums
       3.3       Security Deposits                         Section 18 Representations
    Section 4 Disbursements from Operating (and/or)
    Reseroe Accounts                                       Section l9 Structural Changes
       4.1       Operating Expenses                        Section 20 Building Compliance
       4.2       Debt Service                              Section 2l Terminetion
                                                               27.7     Termination by Eittrer Party
    Section 5 Agent Not Required to Advance X'unds             21.2     Terrnination for Cause
    Section 6 X'inancial and Other Reports                              a) Breach of Agreement
      6.1 Partnership's Right to Audit                                  b) Failure to Act, etc.
    Section 7 Advertising                                               c) Excessive Damage
    Section 8 Leasing and Renting                                       d) Inadequate Insurance
       8.1      Agent's Authority to Lease Premises           21.3      Termination Compensation
                                                                        Partnersh ip Responsib le for
      8.2       No Other Rental Agent                         21.4      Payments
      8.3       Rental Rates                                  2l   .5   Sale of Premises

      8-4                                                  Section 22 Indemnification Survives
                Enforcement of Leases
                                                           Termination
    Section 9 Employees                                    Section 23 Ileadings
      9.1 Agent's Authority to Hire                        Section 24 Force Majeur
      9.2       Partnership Pays Employee Expenses         Sectiou 25 Complete Agreement
      9.3       Agent's Authority to file returns
                                                           Section 26 Rights Cumulative; No Waiver
      9.4                                                  Section 27 Applicable Law and Partial
                Workers'Compensationlnsurance
                                                           Invalidity
      9.5       Hold Harmless, Labor Laws                  Section 28 Notices
                                                           Section 29 Agreement Binding Upon
    Section l0 Maintenance and Repair                      Successors and Assigns
              Approval for Exceptional Maintenance
c     l0.l      Expense                                      Power of Attomey
    Section   1l Contracts, Utilities and   Services
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 This Agreement is made     this             tlzth /         day   of            June          .2017   .


 by and betwecn           Scarborough Mews-       LP         (."Partnership')    and    AptRenta   LLC          ("Agent").




                                          SECTION 1, APPOINTMENT AND ACCEPTANCE

 1.1 Appointment and Acceptance

Parbrership hereby appoints Agent as sole and exclusive Agent of Partnership to lease and manage thc property described
in paragraph I.2 upon the terms and conditions provided herein. Agent accepts the appointmentind agreei to fumish the
services of its organization for the leasing and management of the Premises; and Partnership agrees to pay all expenses in
connection with such services.




1.2 Description of Premises

The property to be managed by Agent under this Agreement ("Premises") is known           as            Scarborough   Mews        ,
Iocatedat              501    Northoraneestr                           onsisting           of the land, buildingi, and       other
improvements,


13 Term

The term of thisy'greemcnt shall be for an initial period   of          five   (5)      year(s) ("initiat term') from         the
         l2th 'Day of              June   2017               . and theneafter shall be automaticalty renewed fiom year to year
unless terminated as provided in sections    2l   or 27 hercin. Each of said one-year renewal periods is referred to as "term
yeaf'.


1.4 Management Office

Partnership shall provide adequate space on the Premises for a management office. Partrrership shall pay all expenses
related to such office, including, but not limited to, furnishings, equipmen! postage and office supplies, electricity and other
utilities, and telephone.



I.5 Apartment for On-Site Stgff

Partnership shall provide a suitable apartment(s) on the Premises for the use of an on-site manager and/or a resident facilities
manager and their families, reit-free, except that such resident staff shall pay for heat and utilities in the same manner as
other ten,lnts. The specific apartment(s) shall be the Partnership's choice.
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                                            SECTION 2, BANK ACCOITNTS
  -
 The various bank accounts established under this Agreement shall be established in the Partnership's name but under
 Agent's contro!. Agent's designees shall be the only parties authorized to draw upon such accounts. No amounts deposited
 in any accounts established under this Agreement shatl in any event be commingled with any other funds of Agent.


 2.1 Operating (and/or) Resene Account(s)

Agent shall establish a separate account(s) known as the          Scarborough MeWs Manaeement
Operating (and/or) Reserve Account(s), separate and apart fr6p Agent's corporate                for the d"posit of receipts
                                                                                      "ccountc
collccted as described herein, in a bank or other institution whose deposits are insured by the federal government. Such
depository shall be selected by the Agent. Howeveq Agent shalt not be held liable in the Lvent of bankruptry or faiture of
a depository. Funds in the Operating (and/or) Reserve Accoun(s) remain the property of partnerstrlp subject to
disbursement of expenses by Agent as described in this Agreement.




2.1.1 Initial Deposit and Contingency Reserve

Immediately upolt Gommencement of this Agreement, Partnership shall remit to Agent the sum of $             13.000.00 /
to be deposited in the Operating (and/or) Reserve Account(s) as initial deposit representing the estimated disbursements to
be made in the first month following the commencement'of this Agreement, plus an additional sum of $__13J89.08_
as a contingency reserve. Partnership agrees to maintain the contingency ieserve stated above at all times in the Operating
(and/or) Reserve Account(s) to enable Agent to pay the obligations of Partnership under this Agreement as they become
due. Partnership and Agent shall review the amount ofthe contingency reserve from time to timeind shall agree in writing
on a new contingency reserve amount when such is required.




2.2 Security Deposits

Agent shall, if required by law, maintain a separate interest-bearingaccount fortenant security deposirc and advance rentals.
Such account shall be maintained in accordance with applicable state or tocal taws, if any.




2.3 Fidelity Bond

Agent shall cause all personnel who handle or are responsible for safekeeping of any monies of Partnership to be covered
by fidelity bond with a company determined by Agent. Suoh a bond shalt be sscured at Partnership's expense. If a fidelity
bond cannot be obtained, an arrest and conviction bond shall be obtained at Partnership's expense. Partnership shall save
Agent harmless from any loss or damages caused by such personnel if no bond can be obtained.




                             SECTION 3, COLLECTIONS OF RENTS A}ID OTIIER RECIPTS

3.1 Agent's   Authority

Agent shall collcct (and give receipts for, if necessary) all rents, charges and other amounts receivable on Partnership's
account in connection with the management and operation of the Premises. Such receipts (except tenants' security deposits
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     and advance rentals, which shall be handled as specified in paragraphs2.2 and 3.3 hereof; and special charges, which shall
        handled as specified in paragraph 3.2 hereof) shall be deposited in the Operating (and/or) Reserve Account(s) maintained
    ,be
     by Agent for the Premises,



    3.2 Special Charges

    If permitted by applicable law, Agent may cotlect from tenants sny or all of the following: an administrative charge for late
    payment of rent, a charge for retumed or non-negotiable ohecl<s, a credit report fee, an adminishative charge and/or broker's
    commission for subleasing. 'Agent need not account to Parrrership for suih charges and/or commission.




    3.3 Security Deposits

    Agent shall collect, deposig and disburse tenant's security deposits in accordance with the terms of each tenant's lease.
    Agent shall pay tenants interest upon such seourity deposits only if required by law to do so; otherwisg any interest eamed
    on tenant security deposits is to be retained by Agent as compensation for administering these funds. Agent shall comply
    with all applicable state or local laws concerning the responsibility for security deposits and interest, if any.



                   SECTION 4, DISBIIRSEMENTS rROM OPERATTNG (AND/OR) RESERyE ACCOUNT(S)

    4.1 Opereting Erpenses


,
 From the Opcrating (and/or) Reserve Account(s), Agent is hereby authorized to pay or reimburse itself for all expenses and
)costs of operating the Premises and for all other sums due Agent under this Agreement, including Agent's compensation
    undersection 17.

    4,2Debt Service

    Partnership shall give Agent advance written notice of at least l0 business days          if
                                                                                               Partnership desires Agent to
    make an additional monthly or recurring payments (such as mortgage indebtedness, general taxes, or special assessments,
    or fire, steam boiler, or other insurance premiums) out of the proceeds from the Premises. If Partnership notifies Agent to
    make such payments after the beginning of the term of this Agreement, Agent shall have the authority to name a new
    contingency reserve arnount pursuant to paragraph 2.1.1 of this Agreement, and Partnership shall maintain this new
    contingency reserve amount at all times in the Operating (and/or) Reserve Account(s).




                                  SECTION s, AGENT NOT REQUIRXD TO ADVANCE Ft IYDS

In the event that the balance in the Operating (and/or) Reserve Account(s) is at any time insufficient to pay diibursements
due and payable gnder paragraphs 4.1 and 4.2 above, Partnership shall, immediately upon notice, remit to Agent sufficient
firnds to cover deficiency and replenish the contingency reserve. In no event shall Agent be required to use its own fi:nds
to pay such disbursements. Nor shall Agent be required to advance any monies to Partnership, to the Security Deposit
Accounl or to the Operating (and/or) Reserve Account(s).

lf Agent elects to advance any money in connection with the Premises to pay any expenses for Partnership, such advance
shall be considered a loan su-bject to repayment with interesl and Partnership hereby agrees to reimburse Agent, including
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 interest as provided in paragraph 17.7, and hereby authorizes Agent to deduct such amounts from any monies due
 Partnership.




                 SECTTON 6, DISBT RSEMENTS FROM OPERATTNG (AND/OR) RESERVE ACCOITNT(S)

 B-y.the 20th                    day of each month, Agent shall furnish Partnership with a statement of cash receipts and
 disbursements fiom the opcration of the Prcmises during the previous month. In addition, Agent shalt, on u     ,ut
                                                                                                                uily
 acceptable schedulg prepare and submit to Partnership such other reports as are agreed on by both parties.




 5.1 Partnerrhip's Right to   Audit
 Partnership shall have t right to request periodic audis of all applicable accounts managed by Agent, and the cost of such
 audit(s) shall be paid by Partnership.




                                                   SECTION 7, ADVERTISING

Agent is authorized to advertise the Premises or portions thereof for rent, using periodicals, signs, plans, brochures, qr
  displays, or such other means as Agent may deem property and advisable. Agent is authorized to
                                                                                                    [f""" signiA on P.emisds
  advertistng the Premises for rent, provided such signs comply with applicabie laws. The cost ofiuch adiertising shall be
  paid out of the Operating (and/or) Reserve Account(s). All advertising shall make ctear that Agent is the manager-and NOT
,
)the Parurership of the Piemises.




                                             SECTION 8, LEASING AND RENTING

8.1 Agent's Authority to Lease Premiseg

Agent shall use all reasonable efforts to keep the Premises rented by procuring tenants for the Premises. Agent is authorized
to negotiate, prepare, and execute all leases, including all renewals and extensions ofleases (and expansions ofspace in the
Premises, if applicable) and to cancel and modif, existing leases. Agent shall execute all leaies as agent for the Partnership.
AII coast of leasing shall be paid out of the Operating (and/or) Reserve Account(s). No lease shall be in excess of
                     ars(s) without written approval by Partnership. The form ofthe lease shatt be agreed upon by Partnership
and Agent.




8.2 No Other Rental Agent

During the term of this.Agreemen! Partnership shall not authorize any other person, firm, or corporation to negotiate or act
as leasing or rental agent with respect to any leases for space in the Premises. Partnership agr"is to promptty forward all
inquiries about lease to Agent.
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  8.3 Rental Rstes

  Agent is authorized to establish and change or revise all rents, fees, or deposits, and any other charges chargeable with
  respect to the Premises.




 8.4 Enforcement of Leases

 Agent is authorized to institute, in Partnership's name, all legal actions or proceedings for the enforcement of any lease term,
 for the oollection of rent or other income from the Premises, or for the evicting of dispossessing of tenantr o. oth.r persons
 from the Premises. Agent is authorized to sign and serve such notices as Agent deems n"c"ssary for lease enforcement,
 including the collection of rent or other income- Agent is authorized, whenixpedient to settle, compromise, and release
 such legal actions or suits or reinstate such tenancies. Any monies for such settlements paid out by Agent shall not exceed
 $        N/A    without prior approvat by Partnership. Attomey's fees, filing fees, court coits, ind other necessary
 expcnses incured in connection with such actions and not recovered from tenants shall be paid out ofthe Operating (and/oi)
 Res-erv9 Account(s) or reimbursed directly to Agent by Partnership. Agent may select the attomey         of its choice to handle
 such litication.




                                                     SECTION 9, EMPLOYEES

 9.I Agent's Authority to Hire

. Agent is authorized to hire, supervise, discharge, and pay all employees, contractor.s, or other personnel necessary to be
)employed in the management, maintenance, and op"*iion of the iremises. All employees shali be deemed employees of
  the Partrership/Agent, and Agent shall not be liable to Partnership or others for any act or omission on the part of such
 employees.




 9.2 Partnership Pays Employee Expenses

 All wages and fringe benefits payable to such employees hired per paragraph 9.1 above, and all local,     state, and feral raxes
and assessments (including but not limited to Social Security ta(es, unemployment insurance, and worker's compensation
insurance) incident to the employrnent of such personnel, shall be paid by Agent out of the Operating (and/or) Reserve
Accouni(s) and shall be treated as operating expenses. Agent shall not be liable to such employees for their wages or
compensation.




9.3 Agent's   Authority to File Returns

Agent shall do and perform all actus required of an employer with respect to the Premises and shall execute and file al tax
and other returns required under the applicable feral, state, and local laws, regulations, and/or ordinances governing
employment, and all other statements and reports pertaining to labor employed in connection with the Premises and under
any similar federal or state law now or hereafter in force. In connection with such filing, Partnership shall upon request
promptly execute and deliver to Agent atl necessary powers of attorney, notices of appointmenl and the tike. Partnership
shall be responsible for all amounts required to be paid under the foregoing laws, and Agent shall pay the same from the
Operating (and/or) Reserye Account(s).
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 9.4   Workers' Compensation Insurance

 Agent shall, at Partnership's expense, maintain workers' compensation insurance covering all liability
                                                                                                        ofthe employer under
 established workers' compensation laws.




 9.5 Hold Harmless,   Laborlaws
 Aeent shall be responsible for compliance with atl applicable state or federal tabor taws. Partnenhip shall
                                                                                                             indemniry, defend,
 and save Agent harmless frorn all claims, investigaiions, and suits, or from Partnership's actions
                                                                                                       or failures to act, with
 respect to any alleged or actual violation of state or federal tabor laws. Partnership;s obligation with respect to such
 violation(s) shall include payment of all settlements, judgements, damages, liquidated dam"ges, penalties, fo#eitures, back
 pay awards, court costs, litigation expenses, and attomey,s fees.




                                     SECTION IO, MAINTENANCE AND RTPAIR

 Agent is authorized to make-or cause to be made, through contracted services or otherwise, all ordinary repairs and
 replacements reasonably necessary to preserve the Premisei in its present condition and for the operating edciency of the
Premises, and all alterations required to comply with lease iequirements, governmental regulatiJns, or in-surance
requirements- Agent is also authorized to decorate the Premises and to purchke or rent, on Fartnershiprs behatfl, all
equipment necessary for the management, maintenance, or operation of the Premises. Such maintenance and decorating
expenses shall be paid out of the Opcrating (and/or) Reserye Account(s). This section applies except where decorating
and/or maintenance are at tenants' expOnse as stipulated in a lease.




l0.l Approval for Exceptional    Maintenance Expenses

The expcnse to be incurred for any one items of maintenance, alteration, refurbishing, or repair shall not exceed the sum
                                                                                                                     of
$.       15.000.00 ,       unless such expense     is specifically authorized by Partnership, or is incurred under such
circumstan_ces as Agent shall reasonabty deem     to be an emergency. In an Lmerger"y *-hrr. repairs are immediatety
necessary for the preservation and safety of the Premises, or to avoid the suspension of an essential sirvice to the premises,
or to avoid danger to life or property, or to compty with federal, slate, or local taw, such emergency repairs shall be made
by Agent at Partnership's expense without prior approval.




                                 SECTION 11, CONTRACTS, UTILITIES AND SERVTCES

Agent is authorized to negotiate contracts for nonrecurring items of expense, not to excess $___Jj-000.00__
unless approved by Parrrership, and to enter into agreements in Partnership's name for alt neceisary r"p"io, rnaint"nance,
minor alterations, and utility services. Agent shall, in Partnership's name and at Partnership's u*pense, make contracts on
Partnership's behalffor electricity, gas, telephone, fuel, or water, and such other services asAgeni shall deem necessary or
prudent for the operation of the Premises. All utility deposits shall be the Partnership's responsibility, except that Agent
may pay same from the Operating (and/or) Reserue Account(s) at Partnership's request.
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                                 SECTION 12, RELATIONSHIP OI'AGENT TO PARTNERSHIP

  The relationslip of the parties to this Agreement shall be that of Principal and Agent, and all duties to be performed by
  Agent under this Agreement shall be for and on behatf of Partnership, in iartnershif,', nrrn", and for Partnership's account.
  In taking any action under this Agreemeng Agent shall be acting only as Agent for Partnership, and notiring in this
  Agreement shall be construed as creating a partnership, joint venture, or any othlr relationship berwlen the partiJs to this
  Agreement except that of Principal and Agent, or as requiring Agent to bear any portion of losses arising outoior ronnected
  with.the Partnership or operation of the Premises. Nor shall Agent at any time during the period oithis Agreement be
  considered a direct employee of Partnership. Neither party shail have the power to bind or obtigate the omir except ari
  expressly set forth in the Agreemen! exsept that Agent is authorized to act with such additional auti'ority and power as may
  be necessary to carry out the spirit and intent of this Agreement.




                                                  SECTION 13, SAVE IIARMLESS

 Partnership shall indemniff, defend, and save Agent harmless from all loss, damage, cost expense (including aftorney's
 fees), liability, or claims for personal injury or property damage incurred or occ-urring in, Ln, or about thi Premises,




                                          SECTION t4, LIABILITY INST RANCE

  Partnership shall obtain and keep in force adequate insurance against physical damage (e.g. fire with extended coverage
  endorsement, boiler and machinery, etc...) and against liability for toss, damage, orlnjury to property or persons which
) might arise out of the occupancy, mBnagement, iperation, or maintenance of the Premi.o. fn" amounts and types of
  insurance shall be accePtable to both Partnership and Agent, and any deductible required under such insurance policies shall
  be Partnership's exponse. Agent shall be covered as an additional insured on atl liabitity insurance maintained with respect
  to the Premises. Liability insurance shall be adequate to protect the interest of both Partnership and Agent and in form,
  substance, and amounts reasonably satisfactory to Agent. Partnenhip agrees to furnish Agent with certifrcates evidencing
  such insurance or with duplicate copies of such polices  within      I 0 business days of ith execution of this Agreement.
  If Partnership fails to do so, Agent may, but shatl not be obligated to, place said insurance and charge the cost thereof to the
  Operating (and/or) Reserve Account(s). Said policies shall provide that notice of default or cancellation shall be sent to
  Agent as well as Paftnership and shall require a minimum    of      60 busincss days' written notice to Agent before any
 cancellation of or changes to said policies.




                                        SECTION 15, AGENT ASSUMES NO LIABILTTY

Agent assumes no liability whatsoever for any acts or missions of Partnership, or any previous Partnerships of the Premises,
or any previous management or other agent of either. Agent assumes no liability for any failure of or default by any tenant
in the payment of any rent or other charges due Partnership or in the performance of any obligation owed by any tenant to
Partnership pursuant to any lease or otherwise. Nor does Agent assume any liability for previously unknown violations of
environmental or other regulation which may become known during the period this Agreemehi is in effect. Any such
regulatory violations or hazards discovered by Agent shall be brought to the attention of Partnership in writing, an
Parrnership shall promptly cure them.
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                       SECTION 16, PARTNERSHIP RESPONSIBLE FOR ALL E}(PENSE OF LITIGATION

 Partnership shall pay all expenses incurred by Agent, including, but not limited to, reasonable attorneys' fees and Agent's
 costs and time, and any liability, fines, penalties or the like, in connection with any claim, proceeding, or suit involving an
 alleged violation by Agent or Partnership, or both, of any law pertaining to fair employment, fair credit rcporting
 environmental protection, rent control, taxes, or fair housing, including but noi timited to, any iaw prohibit or mafing illegat
 discrimination on the basis of nace,.sex, creed, cotor, religion, nationat origin, or mental or physical handicap, piovided
 however, tlat Partnership shall not be responsible to Agent for any such expinses in the event Agent is finally adjudged to
 have personally, and not in a representative capaoity, violated any such law. Nothing conainei in this Agreemenishall
 obligate Agent to employ legal counsel to represent Partnership in any such proceeding or suit.




 l6.l   tr'ees   for Legal Advice

 Partnership shall pay reasonable expenses incurred by Agent in obtaining legal advice regarding compliance with any law
 affecting the Premises or activities related to them. IF such expenditure also benefits others foiwhom Agent in this
 Agreement acts in similar capacigr, Partnership agrees to pay an apportioned amount of such oxpense.




                                    SECTION 17, AGENT'S COMPENSATION AryD E)PENSES

 As compensation for the service provided by Agent under this Agreement (and exclusive of reimbursement of expenses to
 which Agent is entitled hereunder), Partnership shall pay Agent as follows:

, l7.l For Management        Services
)v/
 The greater of (i)       s575.00               per month or       (ii)      3.00%             of
                                                                                              the total monthly gross
 receipts from the Premises, payable by the              201t,            day of each (I) calendar month for the duration
 of this Agreement. Payments due Agent for period of less than a calendar month shall be prorated over the number of days
 for which compensation is due. The percentage amount set forth in (ii) above shall be based upon the total gloss receipts
 from the Premises during the preceding month.

 The term "gross receipts" shall be deemed to include all rents and other income and charges from the normal operation of
 the Prerriises, including, but not limited to, rents, parking fees, laundry income, amenity income, forfeited security deposits,
 pet deposits, other fees and deposits, and other miscellaneous income. Gross receipts shall not be deemed to inctude the
 specialcharges listed in paragraph 3.2, or excess interest on security deposits (from paragraph 3.3), or income arising out
 of the sale of real property or the settlement of fire or other casualty losses and items of a similar nature.

 17.2 For Apartinent Leasing
                     N/A


 17.3 For Commercial Leasing
                     N/A


17.4 F'or Mod ernization (Rehab/Construction)

                     $2.000.00 oer unit Fee
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 I7.5 For I'ire Restoration

                  NIA

 17.6 For Other Items of Mutual Agreement

         Bonus equalto 10.00% of Annual Fee as result      of l0.00oZ   increase ofsross receiDts.




 17.7 For Interest on Unpaid Sums

Any sums due Agent under any provision of this Agreement, and not paid         within          30       days after such sums
 have become due, shall bear interest at the rate   of      10.00             % per annum.




                                                sEcTroN      18, REPRESNTATIONS

Partnership represents and warants: That Partnership has full power and authorit5r to enter this Agreement; that there are
no written or orat agreements affecting the Premises other than tenant leases, copies of which have been furnished to Agent;
that there are no recorded easements, restrictions, reserations, or rights of way which adversely affect the use of the
Premises for the purposes intended under this Agreement; that to the best of Partnership's knowledge, the property is zoned
for the intended use; that all leasing and other permits for the operation of the Premises have been secured and are curent;
that the building and its construction and operation do not violate any applicabte statues, laws, ordinances, rutes, regulations,
orders or the like (including, but not limited to, those pertaining to hn,ardous or toxic substances); that the building does
not corliain any asbestos, urea, formaldehyde, radon, or other toxic or hazardous substance; and that no unsafe condition
exists.




                                            SECTION 19, STRUCTURAL CHANGES

Partnenhip expressly withholds from Agent any power or authority make any structural changes in any building, or to make
any other major alterations or additions in or to any such building or to any equipment in any such building, or to incur any
expense chargeable to Partnership other than expenses related to exercising the express powers vested in Agent through this
Agreement without the prior written consent of the following person:


Name:

Brooke P. Cottman. Partner

However, such emergency repairs as may be required because of danger to life or property, or which are immediately
necessary for the preservation and safety ofthe Premises or the safety ofthe tenants and occupants thereof, or required to
avoid the suspension of any necessary service to the Premises, or to comply with any applicable federal, state, or local laws,
regulations, or ordinances, shall be authorized pursuant to paragraph        l0.l of this Agreement,    and Agent shall   notifi
Partnership appropriately.




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                                             SECTION 20, BUTLDING COMPLTANCE

 Agent does not assume and is given no responsibility for compliance of the Premises or any building thereon or any
 equipment therein with the requirements of any building codes or with any stature, ordinance, taw, or regulation of any
 gov-ernmentalbody or of any public authority or officialthereof havingjurisdiction, except to noti$ Parinership promptly
 of forward to Partnership promptly any compliances, warnings, notices, or summonses received by Agent relating to such
 m{terl. Partnership represents that to the best of Partnership's knowledge the Premises and all such equipment comply
 with all of the Premises to any such officials and agrees to indemnify and hold Agent, its representatives, and employees,
 harmless of and from all loss, cost, expense, and liability whatsoever which may be imposed by reason of any present or
 firture violation or alleged violation of such taws, ordinances, statutes, or regulations.




                                                   SECTION 21, TERMINATION

 2l.l Termination by Either Party
This Agreement may be terminated by either Partnership or Agent, with or without cause, at the end of the initial term or       of
any following term year upon the giving     of      60       days' written notice prior to the end of said initiat term of
following term year.



)Zt.Z termination for Cause

Notwithstanding the foregoing this Agreement shall terminate in any event, and allobligations of the parties hereunder
shall cease (except as to liabilities or obligation which have accrued or arisen prior to such termination, or which accrue
pursuant to paragraph 2l.3 as a result of such termination, and obligations to insure and indemnifu), upon the occunence of
any of the following events:


a)Breach of Agreement - Thirty (30) days after the receipt of notice by either party to the other speciffing in detail a material
breach of this Agreemen! if such breach has not been cured within said thirty (30) day period; or if such breach is of a
nature that it cannot be cured within said thirty (30) day period but can be cured within a reasonable time thereafter, if efforts
to cure such breach have not commenced orland such efforts are not proceeding and being continued diligently both during
and after such thirty (30) day period prior to the breach being cured. However, the breach of any obligation of either party
hereunder to pay any monies to the other party under the terms of this Agrcement shall be deemcd to be curable within
thirty (30) days.

b) Failure to Act, Etc.- In the event that any insurance required of Partnership is not maintained without any lapse, or it is
alleged or charged that the Premises, or any portion thereof, or any act or failure to act by Partnership, its agent and
employees with respect to the Premises, fails to comply with any law or regulation, or any order or ruling of any public
authority, and Agent in its sole discretion considers that the action or position of Partnership or its represented with respect
thereto may result in damage or liability to Agent, or disciplinary proceeding with respect to Agent's license, Agent shall
have the right to terminate this Agreement at any time by written notice to Partnership of its election to do so, which
termination shall be effective upon the service of such notice. Such termination shalt not release the indemnities of
Partnership set forth herein.
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 c) Excessive Damage   - Upon the destruction of or substantial damage to the Premises by any cause, or taking of all or a
substantial portion of the Premises by eminent domain, in either case making it impossible or impracticable to continue
operstion of the Premises.

d) Inadequate Insurance    - If Agent deems that the liability insurance obtained by Partnership per section l4 is not reasonably
satisfactory to protect its interest under this Agreemenf and if Partnership and Agent cannot agree as to adequate insurance,
Agent shall have the right to cancel this Agreement upon the seruice of the notice to Partnership.



2   1.3 Termination Compensation

If (i) Partnership tenninates this Agreement before the end of the initial term or any subsequent term year as provided in
paragraph 2l.l above for anli rearion other than fora breash by Agent under paragraph 21.2(a) above, or if (ii) Agent
tetminates this Agreement for a breach by Partnership under paragraph 21,2(a) above or pursuant to the provision of
paragraphs 21.2(b) or 2t.2(d) above, then in any such event, Paftnership shall be obligated to pay Agent as liquidated
damages an amount equal to the management fee eamed by Agent, as determined under paragraph l7.l abovg for the
calendar month immediately preceding the month in which the notice of termination is given to Agent or to Partnership
multiplied by the number of month and/or portions thereof remaining from the termination date until the end of the initial
term or term year in which the termination occurred. Such damages, plus any amounts accruing to Agent prior to such
termination, shall be due and payable upon termination of this Agreement, to the extent that firnds are available, such'sums
shall be payable from the Operating (and/or) Reserve Account(s) shall be paid by Partnership to Agent upon demand.



21.4 Partnership Responsibility for Payments

Upon termination of or withdrawal from this Agreement, Partnership shall assume the obligation of any contract or
outstanding bill executed by Agent under this Agreement for and on behalf of Partnership and Reusability for payment of
all unpaid bills. In addition, Partnership shall furnish Agent security, in an amount satisfactory to Agent, against any
obligations or liabilities which Agent may have properly incurred on Partnership's behalf under this Agreement,

Agent may withhold firnds for ninety (90) days after the end of the month in which this Agreement is terminated, in order
to pay biils previously incurred but not yet invoiced and to close accounts. Agent shall deliver to Partnership, within ninety
(90) days after the end of the month in which this Agreement is terminate, any balance of monies due Partnership or of
tenant security deposits, or both, which were held by Agent with respect to the Premises, as well as a final accounting
reflecting the balance of income and expenses with respect to the Premises as of the date of terminator or withdrawal, and
all records, contracts, leases, receipts for deposits, and other papers or documents which pertain to the Premises.

21.5 Sale of Premises

In the event that the Premises are sold by Partnership during the period of this Agreement, Agent shall have exclusive rights
of representation in the sale as stated in
                                         a specific sales agreement to be negotiated separately. Upon hansfer of Partnership,
this Agreement shall terminate by mutual consent of Partnership and Agent.




                               SECTION 22, TNDEMNIFICATION SURVTyES TERMINATTON

AII representation and warranties of the parties contained herein shall survive the termination of this Agreement. All
provisions of this Agreement that require Partnership to have insured or defend, reimburse, or indemniff Agent (including,
butnotlimitedto,paragraphs2.7,2.3,5,8.4,9.2,9.5, 13, 14,15,16,17.7,20,21.3,and21.4)shallsurviveanytermination;
                                                                                (

                                                                                                                              l)
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 and  if Agent is or becomes involved in any proceeding or litigation by reason of havingbeen Partnership'sAgent, such
 provisions shall apply as if they Agreemeni were still in effect.




                                                     SECTION 23, HEADINGS

 All headings and subheadings employed within this Agreement and in the accompanying List of Provisions are inserted
 only for convenience andease of reference and are not to be considered in construction or interpretation of any provision
 ofthis Agreement.



                                                 SECTION 24, trORCE lt{AJEriR

Any delays in the performance of any obligation of Agent under this Agrbement shall be excused to the extent that such
delays are caused by wars, national emergencies, nafural disasters, strikes, tabor disputes, utility failures, governmental
regulations, riots, adverse weather, and other similar cause not within the control of Agent, and any time periods required
for performance shall be extended accordingly.




                                           SECTION 25, COMPLETE AGREEMENT

This Agrcement including any specified attachments, constitutes the entire agreement between Partnership and Agent with
resPect to the management and operation of the Premises and supersedes and replaces any and all previous management
agreements entered into orland negotiated between Partnership and Agent relating to the Premises covered by this
Agreement. No change to this Agreement shall be valid unless made by supplemental written agreement executed and
approved by Parmership and Agent. Except as othenvise provided herein, any and all amendments, additions, deflections
to this Agreement shall be null and void unless approved by Partnership and Agent in writing. Each party to this Agreement
hereby acknowledges and agrees that the other party has made no warranties, representations, covenants, or agreements,
express or implied, to such parly, other than those expressly set forth herein, and that each pafty, in entering into and
executing this Agreement, has relied upon no warranties, representations, covenants, or agreements, expr€ss or implied, to
such party, otherthan those expressly set forth herein.




                                    SECTION 26, RIGHTS CUMULATIVE; NO                  WAMR
No right or romedy herein conferred upon or reseryed to either of the parties to this Agreement is intended to   be exclusive
of any other right or remedy, and each and every right and remedy shall be cumulative and in addition to any other right or
remedy given under this Agreement or now or hereafter legally existing upon the occurrence of an event of default under
this Agreement. The failure of either party to this Agreement to insist at any time upon the occurrence of an event of default
under this Agreement, The failure of either party to this Agreement to insist at any time upon the strict obseruance or
performance of any of the provisions of this Agreemen! or to exercise any right or remedy as provided in the Agreement,
shall not impair any such right or remedy or be constructed as a waiver or relinquishment of such right or remedy with
respect to subsequent defaults. Every right and remedy given by this Agreement to the parties to it may be exercised from
time to time and as often as may be deemed expedient by.those parties.




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                             SECTION 27, APPLTCABLE LAW AIyD PARTIAL INVALIDITY

The execution, interpretation, and performance of this Agreement shall in altaspects be controlled and govemed by the
laws of the State of PA           . If any part of this Agreement shall be declared invalid or unenforceablg Agent shall have
the option to terminate this Agreement by notice to Partnership.



                                                    SECTION 28, NOTTCES

Any notices, demands, coDsents, and reports necessary or provided for under this Agreement shatl be in writing and shall
be addressed as follows, or at such other address as Partnership and Agent individually may speci$ hereafter in writing:




PartncisLip:            Scarborouqhllews. LP

Such notice or other communication may be mailed by United States registered or certified mail, return receipt requested,
postage prepaid, and may be deposited in a United States Post Office or a depository for the receipt of mail regularly
maintained by the post office. Such notices, demands, consents, and reports may also be delivered by hand or by any other
receipted method or means permined by law. For purposes of this Agreement, notices shall be deemed to have been "give"
or "delivered" upon personal delivery thereof or forty-eight (48) hours after having been deposited in the United States
mails as provided herein.




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                                                     SECTION 29, NOTICDS

This agreement shall be binding upon the parties hereto and their respective personal representatives, heirs, adminish'ators,
executors, succcssors and assigns.




SIGNAi'URES




IN WITNESS WHEROIT, the parties hereto have affixed or caused to be al'fixed their respective signatures this
     larl.                        day   of Jr,mO-                    .20 l'7       .




Witness                                       .   Partncrship

                                              \,-*,"*l S,Ct-
                                                  Conrpany

                                                  Scr^rU"co-a\n- nnerus-                      tt'
                                                  Addrcss



                                                  City, State, Zip

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                                                  Agelt
                                                  Firm    A

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                                                                                                          "f
Submittcd by
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                        Exhibit G
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                              '   /"/i?/
           2*N/O'{z/L'&




          PROP=RTY MANAG=MTNT AGREEM ENT


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                                                                                                      "',,,;,-,-




REMINDER: This form has been prepared for general informational use
only. Because this sample contract does not represent the unique facts
and circumstances of your situation, it is highly recommended that you
seek legal advice from an appropriately licensed attorney.
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                          Property Management Agreement Sample

 For Property located at:                                                     .   Beginning on the

         day of                         and ending the end of


Owner:
                                                                                                     Agent:
                                                                                                   This
Agreement is made thrs           day   of                                          , by and between
                                                                                            (the "Owner")
and                                                                                        . (the "Agent").


SECTION     1   APPONT}IENT OF MANAGING AGENT

l.l   Appointment and Acceptance

Owncr hereby appoints Agent as sole and exclusive Agent of Owner to lease and managc thc
property described in paragraph 1.2 upon the terms and conditions provided herein. Agent accepts
the appointment and agrees to f'urnish the services   of its organization for the leasing and management
of the Premises; and Owner agrees to pay all expenses in connection with thosc scrvices.


I.2 Description of Premises

The Property to be managed by Agent under this Agrecment is known as

                                                                                             , located at
                                                                                    consisting of the land.
buildings, and other improvements located at
                                                                                             . in the State
of

1.3 Term


The term of this Agreement shall be for an initial period   of           year(s) (the "initial term") from
the                                              to                                                   and

including the last day   of                                            , and thereafter shall be
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autonratically renewed from year to year unless terminated as provided in sections        2l   or 27 herein.


Each   of said one-year renewal periods is referred to as a "term year."


1.4 Management Office


Add address if applicable


1.5   Apartment For On-Site Staff

Actct actdress i.f   appticabte.
                                                              /fu"7-*7
                                        ^-Z/'-/
sECrroN       2 BANK
                            ^"")))*&;
2.1 Operating (And/Or) Reserve
                                                 -4r"--.n
                                         Account(s)
                                                                          ^-^--Lr
                                                                             /
                                                       ,7
Agent shall establish a separate account(s) known        as the

                                                                                                 (andior)
Reserve Account(s), separate and apart from Agent's coryorate accounts, for the deposit of receipts

collected as described herein, in a bank or other institution whose deposits are insrred by the federal
govcrnmcnt.      Sr"rch   dcpository shall be selected by the Agent. Holvcver, Agcnt shall not be hcld
liable in the event of bankruptcy or failure of a depository. Funds in the Operating (andtor) Reserve
Account(s) remain the property of Owner subject to disbursement of expenscs by Agcnt as describcd
in this Agreement.


2.1.1 Initial Deposit and Contingency Reserve


lmrnediately upon commencement of this Agreement, Owner shall remit to Agent the sum                of
                          to be depositcd in the Operatirig (and/or) Reserve Account(s) as an initial deposit
representing the estimated disbursements to be made in thc first month following the commencement
of this Agreement, plus an additional sum of       S                    as a contingency reserve. Owner

agrees to maintain the contingency reserve stated above at all times in Operating (and/or) Reserve

Account(s) to enable Agent to pay the obligations of Owner under this Agrccmcnt as they become
due. Owner and Agent shall review the amount of the contingency reserve from time to time and
shall agree in writing on a new contingency reserve amount rvhen such is requircd.
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2.2 Security Deposit Account


Agent shall, if required by larv, maintain a separate interest-bearing account for tenant secrrity
deposits and advancc rcntals. Such account shall be maintained in accordance with applicable state

or local laws,   if   any.


2.3 Fidelity Bond


Agent shall cause all personnel who handle or are responsible for the safekceping olany monies              of
Owner to be covered by a fidelity bond in the amount of   $                           with a.o*nrry zler4tz<-zl
determined by A-eent. Such bond shall be sccurcd at Agent's expense.        If   a   tidclity bond cannot bc
obtained, an arrest and conviction bond shall be obtained at Agent's expense. Owner shall save
Agent harmless from any loss or damages caused by such personnel       if   no bond can be obtained.


SECTION 3 COLLECTION OF RENTS AND OTHER RECEIPTS


.l   Agent's Authority


Agent shall collect (and give receipts for, if necessary) all rents, charges and other amounts
receir,able on Owner's account in connection with the management and operation of the
Premises. Such receipts (except tenant's security deposits and advance rentals, which shall be
handled as specified inparagraphs 2.2 and 3.3 hereof; and special charges, which shall be handled as
specified in paragraphs 3.2 hereof) shall be deposited in the Operating (andior) Reserve Account(s)
maintaincd by Agent for the Premises.


3.2 Special Charges


If permitted by applicable law, Agent may collect from tenants any or all of the following: an
administrative chargc fbr latc payment of rent, a charge lbr returned or non-negotiable checks,         a

credit report fee, an administrative charge and/or broker's commission for subleasing. Agent need
not account to Owner for such charges and/or commission.


3.3 Security Deposits


Agent shall collect, deposit, and disburse tenants' security deposits in accordance with the terms          of
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each tenant's lease. Agent shall pay tenants interest upon such security deposits only ifrequired by

law to do so; otherwise, any interest earned on tenant security deposits is to bc retained by Agent    as

compensation for administering these funds. Agent shall comply with all applicable state or local

laws concerning the responsibility for security deposits and interest,    if   any.


SECTION 4 DISBURSEMENTS FROM OPERATNG (AND/OR) RESERVE ACCOUNT(S)

4.1   0perating Expenses

From the Operating (andor) Reserve Account(s). Agent is hereby authorizc-d to pay or rcimburse
itself fbr ali expenses and costs of operating the Premise.s and fbr all other sums duc Agent undcr this
Agreement. including Agent's compensation under section          17.


4.2 Debt Service


Owner shall give Agent advance written notice of at least 30 days if Owncr desircs Agent to make
any additional monthly or recurring paylncnts (such as mortgage indebtedness. general taxes, or
special assessments, or fire, steam boiler, or other insurance premiums) out of the proceeds from the
Premises. If Or'vner notifles Agent to make such payments afier the beginning of the term of this
Aglecment, Agcnt shall have the authority to name a new contingency reserve amount pursuant to
paragraph 2.1.1 of this Agreement, and Owner shall maintain this new contingency reserve amount at

all timcs in the Operating (and/or) Reserve Account(s).


4.3 Net Proceeds


To the extent that funds are available, and after maintaining the cash contingency reserve amount      as

specified in paragraph 2.1.   l, Agent   shall transmit cash balances to Owncr periodically, as
follows: monthly. Such periodic      cash balances shall be remitted to the follorving person(s), in the

percentage(s) specified, and at the address(es) shor,vn:




Name                                       o/o    Address
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SECTION 5 AGENT NOT REQUIRED TO ADVANCE FUNDS

In the event that the balance in the Operating (and/or) Reserve Account(s) is at any timc insufficient
to pay disbr.rsements due and payable under paragraphs 4.1 and 4.2 above, Orvner shall, immediately
upon notice. remit to Agent sufficient funds to cover the deficiency and replenish the contingency
reserve. [n no event shall Agcnt be required to use its own funds to pay such disburscme nts. Nor
shall Agent be required to advance any monies to Orvner, to the Security Deposit Account, or to the
Operating (and/or) Resen''e Account(s).


if   Agent elects to advance any money in connection with the Premises to pay any expenses for
Owner, such advance shall be considered a loan subject to repayment with interest, and Owner
hereby agrees to reimburse Agent, including interest as provided in paragraph 17.7. ard hereby
authorizes Agent to deduct such amounts liom any monies due Owner.


SECTION 6 FINANCT{L AND OTHER REPORTS

By thc tenth day of each month. Agent shall furnish owner    *rrn*K(             "3r:"r;(:;'-
disbursements from the opcration of the Premises during the previous month. In addition, Agent
shall, on a mutually acceptable schedule, prepare and submit to Owner such other reports as are
agrccd on by both     parties.                                                        /
                                                                  /&t+t z-uza/
It   is important   for the Owner to review these statements each month. Monthly reports are held
open to correct errors for 90 days, and then become final, subject to an annual audit that may
be required by the Owner per paragraph 6.1.
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6.1 Owner's Right To     Audit

Owner shall have the right to request periodic audits of all applicable accounts managed by Agent,
and the cost of such audit(s) shall be paid by Owner.


SECTION 7 ADVERTISING

Agent is authorized to advertise the Premises or portions thcreof for rent, using periodicals, signs,
plans, brochures, or displays, or such other means as Agent may dcem propcr and advisable. Agent
is authorized to place signs on the Prernises advertising the Premises for rent, pror-ided such signs

comply with applicable laws. The cost of such advertrsing shall be paid out of thc Operatinrr (andor)
Reserve Account(s). AII advertising shall make clear that Agent is the manager and NOT thc Owner
of the Premises. Nelvspaper ads that share space with other properties managed by thc Agent shall
be prorated based   on: Actual lineage of the ad devoted to the Owner's property plus a proratetl
share of any headlines and/or signature lines.


SECTION 8 LEASING AND RENTING

8.1 Agent's   Authority To Lease Premises

Agent shall use all reasonable efforts to keep the Premises rented by procuring tenants for the
Premises. Agent is authorized to negotiate, prepare, and execute all leases, including all renew'als
and extensions   of leases (and expansions of space in the Premises, if applicable) and to cancel and
modify eristing leases. Agent shall execute all leases as agent for the Owner. All costs of leasing
shall be paid out of the Operating (and/or) Reserve Account(s). No lease shall bc in exccss    of
           year(s) without written approval by Owner. The form of the lease shall be agreed upon by
Owner and Agent.


8.2 No Other Rental Agent


During the terrn of this Agrcement, Owner shall not authorize any other person. firm or corporation
to negotiate or act as leasing or rental agent with respcct to any lease lbr space in the
Premises. Owner agrees to promptly forward all inquiries about leases to Agent.


8.3 Rental Rates
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Agent is authorized to establish and change or revise all rents, fees, or deposits. and any other
charges chargeable with respect to the Premises.


8.4 Enforcement of Leases


Agent is authorized to institute. in Owner's name, all legal actions or proceedings for the
enforcement of any lease term, for the collection of rent or other incomc from the Premises, or for the
evicting or dispossessing of tenants or other persons from the Premiscs. Agcnt is authorized to sign
and serve such notices as Agent deems necessary fbr lease enfbrcement. including the collection       of
rent or other income. Agent is authorized, when expedient, to settle, compromise, and release such
lcgal actions or suits or reinstate such tenancies. Any monies for such settlements paid out by Agent
shall not exceed $                    without prior approval by Owner. Attorneys' fces, filing fees,
court costs. and other necessary expenses incurred in connection with such actions and not recovered
fi'om tenants shall be paid out of the Opcrating (and/or) Reserve Account(s) or reimbursed directly to
Agent by Orvner. Agent may select the attorney of its choice to handle such litigation.


SECTION 9 EMPLOYEES

9.1 Agent's   Authority to Hire

Agent is authorized to hire, supervise, discharge. and pay all servants, employees, contractors, or
other personnel necessary to be ernployed in the management. rnaintenance, and operation of the
Premises. All employees shall be deemed employees of the Owner, and Agent shall not be liable to
Owner or others fbr any act or omission on the part of such empioyees.     [/LA.Or/           &
                                                                  @'4
                                                                  I                  /'e/'*r
e.2   orrner pavs Emproyee    Expenses                                                  U

A11   wages and fringe bcnefits payable to such employees hired per paragraph 9.1 above, and all local,
state, and federal taxcs and assessments (including but not limited to Social Security taxes,

unemployment insrrance, and workers' compensation insrrancc) incident to the employment of such
personnel. shall be paid by Agerrt
personnel,                            of the Operating (gnd
                            Agent out olthe                       Resgrve Agcount(s).
                                                             or) ResS:rve
                                                       (ELndro-r)         Agcount(s).   fu"-/4/*4L
h-a,&/ *-       re             -ry/,ize, lzf r//e/-// 4-?./ /d4*'*T-d-
o I Agent's
9.3 Aron*'c Authority
            trrrhnrirr.rnto File Returns
                            Eilo D/or,,.-o '/"-"i4;/
                                           '/err.*/rlr-leZo ,Ah-tA''*' utVa-4
Agent shall do and perform all acts required of an employer with respect to the Premises and shall
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execute and file all tax and other returns required under the applicable federal. state. and local laws,
regulations. andior ordinances governing employment, and all other statements and repofis pertaining
to labor employed in connection with the Premises and under any similar fbderal or state law now or
hereafter in force. [n connection u'itli such filings, Owner shall upon request promptly execute and
deliver to Agent all necessary powers of attorney, notices of appointment. and the like. Owner shall
be responsible for all amounts required to be paid under the foregoing laws. and Agent shall pay the

samc frorn thc Opcrating (andior) Reserve account(s).


9.4 Workers' Compensation Insurance


Agent shall, at Olvner's expense, maintain workers' compensation insurance covcring all liability           of
thc e mploycr under established workers' compensation laws.


9.5 Hold Harmless, Labor Laws


Agent shall be   re   sponsible for compliance with all applicable state or federal labor laws. Owncr shall
indemnify, defend. and      sar,'e   Agent harmless tiom all claims, investigations. and suits. or from
Owner's actions or failures to act, with respect to any alleged or actu,al violation of state or f-ederal
labor laws. Olvner's obligation with respect to such violation(s) shall include payment of all
settlements, judgments. damages, Iiquidated damages, penalties, forfeitures. back pay awards, court

costs, litigation expenses. and attorneys' fees.


SECTION IO MAINTENANCE AND REPAIR

Agent is authorized to make or cause to be made, throu-eh contracted services or otherwisc, all
ordinary repairs and replacements reasonably necessary to preserve the Premises in its present
condition and tbr the operating etfrciency of the Prcmises. and all alterations required to comply with
lease requirements.     go!ernlxental rcgLrlations, or insurance reqrdrements. Agent is also authorized to
decorate the Premrses and to purchase or rent, on Owner's behalt, all equipment, tools. appliances,
matcrials, supplies, unifbrms, and other items nccessary lbr the management, maintenance, or
operation ofthe Premises. Such maintenance and decorating expenses shall be paid out ofthe
Operating (and/or) Reserve Account(s). This section applies except where decorating and/or
maintenance are at tenants' expcnse as stipulated in a lease.


l0.l Approl'al For Exceptional            Nlaintenance Expense
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The expense to be incured for any one itenr of maintenance, alteration. ref-urbishing. or repair shall
not exceed the sum ofS                     . unless such expense is spccifically authorized by Owner,
or is incured under such circumstances as Agent shall reasonably deem to be an emergency. In an
emergency r.vhere repairs are immediately necessary for the preservation and safety of the Premises.
or to avoid the suspension of any essential service to the Premises, or to avoid danger to litb or
property, or to comply with federal, state. or local lar,v, such emergency rcpairs shall be made by
Agcnt at Owncr's cxpense without prior approval.


SECTTON I1 CONTRA.CTS, UTILITIES AND SERVICES


Agent is authorized to negotiate contracts for nonrecurring items of expense, not to exceed
                    tmless approvcd by Owner, and to enter into agreements in Ow.ncr's name fbr all

necessarv repairs, maintenance. minor alterations, and   utility services. A-gent shall. in Orvner's name
and at Owner's expcnsc, make contracts on Owner's behalf for electricity, gas. telcphonc, fuel, or

water, and such other services as Agent shall deem necessary or prudent for the operation of the
Premiscs. AII utility deposits shall be the Orvner's responsibility, except that Agent may pay same
from the Operating (and/or) Reserve Account(s) at Orvner's request.


SECTION 12 RELATIONSHIP OF AGENT TO OWNER

The retationship of the parties to this Agreement shall be that of Principal and Agcnt, and all duties to
be performed by Agent under this Agreement shall be for and on behalf of Owner. in Owner's name.

and for Owner's account. In taking any action under this Agrcement, Agent shall be acting only as
Agent fur Owner, and nothing in this Agreement shall be construed as creating a parlnership, joint
venture. or any other relationship between the parties to this Agreement except that of Principal and
Agent, or as requiring Agent to bear any portion of losscs arising out of or connected with the
ownership or operation of the Premises. Nor shall Agent at any time during the period of this
Agreement be considcrcd a direct employee of Owncr. Neither party shall have the power to bind or
obligate the other except as expressly set forth in this Agreement, except that Agent is authorized to
act with such additional authority and power as may be necessary to carry out the spirit and intent   of
this Agreemcnt.


SECTION 13 SAVE HARMLESS
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                Owner shall indemnify. defend" and save Agent harmless from all loss, danrage, cost. expense
                (including attorneys' fees), liability, or claims fbr pcrsonal injury or propcrty damage incurred or
                occurring in, on, or about the Premises.


                SECTION 14 LIABILITY INSURA.NCE

                Owner shall obtain and keep in force adequate insurance against physical damase (e.g.. fire lvith
                extertded coverage endorsement, boiler and machinery, etc.) and against        liability for loss, damage. or
                injury to property or persons which might arise out of the occupancy, management. opcration, or
                maintenance of the Premises. The amounts and tlpes of insurance shall be acccptable to both Owner
                and Agcnt, and any dcductible required under such insurance policies shall be Orvncr's

                expense. Agent shall be covered as an additional insured on all liability insurance maintaine.d with
                respect to the Premises.      Liability insurance shall be adequate to protect the intcrests of both Ow,ner
                and Agcnt and in      forrn   substancc. and amounts reasonably satisfactory to Agent. C)rvner agrees to

         y fu   fwntsh Agent with certificates evidencing such insurance or with duplicate copies of such policies

n,{"a{^
UY'- L l)
                r,r   ithin 30 days of the cxccution of this Agreement. If Owner fails to do so, Agcnt may, but shall not
     t -
                be obligated to, place said insurance anil charge the cost thereof to the Operating (and/or) Reserve

                Account(s). Said Policies shall provide that notice of default or cancellation shall be sent to Agent         as

                well as Orvner and shall require a minimum of 30 days' written notice to Agent betbre any
                cancellation of or changes to said policies.                                     t (, a
                                                                                irfu"-r"/
                                                                                       (/'
                SECTION I5 AGENT ASSUMES NO LIABILITY

                Agent assumes no liability whatsoever for any acts or omissions of Ow'ner. or any previous owners             of
                the Premises, or any prev'ious managemcnt or other agent of either. Agent assumes no          liability for
                any failure of or default by any tenant in the payment of any rent or other charges duc Or,vner or in
                the performance of anv obligations orved by any tenant to Owner pursuant to any lease or

                otherwise. Nor does Agcnt assumc any liability for previously unknown violations of environmental
                or other regulations which may become known during the period this Agreement is in eff'ect. Any
                such regulatory violations or hazards discovered by Agent shall be brought to the attention of Owner

                in writing, and Owner shall promptly cure them.


                SECTION I6 OWNER RESPONSIBLE FOR ALL EXPENSES OF LTTIGATION
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Owner shall pay all expenses incurred by Agent, including, but not limited to, reasonable attomeys'
t-ees and    Agent's costs and timc, and any liability, fines, penalties or the like. in connection with any
clainr. proceeding, or suit involving an alleged violation by Agent or Owner, or both, of any law
pertaining to fair employment, fair credit reporting, environmental protection, rent control, taxes, or
f-air housing, including, but not limited to, any law     prohibiting or making illegal discrimination on the
basisofrace. sex. creed. color, religion, national origin. or mental orphysical handicap, provided,
however, that Owner shall not be responsible to Agcnt for any such expc-nscs in the event A-qent is
finally adjudged to have personally, and not in a representativc capacity. violated any such
law. Nothing contained in this Agreement shall obligate Agent to employ legal counsel to rcpresent
Owner in any such proceeding or suit.


16.1 Fees     for Legal Advice

Owner shall pay rcasonable expenses incurred by Agent in obtaining legal advice regarding
compliance rvith any law affectin_e the Premises or activities related to them.      If   such expenditure also

benefits others for rvhom Agent in this Agreemcnt acts in a similar capacity, Orvner agrees to pay an
apportioned amount of such expense.


SECTION 17 AGENT'S COMPENSATION AND EXPENSES

As compensation for the services provided by Agent under this Agreement (and exclusive              ol
reimbursement of expenses to which Agent is entitled hereunder), Owner shall pay Agent as follows:


17.1 For llanagement Services


The greater of     (i)   $   Qt 7 00       per month or   (ii) 7        % of the total monthly    gross   cL

receipts frorn the Premises, payable by the 25th day of the current month for the duration of         this-_--z-..,$
                                                                                                           c/'-vV*
Agreemcnt. Payme nts due Age nt lbr periods of less than a calendar month shall be prorated over               the
                                                                                                                     %
number of days for which compcnsation is due. The percentage amourlt set forth in             (ii) above shall
be based upon the total gross rcceipts from the Premises during the preceding month.


The term "gross receipts" shall be deemed to include all rents and other income and charges from the
normal operation of the Premises, including, but not limited to, rents, parking fees, laundry income,
forfeited security deposits, pet deposits, other fees and deposits, and other miscellaneous
income   ,   Cross rece ipts shall NOT be deemcd to include the special chargcs listed in paragraph 3.2,




                                                        11
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                     or excess interest on security deposits (from paragraph 3.3), or income arising out of the sale of real
                     property or thc scttlement of trre or othcr casualty losses and items of a similar naturc.


                     17.2 For Apartment Leasing


                     New    1   Year lease ist/z of lst month's rent; Renewal of a       I Year lease   is   1/.t
                                                                                                                    of lst month      rent.


                     New 6 Month lease is      '/q   of   lst month's rent: Renewal 6 Month lease is li 8           of   l st month   rent. ,2t 'n*-'-.r/

                     17.3 For Commercial Leasing


                     Not applicable


                     17.4   For Nlodernization (Rehabilitation/Construction) Repairs & Replacements

                     59ztlofthegroSSamountofanysinglecontractorbiIlexceeding$-willbechargedJ7
                     for supervision. unless handled directly by the owner.                  ,/--;rr                r/ L                      "----4-
                                                                                                                               'r-/^
                     17.5   For Fire Restoration

                     Some os paragraph 17.4.


                     17.6 For Other Items of Nlutual Agreement


             )'"'\   The Agent is to have the privilege of re-r,vriting any insurance, at competitive rates, on the property
 ,.' z/'da
/.2-'{'              expiring during the life of this contract, but      will   not be held responsible for the writing of said
                     insurance. A company of comparable rating must be used. The Owner understands that the Agcnt is
                     directly involved as a partner in a full-line insurance agency. At the Ou'ner's direction- the Agent
                     will sccurc competitive bids vearlv.
                            /1      qrz-J * li ?r,{o*-r---,a7r, 4,4 A zrz-r"-(/4lo 7, **o
   "&/                 /e-.'>-r-'
                     17.7 Interest onlUnpaitl Sums ['
                                                      4 .ft''-' /tzz-art
                                                                               (/

                     Any sums due Agent under any provision of this Agreement, and not paid within 10 days after quch
                     sums have become due. shall bear interest at the rate          of 10% pcr   annum.                      C'*1r--(         l' 7   o


                     SECTION 18 REPRESENTATIONS
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Owner represents and warrants: That Owner has full power and authority to enter this Agreement:
that there are no written or oral agrcements aff'ecting the Premiscs other than tcnant leascs, copies     of
which have been ftunished to Agent; that there are no recorded easements. restrictions, reservations,
or rights of r,vay which adversely affect the use of the Premises for the purposes intended under this
Agreement; that to the best of Owner's knowledge, the property is zoned fbr the intended use; that all
leasing and other permits for the operation of the Premises have been securcd and are current; that

the building and its construction and opcration do not violate any applicable statutcs. laws,

ordinances, rules, regulations, orders, or the like (including, but not limited to, those pertaining to
hazardous or toxic substances); that the building does not contain any asbestos. urca. tbrmaldehyde,
radon. or other toxic or hazardous substance; and that no unsafe condition exists.


SECTION 19 STRUCTURA.L CHANGES

Owncr cxpressly lvithholds from Agent any power or authority to make any structural changes in any
building, or to make any other major alterations or additions in or to any such building or to any
equipment in any such building. or to incur any expense chargeable to Owner other thau expenses
related to exercisin_q the exprcss powers vested in Agent through this Agreement, without the prior
w'ritten consent of the following person:


Name:
However, such emergency repairs as may be required becausc of danger to life or property, or r.vhich
are immediately necessary for the preservation and safety of the Premises or the safety of the tenants

and occupants thereof, or required to avoid the suspension of any necessary service to the Prernises,

or to conrply with any applicable federai, state, or local laws, regulations, or ordinances, shall bc
authorizcd pursu.?nt to paragraph 10.1 of this Agreement, and Agent shall notity Owner
appropriately.


SECTION 20 BUILDING CO}IPLIANCE

Agent does not assllme and is given no responsibility for compliance of the Premises or any building
thereon or any equipment thcrcin with the requirements of any building codes or wit any statue,
ordinance, law, or regulation of any goverrrment body or of any public authority or official thereof
having jurisdiction, except to notify Owncr promptly or forward to Owner promptly any complaints,
warnings, notices, summonses received by Agent relating to such matters. Owner represents that to
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the best of Orvner's knowledge the Premises and all such equipment comply with all such

requircments, and Owner authorizes Agent to disclose the ownership of thc Premrses to any such

officials and agrees to indemnify and hold Agent, its representatives, servants. and empioyees.
harmless of and from all loss. cost, expense. and liability u,hatsoever rvhich may be imposed by
reason of any present or future violation or alleged violation          of such laws. ordinances, statues, or
regulations.


SECTION 2I TERMNATION




21.1 Termination by Either Party


This Agreement may be terminated by either Olvner or Agent, with or without                cause . at the end   of
the initial term or     olany fbllowing tcrm year upon the giving of 30 days' written notice prior to thc
end    of said initial term or following term year.                                                 GO

21.2 Termination         for Cause

Notwithstanding the foregoing, this Agreement shall terminate in any event. and all obligations of the
parties hereunder shall cease (except as to liabilities or obligations which have accmed or arisen prior
to   st-tch   termination, or which accrue pursuant to paragraph 2l.3 as a result of such termination, and
obligations to insure and indemnify), upon the occurrence of any of the follor.ving events:


                      (a) BREACH OF AGREEMENT              -   Thirty (30) days after the receipt of notice by
                      either party to the other specifying in detail a material breach of this Agreement.        if
                      such breach has not been cr.u'ed   within said thirty (30) day period; or if such breach is
                      of a nature that it cannot be cured within said thirty (30) day period but can be cured
                      within a reasonablc time thereafter. if eflorts to curc such brcach have not
                      commenccd oriand such efforts are not proceeding and being continued diligently
                      both during and aftcr such thirty (30) day period prior to the breach being
                      cured. HOWEVER, the breach of any obligation of either party hereunder to pay any
                      monies to the other party under the terms of this Agreement shall be deemed to be
                      curable within thirty (30) days.




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                  (b) FAILURE TO ACT, ETC. - In the event that any insurance required of Owner is
                  not maintained without any lapse, or it is allcged or charged that the Premises, or any
                  portion thereof, or any act or failure to act by Owner. its agent and ernployees with
                  respect to the Premises, fails to comply rvith any lar,l'' or regulation, or any order or

                  ruling of any ptrblic authority, and Agent, in its sole discretion, considers that the
                  action or position of Owner or its representatives rvith rcspect thereto may result in

                  damage or     liability to Agcnt, or disciplinary proceeding with respcct to Agent's
                  license, Agent shall have the right to terminate this Agrcemcnt at any tirne by written
                  notice to Ou,'ner of its election to do so. which termination shall bc ef'fective upon the
                  service of such notice. Such termination shall not release the indemnities of Olvner
                  set forth herein.


                  (c) EXCESSIVE DAMAGE             - Upon the destruction of or substantial damage    to the
                  Premises by any calrse. or the taking of all or a substantial portion of the Premises by

                  cminent domain, in either case making it impossible or impracticable to continuc
                  operation of the Prcrniscs.


                  (d) INADEQUATE INSURANCE               - If Agent deems that the liability   insuance
                  obtained by Owner per section      l4 is not reasonably satisfactory to protect its interest
                  under this Agreement, and if Owner and Agent cannot agree as to adcquate insurance,
                  Agent shall have thc right to cancel this Agreement upon the service of notice to
                  Owner.


2   1.3   Termination Compensation                  NIonth Minimum


If (i) Owner terminates this Agreement before the end of the initial tcrm of any        subseque nt term year

as   provided in paragraph    2 1.1 above   for any reason other than for a breach by Agent under paragraph
21.2(a) above, or   it(ii)   Agent terminates this AgTeement for a breach by Orvner under paragraph
21.2(a) above or pLrsuant to the provisions of paragraphs 21.2(b) or 21.2(d) above, then in any such
event, Owner shall be obligated to pay Agent as liquidated damages an amount equal to the
management fee earned by Agcnt. as determined under paragraph 17.1 above, fbr the calendar month
immediately preceding the month in which the notice is given to Agent or to Owner, multiplied by
the number of months and/or portions thereof rernaining frorn the termination date until the end          of
the initial term or term ycar in which the termination occurred. Such damages, plus any amoLrnts




                                                         :3
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accruing to Agent prior to such termination. shall be due and payable upon termination of this
Agreement. To thc extcnt that lunds are available, such sums shall be payable fiom thc Operating
(and/or) Reserve Account(s). Any amourt due in excess of the funds available from the Operating
(and/or) Reserve Account(s) shall be paid by Owner to Agent upon demand.


21.4 Orvner Responsible For Payments


Upon termination of or withdrarval from this Agreement, Owner shall assume the obligations of any
contract or outstanding   bill executed by Agent under this Agreement fbr   and on bchalf of Owner and

responsibility for payment of all unpaid bills. In addition. Owner shall furnish Agent securitv. in an
amount satisfactory to Agent, against any obligations or liabilities which Agent may have propcrly
incurred on Owner's behalf under this Agreement.


Agent may withhold funds for ninety (90) days after the end of the month in which this Agreement is
terminated. in order to pay bills previously incurred but not yet invoiced and to close
accounts. Agent shall deliver to Owner, within ninety (90) days after the end of the month in which
tliis Agreement is terminated, any balance of monies due Owner or of tenant security deposits, or
both. which were held by Agent 'uvith respect to the Premises. as well as a final accounting reflecting
the balance of incomc and expenses lvith respect to the Premises as of the date of tcrmination or

withdrawal, and all records, contracts, leases, receipts fbr deposits, and other papers or documents
w'hich pertain to the Premises.


21.5 Sale of Premises


In thc cvent that the Premises are sold by Orvner during the period of this Agreement, Agent shall
have exclusive riglrts of representation in the salc as stated in a specific sales agrecment to be

negotiated separately. Upon transfer of ownership, this Agreement shall terminate by mutu.ll consent
of Owner and Agent uncler thc tcrms and conditions set forth bclow. (See Addendum A)


In the event of any sale, the Agent shall receil'e   a           7o sales commission based on the
gross sales   price. This exclusive right-to-sell shall survive the termination of this agreement for
120 days.


SECTION 22 INDEMNIFICATION SURVT!'ES TERMINATION
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All representations   and warranties of the parties contained herein shall survive the termination of this

Agreement. All prol'isions of this Agreement that require Owner to har,'e insurcd or to defend,
reimburse, or indemnify Agent (inciuding, but not limited to, paragraphs 2.1,    2.3,5.8.1,9.2,9.5,    13,

14, 15. 16.17.1,20.21.3,and21.4)shall sur'"iv'eanytermination; andifAgentisorbecomes
involved in any proceeding or litigation by reason of having bcen Owner's Agent, such provisions
shall apply as   if this Agreement were still in effect.

SECTION 23 HEADNGS

All   headings and subheadings employed within this Agreement and in the accompanying List        of
Provisions are inserted only for convenicnce and ease ofreference and are not to bc considcred in the
construction or interpretation of any provision of this Agreement.


SECTION 24 FORCE MAJEURE

Any delays in the perfbrmance of any obligation of Agent under this A-creement shall be excused to
the extent that such delays are caused by wars, national emergencies. natural disasters, strikes, labor

disputcs. utility tailures. go!ernrnental regulations, riots, adverse weather, and other similar causcs

not within the control of Agent, and any time periods required for performance shall be extended
accordingly.


SECTION 25 COMPLETE AGREEMENT

This Agrcement, including any specified attachments. constifutes the entire agreement betweeu
Owncr and Agent with respect to the management and operation of the Prcmiscs and supersedes and
replaccs any and all previous management agreements entered into or/and negotiated between Owner
and Agcnt relating to the Premises covered by this Agrecment. No change to this Agpeement shall be

valid unless made by supplemental r,l,ritten agreement executed and approved by Owner and
Agent. Except as otherw'isc pror.ided herein. any and all amendments, additions, or deletions to this
Agreement shall be null and void unless approved by Owner and Agent in writing. Each party to this
Agreernent hereby acknowledges and agrees that the other party has made no warranties.
representations, covenants, or agreements, express or implied, to such party, other than those
expressly set forth herein, and that each party, in entering into and executing this Agreement, has
relied upon no warranties. representatious, covenants. or agreements, express or implied. to such




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party, other than those expressly set forth herein.


SECTION 26 RIGHTS CUNIULATNE; NO WAwER

No right or remedy herein conferred upon or resen'ed to either of the parties to this Agreement is
intended to bc cxclusivc of any other right or remedy, and each and evcrv riglrt and rcmedy shall be

cumulative and in addition to any other right or remedy given under this Agce ment or now or
hereafter legally existing upon the occllrreuce of an event of default undcr this Agrecment. The

failure of either party to this Agreement to insist at any time upon the strict obscrvance or
performance of any of the provisions of this Agreement, or to exercise any right or remcdy as
providcd in this Agrccmcnt, shall not impair any such right or remedy or be construed as a vvaivcr or
relinquishment of such right or remedy with respect to subsequent dethults. Er cry right and remedy
given by this Agreement to the parties to     it may be exercised from time to tir-ne and as often as may
be dee med expedient by those parties.


SECTION 27 APPLICABLE LAIV AND PARTIAL INVALIDITY


The execution, interpretation, and performance of this Agreement shall in all respects be controlled

and governed by the laws of the State    of                                    . Ifany   part ofthis
Agreement shall be declared invalid or unenforceable, Agent shall have the option to terminate this
Agreement by notice to Owner.


SECTION 28 NOTICES

Anv notices, demands, consents, and reports necessary or provided for undcr this Agrecmcnt shall be
in writing and shall be addressed as follows. or at such other address    as   Owner and Agent
individually may specify hereafter in writing:




Agent:




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Owner:

Mailing
Address:




Contact
Phone:

Contact
Email:




Such notice or other communication may be mailed by United States registered or certified mai[,
return receipt requested, postage prepaid, and may be deposited in a United States Post Office or    a

depository for the receipt of mail regularly maintained by the post office. Such notices, demands,
consents. and reports may also be delivered by hand or by any other receipted method or mcans

perrnitted by   law. For purposes of this Agreement, notices shall   be deemed to have been "given" or
"dclil'cred" upon personal delivery thereof of fbrty-eight (48) hours aftcr having been deposited in
the United States mails as provided herein.


SECTION 29 AGREE}IENT BNDNG UPON SUCCESSORS AND ASSTGNS




This Agreement shall be binding upon the parties hereto and their respective personal
                                                                                             ,'rZ,r'r"n   U"-/
representatives, heirs, administrators, executors. successors and assigns.
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Signatures

 IN WITNESS WHEREOF. the parties hercto havc affixcd or caused to be aftixed thcir rcspective

signatures this   _     day   of

Witnesses:


Owner:


Agent:   .




PRO By:

Submitted bv:


State   of

County       of

The foregoing instrument was acknowledged, subscribed and swom before me    this        day   of
                                      ,by




My
Commission
Expires:

                  Notary Public




                                               2{)
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State   of




County   of

The forcgoing instrument was ackno'uvledged, subscribed and sworn betbrc me   this _   day   of



by


My
Commission
Expires:

              Notary Public
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                        Exhibit H
    Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 243 of 465




                                   James F. Proud Esq., P.C.
                                       25 E2nd Street
                                      Media, PA 19063
                                         6ta-892-77A0
                                     jfproud@gmail.com


                                              February 21,2018

Via E-Mail: mediastation@verizon,net

Brooke P. Cottman
1015 Brooks Lane
Delray Beach, Florida 33483

       Re:      Proposed Loans from New York Community Bank
                to Media Station, L.P. and Tunbridge, L.P.

Dear Mr. Cottman:

        As you may be aware, I have recently been retained to replace Kevin Flynn as the Director
of the Class A stock for Media Station, Inc., Tunbridge, Inc., Scarborough Mews, Inc. and Ventura,
Inc. I am confident that we can work together in a positive and profitable relationship, and you
can reach out to me anytime to discuss these businesses.

         I am familiar with the proposed loans from New York Community Bank to Media Station,
L.P. and Tunbridge, L.P. As you know, my predecessor Kevin Flynn had reserved the right to
approve the amount of the loan and other terms. Nevertheless, you have proceeded unilaterally by
setting the loan amounts as well as the language of the note, mortgage and related loan documents.
We learned yesterday that these loans were scheduled to close tomorrow, February 22,2018, and
that the last condition of the loan closing was the submission of the Ownership and I.D. Forms for
Bodo Family of Media Limited Partnership, which need to be signed by Deborah Convery and
Shirley Bodo. I am attaching those signed forms, and consent to their submission to the bank,
provided that the following conditions are satisfied:

           1.   AptRentz, LLC shall not receive payments or act as the construction manager or
                property manager. An independent construction manager shall be retained no later
                than March 6,2018 to oversee the renovation projects and the spending of the loan
                proceeds, with full transparency being provided as to the spending of the loan
                proceeds. Branch Coslett and maintenance supervisor Richard Beckley met with
                and apparently approved of Bob Ellis as a prospective construction manager, and
                we would agree to Bob's appointment if you would also agree.

           2.   No later than March 6,2018, an independent advisor/director shall be appointed
                pursuant to Section 4.03(b) of the Bylaws.
   Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 244 of 465




           3.   Section 11.1(ll) of the proposed Mortgages and section 14 of the Commitment
                Letters contain a representation and warranty that that there is no suit pending
                against or affecting the Borrower or any Principal of the Bonower (either direct or
                indirect), so these terms must be modified in light of the pending suit, or the suit
                must be discontinued before closing on the loans.



        Provided that the above conditions are met, you are authorized to submit the attached forms
to the bank, and to proceed with the closing on the loans.

       I look forward to a very positive and profitable relationship going forward.

                                                         yours,




       Michael N. onufrak, Esquire (wlencl.) (via E-Mail: @whiteandwilliams.com)
       Guy N. Paolino, Esquire (w/encl.) (Via E-Mail: gpaolino@fbpdlaw.com)
       Dr. H. Branch Coslett (w/encl.) (Via E-Mail: hbc@mail.med.upenn.edu)
       Edward P. Lawlor, Esquire (wlencl.) (Via E-Mail: elawlor3@gmail.com)
       H. Fintan McHugh, Esquire (w/encl.) (Via E-Mail: hfm@petrikin.com)
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                         Exhibit I
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Brooke Cothan




July 30, 2018

By E-Mail

Jarnes F. Proud, Esquire
201 W. Front Street
Medi4 PA 19063

Dr. H. Branch Coslett
2003 Wallace Street
Philadelphia, PA 19130

Re. Payments to AptRenE,      LLC
Gentlemen:

As you know, the Directors of Tunbridge and Scarborough Mews recently voted in favor of
paFng AptRentz the past-due management and renovation fees owed under its contacts with
Tunbridge and Scarborough Mews. The vote was 2-0 in favor of issuing the payments. I note
that Jim Proud refused to vote despite serving as the Director for the Bodo family stockholders.
Please be advised that the payments have been made to AptRentz and the detailsshould be
available on AppFolio.

With respect to Media Station, it was and is my position that the previous Director for the Bodo
family interests (Kevin Fly..) approved the AptRentz contact for Media Station. The terms of
AptRentz's agreement with Media Station are similar to those in place for Tunbridge. The total
past due management and renovation fees due AptRentz from Media Station is currently
$t70,463.23.

N-otwithstanding Kevin Flynn's prior approval of the AptRentz-Media Station agreement, in an
effort to avoid additional conflict I proposed that the current Directors of Media Station vote on
whether to authorize payment of the fimds. Despite my numerous pleas, as well as those of my
attorneys, Jim Proud refused to vote on the issue when it was raised at the meeting and has noi
met with me or my attomeys to discuss this matter afterwards. My attorney sent detailed
information about the AptRentz debt to Jim and offered to meet with him to resolve the issue.

At present it is unclear whether Jim Proud intends to take action to discharge his duties as a
Director of Media Station. It is also unclear whether Jim Proud is a full-fledged Director having
all of the powers, rights, and responsibilities bestowed upon a Director underPennsylvania law.
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Under the circt'mstances, I intend to pay the disputed sum of $170,463 .23 intoescrow
                                                                                      on the
fust of August.

I   ask Jim to call me   ormy attorney to resolve this issue.

Sincerely,



Brooke P. Cottnan


cc:      Guy Paolino, Esquire
         Michael N. Onufralq Esquire
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       Lrnler the circumstaaces, I intend to pa1' the disputcd sum of    $ 170   ,#3.z1inre cxrorv or   the
       first olAugust.

       I ask Jim to call   nae   or.qy attorney & rqsohe this   issue,

      Sincerely.

    -T3r.-}u-J(
      tsrookeP. Cortman
                                    W
      cc:     Guy Paolinr, Esgrrirc
              Mishasl N. Onuhr!, Esquire
       Case 2:22-cv-00108-PD Document 1-1 Filed 01/11/22 Page 249 of 465




IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                       CIVIL ACTION-LAW


Bodo Family, LLC t/a Bodo Family of Media              :
Limited Partnership, et al                                             No. CV-2021-001678
                                                       :
                       Plaintiffs
                                                       :
               v.
                                                    :
Cynthia Cottman aka Cindy Cottman and Virginia
Palusky aka Virginia Powell Cottman Palusky         :
as personal representatives of the Estate of Brooke
Powell Cottman, et al                               :

                       Defendants                      :

                                    CERTIFICATE OF SERVICE

       I, Eugene F. Jarrell, III, Esquire, attorney for Plaintiffs hereby certify that a true and

correct copy of the Plaintiffs’ Petition to Open Judgment of Non Pros Pursuant to Pa.R.C.P.

237.3 in the above action was served this date in the manner indicated as follows:

Delaware County efiling system mail to the following:

Mark S. Haltzman, Esquire
Silverang, Rosenzweig & Haltzman, LLC
Woodlands Center
900 E. 8th Avenue, Suite 300
King of Prussia, PA 19406
Attorney for Defendant Cottman Family, LLC t/a Cottman Family Limited
Partnership

First Class mail to the following:

Cynthia Cottman
254 Stanwich Road
Greenwich, CT 06830

Virginia Palusky
6827 Van Hyning Road
Deansboro, NY 13328
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Media Station, Inc.
340 Media Station Road
Media, PA 19063

Tunbridge, Inc.
340 Media Station Road
Media, PA 19063

Scarborough Mews, Inc.
340 Media Station Road
Media, PA 19063



Date: April 12, 2021                     /s/ Eugene F. Jarrell, III
                                         Eugene F. Jarrell, III
                                         Attorney I.D. No. 34748
                                         Attorney for Petitioners/Plaintiffs
                                         334 W. Front Street
                                         Media, PA 19063
                                         (610) 565-6130
                                         efjarrell@gmail.com
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            EXHIBIT 6
E-Filing - Case View - CV-2021-001678      E-Filing - Case View - CV-2021-001678   https://delcoefile.co.delaware.pa.us/case/view?...
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                                        Date   Description




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            EXHIBIT 7
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BODO FAMILY LLC,                                  :
              Plaintiff,                          :
                                                  :
            v.                                    :       Civ. No. 21-2150
                                                  :
CYNTHIA COTTMAN, et al.,                          :
             Defendants.                          :

                                             ORDER

         Plaintiff Bodo Family LLC asks me to remand this matter to state court and impose counsel

fees on Defendants. I will remand (because removal was premature), but decline to impose counsel

fees.

    I.      PROCEDURAL BACKGROUND

         On February 16, 2021, Plaintiff filed a Praecipe for Writ of Summons in the Delaware

County Common Pleas Court. (Doc. Nos. 4, 6-2.) That court issued a Writ of Summons later that

day. (Id.) After Defendants were served, on February 25, 2021, Defendant Cottman Family LLC

filed a Praecipe for Rule to File a Complaint. (Doc. No. 6-4.) Plaintiff failed to file its complaint

within the prescribed 20-day period. (Doc. Nos. 4, 6.)

         Accordingly, on March 31, 2021, Defendants filed a Praecipe to Enter Judgment of Non

Pros. (Id.) Judgment was entered against Plaintiff for failure timely to file a complaint. (Doc.

No. 6-5.) On April 12, 2021, Plaintiff submitted a Petition to Open Judgment of Non Pros,

asserting that Plaintiff’s attorney had never received notifications about the earlier filings so was

unaware of the (now lapsed) deadline to file the complaint. (Doc. No. 6-6.) Plaintiff attached a

proposed complaint to that petition. (Id.) Before the court ruled on the petition, on May 11, 2021,

Defendants removed. (Doc. No. 1.)

         On June 3, 2021, Plaintiff moved to remand, arguing that because the state court had not
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yet ruled on its Petition to Open Judgment of Non Pros, there was no active complaint and removal

was premature. (Doc. No. 4.) Defendants oppose remand. (Doc. No. 6.)

   II.       LEGAL STANDARD

          “[T]he party asserting federal jurisdiction in a removal case bears the burden of showing,

at all stages of litigation, that the case is properly before the federal court.” Frederico v. Home

Depot, 507 F.3d 188, 193 (3d Cir. 2007) (citations omitted). “The removal statutes ‘are to be

strictly construed against removal and all doubts should be resolved in favor of remand.’” Boyer

v. Snap-On Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990) (citation omitted).

   III.      DISCUSSION

          A defendant may file a notice of removal “within 30 days after the receipt by the defendant,

through service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon

which such action or proceeding is based, or within 30 days after the service of summons upon the

defendant if such initial pleading has then been filed in court and is not required to be served on

the defendant, whichever period is shorter.” 28 U.S.C. § 1446(b). That “initial pleading” is

typically a complaint. Significantly, the Third Circuit has held that “a writ of summons alone”

cannot “be the ‘initial pleading’ that triggers the 30-day period for removal.”            Sikirica v.

Nationwide Ins. Co., 416 F.3d 214, 223 (3d Cir. 2005).

          Here, the state court had not yet ruled on Plaintiff’s Petition to Open Judgment of Non

Pros, to which Plaintiff had attached only a proposed complaint. There is thus no “initial pleading”

in this matter, and removal was improper. See Laborde v. Mount Airy Casino, 2015 WL 2219454,

at *3 (M.D. Pa. May 11, 2015) (“Only if the Judgment Non Pros is lifted can this ‘proposed’

Complaint become the operative Complaint, thus triggering Defendant's right of removal.”);

Century Indemnification Co. v. URS Corp., 2008 WL 2856395, at *2 (E.D. Pa. 2008) (a proposed

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complaint is “nothing more than an exhibit to a motion” and does not enable removal); see also

Benhoff v. SK Travel, LLC, 2014 WL 5780945, at *3 (E.D. Pa. Nov. 6, 2014). Defendants’

assertion that Plaintiff’s writ of summons constitutes an initial pleading in this matter is simply

wrong. See Sikirica, 416 F.3d at 222. I will thus grant Plaintiff’s Motion and remand this matter.

         I decline to award counsel fees under 28 U.S.C. § 1447(c).

   IV.        CONCLUSION

         AND NOW, this 21st day of June, 2021, upon consideration of Plaintiff’s Motion to

Remand (Doc. No. 4) and Defendants’ Response (Doc. No. 6) it is hereby ORDERED as follows:

         1.     Plaintiff’s Motion to Remand (Doc. No. 4) is GRANTED;

         2.     Plaintiff’s request for counsel fees is DENIED;

         3.     This case is REMANDED to the Delaware County Common Pleas Court; and

         4.     The Clerk of Court shall CLOSE this case.


                                                            AND IT IS SO ORDERED.

                                                            /s/ Paul S. Diamond
                                                            ________________________
                                                            Paul S. Diamond, J.




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            EXHIBIT 8
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IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY PENNSYLVANIA


Bodo Family LLC t/a Bodo Family of Media                     No CV 2021 001678
Limited Partnership directly and derivativer
on behalf of Media Station Inc t/a Media
Station LP Turnbridge inc t/a Turnbridge LP
Scarborough Mews Inc t/a Scarborough Mews

                              Plaintiff
             v
Cynthia Cottman a/k/a Cindy Cottman and
Virginia Palusky a/k/a Virginia Powell Cottman
Palusky as Personal representatives of the
Estate of Brooke Powell Cottman

Cottman Family LLC t/a Cottman Family
Limited Partnership etal

                              Defendant

            ORDER GRANTING PETITION TO OPEN JUDGMENT OF NON PROS

       AND NOW this 25 i/day of December 2021 upon consideration of Plaintiffs Petition

to Open Judgment of Non Pros Pursuant to Pa R Civ P 237 3 (the Petition )filed by

Petitioners/Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited Partnership et aI

(collectively the Plaintiffs )' Defendants Opposition to Plaintiffs Petition (the Opposition )

filed by Respondents/Defendants Cynthia Cottman Virginia Palusky et aI (collectively the

 Defendants ) and having held a hearing on November 16 2021 (the November 16 Hearing )

at which the above identified counsel and/or parties participated“ it is hereby ORDERED and

DECREED that the Petition is GRANTED

       On February 16 2021 Plaintiffs by and through their attorney Eugene F Jarrell Ill

Esq ( Mr Jarell ) initiated an action against the Defendants via Writ of Summons On or about


1Also present and participating at the November 16 Hearing was Guy Paolino Esq on behalf of the Board of the
Directors of the corporate entity Plaintiffs


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February 25 2021 attorney Mark S Haltzman Esq ( Mr Haltzman ) entered his appearance

on behalf of Defendants and filed a Praecipe for Rule to File a Complaint which resulted in a

Rule being issued upon Plaintiffs to file a Complaint Mr Haltzman certified that the Entry of

Appearance and Praecipe for Rule to File a Complaint were served by U S first class mail to

Mr Jarrell at his address identified on the Praecipe for Writ of Summons 2 When no response

was filed by Defendants Mr Haltzman filed a Praecipe to Enter Judgment Non Pros which

resulted in a Judgment of Non Pros being entered against Plaintiffs on March 31 2021 3 Mr

Jarrell represents that he first became aware that a Judgment had been entered in this action

on March 31 2021 after receiving an email from the Delaware County C Track CMS

Document Distribution System which attached a Rule 236 Notice of Judgment This

purportedly led to Mr Jarrell discovering the previous filings by Mr Haltzman By the instant

Petition Plaintiffs seek to open the Judgment of Non Pros pursuant to Rule 237 3(b)(1)

        Under Rule 237 3 if a petition to open judgment of non pros is filed within ten days after

the entry of a judgment of non pros on the docket the court shall open the judgment if the

proposed complaint states a meritorious cause of action Pa R Civ P 237 3(b)(1) Rule 237 3

presupposes that a petition to open filed within the 10 day period is timely and that a

reasonable explanation for the delay exists See Pa R Civ P 237 3 note



2 Mr Jarrell represents that despite being registered with the Delaware County e file system and being identified
by name address telephone number email address and attorney | D number on the Praecipe for Writ of
Summons he did not receive an email from the Delaware County e ﬁle system regarding Mr Haltzman 5 Entry of
Appearance Praecipe for Rule to File a Complaint or the Rule to File a Complaint to any of the email addresses
registered with the Delaware County e file system Mr Jarrell also maintains that he did not receive the Entry of
Appearance or Praecipe for Rule to File a Complaint purportedly mailed to him

3 Mr Jarrell again represents that he did not receive the Praecipe to Enter Judgment of Non Pros or any of its
accompanying exhibits or other ﬁlings from the Delaware County e file system to any of his registered email
addresses The Praecipe to Enter Judgment filed by Mr Haltzman included a certiﬁcation that a 10 day notice of
intent to enter a Judgment of Non Pros along with the certificate of service was served by first class mail to Mr
Jarrell and Bodo Family LLC on March 19 2021 Mr Jarrell maintains that did not receive the 10 day notice and
certificate of service purportedly mailed on March 19 2021

                                                        2
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         In the instant case the Petition was filed on Monday April 12 2021 which is

considered timely because the tenth day             April 10 2021        fell on Saturday See Pa R Civ P

106(b) In addition the Court finds reasonable Mr Jarrell s explanation for the delay in filing

the Complaint Defendants argue however that Plaintiffs cannot meet the final requirement of

Rule 237 3 because Plaintiffs proposed Complaint does not state a meritorious cause of

action Defendants assert that because Plaintiffs seek to bring a series of derivative claims but

have not satisfied the prerequisites to do so under 15 Pa C S A § 8692 such claims are not

meritorious and therefore the Petition should be denied Specifically Defendants aver that

Plaintiffs have not satisfied the prior demand requirement under section 8692 of the statute 4

         Out of the eleven counts detailed in the proposed Complaint 5 only eight are brought

derivativer on behalf of Plaintiffs While those eight derivative claims did require a prior

demand under section 8692 of the statute 6 the remaining three Counts do not The Court finds

that the direct claims identified in the proposed Complaint state meritorious causes of action as

required by Rule 237 3 7 Thus the Court is compelled under the law to open the judgment

The Court declines the suggestion made at the November 16 Hearing that the Court may

 parse through the Complaint and open the judgment with respect to certain claims but not

others     no legal authority presented to the Court allows such action The Court also agrees


4 Section 8692 requires a plaintiff bringing a derivative action to make a prior demand to the general partners
                                                                                                            if a
requesting that they cause the partnership to bring an action The demand requirement is excused only
fgecific showing is made that immediate and irreparable harm to the limited     partnership would otherwise  result


5 In Plaintiffs proposed Complaint the Counts identifying the causes of action are misnumbered The correct
number of Counts is eleven not nine as represented
                                                                                                        this action The
5 The record reflects that Plaintiffs did not make a demand to the general partners prior to initiating
demand was not made until April      21  2021  See Defs  Ex B

                                                                                           There is no Ianguage
7 Rule 237 3 only requires that the proposed complaint state g meritorious cause of action
requiring each cause of action to be meritorious


                                                           3
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with Plaintiffs counsel that at this juncture and in light of its finding that there is a

meritorious claim apparent on the face of the Complaint it is not appropriate for the Court to

determine whether the demand requirement applicable to the derivative claims should be

excused due to alleged immediate and irreparable harm to the partnership                        the parties may

raise this position at the next appropriate procedural juncture

        For these reasons it is HEREBY ORDERED and DECREED as follows

       1   The Petition is GRANTED

       2 The Judgment of Non Pros is HEREBY OPENED

       3    Plaintiffs shall file the proposed Complaint within 10 days of the date of this Order

            and

       4    Defendants obligation to respond to the Complaint and discovery is HEREBY

            suspended for 60 days from the date of the filing of the Complaint 8

                                                           BY THE COURT




                                                           KELLY D ECKEL J


        cc via email
        Eugene F Jarrell ||| Esquire
        Mark S Haltzman Esquire
        Guy N Paolino Esquire




                                                                                                                 the
8 This temporary stay of certain obligations is imposed at the request of counsel for the Board of Directors of
                                                                           in light of certain steps having been
corporate Plaintiffs who made this request at the November 16 Hearing
                                                                                                          demand
taken by the Board of the Directors after the general partners were served on April 21 2021 with the
required by the statute referenced hereinabove


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            EXHIBIT 9
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IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                       CIVIL ACTION-LAW


Bodo Family, LLC t/a Bodo Family of Media             :
Limited Partnership, directly and derivatively on
behalf of Media Station, Inc. t/a Media Station, a    :   No. CV-2021-001678
limited partnership, Tunbridge, Inc. t/a Tunbridge,
a limited partnership, and Scarborough Mews, Inc.     :
t/a Scarborough Mews, a limited partnership
202 Coventry Lane                                     :
Media, PA 19063
                                                      :
                      Plaintiffs
                                                      :
                      v.
                                                      :
Cynthia Cottman aka Cindy Cottman and Virginia
Palusky aka Virginia Powell Cottman Palusky as :
Personal representatives of the Estate of Brooke
Powell Cottman                                   :
254 Stanwich Road
Greenwich, CT 06830                              :

Cottman Family, LLC t/a Cottman Family Limited :
Partnership
340 Media Station Road                           :
Media, PA 19063
                                                 :
Cynthia Cottman aka Cindy Cottman,
254 Stanwich Road                                :
Greenwich, CT 06830
                                                 :
Virginia Powell Cottman Palusky,
6827 Van Hyning Road                             :
Deansboro, NY 13328
                                                 :
Media Station, Inc. t/a Media Station, a limited
partnership                                      :
340 Media Station Road
Media, PA 19063                                  :

Tunbridge, Inc. t/a Tunbridge, a limited partnership :
340 Media Station Road
Media, PA 19063                                      :
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Scarborough Mews, Inc. t/a Scarborough Mews,
a limited partnership                          :
340 Media Station Road
Media, PA 19063                                :

                    Defendants                 :




                                 NOTICE TO DEFEND

     YOU HAVE BEEN SUED IN COURT. IF YOU WISH TO DEFEND AGAINST THE
CLAIMS SET FORTH IN THE FOLLOWING PAGES, YOU MUST TAKE ACTION WITHIN
TWENTY (20) DAYS AFTER THIS COMPLAINT IS SERVED BY ENTERING A WRITTEN
APPEARANCE PERSONALLY OR BY ATTORNEY AND FILING IN WRITING WITH
THE COURT YOUR DEFENSES OR OBJECTIONS TO THE CLAIMS SET FORTH
AGAINST YOU. YOU ARE WARNED THAT IF YOU FAIL TO DO SO THE CASE MAY
PROCEED WITHOUT YOU AND A JUDGMENT MAY BE ENTERED AGAINST YOU BY
THE COURT WITHOUT FURTHER NOTICE FOR ANY MONEY CLAIMED IN THE
COMPLAINT OR FOR ANY OTHER CLAIM OR RELIEF REQUESTED BY THE
PLAINTIFFS.  YOU MAY LOSE MONEY OR PROPERTY OR OTHER RIGHTS
IMPORTANT TO YOU.

     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.

                          LAWYERS' REFERENCE SERVICE
                           FRONT AND LEMON STREETS
                               MEDIA, PA 19063
                                 (610) 565-6625
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IN THE COURT OF COMMON PLEAS OF DELAWARE COUNTY, PENNSYLVANIA
                       CIVIL ACTION-LAW


Bodo Family, LLC t/a Bodo Family of Media             :
Limited Partnership, directly and derivatively on
behalf of Media Station, Inc. t/a Media Station, a    :   No. CV-2021-001678
limited partnership, Tunbridge, Inc. t/a Tunbridge,
a limited partnership, and Scarborough Mews, Inc.     :
t/a Scarborough Mews, a limited partnership
202 Coventry Lane                                     :
Media, PA 19063
                                                      :
                      Plaintiffs
                                                      :
                      v.
                                                      :
Cynthia Cottman aka Cindy Cottman and Virginia
Palusky aka Virginia Powell Cottman Palusky as :
Personal representatives of the Estate of Brooke
Powell Cottman                                   :
254 Stanwich Road
Greenwich, CT 06830                              :

Cottman Family, LLC t/a Cottman Family Limited :
Partnership
340 Media Station Road                           :
Media, PA 19063
                                                 :
Cynthia Cottman aka Cindy Cottman,
254 Stanwich Road                                :
Greenwich, CT 06830
                                                 :
Virginia Powell Cottman Palusky,
6827 Van Hyning Road                             :
Deansboro, NY 13328
                                                 :
Media Station, Inc. t/a Media Station, a limited
partnership                                      :
340 Media Station Road
Media, PA 19063                                  :

Tunbridge, Inc. t/a Tunbridge, a limited partnership :
340 Media Station Road
Media, PA 19063                                      :



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Scarborough Mews, Inc. t/a Scarborough Mews,
a limited partnership                               :
340 Media Station Road
Media, PA 19063                                     :

                       Defendants                   :


                                        COMPLAINT

1.     Plaintiff Bodo Family LLC is a limited liability company organized and existing under the

laws of the Commonwealth of Pennsylvania with a place of business at 580 S. Heilbron Drive,

Media, Pennsylvania 19063.

2.     Plaintiff Bodo Family of Media Limited Partnership is a limited partnership organized and

existing under the laws of the Commonwealth of Pennsylvania with a place of business at 580 S.

Heilbron Drive, Media, Pennsylvania 19063.

3.     Plaintiff Bodo Family LLC is the general partner to Plaintiff Bodo Family of Media

Limited Partnership.

4.     Plaintiff Media Station Inc. is a corporation organized and existing under the laws of the

Commonwealth of Pennsylvania and is the corporate general partner of Plaintiff Media Station, a

limited partnership organized and existing under the laws of the Commonwealth of Pennsylvania

(“Media Station LP”) with a registered address and place of business at 340 Media Station Road,

Media, PA 19063.

5.     Plaintiff Tunbridge Inc. is a corporation organized and existing under the laws of the

Commonwealth of Pennsylvania and is the corporate general partner of Plaintiff Tunbridge, a

limited partnership organized and existing under the laws of the Commonwealth of Pennsylvania

(“Tunbridge LP) with a registered address at 340 Media Station Road, Media, PA 19063.




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6.     Plaintiff Scarborough Mews Inc. is a corporation organized and existing under the laws of

the Commonwealth of Pennsylvania and is the corporate general partner of Plaintiff Scarborough

Mews, a limited partnership organized and existing under the laws of the Commonwealth of

Pennsylvania (“Scarborough Mews LP”) with a registered address at 340 Media Station Road,

Media, PA 19063.

7.     Defendant Cynthia Cottman aka Cindy Cottman is an adult individual residing at 354

Stanwich Road, Greenwich, Connecticut 06830 and is a Personal Representative of the Estate of

Brooke Powell Cottman, deceased.

8.     Defendant Virginia Palusky aka Virginia Powell Cottman Palusky is an adult individual

residing at 6827 Van Hyning Road, Deansboro, New York 13328 and is a Personal Representative

of the Estate of Brooke Powell Cottman, deceased.

9.     Defendant Cottman Family, LLC is a limited liability company organized and existing

under the laws of the Commonwealth of Pennsylvania and is a general partner of Defendant

Cottman Family Limited Partnership (“Cottman Family LP”), a limited partnership organized and

existing under the laws of the Commonwealth of Pennsylvania with a registered address of at 340

Media Station Road, Media, Pennsylvania 19063.

10.    Defendant Media Station, Inc. t/a Media Station LP, Tunbridge, Inc. t/a Tunbridge, and

Scarborough Mews, Inc. t/a Scarborough Mews LP are identified herein as nominal defendants.

11.    Brooke Powell Cottman (hereinafter “Brooke Cottman”) died February 13, 2020.

12.    Prior to his death, Brooke Cottman was at all relevant times hereto was a general partner

of Defendant Cottman Family Limited Partnership.

13.    On or about March 9, 2021, Defendants Cynthia Cottman and Virginia Palusky were each

appointed as Executrix and Personal Representative of the Estate of Brooke Cottman. Subsequent



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to Brooke Cottman’s death, it is believed that the Estate of Brooke Cottman, through the Personal

Representatives, was a general partner of Cottman Family Limited Partnership.

14.    Media Station LP, Tunbridge LP and Scarborough Mews LP (collectively, the “Limited

Partnerships”) were formed as single-purpose entities that own real estate and multi-family

housing units located in Delaware County, Pennsylvania.

15.    Media Station LP owns Media Station Apartments located at 340 Media Station Road,

Media, Delaware County, Pennsylvania 19063.

16.    Tunbridge LP owns Tunbridge Apartments located at 274 Glen Riddle Road, Media,

Delaware County, Pennsylvania.

17.    Scarborough Mews LP owns the Scarborough Mews Townhouses located at 501 N.

Orange Street, Media, Delaware County, Pennsylvania.

18.    Media Station LP was formed by Brooke Cottman and Lajos “Lou” Bodo, each of whom

owned an equal interest in the limited partnership.

19.    Tunbridge LP and Scarborough Mews LP were formed by Brooke Cottman, Lou Bodo,

and Edward W. Coslett, Jr., each of whom owned an equal interest in the limited partnership.

20.    Brooke Cottman and Lou Bodo also formed a separate entity, Media Station, Inc., to act

as the corporate general partner for Media Station LP.

21.    Brooke Cottman, Lou Bodo, and Edward W. Coslett, Jr. also formed separate entities,

Tunbridge, Inc. and Scarborough Mews, Inc., to act as the corporate general partner for

Tunbridge LP and Scarborough Mews LP.

22.    Over time, Brooke Cottman’s limited partner interests in the Limited Partnerships were

transferred to the Cottman Family Limited Partnership.




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23.    Over time, Lou Bodo’s limited partner interests in the Limited Partnerships were

transferred to the Bodo Family of Media Limited Partnership.

24.    Over time, Edward W. Coslett, Jr.’s limited partner interests in the Limited Partnerships

were transferred to his family members and related entities collectively referred to as the Coslett

Limited Partners.

25.    Prior to his death, and at all relevant times prior thereto, Brooke P. Cottman was President

and a board Director Media Station, Inc., Tunbridge, Inc. and Scarborough Mews, Inc.

26.    At the time of the formation of Media Station, Inc., its shareholders were Brooke

Cottman (500 shares of Class B stock) and Lou Bodo (500 shares of Class A stock).

27.    In March 2014, Lou Bodo died.

28.    At the time of the formation of Tunbridge Inc. and Scarborough Mews, Inc., its

shareholders were Lou Bodo (Class A stock), Brooke Cottman (Class B stock) and Edward W.

Coslett, Jr. (Class C stock) each Class representing an equal ownership of Tunbridge Inc. and

Scarborough Mews, Inc.

29.    Upon his death, Lou Bodo’s shares in Media Station, Inc., Tunbridge, Inc., and

Scarborough Mews, Inc. were transferred in equal share amounts to his daughters, Shirley Bodo

and Deborah Convery.

30.    Prior to his death, Brooke Cottman remained owner of the 500 Class B shares of the

stock of Media Station, Inc.

31.    The affairs of Media Station, Inc. are governed by the company’s Bylaws, which were

adopted by the unanimous written consent of its shareholders on or about September 8, 2011. A

true and correct copy of the Bylaws of Media Station, Inc. (the “Bylaws”) is attached hereto as

Exhibit A.



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32.    Under the Bylaws, the Board of Directors of Media Station, Inc. is to consist of two

Directors, one to be elected by the Class A shareholders and one to be elected by the Class B

shareholders. See Bylaws, at § 4.03(a) (Exhibit A).

33.    Until his death, Brooke Cottman served as the Class B Director of Media Station, Inc.

34.    At all times relevant prior to his death, Brooke Cottman served as the Class B Director

for Media Station, Inc., Tunbridge, Inc., and Scarborough Mews, Inc.

35.    Prior to his death, Brooke Cottman remained owner of the Class B shares of the stock of

Tunbridge Inc. and Scarborough Mews, Inc.

36.    The affairs of Tunbridge, Inc. are governed by the company’s Bylaws, which were

adopted by the unanimous written consent of its shareholders on or about September 8, 2011. A

true and correct copy of the Bylaws of Tunbridge, Inc. (the “Bylaws”) is attached hereto as

Exhibit B.

37.    Under the Bylaws, the Board of Directors of Tunbridge, Inc. is to consist of three

Directors, one to be elected by the Class A shareholders, one to be elected by the Class B

shareholders and one elected by the Class C shareholder. See Bylaws, at § 4.03(a) (Exhibit B).

38.    The affairs of Scarborough Mews, Inc. are governed by the company’s Bylaws, which

were adopted by the unanimous written consent of its shareholders on or about September 8,

2011. A true and correct copy of the Bylaws of Scarborough Mews, Inc. (the “Bylaws”) is

attached hereto as Exhibit C.

39.    Under the Bylaws, the Board of Directors of Scarborough Mews, Inc. is to consist of three

Directors, one to be elected by the Class A shareholders, one to be elected by the Class B

shareholders and one elected by the Class C shareholder. See Bylaws, at § 4.03(a) (Exhibit C).




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40.    Each of the Bylaws was signed and consented to by Brooke Cottman as a shareholder of

Media Station Inc., Tunbridge, Inc. and Scarborough Mews, Inc.

41.    Until his death, Brooke Cottman served as the Class B Director of Tunbridge Inc. and

Scarborough Mews, Inc.

42.    Brooke Cottman served as the President and Secretary of Media Station, Inc., Tunbridge,

Inc., and Scarborough Mews, Inc., and served in those capacities until his death.

43.    The By-Laws for Media Station, Inc., Tunbridge, Inc. and Scarborough Mews, Inc., each

provide at Section 4.01 (a), that “the business and affairs of the Corporation shall be managed

under the direction of the board of directors”. Further, Section 5.08 provides that the president,

who is subject “to the control of the board of directors”, is authorized to sign only those contracts

which are “authorized by the board of directors”.

44.    Section 4.03(b) of each of the By-Laws provides that the “shareholders shall cast votes to

select an independent advisor once annually at the same time the shareholders cast votes to elect

the directors.” In the event that the “board is unable to reach a resolution by the required number

of director votes on a particular matter or issue… The independent advisor will be permitted to

cast one vote as if he or she were a director with the sole purpose of breaking the deadlock.”

[Emphasis added].

45.    Following the resignation of the last of the independent advisers for the Media Station

Inc., Tunbridge Inc. and Scarborough Mews Inc., which occurred prior to 2015, a vacancy

existed for the role of independent advisor for each of the corporate general partners until 2020.

46.    As a result of the independent advisor vacancy for Media Station, Inc., a deadlock existed

regarding multiple matters and issues, including, but not limited to, the appointment of officers,




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particularly the president, as well as significant other issues, such as renovations, management and

financial issues.

47.     As a result of the independent advisor vacancy for Tunbridge Inc. and Scarborough

Mews Inc., a deadlock existed regarding multiple matters and issues, including, but not limited

to, the appointment of officers, particularly the president, as well as significant other issues, such

as renovations, management and financial issues.

48.     As the President of Media Station Inc., Tunbridge Inc. and Scarborough Mews Inc.,

Brooke Cottman exercised unilateral control and adverse domination over the corporations and

therefore exercised unilateral control and adverse domination of the respective Limited

Partnership of Media Station LP, Tunbridge LP and Scarborough Mews LP.

49.     In May 2017, Brooke Cottman formed AptRentz LLC, and he directed the filing of a

Certificate of Organization on May 24, 2017 with the Commonwealth of Pennsylvania,

Department of State, for AptRentz, LLC, a limited liability company organized and existing under

the laws of the Commonwealth of Pennsylvania (hereafter “AptRentz”).

50.     Prior to the death of Brooke Cottman, AptRentz was directly and/or indirectly owned by

Brooke Cottman, and his children and/or grandchildren, Cynthia Cottman, Virginia Palusky and/or

Graham Palusky, or entities controlled by Brooke Cottman and/or such persons.

51.     Since the death of Brooke Cottman, AptRentz has been directly and/or indirectly owned

by the Estate of Brooke Cottman, and the children and/or grandchildren of Brooke Cottman,

Cynthia Cottman, Virginia Palusky and/or Graham Palusky, or entities controlled by the Estate of

Brooke Cottman and/or such persons.

52.     Brooke Cottman formed AptRentz to act as a management company for Media Station LP,

Tunbridge LP and Scarborough Mews LP with the intent of receiving management fees and other


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payments from the Limited Partnerships and to divert profits from the Limited Partnerships and

distributions from being made to the limited partner or partners of the Limited Partnerships.

53.    Brooke Cottman’s intent in creating AptRentz was to divert profits from Media Station LP

and other distributions that would be due and owing to Bodo Family of Media Limited Partnership.

54.    Brooke Cottman’s intent was to divert profits from Tunbridge LP and Scarborough Mews

LP and other distributions to the limited partners Bodo Family of Media Limited Partnership and

the Coslett Limited Partnership.

55.    On June 12, 2017, Brooke Cottman, as President of Media Station Inc., on behalf of Media

Station Limited Partnership, unilaterally entered into a management agreement with AptRentz for

the management of Media Station Apartments. A copy of the AptRentz agreement is attached

hereto and made part of and marked Exhibit D.

56.    On June 12, 2017, Brooke Cottman, as President of Tunbridge Inc., on behalf of Tunbridge

Limited Partnership, unilaterally entered into a management agreement with AptRentz for the

management of Tunbridge Apartments. A copy of the AptRentz agreement is attached hereto and

made part of and marked Exhibit E.

57.    On June 12, 2017, Brooke Cottman, as President of Scarborough Mews Inc., on behalf of

Scarborough Mews LP, unilaterally entered into a management agreement with AptRentz for the

management of Scarborough Mews Apartments. A copy of the AptRentz agreement is attached

hereto, made part hereof and marked Exhibit F.

58.    The AptRentz agreements created by Brooke Cottman were standard form property

management contracts which are available online, however Brooke Cottman altered the language

of the standard form contract to exclude basic protections afforded the property owner, including




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payment obligations to the property owner. See the standard form property management contract

attached as Exhibit G.

59.    Each of the AptRentz agreements is essentially identical in its terms and conditions which

terms were not negotiated at arm’s length but rather written to favor AptRentz and insulate

AptRentz from the scrutiny of Bodo Family of Media Limited Partnership and the Coslett Limited

Partners to the detriment of Media Station LP, Tunbridge LP, Scarborough Mews LP, Bodo Family

of Media Limited Partnership and the Coslett Limited Partners.

60.    These management agreements were each signed by Jennie Mopsik, identified as

“Managing Agent” of AptRentz, LLC who was hired by Brooke Cottman.

61.    The Pennsylvania Real Estate Licensing and Registration Act (“RELRA”), 63 P.S. §§

455.101 et seq, specifically 63 P.S. § 455.301, requires that AptRentz LLC be a licensed entity

with a registered broker of record in order to act as property manager.

62.    AptRentz has not been a RELRA licensed entity with a registered broker of record.

63.    The AptRentz management agreements are illegal.

64.    Section 8.04 (a) of each of the By-Laws provides that “a contract or transaction between

the corporation and one or more of its directors or officers, or between the Corporation in another

Corporation… or other enterprise in which one or more of its directors and officers… have a

financial or other interest, shall not be void or voidable solely for that reason… if:

               (1) the material facts as to the relationship or interest and as to the contract or

               transaction are disclosed or are known to the Board of Directors and the board

               authorizes the contract or transaction by the affirmative vote of a majority of

               the disinterested directors even though the disinterested directors are less than

               a quorum.” [Emphasis added].


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65.    Section 8.04 (a) of the By-Laws govern the required process of approval of the AptRentz

management agreements as a result of Brooke Cottman’s financial and other interests in AptRentz,

and is consistent with the requirements set forth in 15 Pa.C.S.A. §1728(a) concerning interested

directors and officers.

66.    Brooke Cottman entered into all three of the AptRentz management agreement without

seeking a vote of the Directors of the corporate general partners to approve the agreements, or even

notifying the other Directors until after the agreements were executed.

67.    Brooke Cottman entering into the AptRentz management agreements was not in the best

interests of the Media Station Inc., Tunbridge Inc., or Scarborough Mews Inc., or any of the

Limited Partnerships.

68.    By the terms of Section 8.04 (a) of the Media Station By-Laws, the contract between

AptRentz and Media Station LP required approval by the affirmative vote of the sole disinterested

director of the Class A shares, Kevin Flynn, or his successor, James Proud, Esquire, both of whom

were directors appointed by Deborah Convery and Shirley Bodo.

69.    By the terms of Section 8.04 (a) of the Tunbridge, Inc. and Scarborough Mews, Inc. By-

Laws, the contract between AptRentz and Tunbridge LP and Scarborough Mews LP required

approval by the affirmative vote of the two disinterested directors, Branch Coslett (for the Coslett

related Class C shareholders), and Kevin Flynn, or his successor, James Proud, Esquire for the

Class A shareholder. In the event of a tie vote between the two disinterested directors, the tie-

breaking vote would be cast by the independent advisor.

70.    A resolution for the approval of the contracts between the AptRentz and Media Station,

Tunbridge, and Scarborough Mews was never put to a vote of the Directors or shareholders of

Media Station, Inc., Tunbridge, Inc. or Scarborough Mews, Inc.


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71.      Despite Brooke Cottman’s allegations to the contrary, Flynn never approved of the

contracts between AptRentz and Media Station LP, Tunbridge LP, or Scarborough Mews LP in

any of their discussions on June 13, 2017, or at any other time.

72.      To the contrary, Kevin Flynn expressly disapproved of the AptRentz contracts and their

terms.

73.      Flynn’s successor, James Proud, never approved of the AptRentz contracts.

74.      Following June 12, 2017, AptRentz began taking ever increasing control of the financial

aspects of Media Station LP, Tunbridge LP and Scarborough Mews LP, eventually taking control

over receipt of all tenant rent payments and security deposits, lease executions and the payment of

its own management fees and compensation, all in violation of the RELRA statutes.

75.      This control included opening one or more accounts with financial institutions to directly

receive all tenant rent payments and security deposits of the Limited Partnerships, and used these

accounts for the payment of management and other fees to itself, all in violation of the RELRA

statutes.

76.      AptRentz does not manage any other apartment complexes.

77.      AptRentz performs little or no services set forth in the management agreements, but rather

the services of operating the residential rental properties of the Limited Partnerships, and

remodeling of the rental units, continues to be undertaken by the staff employed and paid by the

Limited Partnerships, as it had been prior to the existence of the management agreements with

AptRentz.

78.      On February 21, 2018, James Proud as the Class A shareholder Director of Media Station,

Inc., Tunbridge, Inc., and Scarborough Mews, Inc., wrote a letter to Brooke Cottman concerning,

among other things, the AptRentz management agreements and in reply to requests made to Bodo

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Family of Media Limited Partnership, and Shirley Bodo and Deborah Convery for signed

documentation and consents relating to proposed loans from New York Community Bank to Media

Station LP and Tunbridge LP. A copy of the February 21, 2018 Proud letter is attached hereto,

made a part hereof and marked as Exhibit H.

79.     With the letter, James Proud enclosed the signed documentation requested of Bodo Family

of Media Limited Partnership, Shirley Bodo and Deborah Convery, and consented to their

submission to the Bank, conditioned upon AptRentz not acting as Construction manager or

property manager.

80.    Brooke Cottman received the Proud letter and signed documentation, and submitted the

documentation to the Bank, thereby agreeing to and accepting the terms of their usage.

81.    Thereafter, Brooke Cottman failed to terminate the AptRentz property management

agreements.

82.    On July 30, 2018, Cottman circulated a letter via email in which he described votes which

never occurred and informed the other two directors that he had already directed payments

exceeding $52,000 to his entity, AptRentz, and was intending to pay $170,463.23 into escrow on

August 1, 2018. The July 30, 2018 letter is attached hereto as Exhibit I.

83.    Brooke Cottman either failed to pay any such amounts into an escrow account or failed to

maintain the escrow, as no Cottman director or other representative of the Cottman parties will

supply evidence of its existence.

84.    From June 12, 2017 until his death, Brooke Cottman directed payments from the Limited

Partnerships to AptRentz and distributions and/or other payments from AptRentz to himself, which

payments were not in the best interests of the Limited Partnerships or their respective corporate

general partners.



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85.    During the same period Brooke Cottman directed distributions and other payments to

Cindy Cottman, Virginia Palusky and/or Graham Palusky from AptRentz, which payments were

not in the best interests of the Limited Partnerships or their respective corporate general partners.

86.    At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family Limited Partnership.

87.    Following the death of Brooke Cottman, Cynthia Cottman, Virginia Palusky and/or

Graham Palusky have assumed control of AptRentz, and have caused distributions and other

payments to themselves and/or other entities they control from AptRentz.

88.    Such distributions and payments were not in the best interests of the Limited Partnerships

or their respective corporate general partners.

89.    Following the death of Brooke Cottman, Virginia Palusky became an officer of Media

Station, Inc., and Cynthia Cottman became a director and officer of Tunbridge, Inc. and

Scarborough Mews, Inc.

90.    Since becoming an officer and/or director of Media Station, Inc., Tunbridge, Inc. and/ or

Scarborough Mews, Inc., Cynthia Cottman and Virginia Palusky have continued to receive and/or

cause distributions and other payments from AptRentz to themselves and/or other entities they

control, to the detriment and loss of Bodo Family of Media Limited Partnership, the other limited

partner of Media Station LP, and Bodo Family of Media Limited Partnership and the Coslett

Limited Partners, the other limited partners of Tunbridge LP and Scarborough Mews LP.

91.    Bodo Family LLC t/a Bodo Family of Media Limited Partnership brings the claims stated

herein directly, and derivatively on behalf of Media Station Inc. t/a Media Station LP, Tunbridge

Inc. t/a Tunbridge LP and Scarborough Mews, Inc. t/a Scarborough Mews LP.




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92.     Prior demand to the Limited Partnerships pursuant to 15 Pa.C.S.A § 8692 is excused to

prevent immediate and irreparable harm to the Limited Partnerships by the possible loss of the

tolling of the statute of limitations provided in 20 Pa.C.S.A § 3383 of claims arising from the self-

dealing conduct of Brooke Cottman, Cynthia Cottman and Virginia Palusky described herein.


                                             COUNT I
                                      Breach of Fiduciary Duty

      Bodo Family LLC t/a Bodo Family of Media Limited Partnership v. Cynthia Cottman
        and Virginia Palusky as Personal Representatives of the Estate of Brooke Powell
       Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership, Cynthia
                    Cottman individually and Virginia Palusky individually


93.     The Plaintiffs incorporate by reference the allegations contained in paragraphs one

through 92 above as though fully set forth herein.

94.     Brooke Cottman, as President and Director of Media Station, Inc., Tunbridge, Inc. and

Scarborough Mews, Inc., and the person who exercised unilateral of these corporate general

partners and thereby control over the Limited Partnerships, owed a common law and statutory

fiduciary duty of loyalty (including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c),

and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo Family of Media Limited Partnership as a

limited partner of the Limited Partnerships.

95.     As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

loyalty by forming AptRentz, directing distributions and payments from the Limited Partnerships

to AptRentz, and directing distributions from AptRentz to himself, Cindy Cottman, Virginia

Palusky and/or Graham Palusky.

96.     Following the death of Brooke Cottman, Cynthia Cottman as Director and officer of

Tunbridge, Inc. and Scarborough Mews, Inc. owed a common law and statutory fiduciary duty of



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loyalty (including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b),

(d)) to Bodo Family LLC t/a Bodo Family of Media Limited Partnership as a limited partner of

the Limited Partnerships.

97.    Following the death of Brooke Cottman, Virginia Palusky as officer of Media Station, Inc.,

owed a common law and statutory fiduciary duty of loyalty (including but not limited to 15

Pa.C.S.A. § 512(c), § 1712 (c), and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo Family of

Media Limited Partnership as a limited partner of the Limited Partnerships.

98.    As set forth in detail above, Cynthia Cottman and Virginia Palusky have breached the

fiduciary duty of loyalty by directing distributions and payments to AptRentz, and directing and

or receiving distributions from AptRentz to themselves, Graham Palusky and or other family

members.

99.    As a result of the aforesaid conduct of Brooke Cottman, Cynthia Cottman and Virginia

Palusky, Bodo Family, LLC t/a Bodo Family of Media Limited Partnership has sustained a loss of

distributions and other payments that they were entitled to from Media Station LP, Tunbridge LP

and Scarborough Mews LP.

100.   The above described conduct of Brooke Cottman, Cynthia Cottman and Virginia Palusky

was intentional, outrageous, willful and wanton, done with intent to harm Plaintiffs and in

disregard of their rights entitling Plaintiffs to punitive damages.

101.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.




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102.   Following the death of Brooke Cottman, Cynthia Cottman and Virginia Palusky acted on

behalf of themselves and as agents and representatives of Cottman Family LLC t/a Cottman Family

Limited Partnership acting with express, implied or apparent authority.

103.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited Partnership for the

compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership demand judgment for them and against Cynthia Cottman and Virginia Palusky as

personal representatives of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a

Cottman Family Limited Partnership, Cynthia Cottman individually and Virginia Palusky

individually in an amount of excess of $50,000.00 together with attorneys fees, punitive damages

and costs as allowed by law.



                                          COUNT II
                                    Breach of Fiduciary Duty

   Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf
    of Media Station Inc., t/a Media Station LP v. Cynthia Cottman and Virginia Palusky
    as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman Family
       LLC t/a Cottman Family Limited Partnership and Virginia Palusky individually

104.    The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

103 above as though fully set forth herein.

105.   Brooke Cottman, as President and Director of Media Station, Inc., and the person who

exercised unilateral control thereof and thereby control over Media Station LP, owed a common

law and statutory fiduciary duty of loyalty (including but not limited to 15 Pa.C.S.A. § 512(a), (c),

§ 1712(a), (c), and § 8649(b), (d)) to Media Station LP and Media Station, Inc.



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106.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

loyalty to Media Station LP and Media Station, Inc.by forming AptRentz, directing distributions

and payments to AptRentz from Media Station LP, and directing distributions from AptRentz to

himself, Cindy Cottman, Virginia Palusky and/or Graham Palusky.

107.   Following the death of Brooke Cottman, Virginia Palusky as an officer of Media Station,

Inc. owed a common law and statutory fiduciary duty of loyalty (including but not limited to 15

Pa.C.S.A. § 512 (c), § 1712 (c), and § 8649(b), (d)) to Media Station LP and Media Station, Inc.

108.   Virginia Palusky breached the fiduciary duty of loyalty to Media Station LP and Media

Station, Inc. by receiving payments from AptRentz while an officer of Media Station Inc, and

directing distributions from AptRentz to herself, Virginia Palusky, Graham Palusky and or other

family members.

109.   As a result of the aforesaid conduct of Brooke Cottman and Virginia Palusky, Media

Station LP has sustained a loss of profit which would have been available for distribution to its

other limited partner, Bodo Family of Media Limited Partnership.

110.   The above described conduct of Brooke Cottman and Virginia Palusky was intentional,

outrageous, willful and wanton, done with intent to harm Media Station LP and in disregard of its

rights entitling Media Station LP to punitive damages.

111.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.

112.   Following the death of Brooke Cottman, Virginia Palusky acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.



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113.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Media Station LP for the compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Media Station Inc. t/a Media Station LP demand judgment

for them and against Cynthia Cottman and Virginia Palusky as personal representatives of the

Estate of Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership

and Virginia Palusky individually in an amount of excess of $50,000.00 together with attorneys

fees, punitive damages and costs as allowed by law.

                                         COUNT III
                                   Breach of Fiduciary Duty

Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf of
 Tunbridge Inc., t/a Tunbridge LP v. Cynthia Cottman and Virginia Palusky as Personal
   Representatives of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a
       Cottman Family Limited Partnership and Cynthia Cottman individually

114.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

113 above as though fully set forth herein.

115.   Brooke Cottman, as President and Director of Tunbridge, Inc., and the person who

exercised unilateral control thereof and thereby control over Tunbridge LP, owed a common law

and statutory fiduciary duty of loyalty (including but not limited to 15 Pa.C.S.A. § 512(a), (c), §

1712(a), (c), and or § 8649(b), (d)) to Tunbridge LP and Tunbridge, Inc.

116.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

loyalty to Tunbridge LP and Tunbridge, Inc. by forming AptRentz, directing distributions and

payments to AptRentz from Tunbridge LP, and directing distributions from AptRentz to himself,

Cindy Cottman, Virginia Palusky and/or Graham Palusky.




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117.   Following the death of Brooke Cottman, Cynthia Cottman as an officer and Director of

Tunbridge, Inc. owed a common law and statutory fiduciary duty of loyalty (including but not

limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Tunbridge LP and

Tunbridge, Inc.

118.   As set forth in detail above, Cynthia Cottman breached the fiduciary duty of loyalty to

Tunbridge LP and Tunbridge, Inc. by receiving payments from AptRentz while an officer and

Director of Tunbridge, Inc, and directing distributions from AptRentz to herself, Virginia Palusky,

Graham Palusky and or other family members.

119.   As a result of the aforesaid conduct of Brooke Cottman and Cynthia Cottman, Tunbridge

LP has sustained a loss of profit which would have been available for distribution to its other

limited partner, Bodo Family of Media Limited Partnership.

120.   The above described conduct of Brooke Cottman and Cynthia Cottman was intentional,

outrageous, willful and wanton, done with intent to harm Tunbridge LP and in disregard of its

rights entitling Tunbridge LP to punitive damages.

121.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.

122.   Following the death of Brooke Cottman, Cynthia Cottman acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

123.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Tunbridge LP for the compensatory and punitive damages described above.




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       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Tunbridge Inc. t/a Tunbridge LP demand judgment for them

and against Cynthia Cottman and Virginia Palusky as personal representatives of the Estate of

Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership and

Cynthia Cottman individually in an amount of excess of $50,000.00 together with attorneys fees,

punitive damages and costs as allowed by law.


                                         COUNT IV
                                   Breach of Fiduciary Duty

Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf of
  Scarborough Mews Inc. t/a Scarborough Mews LP v. Cynthia Cottman and Virginia
 Palusky as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman
Family LLC t/a Cottman Family Limited Partnership and Cynthia Cottman individually

124.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

123 above as though fully set forth herein.

125.   Brooke Cottman, as President and Director of Scarborough Mews, Inc., and the person who

exercised unilateral control thereof and thereby control over Scarborough Mews LP, owed a

common law and statutory fiduciary duty of loyalty (including but not limited to 15 Pa.C.S.A. §

512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Scarborough Mews LP and Scarborough Mews,

Inc.

126.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

loyalty to Scarborough Mews LP and Scarborough Mews, Inc. by forming AptRentz, directing

distributions and payments to AptRentz from Scarborough Mews LP, and directing distributions

from AptRentz to himself, Cindy Cottman, Virginia Palusky and/or Graham Palusky.

127.   Following the death of Brooke Cottman, Cynthia Cottman as an officer and Director of

Tunbridge, Inc. owed a common law and statutory fiduciary duty of loyalty (including but not

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limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Scarborough Mews

LP and Scarborough Mews, Inc.

128.   As set forth in detail above, Cynthia Cottman breached the fiduciary duty of loyalty to

Scarborough Mews LP and Scarborough Mews, Inc. by receiving payments from AptRentz while

an officer and Director of Scarborough Mews, Inc., and directing distributions from AptRentz to

herself, Virginia Palusky, Graham Palusky and or other family members.

129.   As a result of the aforesaid conduct of Brooke Cottman and Cynthia Cottman, Scarborough

Mews LP has sustained a loss of profit which would have been available for distribution to its

other limited partner, Bodo Family of Media Limited Partnership.

130.   The above described conduct of Brooke Cottman and Cynthia Cottman was intentional,

outrageous, willful and wanton, done with intent to harm Scarborough Mews LP and in disregard

of its rights entitling Scarborough Mews LP to punitive damages.

131.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.

132.   Following the death of Brooke Cottman, Cynthia Cottman acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

133.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Scarborough Mews LP for the compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Scarborough Mews, Inc. t/a Scarborough Mews LP, demand

judgment for them and against Cynthia Cottman and Virginia Palusky as personal representatives



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of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited

Partnership and Cynthia Cottman individually in an amount of excess of $50,000.00 together with

attorneys fees, punitive damages and costs as allowed by law.



                                            COUNT V
                          Breach of Duty of Good Faith and Fair Dealing

    Bodo Family LLC t/a Bodo Family of Media Limited Partnership v. Cynthia Cottman
   and Virginia Palusky Personal Representatives of the Estate of Brooke Powell Cottman,
     Cottman Family LLC t/a Cottman Family Limited Partnership, Cynthia Cottman
                       individually and Virginia Palusky individually


134.    The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

133 above as though fully set forth herein.

135.   Brooke Cottman, as President and Director of Media Station, Inc., Tunbridge, Inc. and

Scarborough Mews, Inc., and the person who exercised unilateral of these corporate general

partners and thereby control over the Limited Partnerships, owed a common law and statutory

fiduciary duty of good faith and fair dealing (including but not limited to 15 Pa.C.S.A. § 512(a),

(c), § 1712(a), (c), and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo Family of Media Limited

Partnership as a limited partner of the Limited Partnerships.

136.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

good faith and fair dealing by forming AptRentz, directing distributions and payments from the

Limited Partnerships to AptRentz, and directing distributions from AptRentz to himself, Cindy

Cottman, Virginia Palusky and/or Graham Palusky.

137.   Following the death of Brooke Cottman, Cynthia Cottman as Director and officer of

Tunbridge, Inc. and Scarborough Mews, Inc. owed a common law and statutory fiduciary duty of

good faith and fair dealing (including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c),

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and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo Family of Media Limited Partnership as a

limited partner of the Limited Partnerships.

138.   Following the death of Brooke Cottman, Virginia Palusky as officer of Media Station, Inc.,

owed a common law and statutory fiduciary duty of good faith and fair dealing (including but not

limited to 15 Pa.C.S.A. § 512(c), § 1712 (c), and or § 8649(b), (d)) to Bodo Family LLC t/a Bodo

Family of Media Limited Partnership as a limited partner of the Limited Partnerships.

139.   As set forth in detail above, Cynthia Cottman and Virginia Palusky have breached the

fiduciary duty of good faith and fair dealing by directing distributions and payments to AptRentz,

and directing and or receiving distributions from AptRentz to themselves, Graham Palusky and or

other family members.

140.   As a result of the aforesaid conduct of Brooke Cottman, Cynthia Cottman and Virginia

Palusky, Bodo Family, LLC t/a Bodo Family of Media Limited Partnership has sustained a loss of

distributions and other payments that they were entitled to from Media Station LP, Tunbridge LP

and Scarborough Mews LP.

141.   The above described conduct of Brooke Cottman, Cynthia Cottman and Virginia Palusky

was intentional, outrageous, willful and wanton, done with intent to harm Plaintiffs and in

disregard of their rights entitling Plaintiffs to punitive damages.

142.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.

143.   Following the death of Brooke Cottman, Cynthia Cottman and Virginia Palusky acted on

behalf of themselves and as agents and representatives of Cottman Family LLC t/a Cottman Family

Limited Partnership acting with express, implied or apparent authority.



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144.    Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited Partnership for the

compensatory and punitive damages described above.

        WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership demand judgment for them and against Cynthia Cottman and Virginia Palusky as

personal representatives of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a

Cottman Family Limited Partnership and Cynthia Cottman individually and Virginia Palusky

individually in an amount of excess of $50,000.00 together with attorneys fees, punitive damages

and costs as allowed by law.



                                         COUNT VI
                        Breach of Duty of Good Faith and Fair Dealing

    Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf
     of Media Station Inc., t/a Media Station LP v. Cynthia Cottman and Virginia Palusky
     as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman Family
       LLC t/a Cottman Family Limited Partnership, Cynthia Cottman individually and
                                 Virginia Palusky individually


145.    The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

144 above as though fully set forth herein.

146.    Brooke Cottman, as President and Director of Media Station, Inc., and the person who

exercised unilateral control thereof and thereby control over Media Station LP, owed a common

law and statutory fiduciary duty of good faith and fair dealing (including but not limited to 15

Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Media Station LP and Media

Station, Inc.




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147.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

good faith and fair dealing to Media Station LP and Media Station, Inc. by forming AptRentz,

directing distributions and payments to AptRentz from Media Station LP, and directing

distributions from AptRentz to himself, Cindy Cottman, Virginia Palusky and/or Graham Palusky.

148.   Following the death of Brooke Cottman, Virginia Palusky as an officer of Media Station,

Inc. owed a common law and statutory fiduciary duty of good faith and fair dealing (including but

not limited to 15 Pa.C.S.A. § 512(c), § 1712 (c), and or § 8649(b), (d)) to Media Station LP and

Media Station, Inc.

149.   Virginia Palusky breached the fiduciary duty good faith and fair dealing to Media Station

LP and Media Station, Inc. by receiving payments from AptRentz while an officer of Media Station

Inc, and directing distributions from AptRentz to herself, Virginia Palusky, Graham Palusky and

or other family members.

150.   As a result of the aforesaid conduct of Brooke Cottman and Virginia Palusky, Media

Station LP has sustained a loss of profit which would have been available for distribution to its

other limited partner, Bodo Family of Media Limited Partnership.

151.   The above described conduct of Brooke Cottman and Virginia Palusky was intentional,

outrageous, willful and wanton, done with intent to harm Media Station LP and in disregard of its

rights entitling Media Station LP to punitive damages.

152.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.




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153.   Following the death of Brooke Cottman, Virginia Palusky acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

154.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Media Station LP for the compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Media Station Inc. t/a Media Station LP demand judgment

for them and against Cynthia Cottman and Virginia Palusky as personal representatives of the

Estate of Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership,

Cynthia Cottman and Virginia Palusky in an amount of excess of $50,000.00 together with

attorneys fees, punitive damages and costs as allowed by law.


                                         COUNT VII
                        Breach of Duty of Good Faith and Fair Dealing

   Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf
      of Tunbridge Inc., t/a Tunbridge LP v. Cynthia Cottman and Virginia Palusky as
     Personal Representatives of the Estate of Brooke Powell Cottman, Cottman Family
      LLC t/a Cottman Family Limited Partnership and Cynthia Cottman individually


155.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

154 above as though fully set forth herein.

156.   Brooke Cottman, as President and Director of Tunbridge, Inc., and the person who

exercised unilateral control thereof and thereby control over Tunbridge LP, owed a common law

and statutory fiduciary duty of good faith and fair dealing (including but not limited to 15 Pa.C.S.A.

§ 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Tunbridge LP and Tunbridge, Inc.




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157.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

good faith and fair dealing to Tunbridge LP and Tunbridge, Inc. by forming AptRentz, directing

distributions and payments to AptRentz from Tunbridge LP, and directing distributions from

AptRentz to himself, Cindy Cottman, Virginia Palusky and/or Graham Palusky.

158.   Following the death of Brooke Cottman, Cynthia Cottman as an officer and Director of

Tunbridge, Inc. owed a common law and statutory fiduciary duty of good faith and fair dealing

(including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to

Tunbridge LP and Tunbridge, Inc.

159.   As set forth in detail above, Cynthia Cottman breached the fiduciary duty of good faith and

fair dealing to Tunbridge LP and Tunbridge, Inc. by receiving payments from AptRentz while an

officer and Director of Tunbridge, Inc, and directing distributions from AptRentz to herself,

Virginia Palusky, Graham Palusky and or other family members.

160.   As a result of the aforesaid conduct of Brooke Cottman and Cynthia Cottman, Tunbridge

LP has sustained a loss of profit which would have been available for distribution to its other

limited partner, Bodo Family of Media Limited Partnership.

161.   The above described conduct of Brooke Cottman and Cynthia Cottman was intentional,

outrageous, willful and wanton, done with intent to harm Tunbridge LP and in disregard of its

rights entitling Tunbridge LP to punitive damages.

162.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.




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163.   Following the death of Brooke Cottman, Cynthia Cottman acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

164.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Tunbridge LP for the compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Tunbridge Inc. t/a Tunbridge LP demand judgment for them

and against Cynthia Cottman and Virginia Palusky as personal representatives of the Estate of

Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership and

Cynthia Cottman individually in an amount of excess of $50,000.00 together with attorneys fees,

punitive damages and costs as allowed by law.


                                       COUNT VIII
                         Breach of Duty of Good Faith and Fair Dealing

   Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf
   of Scarborough Mews Inc., t/a Scarborough Mews LP v. Cynthia Cottman and Virginia
   Palusky as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman
         Family LLC t/a Cottman Family Limited Partnership and Cynthia Cottman
                                       individually


165.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

164 above as though fully set forth herein.

166.   Brooke Cottman, as President and Director of Scarborough Mews, Inc., and the person who

exercised unilateral control thereof and thereby control over Scarborough Mews LP, owed a

common law and statutory fiduciary duty of good faith and fair dealing (including but not limited

to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to Scarborough Mews LP and

Scarborough Mews, Inc.

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167.   As set forth in detail above, Brooke Cottman has repeatedly breached the fiduciary duty of

good faith and fair dealing to Scarborough Mews LP and Scarborough Mews, Inc. by forming

AptRentz, directing distributions and payments to AptRentz from Scarborough Mews LP, and

directing distributions from AptRentz to himself, Cindy Cottman, Virginia Palusky and/or Graham

Palusky.

168.   Following the death of Brooke Cottman, Cynthia Cottman as an officer and Director of

Tunbridge, Inc. owed a common law and statutory fiduciary duty of good faith and fair dealing

(including but not limited to 15 Pa.C.S.A. § 512(a), (c), § 1712(a), (c), and or § 8649(b), (d)) to

Scarborough Mews LP and Scarborough Mews, Inc.

169.   As set forth in detail above, Cynthia Cottman breached the fiduciary duty of good faith and

fair dealing to Scarborough Mews LP and Scarborough Mews, Inc. by receiving payments from

AptRentz while an officer and Director of Scarborough Mews, Inc., and directing distributions

from AptRentz to herself, Virginia Palusky, Graham Palusky and or other family members.

170.   As a result of the aforesaid conduct of Brooke Cottman and Cynthia Cottman, Scarborough

Mews LP has sustained a loss of profit which would have been available for distribution to its

other limited partner, Bodo Family of Media Limited Partnership.

171.   The above described conduct of Brooke Cottman and Cynthia Cottman was intentional,

outrageous, willful and wanton, done with intent to harm Scarborough Mews LP and in disregard

of its rights entitling Scarborough Mews LP to punitive damages.

172.   At all times relevant hereto up until his death, Brooke Cottman acted on behalf of himself

and as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership

acting with express, implied or apparent authority.




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173.     Following the death of Brooke Cottman, Cynthia Cottman acted on behalf of herself and

as agent and representative of Cottman Family LLC t/a Cottman Family Limited Partnership acting

with express, implied or apparent authority.

174.     Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Scarborough Mews LP for the compensatory and punitive damages described above.

         WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Scarborough Mews Inc., t/a Scarborough Mews LP demand

judgment for them and against Cynthia Cottman and Virginia Palusky as personal representatives

of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited

Partnership, Cynthia Cottman individually in an amount of excess of $50,000.00 together with

attorneys fees, punitive damages and costs as allowed by law.



                                           COUNT IX
                                         Civil Conspiracy

       Bodo Family LLC t/a Bodo Family of Media Limited Partnership v. Cynthia Cottman
         and Virginia Palusky as Personal Representatives of the Estate of Brooke Powell
        Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership, Cynthia
                     Cottman individually and Virginia Palusky individually


175.     The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

174 above as though fully set forth herein.

176.     Brooke Powell Cottman, along with Cynthia Cottman and Virginia Palusky, and on behalf

of Cottman Family LLC t/a Cottman Family Limited Partnership conspired to divert funds away

from the Limited Partnerships with intent to decrease distributions that would be due Bodo Family

of Media Limited Partnership, the other limited partner of Media Station LP, and Bodo Family of




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Media Limited Partnership and the Coslett Limited Partners, the other limited partners of

Tunbridge LP and Scarborough Mews LP.

177.   As a result of this conspiracy, Bodo Family of Media Limited Partnership have sustained

substantial damages including loss of distributions from the Limited Partnerships resulting from

the payments to AptRentz.

178.   Cottman Family LLC t/a Cottman Family Limited Partnership is vicariously liable to

Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited Partnership for the compensatory

and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership demand judgment for them and against Cynthia Cottman and Virginia Palusky as

personal representatives of the Estate of Brooke Powell Cottman, Cottman Family LLC t/a

Cottman Family Limited Partnership, Cynthia Cottman individually and Virginia Palusky

individually in an amount of excess of $50,000.00 together with attorneys fees, punitive damages

and costs as allowed by law.


                                           COUNT X
                                        Civil Conspiracy

Bodo Family LLC t/a Bodo Family of Media Limited Partnership derivatively on behalf of
    Media Station Inc. t/a Media Station LP, Tunbridge Inc. t/a Tunbridge LP, and
  Scarborough Mews Inc. t/a Scarborough Mews LP v. Cynthia Cottman and Virginia
 Palusky as Personal Representatives of the Estate of Brooke Powell Cottman, Cottman
Family LLC t/a Cottman Family Limited Partnership, Cynthia Cottman individually and
                            Virginia Palusky individually


179.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

178 above as though fully set forth herein.




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180.   Brooke Powell Cottman, along with Cynthia Cottman and Virginia Palusky and on behalf

of Cottman Family LLC t/a Cottman Family Limited Partnership conspired to divert funds away

from the Limited Partnerships with intent to decrease their profit which would have been available

for distribution to its other limited partner in Media Station LP, Bodo Family of Media Limited

Partnership, and its other limited partners in Tunbridge LP and Scarborough Mews LP, Bodo

Family of Media Limited Partnership and the Coslett Limited Partners.

181.   As a result of this conspiracy, Media Station LP, Tunbridge LP and Scarborough Mews LP

have sustained substantial damages including loss of distributions and or profits resulting from the

payments to AptRentz.

182.   Cottman Family LLC t/a Cottman Family Limited Partnership is therefore vicariously

liable to Plaintiffs Media Station LP, Tunbridge LP, and Scarborough Mews LP for the

compensatory and punitive damages described above.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership derivatively on behalf of Media Station Inc. t/a Media Station LP, Tunbridge Inc. t/a

Tunbridge LP, and Scarborough Mews Inc. t/a Scarborough Mews LP demand judgment for them

and against Cynthia Cottman and Virginia Palusky as personal representatives of the Estate of

Brooke Powell Cottman, Cottman Family LLC t/a Cottman Family Limited Partnership, Cynthia

Cottman individually and Virginia Palusky individually in an amount of excess of $50,000.00

together with attorneys fees, punitive damages and costs as allowed by law.




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                                          COUNT XI
                                       Breach of Contract

Bodo Family LLC t/a Bodo Family of Media Limited Partnership directly and derivatively
  on behalf of Media Station Inc. t/a Media Station LP, Tunbridge Inc. t/a Tunbridge LP,
 and Scarborough Mews Inc. t/a Scarborough Mews LP v. Cynthia Cottman and Virginia
       Palusky as Personal Representatives of the Estate of Brooke Powell Cottman

183.   The Plaintiffs incorporate by reference the allegations contained in paragraphs one through

182 above as though fully set forth herein.

184.   Brooke Cottman breached Section 5.08 of the corporate Bylaws of Media Station Inc.,

Tunbridge Inc. and Scarborough Mews Inc. by his failure to seek board approval prior to entering

into the AptRentz management agreements.

185.   Brooke Cottman breached Section 8.04 (a) of the corporate Bylaws of Media Station Inc.,

Tunbridge Inc. and Scarborough Mews Inc. by his failure to seek board approval from the other

disinterested directors prior to entering into the AptRentz management agreements.

186.   As Director and President of Media Station Inc., Tunbridge Inc. and Scarborough Mews

Inc., Brooke Cottman breached his contractual fiduciary duties and duty of good faith set forth in

sections 4.01 and 5.01(d) of the Bylaws of the Media Station, Inc., Tunbridge, Inc. and

Scarborough Mews, Inc.

187.   Brooke Cottman breached the terms and conditions set forth in the James Proud letter of

February 21, 2018 (Exhibit H) by his failure to terminate the AptRentz property management

agreements, despite submitting the signed documentation and consents of Bodo Family of Media

Limited Partnership, Shirley Bodo and Deborah Convery to New York Community Bank in

conjunction with the proposed loans to Media Station LP and Tunbridge LP.

188.   As a result of breaches by Brooke Cottman, Bodo Family of Media Limited Partnership

directly and derivatively on behalf of Media Station LP, Tunbridge LP and Scarborough Mews LP



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have sustained substantial damages including loss of distributions and or profits resulting from the

breaches and payments to AptRentz.

       WHEREFORE, Plaintiffs Bodo Family LLC t/a Bodo Family of Media Limited

Partnership directly, and derivatively on behalf of Media Station Inc. t/a Media Station LP,

Tunbridge Inc. t/a Tunbridge LP, and Scarborough Mews Inc. t/a Scarborough Mews LP demand

judgment for them and against Cynthia Cottman and Virginia Palusky as personal representatives

of the Estate of Brooke Powell Cottman in an amount of excess of $50,000.00 together with

attorneys fees and costs as allowed by law.




                                                             /s/ Eugene F. Jarrell, III
                                                             Eugene F. Jarrell, III, Esquire
                                                             Atty. I.D. No. 34748
                                                             Attorney for Plaintiffs
                                                             334 W. Front Street
                                                             Media, PA 19063
                                                             (610) 565-6130
                                                             efjarrell@gmail.com




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                        Exhibit A
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                                              BI'LAWS

                                                 OF

                                      MEDIA STATION INC.

                                    (a Penn syivani a corporation)



                                            ARTICLE      I
                                 OTTICES AND tr'ISCAL YEAR


           Section 1.01. REGISTERED OFFICE. The registered office of the corporation in
  Pennsylvania shall be at 340 Media Station Road, Media, PA 19063 until otherw-ise established
  by an amendmsnt of the articles or by the board of dkectors and a ri:cord of such gfrange is filed
  raith the Deparhent of State in the manner provided by law.

         Section 1.02. OTI{ER OFFICES. The corporation may also have offi.ces at such other
 places \riithin or without Pennsylvania as the board of directors may from time to time appoint
 or &e business of the corporation riray require.

        Section 1.03. FISCAL,     YEAR. The      fi.scal year of the, corporation shali begrn the 1st
 day ofJanuary in each year.

                                           ARTICLE      II
                      NOTICE - WAWE,RS - MEETINGS GENERALLY

         Section   2.01. MANNER
                              t
                                OF GI\rING NOTICE.

                (a) General Ru1e. Whenever written notice is required to be given to any
person under the provisions of the Business Corporation Law or by the Articles or these bylarvs,
it may be given to the person either personally or by sending a copy thereof by fust class or
 express mail, postage prepaid, or by telegram (with messenger service specified), telex or TWX
 (*ith answeiback received) or courier service, charges prepaid, or by facsimile tansmission, to
the addresS (or to the telex, TWX or facsimile number) of the persor appearing on the bools of
the corforation or, in the case of directors, supplied by the directois to the coeoration for the
purpose of notice. If the notice is sent by mail, telegraph or courier seruice, it,shall be deemed
to have been given to the person entitled therito when deposited in the Uniteil.states mail or
ratth a telegraph offi.ce or cowier service for delivery to that person or, in thp base of telex or
TWX, when dispatched or, in tle case of fassimile, w-hen received. A notiqe of meeting sha'I]
specify- the p1ace, day and hour of the meeting and any other inforaation required by any other
provision of the Business Corporation Law, the articles oi these bylaws.
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                         (b)Adjoumed Shareholder Meetings. .When a meeting of shareholders is
     adjoumed" it shall not be oecessary to give any notice of the adjoumed meeting or of the
     business to be 11ansacted at aa adjor:rned meeting, other tban by announcement at the meeting
     at which the adjournment is taken, unless the board fixes a nerv record date for the adjoumed
     meeting or these byla*s require notice of the business to be transacted and such notice has not
     previously been given.

             Section2.02. NOTICE OF MEETINGS OF BOARD OF DIRECTORS. Notice of a
     regular mgeting of the board of d.irectors need not be given. Notice of every special meeting of
     the board of directors shall be given to each director by telephone or in lrtiting at least 24 hor:rs
     (in the case of notice by telephone, telex, TWX or facsimile transmission) or 48 hours (in the
     case of notice by telegraph, courier sex-vice or express mail) or flve days (in the case of notice
     by ftg class mail) before the tiroe at rvhich the meeting is to be held. Every such notice shall
     state the time ar:d place of the meeting. Neither the business to be transacted at, nor the
     puryose of, any regular or special meeting of the board need be specified in a notice of a
     meeting.

               Section   2.03. NOICE OF MEETINGS OF SILAREHOLDERS'

                         (a)General RuIe. Written ootice of every meeting of the sbarebolders shall
     be given by, or at the direction ol'the secretary to each shareholder of record entitled to vote at
     the meetilg at least:

                                (1)      ten days prior to the day named for a meeting called to cousider a
                         fuadamental tansaction uacler 15 Pa. C.S. Chapter 19 regarding amendments of
                         arlicles of incorporation, mergers, consolidations, share exchanges, sale of
                         assets, divisions, conversions, liquidations and dissolution; or


                                @       five days prior to the day named for the meeting in any other   case.


                    neglects or refuses to give notice of a meeting, the person or persons caliing the
     tf the secretary
     meeting may do so. fu the case of a speeial meetilg of shareholders, flre notice shal1 specifr- t}e
     general nature of the business to be transacted, and i-n all cases the notice shall comply with the
     i*pr.r=   requirements of this section. The corporation shall not have a duty to augment the
     notice.

                           Notice of Action bv Shareholders on Bylaws. In the case of a meeting of
                         (b)
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     shareholders that has as one of its purposes acti.on on the bylaws, written notice shall be given
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     to each shareholder that the purpose? or one of the purposes, of &e meetiag is to consider ttre
     adoption, amendment or repeal of &e bylain's. There sha1l be included in, or enclosed with, the
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     oott* a capy of the proposed amendment or a summary of the changes to be effected thereby-
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            Section   2.04. WAIVER     OF NOTICE.

                      (a)   Written'$/giver. Wbenever any *ritten notice is required to be given
    r:nder the provis-ions  of the Business Corporatioa law, the articles or these by'1aws, a *-aiver
    thereof in-writing, signed by the persorl or persons entitled to the notice, whether before or after
    the time stated therein, shaIl be deemed equivalent to the grving of the notice' Except as
    otherwise required by this subsection, neither the business to be transacted at, nor the purpose
    of, a meeting need be specified ia the waiver of notice of the m,eeting. h the case of a special
    meetilg of slareholderi the waiver olnotice shall specify the general oature of the business to
    be ka::-sacted.

                      (b) T/aiVer bv Attendance. Attendance of a person at any meeting shall
    constitute u *uir". of notice of the meeting except where a person attends a meeting for the
    express purpose of obj ecting, at the beginning of the meeting, to the u'nnsaotion of any business
    because the meeting tlas not lallfirlly called or convened'

            SCCIiON2.05. MODIFICATION OF PROPOSAL CONTAINED IN NONCE'
    $,&enever the language of a proposed resolution is included in a written notice of a meeting
    required to be given uod*r thi piodsions of the Business Corporadon Larv or the articles or
    these bylawr, th* meeting considering tbe resolutioa may without further notice adopt
                                                                                          it with
    such clarifying or other amendments as do not enlarge its original Purpose'

            section2.06. EXCEPTION TO REQIJIREMENT                OF NOTICE.


                      (a)  General Rule. Whenever any notice or corlmunication is required to be
    given to any person under the provisions of the Business Coqporation Law or by the articies or
    ihese hylaws or by the terms of uny agreement or other inskument or as a condition precedent
    to taking any colporate action aad cornmunication with that person is then unlawful, the
                                                                                             giving
    of the notice or commuaicationto that person shail not be required.
                                          'S/ithout Forwarding Addresses. Notice or o&er
                      (b)  Shaleholders
    communications shall not be sent to aoy shareholder i*ith whom the corporation has been
    unable to communicate for more than 24 consecutive months because commurications to the
    shareholder are ret{.rned unclaimed or the shareholder has otherwise failed to provide
                                                                                              ttre
    corporation lvith a crurent address. Whenever the shareholder provides the corporation with  a

    cgrrent address, the corporation shall commence sending notices and other communications to
    the shareholder in the same Eranner as to other shareholders.

                  2.07. USE OF CONFERENCE TELEPHONE AND SIMILAR EQUIPMENT.
            Section
    one or more perso$ may participate in a meeting of the board of directors or the shareholders
    of the           by means of conference telephoae or similar communicafions equipment by
          "orporutior
    means of srhich alt persons participating in the meeting can hear each other. Participation
                                                                                                ia a
    meeting pursuaut to this sectiou shall constitute presence in person at the meeting.


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                                                  ARTICLE      Itr
                                              SNdREHOLDERS

           Section3.O1. PLACE OF IVIEETING. All meetiags of the shareholders of t}e
     corporation shal1 be held at the registered of5ce of the corporation ualess another place is
     designated by the board of directors in the notice of a a:eetiag'

             Section 3.02. ANNUAI MEETING. The board of directors may fixthe date and time
     of the anirual meeting of the shareholders, but if no such date and time is fi,xed by the board, the
     meeting for any calendar year sha11 be held on the 15th day of April in such. year, if not a iegal
     ho6day under the laws of Pen-usy:lvani4 and, if a legal holiday, thea on the next succeeclirg
     business day, not a.saturday, at 10:00 o'clock, A. M., and at said meeting the sha:eholders then
     entitled to vote shall elect directors and shall transact such other business as rr1ay properll be
     brought before the meeting. If the annual meeting shall not have been called and held within
     six montls after the desigrated time, any shareholder' may call the meeting at any ti:ne
     thereafter. Except as otherwise provided in the articles, at least one meeting of the shareholder
     sha1l be held in each calendpr year for the election of directors.


             Section   3.03. SPECIAL MEETINGS'

                       (a)     Call of $pecial Meetines. Special meetings of the shareholders may be
     ca1led at any   time:

                               (1)     bytheboard ofdirectors; or

                                tZ)    unless otherwise provided in the articles, by shareholders entitled
                      to   cast at least 20Yo of the vote that all shareholders are entitled to cast at the
                       particular meeting'

                       (b)     Fixine Sme of Meeting.       any time, upon writteu. request of any
                                                               At
     person rv-ho has iat*a a special meetirg, it                                     fix the time of
                                                      shall be tbe duty of the secretary to
     ihe nr*"ting which shall be held not more thaa 60 days after the receipt of  the request.  If the
     secretary- neglects or reflises to fix a time of the meeting, the person or persoBs calling the
     meeting may do so.

             Section   3.04. QUORUM A]'{D ADJOURNMENT'

                       (")   Generai Rule. A meeting of shareholders of &e corporation duly calied
     shall aot be organized for the t'ansactiol of business unless a quorunr is preseat. The presence
     of shareholders entitled to cast at least a mqjoriry of the votes that all shareholders are entitled
     to cast on a parlicular matter to be acted upon at the meeting shail constitute a quorum for the
     purposes of locsideration and actior oa &e oatler. Shares of tie corporation, oi*led, directly
     o, La;rectty, by it      and conkolled, directly   or indirectly, by the board of directors of tlis

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     corporation, as such, shail not be cou:rted in determini:rg the total number of outstanding shares
     for quorum purposes at auy given time'

                        (b)IVithdrar],al of a Ouonrm. The sharebolders present at a duly organized
     meeting can continue to do busiaess untiL adjournment notwitlstanding the r*ith&alval of
     enough shareholders to leave less than a guorum.

                          AdjoFmment for Lack of Ouorur. If a meeting cannot be organi2ed
                        (c)
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     because u quoru* has uot aftended, those present may, sxcept as provided in the Business
     Cclporation Law, adjornn the meeting to such time and place as t.hey may determine-

                        (d)Adioumprents Ge.nerallv. Any meetir:g at w'hich directors are to be
     elected shall be adjolmed only from day to day, or for such longer periods not exceeding 15
     days each as the shareholders present aad entitled to vote shall direct, untiJ. the directors have
     been eleeted. Any other regular or special meeting may be adjoumed for such period as the
     shateholders present arld errtitled to vote shall direct'

                        (e) Electine Dkectors at Adjoqmed Meetiae. Those shareholders entitled to
     vote who attend a meetiag called for the election of directors that has been previously
     adjourned for lack of a quorum, although less than a quorum as fixed in this section shall
     nevertheless constitute a quorum for the pulpose of electing directors'

                        ffl   Other Action in. Absence   olQgg4rg.   Those shareholders entitled to vote
     rvho attend a meeting of shareholders that has beea        previously  adjourned for one or more
     periods aggregating ai least 15 days because of an absence of a quorum, although less than a
     q*o.u* ur A**a in this section, shal1nevertbeless constitute a quorml for the purpose of acting
     upon a11y raatter set forth in the aotice af &e meeting if the notice states that those shareholders
     vrho a1end the acljouraed meeting shall nevertleless constitute a quorum for the purpose of
     acting upon tle matter.

              Section   3.05. ACTTON BY SHAREHOLDERS'

                        (a)     General Rule. Except as otherwise provided in the Business Corporation
     Lalv   or the articles or these bylaws, lv-benever arry corporate action is to be taken by vote of the
     shareholders of the corporation, it shall be authorized upon receiving the affirmative vote of a
     majority of the votes cast by all shareholders entitled to vote thereon.
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                        (b)  Interested SharehokJers Any mergff or other transaction authorized
     ,nder 15pa.C.S. Subchapter 19C behveen the corporation or subsidiary thereof and a
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     shareholder of this coqporatio4 or aay voluntary liquidation authorized under 15 Pa'C-S.
.l   Subchapter 19F h whicn a shareholder is teated differently fiom other shareholders of the
     ,r*" ,i*, (other tlaa any dissenting shareholders), shall require &e affi.rmative vote of the
     sh.areholders entitled to cast at least a majority of the votes that all shareholders other than the
 I




     interested shareholder are entitled to cast with respect to the tansaction, tithout counting the
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     voie of the interested shareholder. For the purposes of the preceding senterce, interested
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                                                                        transaction or rvho is teated
    shareholder shall include the shareholder who is a parly to tle
                                                                                &at-is acting jointly or
    difterently Aom other shareholders and any pelsoll, oI gloup ofpersons,
    ia concert wi& the interested shareholder *d *y person who, d.kectly or indirectiy,
                                                                                            conbols, is
    conkolled by or is under cotrunoa control raith the interested shareholder-
                                                                                         An   interested

    shareholder sba1l not include atry pelson who, in good faith and
                                                                              not for the purpose of
                                                                           oI trustee fOr one oI more
    circumventing this subsectior, is an agent, foenk, brOker, norninee
                                                                                    shareholders'
    other perso*, to th. extent that the other person or persoos are not interested

I
J
                   (c)Exceptions.Subsection(b)shallnotapplytoatransaction:

                           (1)     that has been approved by a majority vote of the boarcl of
                   directorswit}outcor.rntingthevoteofdirectors.who:

                                   (r)       are directors or officers    of   or have a material equity
                           interest i:r, the interested shareholder; or

                                   (ii)    were norninated for election as a director by the interested
                           sharehoider, and first elected as a director, within 24 months
                                                                                            of the date
                           of the vote ou tle proposed transaction; or

                                    j:r which the consideration to be received by the shareholders for
                           {2)
                    shares of*y    class'of which shares are owned by the interested shareholder is
                    not less tlan the highest amount paid by the irrterested shareholder
                                                                                          in acquiring
                    shares of the same class.

                    (d)     Additional Approyals. The appror-als required by subsection (b) shali be
                                                                                               Law'
    in addition to, and oot irl li*, of, *V oAi. approval required by the Business Colporation
    the articles or these bylaws, or otherwise'
                                                                                           the chairrraa
            section 3.06. ORGANIZATI0N. At every mieting of the shareholders,
                                                                            absence of the c'hairman of
    of the board, if there be one, or, in the case of vacancy in oflice or
                                                                                        chairean of the
    the board, one of the following officers present in the arder stated: the vice
    board, if there be one, the presiEen! &e vice presidents in theirorder of
                                                                                 ralk and seniority, or a
    p*rroo chosen Uy vote of ?te shariiolders piesent, shall act as chairman of the meeting'
                                                                                                     The
                                                                           or in the absence of both  the
    iecretary or, in dhe absence of the secretary, aa assistant secletary,
                                                                     chain::an of the meeting,  shali acl
    secreiary and assis'raat sectetaries, u p.r.oo uppointed by the
    as secretary.

                                                                            Unless otherwise provided
            section 3.07. voTING RIGIIIS OF SILAREHOLDERS.
                                                                               one vote for every share
    in the articles, *r"ry sharebolder of the corporation shall be entilled to
    standing in the oa-m.e of the shareholder on the book of the corporation'




                                                       6
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       Section   3.08. VOTING AND OT}{ER ACTION BY PROXY'

                 (a)    General Bule.

                        (1)    Every shareholder entitled to vote at a meeting of shareholders or
                 to express consent or dissent to corporate action in writing without a meeting
                 may authorize another pelson to act for the shareholder by proxy.

                        (2)    The presence of, or vote or other action at a meeting of
                 sharehoiders, or the expression of consent or dissent to corporate action in
                 writing, by a proxy of a shareholder shal1 constitute the presence of, or vote or
                 acti.on by, or *ritten consenl or dissent of the shareholder.

                        (3)     where   l\,v*oor more proxies of a shareholder are present, the
                 .*rporuiioo sball, urless o&erwise expressly provided i" e? Plory', accept as the
                 vote of all shares represented thereby the vote cast by a majority of them and,
                                                                                                  if
                                                                              represeated  shall be
                 a majority of the pioxles camot agree whether the shares
                 voted or,rpoo the m.rrlner of voting the shares, the votiag of the shares shall be
                 divided equally among those persons'

                 (b)  Executioa a.nd Filine. Every proxy shali be executed in viriting by the
                                                                               and filed with the
shareholder or by tu. aofy u"A*ired. attonrey-in-fact of the shareholder
secretary of the corporatioo. A telegrarn, telex, cablegram, datagam
                                                                          or similar tansmission
                                                                                             of a
&om a slrareholder or atrorney-in-fact, or a photographic, facsimile 6Y similar reproduction
writing executed by a shareholder or attorney-in-fact:

                         (1)    may be h'eated as properly executed for purposes of this section;
                 and

                         Q)     sbali be so treated if it sets forth a con-fidential and unique
                 laentificaiion numbff or other mark fi:mished by the corporation to the
                 shareholder for the purposes of a particular meeting   e1   fuansaction'


                 (c)   Revocation. A proxy, udess coupled with an interest, shali be revocable
                                                                         proxy to &e contr:ary, but
at rvill, ont*itAri*Aog *y nthti agriement or any prov-ision in the
                                                                              has been given to &e
the revocation of a pro;y shall aot bi effective until wriiten notice tlereof
secrer-ary of the              An unrevoked proxy sha11 not be valid after three years &om the
                  "olporutoo.
date of its executioo oot"tt a longer time is expressly provided &erein.
                                                                              A proxy sha1l not be
revoked by the death or incapacity of the maker unless, before the vote
                                                                                 is countad or the
                                                                                    secretary of the
authority is exercised, written notice of the death or iacapacity is given to the
corporation.

               (d) Expenses. Unless othenvise restricted in the articles, the corporation
                                                                          of shareholders
shali pay th" ,.*ooubiJ$*es of solicitation of votes, proxies or consents
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     by or on behalf of the board of directors or its no-ninees for election to the board, including
     solicitation. by professional prory solicito'rs and other*ise.

             Section 3.09. VOTING BY FIDUCIARTES AND PLEDGEES. ShATCS Of thc
     corporation stand.ing in the lurme of a t'ustee or other fiduciary and shares held by an assignee
     for the benefit of creditors or by a receiver may be voted by the tmstee, fiduciary, assignee or
     receiver. A sbareholder *-hose shares are piedged shali be entitled to vote the shares rmtil the
     shares have been tran-sferred into the name of the pledgee, or a noarinee of the
-1                                                                                          pledgee, but
 I
 l
     nothing in this section shal1 affect the validity of a proxy given to a pledgee or aominee.

               Section 3.10. VOTING BY JOINT HOLDERS OF SIIARES'

                          General Rule. Where shares of the coqporation are held jointly or as
                         (a)
     tenants in common by tlYo oI more pefsons, as fiduciaries or othenr"ise:

                                        (1) if oaly one or more of such persons is present in person or by
                         proxy, alf of the shares standing in ttre aames of such persons shali be deemed to
                         be represented for the purpose of determining a quofl:m and the corporation
                         shall accept as the vote of a1l the shares the vote cast by a joint olYner or a
                         majorifY of them; aad

                                        (2)
                                          if thd persons are equally divided upon lvhether the shares held by
                         them sha1l be voted o, upo, the manler of voting the shares, &e voti::g of the
                         shares shall be divided eq-ually among the persons rvithout prejudice to tle
                                                                                                       dghts
                         of the joint o\lme s or the beneficial o1l,ners thereof among thenselves"

                         (b) Exception. lf there has been f,led with the secretary of the corporation
                                                                                                       a

     copy, certilied by- an uttoil"y at larv to be correct, of the relevant portions of tbe agleement
            which the shares are leta or the instrument by w'hich the trust or estate was created or the
     ""AL,
     order of court appointing them or of an order of court directing the voting of &e shares, the
     persorls specifi.e& as having sueh voting polver in the document latest in date of operative
                                                                                                  effect
     io filed, La ooty those persons, shall be entitied to vote the shares but only in accordance
     therewith.

               Section   3 .1   1   .   VOTING BY CORPORATIONS

                    (a) yotilg bv Comorate Shareboldejs. Any corporation that is a shareholder
     of this corporation *"y         by *y of its officers oI agents, or by plo)';,' appointed by aay
                                ""tt
     officer or fuent, rurless so:le other perso& by resolution of the board of directors of the other
                                                                                             or prolision
     coqporation or provtsion of its articles or bylaws, a copy of which resolution
     ce*ified to be correct by one of its officers has been filed with the secretary of this colporatioq
                                                                                              to vote the
     is appointed its general-or special proxy in which case that person shall be entitied
     shares.
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                  fh) Cont'olied Shares. Shares of this corporation owned, directly or
indirectly;    by it *a *ot'otied, directly or indirectly, by the board of directors of this
            as such, shall not be voted at atry meefing and shall not be counted
                                                                                 in determining
"o.poru{oo,
thejotal number of outstaading shares for votingpulposes at any   given time'

         SCCIiON   3.12. DETERMINATION OF S}IAREHOLDERS                 OF RECORD.


                   (a)  Fixing Record Date. The board of directors may fix a time prior to the
date of *y ***tiog oisharebolders as a record date for the determiaation of the
                                                                                      shareholders
enlitled to notice of, o, to vote at, the meeti:rg, which time, except in &e case of an adjor:rned
**-alog, statt te ,.ot *or* tlaa 90 days prior to tle date of the meeting of shareholders. Oaly
                                                                                    any ha:rsfer of
shareholders of record on the date fixed sha1l be so entitled norwithstanding
shares on, the books of the corporation after any record. datE          fixed  as provided  in this
subsection. The board of directors may similsly frx a record date for the deiermination
                                                                                                 of
                                                                                         of reeord
shareholders of record for aay other purpose. WhEn a determinatioa of shareAolders
                                                                            the determination shali
has been made as provided in this section for purposes of a meeting,
apply to any adjoumment thereof unless the board fixes a new record date for
                                                                                     &e adjorrned
meeting.

                   (b)                                                         Ifarecord date is not
fixed:

                          (l)     The record date for determining shareholders eutitled to notice of
                   o, to voie at a meeting of strareholders shall be at the close of business on &e
                   date next preceding tli aay on wbich notice is given or, if ootice is waived,
                                                                                                   at
                   the close of Uusiliss on the d.ay immediately preceding the day on which      the
                   meeting is held-

                          e)       The record date for detennining shareholders entitled to express
                   consent or dissent to coqporate action in witing without a meeting, whea
                                                                                                prior
                                                                                                  the
                   action by the board of directors is not necessaly, to call a spegi{ meeting of
                   shareholders or propose an amendment of the articles, sha11       be the  close of
                   business on tle d.y-oo which the first written consent or dissenl request for a
                   special meeting or petition proposing aa amendment of the articles is filed with
                   the secretarY of the corPoration.

                           (3)   The record date for determining shareholders for any other
                   puq)osa rUutt U* at the close of business on the day on which the board of
                   directors adopts the resolution relating thereto'

         Section    3.13. VOTING LISTS.

                   (a)           Rule. The officer or agent having charge of the transfer books
                           General
                                                                                         vote at
for   shares   of the.orp*utioo in* *uk. a conrplete list of &e shareholders entitledto
                                                                            of and the uuxnber
any meeting of sharJholders, slanged in alphabetical orda, with the address



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                                    shal1 be produced and                     and place of the
                                                               kep open at the time
of shares held by each. The list
                                                                         the whole time of the
meeting and shalL be zubject to the inspection of any shareholder during
6sgfing for the pqposes thereof.

                (b) Fffect of List. Failure to comply with the requirements of this section
shall not effect a. ,*@ of *y *tion taken at a meeting
                                                        prior to a demand a! the meeting by
                                                gxamins the list. The original share register or
any shareholder entitled io voti tlereat 1s
                                                                           be prima facie evidence
h.a::sfer book, or a duplicate thereof kept in this Commonwealth, shall
                                                               share register or transfer book or to
as to who are the shariholders entitled to examine the list or
vote at anymeeting of shareholders.

        Section   3.14.   ILTDGES OF ELECTION'

                  (a) Appointneut. In           advance of any meeting of shareholders of the                '


corporation, the toard of directors may appoint
                                                            judges of election' w-ho need not be
sharehoiders, to act al the meeting or any a{oumment thereof'
                                                                      Ifjudges of election are not so
                                                                              of any shareholder shall,
ufpointed, the presiding officer ofth" meeti:lg may, and on the request
                                                                   judges shall be one or three' A
appoint juages of elecioa at the meeting. The number .of
p"iroo ,*'t o ir a candidate for ofiice to be fi11ed at tle meetiag sha11
                                                                          not act as a judge'

                  (b)     vacancies.     case any pelson appointed as a judge fails to appeal or
                                     "In                                by the board of directors
fails or refuses to act, tbe vacancy may be fil}edby appoirtmetrt made
                                                                    presiding officer thereof'
ia advance of the coavening of the meeting or at the meeting by &e

               (c) Duties. The judges of election shal1 detenaine the number of shares
sulstrmrting *d A. ,o@!o*., of t*ih the shares represented
                                                            at the meeting, the existence
                                                                        ballots, hear and
                                                                                    or
of a quorum, the autheatliity, validif and effect of proxies, receive votes
                                                                                 with  the right to vote'
deterrnine all ehalleng", *d questions in any way arisi:lg in
                                                                      connection
                                                                             may be proper to conduct
count and tabulate all-votes, aitermine the risuit and do such acts as
                                                                 judges  of election shall Plform
the election or vote with fairness to all shareholders' The                                         lheT
                                      to the best of their abiiiry and  as expeditiously  as is practical'
J.rti", impartially, in good   faith,
If there are three j"ig"r of ellction, the decision, act or ceriificate of a majority shal1 be
effective in all respects as tle decision , act or certificate of all.

                  (d)Report. On request of the presirling offrcer of the meeting, or of any
                                                             challenge or question or matter
shareholder, the judg;;;al make a ieport in witing of-aoy
determined by tfr"t", and execute a certificate of any fact found
                                                                   by them' Any report or
certificate made by them     sha11 be   prima facie evidence of the facts stated therein'

        SCCIiON   3.15. CONSENT          OF S}IAREHOLDERS         IN LIEU OF MEETING'

                     Unanimous_.\Yritten Co4sent. A:ry action required or
                                                                           permitted to be
                  (a)
                                                                  may   be taken without a
takea at a meeting ofE"lff-Uota*rr oi of a class of shareholders
meeting if, prior or subsequent to the action, a consent or consents
                                                                     tlereto by all of the




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shareholders v;-ho would be entitled to vote at a meeting
                                                          for such purpose sha1l be fiied with the
secretary of the corPoration

                     (b)partial Written Conseut. Any action required or pennitted to be taken at
a meeting of the ,h*.frld.., oi of a class of shareholders
                                                           may be taken r*ithout ameeting upoa
                                                                    to cast the minirnrun number
the u,riiten consent of shareholders rvho wouLd have been entitled
                                                                        at which al1 shareholders
of votes &at would t" o.."rr*y'to authorize the action at a meeting
                                                                       be  filed witb the secretary
entitled to vote thereon were present aud voting. The consents
                                                                 sha1l
                                                                   after at least ten days' ll.titten
of the corporation. The action shal1 not beco.Le effective until
                                                                    to vote thereon who has not
notice of the action has been given to each shareholder entitled
consented thereto.

            Section3'l6.MINORSASSECURITYHOLDERS.Thecoqporateoamaytreata
                                                                        capacity to receivi and to
minor who holds shares or obligations of the corporation as havin*e
                                                                      payments or distributions' to
empolver others to receive dir,idends, interest, principal and o&er
                                                                   exercise rights relaiing to zuch
vote Or express consent or dissent and to *uL" eleitions and
shares or obligations ualess, ln the case of pal1]leots
                                                 -of     or distributions on shares' the corporate
officer responsible for maietaining the fst          shareholders oI the transfer agent of the
                                                                            the treasurer or payi::g
            or, in the case of paymeats or distributions on obligations,
       or ageat has received *titten notice that the holder is a minor'
"orporutioo
od*.,
                                                 ARTICLE tV

                                         BOARD OF DIRECTORS

            Section   4.01. POWERS; PERSONAL LLABILITY'

                              General Rule. Uuless otberwise provided by statute
                                                                                 all pcrvers vested by
                      (a)
law-   in   tJre   corporutio*-ihfib* exercised  by cr ru:deithe authority o[ and^tfe business and
                                                                of, the board of directors'
affairs of the corporation shall be maaaged under the direction

                      (b)                                              .ce. A director shall stand in       a

fiduciary      r*tatili to 6* *rp*utioo         *a   tltutl    p*rform his or her duties as a director,
                                                              it
                                                                                                mav    serve'
               ;;;;;;r                                                     *&ich +1-^
                                                       e of the board upoa --J^:-t
                                                                                       l:-^^+^-
                                                                                   the director rff6rr c5friF
;:i;#-                      a membe.  br uoy committe
il";:;"intd;;'*r""er                 the direclgr reasonably believesi:,I. I. :r,*:_t"yi:r:rj:"::"t*
                                                                                   ^ !-^-, :-+^-^^+^ ^f +Lo

ffiIli#ffrrt-h                rr"t care, includinq.reas.orable inquirv,.tkil'T1l::tilt:ltri"pil:"":        ":
;:ffi##;J$ffi^;                        ,"d;;;ffiar
                                               circumsrani-:,           *
                                                                 perrorming his or her duties, a
                                                                 . ,a --! ^^^
                                                                 opinions,
                                                                              *^-^J-
                                                                              repods or o*a*c*anfc
                                                                                        statemen'ts,
director shall be entitled to rely in good failh oa information,
                                                                                     ^*

                                                                   case prepared or presente by
including financial statements aad other finaacial data, in each
any of the following:

                               (1)  one or more officels or employees of the corporation t'hom the
                      director ieasonably believes to be reliable and competent
                                                                                   in the matters
                      presented.




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                           (2)   Cognsel, public accountants or other pelsons as to matters
                                                                                            which
                   &e airejor reasonably believes to be within the        professional  or  expert
                   comPetence of zuch Person'

                           (3)    A committee of   the board upon which the director does not serve,
                   duly desipared    in   accordance rvith law, as lo maiters r*-ithin its designated
                                                                                          confidence'
                   authority,"ll.hich committee the director reasonably believes to merit

    A director shall not be considererl to be actin-s in     good faith if the director has knowiedge
x                                                                              to be unwarranted'
    concerni.ng the matter in question tbat r';oul,J cause his or her reliance

                   (c)    Consideration of Factors. ln dischargrng the duties of.&eir respective
    positions, the board of directors,               of the board and individual directors may, in
                                        "o'.,*iu"es                               of rlny action upon
    considerilg &e best interests of the corporaiion, consider the eft'ects
                                                                      and upon communities in which
    employees, upoa suppliers and customers of tU* corporation
    offices or other                 of the coqporatiotr are l0cated, aud ali other pertinent factors.
                     "rtuurrn*.nts
    The consideration of those factors shall noi coustitute a violatioa
                                                                        of subsection ft)'

                   (d)        presumption. Absent breach of fiduciary duty, lack of good faith or self-
                                                                      action shall be presumed to be in
    dealing, actions talien L a director or ally failure to talie any
    the best i:rterests of tJre corporation'

                   (e)     Persoral Liabilitv- of Directors'

                           (1) A director shall not be personally liable, as such, for monetary
                                                                       any action, unless:
                   damages io, *y action taken, or any faiiure to take

                                   (1)      the director has breached or failed to perform the duties of
                           his or her office under this section; and

                                   (ii)    the breach or failure to perforrn constifr.rtes self-dea1ing,
                           willful m.isconduct or recklessness'

                           e)      The provisions of paragraph (1) shall. nat apply to                the

                    ,"rpo*ibitity or liability of a director pursuant to any criminal statute, or fle
                    iiuUliit-.y of a director for the palment of tu*tt pursuant
                                                                                to local, State or Federal
                    law'
                                                                                              the board
                    (0     Notation of Disseni. A director u-ho is present at a meeting of
                                      of ae u"*+ at which action on auy corporate       matter  is takea
    of d"irectors, or of u.ffi*
                                                                    his or her dissent is entered in the
    shall be presumed to bave assented to the ,*iioo taken unless
                                                                       dissest to the action with the
    minutes of &e meeting or unless the dkector files a *ritten
                                                             or transmits the dissent ia writing to the
    secretary of the *.*ti"iu*fore the adjournmentthereof
                                                                        of the meeting' The right to
    secretary of the coffiation irnmediately after &e adjoumment
                                                                                         in this secti'a
    dissent shail not  ,*il;    a airector w.ho voted in favor of the action. Nothing



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      sha1l bar a director from asserting that minutes of the meeting incorrectly omiued
      d.issent if, promptly upon receipt of a copy of such milutes, the director notif.es
                                                                                                his or her
                                                                                          the secretary i:r
                                                                                                              ,t
      writing, of the asserted omission or inaccuracy-

              Section   4.02. QUALIFICATION AND SELECTION               OF DIRECTORS.


                        (a) Oualificatigns. Each director of the corporation shali be a natural person
      of full age who need not be a resident of Pennsylvani4 s1 a shareholder of the corporation.

                        (b)   Electiou of Directors. Except as otherrvise provided in these bylaws,
      directors of the                shal1 be elected by the shareholders. In elections for directors,
                        "orpo*tioo
      voting:reed not be by ballot, except upon deraand made by a shareholder entitled to vote at the
      election and before ihe voting besins. The candidates receivtng the higbest number of votes
      from each class or group oiclass"s, ii any, entifled to elect directors separateiy up to the
      aumber of directors io bi elected by the class or group of classes shall be elected. If at any
      meeting of sbareholders, directors of more than one class are to be elected, each class of
      directors shall be elected in a separate electioa-

                        (c)
                        \ -/ Cumulaiive Voting. Unless the articles provide for straight vsling, in
      each election of diiectori every shareholder entitled to vote shall have the right to multiply
                                                                                                      the
      number of votes to wtrich the shareholder may be entitled by the total number of directors to be
      elected in the same election by the holders of the class or classes of shares of which
                                                                                               his or her
      shares are a part and the shareholders may cast the whole number of his or her
                                                                                           votes  for one
      candidate or may distribute them among two or more caadidates.

              Section   4.03. NUMBER AND TERM Of' OFFICE'

                    (a) Nurqber. The boasd of dlectors shal1 consist of two directo5; -^ol.
      Class A director *a o* Cl.*s B dkector. Only shareholders owuing Ciass A
                                                                                stock of the
      corporation sba]l be eatitled to cast votes to elect the Class A director- Only shareholders
      or,laing Class B stock of tbe corporation shall be entitled to cast votes to elect the Ciass B
      director. The temr of appointment of each of the Class A Director and &e Class B Director
 I
.ii   shall be one year.

                        (b)  }rdep.endent Advisor. The shareholders sha1l cast votes to select an
  J   i.ndependent advisor once arrnuully at the same time the shareholders cast
                                                                                     votes to elect the
                                                                                 be given  uotice of nor
      directors. The independent ad^visor sha1l not be a director and sha1l not
      attend a,,y regular ir special neetings of the board of directors unless and until the board is
                                                                                    particular rnatter or
      unable to reach u ,"uolitioo by the required number of director votes on a
                                                                                         in this manner.
      issue during aregular or special meeting. Should the board become deadlocked
      any directoi maycali a special meeting of the board for the sole purpose of resolving any such
                                                                                             advisor that
      deadlock ar:6 ai least teidays prior to such meeting, give notice to the independent
      the meeting will take place *i thut the i:rdependent advisor shor.rld attend. At the meeting
                                                                                                       the
                                                                                              for the sole
      independent advisor wi1l be permitted to cast one vote as if he or she were a direetor
      purpose of breaking the deadlock.



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                (c)Tennofoffice..Eachd.irectororindependentadvisorshallholdoffice
                                                            until a successor has been
until the expiration ore: t*r* ro,
                                      o*i; t; or she was electld and                 decrease in the
              qualifrJ o. .,ntit his or her eartier death, resignadon or removal' A
selected an,1                                                          of any inc,nrbent director'
number of directors ,u-u        have &e effect of shortening &e term
                            "r,
              (d)Resignation.Anydirectororindependentadvisormayresignata::ytime
                                                                        upon receipt tbereof
upon written notice t"Eilorp"*tioo.- ra* resignation-sba1r be effective
bythecorporationoratsuchsubsequenttimeasshallbespecifiedia&enoticeofresignation.

        Section   4.04' VACANCIES'
                                                          board of directors'    including vacancies
                (a) General Rule. -vacancies in theand      vacancies of the independent advisor
resulting &om an i,,c.G;G          Eumb"i oi air""tors,                                to select a
                   ti-rr.a ty a majority voi*   a-   sharebolders who are be eatitled
positio4  shali be                            "i ua"itorship' as applicable' F e* event of a
director to fiI1 the directorshrp, * ira"i""Jt"t                               of such vacancy so
                                                give notice to th" sharebolders
vacancy, tt * corporution sUafiir"meOiaiety
                                               for the pur:pos: of casting votes for a replacement
that a shareholder meeti,g may be called
                                    g*r. Jir*"t", i"a.pendent advisoi so elected. shall serve for
director or independent adi-isor.                  "i                                        or until
                               terq  and        u           has beea selected and qualified'
the balance  of the unexpired             "oiif 'o""*'J'
                                         removal'
Uit o, her earlier death, resignation or
                                        Di                                  dV        . If there is au
 ,nn1'ed,^.#'t,u  (b)

 Hfl f 3rHtriJ.3,T:;trJ',"HH:?ffi ,ffi;;*;oruarof
                                                                                 HffJ;i'l'flTtri
                                                                             theshareholdersandthe

 independent director.

         Sectlon     4.05' REMOVAL        OF DIRECTORS'


                (a}Theentireboardofdirectors,branyclass                                        a*y
               or  any l"di"tdrrl dit"*r#ffi   Ut t**or.ed &om offi'ce *tthout assigdng
 of the board,                                                          of s,ares, entitledto elect
 cause by the..or* olr#ilffi;r,
                                   ;;i,a* irJra*rs of a class or series
                                                                   the board oI any one oI I]10IB
                                          case the board or a class of
 ditectors, or the elass of directors. In                                                boaid of
            are so remoYed,    new  directott **y: be elected at the same meeti'ng' The
 directors                                                           the unanimous vote or consent
 di.reitors may be .**"i      at any time with or witho*t cause by
 of shareholders endtled to vote thereon'

                 &)RemovalbythgBoard.TheboldofdirectolsIIIaydeclarevacant&e
                                      juffiy      declared of unsound mind or who
                                                                                         has been
  office  of a director who has been
                                                         fo' a t-tm of more than one year or i1;
  coavieted of an ofiense pueishable b; i*fi;"nment
                                                     the director does not accept the of'ce
                                                                                            either
  u,ithin 60 days uao *otiL of his o, her seiection*
  in writing or by attending      a meeti:rg   of the board of directors'


                                                                  e uoara is removed) if
                     G)Rernovalof.DirectorsE,lecte-dbyCumulatiu:.Vo.ting.Anindividual
  director   shal1   not be iemovea (*rt.r


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      sufficient votes are casl agaimt the resolution for his removal which, if cumulatively voted at an
      annual or other regular election of directors, r'ould be suff.cient to elect one or more directors
      to the board or to the class-

              Section4.06. PLACE OF MEETINGS. Meetings of the board of directors may be held
      at such place within or without Pen::sylvania as the board of directors may from time to time
      appoint or   as nlay be designated   in the notice of the meeting'

              Section 4.07. ORGANTZATION OF MEETINGS. At every meeting of the board of
      directors, the chairman of the board, if there be one, or, in the case of a vacancy ia the offi.ce or
      absence of tn" chairman of the board, one of the following ofEcers present in the order stated:
      the vice chairman of the board, if there be one, the president, the vice presidents in their order
      of ranlc and seniority, or a person chosen by a majority of the directors preselt, shall act as
      chairman of the mieting. The secretary or, in the absence of the secretary, an assislant
      secretary, or, in the absence of the secretary and the assistant secretaries, any person appointed
      by the chairman of the meeting, shall act as secretary.

              Section 4.08. REGI;LAR MEETINGS. Regular meetings of the board of directors
      shall be held at such time and place as shall be designated from time to time by resolution of the
      board of directors.

              Section4.09. SPECIAL MEETINGS. Special meetings of tle board of directors shall
  i
  I   be held whenever called by the chairman or by rw*o or more of ttre directors'
,.,


              Section    4.10. QUORLIM OF AND ACTION BY DIRECTORS'

                        (")  General Rule. A majority of the directors iu of6ce of the corporation
      shall be necessary to constitute a quorum for the transaction of business and the acts of a
      majoriry of the directors present and voting at a meeting at which a quorL{n is present sba1l be
      tAe acti of the board of directors. In the case of a vaca$cy in the board of directors, the
      remaining director and the independent advisor shall constitute a quoru"m'

                        (b)  .A.ction by Writren Consgnt. Any ac.tion required or
                                                                                      permltted to be taken
                                                                             il
      at a meeting of the Oiriito6 may be tal<en without a meeting prior or subsequent to the
      action, a consent or consents thereto by all of the directors in office is filed iffith the secretary of
      the corporation,

              Section 4.1     1, E)GC[]-IIVE AND OTHER COMMITTEES'
                        fa)
                        \-/  F,stablishment and Powers. The board of directors may, by resolution
      adopted by a majority     *r" directors in offi.ce, establish one or more committees to consist of
      oo* o, more directors"fof the corporation. Any committee, to the extent provided in the
      resolution of the board of dkectors, shall have and may exercise all of the powers aud authority
      of the board of directors except that a committee shall not have any pov/er or authority as to the
      following:


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                                                                      action requiring approval
                        (i)   The submission to shareholders of any
               or snarelotders under the Business
                                                  is corporation Law'

                                                                             board of directors'
                        A)        The creation or &lling of vacancies in the

                                                                             by-laws'
                        (3)       The adoption, ameadment or repeal of these

                        (4)Theamendmentorrepealofanyresolutionoftheboardthatby
                                                         by the board'
               its temrs is ameudable or repealable only

                        (5)Actioaonmatterscommittedbyaresolrrtionoftheboardof
               directors   io   anotber committee oI'the board'

               (b)A.lternateC-o$mitteeMembers.Theboardmaydesignateoneormole
                                                        any ableat or disqualifred
                    ,r"*b*' 'f *y **,nitto who may replace
directors as altemate
memberatanymeetingofthecommitleeorforthepurposesofanywrittenactionbythe
                                                                      member or mearbers
committee. Io the ;b;;";   disqualification of a m**b.i and alternate
                                                      at any meeting and not disqualifled
                                                present
cf a comraittee, the rnember or members thereof may usanimousiy appoint                another director
                                        a quonrm,
from voting, *letb., oinot constituting
toaetattbe*"*tiogi,'l*pru..oft}eabsentordisqualifiedmember.
                (c)Term.Eachcommitteeoftheboardshaliserveatthepleasureofthe
board.

                (d)ConimitteePJocedures-Theterm''boaldofdirectors''or'',boatd,''lYhen     of or tbe
                                          ,eluting to tle organizatiotr oI p-ro.cedures
used in any provisioo oFtfr*r. Uylaws                                               and refer to any
                                      of air..tor-=, shalr be Jonstrued to inclrrde
man$er of taking actisa by the board
**ecu'riv* or other committee of the board'
                                                           of directors sha1l have the authority to
        section4.12. .0M*ENSATION. The board
fixcompensatlonofdirectoffifortheirservicesasdirectorsandadirectormaybeasa]aried
officer of the corPoration'
                                               ARTICLE Y

                                                OF'FICERS

          Sectioo   5.01' OFFICERS GENERALLY'

                (a)Nr:mb.er.oualifi.catio*andDesigFationTheofficersofthecorporation
                                                          other offtcers as may be elected in
 shall be a president, a secretary, :_E.**GGE&                                be dire.'ors or
             ovitir tue,;;;i"*'of    Section 5'03' officdrs may but need not
 accordance                                                                            of i:11 age'
 shareholders of the corporation.
                                  The president and secretary ro* !* "*Tilpersons
                                                                                age' The board of
     teasurer  rnay  be a coryoradon, but if a trefixal p'*oo shall be of f,rl1
 The


                                                      i6
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                                                      the board a chairman of the board and a'r'ice
     directors may elect from among the members of
                                                        corporation. An)'arrmber of offices may be
     chairmaa of the m*a i"U" shal"l be officers of the
     held by the same Person.

                     (b)Resimations.Anyofficermayresignata]3ytimeuponrwittennoticeto
                                                               receipt thereof by the corporadon or at
     the corporation. The **ig;utio" tha1_b; effective upon
                                                             of resignation'
     such sribsequent time as m*y be specified in the notice

                      (c)      Bondins. The corporation may     secure the   fidelity of any or all of   its

     offi.cers bY bond or othenvise'
                                                                                 the articles, an officer
                      (d)   Standard of Care. Except as otherwise provided in
     shall perfonn his or her duties as ry 9fttcer   t  good faith, in a manner he or sbe reasonably
                                                                                  iogludirg reasonable
     believes to be in the iest interests of the *orporulioo and lvith such cate,
                                                           prudence would use under similar
     inquuy, skill and diligence, as a persoa of ordinary
     circumstances. A ;,-,i. ,,oo ,o p*rfor*. his or her
                                                         d*ies shafl not be liable by reason of
     having been an officer of the corporatroa'

             Sec-tion5'02,ELECTIONANDTERM0FoFFiCE.Theofficersofthecorporation,
                                                  pursuaat to section 5'03, shatl be elected aanualiy
:(   escept tbose etectecl by del*gated authoriqy
                                                          hold office for a term of oae year and until
     by the board orairitorr, anieach so.h offi".r shau
                                                                    her earlier death' resignation or
     a successor has been selectecL aad qualified or r:ntil his or
     removal.

                              SUBORDII{ATE OFFICERS' COMMTTEES AND AGENTS'
                                                                                                     ThC
                SECIiONS.O3.
                                                            other offi.cers and appoial stich committees,
     board of directors o.,.uy fro- time to time elect such
                                                         corporation may require' including ooe Or more
     employees or nther agen , *, the business of the
                                                                     each of *-hom shall hold office for
      assistant secretaries, and one oI mole assistant treasurers,
                                                       such duties as are proyided in these bylaws or as
      such period, have such authoriiy*, aad perforin
                                                                  The board of direetors may delegate to
     .the board of directors may &om time io time determine.
                                                                       officers and to retain or appoint
      any offi.cer or committ.. th" power to elect subordinate
                                                            aud to prescribe the authoriB' al1d duties of
      employees o, otner agertr, or committees thereof
                                                                    agents'
      su& subordinate officers, ssmmittees, employees or other

             Section 5.04. REMOVAL OF OFFICERS AND
                                                                  AGENTS' Any officer or agent of the
      corporation may beremoved by the board of direciors
                                                              i*ith or lvithout cause. The removal shall
                                                                  any pelson so remo.ved' Eiection or
      be without prejudice to the contract rights, f *y, of
                                                           ffeate contlact rights'
      appointrneni of * om.rr or agent shall not of itself
                                                                           because of death, resigaation'
              section 5.05. VACANCIES. A vacancy in any office
                                                            Ue tiitea Uy  the board of directors or by the
      removal, disqualification, ot any other cause, stralt
                                                                  ofiice has been delegated pursuaut to
      officer or committee to which the power to fiil such
      section 5.03, as the case rnay be, and if the office
                                                             is one for which these bylaws prescribe a
                                                            term.
      ierm, shall Ue nuea for the unexpired portion of the



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                Section 5.06. AUTHORITY. All officers of the corporation, as between themselves
        and the corporation, shali have such authority and perform such duties in the management of
        the corpor^tioo * may be provided by or pursuant to resolution or orders of the board of
        directors or in the absence oicontolling provisions in the resolutions or orders of the board of
        directors, as Elay be determined by or pursuant to these bylarvs.

                Secrion 5.07. TIIE CHAIRMAN OF TIIE BOARD. The chairman of the board if
T       there be ore, or in the absence of the chairma::, the vice chairmaa of the board, shali preside at
 I      all meetings of the shareholders and of the board of directors and shal1 perform such other
        duties as may from time to time be requested by the board of directors.

                Section 5.08. TFIE PRESIDENT. The president shall be the chief executive officer of
    I

 l
        the corporation and shall have general superrrision over the business and operations of the
!
I                    subject however, ts the control of the board of directors. The president shaii sign,
 t      "orporuiioo,
        exe-cute, and acknowledge, in the name of the corporation, deeds, mortgages, contracts
                                                                                                or other

-;
        i::struments authqnzed iL thg*bqard of dir-ect-ors,    except in  cases rvhgre tle  signing  and
 f
 !      executiontrrffis1yd"Iegatedbytheboardofdirectors,orbytheseby1aws,to
 t      some other officer or agent of the corporationi md, in general, sha11 perform all duties incident
        to the office of president and such other duties as ftom time to time may be assigued by the
 l
I
        board of directors.

                  Section 5.09. THE SECRETARY. The secretary or aa assistant secretary shal1 attend
        all meetings of tle sbareholders and of the board. of direcJors and shall record all votes of the
 I
 !
 t
        shareholders asd of the directors and the minutes of the meetings of the shareholders and of the
 :
        board of directors and of committees of the board in a book or books to be kept for that
I       plrryose; shali see that notices are given and records and reports properly kept aud filed by the
        .orpo.*iiotr as required by 1a*; shall be the custodian of the seal of the corporation and see that
t       it is affixed to alLdocuments to be executed on behalf of the corporation under its seal; and, in
 i
        general, shall perfona ali duties incident to the office of secretary, and such other duti'es as may
        &om time to time be assigned by the board of directors or the president'

                Section 5.10. TIIE TREASURER. The treasurer or an assistant treasurer shall have or
        provide for &e custody of the funds or other properly of the corporation; shall. collect and
        ieceive or provide for the coliection and receipt of moneys earned by or in any manner due to or
        received ty tte corporatioo; shall deposit all funds in his or her custody as treasurer i:r such
        ba::ks u. oth*, places of deposit as &e board of directors may frorn time to time designate;
        shall, *-henevei so required. by the board of directors, render an account shorning all
        transactioas as treasurer aad the financial conditioo of the corporationi md, in general, shall
         discharge such other duties as may from time to time be assigned by the board of directors or
        the president.

                 Section 5.11. SALARIES. The salaries of the officers electedbytheboard of directors
        sha11   be fixed from time to time by the board of directors or by such officer as may be
        designated by resolution of the board. The salaries or other compensatiol_of any other officers,
        .*pioy"., and o&er agents sha1l be fixed ftom time to time by the offi.cer or committee to

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                               (ii) to be based upor or attributable to the receipt by the
                       indemnified representative from the. corporafion of a personal benefit to
                       r,r'hich the indemnified representative is not legaliy entitled; or

                       (3)     to the extent such indem:rification has been finally determined in
               a final adjudicationpursuant to Section 7.06 to be otherwise unlawfrl.


               (b)     Pariial Payment.      If an indemnified representative is entitied to
indemnification i;1 respect of a portion, but not all, of any liabilities to rvhich such person may
be subjec! the co4poratioa sha]1 indemnify such indemnifi.ed representative to the maximum
exlent for suchportion of the iiabitties.

               (c)    Presumption, The termination of a proceeding by judgrnen! order,
settlement or convictioo or'.rpoo a plea of nolo contenders or its equivalent shal1 not of itself
create a presumption that the indemnlfied representative is not entitled to iodemnifi.cation.

                 (d)     Definitioas. For purposes of this Article:

                       (1)    "indemnifi.e,l capacify" means any and ali past, present and fuiure
               service by an indemaified representative in one or more capacities as a director,
               officer, employee or agroi of &e corporation, or, at tle request of the
               corporation,     u director, of[cer,' employee, agent, fiduciary- or trustee of
                            "i
               another corporation, partnership, joint venture, tmsq employee bene t plan or
               other entitY or enterPrise;

                       (2)      "indemnifi.ed representative" means any and all directors and
               offi.cers-of the corporation and any other person desigaate,l as an indemnified
               representative by &e board of directors of the corporation (w'hich may, but need
               nol, include any person serving at &e request of &e corporation, as a director,
               officer, employee, agent, fiduciary or trustee af another coqporatiol, parbrership,
               joint venfure, ffust, employee benelit plan or other entity or enterprise):

                       (3)     "liability" mearts any damage, judgment, amount paid in
               settlement, fine, penalfy, pu*itive damages, excise tax assessed lvith respect to
                                                                                        'without
               aa employee benifit p}aa, or cost or expense, of any natwe (including,
               limitation, attomeys I fees and disbursements) and

                       (4)      "proceeding" means any threatened, pending or conrpleted action,
                suit, upp;d oi other proceeding of aay nature, r*-bether civil, criminal,
                aOminist;ative or investigative, whether formal or informal, and.lvhether brought
                by or ia the right of the corporation, a class of its security holders or otherwise.

        SECtiON 7.02. PROCEEDINGS LTITIATED BY                                   INDEMNIFIED
REPRESENTATIyES. Notr+irhstanding any other provision of this Article, the corporation
sha11 not iudemnify under this Article an indenrifi.ed representative
                                                                      for any liability lncurred in



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                  e proceeding initiated (w-hich shali not be deemed to include counterclaims or affirmative
                  defenses) or participated il as an intervenor or amicus curiae by the person seeking
                  indemnifisation unless such initiation of or participation in the proceeding is authorized, either
                  before or after its commencemen! by the affirmative vote of a majority of the directors in
                  office. This section does not apply to a reimbursement of expenses incurred in successfuliy
                  prosecuting or defendi.ng an arbitation under Section 7.06 or otlenvise successfully
                  prosecuting or defending the rights of an indemnified represen'tative granted by or pursuant to
.l
             I
                  this Article.
              I
             ]

                           Section 7.03. ADYAhICiNG E)(PENSES. The corporation shall pay the expenses
                  (including afromeJs, fees and disbursements) incurred in good faith by an indemnified
                  representative in advance of tle fiaal disposition of a proceeding described in Section 7.01 or
                  the initiation of or participation in which is authorized pursuant to Section 7.02 upon receipt of
                  an undertaking by or on behalf of the i:rdemnifled representative to repay the amount if it is
                  ultimately determined pursuant to Section 7.06 that such person is not entitled to be
                  indemnified by the corporation pursuaat to this Article. The financial ability of an indemnified
                  representative to repay an advance shall not be a prerequisite to &e making of such advance.

                          Section 7.04. SECURING OF INDEMNIFICATiON OBLiGATIONS. to fiuther
                  effect, satisff or secure the indemnifi.cation obligations provided herein or othenvise, the
                  colporation may maintain insurance, obtain a letter of credit, act as self-insurer, create a
                  reseryer trust, escrow, cash collalteral or other fuad or account, enter into indemnification
         I
         i
                  agreements, pledge or grant a security interest in any assets or properties of the corporation, or
         )
                  use aoy other mechanism or araflgement whatsoever in such amounts, at such costs, arrd upon
                  such other teros and conditions as the board of directors shall deem appropriate. Abseut fraud,
         I
         I        the determination of the board of directors with respect to such amounts, costs, terms and
                  conditions shali be conclusive against a1l security holders, offlcers and directors and shall not
                  be subject to voidability.

                          Section 7.05. PAIa{ENT OF bIDEMNIFICATION. An i:rdemnified.representative
                  shall be entitled to indemaiflcation within 30 days after a written request for inden:nification
                  has been delivered to the secretary of the corporation.

                          Section 7.06. ARBITRATION.

                                 (")     Gereral Rule A:ry dispute related to the right to inden.'nification,
                  contribution or advancement of expenses as provided under this Article, except with respect to
                  indemnification for liabilities arising under the Securities Act of 1933 that the corporatioa has
                  undertaken to submit to a court for adjudication, shall be decided ouly by arbikation in the
                  metropolitan area in w-hich the principal executive offices of the corporation are located at the
                  time, in accordance with the commercial arbit'ation rules then in effect of the American
                  Arbitration Association, before a panel of three arbitrators, one of whom shall be selected by
                  the corporation, the second of whom shall be selected by tlre indsmrified representative and
                  third of whom shall be seleeted by the other two arbikators. In the absence of the American
                  Arbitration Association, or if for any reason arbihatior under the arbitation rules of the
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                                                                  22
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         Section 8   04 ilVTERESTED DIRECIORS               OR OIFICEp..S; eUORUM

                  (a)  Genetal Rule A contact oi uansaotionbefvveen the corporati,rn and one
 G1 mole of its ditectors oi ofr'icets or beti,veen the corporation and another corporation,
partnetship, joint ventul'e, trust oi other enterprise in lvhich one 01 mole of its directors ol
officers aie dilectots or officers or have a financial or othei interest, shali not be void or
voidable solely for that leason, or solely because the director or officer is pteseni at or
participates in the meeting of the board of directois that authorizes th.e contract or kan-saction,
oi solely because his, her or theii votes ale counted foi that prupose, i{:

                              (1)
                                the material facts as to the relationship ol interest and as to the
                  contract ot hansaction are disclcsed or ale knou,n to the boarcl of directors and
                  the board authorizes the conftact or tra:isacticn by the affirmative vote of a
                  majority of the disinterested directors even though the disinterested directols are
                  less than a quorum;

                              (2) the maierial facts as to his or her relationship or inteiest and as to
                  the contract ot transaction ar€ disclosed or aie kno'',.m to the shareholders entitled
                  to vote ihereon and the contract or tansaction is specifically approved in good
                  faith by vote of those shareholdels; or

                              (3)   the contraci or transaction is fafu as to the cotporaiion as of the
                  time   it   is authoiized, appioved or ratii'ied by rhe board of diiectors oi the
                  shareholciers

                (b) QUSfBn Common ot interested directors may be counied in determining
the presence o,f a quolum ai a meeting of the boad r.vhich authorizes a contract or fuansaction
specified in subsection (a)

         Section 8   05  DEPCSiTS Ail funds of the coipcration shall be deposited fiom time to
iirne to the credit of the cotporaiion in strch banks, trust companies or other depositoiies as the
boatci of directots may applove or designate, and all such funds sha1l be rvithdraun only upon
checks signed by such o11e oi more officers oi emplo'y'ees as the board of directors shall fiom
time to time deieimine

        Section   I06     CORPORAIE RECORDS

                  (a) Requir.ed Recoids Ihe cotpotaticn shali keep complete ancl accruate
books a:rd tecotds of account, minutes of the pioceedin-us of the incorporaiors, shaieholders and
directors and a shaie register giving the names and addiesses of all shateirolders and the number
and class of shares heid bv each The share register shall be kept at eithei the registered office
of the corporation in Permw{vania or at its principal pla-ce of business wherevel situated or at
the offi.ce of its registta:'or tlansfer agent Any books, minutes or other recoids may be in
vr,'ritten form or any other form capable of being conveited into l.nitten form within a reasonable
time


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provided by or granted pursuant to this Article shall continue as
                                                                   to a person viho has ceased to
                                                               prior to such time, and shall iaure
be an fudemnified repreientative in respect of matters arising
                                                                                        of such a
to the'benefit of the heirs, executors, 6dminiskators and personal representatives
person-

                                                                         as an
          section7.ll. RELIANCE OF PROVISIONS. Each person who shali act upon
indem::ified representative of the corporation shall be deemed
                                                               to be doing so in reliance
the rights provided in this Article'
                                                                             are intended to
        Section7.l2. INIERpRETATiON. The provisions of this Article
constitute Uyiaws authorizedby 15 Pa. C.S' $ 513 ard 1746 and
                                                              42Pa' C'S' $ 8365'


                                       ,#ff"'ffir,
                                                               shall have inscribed thereoh
      Section g.01. CORpORATE SEAL. The corporation seal
                                                                  lvords "corporate seal'
the name of the corporation, the year of its organization aod the
Pgnnsy-1vania".

                                                                        or other orders intriting
         section g.02. CHECKS. AlI ehecks, notes, bills of exehange
                                                                     or a]]y person authorized by
sl:all be slgned by such person or pelsons as the board of directors
resolution-of the board of directors may &om time to time designate'

          Section   8.03. CONTRACTS'
                                                                                     Corporation
                      General Rqle. Except as otherwise provided in tlie Business
                    (a)
                                                                          the board of directors
Larn il the case of tansactions thai require action by the shareholdets,
may autho TLze arly ofEcer oI ageBt to enter into any corkact or
                                                                    to execute or delivel atry
                                                                    be   general rtr confined to
insirumeat on behalf of the cofooratior," and such authority may"
specifi.c instances.

                    (b)statutory Form of Execution of Inqlruments. A-ny uote, mortgage,
                                                               an)a assigrr'ment or endorsement
evidence of i-ndebtedness, coiltract oi other docusrent, or
                                                                          person, lvheo signed by
thereof executed or eatered into berw*eea the corporation and any other
                                                                    to sign it, or by the president
one or more officers or agents having actual or apparent authority
                                                                                   treasuret of the
or vice president aad secretary or assistant secretary or treasurer or assistaat
                                                                                of     corporation'
             shall be held to have been properly executed for and in behalf
                                                                                   the
"orporutio4                                                                    shall have executed
wi&out  prejudice to the ri$ts of the coip&ation'against aoy pefson who
 the instniment in excess of his or her actual authority.

          section 8.04. INTERESTED DIRECTORS OR OFFICERS; QUORIIM'

             (a) General Ru1e. A contract or t'ansaction between the corporatios and one
 or more of ix directors or ofncers or betwee.a &e coqporation and another
                                                                             corporation-.
                                                                         ils directors or
                                                                 one oI mole of
 partnership, joint ventore, u.ust or other enterprise in *'hich


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to make copies or eKfacts therefrom. A           proper pl]Ipose shall mean a purpose reasonably
                                                                               wherl an attomey or
related to the interest of the person as a shareholder. in eyery instalce
                                                                               sball be accompanigd
other agent is &e person *'ho seeks &e right of inspection, the demand,
                                                                                     other agent to so
by a verified poll-er of attoraey or other rariting that authorizes the attorney or
act on behalf of the shareholder. The demand shall be directed to the
                                                                                  corporation at its
                                                                                    situated'
registered office in Pennsylvania or at its principal piace of business wherever

                                                                              agreed between the
         section g.07. FINANCIAL REPORTS. Unless othenvise
                                                                                      annual financial
corporation and a shareholdel the corporation shall fumish to its shareholders
                                                                 each fiscal year and a sfratement of
stat'ements, includin! at least a balanci sheet as of the end of
                                                                                prepared on &e basis
inco:ne and expens"i fo, &e fuca1 year. The frnancial statements shail be
                                                                            finalcial   statemeats for
of geaeraliy accepted accouating principles, if the corporation prepares
                                                                                                of the
t}.e fiscal year or that basis foi any pu{pose, and_may.be corsolidated statements
                                                                               shall be  mailed by the
corporation and one or more of its subsiii*i"r. The financial     statements
                                                                                     &e  close of  each
coiporation to each of its shareholders entitled thereto witliin 120 days
                                                                              after
                                                                                        corporati'on to
fi="J year and, after the mailing and upon *zitten request, shdl be mailed by the
any shareholder or benelicial ouillel entitied ihereto io whom a copy
                                                                          of the   most  recent annual
                                                                              audited or revierved by
fioancial statements has not previously beeo mailed. Statements tbat are
                                                                                  in other cas-es,.1ayh
a public accountant tUutt t" u.compalied by the report of tbe accountaxt;
                                                                         the financial records ofthe
copy shall be accompanied by a statement oitn. peffiotr ia charge of
corporation:

                        (i)     Stating his reasonable belief as to w'hethel oI ]1ot the financlal
                statements w-ere prepared in accorclance with generally accepted
                                                                                       accounting
                principles and, if not, describiag the basis of presentation'

                        (?)    Describiag any materiai respects 1n y,,.hich the financial
                                                                           those prepared for the
                statements lvere got prefared on a basis consistent r,lith
                Previous Year.
                                                                                be amended or
       section g.0g. AMENDMENT OF BYLAWS. These bylarvs may
                                                                           at any duly organized
repealed, or new bylarvs may be adopted only by vote of the shareholders
                                                                (relatil:g to notice of action by
amual or special **rtiog oi shar"hilders. iee Section 2.03(b)
shareholders on bYlaws).




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                u-]{A}i[vl OUS IYIUTTE]{        C   oN$ EI{T   O   r SEAREH   OI'qERS

                                   OIt TlrE   SlLAREuoLnrriS         OF MEDIA STATION       NC'
    nV   lfgU   Olr   ivfgptn'iq


                                                             (the "corporation"), pursuant to 15
         The undersigned Shareholders of Med.ia Station Inc.

Pa. C.S.A. $ 1766(a), consent inwriting to the following'

         APPROVED, the Shareholders consent that the Bylaws
                                                            of the Corporation previously         il

force sha1l be rePealed'
                                                            attached hereto as Exhibit "A"
         AppROVED, the Shareholders consent that the Bylaws

shall be adopted and shall become the Bylaws of the corporation'

         EFFECTWE, as of this        Blu      day of                2011 by unanimous consent of the
                                                       W
                                                                  below'
sbareholders of the corporatior, as evidenced by their signatures




                                                             f**"', h -{*
                                                           Laj os Boto, Shareholder


                                                           -F""e$r"V     E#F:           -
                                                           Brooke P. Cotlman, Shareholder
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                                            CERTIFICATION



                                                                             certify that the attached is
             l, w,ws, b<i*tj       ,Secretarl, of Media station Inc., hereby

                                                                the Shareholders of Media Station
     a true and correct copy of the written corsert executed by

     rnc., oa the        uu,   of &x4*fifg-     . 2ol1'
                    -P

!

I
                                                   Secretary




-L
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                        Exhibit B
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                                               gU}tsF"DCtr tE;C"

                                           (a Perns.vlvania-   c   or p ot   ation)



                                                    {F.TIC],E         X



                                        CFFICE S .AF]B     F"IS     CAN,      \T,.{F.

          Section 1       0i
                          P.EGISTERED C_,trFiCF Ihe regrstered oflice cf the co:poraiion
                                                                                                         in
 Pennn'1."3,,ia shall be at 34C lledia Station Road, I,,Iedia.-PA
                                                                      19C53 untt ctren;ise establishe,l
 bi' a;: amenciireat of 'rhe a*ricies ot 'oy thre board cf dtectois an.l a recoid
                                                                                  of such cha:ige is filed
 rvith the Deparr'nieni of State ia the matu-1er picyideC by 161-,,

                   02 CIEIE]R. OFFiCES The corpoiation ma),, aiso have ofijces ai such olhel
            Seciicn 1
 places ='vithin
               oi rvithcut,Deir:isvivzuia as the bcard of ciiectcis ma-.y'fict:n time tc time appo,r-it
 or the bushess of the corpcraiion rna.v ieqnire

            Seciion 1     03 FiSCAL yE,^ip, Ihe fisca1 1,e2 of rite, ccrporaticn        snal1 begrn   ine   1st
 cal,' o{ Ja:raly   iil   eac}i yeai


                                                  ,^-[i.TICg-Z ru

                            PjOTICE - lir'AlllT,ES - FEEETII\-GS GEhEF.AILY

           Section 2      01   N,{AIr.lrER C,x Gfv.TiiG NOIiCF.

                    (a)        General R-u1e Y,'hene-r.ei r.i':itien noiice is required tc be given   ic    anv
person uncler the provisions of tire Business Corporation La.,i' oi
it ma-," be giYen to the pelson eiihcr personalli or bv sending a copyArticle-s
                                                                    by- the           or ihese bvla-^s,
                                                                             tliereof b;, flrst class or
exjliess maii, postage piepaid., oi by telegram (r,;ith messen-qer service
                                                                            specified), teiex    or I$,I{
(r'iith   ans-,-,eiback received) oi couli:r service, chalg., pr.pu.id, or by facsimiie tia.lsmission, tc
the addtess (oi to the te1ex, T\\X oi facsi:ni1e number) of ti,. p*rr"r, appeaiing
                                                                                         on the books cf
the corpcraiion oi, in the case of direciors, supplied by ths clilectcis #tn. cJr-ooraiion
                                                                                                  for the
pur*pose of nciice If the nctice rs seni b;' mail, ielegia-ph
                                                                 oi couiiei service, it snau be d,-emeC
io have been given to the peIscn entitled thereic r,...h-r. a.p".ited ix the United States mail
'"r'iih a telegaph office                                                                               oi
                            ot ccruier seivice for deliverr.to that person ci, in the case of ielex or
Ttr\'){, r-','h:n disparched or, in the case of facsimile, lvhen'ieciir.ed A nctice of
                                                                                           m;etin_E sha.il
specift the p1ace, day and hcur of the meeting and an;1 othei hfoimaiion i:quired
                                                                                             bv anf o.uhei
provrsic:r olthe Br-rslness coipoiai.ic: Larv, ihe a:iicles oi ihese
                                                                        b;.lar,s
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                  (b) Adjourned Shaeholdei Meetings $ihen a meeting of shareholders is
 adjourned, it shall not be necessaiy to give any notice of the adjcruned meeiing ol of the
 business to be hansacted at an adjourned meeting, other than by anncuncement at the meeting
 at         the adjournment is taken, urdess the boa"rd fixes a nelv I'ecold date fbr the adjouined
    "vhich
 meeting   ot these bylai,vs tequire notice of the business to be transacted and such notice has not
 previously been given

         Seciion 2 02 I.IOTICE OF tuXEETNGS OF BO,ARD OF DIRECIORS Noiice of a
legulai meeting of the board of directois need not be given Notice cf every special meeiing of
the board of directors shall be given to each dlector bv telepLrone or in nriting at least 24 hows
(in the case o{'notice by telephone, telex, TV\X or facsimile transmission) or 48 hours (in the
case of noiice by telegraph, couiiet sex-vice or expless mail) o: five days (in the case of notice
by firsi class mail) befoie the time at r,vhich the meeting is to be held Eveiy such notice shall
state the time and piace of the meeting Neithei the business to be transacted ai, noi the
ptllpose of, any regular or special meeting of the board need be specified in a notice of'a
meeting

         Section 2    03    NOTICE OF MEETINGS cF SHAREHOLDER.S

                (a) Geneial R.ule Written notice of every meeting of the shaieholclers shali
be given by, or at the directicn of, the secletzuy to each shareholder of recoid entitled to vote at
the meeting at least:

                           (1) ten ciays prior tc the day named fol a meeting called to considei a
                    frurdamentai transacticnrurder 15 Pa C S Chapier 19 regading amenclments of
                    articles   of   incorpotation, melgels, consolidaiions, share           ,*.h*grr,    sale of
                    assets, divisions, conveisions, liqr.ridations and dissolntion; or

                            (2)       five   days   piicr to the   day named   foi ihe meeting in any other   case

If the secieta.iy
                neglects or lefuses to girre notice of a meeting, 'the peison 01 pelsons calling               the
meeting may' do so, In the case of a specia-l meeting of sha;eholders, the notice shal1 specifu                the
genelal nattue of the business to be transacted, and in ail cases the nctice shall conr.ply rvith              the
express requirements of this section. Ihe ccrporation shall not have a cirrtl. to augment                      the
notice

                    (b)Notice of Action by' Shareholders on Bvlarvs In the case of a rneeting of
shareholders that ha.s as one of its purposes action onthe bylaws, r.rryittennotice shali be given
to each shareholder that the pLlrpose, or one of the puposes, of the meeting is to considel the
adcption, amendment or repeal of the bylarvs There shal1 be included in.. or enclosed r,vith, the
notice a copy of the proposed a-inendment 01 a surunary of the changes to be effectecl thereby
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             Section 2   04 WAIVER     OI NOIICE

                 (a) Wiitten Warvqr, \\trenever any r.rtitten notice is required to be given
 undet tle provisions of the Btisiness Corporation lar,v, the articles or these bylar,vs, a rvaiver
 thereof in writing, signed by the person or pelsons entitied to the notice, whether before or after
 the time stated therein, shal1 be deemed equivalent to the giving of:the notice Except as
 otherlvise required by this subsection, neither the business to be transacted at, nol the ptupose
 of, a meeting need be specified in the r,vaiver of notice of the meeting In the case of a special
 meeting of shareholdels, the r,vaiver of notice shali specifiT the generai nature of the business to
 be transacted

                 (b) Waivei by Attendance Aftendance of a perscn at any meeting shall
 consiitute a lvaivei of notice of the meeting except where a pelson attends a meeting for the
 expless pulpose of objecting, at the beginning of the meetiag, to the transaction of anv business
 because the meeting lrras not 1a-,i,{u11y called or convened

            section 2   05 MODIFICATION oF pRopcsAl,               CONTAtr|{ED It\i NOTICE
 'rtrlhenevet the language  of a proposed resoluiion is included in a r..iritten notice of a meeting
 tequiled to be given undel the provisions of the Business Corporaiion Lar,v or the articles or
 these bylar'vs, the mee'ring considering the resolution may r.vithout fiuthei notice adopt it i,viih
 s,-rch   clarifying or other arnendments as do noi enlarge its oiiginal purpose

            Section2    06   EXCEPTION TO R.EeUIREMENT OI NOTICE

                (a) Gclgt3lB'dg S/henever any totice oi coillfiIunicaiion is required to be
given to any pelscn undei the provisions of the Business Corporaiion Law or by the articles or
these bylatvs oi by the tettns of a.ny agleement oi other instiument 01 as a condition piecedenr
tc taking anv colpoia'te action and commu-nication with that perscn is then un1ar.vdr1, ihe giving
of the notice ol conimunication to thai pelson sha11 not be required

                (b) Shareholders lV-i.Lhout For-warcling AdCresses Notice 01 other
communications shall not be sent to any shareholdei r,vith *.hom the corporation has been
unable to cornmunicate for more than 24 consecutive months because communications to the
shareholder are leilrined tmclaimed or ihe shareholder has otherrvise failecl to provicle the
coipotation with a ci;rtent addtess \ilhener,,ei the shareholder ptovides the corpor,ation lvith a
cuit'ent addless, the cotporation shall commence sending notices and other communications to
the shareholder in the same mannel as to other shareholders

        Section 2 07 USE OF CONIERENCE TELEPHONE AND SIMILAR EeUtpLENI
Cne oi mole pelsoru may participate in a meeting of the board of dfuectors or the shareholders
of the cotpotation by rneans of confeience telephone or simiiar communications ecluipment by
means of r,vhich all pelsons paiticipating in the meeting can hear each other Participation in a
meeting puisuant tc this se ction shall constituie plesence in person a.t the meeting
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                                            \RTICI-E    {trtr


                                        S}IARTI{O{,DERS

        Section30l FLACE OF MEETI{G A1] meetings of the shareholders of the
 coiporation shal1 be held at the registered office of the corporation unless another place is
 designated by &e boaid of'directois in the notice of a meeting

        Section 3   02ANNUAL ivfEEIING The board of diiectors ma y fix the date and time
of the annual meeting of the shareliolders, but if no such date and time is fixed by the boaid, the
meeting fot any calendar year shall be held on the 15th day of Aprii in such year,if not a iegal
holiday rindei the lar,vs of Ferulsylvania, and, if'a legal holiday, then on the next succeeding
business da.v, not a Satuiday, at i0:00 o'ciock, A M , a"nd at said meeting the shareholderc then
entitled to vote shall elect diiectors and shali tansact such other business as may properly be
brought before the meeiing If the a.nnual meeting shall not have been called and held lr,ithin
six months aftel the designa-ted time, any shareholder' may call the meeiing at any time
theieafter Except as otherr.vise provided in the articles, ai leasi one rneeting of the shaeholder
shall be held in each calendal year for the election of diiectois

        Section     03   SPECIAL MEEIINTGS

                (a)      CalI o{'Specia-l }vieeiinqs Special meelings of the sharehoiders may be
callecl at any time:

                         (1)    by the boaid of'directois; or

                        (2) unless oiheiu.ise piovided in the aiticies, by shaisholders entitled
                to cast at least 20% of the rzote that all shateholders are entitled to cast at the
                pa:ticular rneeting

                (b) Fixing Time of lvie_etin-s At any time, upcn rv:iiten iequest of any
pelson whc has ca11ed a speciai meeting, it shal1 be the dury of the secretary to fix the time of
tlte meeting 'rvhich shall be held noi more than 60 days aftei the receipt of the request If the
secretaty neglects or reftises to fix a time of the meeiing, the peison 01 peisons calling the
meeting may do so,

        Section 3   04   QUORUM AND ADIOURNMENT

                (a)     General Rule A mee'uing of shareholders o{ the corporation duly ca1led
sha11not be otganized for the fiansacticn of business rmless a quolnm is present The presence
of shaieholders entitled to cast at least a majorily of the votes that all sha:ehclders a:e entitled
to cast on a particulal matter to be acted upon at the meeiing shall constiiu,te a quonlm for the
puposes o{ consideiation and action on the matter Shares of the corporation, ourred, directly
or indfuecily, by it and controlled, direcily or indirectly, by the boaid of' directors of this
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coipoiation, as such, shall not be counted in determining the total number of oritstanding shares
foi quortm  purposes ai an.v- given time

                (b)       Withdrai,val of'a O-uorum The shaieholders present at a duly organlzed
meeting can continue       to do business tmtil adjournment no&.iithslanding the v,tthdrawal of
enough sharehol.ders to leave less than a quoillm

              (c) Ad.iorunment -for Lack of O.uorum If a meeting carinot be organized
because a quolum has not attended, those preseni may, except as ptovidecl in the Business
Corporaticn Lal.r, adjorun the meeting to such time and place as the-v may deteinrine.

                (d) A4iournments Generally Any meeting ai i,r,&ich directols are to be
elected shall be adjourned only fiom day to day, or for such ionger periods not exceeding 15
days each as the shareholders present and entitled to vote sha1l direct, until the diiectors have
been elecied Any other regular or speciC meeting may be adjourned for such pericd as the
shareholcleis piesent and entitled to vote shall direci

               (e) Electing Directois at Adjoruned Meetiag Those shareholders entitled to
vote       attend a meeting ca11ed for the election of directors that has been pteviously
       r,.zho
adjcu:ned foi lack of a quorum, although less than a q-{orum as f,rxed in this section shali
nevertheiess constitute a quorrr-1x for the purpose of electing directors

                (f)     Othci Action in Absence of Q-uorum Those shareholders entitled to vote
r-,'ho attend a meeting   of shareholders that has been previouslv adjournecl for one 01 n-r.ole
periods aggegating at least 15 days because of an absence of a qlrolum, although less'*ran a
qlloium as fixed in this secticn, shall nevertheless consiitr-rte a quolum ior the pupose of a-cting
ripon any rnatier set forth in the notice of the meeting if the nciice states that those shaieholders
r.vho atiend the adjoruned meeting shali ne'',,erthe1ess constituie a quoir-rm for the purpose of
acting upon the rnatiei

         Section 3   05   ACTtrONI   BY SHAREHOLDERS

                (a)       Geneial   Rtile Excepi as otherwise provided in the Br.rsiness Corpotation
Law or the articles or these bylar.vs, rvhenever an)'coiporate action is to be taken by vote of the
sharehclders of the corpoiation, it sha1l be authorized upon receiving the affiimative vote of a
majority of the votes cast by a.11 sha:eholders entitled to vote theleon

              (b) trpterested Shareho_lders Any merger or other transaction authorized
rinder 15PaCS Subchapter 19C betr,veen the corpotation or subsidiaiy thereof and a
shaieholder of tlus corporation, 01 aly voluntary liquidation authotized nnder 15 PaC S
Subchapter 19I in rrhich a shareholder is treated differently fiom other sha:eholdeIs of the
same class (other than any dissenting shareholders), shall reqnire the afhrmative vote of the
shareholders entitled to cast at least a majority of the votes that all shareholders othet than the
interested shareholder are entitled to cast lvith respect to the transaction, rr,ithor"tt counting the
vote of the inteiested sharehclder For the pwposes of the preceding sentence, interested
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shareholder shall include the shaieholdei l,ihc is a pury io the iiansaction oi vrho is treated
difierentiy from othet shareholders and any pelson, or goup of'persons, thai is acting jointly or
in concert i,vjth the interested shareholder and any person r,vho, directiy or ildirectly, confto1s, is
controlled by ol is under common control ntth the inteiested shareholder An interested
shareholder shall not include any pelson u'ho, in good fa.ith and not foi the purpose of'
circ rmventing this subsection, is an agent, bank, broker, nominee or trustee lor one or moie
other petsons, to the extent that the othei petson      01 pelsons are   not interested shareholders

                 (c)      Excepti.ens Subseciion ('b) shalt not appiv to a transaciion:

                           (1)    that has been approved b-v a majodtT voie              of ihe board of
                 directors without cor:nting the vote of direc.tors rvho:

                                  (i)      ale directois oi officers of,      oi have a material equity
                          intetest in, the intetested shareholdei; or

                                  (ii)    weie nominated for eleciion as a director by the inteiested
                          shareholder, and first elected as a director, r.vithin 24 nonths of the date
                          of the vote on the proposed transaction; or

                         (2) in ri,hich the consideration to be receiveci bv the shareholders for
                 shares of any class of .,vhich shaes are ovmed by the interested shareholder is
                 not iess than the highest arnount paid by the interested shareholder in accluiring
                 shares   of the same class

                (d) Additional Approvals The ap,orovals iequired by subsection (b) sha11 be
in addition to, and not in iieu ofl, any other appraval requue<i b-y the Business Cotpoiation Lavn
the articles or these bylarxs, or otherr,-rise

         Section 3 06    ORGANIZATICN At eveiy rceeting of the sharcholders, thre chaiiman
of tire boatd, if there be one, or, in the case of vacancy in office or absence of the chairman of
the board, one of the {bllorving officeis present in the order stateci: the vice chairman of the
board, if there be one, the president, the vice presidents in their order of rank and seniority, or a
pelson chosen by vote of the shareholders present, shal1 act as chairman of the meeting The
sectetaty ot, in the absence of the secretaly, an assistant secletary, or in the absence of both the
secretaty and assistant secretaries, a person appointed by the chairman of the meeting, sha11 act
as secretary,

        Section3 07 VCTiNG zuGHTS OF SHAREI{OLDERS Unless otherrvise provided
in the aticles, every sha:eholder of the coiporation shall be entitled to one vote fbr every share
standing in the name of the shareiroldel on the books of the corpoiation,




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         Section 3   08 VCTIrrlc AliD OTHER ACIiCI\I         BY PROXY

                 (a)     Geneial Rule.

                         (1)  Every shareholder entitied to voie at a meeting of shareholdets or
                to erpress consent or dissent to corporate action in rvriting l-,'ithout a meetirrg
                may authorize anothel person to act for the shareholder by ploxy

                        (2)    The presence of, or vote or other action at a meeting of
                shareholders, ol the explession of consent or dissent to corpoiaie action in
                lwiting, by a prory of a shareholder shall constitrite the presence of, oi vote ol
                action by, or ln,ritten consent or dissent of the shareholder

                        (3) trI'herc tlvo or more ptoxies of a sha:eholder ate present, 'rhe
                corporation shall, unless otheiwise expiessly pro.;ided in the pioxy, accept as the
                vote of'all shares replesented thereby the vote cast by a majority of them and, if
                a majoriry of the proxies carurot agee r,l-hether the shares represented shal1 be
                voted ot upon the manner of'voting the share s, the vciing of the shaies shal1 be
                divided eqnally among those persons

                (b)       E-Eslltiaa-grlli iilile Every ploxy shall be executed in rv:iting bv the
shaieholder or by the duly auth.oiized attomey-in-fbct of'the shareholder and filed with the
secretary of the corporation A telegram, telex, cablegiam, dalagam oi sirnilar fiansmission
fiom a shareholdel or attorney-in-fact, oi a phoiogiaphic, facsimile or siinilai reptodnction of a
rvriting e..;ecnled b.v a shareholcler or attorney-La-fact:

                        (1)     may be heated as ptcpeily executed fbr puiposes oi this section;
                and


                        12) shall be so treated if it sets forth a confidential and unique
                identification ntirnbet 01 othet mark fuinished by the corporation to the
                shaieholder foi the pulposes of a particu-lai rneeting or ttansaction.

                 (c) Revocation A proxy, unless coi-rpled wi'rh an interest, shaii be revocable
at will, notlvithstanding any other ageement or any piovision in the proxy to the conta:y, but
the revocation of a pioxy sha1l not be eflective rmtil 'u.,titten notice thereof has been given to the
secretaty of the corporation An urrevcked proxy shail not be valid after tluee yeas fiom the
date of its execution unless a longer time is expiessly provided therein A pioxy sha1l not be
ievoked by the death or incapacity of the maker unless, befbre the vote is counted or the
authority is exeicised, w:itten notice of the Ceath or incapacity is given to ihe secretar\i of the
corporation

                (d)   Expenses Unless otherrvise restricted in the articles, the corporation
shali pay the teasonable ex,oenses of solicitation of votes, pioxies or consents of shareholdets




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 by or on beha"lf of the board of directors or iis nominees for election to the board. including
 sciiciration by prof'essionaL ploxy solicitors and oiheirvise

        Section3.09 VOTiNG BY FIDUCIAFJES A}'lD PLEDGEES Shares of the
colpotation standing in the name of a tuustee or oiher fiduciary and shares held by an assignee
for the benefit of creditors or by a receiver may he voted by the tiustee, fiduciary, assignee or
receiver. A shaeholdet lvhose shares are pledged shall be entitied to vote the shares uniil the
shares have been transferred into the name of the pledgee, 0L a nominee of the pledgee. but
nothing in this section slrall affect the validity of a pioxy given to a pledgee or nominee,

          Section 3   10   VOTNG BY IOINT HOLDERS            OF SI{,AR-ES

                 (a) General Rule \Vheie shares of the corporation a:e held jointlv or             as
tenants in common by two 01 mole pelsons, as fiduciaries or other"r,r,ise:

                           (1)    if  only one ol more of such persons is piesent in peison or by
                 pio.-(y, all of the shares standing in the names of zuch peisons shal1 be deemed to
                 be teptesented for the prupose of determining a quoium and the coipoiation
                 shal1 accept as tlie vote oi ail the shares tlie vote cast by a joint o'r ner or a
                 majority of them; and

                           (2)    if tlie persons
                                                are equallv divided upon r,vhether the shaies held by
                 them shali be voted or upon the marmer of voting ihe shares, the voting of the
                 sha.res shall be divided equally amcng the persons without prejuclice to the rights
                 of the joini olvners or the beneficial owners therecf among themsehzes

                 (b)   Exception If there has been fileC li,ith the secretaiy of the corpciation a
copYl c.eltified by an aitoiaey at lar.v io be corlect, of the relevant pcrtions of the agteemeni
under rvhich the sha:es are held ot the instument by vvtich the trust oi estate rvas created or the
oicler of couit appointing thern ot of an oidei of court directing the voting of the sirares, the
pelsons specified as having such voting polrrel in the docunent latesr in clate of opeiatirre eff'ect
sc filed, aad onl'r those peisons, shal1 be entitled to vote the shares but only in accoidance
therew,iih

          Section 3   11   VOTn{c BY CORPORATIOIVS

                 (a)       Voting by CorpqIALe-Shareholde.t-q Any coiporation tirat is a shareholder
o{ this cotporation may vote bv any of its offrcers 01 agents, oi by proxy appointed by any
ofr'icet oI agent, unless some other pelson, by resoh"rtion of the board of diiectois of the other
corporation or provision of its articles or bylaws, a copy of ra,'hich resolution or ptovision
certified to be correct by one of its officers has been filed r.iiththe secretary of this corporation,
is appointed its general or special pioxy in rnhich case that pelson     shal1 be entitled to vote the
shales,
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                (b) Contolied Shares Shares of this cor.ooiation or,vned, direcily or
 indirectly, by it and conftolled, directly or indfuectly, by the board o{ directois of this
 cotpotation, as such, shaii not be voted at any meeting and sha1l not be counted in deiermining
 the total number of outstanding shares for voting pluposes at any grven time

          section 3   12 DETERMINATION         oF sriAREHoLDER.s oF RECORD

                (a) Fixi4g.Becord Date. fhe board of dilectors may fix a time prior to the
date of any meeting of shareholdets as a record date fbr the cietermination of'the shaieholciers
entitled to notice of, or to vote at, the meeting, i.vhich time, except in the case of an aclioqrned
meeting, shall be not mole than 90 davs pdor to the date of the meeting of sharehoiders Only
shareholders of tecotd on the date fixed shall be so entitled notr,vithstanding any transfbr of
shates on' the books of the coipoiation aftei any lecord date fixed as provided in this
subsection The board of directors rnay simiiaily frx a reeoid date for the determiaation of'
shareholders of recctd fot any othel prupose \trIeeii a cleiermination of shaeholders of record
has been made as provided in this section for purposes of a rneeting, the d.eteimination shaLl
apply to any adjournment thereof unless the board fixes a new record clate for the acljourned
meetirrg

                (b)     Determination \Yl:ren a Record Date is Not     Fixed If a record clate is not
fixed:

                        (1)     The tecord daie fbr deteimining shareholders entitled tc notice of
                01 to vote at a meeting of shareholders shall be at the olose of business on the
                daie next pieceding the day on which notice is given or, if notice is r..raived, at
                the close cf business on the day irnmediaiely preceding ihe day on wlirch the
                meeting is held

                        (2) The record daie for determrning sharehoiders entitled to expiess
                collsent ot dissenr to cotpotate action in ir,:iting v,,ithr:ui a meeiing, r,vhen prior
                action by the boaid of diiectots is not necessary, to call a s;oecial meeting of the
                shareholdeis 01 plopose aii amendment of the articles, shal1 be the ciose of
                business on ihe day on r,vhich the first vo,.ryitten consent or dissent, lequest for a
                special meeting ol petition proposing an amendment of the aiticles is filed with
                the secietary oithe corporation

                        (3) fhe tecotd date foi deteimining shareholders for any other
                purpose sha1l be at the close of br"tsiness on the day on w&ich the board of
                directors adopts ihe resolution relating thereio

         Section 3   1.3 VOTING LISIS

               (a) General Ru1e. The officer or agent having charge of the transfbi books
fotshaies of tire cotporation shall ma.ke a complete list of the shareholders eniitied to vote at
any meeiing of shaeholders, arranged in aiphabetical order, with the address of and the numbei
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  of sha:es held by each fhe Lst shaIl be produced and k-ept open at the time and piace of the
  meeting and shall be subject tc the inspeciion of any shaieholder dr-uing the rvhole time of the
  meeting for the puposes theieof

                   (b) Eflect.olList Failue to compllz with the iequfuements of this section
  shall not effect the validity of any action taken at a meeting prior to a demancl at the meeting by
  any shateholdel entitled to voie thereat to examine the list The original share register or
  transfet book, or a duplicate ihereof kept in this Commonrvealth. shal1 be prima facie evidence
  as to rvho are the sha-teholders entitied to exarnine the list oi sha:e register or transfer book
                                                                                                    or to
  vote at any meeting of shaieholdei.s

             Section 3   14   IUDGES OF ELECTION

                   (a) AppointmeglL [n advance of any meeting of sharehoideis of the
 cotpotation, the boa-id of directols may appoint judges of election, r,\,ho neecl not be
 sha-rehoiders, to act at the meeting or any adjorunment theieof , If judges of election are not so
 appointed, the presiding officer of the meeting may, and on the request of a-ny shateholder sha1l,
 appoint judges of election at the meeting, The number of' judges shall be one or thiee A
 pelson',','ho is a candiC.ate foi office to be fiiled at the meeting shall not act as a jtid*ue

                 (b) Vacancies, In case any pelson appointed as a judge fails to appeai 01
 fails or refuses to act, the vacancy may be filled bv appcintmeni made by the boarcl of clireetors
 in advance of the convening of the meeting or at the meeting by the presiding officer theieof

                  (.) Dliiies The jttdges of election shall cleterraine the numbet of shares
ouistanding a"nd the voting povvei of each, the shares represented at tiie meeting. the existence
of a quorum, the authenticiily, validitl and effbct of pro><ies, receive votes oi bi[ots, hezu and
cieiermine all challenges and questions in any u,ay arisir-,g in connection lvith the right to voie,
count and tabulate all vctes, determine the result and do srich acts as may be plopel to concluct
ihe election ot vote rvith fairness to all shareholciers The judges of election shali perforril their
duties impartiallv, in good faith, to the best of their ability and as expeditior,rslv as is practical
If there ate ttuee judges of election, the decision, act or ceitificaie af a majority shall be
effective in all respects as tire decision, act or certificate of a1l

                   (d) Repott On tequest of the presiding officei of the meeting, or of anv
shareholdei, the judge shali make a repolt in witing of any challenge or question or maiter
determined bv them, and execute a certificate of my fact found by them Any repolt 01
celtiflcate made by them shall be piima facie evidence of the facts stated theiein

            section 3   15    CONSENT oF SF{,{REH0LDERS IN LIEU oF Iv{EETil\TG

              (a) Unanimous Wtitten Consent Any action requirecl oi permitied to be
      at a meeting of the shaiehoiders or of a class of shareholdeis may be taken r,vithout a
ta-tr<en
meeting if, prior or subsequeni to the action, a consent oi consents thereto by all of the




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 shareholders v,'ho r.vculd be entitlecl to vote at a meeiing for such pupose shali be irled. viith'rhe
 secleialy of the coipoialion

                   (b) Partial Written Consent Any action required or peimitted to be taken at
a rneeting    of the sha.reholdeis or of a class of shareholdets may be taken r,vithoui a meeiing upon
the r,riritten consent of shareholders r,vho vrould have been entitled to cast the minimum number
of votes that tvould be necessary to authorize lhe action at a meeting at rvhich all shaeholders
eatitled to vote thereon r,vete ptesent and voting The consents sirall be filed r,vith the secretaiy
of the corporation The action shail not become effective until after al least ten days' q,ritten
notice of the action has been given to each shareholder entitled to voie thereon rn,ho has not
consented iheieio.

           Seciion 3   16   IVIL\CRS AS SECURIIY HOLDERS The corporate on may treai a
minoi r,vho holds shares oi obligations cf the corporation as having capaciw to receive and to
el-opo\ivel othets to tecei',ze divideni.s, inieiest, principal and othet payments or distributions, to
vote or expless consent ot dissent and to make elections and exercise rights relating to such
shares or obligations tutless, in the case of payments or distributions on shares, the corporate
oi{icel tesponsible fbi maintaining the list of' shareholders oi the tiansfer agent of the
cotporation ot, in the case of payments or distiibutions on obtigations. ihe tleasuier or paving
officei or agent has received xryilten nciice that the holder is a minoi

                                            AR.TXCT,E   IV
                                    tsOAR,D OF'DIRECTOR.S

           Section 4   01   PO11/ERS; PERSO}{AL    LIABILITY

                  (a)   General.Rule Unless others'ise provided by stahlte all por,vers vesied by
1ar';   in the corporation shail be exercised by oi r-rnder the authoiity of, and the br-rsiness ancl
affairs of the cotpcration sha1l be managed unclei the direction of, the boaid of directors

                (b) Stanclaid of Care; J,,rstifiable Reliance A directoi sha1l stand in a
fiduciary relation to th'e cotpctation and shali is peiform his or her durties as a director,
including duties as a member of a:ry committee of the boaid upon which the director riray selve,
in good faith, in a mannel the director reasonably believes to be in the best interests of the
corporation and ivith such care, including reasonable inquiry, skili and diligence, as a person of
ordinary prudence rvouid use und.ei similar circumstances ln performing his or her duties, a
dlrector shall be entitleci to rely in goocl faith on infbrmaticn, opinions, reports oi statements,
includ-ing financial sta-iements and other financial data, in each ca.se prepared oi presented by
any of the follorving:

                        (1) One or more officers oi employees of the corporation r,vhom the
                 director reasonably believes to be reliable and competent in the matters
                 piesented




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                        (2)     Counsel, public accountaats or oiher pelsons as to matte-rs ,,i,tich
                the director reasonably believes to be lvithin the prof'essional or         expeit
                competence of such person

                       (3) A committee of the boad upon w-hich the director does not selve,
                duly designaled in accordance rvith lai,v, as to matters within its designated
                authotify-, i,v'hich committee the director reasonably believes to merit conf,rdence

A <iirectci shal1 noi be consideied to be acting in good faiLh if the ditector has knorriledge
concelning the mattei in question that lrzould cause h.is or her ieliance to be urr,r.airanted

                (c) Consideration of Factors In dischaiging the duties of their respective
positions, riie boald of directors, committees of the board and individrial direciors may, in
considering the best interests of the oorporation, consider the effects of any action upon
emplcyees, upon suppliers and customels of the cotporation and upon con:mr,rrities in ri,'hich
offices or other establishments of the corpoiation ale iocated, ancl al1 other pettinent f'a.ctors,
The consideiation of those factors sha11 not constitr-ite a violation of subseciion (b)

                (d)       Sresumption Absent breach of fiduciary dutl, lack of good faith or self-
dealing. actions taken as a diiector 01 any failure to iake any action shall be presumed to be in
    -best
the       interests of the corporaiion,,

                (e)    Peisonal l-iabilirv* of Directcrs

                         (i) A directoi     sha1l   nct be peisonaily liable, as such, for rnoneta:y
                clamages {br any a-ction ta.ken, or any faihue tc take any aeticn, tinless:

                               (i)      the director has breached or faiied to perform the duties of
                       his or hei office under ihis section; and

                               (ii)     the bieach oi faih-ue to perflcrm constihttes self-dealing,
                       willful misconduct or recklessness,

                         (2) Ihe provisions of paragraph (1) shall not apply to the
               responsibility or liability of a dfuector pursuant to any criminal statute, or the
               liabilit,v of a director for the palnnent of taxes pursuant to local, State or f ederal
               lalt'

               (f)      lrlotation of Dissent A director r,vho is piesent ai a meeting of the bcard
of directots, or of a committee of the board, at i,vhich action on aity colpolate matter is taken
shall be piesumed to have assented to the action iaken unless his or her dissent is enteied in the
minutes of the meeting or unless the driector files a i+ritten dissent to the a.ction with the
secletary of the meeting before the adjournment thereof or transmits the dissent in 'uvriting tc the
secreta.r-y of the corporation immediately aft.er the adjcrunmeat of the meetin-e The right to
dissent sha1l not apply to a director rvho voted in favoi of the action Nothing in this section



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 shal1 bar a director fioil asserting that rninutes of the meeiing incorrectl-v omitted his or her
 dissent if, promptiy upon receipt of a copv of such minutes, the director notifies the secieta:y in
 r.rr:iting. of the asserted omission or inaccLuacy,


            Section 4   02   QUALIFICATION AliD SELECTION OF DLR.ECIOR.S

                      (a)   Oualifications Each director of the corporation shall be a natural pelson
 of ftiil   age   who need not be a resident of Pennsllvania oi a sha:eholdet of the corporation

                      (b)Elc.otipn of ggsplaiq Except as otherlvise provided in these bylar-is,
dilectots of the cotpotation shall be elected by the sharehol<iers In eleciions for directois,
voting need not be by ballot, except upon demand made by a shareholcier entitled to vote at the
election and befole the voting begins The candidates receivirlg the highest number of votes
fiom each class oi group of classes, if ony, entitled to elect clirectors sepaiately rip to the
nuirrber of directors to be elected by tl-re class or gloup of classes shal1 be eleeted if at any
meeting of shareholdels, diiectors of more than one class are to be elected. each class of
direclors sliall be elected in a separate election

                     (c)     Cumu.lr'tive   Votine   Unless the articles provide for straight voting. in
each election of directols eveiy shzueholcler entitled to vote shajl have the righi to urultiplv the
numbel of votes to r,r'hich the shareholder may be entitled by the total numtier of directors to be
elected in fte same election by the holdeis of the class oi classes o{'shaies of rv-hich his or her
shares are a pait and the shaeholders ma,v cast the r,vhole numbei of his oi her izotes for one
canclidate cI may distribgte them among tv,,o 01 more candidates

            Section 4   03   NUN,{BER"   A\lD IEFJ\{    CF OFFiCE

                 (a) Nttrnbet The board of directors shall consist of th,ree dilectors - ons
Class A duectol, one Class B direcior ancl ote Ciass C direcior Only shareholders or,.m.ing
Class A stock of the cotpotation shali be entitleci to cast votes to elect the Class A director
Only siraieholders owning Class B stock of the corporation shali be entitled to cast votes to
elect the Class E dhector Only shareholders ou,:i.ing Class C stock of the corporation shall be
entitled to cast votes to elect the Class C diiector The term of appointment of each of the Class
A Director, the ciass B Diiectoi and the ciass c Director shall be one yeal

                     (b)  Independent Advisor The shareholders shail cast votes to seiect an
furdependent advisor once annualiy at the same time the shareholclers cast votes to elect the
directors The independent advisor shaii not be a drector and shal1 nct be given notice of nor
attend any regulai or special meetings of the board of directors uniess and until the board is
unable to reach a resolution by the required number of directoi votes on a paiticula matter oi'
issue during a tegulal or special meeting Shorild the board become deadlocked in this manne1,
any directol may call a special meeting of the board for the scle purpose of resolving any such
deadiock and, at least ten days prior io such meeting, give nctice to the independent advisor that
the meeting rz''ill take place and that the independent advisor should attend At the meeting the




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independent advisor r,vili be permiitecl to cast one vote as if he or she were a diiectcr fbr 'rhe sole
pulpose of brea.king the deadlock

                (c) Term of Oifice Each director or independent advisor shall hcld office
until the expi-ration o{ the term for rvhich he oi she r,vas elected and until a successor has been
selected and qualified or until his or her earlier death, resignation or lemoval A decrease in the
n,,rmbet of directors shali not harze the effect of shoitening the term of any incumbent director

                (d) Resisnation Arry directot ot independent acivisot mzy iesign at any time
upon rvritlen notice to the corporation The resignation shall be efiective upon receipt thereof
by the cotpoiation or at such subsequent time as shail be specif,ed in the notice of resignation

        Section 4   04   VACANCIES

                 (a) General Rule Vacancies in the board of directors, including vacancies
resuiting fiom an increase in the number of directors, and vacancies of the independent acivisor
position, shall be filled by a majority vote of the shaieholders r,r,ho are be entitled to select a
director to fill the directorship, or independent advisorship, as applicable ln the event of a
vacancy, the corporation shall imrnediatel,v give notice to the shareholders of such vacancy so
that a shareholder meeting may be called for the pulpose of casiing votes fbl a replacement
directoi oi independent acivisor, Each director or independent advisor so electecl shali serve for
the balance of the unexpired term, and until a successor has been selected anri qualified, or until
his or her eariiei death, resignation or renroval

                (b)    Action_by Diiectolt in the Event of an Unrilled Vacancy If there is an
unfilled vacancy in ths board, the remaining director may act only vzith the unanimous a,oproval
of the shaieholders, or in the event of a tie, lvith the approval of half of the shareholclers a-nd ihe
independent clirector

        Section 4   05   REMOVAL CF DIRECTORS

                (a)      Removal by the Shar-e-bolders the entire board of directors, or any class
oi the bcard, oi any inclividual direciot may be removed fiom ofiice            r.vithout assigning a.nv
cause by  the vote  of'shareholders, or of the iroldeis of a class or series of shares, entitlecl to elect
directors, or the class of dkectors In case the boeud oi a class of the boatd or anv one oi more
directors are so iemoved, nelv directors rnay be elected at the same meeting The board of
directors may be lernoved at a;ry time r,vith or without cause by the unanimoi-rs vote or consent
of shzueholders entitled to vote thereon

                tb)      Removal b)-ihe Board fhe boa:d of directois may declaie vacant the
office of a diiector r.,'ho has been judicially declaied of' unsound mind or who has been
convicted ol an oflense punishable by imprisonment for a term of more than one yeai or if,
within 60 days after notice of his or her seleciion, the director does not accept the office either
in rv:iting or by attending a meeting of the board of directois




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 cf the boa-id of'dilectois   except lhat. a committee shall not harre any power oi ar.rthorit.v as t0 the
 following:

                         (1) The submission to shzuehold.ers of'any action reqrifuing approval
                 of shareholders under the Business is Corpoiation Lar,v

                         (2)       The cieation or filling of vacancies in the boaid of'directors

                         (3)       The adoption, amendment or iepeal o{ these bylar.vs

                         {4) rhe ar"nendmeni or repeal of any resolution of the board that by
                 its terms is amenCable or repealable only by the boaid

                         (5)     Action on matte's committed by a resohition of the boaid of
                 diiectols to ancther cornmittee of the board

                 (b)    Aiternate Co-minitteq-Members The boaid. may designate one or more
directois as alternate members of any committee r.rho ma1, replace any abseni oi disquaiified
mernl-.er at any meeting of the cornmittee or fol the puposes of any t,titten action by the
coinmittee In the atrsence or disqualiiication of a member and alternate member or mernbers
of' a committee, the member or rnembers thereof present at any meeiing and not disqualified
from voting, r,vheiher or not constihiling a quoium- may unanimousiy appoint anoihq director
to act at the meeting in the place of the absent or disqualified membei.

                (c)     reim       Each committee of'the boa-id shall serve at the pieasure of the
boarcl

                (d)    Committee Procedures The ierm "board of diiectors" 01' "boa1d,," \../hen
used in any provision of these byiarvs reiating to the oiganization or procedures of oi the
marlrer of taking action by the bcard of diiectois, sha]l be constned to include and refel to any
executive or other committee of the boa:d

        Section 4 12 COI4PEhISAIICI.i The boaid of directois shall have the authority to
fix  compensation of diiectors foi their services as directors and a director may be a salaried
officer of the corporation

                                              ,AR.TNCI,E   V

                                              OF'FICER.S

         Section 5   01 OIIICERS       GENERALLY

               (a) lrTumber. Oualification and Degjgnatigq The officers of the coiporation
siiall be a ptesident, a secretary, a treasuler, and such othel officers as may be elected in
accoldance rvith the provisions of Secticn 5 03 Offrcels may but neecl not be diiectors or



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 shaieholdels of the cctporation The president and secretaiy shali be natural persons of'full age
 The treasruel may be a cotpoialion, trut if a natural pelson shall be of fuil age The boarcl of
 ditectois may elect irom arnong the members of the boaid. a chaiiman of the bca:d and a vice
 chairman of the board who shail be officeis of'the corporation Ary number of offices may be
 held by the same pelson.

               (b) Resisnationq Any officer may resigrr at any time upon lvritten notice to
 the corporation The resignation shall be effective upon receipt thereof by tire corporaiion or at
 such subsequent time as may be specified in &e notice of resignation

                (c)      Ponding The coipotation may secule the fidelih of         any   or all of its
officers by bond or otherrvise

                (d)    Standard of Care Except as oiher\yise provided in'rhe articles, an officei
shall perform his oi het duties as an officer il good {aith, in a mannei he or she reasonably
believes to be il the best interests of the corporaiion and lvith such care, inclr.rding reasonable
inquiry, skill and diiigence, as a pelson of otdinaly prudence r,r,ould use uncler similar
cit'cumstanoes A peison who so performs his or her cluties shail not be liable by reason of
having been an officer of the corporation

        Seciion 5 02 ELECTION AND TERr\4 CF OFFICE The offieers of tiie corpcia.tion,
except tliose elected bv delegated authority pursuant to Seciion 5 03, sha11 be elected aiurualiy
by the boad of directots, and each such officer shall hold office foi a. terrn of'one yeai and until
a strccessol has been selecied and qualiflecl or until hi-s or her earliei death, resignation or
reirioval

         SEction 5  03  SUEOP.DINAIE OFFiCERS, CO},ii',{lTTEES AND AGENIS The
boarci of diiectors may iiom time to time elect such other officers and appoint such committee-s,
en:ployees ot oiher agents as the busrness of the coiporation may lequire, inclucling one ol more
asslstant secieialies, afld one oi more assistant treastLrers, each of whom shall hoid office for
sr-rch period, have such authority, and peiform such duties as a.le provided in these bylalys or as
the boa-rd of cliiectors may fiorn time to time determine The board of directors may delegate to
any offlcer oi committee the po\,\iel' to elect subcrdinate officels and to retain oi appoint
einploYees ol other agents, oi committees theieof and to plescribe the authoiity and duties cf
such sriboidinate officers, cornmittees, employees or other agents

        Section 5   04REMOVAL OF CFFICERS AND AGEhIIS Any officer oi agent of the
cotpoiaiion may be removecl by the board of'directors with oi r,yithout cause The removal sha1l
be lviihout piejudice to the contract rights, if any, of any pelson so iemoved Election ot
appointment of an ofiicer ol agent shaLl not of itself create contact rights

        Sectron 5 05 IACANCIES A vacancy in any office becanse o{ dea-th, resignation,
temoval, disqualification, or any oiher cause, sha1l be filled by the board of dilectors or by the
officei or committee to r,-',,hich the por.ver to fiIl such oflice has been clelegated pursuant to



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 Section 5 03, as the case may be, and if the office is one for r,r,-hich these bylav,rs prescribe a
 teim, shall be fill,^d for the uriexpired portion of the term

         Section 5 06 AUTFIORIIY A11 officers of the cozpoiation, as betrveen themselves
 and the cotpotation, shall have such authority and perfbtm such duties in the management of
 the corporation as may be provided by oi pursuant to resolution or orders of &e boaid of
 directors or in the absence of controlling provisions in the resolutions or orders of the board of
 directors, as may be deteimined by or prxsuani to these byla-rvs

         Section 5 07 TFIE CHAIRMAN OF Tl{E BOARD The chairman of the board if
 there be one, oI in the absence of the chairman, the vice chairman of the board, shall preside at
 all meetings of the shareholders and of the board of diiectols and shall pei{bim such other
 duties as may fiom time to time be requested by the board of'dilectors

         Section 5 08 THE     PRESIDENT the president shall be the chief executive oflicer of
the colporation and    shal1 have general supervision over the business and operations of tire
 colporation, snbject however', to the controi of the boarcl of directors The president shal1 sign,
 execute, and acknowledge, in the name of the corporati.on, deeds, moltgages, contracts or othet
instrurneots authoiized by the boaid of directots, except in cases r,r,here the signing and
execution theieof shall be expressly delegated by the board of directors, or by these b1.-iar,vs, tc
sorne other officer 01 agent of the corpoiatlon; and, in generai, shali peifoim al.l duties incideni
to the office of piesident and srich other duties as fiom time to time ma.y be assigned by the
bcard of directors

       Section 5 09 XHE SECFJ,TARY The secretary 01 an assistant secietaly shall atiend
all meeiings of the sharehclders and of'the board of directors and shall record all votes of the
sharehoid-ets a:rd of the diiectors a:rd the rninutes of the meetings of the shareholdeis and of the
baatd. of directors ancl of corrunitiees of the board in a book or boohs to be kept for tliat
pulpose; shall see that notices ale given and records and repoits prcperlv kept anci fiied by the
cotpolation as required by law; shali 'be the custodian of the seai of the corporation and see that
it is affixed tc ali docurnents to be executecl on behalf of the corporation under its seal; and, in
generai, shall peiforin all duties incident to the office of secteiay, and such cthei duties as rnay
fiom time to time be assigned by the boaid of directors 01 rhe president

         Section 5 10 TFIE TREASURER The treasurel or an assistant teasurer shali have or
provide fbr the custody of the frurds or other property of the corpotation; shall collect a.nd
receive or provide fbi the collection ar,d receipt of moneys earned by or in any marner due to or
teceived by the corporation; shall deposit all fi.rnds in his or her custody as treasmer in such
ban-ks ot other places of deposit as the boaid of directors may fiom time to time designate;
shall. rvhenever so required by the boaid of diiectois, iendei an account shorving all
tlansactions a.s fueasurer and the financial condition of the corpolation; and, in general, shall
dischage such other duties as may fiour time to time be assigned by the board of diiectors or
the presideni




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         Seciion 5 i i SALARIES Jhe salaries of the officers elected by &e board of directors
 shall be fixed fiom time to time by the board of diiectors or by such of{icer as may be
 designated by resolution of the boa:d The sala-ries or other compensation of any othei officers.
 employees and other agents shali be fixed fiom time to time by the oflicer or committee tc
 which the por,'vet to elect such officels or to retain oi appoint such employees or other agenis
 has been delegated putsuant to Section 5 03 No officer shail be pievented fiom receiving such
 salary ot othet compensation by reason of'the fact that the officer is also a director of the
 coipoiation

         Section 5   12DISAILOWED COMPENSATION Anv payrnents made to an officer
ol employee of the corpoiaiion such as a salary, cor:rrnission, bonus, inteiest, rent, travel or
entertainment e,"'pense irrcured by him, r,vhich shali be disallorved in lltrole or in part as a
cleductible expense by the Internal Revenue Service, shall be teimbursed by such officer or
emplo"vee to the corpolation to the fuil extent of such disaliowance It shall be the duty of the
diiectols, as a Board, to enfolce payment of each such amount disallor,ved ln lieri of payment
by the officer or employee, subject to the determination of the clirectors, proportionate amolinis
maY be r.vithheld from ftiture cornpensaticn payments until the amount owed to the corporation
has been recovered

                                             AR.T'NCLE   Vi

                        cERT'trX-trCATtrS GF- SToCK, TRAiySF',EB, ETC.

         Section 6 01 SHARE CERTIFICT\IES If the a:ticies state that the corporation sha1l
issue rmoertificated sha:'es, tlie corporation shali give shaieholders all iniormation concerning
their slrales as is requfued by lar ii' the ccrpoiaticn issues ceitificaies, sricli certificates foi
shares of the cotpoiation shall be in sucii fbrm as a-pproved b-v the boalC of directors, and sha11
state thai the corporation is incorporated uilder the laws of Penasylvania, the name of the person
to rr,'honi issued, ancl the numbei and class of shares and the designation of the series (if any)
that the cettificats ieplesenis The share iegister ol tansfbi books and blank share cettificates
shall be kepi bv the seeretaty oi bv any iransfel agent oi legistrar d-esignated bv the boa:d of
cliiectors fbr that pupose

        Section 6  02    ISSUANCE The shaie ceitificates of the corporution shall be numbered
and registered in the share tegister or'ftansfel books of the corporation as they are issued fhev
sha1l be signed by the president or a vice president and by the secretary 01 an assistant secretary
or the treasulei oi an assistant treasuier, ancl shall bear the coiporate seal, r,vhich may be a
fa-csimile, engraved or printed; btrt wheie such certificate is signed by a transfei agent or a
registrai the signahrte of any corporate officei upon such. certi{icate may be a facsimile,
engraved ot printed In case any officer r,vho has signed, or whose f'acsimile signature has been
placed upon, any share ceitiflcate shall have ceased to be such officer because of death,
resignaticn or otherr,vise, before the certificate is issued, it may be issried with the same effect a-s
if the officei had not ceased to be such at the date of its issue The plovisions of this Section
6,02 shal1 be subject to any inconsistent or contrary agreement at the iime between the
corporation and any transfer agent or registlar



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        Section 6 03 TRqIISFER lta,esflers of sha:es shali be made on the shzue registei oi
ttansfet books of the cotporation upon surrender of the ceitificaie therefor, endoised by the
peison named in the ceitificate or by an attolney lalvf*lly constitr-rted in r.,riting No hansfbt
shall be made inconsistent w"ith the provisions of the Uniform Commercial Code, l Pa C S $
8101 et seq, and its amendments and supplements,

         Section 6 04 RECORD HOLDER OF SIIARES fhe corporation shal1 be entitled to
treai the pelso1l in r,vhose name any shale ol shares of the corporation stand on the books of the
corporation as the absolute ownei thereof, and shail nct be bound to lecognize any equitable or
other claim to, or intelest in, such share or shaes on the pa-lt of'any other person

         Section 605 LCST, DESIROYED OR. i{u-iILAIED CEP.,UFiCAIES The holder
of   an_v-shaies of the corpotation shall immediately notifir the corpotation of any ioss,
clestruction or matilation of the certificaie therefbi, and the board of clilectors may, in its
discietion, cause a ne-vr,' certificate or celtificates to be issued to such holdei, in case of
mutilaiion of the certificate, upon the surrender of the mutilated certificate or, in case of'loss oi
destrr:ction of the ceriificate, upon satisfactory pioof of such loss or destruction and, if the
board of directors shal1 sc deteimine, the deposit of a bond in such fotm and in sr.ich sum, and
with such surety ol srireties, as it ma-/ direct

                                           AR.TICN,E VXT

                  II"{DE N{-S{{FNC.{TTON O F DIF,E CT OR.S, OFF,N CERS AI'YD
                        OTtrdll,- R AUTE{ CRNZE D REFRE S EIqT.AT N\ts S


         Section 7   0i   SCOPE OF IiYDEI\,4NIFICATION

                  (a) Geneial F,rile The corpoiation shali indemni& ar-i indemnified
repiesentative against erry liabiltV incurred in connection i;vtth any proceeding in r.vhich ihe
indemnified iepieseirta.tir.e may be involved as a pa.W oi other'"vise by reason of the fact that
such person is oi r,vas serving in an indemnified capacity, inciuding. r,vithout lirnitation,
liabiiities resulting fiom any actual or alleged breach or neglect of duff, error, misstatement or
misleading statement, negligence, gross negligence or act giving rise to strict or products
liabilil.v. except,

                          (1)    rvhere such indemnilication is ex,presslyprohibited by applicable
                lar.v;


                       (2) r,vhere the conduct of'the indemnified reptesentative has been
               finaliy determined pusuant to Section 7 06 or otheir.vise:

                                (i) to constitute lvillflil misconduct ol iecklessness within the
                          meaning of 15 Pa C S $ 513(b) ar.d 1746(b) and42 Pa. C S $ 8365(b)




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                         ol ary supelseding provision of iai.v sulficient in the circumstances to ba:
                         indemnification against liabilities arising ftom the conduct; oi

                                (ii)    to be based upon oi attributable to the receipt by the
                         indemnified representative fiom the corporation of a personal benefit to
                         rvhich the indemnified representative is not legal1y entiileci; or

                          (3) to the extent such indemnification has been fina1iy determined in
               a   final adjudicaticn pursuant to Section 7 A6 b be othenvise unlaqd.rl

                 (b) Partiai_Payrneni If an indemnified representative is entitled to
indemnilication in respect of a portion, bnt not all, of any liabilities to r,vhich such person may
be su.bject, the corpotation shali indemnifr such indemnified representative to the maximnm
exteirt fbr such portion of the liabilities

               (c)     Presumpiion The termination of a proceeding by juclgment, orcler',
settlement oi conviction oi npon a piea of nclo contendels or its equivalent shall not of itself
cteate a presumption that the inden^nified representative is not entitled to indemnification

                   (d)    Dgfinitions For purposes of this Article:

                       (1) "indemnified capacity" mearrs any and all past, piesent and futule
               service by an indemnified lepreseniative in one or mole capacities as a director,
               officer, employee or agent of the corporatioa, o!, at the ieqnest of the
               oorporaticn, as a director, offlcer,' employee, a.gent, fiduciary or tir.rstee of'
               another corporation, parhrership, jcint r/eniuie, tnrsi, ernployee benefit plan or
               othei entity oi enteipiise;

                         {2)    "indenmifiecl representative" meaas any and all diiectors and
               officeis of tire corporaiion anci any other persoa designated as an indernnified
               iepresentative by the board of diectots of the corporation (r.vhich may, but need
               not, include any peison serving at the request of the corporation, as a dilector,
               officer, emplo-yee, agent, fiduciary or trustee of anothei corpoiation. paitnership,
               joint venture, tlnst, employee benefit plan or othei entity or enierpiise):

                         (3)    "iiability" means Nry damage, jndgment, amotmt paid in
               setilement, frne, penaifl, pnnitive damages, excise tax assessed ,,vith respect to
               an employee benefit p1an. or cost or expense, of any natuie (including. withorit
               lirnitation, attorneys I fees and disbrusements) and

                         (4)    "pioceeding" means any tkeatened, pending or completed action,
               suit, appeal or other pioceeding of any rratrae, w-hether civil, ctiminal,
               administrative or investigaiive, whether foimal or infoimal, and lvhether brougirt
               by oi in the right of the corporation, a class of its secr-uity holders or oiherr,vise,,




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        secdon 7 02             PROCEEDNGS t\iITL{rED By                            NDENfl{IFIED
REPRESENTATIVES Notwithstancling any other provision of this Article, the coiporarion
shali not indemnify undei this A-rticle an indemnified representative fbr any liabilif incuned in
a proceeding furitialed (n'hich shall not be deemed to include counterclairns or affumative
deienses) or paiticipated in as an intervenor or amicus curiae by the pelson seeking
indemnification r.rniess such initia.tion of oi pa:ticipation in the proceeding is auihorized, eithet
before oi aftet its commencement, by the affirmati''ie vote of a majoiity of the direetors in
office This section does not applv to a teimbr-usement of expenses incurred in successfully
piosecuting or defending an arbitration under Section 7 06 or otheir,vise successfully
prosecuting ot defending the rights of an indemnifred lepresentative ganted by or putsuant to
this Article

         Section 7 03 ADVAIICING EXPENSES The ccipoiation sha.li pay the expenses
(inehidiag attomeys, fees and disbursements) incrured in good faith by an indemnified
teptesentative in advance of the final disposition of a proceeding described in Section 7..A1 ot
the initiation of or participation in r.r,'hich is atithorized pursuant io Section 7 02 upon receipt of
an rindertatriing by or on behalf' of the indemnified lepresentative to repa.y the amount if it is
ultimatel-v- detetmined puisuant to Section '7 06 lhat srich pelson is noi eniitled io be.
indemnified by the corporation pursuant to this Article The financial abilitr of an indeniaified
represeniative to repay an advance shall not be a prerequisite to the rnaking of such aclvance

        Section   7   0zlSECURiNG OF NDEh/fitiFiCATIOl.l OBLIGATIONS ro fuitLrei
efiect, sa-tisf} oI secuie the indemnrficalion obligations provided herein or otherr,r.ise, the
cot,ooiatior" may mainiain insurance, obtain a ieiter of credit, act as self-insurei, create a
Ieselve, tiusi, esctorv, cash collateral oi ottrrer flrnd or account, enter into indemnification
agleernenis, pledge ol grant a security in'ierest in anv assets oi properties of the corporaticn, or
use any othei mechanism or alrangement r,r,'hatsoever in such amorints, at stich costs, and upon
sucli other tetrcs and conCitions as the boaid of directors shali deem appropriate Abssnt fiaud,
the deteiminaticn of the boarcl of directors w'iih respect to such amounts, costs, teirns and
conditions shall be conclusive against all secwity holders, olficers and directols Brrd shall not
be sribject to voidability

        Section'7     05
                       PAYN'IENT OF INDEMNIFICATION An indemnified repiesentatir.e
shall be entitled to indemnification r,vithin 30 davs after a written request for indemnification
has been delivered to the secietaly of the coiporation

        Section 7     06    ,ITRBITRATION

               (a) Qe.lreral Rule Any dispute related to the right to indemnification,
contribution ol advancement of expenses as provided rurder this Article, except r.vith respect to
indemnificationfbi liabilities arising ruder the Secuiities Act of 1933 that the corporation has
undettaken to submit to a coult for adjudication, shall be decided only by a:bitration in the
metropolitan a:ea in lvhjch the piincipal execlrtive offices of the corpoiation are located ai the
time, in accordance lvith the commercial arbitration rules then in effect of the American
A:bitration Association, before a panel of tluee arbitators, one of r.vhcm shall be seiected by


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 ihe corporation, the second of whom shall be selected by the indemnified representative and
 thfud of whom shall be selected by the oiher tr,vo arbiiiators In the absence of -rhe American
 Aibitration Association, ot if'foi any reason arbitration under the arbitration iules of the
American A.rbitration Associaiion carinot be initiated, or i{'one of the pa-rties fails or reflises to
select an arbitlator or if' the arbitratois selected by the corporation and the indenrnified
reptesentative canaot aglee on the selection of the third a:bitiatcr within 30 days after such time
as the cotpotation and the indemnified iepresentative have each been notified of the selection of
the other's arbiftatoi, the necessary arbitrator or arbitrators shall be selected by the presiding
jtrdge of the court o{ genetal jurisclieiion in such metropolitan a:ea

                 (b)      Burden of   P(oof    The paity or pa"rties challenging the right of      an
indemnified repiesentati''re to the benefits of this A:ticle sliall have the burden of proof

                 (c)      Elpenses The coipotation shall reimburse an indemnified iepresentaiive
for the expenses (including      aliorneys' fbes and disbarsements) incuried in successftilly
prosecuting or defending such abitratior

                 (d) Effbct Any arrard enterec1 by the aibihators shall be final, binding and
ncnappealable and judgment may be entered thereorr b,v any party in accordance .,'vith
applicable larv in any court of competent juisdiction, ercept that the corporaiion sliall be
entitled to interpose as a der'ense in any such judicial enfoicement proceeding any prior finai
jttdicial deterinination ad.verse to the indemnified representative undei Section '7 .01{a)(2) in a
pioceeding not clirectly inr.olving indemnification undei this Article This arbitration provision
shall be specifically enfbr ceable

         Section 7 07 CCNIF-IBLITION If the indemnification piovideC fbr in this Ariicle or
oihelw'ise is unavailable for any reason in respect cf an1' liabilif.v" or poition thereof, the
corporation shall contribute to the tiabiiities to lvilcli the indemnified iepiesentative may be
subje ct in such proportion as is approp!-tate ta reflect tlie inteni of this futicle or othelwise,,


        Section 7    08NIAI.{DATORY INDEMNIFICATION CF DiRECIORS, OFFICERS,
ETC    Io the extent that an authorized iepiesentaiive of the corporaiion has been successful on
themeriisorotherlviseiil defenseof anyactionorproceedingrefeiredtoinl5Pa CS $ 1741
or 7742 or in defense of any claim, issne or maiier therein, such perscn shall be indemnified
aga-inst expenses (including attorneys' f'ees and disbrusements) actually and ieascnably incrured
by such pelson in connection therewith

       Section   7   09 CONIRACI RIGHTS; AIi4END}.4ENT OR. REPEAL Al1 rights under
this Article shal1 be deemed a contract          betr,yeen the corporation ;uid the indemnif,red
repiesentative pursuant to lvhich the corpolation and each indemnified representative intencl to
be legallv bound Any repeal, amendment or modification hereof shall be piospective only and
sha1l not affeci any rights or obligations then existing

      SeciionT i0 SCOPE OF ARTICLE The rights granted by this Article shall not be
deemed exclusive of any other iights to which those seeking indemnification, contribution or



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 advancement of expenses ma)'be entitled under any statute, agleemeni, vote of sha:eholders or
 disinterested dlectors ot otherp'ise both as to action in an indemnified capaciry and as to action
itt any oiher capacity The indemnification, contribuiion and advancement of expenses
provided b-v cr granted pursuant to this Article shall ccntinrie as to a pelson r.vho has ceased to
be an indemnified rcpresentative in respect of matters arising prior to such time, and shall inue
to the benefit of the heits, erecutorc, adminisftators and personal representaiives of such a
pelson

        Section711 RELIANCE OF PROVISIONS Each person ra'ho shall act as an
indemnified iepteseniaiive of the corpoiation shall be deemed to be doing so in reliance Llpol1
the rights provided in this Article

         Section 712 INTER.PRETATION The provisions of this Article a:e intended to
constitr;te bylaus a:-rthorized by i5 Pa C S $ 513 and 1746 and 4zpa C s S 8j65

                                           ART'ICI.E \T{N
                                        ]\qNSCEI.T,ANEOUS

        Section 8    01   CORPORATE      SEAL     The corporation seal shal1 have inscribed theteon
tlre name of the corpotation, the year of its orga.nization and the rvotds "Cornoiate                Seal-
Pennsylvania"

         Section 8   02CHECKS Ali checks, notes, bills of exchange oi other orders in u,riting
shail be signed by such pe,.son oi peiscns as the boaid of diectors 01 any pelson authorizecl by
resolution of the bcard or'directors may ftom time to time designate

        Section 8    03   COhIIRACTS

                {a)       General-Rule Except as otheir,r'ise piovide<L in   ttrre   Biisiness Corpcration
Law in the case of tierrsactions that requfue action by the shareholdeis, the boad cf dfuectois
may authoize any officer or agent to enter inio any contract or to execute or deliver any
insttument on behalf of the corporation. and such ar.rthority may be general or confined to
specific instanees

                (b)     Stafutor..r Egrm of Execution
                                                         -of In$truments Any note, mortgage,
evidence of indebtedness, confuact or other document, 01 any assigrrment ol endorsement
theieof, executed or enteted into betr,veen the corporation axd any other person,
                                                                                    ',vhen signed by
one oi rnore oflicers or agents having acfrial or apparent authority to sign ii, or by the president
ot vice president and sectetarS, or assistani secretary or treasurer or assisiant tieasuer of the
corporation, shail be held to have been propeily executed for and in behalf of the corpcration,
rvithout prejudice to the rights of the corporation against any pelson rvho shall have executed
the instrument in excess of his oi her aciua7 authori.tv




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         Section 8   04 INTER"ESTED DEECTORS             OR OFFICERS;eUOB.UM

                (a) Geneial R-ule A contract ot' tuansaciion behr.een the corporation and one
 01 mole of its ditectots or o'ulcets 01 befvveen the corporaiion and anothel coiporation,
 partnership, joint ventule, trust or other enterprise in w'hich one 01 more of its diectors
                                                                                              or
 officets aie dfuectots or o'rJlcers or have a financial or othei intelest, shali not be void oi
 voidable solely for that reason, or solely because the directol or officer is pi'eseni at or
participates in the meetilg of the boa.rd of directois that authorizes the contract or tran.saction"
oi sclely because his, her or'rheii votes a:,e counted fol that prupose, if :

                         (1)     the maierial fhcts as to the relaticnship ol irlterest and as to the
                 contraci or taesaciion are disclcssd oi e.re knorm to the board of directois and
                 the boad auihorizes the confuact or tra:rsacticn by the affuma'rive vote of a
                 majoiity of the disinterested directcrs even though the dtsinterestecl clirectors a:e
                 less than a qucrum;


                         A)      the maiedal facts as tc lrrs or hel relationship or interest and as to
                 the contraci ot transactton aie disclosed or aie kno'',.,,ntc the sha:eholders entitled
                 io t'ote thereon and the ccntract or transaction is specifically a€proved in good
                 faith by vote of ihose sha:eholders; or

                         (3) fire contraci or tuaruaction is fair as to the corpcraiion as of the
                time   it is authciized, appicved or ratified by the board of dLeciors oi the
                 shareholders

                (b) Quql8      Com:rcn oi interested diiectcrs may be corlnieC in determirung
the presance of a qaorum zi a rneetir,g of tne boa:d r,.,'hich au-thcrizes a coatract or fuansaction
specified in subsection (a)

         Sectron 8 05 DEPCSITS Ail fueds of the co:poiation sha11 be cleposite.d ficm time to
tirne to the cledit c{ the ccrporaiion ia silch banks, tiust companies or other depositories as the
boa:ci of directors may approve oi designate, and all such fi.rnds sha1l be rvithdcaun only u;oon
checks signed bv such cl1e oi moie ofllcers oi employees as the board of directors shali fiom
iime to iime deieimine

        Seotion 8 05 CORPORAIE RECORDS

                (a)      Required Recoids lhe corporaticn shali keep complete and accnrate
books and lecotds of account, minutes of the picceedin-es of the incorporaicis, shaieholders arrd
diremors and a shale tegister giviag the names and addiesses of all shaiehol<iers and the number,
and class of shares heid by each The share iegister shall be kept at eithei the regi.stered office
of the corporation in Pennry{1,ania or at ir's principai pla-ce of business lvhere.,iel situated or at
the office of its registlal' oi transier agent. Anv books, minutes or othei tecords may be in
r.r,titten form oi any othei form capable of being conveited into r,v:itten form lvithin a reasonabl.e
time



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                  (b)   Right of Lnsppslipn Every shareholder shai1, upon r.,riiten verified
demand stating the purpose ihereof have a right to examine, in person or by agent oi attorney,
during the usual houts for business for any propei pupose, the share register, books and records
of account, and tecords of the proceedings of the incorpolatois, shareholders and directors and
to make copies ot extacts theiefrom, A pioper pulpose sha1l mean a pulpose reasonably
related to the intetest of'the pelson as a shareholder in every instance lvhere an attorney or
othet agent is the person vzho seeks the right of inspection, the demand, sha11 be accomoanied
bv a verified pol,vet of attorney or othel writing that authorizes the attorney or other agent ro so
act on behalf of the sha:ehotrder The demand shail be directed to the corporation at irs
registered office in Pennsylvania ot atits principal place of business rvherever situated

         Sestion B 07 FINANCIAL REPORTS Unless othenvise ageed betr,veen the
corporation and a shzueholder, the corporation shali furnish to its sha.teholders annual financial
staierrrenis, including at least a balance sheet as o{ the end of each fiscal year and a statement of
inccme and expenses for the fiscal year The finzuncial statements shalL be prepaled on the basis
of'generally accepted accounting principles, if the coiporation prepares {inancial staternents fbr
the fisca1 yeal on that basis for any prirpose, and may be consolidated siatements of the
coipoiation and one or lno1e of its subsidiaries The flnancial statements shall be maiLed by the
corpotation to each of its sha:eholders entitled theleto within 120 da,vs after the close of'each
fiscal year and, aftel the mailing and upon u,ritien request, shall be maiied by the corpoiation to
any shateholder ot berreficiai o\.\rrer entitled thereio to rvhom a copy of the rnost recent annual
financial stalements has nct previously been mailed Statements that a-ie audited or revielved by
a public accounte"nt sha.li be accompanied by the report of the accountant; in other cases, each
copv shali be accompaniecl by a statement of the pelsorl in charge of the financia.l recoids of the
corporation:

                           (1) Stating his reasonable belief as io whether or not tlie rlnancial
                  statei:renis rveie plepe,red in accorclance r,vith generally accepted accorinting
                  principles and, if not, describing the basis of presentation

                          (2)          Describing any rnateiial respects   in.,;vhich ihe financial
                  statements were not prepared on a basis consistent i.vith those prepa:ed for the
                 previous      1,ear


       Section B 08 AVTENDMENT OF BYLAWS These byla,,vs may be amended or
lepealed, or nerv bylarvs ma-v be adopted only bv vote of the shareholders at any drily organizecl
anaual or special meeting of sharetrolders See Section 2 03(b) (reiating to notice of action by
shar eholder s on byiar,'zs)




                                                     /.o
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                                         cERTrFrCAJ]rON


             /1        n   ,/tt
       l, /,fr-'rL (;il!t*-,      Sectetaly of Tunbridge Inc, hereby certify that the attached is a

tiue and collect copy of the u'ritten consent executed bv the Shareholders of Trurbridge Inc,, on

the {i41,   auy   t    ,y'&,'6o-/tJ,zott
                      7__T-

                                           --i-a"o4'"X' &fti:---_
                                               Secretary
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               UNANI}{ OUS \IIRTTT EN CONSEI{T OF S.I{AREH OLDERS

      IN LIEU OF     1VTEETING OF THE STLAREHOIJDERS OF                       TTDIBRIDGE I\LC.



        The undersigned Shareholders of Tunbridge           Inc   (the "Corporation"), pursuantto 15 Pa

C S A, $ 1766(a), consent in   triting   to the following

       APPROVED, the Shareholders consent that the Bylar,r's of the Corporation previously in

force shall be repealed

       APPROVED, the Shareholders consent that the Bylaws attached herelo as Exhibit "A"

shall be adopted and shall become the Bylar.vs of the Corporation

       EFFECIIVE, as of tnir       Elr,.    day of   _!p+f,2011             by unanimous consent of   the

Shareholders of the Corpoiation, as evidenced by their signafiues belor,v




                                                                  fl-".-, tl, n{r-
                                                            Lajos Bodo, Shareholder




                                                            Brooke   P   Cottman, Shareholder




                                                            Edlvard Coslett, Ir
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                        Exhibit C
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                                              BYLA\YS

                                                  OF'


                               SCARBOR.OUGH &TEIYS, iNC.

                                     (a Pennsylvania coipor ation)



                                             ART'ICLE    I
                                   OFF'ICES AND F'HSCA.L }'EAR


          Section 1 01  R-EGISTERFID OFFICE The registercd office o{ the corpotation in
Pennsylvania shall be at34A Media Station Road, N{edia, PA 19063 until otherrvise established
by an amendment of the articles or by the board of directors and a tecold of such change is filed
.,vith the Departrnent of State in the mannel provided by la',v

        Section i.02    Of HER OFFICES The corporation may also have offices at such othei
piaces lvithin or rvithout Pennsylvania as the boaid of directors may fiom time to time appcint
or the business of the corporation may require

        Section 1   03 FISCAL      YEAR     The fisca1 year of the, coi^ooration shall begin the 1st
day of Ianuary in each Yeai

                                             eRTXCI.E   X{


                     NOTICE - IVAN\E,RS . MEETNNGS GENERAT,I,V

        Section 2   01   MAr\NER OF GIVING NOTICE

               (a)       Generai   Rule   \\4renever llritten notice is required to be given to any
person under the provisions of the Business Corporation Law- or by the Articles or these bylaws,
it may be given to the petson either personally or by sending a copy thereof by first class or
express mail, postage prepaid, or by teleg am (r,vith messenger service specified), telex or T1 /)(
(r,vith ansrveiback received) or coruier service, charges prepaid, or by facsimile transmission, to
ihe address (or to the telex, T\\X or facsimile number) of the pelson appearing on the books of
the corporation or; in ihe case of directors, supplied by the directols to the cotpotation for the
pupose of notice If the notice is sent bv mail, telegaph or courier setvice, it sha1l be deemed
to have been given to the person entitled thereto when deposited in the United States mail oi
lvith a telegraph office or coruier service for delivery to that pelson oi, in the case of telex ot
TYfX, y,hen dispatched or, in the case of facsimile, rvhen teceived A noiice of meeting shall
specify the place, day and hour of the meeting and any othel information iequired by any othet
plovision of the Business Corpotation Law, the articies or these bylaws
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                (b)      Ad.ioruned Shaeholder   lvieetings W'hen a meeting of'shareholders is
adjourned, it shall not be necessary to    give  any notice of the adjoutned meeting oi of the
business to be tansacted at an adiourned meeting, other than by announcement at &e meeting
at r.l'hich the adjorunment is taken, unless the board fixes a nelv recold date for the adjourned
meeting or these bylarvs reqnire notice of the business to be tansacted and such notice has nct
previousiy been given.

         Section2 02 NOTiCE OF MEEIINGS OF BOARD OF DIRECTORS Notice of a
regulat'meeting of the bozud of dfueciors need not be given Noiice of every special meeting of
the board of directots shall be given to each director bv ielephone or in vrritinB at least 24 hours
(in ihe case of'notice bv telephone, telex, T\trX or facsirnile transmission) or 48 hours (in the
case of notice by teiegaph, couriei sex-vice or express mail) or five days (in the case of notice
by firsi class mail) befbre the time at which the rneeting is to be held. Every su,ch notice shall
state the time and place of the meeting Neither the business to be tansacted at, nor the
ptnpose of, any regtilai or special meeting of the boaid need be spscified in a notice o{'a
mee"uin,s


         Section 2   03 NOIICE      OF IvIEEIINGS OF SHAREHOLDERS

                (a)      General   Rule Written notice of every meeting of the shaieholders       shali
be given by, or at the direction   oi   the secretary to each shareholder of record entitled to vote at
the meeting at least:

                      (1) ten days piicr to the day named fbr a meeting called to consider a
                fundamenlal transaction undei 15 Pa C S Chapter 19 iegarding amendments of
                articles of incorporation, mergers, consolidations, share exchanges, sale of
                assets, divisions, conr,'ersions, liquidations and dissolution; or

                        (2)    five days prior to the day named for the meeting in any other      case


If the secretary neglectsor refuses to give notice of a meeting, the person or pelsons calling      the
meeting may do so ln the case of a special meeting of shareholders, the notice shall specift        the
general nature of the business to be transacted, and in all cases the notice shal1 comply lvith     the
express requirements of this section, fhe corporation shall not have a duty to augment              the
notice

                (b)    Notice of'Action bv Shareholders on Byla.,vs In the case of a meeting of
sharehoiders that has as one of its purposes actjon on the bylarvs, rn'iitten notice shall be given
to each shareholder that the prupose, or one of the purposes, of the meeting is to consider the
adoption, amendment or iepeal of the bylarvs There shall be inciuded in, ol enclosed lvith, the
notice a copy of the propcsed amendment or a surunary of the changes to be effected thereby
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        Section 2   04   V/'AIVER OF NOTICE

                (a)     V/riuen Waiver Whenever any lv:itten notice is required to be given
under the provisions of the Business Corporation lar,,r, the articles or these bylalvs, a r.vaiver
thereof in w:iting, signed by the person oi'persons entitled to the notice. n'hether before oi after
the time stated therein, shall be deemed equivalent to the giving of the notice Except as
oiherr,vise required by this subsection, neither the business to be transacted at, nol the purpose
of, a meeting need be specified in the r,vaiver of notice of the meeting In the case of a special
meeting of'shareholders, the v,aivei of notice shall specifl the general natrue of the business to
be tansacted

                 (b) tri/aiver by Attendance Attendance of a person al ary1 meeting shali
constitute a r,l'aivei of notice of the meeting except rvhere a person attends a meeting for the
expiess pulpose of objecting, at the begin:ring of the meeting, to the transaction of any business
because the meeting lvas not lar,lflilly called or convened,

        Section 2   05 MCDiFICATICN OF PROPOSAL CONTAE{ED                           IN NOTICE
trl/henever the language of a proposed resolution is included in a r'.nitten notice of a meeting
required to be given under the provisions of the Business Corporation Lar,v oi the articles ot
these bylaws, the meeiing considering the resolution may i.yiflrout fi.tther notice adopt it lvith
such cla:ifying or other amendments as do not enlage its original pupose

        Section 2   06 EXCEPTICN      TC REQ{JIREMENT OF NOTICE

                (a) Geneial. Ruie lVhenevei anr7 noiice oi communicaiion is reqr-riied to be
given to any  pelson  undei the ptovisions of the Business Corporation Law or by the alticles ot
these bylaws or by the terms of any agieement oi other instrumeni ol as a- condition ptecedent
to taking any coipoiate action and cornrnunication with that peison is then unla',,rfiil, the giving
of the notice 01 colrrmunication to thai pelson shail not be required

                (b)     Shareholders Without Forr,r-arding Add-resses Notice oI other
communications shall not be sent to any shareholdei lvith lv-hom the cotporation has been
unable to communicate for more than 24 consecutive months because commnnications to the
shareholdel are retuined unclaimed or the shareholclet has otherr.vise failed to provide the
corporation lr.ith a cuirent address Whenever the shareholdei provides the corporation r,vith a
current addtess, the cotpolation shali commence sending notices and other communications to
the shu'eholder in the same mannel as to othet shareholders

        Section 2 07 USE OF CONFERENCE TELEPHONE AND SIMILAR EQUIPMENT
One or mole peisons may participate in a meeting of the board of dtectors ot the shareholders
of the corpoiation by means of conference telephone or similar communications equipment by
means of w'hich all persons participating in the meeting can hear each other Paiticipation in a
meeting prusuant to this secticn sha1l constitute presence in person at the meeting
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                                          AR.TXCLE      INN


                                       SFLARjE,HOtr.DERS

       Section 3   01PLACE OF IvIEETING A11 meetings of the shareholders of the
corporation shall be held at the registered offrce of'the corporation unless anothet place is
designated by the board o{'directors in the notice of   a   meeting,

        Section 3   02AMIUAL MEEIiNG The board of directors ma y fix the date and time
of the annual meeting of the shareholders, but if no such date and time is fixed by the board, the
meetingfor anycalendarvear shallbeheldonthe 15thdayof Aprilinsuchyeat,if notalega1
holiday undet the iaws of Pennsylvania, ancl, if a legal holiday, then on the next succeeding
business day, nct a Saturday, at 10:00 o'clock, A M, and at said meeting the shareholders then
entitied to vote shall elect directors and shall transact such other business as may properly be
brought beforc the meeting If the annual meeting shall noi have been called and held rvithin
six months after the designated time, any shareholder' muy call the meeting at any time
thereaftei Except as otherrvise provided in the articles, at least one rneeting of the shareholder
shaii be held in each calendat yl-at for the election of directors

        Section 3   03   SPECIAI I{EEIIbIGS

               (a)       eall of Spgqlal-l4gglqg! Special meetings o{ the shareholders mav be
called al any time:

                         (1)   by tlr.e bcard of directois; or

                         (2)   unless otherrvise provided in the articles, by shareholders entitled
               to cast at least 20a/o oi ttre vote tliat all shareholders ate entiiled tc cast at the
               particular meeting

               (b) Fixing Time of Ivieeting At any time, upon rryritten tequest of any
pelson who has called a special meeting, it shall be the duB of the sectetaty to fix the time of
the meeting which shall be held not more than 60 days after the receipt of the recluest If the
searetaly neglects or refuses to fix a time of the meeting. the person oI pelsons calling the
meeting may do so

        Section 3    04 QUORUM     AND ADIOURNIvIENI

                (a)     General Rule A meeting of shareholders of the colpotation duly called
sha1l not be oiganized for the tansaction of business unless a quolum is ptesent The ptesence
of shareholders entitled to cast at least a majority of the votes that all shareholders a:e entitled
io cast on a particular matter to be acted upon at the meeting shall constitute a quorum for the
prilposes of'consideration and action on the mafter,, Shaes of the corpotation, olr,ned, directly
br indirectly, by it and contolled, clirectly oi indilectly, by the board of directors of this
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colpolation, as such, shall not be counted in determining the total number of outstanding shares
for quorum puiposes at any given time

               (b)    Withdralv.al of a Quorum The shareholders present at a duly organized
meeting car continue to do business until adiournment noir,vithstanding the lvithdrar.val o{
enough shareholders to ieave less than a quolum,

               (c)   Adjournment for Lack of Ou.orr.rm If a meeting cannot be organized
because a quolurn has not attended, those ptesent may, except as provided in the Business
Corporation Law, adjourn the meeting to such time and place as they may determine

               (d)     Adjournments Geneially Any meeting at r,vhich directors are to be
elected shall be adjoruned only from day to day, or for such lon-eer periods not exceeding 15
days each as the shareholders present and entitled to vote sha1l direct, until the directots have
been elected Anv other regular ot speciai meeting may be adjourned for such period as the
shareholders present and entitled to vote shall direct

               (e)     Electinq Directors at Adiourned N{eeiing Those shareholders entitled to
vote rvho attend a meeting called foi the election of dilectors that has been previottsiy
adjourned for lack of a quorum, although less than a qllorum as fr-xed in this section sha1l
nevertheless constitrte a quoitim fbI the pupose of electing dilectois

               G)       Othei Aotion in Absence of Quorum Those shareholders entitled to vote
rz,,ho attend a meeting of sharehr.olders that ha.s been previouslv adjoumed for one 01 mcle
periods agglegating at least 15 <iays because of an absence of a qLiolum, although less than a
quolum as fixed in ttris section, sha1l neveitheless constiiute a q$orum for the pupose of acting
upon any matter set fbrth in the notiee of the meeting if the notice states that those shareholders
r,vho atteiid the adjourned meeting sha11 nevertireless constitute a qllolum fbr the putpose of
acting upon the matler

       Section 3   05 ACTION BY SI{AREHOI-DERS
               (a)     General Rule Except as oiherwise provided in the Business Cotporation
Law or the articles or these bylalvs, lvhenevet any colporate action is to be taken by vote of the
shareholders of the corporation, it shall be authorized npon receiving the affirmative vote of a
majority of the votes cast by ai1 shareholders entitled to vote thereon

               (b)     Interested Silu.eholders Any merget ol othei transaction authorized
under 15PaCS Subchapter 19C betr,veen the corpoiaiion or subsidiaiy theteof and a
shareholder of this corporation, or any voluntary liquidation authotized undet i5 PaCS
Subchapter 19I in lvhich a sharehoidEr is treated diffeientiy fiom other shat'eholders of the
same class (othei than any dissenting shareholders), shall require the affiIma.tive vote of the
shareholders entitled to cast at least a majorily of the votes that a1l shareholdets other than the
interested shareholder are entitleri to cast lvith respect to the tansaction, without counting the
vote cf the interested shareholder For the pruposes o{ the preceding sentence, interested
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shareholder shall include -rhe shareholder w'ho is a pafiy to the tansaction or lvho is tieated
differently fiorn oiher shareholdeis and any person, or gtoup of'persons, that is acting jointlv or
in concert with the interested shareholdei and any pelson w'ho, dilectly or indirectly, contiols, is
contiolled by or is under common control r,vith the inierested shareholder. An interested
shareholder shall not include any person who, in good faith and not for the purpose of
circumventing this subsection, is an agent, bank, broker, nominee oi hustee for one 01 moie
other persons, to the extent that the other person or persons are not interested shaeholders

                (c)     Exceptions Subsection (b) shall not apply to   a transaction:


                        (1) that has been approved by a majoriry vote             of the boa:d of
                dilectors without couating the voie of'directors rvho:

                                (i)     are directors or officers of, or have a mateiial equit-v
                        intelest in, the inierested sha:eholder; or

                                (iD     r.vere nominated fbr election as a dhectci by the intetested
                        shareholder, and fust elected as a director, r,vithin 24 months of ttre date
                        of'the vote on the proposed transaction; or

                        (2)     in w-hich the ccnsideration to be received by the sharehclders ibr
                shares of any class of which shaies zue or.med by the inteiested shareholdei is
                not less than the highest arnount paid by the interested shareholder in acquirin.g
                shares of the same class

                (d)      Additional Apprp:'.alq The approvals re,luired by subsection (b) shalL be
in addition to. and not irr lieu of, any other approva\ required by the Bttsiness Cotpotation Law,
the articles or these bylarvs, oi otherr,vise
                                           ,




        Section 3   06, ORGANIZT\IION At every meeiing of the shzueholdei's, the chailman
of'the board, if theie be one, or, in the case of vacancy- in office or absence of the chaiirnan of
the boatd, one of'the following oflicers preseni in the order stated: the vice chailman of the
board, if there be one, the president, the vice presidents in their order of tank and seniotity, ot a
pgrson chosen by vote of the shareholders plesent, shall act as chairman of the meeting The
secretary oi, in the absence of the secretary, an assistant secretaly, or inthe absence of boththe
secretary and assistant secretaries, a pelson appointed by the chailman of the meeting, shall act
as secretary.

        Section 3 07. VOTNG RIGHIS OF SIIAREHOLDERS Unless othetrvise provided
in the articles, every shareholder of the corporation shail be entitled to one vote foi everY share
standing in the name of ihe shareirolder on the books of the cotpotation
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        Section 3   08   VOTNG.{blD OTHER ACIION BY PROXY

                (a)      General Rule

                         (1)    Every shareholder entitled to vote at a meeting of sharehoiders or
                to express consent or disseni to coiporate action in rvriting without a meeting
                may authorize another pelson to act for the shareholder by pioxy

                         (2)     The presence of; or vote or other action at a meeting of
                sharehclders, or the expression of consent oi dissent to corporate action in
                r,vriting, by a pioxy o{ a shareholder shall constitute the presence of, oi vote ol
                action by, or rvrilten consent or dissent of the shareholder

                         (3)    t{heie t\,vo ol more proxies of a shareholder are present, the
                corporation shall, unless otheru"ise expressly provided in tire p1oxy, accept as the
                vote of'all shares tepresenied thereby the vote cast by a majority of them and, if
                a majority of the proxies carnot agree r,ir'hether the shares repiesented sha1l be
                voted or upon the mannet of'voting the shares, the voting of the shares shall be
                divided equally among those peisons,

                (b)      Eae_cution and   Filigg Every proxy shall be executed in rmiting by the
shareholder or by the duly authoiized attorney-in-fact of the shareholder and filed with the
secletarr,, of the corporation A telegam, telex, cablegram, datagram ol similar tansmission
flom a shareholdel or aftoiney-in-fa.ct, cr a photographic, fbcsimile or simiiar iepioduction of a
rv:iting erecutecl by a shareholdei oi attorney-in-fact:

                         (1)    may be treated as properly executed fbr purposes of this section;
                and

                        (2) shali be so treated if it sets forth a confidential and u.nique
                identification numbei 01 other mark fi.unished by the corporation to the
                shareholder foi the puiposes cf apa:ticrila rneeting or transaction

                  (c) Revocation, A proxy, unless coupled lvith an interest, shali be revocable
at lvill, notlvithstanding anv other agreement or any provision in the proxy to the confuarv, but
the revocation of a ploxy shall not be effective until r,-r:itten notice thereof has been given to the
secretary of the corporation An uruevoked proxv sha-1l not be valid after three years fiom the
date of its execution unless a longer time is expressly provided therein A proxv shal1 not be
revoked by the death or incapacity of the maker unless, before the vote is counted oi the
authority is exercised, lvritten notice of the death or incapacitv is given to the seci'etary of the
corporation

                (d) Expenses Unless otheillise restricted in the articies, the cotporation
shall pav the leasonable expenses of solicitation of votes, proxies oi consents of shareholders
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by ot on behalf of the board of dilectors or its nomi:rees for election to the boad, including
solicitation by proiessionai proxv solicitors and otherrvise

        Section 3      09
                        VOTI{G BY FIDUCIARIES A},lD PLEDGEES Shares of the
corpotation standing in the name of a trustee or other fiduciay and shares held by an assignee
fbr the benefit of creditors or by a teceivel ma,'* he voted by the tustee, fiduciary, assignee or
receivei A shareholder w'hose shates a.re pledged shall be entitied to vote the shares until the
shares have been ilansferred inio the name of the pledgee, or a nominee of the pledgee, but
nothing in this section shail affect the validity of a pioxy given tc a pledgee or norninee

           Section 3   10   VOIINIG BY IOINT IIOLDERS OF SFIARES

                  (a)       General   Rule \i.&ere sha:es of the corporation are held jointlv or    as
ienants in common by tw-o      01 rnole persons, as fiduciaries oi othetrvise:


                          (1) if oniy one or more of'such peisons is present in person or by
                  ploxy, all of the sha"res standing in the names of such pelsons shall be deemed to
                  be replesented fbi the purpose of'determining a quorum and the corporation
                  shall accept as the vote of ail the shares the vote cast by a joint o\lnei or a
                  majoiifv of them; and

                           (2) if the perscns are equally divided upon rvhether the shares held by
                  them shall be voted or upon the manner of voting the shaies, the voting of the
                  shares shal1 be divided equally alnong the persons rvithout prejudice to the rights
                  of the joint owneis or the beneficial owneis thereof among themse}ves

                (b) Exception If thele has been filed with the secretary of the coipoiation a
copv, certified by an attorney al law to be correct, of the relevant portions of the agreement
rinder w-hich the shares are held ot the insfoument by wliich the trust ol estate was created or the
order of court appointing them oi of an order of court directing the voting of the shares, the
pelsons specified as having such voting powel in the document latest in date of operative efibct
so filed, and only ihose persons, shall be entiiled to vcte the shares but only in accordance
theiewrth

           Section 3   11   VOTING BY CORPORATIONS

                (a) Voting bv Corporate Shareholders Any corpoiation that is a shareholder
of this  corpcration  may vote by any of its officeis 01 agents, or by proxy appointed by any
officer or ageni, unless some other person, by resolution of the borud of dfuectors of the other
corpoiation or provision of its articles or by-lalvs, a copy of ll'hich resolution or ptovision
ceitified to be correct by one of its officers has been filed 'tvith the secietary of this corporation,
is appointed its geneial or special proxy in r,v'hich case that person sha.ll be entitled to vote the
shares..
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                 (b) Con'uol1ed Shares Shares of this corpoiation ouneC, directly or
iadirectly,   by it and controlled. directly oi indirectly, by the boad of directors of this
corpotation, as such, shall not be voteC al any meeting and shall not be counted in deter-mining
the toial number of outstanding shares fbl voiing pluposes at any given time

         Section   3   12   DETERMNAIION OF SI{AREHOLDERS             OF RECORD

                (a) Fixing Recoid Date The bca-rd of directois may fix a time prior to the
daie of ariy meeting of sha:eholders as a record date for the determination of the shaieholders
eniitled to notice of, oi to vote at, the meeting, which time, except in the case of an adjouined
meeting, sha1l be not more than 90 days prior to the date o{ the meeting cf shareholders Only
shaieholders of recot'd on the date fixed shall be so enlitled notrvithstanding anv transfer of
shares on' the books of the cotporation aftei any recoid date fixed as provided in this
subsection The boatd of directors may simiiarly fix a record date for the determination of
shareholdeis of record for any other puipose, When a determination of shareholders of record
has been made as provided in this section foi purposes of a meeting, the determination shal1
apply to any adjorunn'rent theieof un-less the board fixes a ner,v record date for the adjoruned
meeting

                   &)       Determination WhQn a Record Date is Not Fixed If a record date is not
fixed:

                            (1)The recoid date for determining sha:eholders entitled to notice of
                or to vote at a meeting of sharehclders shall be at the close of business on the
                date next preceding the day on vrhich notice is given or, if noiice is viaived. at
                the close of business oa the day immediately preceding the day on rr,hich the
                meetlng is held

                            @   fhe record date fbr determining shareholders entitled to express
                consent ot dissent to corpoiate action in vzriting without a meeting, when prior
                action by the boaid of dtectois is noi necessary, to call a special meeting of the
                shareholders oI propose an amendment oI the articles, sha1l be the close of
                business on the day on r,r,'hich the first vritten consent or dissent, request foi a
                special meeting or petition proposing an amendment of the articles is filed r.vith
                the secretary of the corporation,

                        (3) The record date for determining shareholders foi any other
                purpose shall be at the ciose cf br-rsiness on the day on whicir the boaid of
                directors adopts the resclution relating theteto

         Section 3     13   VOTI{G LISTS

                (a) General Rrli-e.. The officer or agent having charge of the transfer books
for shares of the corpoiation shall mal<e a cornplete list of the shareholders entiiled to vote at
any meeting of shareholders, ana:rged in alphabetical order, r,r,ith the address of and the number
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of shares held b,v each lhe list shall be produced anC kept open ar the time and place of the
meeiing and shall be subject to the inspeciion af any shareholder during the ,ut'hole time of the
meeting for the pLuposes thereof

                (b) Effect of List Failue tc comply with the requLements of this section
shall not effect the validity of any action taken at a meeting prior to a demand at the meeting by
any shareholder entitled to vote thereat to exarnine the list fhe original share register or
tiansfei book, ol a duplicate thereof kepi in this Conrmonrvealth, shall be piima facie evidence
as to rvho are the shareholdets entitled to exarnine the list or sha:e register or transfer book or to
vote at any meeting of shareholders

        Section 3   14   iUDGES OF ELECT-iON

               (a) Appointment In advance of any rneeting of shaieholdeis of the
corpotation, the boaid of directors may appoint judges of election, rvho need not be
shareholdels, to act at the meeting ol any adjournment tirereof lf judges of election are not so
appointed, the presidilg officer of the meeting may, and on the request of any shaeholdei shall,
appoint judges of eleciion at the meeting The number of judges shall be one or tfuee, A
person lr,'ho is a candidaie for office to be fi1led at the meeting shal1 not act as a judge

                (b)      Vaca.ncies In case any pelson appointecl as a judge fails to appear or
fails or iefuses to act, the vacancy may be filled bv appointment made by the board of directors
in advance of the convening of the meeting or at the meeting by the presiding officer therec-f

                  (c) Drities The judges of election shali deteimine the numbei o{'shaies
otrtstanding and the voting po1ve1 of eacfu the shares repiesented ai the meeting, the existence
of a opotum, the authenticity, vaiidity and effect of proxies, receive votes 01 ballots, hear and
detetmine all challenges and questions in any r,vay arising in connection with the iight- to vote,
collnt and tabulate all vctes, detetmine the tesufi arrd do such acts asniay be proper to conduct
the eiection or vote with faimess to all shareholders fhe judges of election shall perfora thelr
duiies impaitially, in good faith, to the best of their abilitv and as expeditiously as is piactical
If there are ttuee judges of'election, the decisiofl, acl or certificate of a majotity sha1l be
eflfective in all respects as the decision, act or certificate of all

                (d)  Rep.ott On tequest of the presiding officei of the meeting, ot of any
sha"reholder, the judge shall make a report
                                          in writing of any challenge or qnestion or mafier
deteirnined by them, and execute a ceitificate of any fact found by them Any repoit or
certificate made by them shall be prima facie evidence of the facts stated theiein

        Section 3   15   CONSENT OI SHAR.EHOLDERS              n\tr   LIEU OF IVIEEING

                (a)  Unanimous Writtsn Consent Any action requfued or peimitted to be
taken at a meeting of the shareholders or of a class of shaieholders may be taken r,rzithout a
meeting if, prior or subsequent to the action, a consent or sonsents thereto by all of the




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shaieholders vr'ho rvould be entitled to vote at   a   meeiing for such pupose sha1l be filed lvith the
secletaly of the corporation

                (b)      Partial \liitten Consent Any action required or permitted to be taken at
a meeting of the shareholders    ot of a class of shareholders may be taken lvithont a meeting upon
the lrritten consent of shareholders who rvould have been entitled to cast the minimum number
of votes that would be necessary to authorize the action at a meeting at r,vhich all shareholclers
entitled to ',rote thereon viere present and voting Ihe consents shall be fi1ed wiih the secretay
of the coiporation fhe action shali not become effective until after ai least ten days' '*,r.ritien
notice of the action has been given to each sharehclder entitled to vote thereon lvho has not
consen'ied thereto

        Seciion 3 16 MINORS AS SECURIIY HOLDERS fhe corporate on may tueat a
minor 1.,'ho holds shates oi obligations of the corporation as having capaciiy to receive ancl to
empo\\€r others to receive dividends, interest, principal and other payments or distributions, to
vote or express consent ot dissent and to malce elections and exelcise tights relating to srich
shares or obligations unless, in the case of payrnents or distributions on shares, the coipoiate
officer responsible for maintaining the list of shareholders or the Bansfer agent of the
coiporation or', in the case of'payments or distiibutions on obligations, the fteasulei or paving
officet or agent has ieceived r,.aitten notice that the holder is a minor

                                          ..TR.TXCI,E XV

                                   E   OARD OF     DtrR.E,CT'O}R.S


        Section 4   01 PC\\ERS;     PER.SONAL LIAtsILITY

               (a)      Geneiai   Rule Unless otherwise provided by statute all pclveis vested by
lar,v in the cotpol'ation shall be exetcised by or under the authority of, and the business e,nd
affairs of the cotpotation shal1 be managed under the direciion of, the board of directois

               (b)     Standard of--Care: Jr.rstifiable R_qiiance        A   director shali stand   in   a
fiduciay relation to the corpoiation and shall is perform his or her duties as a           director,
including duties as a member of any committee of the board upon which the di-rector may selve ,
in good faith, in a mannel the director reasonably believes to be in the best interests of'the
coipotation and with snch care, including reasonable inquiry, skill and dili-eence, as a person of
oidinary prudence w-ould use under similai circumstances In peifotming his or her duties, a
diiector shall be entitled to rely in good faith on information, opi.nions, r'eports or statements,
including financial statements and othet financial data, in each case prepaied or presented by
any o{ the {bllowing:

                       (1)      One or moie officers or employees of the corporation vvhom the
               diiector reasonably believes    to be ieliable and competent in the matters
               presented,




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                         (2)  Counsel, public accountants or other petsons as to malters vrhich
                the directol teasonably believes to be lviihin the piofessional or       expert
                competence of such pelson

                         (3)  A committee of the board upon r.vhich the director does not serve,
                duly designaied in accotdance i.vith larv, as to matters wjthin its designatecl
                authority, w-hich committee the director reasonably believes to merit confidence

A  director shall not be consideied to be actin-q in good faith if the director has knor.vledge
 concetning the mattei in question that r,louid cause his or hei reliance to be unlvarianted

               (c) Consideration of Factors In discharging the duties of their respective
positions, the board of dfuectors, committees of the board and individual d}ectors may, i:r
considering the best iniet'ests of the corporation, consider the effecrs of any action rpon
employees, upon suppliets a:rd customers o{ the corporation and upon communilies in which
offices or othei establishments of the coiporation are located, and all other pertinent factors
The consideration of those factots shall not constitu're a violation of subsection ft)

                (d)      Fresumption Absent breach of fiduciary duty, iack of goocl faith or self-
deaiing, actions taken as a director 01 any f'aihue to take a:ry action shall be piesumed to be in
the best interests of the coiooration

                (e)     Petsonal Liabiiity o.i Dfu ectoi-q

                          (1) A dfuectot shali not be personaliy liable, as s*ch, fbi monetarl,
                damages lor any action taken,    oi any failuie to take any action, unless:

                                (i) the directoi has breached ol failed to perfbim ihe duties of
                        his or her oflice tmclei this section: and

                                  (i, the breach or f'ailuie to perform constiiutes self-clealing.
                        rvillftil misconduci ol r ecklessness,

                         (2) The provisions of paragiaph (1) shall not apply to the
                responsibility or liabiiitl of a directoi plusuam to any criminal statute, or the
                liabilitr of a directot for the payment of taxes putsuant to local, State or Fecleral
                law

                 (f) Notation of Dissent A director rvho is present at a meeting of the board
of' directors, or o{ a committee of the board, at '"r,hich action on an.v corporate malier is taken
shall be presrmrecl to have assented to the action taken unless his or her dissent is entered in the
minutes of the meeting or unless the clirectot files a w:itten dissent io the action lltth the
secretary of the meeting before the adjournment thereof or transmits the dissent in uriting to the
secretary of the corpoiation immediately after the adjournment of the meeting fhe right to
dissent shali not a.pply to a directol who voted in favor of the action Nothing in this section



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 sha1l ba: a director   fiom asseitiag that rnimtes cf the meeting incorrectly omitted his or her
 dissent if, promptlv upon receipt of a copy of sr:ch minutes, the diiector nctifies the secretary in
 vlriting, of the asserted omission ot inaccuracy,

         Section 4   02   QUALIFICATION AND SELECIION OF DIRECTORS

                   (a) O-ualifications Each director of the corporation sha1l be a natural peison
 of fllll age r.vho need not be a resident of Penasylvania or a sharehoidel of the corporation

                 (b) Election of Directg$ Except as otherwise piovided in these bylar,vs,
directors of the cotporation shall be elected by the shareholders In elections for directors,
voting need not be by ballot, except upon demand ma.de by a shareholder entitled to vote at the
election and before the voting begins The candidaies receiving the highest number of votes
fiom each class or $oup of classes, if any, entitled to elect directois sepa:ately up to the
number of diiectois to be elected by the class oi group of classes shall be elected If at any
meeting of shaleholdets, directots of more than ole class aie to be elected, each class of
directors sliall be elected in a sepaiate eleciion

                (c)       Cumulative   Voting   Unless the aiticles ptovide for siraight voting, in
each election of diectors evely shaieholder entitled to vote shali have the iight to multiply the
nurnber of votes to which the shareholdei may be entitied by the total number of dlectors to be
eieciecl in the same election by the holders of the class or classes of shares of r,'v'hich his or her
shales are a part and the shareholders may cast the r,vhole number o{ his or her voies for one
cairdidate 0r may disfuibute them among ti,vo or more candidaies

        Section 4    03   N-Uh'IBER   AND TERI{ OF OFFXCE

                (a)       Numbet The board of directors      sha.ll consist   of ttuee directcis -   one
Class   A dfuector, one Ciass B director anci one Class C dilector Only shaleholders olvning
Ciass   A stock of the corpoiation shall be entitled to cast votes to eiect the Class A director
Onlv shareholdets ow:ring Class B stock of the corporation shail be entitied to cast votes to
elect the Class E director Only shaieholCers oliming Class C stock cf the corpotation shall be
entitled to cast votes to elect the Class C director The term of appoinhnent of'each of the Class
A Director, the Class B Director and the Class C Director shall be one year

                (b) Independent Advisor The shareholders shall cast votes tc select an
independent advisoi once annllally at the same time the shareholders cast votes to elect the
dfuectors The independent advisor shall not be a dfuectoi and shall not be given notice of nor
attend any t'egular or special meetings of the bca:d of directors unless and rmtil the board is
unable to teach a resolution bv the recluired number of directol votes on a paiticular n-iatter or
issue duting a regula: or special meeting Should the board become deadlocked in this mannei,
any directot mdy call a special meeting of the boaid for the sole purpose of resolving any snch
deadlock and, at least ten days prior to such meeting, give notice to the independent advisor that
the meeting will take place and that the independent advisor should attend At the meeting the




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independent advisor '',vill be permitted to cast one vote as if he oi she lvere a director for the sole
purpose of breaking the deadlock

                (c) Teim of Office Each dilector or independent advisor shall hold office
until the expiration of the tetm for *-hich he or she was elected and until a successor has been
selected and qualified or until his or her earlier deat\ resignation or removal A decrease in the
numbet of directors shail not have the effect of shortening the term of any incumbent dilector

                (d) Resignation Arry diector or independent adr,"isor ma\i resign at any time
upon .,rtiiten notice to the cotpotation The resignation shall be effective upon receipt thereof
by the corporation or at such subsequent time as shall be specified in the notice of iesignation

        Section 4   04   VACA).ICiES

                 (a) GeneIal Rule. Vacancies in the board of directors, including vacancies
resulting fiom an increase in the numbet of'directors, and vacancies of the independent advisor
position, shall be filled by a majority vote of'the shaeholders rvho are&e-entitled to select a
dilector to fill the directorship, oI independent advisorship, as applicable in the event of a
vacancy, the corporation shall immediately give notice to the shazeholders of srich vacancy so
that a shareholder meeting may be cailed for the pupose of casting votes fbr a replacement
ditectot or independent advisor Fach director or independent advisor so elected sliall sene for
the balaxce of the turerpired tetm, and until a successol has been selected and qualified, oi until
his or her eailier death, resignation or removal.

                (b)     Action by DlectoLs in the_Event of an U.nr'riled I/aca4.cy If there is an
unfilled vacaltey in the boarcl, the temaining dilectoi may act only with the unanimous approval
of the shzuehoiders, ot in the event of a tie, with the appror,,al of half of the shareholilers ald the
independent dL ectoi

        Section 4   05   REMCVAL CF DIRECTORS

                (a)     Removal by the Shareholde-rs The entire board of directors, or any class
of the boatd, ol any individual director may be removed ftom office r.vithout          assigning an.7
caLISq by the vote of shareholders, or of'the holders of a class or series of shares, entitied to elect
directors, or the class of diiectors In case the board or a class of the board 01 any one or mol'e
directots aie so removed, nerv directois may be elected at the same meeting fhe boaid of
directors may be lemoved at any time u'ith or without cause by the unanimous vote 01 consent
of sharehclders entitled to vote thereon

                (b)         Removal by the Boaid The boad of directors may declare vacant the
office of a director rlto has been judicially declared of unsormd mind or who has been
convicted of an offense punishable by imprisonment fbr a term of more than one year or if,
vrithin 60 days after notice of his or her selection, the director does not accept the office eithel
in r,'r,riting or by attending a meeting of the board of diiectois




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                (") Renloval of Directors. Elected brrsumulative Yoiing An in<1i''rid-ura1
director shall not be i'emcved (unless the entiie boaid oi class of the boa-rd is removed) if
sufficient votes aie cast against the resoLution for his removal rvhich, i{ cumulatively voted at an
annual or other regula: election of directors, rvould be sufficient to elect one 01'mole directors
to the board or to the class

        Section 4   06PLACE OF IVIEEINGS N{eetings of the board of directors may be held
ai such place within or without Pennsylvania as the boaid o{ diiectois may fiom time to time
appoint or as may be designated in the notice of the meeting

        Section 4 07 OR.GANIZATION OF MEETINGS At every meeting of the boaid of
directols, tire chairman of the board, if there be one, or, in the case of a vacancy in ttre office or
absence of the chairman of &e board, one of the fbllowing ofi-rcers present in the ordet stated:
the vice chairi'nan of the board, if there be one, the ptesident, the vice presidents in their order
of rank and seniorifi, ot a pelson chosen by a majorit'i of the directors present, shall act as
chairman of the meeting The secretary or, in the absence of the secretary, an assista:rt
secteiary, or, irr the absence of the secretary and ihe assistant secretaiies, any peison appointed
by the chairman of the meeting. shall act as secretaiv,

        Section 4 08 REGULAR MEE,IINGS Reguiar meetings of the board of directors
shall be held at such time and place as shall be designated fiom time to time by resoluiion of the
board. of directors


        Section 4   09 SPECIAL MEETINGS Special meetings of the boaid of directors shal1
be held w'henever called by the chairman oi by two or moie of the dilectors

        Section 4   10   QUORIIIVI OF AND      ACIION BY DIRECTORS

               (a) General Rule A majoiiiv of the directors in oJfice of thre coiporation
shall be necessary to constitttte a quorum {bi the transaction of br-rsiness and the acts of a
majority of the diiectois piesent and voting at a meeting at r,i,hich a quorum is present shall be
the acts of'the board of directors In the case of a vacancy in the boald of dtectois, the
remaining director and the independent advisor shall constitr.tte a quorum

               (b) Action br,: lVritten Consent An"v action required or permitted to be taken
at a meeting of the directors may be taken lvithout a meeting if, prior or subsequent to the
action, a consent or consents thereto by all of the directors in office is filed rvith the sectetary of
the corporation

        Section 4   11 EXECUTI\E       AND OTHER COMVIITTEES

                (a) Establishrneni and Por,vers The board of directors may, by resohrtion
adoptedby a majoiitl of the directois in office, establish one or more coirlmittees to consist of
one ct moie ditectots of the corporation Any committee, to the extent provided in the
tesolution of the board of directors, shall have and may exercise all of the powels and authoriiy



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of the board of dfuectors except that a committee shail not have any po\yel oi authoriff       as   to the
follorving:

                          (1)  The submission to shareholders of any action requiring approval
                of shaieholders under the Busiless is Corporation Law

                          (2)    The creation or   filling of vacancies in the board of dilectors

                          (3)    The adoption, amendrnent or repeal of these bylar.vs

                          (4)   The amendment or repeal of any iesolution of the board that by
                its terms is amenCable or repealable only by the board

                          (5)    Aciion on matters committed by a resolution of the board o{
                dfuectors to another committee of the board

                (b) Alternate Committee irlembers The board may desigRate one ol mole
directors as aliernate membets of any committee r,v-ho rnay replace any absent or disqualifiecl
member at any meeting of the comrnittee or foi the pruposes of any l,.r:itten action by the
committee , In the absence or disqualification of a member and alternate member or members
of a cornmittee, tlie raember or members thereof pleseni at any meeting and not disqualified
liom voting, vi,hether or not constituting a quo1l1m, may unanimousiy appoint another director
to act at the meeting in the place of the absent or disqualified membel,

                (r)       Teim   Each committee or'the board shail seive at the pleasure of the
boaid

                (d)               Procedures The teim "boa'rd of dlectors" or' "board," rvhen
                          Committg-e
used in any provision of these bylar,vs relating to the oiganization or procedures of or the
mallner of taking action by the boa:d of diiectors, shall be conskued to include and refer to any
executive oi other committee of the board

        Section 4 12 COIV{PENSATION The board of directors shall have the authority to
fix  compensation of directors for thefu services as directors and a directol may be a salaried
officer of the corporation

                                            AR.TICLE V

                                            OF'F'ICER.S

         Section 5   01   OIFICERS GENERALLY

              (a) Number, Qualification and Desiglrption The officers of the corporation
shall be a president, a secretary, a treasnrei, and such other officeis as mary be elected in
accordance with the plovisions of Section 5 03 Officeis may but need not be directors or



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shareholders of the corpoiation The president and secretary  sha11 be naiural pelsons of ft1l1 age
The teasuiel rnay be a corporaiion, but if anatuial pelson shall be of full age The board of
directots may elect fiom among the members of the board a chairmal of the boa:d and a vice
chafuman of the board i,vho shal1 be officers of the corporation ,Any number o{'offrces may be
held by the same pelson

                (b)    Resis-nations Any officer may resign at any time upon r-,riiten notice to
the corpoiation The tesignation shail be effective upon receipt thereof by the cciporation or at
sr"lch snbsequent time as may be specified in the notice of resignation

                (c)      Bonding The corporation may       secure the fidelir.v   of any' or al1 of its
officers by bond or otheru,ise

                (d) Standard of'Care Ercept as otherlvise piovided in the articles, an officer
shall peiform his oi her duties as an officei in good faith, in a mannel he or she reasonably
believes to be in the best intetests of the corporatioa and rvith snch care, including reasonable
inciuiiy. skill and cliiigence. as a pelson of ordinary pmdence re.ouid use under similar
cfucumstances A petson lvhc so perfotms his or hei duties shal1 not be liable by reason of
having been an officer of the corpotatiort,

         Section 5  02  ELECTION AND TERM OF OFFICE The oft'icers of the corporation,
except those elected bv delegated authority pusuant to Section 5 03, sha1l be elected annr.tally
by tire board of directors, and each such officer shal1 hold office for a term of'one yeat and until
a successol has been selected and quaiified or until his oi her earlier death, iesignation ot
rei-ncval

        SCCI-iON503 SUBOR-DNATE OFFiCERS, COJVI]VIITIEES AND AGENTS, ThC
bcard of directors may fiorn time to time eleci such other officers and appoint snch committees,
ernployees or other agents as the bnsiness of ths corporation may requfue, inciuding one 01 more
assistant secietalies, and. one 01 fitole assistant treasureis, each of whom shall hold office fbr
such period, have such authority, and perfbrm such duties as a1e ptovided in these byiavvs or as
the boa:d of directors may fiom time to time determine The board of'directois mav delegaie to
anl' officer or committee the polivel to elect subordinate officers and to letain or appoint
employees or other agents, or commitlees thereof and to prescribe the authoriff and duties of
such subordinate officers, committees, employees or othel agents

        Section 5 04 REMOVAL OF OFFiCERS AND AGENIS Any officer or agent of the
corporation may be removed by the boad of directors r.vith or rvithout carlse f he removal shall
be rvithout prejudice to the contraci rights, if any, of'any person so removed Election or
appointmeni of an officer or agent shall not of itself create contract rights

        Section 5   05   VACANCIES A       vacarlcy in any oflice because of deattq resignation,
rerncval, disqualification, ol any other cause, shall be filied bv the board of dkectors or by the
officer or committee to which the porver to fill such office has been deiegated pursuant to



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 Seciion 5 03, as the case may be, arrd if the office is one for lvhich these bylaws prescribe a
 term, shall be filled for the unexpired portion of the term.

         Section 5   06. AUTHORITY       Al1 officers of the corporation, as between themselves
 and the cotpotation, shall have such authority and perfoim such duties in the management of'
 the corpolation as may be provided by or prusuant to resolution or orders of the board of
 directois or inthe absence of contlollingprovisions in the resolutions or orders of the board of
 directors, as may be deteimined by or pr.usuant to these byiaws

        Section 5 07 THE CHAIRMAN OF IHE BOARD The chairman of the boacl if
there be one, oI in the absence of the chairman, the vice chairman of &e board, shall pieside at
all meetings of the shareholders and of'the boaid of diiectors and shail perfoim such othei
duties as may fiom time to time be requested by the board of dilectors

        Section 5    08 TI{E PRESIDE}II The piesident shali be the chief'execuiive officer of
the cotpotation ancl shall have general supervision over the business and operations of the
colpotaiion, subject hovr/evei, to the contiol of the boaid of directors fhe president sirail sign,
execute, and ackno't,vledge, in the name of the corporation, deecls, moitgages, contacts or other
insiruments ar:-thorized by the board of directors, except in cases r,vhere the signing and
executicn thereof shall be exptessly delegated bythe board of'directors, oi bythese bylaws, to
some othet officei or agent oithe corporation; and, in general, shall peiform all duties incident
to the office of president aad such other duties as fiom time to time may be assigned try ihe
board of directors.

           Section 5 09 II{E SECRETARY The secretary ot at assistant secretai_v shall artend
all rneeiings of the shareholiiers and of the board of directors and shall recorcl all votes of the
sharehcldeis and of'the dilectors and the minutes of the meetings of the shareholders and of the
boarC of directors and of coinmittees of the boaicl in a book or books to be kept foz that
pupose; shail see that notices are gil'en and records and reports propeily kept and filec1 by the
cotporation as tequired by lat i; shall be the custodian of'the seai of the corporation and see that
it is afflrxed tc all documents to be executed on behalf cf the corpoiation under its seai; and, in
general, shail perform all duties incident to the office of secretary, and such othel duties as may
fiom tiroe to time be assigned by the board of directors or the president

        Section 5 10 THE TREASURER The treasurer or an assistant tieasurer shail have or
provide fbr the custody of the funds or other propeiiy of'the corporation; shall collect and
receive or provide foi the collectron ancl receipt of moneys earned by or in any mannel clue to or
received by the corporation; shali deposit all funds in his or her custody as tr,easurer in such
banks or othet places of deposit as ihe board of directois may fiom time to time d.esignate;
shall, rn'henever so required by the board of directors, render an account shorving all
transactions as tt'easutet and the financial condition of the corporation; and, in general, shall
discharge stich other duties as may ftom time to time be assignecl by the board of directors or
the president




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        Section 5 i 1 Sr\LARIES The salaries of the officers elected by the board of directors
shall be fixed fiom time to time by the boaid of diiectors or by such officei as may be
designated by resolution of the board The salaries or oiher compensation of any othei officeis,
em.oloyees and other agents shall be fixed fiom time to time by the officer or committee to
u'hich the powei to elect such officers or to retain or appoint such employees or other agents
has been delegated pusuant to Section 5 03 No officer shall be prevented fiom leceiving such
salary or other compensation by I'eason of the fact that the officer is also a directoi of'the
corpcration

        Section 5   12    DISALLO\1,G,D COfuIPENSATION Any payments made to an officei
or employee of the corporation       such as a salary, commission, bonus, intetest, rent, tmvel or
entertaiament expense incurred by him, r,v'hich sha11 be disallolved in *'hole ot in pait as a
deductible experse by ihe Internal Revenue Service, shail be reimbursed by such officer or
empioyee to the corporation to the fuli extent of such disallor,r,ance It shall be the dufy of the
directors, as a Board, to enforce par,mrent of each such amount disallowed in iieu of'papnent
by the oft-tcel or employee, sr"ibject to the determination of the directors, proportionate amounts
rnay be r,r,'itirheld fiom fuhrie compensation payments until the amount or.ved to the corporation
has been recoverecl.

                                           AR.TECE-E 1T

                         CERTIF'ICAT'ES OF ST'OCK, TRANSFER, ETC.

        Section 6   01    Si-tAFg CERTIFiCAIES If the articles state that the corporation shall
issue uncertificated shares, the coiporaticn shali gi'tie shareholders all information colcerning
theii shares as is requiied by 1av,' Ii the corporation issues certificates, such certificates for
shares of the coiporation shal1 be in such rtim as approved by the boaid of directors, and shall
state that the corpora-tion is incorporaied under the lar,.rs of Pennsylvania, the name of the person
to r.vhom issued, a.i"rd the number and class of shaies and the clesignation of the series (i{ any)
that the certificate represents The share register or hansier books and blank share ceitificates
shall be kept by the secretary or by any tiansfbl agent or regisfia: clesignated by the board of
dileciors for that pulpose

        Seotion 6 02 ISSUANCE The sha-re certificates of the corporation shall be numbered
and registered inthe share tegister or tlansfer books of the corporation as they are issued They
shali be signed bv the president ot a vice president and by the seqetary or an assistant secietaiy
oi the treasulei' ol an assistant fteasruer, and shall bear the corporate seal, r,vhich may be a
facsimile, engraved or piinted; but rvheie such certificate is signed by a transfer agent ol a
registrai the signatuie of any corpotate officer upon such certificaie may be a facsimile,
englaved or printed In case any offrcer v,'ho has signed, or .,vhose facsimile signature has been
placed upon, any share ceitificate shal1 have ceased to be such offrcer because o{ death,
resignation or oiheiwise, before the certificate is issued, tt may be issued rith the same effect as
if the officei had not ceased to be such at the date of its issue The provisions of'this Section
6 02 shall be subject to any inconsistent or contlaly agreernent at the time behveen the
colpolation and any fiansfer agent 01 registral


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        Section 6 03. IRANSFER Transfers of shaies shall be made on the share register or
transfer books of the corporation upon surrender of the certificate therefoi, endoised by ttre
petson named in the cettificate or by an attotney iauflilly constituted in r,r,.riting No transler
shall be made inconsistent with the provisioru of the Unifbrm Commeicial Code, 13 Pa C S $
8101 et seq, and its amendments and supplements

        Section 6   04  RECORD HOLDER OF SI{ARES lhe corporation shaIl be entitled to
teat the pelson in lvhose name any share or shares of the coiporaiion stand on the books of the
cotporation as the absolute o$mel tlereof, and shall not be bclind to recognize any equitable or
othet claim to, or interest in, such share or shares on the pa'r of any othei peison

        Section 605. LOST, DESTROYED OR MUTILATED CERIIFiCATES The holder
of anv   sha:es of the cotporation shall irnmediatelv notifi,- the corpoiation of any loss,
destuction or mutilation of the certificaie therefor, and the board of directors mav, in its
disctetion, cause a nerp cettificate or certificates to be issued to such holder, in case of'
mutilation of the cei'iificaie, ripon the srurender of'the mutilated. ceitificate or, in case of'loss or
destmc.iion of the ceitificate, upon satisfbctory proof of such ioss or desfiriciion and, if the
board of directors shall so determine, the deposit of a bond in such form and in such sum, ancl
with sueh suety ol suleties, as it may diiect

                                           ,^.RTECE,E WN

                 INDE    iVflNEF IC.ATION Otr DXR.E CT O R S, oFF'i CEP"S AI\D
                         OT}iER. AUT'I{OtrJZtrD RE FF.ESE NTAT'tr VE,S

        Section 7   01 SCOPE OF INDEh,INIFICATION
                (a)   Genetal      Rule    The corpoiation shall indemlifu an inCemnified
reptesentative against any liabiliry incrirred in corurection lvrth any picceeding in w'hich the
indemnified rep:eseniative may be involved as a pa:ty or oiherlvise by reasoa o{ the fact that
such petson is or tvas serving in an indemnified capacly, including, without liuritation,
liabilities resulting fiom any actual or alleged breach or neglect of duty, error, misstatement or,
misleading statemeni, negligence, gtoss negligence 01 act giving rise to strict ol products
liability, except:

                         (1)    rvhere such indernnification is expressly prohibited by applicable
               lalv;

                         (2)   l,vhere the conduct of the indemnified representative has been
               finally determined putsuant to Section 7 06 ot otherlvise:

                                (i)   to constitr.tte willfuI misconduct or recklessness u,ithin the
                         meaaing of i5 Pa C S $ 513(b) and I'745(b) and 42 Pa C S g 8365(b)




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                         01 any superseding plovision of lalv sufiicient in the circumstances to bar
                         indemnification against iiabiliiies a.rising fiom the conduct; or

                                (ii)    to be based upoa or attributabie to the receipt by the
                         indemnifiec representative fiom the corporation of a personal benefit to
                         w'hich the indemnified representative is not legally entitled: or

                          (3) to the exlent such indemnification has been finally determined in
               a   final adjudication pursuani to Section 7,.A6 b be otherlvise unlaro,,fll

                (b) Partial Pa)'ment If an indemnified repiesentative is entitled to
indemnification in lespect of a portion, but not ali, of anv liabilities to lvhich srich perscn may
be subject, the corporation shall indemmfu sr.rch indemnified representative to the maximum
extent {br such portion of the liabilities

               (c)    Piesumption The termination of a proceeding bv judgment, order,
settlement or conviction or Lrpon a plea of nolo contendeis or its equivalent shail not of itself
create a plesumption that the indemnified representative is not entitied to indemnification

                   (c)    DCIruliSlg   For puiposes of this Articie:

                       (1) "indemnified capaci6"' means any and ali pa.st, present and future
               service by an indemnified teptesentative in one 01 more capacities as a director,
               officei, employee or agent cI the corpotation, or. at the iequest of the
               corpora-tion, as a director, officer,' employee, agent, fiduciary or tiustee of
               ancther corporaiion, partnership, joint ventule, trust, ernployee benefit plan or
               other entiry 01 entelprise;

                         (2)     "inderiinit-ted iepiesentative" mearls any and all direciots and
               officeis of the coiporation and any other person designated as an indermified
               representative by the board of directors of the coiporation (v,hich malz, but need
               nct, include any person seiving at the request of the coiporation, as a diiector,
               officer, employee, agent, fiduciaiy or trlistee of another corpotation, partnership,
               joint ventru'e, trust, employee benefit plan or other entity or enterprise):

                         (3)    "liabilitl" means ar\y damage, judgment, amount paid in
               seitlement, fine, penalt.v, punitive damages, excise tax assessed lvith respect to
               an employee benefit plan, or cost or expense, of any natrue (including, without
               limitation, attorneys I fees and disbursements) and

                         (4)   "proceedirg" means any ttueaiened, pending or completed action,
               suit, appeal or other proceeding of' any nature, lvhether civil, ctiminal,
               aciministrative oi investigative, lvhether foimal or informal, and ll'hether brought
               by oi in the right of &e corporation, a class of its sectuity holders or otherlvise
                                                                                                 ,




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         section '7,02PROCEEDINGS [rtrI]tATED By                      E{DEIvINIFIED
 REPRESENTATMS ]rlotu'ithstanding anv other provision of this Article, the corporation
 shall not indem-nifv under this futicle an indemnified representative fbr any liabiliiv incurred in
 a proceeding initiated (which sha1l not be deemed to include counterclaims or affitmative
 defenses) or participaied in as an intervenor or zunicus curiae by the person seeking
 indemnificati.on unless such initiation of ol participation in the proceeding is authorized, eithei
 before ot aftet its commencement, by the affirmative vote of a majoritv of the directors in
 office This section cloes not apply to a reimbursement of exoenses incurred in successflilly
 prosecuting oI' def'ending an arbitation under Section 7 A6 u otherrvise successflilly
 prosecuting or defending the Iights of an indemnified represen'rative granted by or prrsuant to
 this Article

         Section7.03, ADVANCING EXPENSES The corporation shall pay the expenses
 (including attotneys, fees and disbrusements) incrured in gocd faith by an indemnified
representative in advance of the final disposition of a proceeding described in Section 7 01 or
the initiation of or participation in r,t-luch is authorized pursuant tc Section 7 02 upon receipt of
an undertaking by or on behalf of'the indemnified repiesentative to repay the amorut if it is
ultimately determined pursllant to Section 7 06 that such person is no'r entitled to be
indemnified by the corpoiation pursuant to this futicle The financral abiliry of an indemnified
lepi'esentative tc lepay an advance shali not be a prereqnisite to the making of such advance

        Section 7 04 SECURING OF hIDEIvfNIFICATION OBLIGAIIONS to ftirther
effect, satisfl 01 seclue ihe indemnification obligations proviCed heiein or otheitr,ise, the
corpotation may maintain insurance, obtain a letter of credit. act as self'-insurei, cleate a
leserve, tiust, escro$', cash coilateral oi other fund ol account, enter inic indemnification
agreemenls, pledge ot glant a secuity inteiest in any asseis or properties of the corpotation, or
use any other n:echanism 01 allangement \,v-hatsoe't,er in snch amounts. at such costs, and upon
such othei terms and conditions as the board cf directors shall deem appropiiate Absent ftaud,
the determination of the board of dilectors lvith respect to such amounts, costs, terms anC
conditions shal1 be conclusive against all secuiff holders, officers and cifuectors a"nd shall nct
be subject to voidabilih...

        Section 7 05 PAIa4ENT OF INDEX,{IIIFICATION An indemnified representaiii,e
shall be enlitled to indemnification rvithin 30 days after a written request fcr indemnification
has been delivered to the secletary of the corporation

        Section 7   06   ARBITRATION

               (a) General Rule Anv dispute related to the, right to indemnification,
contribution or advancement of expenses as provided unclel this Article, except llith respect to
indemnification for lia-bilities arising under the Securities Act of l93i thatthe corporation has
undertaken to submit to a colut for adjudication, shall be decided oniy by arbitration in the
metropolitan area irr which the ptincipal executive off,rces of the corporation are located at the
time, in accot'dance with the comrneicial arbitration niles then in e{fect o{ the Ameiican
fubitation Association, before a paxel of ttree abitrators, one of whom sha1l be selected. bv


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 ihe cotporation, the second of ra'hom shall be selected by the indemnified representative and
 third of ',vhom shall be seLected by the other tw'o arbitrators In the absence of the American
 Arbitration Association, or if for any 1'eason aibitration rurder ihe arbituation rules of'the
 Ametican Arbitlation Association cannot be initiated, or if one of the parties fails or refuses to
 select an abitratol or if the albitrators selected by the corporation and the indemnified
 rept'esentative camot aglee on the selection of the thid aibitrator r,vi'u6in 30 days after such time
 as the corporation and the indemnified representative have each been notified of the selection
                                                                                                of'
 the othet's albitl'atot, the necessaty arbitrator ot arbitrators shall tre selected by the presiciing
 jtidge of the court of general jurisdiction in sr.rch metropolitan area,

                 (b)   Burden of Proofl The paty or parties challenging the right                 of   an
 indemnified tepresentative to the benefits of tiris Article shall have the burden of proof

                 (c)    Expe{rs"es The corpoiation shall reimbuise an indemnified represeniative
for the expenses (includiag       attolneys' fees anC disbursernents) incurred        in   iuccessfully
prosecuting oi defending such arbitration

                 (d) EfIbct Any arrra:d eoteted by the arbitrators shall be final. binding and
nonappealable and judgment may be enteied thereon by any party in accorclance l.rith
applicable law in anv court of competent juisdiction, except that the corporation shall be
entitiecl to intelpose as a defense in any such judicial enfbrcement proceecling any plior finai
judicial determination advelse to tire indemnified representatire *rd", Section 701(a)(2) in a
proceeding not diiectly involr.'ing iademnification under this Articie This a:bitiation provision
shalI be specifically enforceable

        Section 7 07 CONIRIEUTION IJ the indemnificatioa provided foi in this Article or
othenvise is unavailabie for axy leason in respect of any liability or portion thereof, the
cotpotation shall contributo to the liabilities to r.vhich the indemaified represeniative may be
subject in such ploportion as is appropriate to refiect the inteni of this Articie oi other-wise

        SECIiONT 08 MANDAIORY IN'DEIViNIIFICATICN OF DIRECTORS, OFFICER.S,
ETC    To the extent that an authorized tepresentative of the corporation has been successftil on
themeritsoiotheir.viseilldefbnseof anl actionorproceedingreferedtoinl5pa CS 1741
                                                                                          $
ot 1742 or in defense of any claim, issue or matter thereia, snch person shall be indemnified
against expenses (including attorneys' f'ees and disbursements) actualiy and reasonably incruied
by such pelson in corutection therervith

        Section 7   09 CONTRACT RIGHTS; AMEND\4ENI OR REPEAL                         All rights   under
this Aticle shali be deemed a conllact betr,veen the corporation and the                   inderrnified
lepresentative prusuant to i,t'hich the corporation and each indemnified representative intend to
be iegally bound Any repeal, amendment or modification hereof shall be prospective only and
shall not affect any rights or obligations then existing

      Section 7 10 SCOPE OF ARTICLE lhe rights granted by this Article shall not be
deemed exclusive of anv other rights to r,vhich those seeking indemnification, coniribution or



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advancemeff- of'expenses may be entitled under any statute, agreement, vote of shaieholders or
disinteiested directors ot oiherlvise both as to action in an indemnified capaciry and as to action
in any other capaciff The indemnification, conhibution and advancement of expenses
provided by or granted pursuant to this Article shall continue as to a person who has ceasecl to
be an indemnified reptesentative in respect of mattets zuising prior to such time, and shall inure
to the benefit of the heirs, executors, adminisfiaiors and personal representatives of such a
person

        Section 7 1i RELTANCE OF PROVISIONS Each peison r,vlio shall act as an
indemnified tepresentative of'the corporation shall be deemed to be doing so in reliance upon
the rights provided in this Article

        Section 7     12 INTERPRETATIONI      The provisions of this Articie are intended to
consiitutebylar''is authorizedby 15 Pa C S $ 513 and 1746and4zpa C S $ 8365

                                          AR.TTCLE \TXI
                                        ryIXSCEX,X-ANEOLiS

        Section   B   01
                       CORPORATE SEAL The corporation seal shall have inscribed thereon
the name of     the cotpoiation, the yea.r of its organization and the r,.rords "Corporate Sea1,
Pennsylvania"

        Section B 02 CHECKS All checlis, notes, bil1s of exchange 01 oiher orders in i,r,riting
shall be signecl by such pe{son ol pelsons as the boaid of directors ot aty porson authorized b1z
lesohrtion of the board of diiectots may fiom time to time designate

        Section 8     03   CCNIRAC IS

              (a) Geneial Ri-rle Except as otherrvise provicled in the Business Coiporation
Law in the case of transactions that reqrrire action by the sha:ehoideis, the boaid of directors
may autholize any officer ol agent to enter into any contraci oi to execute ol deliver any
instuument on behalf of the cotpotation, and such authoiiry rnay be general or confined to
specific instances,

                 (b) Stattttory Fotm of Execution of instruments Any note, mortgage,
evidence of indebtefuess, conhact ot other document, or any assignment or endorsement
theieof, execi.tted or entered into bet.veen the corporation and any othet person, when signed bv
one 01 more officers ot agents having actual or apparent authoritv to sign it, or by the piesident
or vice president and secletaly oi assistant secretary oi treasurer or assistant treasurel of the
corporation, shall be held to have been properiy executed for and in behalf of the corporation,
rvithorrt prejudice to the rights of the corporation against any pelson r.r,ho sha1l have executed
the inshument in excess of his or her actnal authority




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         Section 8   04   NIERESIED DIRECTORS            OR CFFICERS; eUORU-|yi

                (a)       General   Rule A   contuact or tiansaction betlveen the corporation and one
 oI rflore of its dilectors or officers or betrveen the corpotation and another corpolation,
partnership, joint venture, fiust ot other enterprise in r,vhich one 01 more of its directors ot
officets are directols ot officers or have a financial or other inteiest, shall not be void or
voidable soleiy fbr that leason, or solely because the director or officer is present at oi
participates in ihe meeiing of the board of'dhectors ihat authotizes the contract or hansaction,
or solely because his, her or iheir votes are counted for that purpcse, if   :




                          (1)   the mateiial facts as to the reiationship or interest and as to the
                contract ot transaction ale disclosed or are knor,m to the board of directots and
                the boald authotizes the contiact or transaction by the affi.rmative vote of a
                majoritv of the disinterested directors even thoush the disi:rterested directols are
                less than a quorum;

                          (2)   the r:naterial facts as to his or her relationship or inierest and as to
                the contract or ftansaction are disclosed or are kno-"m to the shareholders entitlecl
                to vote thereon and the confuaci oi tiansaction is specifically approved in good
                faith by vote of tlose sharehoidei's; oI

                          (3)   the conttact or transaciion is fbir as to the corporation as of the
                time   it is authorized, apprcved oi ratifiecl by the board of directors oi the
                shareholciers

                (b)   Quoium Common oi interested directois may be counted ic determining
the piesence of a quolum at a meeting of the bcard ir&ich authorizes a contract or transactiorr
specihed in subsection (a)

        Section 8 05 DEPOSITS A11 flinds of the corporation sha1l be deposited fiom time to
time io the ciedit of the coipolation in such banks, fiust companies ot other depositories as the
board of directors may approve or designate, and all such funds shali be r,vithdiau,n only upon
checks signed by such one 01 mcre officers or emplo-vees as tlie board of directors shall fiom
time to time determine

        Section 8   06    CORPORATE RECORDS

                (a)      RqqUired R.ecoids The corpoiation sliall keep ccmplete ard accui'ate
books and records of account, minntes of the proceedings of the incorporators, sharehoiders and
directors and a share register giving the names and addresses of a1l shareholders and the number
and class of shaies held by each The share register shall be kept at either the registered office
of the coiporation in Pennsylvania or at its principal place of business whelevel situated or at
the office of rts registral or trans{'er agent Any books, minutes oi othel records may be in
i,rritten foirn or any othei form capable of being converted into wiitten form r.vithin a reasonable
time


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                (b)     Right_   of _Inspectiog Every sha:eholder shali, upon r,vriiten verified
 demand stating the purpose thereof, have a right to eramiae, in person o, by ug.ot oi ar-torney,
 druing the usual houis for br:siness fbr anv ploper purpose, the shaie register; books and records
 of'accotmt, and records of the proceedings of the incorporaiois, sharehoiders and dlectois and
to make copies oI ext'acts therefiom A proper pulpose sha1l mean a plupose reasonably
ielated to the interest of the person as a shareholder in every instao." ,rh.r. an attorne_v or
other ageat i-q the petson r.vho seeks the right of inspection, the demand, shall be accompanied.
by a veri{ied por,ver of attorney or other r,ititing ihat authorizes the attorney or othei agent to so
act on behalf of the shareholder fhe demand shall be diiected to the corporation at its
registered office in Pennsvlvania ol at its principal place of business r,vheiever sitgated

         Section 8 07 FINANCIAI REPORTS Unless otheirvise agreed between the
corporation and a shareholdei; the corporation shall furnish to its shareholdets annuaL financial
statements, including at least a balance sheet as of the end of each fisca1 year and a statement of
income and expenses for the fiscal yezu The financial statements shall be preparecl on the basis
of generally accepted accounting principles, if the corporation plepa-Ies financiat staternenis foi
the fiscal year on thal basis for any puipose, and may be consolidated statemenis of the
cciporation and one 01 mole of its subsidiruies The financial staiements shall be ma.ilecl by the
coipotation to each of iis sltateholdeis entitled thereto r,vithin i20 days aftei the close of each
fiscal year and, aftet the mailing a-ird upcn written request, shall be mailed by the corporation to
any shareholder ot beneficial olvnel entitled thereto to r.vhom a copy of the mosl receni annual
financial staiernents has not previously been rllailecl Statements that are auditeil oi revier,ved by
a pub'ic accountant shall be accompanied by the report of the accountant; in other cases. each
copv shali be accomparrieci by a statement of the peison in cha;ge of the finarncial iecords of the
coiporation:

                       (l)     Stating his reasonable belief as to r.vhether or not the lurancial
               statemenis  r,ve(e pi'epared in accordance lvith geneiallv accepted accountin_9
               principles and, if not, describing the basis of presentation,

                       (2)       Describing any maierial respects        in   y,,hich   the   financial
               statements l1'e1e not prepared on a basis coirsistent rvith those prepaed       for   the
               previous year

       Section 8  08   AfuIENDMENT OF BYLAWS lhese bylaws may be amended or
repealed, ol new bylalvs may be adopted only bv voie of ihe shareholdeis at any dulv organized
annual or special meeting of sha-reholders See Section 2 03(b) (lelating to notice of action by
shareholders on bylaws)




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                                       CERTIPICATION




                          'fllgtSecretary of Scarborough Mews, Inc,, hereby certify that
       I,                                                                                     the

attached    is a true and corlect copv of the uritten   consent execnted   by the Shareholders of

Scarborough Mew-s.     Inc, on the   daay of *erOffi,ufu?       ,2OlL




                                           '?rr,-aD,N, Wr,,             w-
                                            Secretary
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                Lr-l{ANIilIOUS \IIRITTE    N{   I O}SENT   OF S ILAREHOL         D   ERS

Ni LIEU OF NIEFTING OF TEIE SHAREHOLDERS OF SCARBOROUGH                                    N,IEWS. TNC.




        Ihe undersigned Shareholders of Scarborough Mews, Inc (the "Corporation"), pursuant

to 15 Pa C S A g 1766(a), consent in uriting to the follor,i,ing

       APPROVED, the Shareholders consent that the Bylar,r,s of the Corporation previously in

force shall be repealed

       APPROVED, the Shareholders consent that the Bylaws attached hereto as Exhibit "A"

shall be adopted and shall become the Bylarvs of the Corporation

       EFFECTIVE, as of this 8iu         day    of              2011 bv unanimous consent of the

Shareholders of the Corporation, as evidenced by their signatures belorv




                                                        'i' -rr.          {4 r-u-!*
                                                      rojolEoEJr,ilt'ota.,


                                                      Brooke    P   Cotlrnan, Sharehoider




                                                      Edrvard   W    Coslett,   h,   Shareholder
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                        Exhibit D
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                                      AptRen12 LLC
                                                                                          19063
For property located at         Media Stag 9n Apartmems 350 Media Station Road, Med 3, PA

Effectwe         June 12 2017     v

                        Media Station Apanments, LP              /
Partnership(s)

Agentlj)         Aptgemz LLC
                                                                        ————-—————————_
___________________.__._.——




                                                                                                         )




                                                               IP) 215 266 7785 {E)AprenszLC@gmall com
           Aleeniz. LLC 509 Dickmson Si Philadeiphl'a PA 79147
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List oiProvisious
                                                     Section 12 Relationship 01‘ Agent to
                                                     Partnership
Secuon 1 Appointment of Managing Agent
          Appointment and Acceptance                 Section 13 Save Harmless
  1 1
          Description of Premises                    Section 14 Liability Insurance
   12
          Term                                       Section 15 Agent Assumes No Llability
   1 3
                                                     Section 16 Partnershi Res onsible for All
                                                     Expenses of LitigatimiJ      p
  1A    Management Ofﬁce
                  for On Site Staff                       16 1 Fees for Legal Advice
  1 5   Apartment
                                                      153911011 17 Agent‘s Compensation and
Semen 2 Bank Accounts                                 ‘xpenses
                                                        17 1     For Management Services
   2 1     Operating (and/or) Reserve Account(s)
                                                        17 2     For Apartment Leasing
   2 l 1   Initial Deposit and Contingency Reserve
                                                        17 3     For Commermal Leasing
   22      Sammy Deposit Account
                                                                 For Modernization
                                                         17 4    (Rehab/Cunstruction)
   23       Fidelity Bond
                                                         17 5    For Fire Restoration
 Section 3 Collection ofRents and Other Receipts
                                                                 For Other Items of Mutual
                                                         17 6    Agreement
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                                                         l7 7     Interest on Unpaid Sums
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                                                                                                  2
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M
                                                 12th            day of           J1me           ‘/ 20 7
      This Agreement is made this

       by and between           Media Swim] Apartments LP                 (“Bangership”) and


                        AptRengg LLQ                                      (“Agent’ )
                                                                                          ————-———‘
 __________________——————

                                    SECTION 1, APPOINTMENT AND ACCEPTANCE


1 1 Appointment and Acceptance
                                                                              lease and manage the property described
Partnership hereby appoints Agent as sole and exclusive Agent ofPaﬁnership to                              furnish the
                                                                                         ment and agrees to
in paragraph 1 2 upon the terms and conditions provided herein Agent accepts. the appoint agrees to pay all expenses in
                                                                             and Partnership
services of its organization for the leasing and management of the Premises,
connection with such services



1 2 Description ofPremlses
                                                                               as                    Media             Station
The property [a be managed by Agent under this Agreement (“Premises”) is known
                  1003th at               240 Media Station Road, Mgr“; PA l90§3             consistingofthe land, buildings,
Apartme rts
                                                                                 24 acres parking for 390 yehicles, 3
and other improvements described as me panels 01 land totaling aggggximaggly
                                                                                         d rental gﬂice in gognd yogi
three and fur 539g apartment bgiidings contaming g total of 204 apartment units, detache
                                                                                a
actiyiﬂ court and leased parking garages


 1 3 Term

                                                                  five (5 year(s)      (“initiai   term’ )    from      the
 The term of this Agreement shall be for an initial pen? of
         12th     Day of         June 2017                 and thereafter shall be automatically renewed from year to year
                                                                                     renewal penods is referred to as “term
 unless tenninated as provided in sections 21 or 27 herein Each of said one year
 yea:’


 I 4 Management Ofﬁce
                                                                                            Partnership shall pay all expenses
 Partnership shall provide adequate space on the Premises for a management ofﬁce
                                                                                       and ofﬁce supplies, electricity and other
 related to such ofﬁce, including, but not limited to, furnishings, equipment, postage
 utilities, and telephone




 1 5 Apartment for On Site Staff
                                                                                    on site manager and/or a resident facilities
 Partnership shall provide a suitable apamnent(s) on the Premises fortlle use ofan
                                                                                  for heat and utilities in the same manner as
 manager and their families, rent free, except that such resident staff shall pay
 other tenants The speciﬁc apartment(s) shall he the Partnership’s choice                                                      3.
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  m—————_—_—.—____._—____
                                           SECTION 2, BANK ACCOUNTS

The various bank accounts established under this Agreement shall be established in the Partnership’s name but under
Agent’s control Agent’s designees shall be the only parties authorized to draw upon such accounts No amounts deposited
In any accounts established under this Agreement shall in any event be commingled with any other funds of Agent


2 1 Operating (and/or) Reserve Account(s)

Agent shall establish a separate account(s) known as the       Media §tation Management                  Operating
(and/or) Reserve Account(s), separate and apart from Agent 5 corporate accounts, for the deposit of receipts collected as
described herein, in a bank or other institution whose deposits are insured by the federal government Such depository shall
be selected by the Agent However, Agent shall not be held liable in the event of bankruptcy or failure of a depository
Funds in the Operating (and/or) Reserve Account(s) remain the property of Partnership subject to disbursement of expenses
by Agent as described in this Agreement



2 1 1 Initial Deposit and Contingency Reserve

Immediately upon cummencement ofthis Agreement, Partnership shall remit to Agent the sum of $               16¢ 000 00
to be deposited in the Operating (and/or) Reserve Account(s) as initial deposit representing the estimated disbuisements to
be made in the ﬁrst month following the commencement ofthis Agreement, plus an additional sum of $ 16g 29.0 00
as a contingency reserve Partnership agrees to maintain the contingency reserve stated above at all times in the Operating
(and/or) Reserve Acocunt(s) to enable Agent to pay the obligations of Partnership under this Agreement as they become
due Pannership and Agent shall review the amount of the contingency reserve from time (a time and shall agree in writing
on a new contingency reserve amount when such is required



2 2 Security Deposits

Agent shall, ifrequired by law, maintain a separate interest bearing account fortennnt security deposits and advance rentals
Such account shall be maintained in accordance with applicable state or local laws, if any



2 3 Fidellty Bond

Agent shall cause all personnel who handle or are responsible for safekeeping of any monies of Partnership to be covered
by ﬁdelity bond with a company determined by Agent Such a bond shall be secured at Partnership 5 expense Ifa ﬁdelity
bond cannot be obtained an arrest and conviction bond shall be obtained at Partneishlp s expense Pannership shall save
Agent harmless from any loss or damages caused by such personnel if no bond can be obtained



——————_______.________________
                             SECTION 3 COLLECTIONS 01‘ RENTS AND OTHER RECﬂ’TS

3 1 Agent’s Authority

Agent shall collect (and give receipts for, if neeesszuy) all rents, charges and other amounts receivable on Partnership’s
account in connection with the management and operation ofthe Premises Such receipts (except tenants’ security deposits
                                                                                                                           4‘
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and advance rentals, which shall be handled as speciﬁed in pmagraphs 2 2 and 3 3 hereof, and special charges, which shall
he handled as speciﬁed in paragraph 3 2 hereof) shall be deposited in the Operating (and/or) Reserve Account(s) maintained
by Agent tor the Premises



3 2 Special Charges

If permitted by applicable law, Agent may collect from tenants any or all of the following an administrative charge for late
payment ofrent, a charge for rammed or non negotiable checks, a credit report fee an administrative charge and/or broker’s
commission for subleasing Agent need not account to Partnership for such charges and/or commission



3 3 Security Deposits

Agent shall collect, deposit, and disburse tenant’s security deposits in accordance with the terms of each tenant’s lease
Agent shall pay tenants interest upon such security deposits only if required by law to do so, otherwise any interest earned
on tenant Security deposits is to be retained by Agent as compensation for administering these funds Agent shall comply
with all applicable state or local laws concerning the responsibility for security deposits and interest, if any

_________—-————-—-————————
               SFCTION 4 DISBURSEMENTS FROM OPERATING (AND/OR) RESERVE ACCOUNT(S)

4 1 Operating Expenses

From the Operating (andlor) Reserve Account(s), Agent is hereby authorized to pay or reimburse itself tor all expenses and
costs of operating the Premises and for all other sums due Agent under this Agreement, including Agent’s compensation
under section 17

4 2 Debt Service

 Partnership shall give Agent advance written notice of at least lg} msiness       days if Partnership desires Agent to
 make an additional monthly or recurring payments (such as mortgage indebtedness, general taxes, or special assessments,
 or ﬁre, steam boiler, or other insurance premiums) out of the ploceeds from the Premises If Partnership notiﬁes Agent to
 make such payments aﬁer the beginning of the term of this Agreement, Agent shall have the authority to name a new
 contingency reserve amount pursuant to paragraph 2 l i of this Agreement, and Partnership shall maintain this new
 euntmgency reserve amount at ell times in the Operating (and/or) Reserve Account(s)


 ______________._.__._._..___—.——-——-——

                                SECTION 5 AGENT NOT REQUIRED TO ADVANCE FUNDS

 In the event that the balance imthe Operating (and/or) Reserve Account(s) is at any time insufﬁcient to pay disbursements
 due and payable under paragraphs 4 l and 4 2 above, Partnership shall, immediately upon notice, remit to Agent sufﬁcient
 funds to cover deﬁciency and replenish the contingency reserve In no event shall Agent be required to use its own funds
 to pay such disbursements Nor shall Agent he required to advance any monies to Partnership, to the Security Deposit
 Account, or to the Operating (antl/or) Reserve Aceount(s)

 If Agent elects to advance any money in connection With the Premises to pay any expenses for Partnership, such advance
 shall be considered a loan subject to repayment with interest, and Partnership hereby agrees to reimburse Agent, including
                                                                                                                               }
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                                                                                                           due
interest as provided in paragraph 17 7, and hereby authorizes Agent to deduct such amounts from any monies
Partnership


______________.__———-———————-———

                                                                               (S)
               SECTION 6 DISBURSEMENTS FROM OPERATING (AND/OR) RESERVE ACCOUNT

By the          20"I             day of each month, Agent shall furnish Partnership with a statement of cash receipts and
disbursements frqm the operation of the Premises during the previous month In addition Agent shall on a mutually
acceptable schedule, prepare and submit to Partnership such other teports as are agreed on by both parties



6 1 Partnership’s Right to Audit
                                                                                                           the cost of such
Partnership shall have t right to request periodic audits of all applicable accounts managed by Agent, and
audit(s) shall he paid by Partnership

_________________..__—.————-——-—-———-—'

                                                    SECTION 7. ADVERTISING
                                                                                                                         or
 Agent is authorized to advertise the Premises or portions thereof for rent, using periodicals, signs, plans, brochures,
                                                                                                               on Premises
 displays, or such other means as Agent may deem property and advisable Agent is authorized to place signed
                                                                                                                    g shall be
 advertising the Premises for rent, provided such signs comply with applicable laws The cost of such advertisin
                                                            advertisin g shall make clear that Agent 15 the manager and NOT
 paid out ofthe Operating (and/or) Reserve Aceount(s) All
 the Partnership ofthe P1 emises

                                                                                                                             —
   ____________—.__—.——————————-—

                                              SECTION 8, LEASING AND RENTING

 8 l Agent’s Authority to Lease Premisw
                                                                                                             Agent is authorized
 Agent shall use all reasonable efforts to keep the Premlses rented by procuring tenants for the Premises
                                                                          extensions of leases   (and expansion  s of space in the
 to negotiate, ptepare, and execute all leases including all renewals and
                                                                                         all leases as agent  for the Partnership
 Premises, ifapplicable) and to cancel and modify existing leases Agent shall execute
                                                                                             lease shall he in excess  of
 All coast of leasing shall be paid out ofthe Operating (and/or) Reserve Account(s) No
                                                                                                             upon  by  Partnershi p
          1        years(s) withuut written approval by Partnership The form ofthe lease shall be ayeed
 and Agent



  8 2 No Other Rental Agent
                                                                                                              negotiate or act
  During the term of this Agreement Partnership shall not authorize any other person, ﬁrm, or corpomtlon to
                                                                         Premises Partnershi p agrees to promptly forward all
  as leasing or rental agent with respect to any leases for space in the
  inquiries about lease to Agent




                                                                                                                                      6.
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        8 3 Rental Rates
                                                                         fees, or deposits, and any other changes chargeable with
        Agent is authorized to establish and change or revise all rents,
        respect to the Premises



        8 4 Enforcement ofLeases
                                                                             actions orproceedings for the enforcement of any lease term,
        Agent is authorized to institute, in Paxtnership’s name, all legal
                                                                      or for the evicting of dispossessing of tenants or other persons
        for the collection of rent or other income from the Premises,
                                                                     such notices as Agent deems necessary for lease enforcement,
        from the Premises Agent is authorized to sign and serve
                                                                                  when expedient to settle, compromise, and release
        including the collection of rent or other ineDme Agent is authorized,
                                                                     monies for such settlements paid out by Agent shall not exceed
        such legal actions or suits or reinstate such tenancies Any                     ﬁling fees, court costs, and other necessary
        58       N/A      without prior approval by Partnership Attomey’s fees
                                                                               from tenants shall be paid out of the Operating (and/or)
        expenses incurred in connection with such actions and not recovered
                                                                                Agent may select the attorney of its choice to handle
        Reserve Account(s) or reimbursed directly to Agent by Partnership
         such litigation



                                                              SECTION 9 EWLOYEES

         9 1 Agent‘s Authority to Hire
                                                                                  contractors, or other personnel necessary to be
         Agent is authorized to hire supervise, discharge, and pay all employees All employees shall be deemed employees of
                                                                      the Premises
         employed in the management maintenance, and operation of              others for any act or omission on the part of such
                                                                              or
         the Partnersltip/Agent, and Agent shall not be liable to Partnership
         empluycns



          9 2 Partnership Pays Employee Expenses
                                                                          per paragraph 9 1 above, and all local state, and feral taxes
          All wages and (Huge beneﬁts payable to such employees hired
                                                                        taxes, unemployment insurance, and worker’s compensation
          and assessments (including but not limited to Social Security
                                                                      shall be paid by Agent out of the Operating (andlor) Resewe
          insurance) incident to the employment of such personnel,
                                                                            shall not be liable to such employees for their wages or
          Account(s) and shall he treated as operating expenses Agent
          compensation



           9 3 Agent’s Authority to File Returns
                                                                          with respect to the Premises and shall execute and ﬁle 31 tax
           Agent shall do and pexform all aetus required of an employer
                                                                    state, and local laws, regulations, and/or ordinances governing
           and other returns required under the applicable feral,
                                                                         to labor employed in connection with the Plemises and under
           employment, and all other statements and reports pertaining
                                                                        in connection with such ﬁling, Partnership shall upon request
‘          any similar federal or state law now or hereafter in force
                                                                            attorney, notices of appointment, and the like Partnership
           promptly execute And deliver to Agent all necessary powers of foregoing laws, end Agent shall pay the same from the
                                                                    under the
           shall be responsible for all amounts required to be paid
           Operating (and/or) Reserve Aceaunt(s)


    l
                                                                                                                                            7,
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9 4Workers’ Compensatlon Insurance
                                                                  sation insurance covering all liability ofthe employer under
Agent shall, at Partnership’s expense, maintain workers’ compen
established workers’ compensation laws



9 5 Hold Harmless, Labor Laws
                                                                                                                                ,
                                                                state hr federal labor laws Partnership shall indemnify, defend
Agent shall be responsible for compliance with all applicable                                                  s to act, with
                                                      ns, and suits, or from Partnership’s actions 01' failure
and save Agent harmless from all claims, investigatio                             rship 5 obligation with respect to such
                                                              l labor laws       Partne
respect to any alleged or actual violation of state or federa
                                                                  damages liquidated damages, penalties, forfeitures, back
vinlation(s) shall include payment of all settlements,judgements,
pay awards, court costs, litigation expenses and attomcy’s fees



                                      SECTION 10, MAINTENANCE AND REPAIR
                                                          contracted services or otherwise all ordinary repairs and
 Agent is authorized to make or cause to be made, through           t condition and for the operating efﬁciency of the
                                                               in its presen
 replacements reasonably necessary to preserve the Premises
                                              compl  y with   lease   requirements, governmental regulations or insurance
 Premises, and all alterations required to
                                                                    es and to purchase or rent, on Partnership's behalf, all
 requirements Agent is also authorized to decorate the Premis
                                                               operation of the Premises Such maintenance and decorating
 equipment necessary for the management, maintenance, or                                                                ting
                                                               ve Account(s) This section applies except where decora
 expenses shall be paid out of the Operating (ancl/or) Reser
  and/or maintenance are at tenants’ expense as stipulated in a lease



  10 1 Approval for Exceptional Maintenance Expenses
                                                                         lon, refurbishing, or repair shall not exceed the sum of
  The expense to be incurred for any one items of maintenance, alterat                               or is incurred under such
  s        b.0001 g        , unless such expense is speciﬁcally authorized by Partnership,
                                                                      ency In an emergency where repalrs are immediately
  circumstances as Agent shall reasonably deem to be an emerg
                                                                to avoid the suspension of an essential service to the Plemises,
  necessary for the preservation and safety of the Premises, or
                                                                    , state, or local law such emergency repairs shall be made
  or to avoid danger to life or property, or to comply with federal
  by Agent at Partnership’s expense without prior approval




                                     SECTION 11, CONTRACTS, UTILITIES AND SERVICES
                                                                  items of expense, “Otto excess 5»          5 000 00
   Agent is authorized to negotiate contracts for nonrecurring                        name for  all necess ary repairs, maintenance
                                                                     in Partnership‘s
   unless approved by Punnenship, and to enter into agreements                                  rship 5 expens  e, make contracts on
                                                                    rship’s name and at Partne
   minor alterations, and utility services Agent shall, in Partne                              es as Agent   shall  deem necessary or
                                                                  water, and such other servic
   Partnership’s behalf for electricity, gas, telephone, fuel, or                        rship’s respons ibility  ,  except that Agent
                                                                        be the Partne
   prudent for the operation of the Premises All utility deposits shall           s request
                                                               at Partne        rship’
   may pay same from the Operating (and/or) Reserve Account(s)




                                                                                                                                     a
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______________._..__._—-—-————-——
                              SECTION 12 RELATIONSHIP OF AGENT T0 ?ARTNERSHIP

The relationship of the parties to this Agreement shall be that of Principal and Agent, and all duties to be performed by
Agent under this Agreement shall be for and on behalf of Partnership, in Partnership's name, and for Partnership’s nceount
In taking any action under this Agreement, Agent shall be acting only as Agent for Partnership, and nothing in this
Agreement shall be construed as creating a partnership joint venture, or any other relationship between the parties to this
Agreement except that of Principal and Agent, or as requiring Agent to hear any portion of losses arising out of or connected
with the Partnership or operation of the Premises Nor shall Agent at any time during the period of this Agreement he
considered a direct employee of Partnership Neither party shall have the power to bind or obligate the other except as
expressly set forth in the Agreement, except that Agent is authorized to act with such additional authority and power as may
be necessary to carry nut the spirit and intent of this Agreement

  _____________________.__.————————-———
                SECTION 13, SAVE HARMLESS

Fannership shall indemnify, defend, and save Agent harmless from all loss damage cost expense<inc1uding attomey’s
fees), liability, or claims for personal injury or property damage incurred or occurring in on, or about the Premises


  ___________________———————
                                         SECTION 14 LIABILITY INSURANCE

 Pamtership shall obtain and keep in force adequate insurance against physical damage (e g ﬁre with extended coverage
 endorsement, boiler And machinery etc ) and against liability for loss damage, or injury to property or persons which
                                                                                                                           of
 might arise out of the occupancy management, operation, or maintenance of the Premises The amounts and types
 insurance shall be acceptable to both Partnership and Agent, and any deductible required under such insurance policies shall
 be Partnership’s expense Agent shall he covered as an additional insured on all liability insurance maintained with respect
 to the Premises Liability insurance shall be adequate to protect the interest of both Partnership and Agent and in form,
 substance, and amounts reasonably satisfactory to Agent Partnership agrees to furnish Agent with certiﬁcates evidencing
 such ins! ranca at with duplicate copies of such polices within     10 h ﬁtness      days ofeth exeeution of this Agreement
                                                                                                                              the
 If Partnership fails to do so, Agent may, but shall not be obligated to, place said insurance and charge the cost thereof to
                                                                                                                               to
 Operating (and/or) Reserve Account(s) Said poiicies shall provide that notice of default or cancellation shalt be sent
 Agent as well as Partnership 9nd shall require a minimum of         60 business        days written nonce to Agent before any
 cancellation of or changes to said policies

 ______________._—__———-——

                                        SECTION 15, AGENT ASSUMES NO LIABILTIY

 Agent assumes no liability whatsoever for any acts or missions of Partnership, or any previous Partnerships ofthe Premises,
 or any previous management or other agent of either Agent assumes no liability for any failure of or default by any tenant
                                                                                                                           to
 in the payment of any rent or other charges due Partnership or in the perfonnance of any obligation owed by any tenant
                                                           Agent  assume  any  liability for previously unknown violations of
 Partnership pursuant to any lease or otherw15e Nor does
 environmental or other regulation which may become known during the period this Agreement is in effect Any such
                                                                                                                   an
 regulatory violations or hazards discovered by Agent shall he brought to the attention of Partnership in writing,
 Partnership shall promptly cure them




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    :        .



                 SECTION 16 PARTNERSHIP RESPONSIBLE FOR ALL EXPENSE 0F LITIGATION
                                                                                                 attomeys’ fees and Agent s
Famiership shall pay all expenses incurred by Agent, including, but not limited to, reasonabie
                                                                                             proceeding, or suit involving an
costs and time, and any liability, ﬁnes penalties or the like, in connection with any claim,
                                                                                                           fair credit reporting,
alleged violation by Agent: or Pannership, or both, of any law pertaining t9 fair employment,                   or making illegal
               protection, rent eontrol, taxes, or fair housing, including but not limited to, any iaw prohibit
environmental
                                                                                             or physical handicap, provided
discrimination on the basis of race, sex, creed, color, religion, national origin, or mental
                                                                                       the event Agent Is finally adjudged to
however, that Partnership shall not be responsible to Agent for any such expenses in
                                                                                           contained in this Agreement shall
have personally, and not in a representative capacity, violated any such law Nothing
                                                                                          or suit
obligate Agent to employ legal counsel to represent Partnership in any such proceeding



16 1 Fees for Legal Advice
                                                                                        regarding compiiance with any law
Partnership shall pay reasonable expenses incurred by Agent in nbtaining legal advice
                                                                                       others for whom Agent in this
affecting the Premises or activities related to them 117 such expenditure also beneﬁts
                                                                                          such expense
Agreement acts in similar capacity, Partnership agrees to pay an apportioned amount of


_________________._.__.___—————-————-——'—
           SECTION 17, AGENTS COMPENSATION AND EXPENSES
                                                                                       of reimbursement           of expenses to
 As compensation for the service provided by Agent under this Agreement (and exclusive
 which Agent is entitled hereunder), Partnership shall pay Agent as follows

 17 1 Fur Management Services

                            $§,700 00                    \/ per month or (ii)          3 Q0%            of the total monthly
 The greater of (i)
 gross receipts from the Premises, payable by the      20‘“              day of each (1) calendar month for the duration
 of this Agleement Payments due Agent for period of less than a calendar month shall be prorated over the number of days
                                                                                             upon the total gross receipts
 for which compensation is due The percentage amount set forth in (ii) above shall be based
 from the Premises during the preceding month
                                                                                             from the normal operation of
 The tenn “gross receipts’ shall be deemed to include all rents and other income and charges                    deposxts
                                                                                                forfeited security
 the Premises including, but not limited to, rents parking fees, laundry income, amenity income     deemed to include the
                                                                                               shall not be
 pet deposits, other fees and deposits, and other miscellaneous income Gross receipts
                                                                           deposits  (from  paragraph  3 3) or income mixing out
 special charges listed in paragraph 3 2 or excess interest on security
                                                                          losses and  items of a similar nature
 of the sale of real property or the settlement of fire or other casualty

  17 2 For Apartment Leasing
                  N/A                                                                                ___._     _ ._       _ _



  17.3 For Commercial Leasing
             ___1ﬂA__________.__.___._.————————~———


  17 4 For Modernization (Rehab/Construction)

                      $24M ()0 per unit Fee                                                                           _         _




                                                                                                                                    II;
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17 5 For Fire Restoration

                N/A

17 6For Other Items otMutunl Agreement
                                                                 increase of gross receipts
        Bonus m :21 to 10 09% of Annua Fee as res ;lt of It) 00%



17 7 For Interest on Unwind Sums
                                                     ent, and not paid withm                     30       days after such sums
Any sums due Agent under any provision ofthis Agreem                  % per annum
                                                      19 00
have become due shall bear interest at the rate of




                                                  SECTION 18 REPRESNTATIONS
                                                                                                                      that there are
                                                            has full power and authority to enter this Agreement,
 Partnership represents and warrants That Paxtnership                                                                      to Agent,
                                                                than tenant leases, coples ofwhich have been furnished
 no written or oral agreements affecting the Premises other                                                          the  use   of the
      there  are  no recorde  d easemen ts  restrict ions reservations, or rights of way which adversely affect
 that                                                                                                                      y is zoned
            for the purpose s intende d under this Agreem  ent  that to the best ofPartnership’s knowledge, the propert
 Premise  s                                                                                                         and are current,
                                                            for the operation of the Premises have been secured
 for the intended use, that all leasing and other permits                                                    ces, rules, regulations
                                                           not violate any applicable statues, laws, ordinan
 that the building and its construction and operation do                                                          the  buildin  g does
                                                                    ing to hazardous or toxic substances), that
  orders or the like (including, but not limited to, those pertain toxic or hazardous substance, and that no unsafe condition
                                                            or other
  not contain any asbestos, urea, fomaldehyde, radon,
  exists



                                               SECTION 19 STRUCTURAL CHANGES
                                                                                                                   g, or to make
                                                           or authority make any structural changes in any buildin
  Partnership expressly withholds from Agent any power                                                        g, or to incur any
                                                        such building or to any equipment in any such buildin
  any other major alterations or additions in or to any                                                             through this
                                                          related to exercising the express powers vested in Agent
  expense Chargeable to Partnership other than expenses
                                                                ng person
  Agreement, without the prior written consent of the followi


  Name

  Brooke P Comgn, Egr’mm'
                                                                                                                    immediately
                                                            because of danger to life or property, or which are
   However, such emergency repairs as may be required                                                             or  required to
                                                           es or the safety of the tenants and occhpants thereof,
   necessary for the preservation and safety of the Premis                                                             local laws,
                                                                s, or to comply with any applicable federal state, or
   avoid the suspension of any necessary service to the Premise                                                      shall notify
           ions or ordinan ces, shall be authori zed pursuan t to paragraph IO 1 of this Agreement, and Agent
   regulat
   Partnership appropriately




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—-——-———.—.—_————.—_—

                                           SECTION 20, BUILDING COMPLIANCE

Agent does not assume and is given no responsibility for compliance of the Premises or any building thereon or any
equipment therein with the requirements of any building codes or with any stature, ordinance, law, or regulation of any
governmental body or of any public authority or ofﬁcial thereOf havingjurisdictlon, except to notify Partnership promptly
of forward to Partnership promptly any compliances, warnings, notices, or summonses received by Agent relating to such
matters Pannership represents that to the best of Partnership's knowledge the Premises and all such equipment comply
with all of the Premises to any such ofﬁcials and agrees to indemnify and hold Agent its representatives, and employees
harmless of and from all loss, cost, expense, and liability whatsoever which may be imposed by reason of any present or
future violation or alleged violation of such laws, ordinances, statutes or regulations



 ——..__—__.__.—_.—

                                                  SECTION 21, TERMINATION

21 1 Termination by Either Party

This Agreement may be laminated by either Partnership or Agent, with or without cause, at the end ofthe initial term or of
any following term year upon the giving of         512      days‘ written notice prior to the end of said initial term of
following term year



21 2 Termination for Cause

Notwithstanding the foregoing, this Agreement shall terminate in any event, and all obligations of the parties hereunder
shall cease (except as to liabilities or obligation which have accrued or arisen prior to such tennination, or which accxue
pursuant to paragraph 21 3 as a result of such termination, and obligations to insure and indemnify), upon the occurrence of
any of the followlng events


a)Breach ofAgreement Thirty (3 0) days aﬁer the receipt of notice by either party to the other specifying in detail a material
breach of this Agreement, if such breach has not been cured within said thirty (30) day period, or if such breach is of a
nature that it cannot be cured within said thirty (30) day period but can be cured within a reasonable time thereaﬁer, if efforts
to cure such breach have not commenced orland such efforts are not proceeding and being continued diligently both during
and nﬂer such thirty (30) day period prior to the breach being cured However the breach of any obligation of either party
hereundel to pay any monies to the other party under the terms of this Agreement shall be deemed to be curable within
thiny (3 0) days

b) Failure ta Act, Etc In the event that any insurance required ofPartnership is not maintained without any lapse, or it is
alleged or charged that the Premises, or any portion thereof, or any act or failure to act by Partnership, its agent and
employees with respect to the Premises, fails to comply with any law or regulation, or any order or ruling of any public
authority, and Agent in its sole discretion considers that the action or position ofPattnership or its represented with respect
thereto may result in damage or liability to Agent, or disciplinary proceeding with respect to Agent’s license, Agent shall
have the right to terminate this Agreement at any time by written notice to Partnership of its election to do so, which
termination shall be effective upon the service of such notice Such termination shall not release the indemnities of
Partnership set forth herein




                                                                                                                               )2
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9) Excessive Damage Upon the destruction of or substantial damage to the Premises by any cause, or taking of all or a
substantial portion of the Premises by eminent domain, in either case making it impossible or impracticable to continue
operation of the Premises

d) inadequate Insurance IfAgent deems that the liability insurance obtained by Partnership per section 14 is not reasonably
satisfactory to protect its interest under this Agreement, and if Partnership and Agent cannot agree as to adequate insurance,
Agent shall have the right to cancel this Agreement upon the service of the notice to Partnership



21 3 Termination Compensation

Ii" (1) Partnership terminates this Agreement before the end of the initial term or any subsequent term year as provided in
paragraph 21 1 above for any reason other than for a breach by Agent under paragraph 21 2(a) above or if (ii) Agent;
terminates this Agreement for a breach by Partnership under paragraph 21 2(a) above or pursuant to the provision of
paragraphs 21 2(b) or 21 2(d) above then in any such event, Partnership shall be obligated to pay Agent as liquidated
damages an amount equal to the management fee earned by Agent, as determined under paragraph 17 1 above for the
calendar month immediately preceding the month in which the notice uf termination is given to Agent or to Partnership
multiplied by the number of month and/or portions thereof remaining from the termination date until the end of the initial
term or term year in which the termination occurred Such damages, plus any amounts accruing to Agent prior to such
termination, shall be due and payable upon termination of this Agreement, to the extent that funds are available, such sums
shall be payable from the Operating (and/or) Reserve Aeeount(s) shall be paid by Partnership to Agent upon demand



21 4 Partnelship Responsibility for Payments

Upon termination of or withdrawal from this Agreement, Partnership shall assume the obligation of any contract or
outstanding bill executed by Agent under this Agreement for and on behalf of Pannership and Reusability for payment of
all unpaid bills In addition, Partnership shall furnish Agent security, in an amount satisfactory to Agent, against any
obligations or liabilities which Agent may have properly incurred on Partnership’s behalfunder this Agreement

Agent may withhold funds fox ninety (90) days after the end of the month in which this Agreement is tennineted, in order
to pay bills previously incurred but not yet invoiced and to close accounts Agent shall deliver to Partnership, within ninety
(90) days after the end of the month in which this Agreement is tenninatc, any balance of monies due Partnership or of
tenant security deposits, or both, which were held by Agent With respect to the Premises, as well as a ﬁnal accounting
reﬂecting the balance of income and expenses with respect to the Premises as ofthe date efterminater or withdrawal, and
all records, contracts, leases, receipts for deposits, and other papers or documents which pertain to the Premises


21 5 Sale ofPremises

1n the event that the Premises are sold by Partnership during the period of this Agreement, Agent shall have exclusive rights
ofrepresentation in the sale as stated in a speciﬁc sales agreement to be negotiated separately Upon transfer ofPurtnership,
this Agreement shall terminate by mutual consent of Partnership and Agent



  ————__—____—____
                              SECTION 22 INDEMNIFICATION SURVIVES TERMINATION

All representation and warranties of the parties contained herein shall survive the termination of this Agreement All
provisions of this Agreement that requiie Partnership to have insured or defend reimburse, or indemnify Agent (including
butnotlimitedto pmagmpthl 23 5 84 92 95 13 14 15 16 17 7 20 213 and214)shallsurviveanytermination


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and if Agent is or becomes involved in any proceeding or litigation by reason of having been Partnership’s Agent, such
provisions shall apply as if they Agreement were still in effect

 ——————_—_—.—.—___
                                                   SECTION 23, READINGS
All headings and subheadings employed within this Agreement and in the accompanying List of Provisions are inserted
only for convenience and ease of reference and are not to be considered in construction or interpretation of any provision
of this Agreement

 _——————-———__—_.__.—____
                                                SECTION 24 FORCE MAJEUR

Any delays in the performance of any obligation cf Agent under this Agreement shall be excused to the extent that such
delays are caused by wars, national emergencies natural disasters, strikes labor disputes, utility failures, governmental
regulations, riots, adverse weather, and other similar cause not within the control of Agent, and any time periods required
for performance shall be extended accordingly
 —-—-———————————_—.—__—___
                                          SECTION 25, COMPLETE AGREEMENT
This Agreement, including any speciﬁed attachments, constitutes the entire agreement between Partnership and Agent with
re5pect to the management and operation of the Premises and supersedes and replaces any and ail previous management
agreements entered into orland negotiated between Partnership and Agent relating to the Premises covered by this
Agreement No change to this Agreement shall be valid unless made by supplemental written agreement executed and
approved by Partnership and Agent Except as otherwise provided herein, any and all amendments, additions, deﬂections
to this Agreement shall be null and void unless approved by Partnership and Agent in writing Each party to this Agreement
hereby acknowledges and agrees that the other party has made no warranties, representations, covenants, or agreements,
express or implied, to such party, other than those expressly set forth herein. and that each party, in entering into and
executing this Agreement, has relied upon no warranties, representations, covenants, or agreements express or implied, to
such party, other than those expressly set forth herein

                            _-_———————_._t

                                    SECTION 26, RIGHTS CUMULATIVE NO WAIVER

No right or remedy herein conferred upon or reserved to either of the parties to this Agreement is intended to be exclusive
ofany other right or remedy, and each and every right and remedy shall be cumulative and in addition to any other right or
remedy given under this Agreement or new or hereaﬁer legally existing upon the occurrence of an event of default under
this Agreement The failure of either party to this Agreement to insist at any time upon the occurrence of an event of default
under this Agreement The failure of either party to this Agreement to insist at any time upon the strict observance or
performance of any of the provisions of this Agreement, or to exercise any right or remedy as provided in the Agreement,
shall not impair any such right or remedy or be constructed as a waiver or relinquishment of such right or remedy with
respect to subsequent defaults Every right and remedy given by this Agreement to the parties to it may be exercised from
time to time and as oﬁen as may be deemed expedient by those parties




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———___._—_—_____

                             SECTION 27, APPLICABLE LAW AND PARTIAL INVALIDITY
The execution, interpretation, and performance of this Agreement shall in all aspects be controlled and governed by the
laws of the State of    EA        If any part ofthis Agreement shah be declared invalid orunenforceable, Agent shah have
the option to laminate this Agreement by notice to Partnership
————————_—__..._—__________
                                                   SECTION 28 NOTICES

Any notices, demands, consents, and reports necessary on provided for under this Agreement shall be in writing and shall
be addressed as follows, or at such other address as Partnership and Agent individually may specify hereaﬁer in writing

Agent                   AmRemz, LLC

Partnership             Media Station Aggrtments LP                                       '/

Such notice or other communication may be mailed by Unlged States registered or certiﬁed mail, return receipt requested
posmge prepaid, and may be deposited in a United States Post Ofﬁce or a depository for the receipt of mail regularly
maintained by the postoﬂ‘lce Such notices, demands, consents, and reports may also be delivered by hand or by any other
receiptcd method or means permitted by law For purposes ofthis Agreement, ncﬁces shall be deemed to have been “give”
or “delivered” upon personal delivery thereof or forty eight (48) hours after having been deposited in the United States
mails as provided helein




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                         Exhibit E
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                                       AptRentz, LLC
I'or property located at:        Tunbridse Anartments.2T4 Clen Riddle Road. Media. PA 19063

Effective:        June 12-   2017 v
Partnership(s):          'l\rnbridse Aoartments.   I-P   /

Ageni(s):         AptRentz LLC




                                       Mqnqgemenl
                                        Agreement




     ApfRenta rtc., 509 Dickinson St.. Philodel phio, PA lgl47, (P)215.266.778.5   /EJ   ApiRentzllC@gmoil.com
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List of Provisions
                                                      Section 12 Relationship of Agent to
Section I Appointment of Maneging Agent               Partnership
  t.l Appointment and Acceptance                      Section   13 Save Harmless
  1.2 Description of Premises .                       Section   14   Liability Insurance
  1.3 Term                                            Section   15 Agent Assumes No        Liability
                                                      Section16 Psrtnership Responsible for            All
  1.4 Management Oflicc                               Expenses of Litigation
  I .5    Apartmenr for On-Site Staff                    16.l Fees for Legal Advice
                                                      section 17 Agent's compensation and
Sectioo 2 Bank Accounts
                                                      Expenses
  2.1 Operating (and/or) Reserve Account(s)              l7.l      For Management Services
  2.1.1 lnitial Deposit and Contingency Reserve          l'1.2     For Apartment Leasing
  2.2 Security Deposit Account                           17,3      For Commercial Leasing
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Section 3 Collectiou of Rents and Other    Receipts      l'1.5     For Fire Restoration
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Section 8 Leasing and Reuting                                      d) lnadequate Insurance
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  g.4                                                 section 22 Indemnification suruives
          Enforcement of lrases
                                                      Termination
Section 9 Employees                                   Section 23 Headings
  9.1 Agent's Authority to Hire                       Section 24 Force Majcur
  9.2 Partnerchip Pays Employee Expenses              Section 25 Complete Agreement
  9.3 Agent',s Authority to file returns              section 26 Rights cumulative; No waiver
  g.4 workers'compensarion Insurancc                             Applicable Law and Partial
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  9.5 tlold Harmless, Labor Laws                      Section 28 Notices
                                                      Section 29 Agreement Binding UPon
Section 10 Maiutenance and Repair                     Successors and Assigns
          Approval for Exccptional Maintenance
   l0.l Expensc                                          Power of AttorneY
Section   1l Contrqcts, Utilities and Services
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             This Agreement is made   this               l2th      v/   day   of          June             .2017   -



             by and   between         Tunbridge Apartments.     LP                 ('Partnership") and


                              AptRentz   LLC                                       ("Agent'\.



                                          SECTION I, APPOINTMENT ANr) ACCEPTANCE

    t.l   Appointment and Acceptonce

    Partnership hereby appoints Agent as sole and exctusive Agent of Partnership to lease and manage the property-described
    in paragraph t.Z upon ttre termi and conditions provided herein. Agent accepts the appointment and sgrees to fumish the
    scrvicei oi its organization for the Ieasing and management of the Premises; and Partnership agrees to pay all expenses in
    connection with such services.




    t.2 Dcscription of Prenrises

    The property to be managed by Agent under this Agreement ("Premises") is known              as         Tunbridqe APartnents .
    tocateaat                 iZ+dtenRiadteRoaA.UeAia.pn           tgOe:            consisting   of the land,buildings, and other
    improvements.
I




    13 Term

    The term of this Agreement shall bc for an initial   periodpf        five (5J      year(s)        ("initial term") from      the
              l2th     Day   of       lune20l7                                    - be automaticatly
                                                             r' . and thereafter shall               renewed fiom year to year
    ,rlets t"rrninat"d ai provided in sections 2l or 27 herein.    Each of said one-year renewal periods is referred to as "term
    yeat",


    1.4 Managcment Office

    Partnership shall provide adequate space on the Premises tbr a management office. Partnership shall pay all exPenses
    related to such od"", includin!, but not limited to, furnishings, equipment, postage and office supplies, e lectricify and other
    utilities, and telephone.



    1.5   Apartment for 0n-Site Staff
    partnership shall provide a suitable apaftment(s) on the Prernises for the use of an on-site manager and/or a resident facilities
    manager and their famities, rent-free, except that such resident staffshall pay for heat and utilities in the same manner as
    other tenants. The specific apartment(s) shall be the Partnership's choice.
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                                            SECTION 2, BAI{K ACCOI.JNTS

The various bank accounts established under this Agreement shall be established in the Partnership's name but under
Agent's control. Agent's designees shall be the only parties authorized to draw upon such accounts, No amounts deposited
in any accounts establishcd under this Agreement shall in any event be commingled with any other funds of Agent.


2.1 Operafing (aud/or) Reserve Account(s)

Agent shall establish a separate account(s) known as the             Tunbridge Management Operating (and/or)
Reserve Account(s), separate and apan from Agent's corporate accounts, for the deposit ofreceipts collected as described
herein, in a bank or other institution whose deposits are insured by the federal government. Such depository shall be selected
by the Agent. However, Agent shall not be held liable in the event of bankruptcy or failure of a depository. Funds in the
Operating (and/or) Reserve Account(s) remain the properry of Partnership subject to disbursement of expenses by Agent as
desoibed in this Agreement.



2.1,1 Initial Deposit and Contingency Resewe

Immediate ly upon commencement of this Agreement, Partnership shall remit to Agent the sum of $             100.000.00
to be deposited in the Operating (and/or) Reserve Account(s) as initial deposit representing the estimated disbursemcnts to
be made in the first month following the cornrnencement of this Agreement, plus an additional sum of $l-0!*0ru.00--
as a contingency reserve. Partnership agroes to maintain the contingency reserve stated above at all times in the Operating
(and/or) Reserve Account(s) to enable Agent to pay the obligations of Paftnership under this Agreement as they become
due. Partnership and Agent shall review the amount of the contingency reserae from time to time and shall agree in writing
on a new contingency reserve amount when such is required.




2.2 Security Deposits

Agent shall, if required by law, maintain a separate interest-bearing account for tenant security deposis and advance rentals.
Such account shall be maintained in accordance with applicable state or locat laws. if any.




2.3 Fidelity Bond

Agent shall cause all personnel who handle or are responsible for safekeeping of any monies of Partnership to be covered
by fidelity bond with a company determined by Agent. Such a bond shalt be secured at Partnership's expense. tf a fidelity
bond cannot be obtained, an arrest and conviction bond shall be obtained at Partnership's expense. Partnership shall save
Agent harmless from any loss or damages caused by such personnel if no bond can be obtained.



                             SECTION 3, COLLECTIONS OF RENTS AIYD OTHER RECIPTS

3.1 Agent's   Autbority

Agent shall collect (and give receipts for, if necessary) all rents, charges and other amounts receivable on Partnership's
account in connection with the management and operation of the Premises. Such receipts (except tenants' security deposiS
and advance rentals, which shall be handled as specified in paragraphs2.2 and 3.3 hereof; and special charges, which shall
be handled as specified in paragraph 3.2 hereof) shall be deposited in the Operating (and/or) Reserve Account(s) maintained
by Agent for the Premises.
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3.2 SpecialCharges

If permined by applicable law, Agent may collect from tenants any or alt of the following: an administrative charge for late
payment ofrent, a charge for returned or non-negotiable checks, a credit report fee, an administrative charge and/or broker's
commission for subleasing. Agent need not account to Partnership for such charges and/or commission.




3.3 Security Deposits

Agent shall collec! deposi! and disburse tenant's security deposits in accordance with the terms of each tenant's      lease.
Agent shatl pay tenanls interest upon such security deposits only if required by law to do so; otherwise, any interest earned
on tenant securiry deposits is to be retained by Agent as compensation for administering these funds. Agent shall comply
with all applicable state or local laws conceming the responsibility for security deposits and interest, if any.



               SECTTON 4, DISBTTRSEMENTS F"ROM OPERATING (AND/OR) RESERVE ACCOUNT(S)

4.1 0perating Expenses

From the Operating (andior) Reserve Account(s), Agent is hereby authorized to pay or reimburse itself for all expenses and
costs of opiratingihe Premises and for all other sums due Agent under this Agreement, including Agent's compensation
under section 17.

4.2 Debt Service

PartnershipshaltgiveAgentadvancewrittennoticeofatleast             l0business       days   if   Partnership desires Agent to
make an additional monthly or recuning payments (such as mortgage indebtedness, general taxes, or special assessments,
or fire, steam boiler, or other insurance premiums) out of the proceeds from the Premises. If Partnership notifies Agent to
make such payments after the beginning of the term of this Agreement, Agent shall have the authorify to name a new
contingency reserve amount pursuant to paragraph 2.1.1 of this Agreernen! and Partnership shall maintain this new
contingency reserve amount at all times in the Operating (and/or) Reserve Account(s).




                               SECTION s, AGENT NOT REQUIRED TO ADVANCE FLJNDS

In the event that the balance in the Operating (and/or) Reserye Account(s) is at any time insufficient to Pay disbursements
                                      i
due and payable under paragraphs 4. and 4.2 above, Partnership shall, imrnediately upon notice, remit to Agent sufficient
funds to cover deficien"y       ieplenish the contingency reserve. In no event shall Agent be required to use its own funds
                           "na
to pay such disburs"*rrtr. Noi shall Agent be required to advance any monies to Partnerchip, to the Security Deposit
Account, or to the Operating (and/or) Reserve Accounl(s).

If Agent elects to advance any money in connection with the Premises to pay any expenses for Partnership, such advance
shalL be considered a loan subject to iepayment with interest, and Partnership hereby agrees to reimburse Agent, including
interest as provided in paragraph 17.7, and herehy authorizes Agent to deduct such amounts from any monies due
Partnership.
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               SECTION 6, DISBIIRSEMENTS FROM OPERATTNG (,A.ND/OR) RESERVE ACCOITNT(S)

By   the         20th            day of each month, Agent shall firrnish Partnership with a statement of cash receipts and
disbursements from the operation of the Premises during the previous month. In addition, Agent shall, on a mutually
acceptable sbhedule, prepare and submit to Partnership such other reports as are agreed on by both parties.




6.1 Partnership's Rigbt to   Audit

Partnership shall have t right to request periodic audits of all applicable accounts managed by Agent, and the cost of such
audit(s) shall be paid by Partnership.



                                                   SECTION T,ADVERTISING

Agent is authorized to advertise the Premises or portions thereof for rent, using periodicals, signs, plans, brochures' or
displays, or such other means as Agent may deem property and advisable. Agent is authorized to place signed on Premises
advertising the Premises for rent, provided such signs comply with applicable laws. The cost of such advertising shall be
paid out of the Operating (and/or) Reserve Account(s). AII advertising shall make clear that Agent is the manager and NOT
the Partnership of the Premises,




                                             sEcrIoN     8,   LEASING AI{D RENTING

8.1 Agent's Authority to Lease Premises

Agent shall use all reasonable efforts to keep the Premises rented by procuring tenants forthe Premises. Agent is authorized
to negotiate, prepare, and execute all leases, including all renewals and extensions ofleases (and expansions ofspace in the
Premises, if applicable) and to cancel and modiff existing leases. Agent shall execute all leases as agent for the Partnership'
AII coast of leasing shall be paid out of the Operating (and/or) Reserve Account(s). No lease shall be in excess of
         I        yiars(s) without written approval by Partnership. The form of the lease shall be agreed upon by Partnership
and Agent.




8.2 No Other Rental Agent

During the term of this Agreement, Partnership shall not authorizc any other person, firm, or corporation to negotiate or act
as leasing or rental agent with respect to any leases for space in the Premises. Partncrship agrees to promptly forward all
inquiries about lease to Agent.



8.3 Rental Rates

Agent is authorizcd to establish and change or revise alI rents, fbes, or deposits, and any other charges chargeable rvith
rcspect to the Premiscs.
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8.4 Enforcement of Leases

Agent is authorized to institute, in Partnership's namc, all legal actions or proceedings for the enforcement of any lease term,
for the collection of rent or other income from the Premises, or for the evicting of dispossessing of tenants or other Penions
from the Premises. Agent is authorized to sign and serve such notices as Agent deems necessary for lease enforcement,
including the collection of rent or other income. Agent is authorized, when expedient to settle, compromise, and release
such legal actions or suits or reinstate such tenancies. Any monies for such settlements paid out by Agent shall not exceed
$        N/A      without prior approval by Partnership. Attomey's fees, filing fees, court costs, and other necessary
expenses incurred in eonnection with such actions and not recovered from tenants shall be paid out of the Operating (and/or)
Reserve Account(s) or reimbursed direbtly to Agent by Partnership. Agent may select the attomey of its choice to handle
such litigation.




                                                    SECTION 9, EMPLOYEES

9.1 Agent's Authority to Hire

Agent is authorized to hire, superuise, discharge, and pay all employees, contractors, or other personnel necessary to be
employed in the management, maintenance, and operation of the Premises. All employees shall be deemed employees of
the Partnership/Agent, and Agent shall not be liable to Partnership or others for any act or omission on the part of such
employees.




9.2 Paftnership Pays Employee Expenses

All wages and fringe benefits payable to such employees hired per paragraph 9.1 above, and all local, state, and feral taxes
and assessments (inctuding but not limited to Social Security taxes, unemployment insurance, and worker's compensation
insurance) incident to the employment of such personnel, shall be paid by Agent out of the Operating (and/or) Reserve
Account(s) and shall be treated as operating expenses. Agent shall not be liable to such employees for their wages or
compensation.




9.3 Agent's Authority to f ile Returns

Agent shalt do and perform all actus required of an employer with respect to the Premises and shall execute and file al toc
and other returns required under the appticabte feral, state, and local laws, regulations, and/or ordinances governing
employmenl and all other statements and reports pertaining to labor employed in connection with the Premises and under
any similar federal or state law now or hereafter in force. ln connection with such filing, Partnership shall upon request
promptly execute and deliver to Agent atlnecessary powers of attomey, notices of appointment, and the like. Partnership
shall be responsible for all amounts required to be paid under the foregoing laws, and Agent shall pay the same from the
Operating (and/or) Reserve Account(s).




9.4   Workers' Compensation Insurance

Agent shall, at Partnership's expense, maintain workers' compensation insurance covering all liability ofthe employer under
established workers' cornpensation laws.
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9.5 Hold Harmless, Labor Laws

Agent shall be responsible for compliance with all applicable state or federal labor laws, Partnership shall indemnif,, defend,
and save Agent harmless from all claims, investigations, and suits, or from Partnership's actions or failures to act, with
respect to any alleged or actual viotation of state or federal labor laws. Pannership's obligation with respect to such
violation(s) shall include payment of all settlements, judgements, damages, liquidated damages, penalties, forfeitures, back
pay awards, court costs, litigation expenses, and attorney's fees.




                                    SECTION I(), MAINTENANCE AND REPAIR

Agent is authorized to make or cause to be made, through contracted services or othenvise, all ordinary repairs and
replacements reasonably necessary to preserve the Premises in its present condition and for the operating efliciency of the
Premises, and all alterations required to comply with lease requiremcnts, governmental regulations, or insurance
requirements. Agent is also authorized to decorate the Premises and to purchase or rent, on Partnership's behalf, all
equipment necessary for the management, maintenance, or operation of the Premises. Such maintenance and decorating
expenses shall be paid out of the Operating (and/or) Reserve Account(s). This section applies except where decorating
and/or maintenance are at tenants' expense as stipulated in a lease.




l0.l Approval for Exceptional    Maintenaoce Expenses

                                                                                                             of
The expl:rse to be incurred for any one items of maintenance, alteration, refurbishing, or repair shall not exceed the sum
$       15.000.00 , untess such expense is specifically authorized   by  Partnership, or is incurred under such
circumstances as Agent shatl reasonably deem to be an emergency. In an emergency where repairs are immediately
necessary for the preservation and safety of the Prem jses, or to avoid the suspension of an essential service to the Premises,
or to avoid danger to life or properry, or to comply with federal, state, or loca[ law. such emergency repairs shall be made
by Agent at Partnership's expcnse without prior approval,




                                  SECTION 11, CONTRACTS, UTILTTIES AND SERVICES

Agent is authorized to negotiate contracts for nonrecurring items of expense, not to excess $          15.000.00
unless approved by Partnership, and to enter into agreements in Partnership's name for all necessary repairs, maintenance,
minor alterations, and utility services. Agent shall, in Partnership's name and at Partnership's expense, make contacts on
Partnership's behalf for electricity, gas, telephone, firel, or water, and such other services as Agent shall deem necessary or
prudent for the operation of the Premises. Alt utility deposits shall be the Partnership's responsibility, except that Agent
may pay same from the Operating (and/or) Reserve Account(s) at Partnership's request.




                              SECTION 12, RELATIONSHIP OF AGENT TO PARTNERSHIP

The retationship of the parties to this Agreement shatl be that of Principal and Agent, and all duties to be performed by
Agent under this Agreement shall be for and on behalf of Partnership, in Partnership's name, and for Partnership's account.
In taking any action under this Agreement, Agent shall be acting onty as Agent for Partnership, and nothing in this
Agreemint shall be construed as creating a partnership, joint venture, or any other relationship between the parties to this
Agreement except that of Principal and Ageng or as requiring Agent to bear any portion of losses arising out of or cOnnected
with the Partnerihip or operation of the Premises. Nor shall Agent at any time during the period of this Agreement be
considered a direct employee of Partnership. Neither party shall have the power to bind or obligato the other exoept as
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expressly sot forth in the Agreement, except that Agent is authorized to act with such additional authority and power as may
be necessary to carry out the spirit and intent of this Agreement.




                                                 SECTION 13, SAVE HARMLESS

Partnership shall indemniff, defend, and save Agent harmless from all loss, damage, cost expense (including attomey's
fees), liability, or claims ior personal injury or property damage incurred or occuning in, on, or about the Premises.




                                         SECTION 14, LIABILITY INSURANCE

Partnership shatl obtain and keep in force adequate insurance against physical damage (e.g. fire with extended coverage
endorssfiiint, boiler and machiniry, etc...) and against liabiliry for loss, damage, or injuryto proPerty or persons which
might arise out of the occupancy, management, operation, or maintenance of the Premises. The amounts and types of
insurance shall be acceptabd to both Partnership and Agent, and any deductible required under such insurance policies shall
be Partnership's expenie. Agent shall be covered as an additional insured on all liability insurance maintained with respect
to the Premises. Llability insurance shall be adequate to protect the interest of both Partnership and Agent and in form,
substance, and amounts reasonably satisfactory to Agent. Partnership agrees to furnish Agent with certificates evidencing
such insurance or with duplicate copies of such polices   within     l0 business days of eth execution of this Agreement-
If Partnership faits to do sL, Agent may, but shail not be obligated  to, place said insurance and charge the cost thereof to the
Operating (and/or) Reserve Aicount(s). Said      policies  shall provide  that notice of default or cancellation shall be sent to
Agent as wett as Partnership and shall require a  minimum    of      60  business       days' written notice to Agent before any
cancellation of or changes to said  policies.




                                        SECTION 15, AGENT ASSUMES NO LIABILTTY

Agent assumes no liability whatsoever for any acts or missions of Partnership, or any previous Partnerships of the Premises,
oiuny previous management or other agent of either. Agent assumes no liability for any failure of or default by any tenant
in the payment of anyrent or other charges due Partnership or in the perfiormance of any obligation owed by any-tenant to
partnership pursuant to any lease or othJrwise. Nor does Agent assume any liability for previously unknown violations of
environmCntal or other regulation which may become known during the period this Agreement is in effect. Any such
regulatory viotations or h-azards discovered by Agent shall be brought to the attention of Partnership in writing an
Partnership shall promptly cure them.


                  SECTION 15, PARTNERSHTP RESPONSTBLE FOR ALL E)OENSE OF LITIGATION

Partnership shall pay all expenses incurred by Agent, including, but not limited to, reasonable attorneys' fees and Agent's
costs and iirne, and any liability, fines, penatties or the like, in connection with any claim, proceeding, or suit involving an
alleged violation by igent oi Partneiship, or both, of any law pertaining to fair employment, fair *edit reporting,
envi-ronmental protection, rent control, taxei, or fair housing, including but not limited to, any law prohibit or making illegal
discrimination on the basis of race, sex, creed, color, religion, nationat origin, or mental or physical handicap, provided
however, that Partnership shall not be responsible to Agent for any such expenses in the event Agent is finally adjudged to
have personally, and noi in u representative capacity, violated any such law. Nothing contained in lhis Agreement shall
obligate Agent to employ legal counse I to represent Partnership in any such proceeding or suit.
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l6.l   Fees   for Legal Advice

Partnership shall pay reasonable expenses incurred by Agent in obtaining legal advicc regarding compliance with any law
affecting the Premises or activities related to them. IF such expenditure also benefits others for whom Agent in this
Agreement acts in similar capacity, Pa(nership agrees to pay sn apportioned amount of such expense.




                                  SECTION 17, AGENT'S COMPENSATTON AND E)OENSES

As compensation for the service provided by Agent under this Agreement (and exclusive of reimbursement of expenses to
which Agent is entitled hereunder), Partnership shall pay Agent as follows:

17.1 For Management Seruices

The greater of (i)__*_13-650.80                        Srr rontt or       (ii)         3.00%        ofthe total monthly
gross receipts fiom the Premises, payable by  the          20th           day of each (l) calendar  month          for the
duration of this Agreement. Payments due Agent for period of less than a calendar month shall be prorated over the number
of days for which compensation is due. The percentage amount set forth in (ii) above shall be based upon the total gross
receipts from the Premises during the preceding month.

The term "gross receipts" shall be deemed to include all rents and other income and charges from the normal operation of
the Premises, including, but not limited to, rents, parking fees, laundry income, amenity income, forfeiled security deposits,
pet deposits, other fees and deposits, and other miscellaneous income. Gross receipts shall not be deemed to include the
special charges listed in paragraph 3.2, or excess interest on security deposis (from paragraph 3.3), or income arising out
of the sale of real property or the settlement of fire or other casualty losses and items of a similar nature.

l7.2 Eor Apartment Leasing
               N/A


17.3   For Commercial Leasing
               NiA


17.4 F'or Modernization (Rehab/Construction)

                   $2.000.00 per unit Fee


17.5   For Fire Restorrtion

                   N/A

17.6 For Othcr ltcrns of Mutual Agreement

          Bonus eoual to 10.00% of Annual Fee as result   of   10.00% increase ofrross-rgegiBE




17,7 For Interest on Unpaid Sums

Any sums due Agent under any provision of this Agrecment, and not paid       within            30    days after such sums
have becomc duc, shall bear intercst at the rate   of      10.00            o/o   per annum.
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                                                SECTION 18, REPRESNTATIONS

Partnership represents and warrants: That Partnership has full power and authority to enter this Agreement; that there are
no written or oral agreements affecting the Premises other than tenant leases, copies of which have been fumished to Agent;
that there are no recorded easements, restrictions, reservations, or rights of way which adversely affect the use of the
Premises for the purposes intended under this Agreement; that to ttre best of Partrership's knowledge, the properly is zoned
for the intended use; that all leasing and other permits forthe operation ofthe Prernises have been secured and are current;
that the building and its construction and operation do not violate any applicable statues, laws, ordinances, rules, regulations,
orders or the like (including, but not limited to, those pertaining to hazardous or toxic substances); that the building does
not contain any asbestos, urea, formaldehyde, radon, or other toxic or hazardous substance; and that no unsafe condition
exists.




                                            SECTION 19, STRUCTI'RAL CHANGES

Partnership expressly withholds from Agent any power or authority make any struchrral changes in any building or to make
any other majoi alterations or additions in or to any such building or to any equipment in any such building, or to incur any
expense chargeable to Partnership other than expenses related to exercising the express powers vested in Agent through this
Agreement without the prior written consent of the following person:


Name:

Brooke P. Cottman- Partner

However, such emergency repairs as may be required because of danger to life or property, or which are immediately
necessary for the preservation and safety ofthe Premises or the safety ofthe tenants and occupans thereof, or required to
avoid the suspension of any necessary service to the Premises, or to comply with any applicable federal, state, or local laws,
regulations, or ordinances, shall be authorized pursuant to paragraph l0.l of this Agreement, and Agent shall notifr
Partnersh ip appropriately.




                                            SECTION 20, BUILDING COMPLIANCE

Agent does not assume and is given no responsibility for compliance of the Premises or any building thereon or any
equipment therein with the requirements of any building codes or with any stature, ordinance, law, or regulation of any
govemmental body or of any public authority or official thereof having jurisdiction, except to notifr Partnership promptly
of forward to Partnership promptly any compliances, warnings, notices, or summonses received by Agent relating to such
matters. Partnership represents that to the best of Partnership's knowledge the Premises and all such equipment comply
with all of the Premises to any such officials and agrees to indemnifu and hold Agent, its representatives, and employees,
harmless of and frorn all loss, cost, expense, and liability whatsoever which may be imposed by reason of any prcsent or
future violation or alleged violation of such laws, ordinances, statutes, or regulations.
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                                                   SECTION 21, TERMINATION

21.1 Termination by Either Party

This Agreement may be terminated by either Partnership or Agent, with or without cause, at the end ofthe initial term or of
any following term year upon the giving of     60 days' written notice prior to the end of said initial term of
following term year.



21.2 Termination for Cause

Nonrithstanding the foregoing, this Agreement shall terminate in any event, and all obligations of the parties hereunder
shall cease (except as to liabilities.or obligation which have accrued or arisen prior to such termination, or which accrue
pursuant to paragraph 21.3 as a result of such termination, and obligations to insure and indemnifr), upon the occurrence of
any of the following events:


a)Breach of Agreement - Thirty (30) days after the receipt of notice by either parly to the other speciling in detail a material
breach of this Agreement, if such breach has not been cured within said thirty (30) day period; or if such breach is of a
nature that it cannot be cured within said thirty (30) day period but can be cured within a reasonable time thereafter, if efforts
to cure such breach have not commenced orland such efforts are not proceeding and being continued diligently both during
and after such thirty (30) day period prior to the breach being cured. However, the breach of any obligation of either party
hereunder to pay any monies to the other party under the terms of this Agreement shall be deemed to be curable within
thirty (30) days.

b) Failure to Act, Etc.- In the event that any insurance required of Partnership is not maintained without any lapse, or it is
alleged or charged that the Premises, or any portion thereof, or any act or failure to act by Partnership, its agent and
employees with respect to the Premises, fails to comply with any law or regulation, or any order or ruling of any public
authority, and Agent in its sole discretion considers that the action or position of ParErership or its represented with respect
thereto may result in damage or liability to Agenl or disciplinary proceeding with respect to Agent's license, Agent shall
have the right to terminate this Agreement at any time by written notice to Partnership of its election to do so, which
termination shall be effective upon the service of such notice. Such termination shall not release the indemnities of
Partnership set forth herein.

c) Excessive Damage    - Upon the destruction of or substantial damage to the Premises by any cause, or taking of all or a
substantial portion of the Premises by eminent domain, in either case making it impossible or impracticable to continue
operation of the Premises.

d) Inadequate lnsurance - If Agent deems that the liability insurance obtained by Partnership per section l4 is not reasonably
satisfactory to protect its interest under this Agreement, and ifPartnership and Agent cannot agrce as to adequate insurance,
Agent shall have the right to cancel this Agreement upon the service of the notice to Partnership.



21.3 Termination Compensation

If (i) Partnership terminates this Agreement before the end of the initial term or any subsequent term year as provided in
paragraph 2l .l above for any reason other than for a breach by Agent under paragraph 21.2(a) above, or if (ii) Agent
terminates this Agreement for a breach by Partnership under paragraph ?.1.2(a) above or pursuant to the provision of
paragraphs 21.2(b) or 21.2(d) above, then in any such event, Partnership shall be obligated to pay Agent as liquidated
damages an amount equal to the management fee eamed by Agent, as determined under paragraph l7.l above, for the
calendar month immediately preceding the month in which the notice of termination is given to Agent orto Partnership
multiplied-by the number of month and/or portions thereof remaining frqm the termination date until the end of the initial
                                                                                                                               l2
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term or term year in which the termination occurred. Such damages, ptus any amounts accruing to Agent prior to such
termination, shall be due and payable upon termination of this Agreement, to the extent that funds are available, such sums
shall be payable from the 0porating (and/or) Rsserys Account(s) shall be paid by Partnership 10 Agent upon demand,




21.4 Partnership Responsibility for Payments

Upon termination of or withdrawal from this Agreement, Partnership shall assume the obligation of any contract or
outstanding bill executed by Agent under this Agreement for and on behalf of Partnership and Reusability for payment of
all unpaid bills. ln addition, Partnership shall furnish Agent security, in an amount satisfactory to Agent, against any
obligations or liabilities which Agent may have properly incurred on Partnership's behalf under this Agreement.

Agent may withhold funds for ninety (90) days after the end of the month in which this Agreement is terminated, in order
to pay bills previously incurred but not yet invoiced and to close accounts. Agent shall deliver to Partnership, within ninety
(90) days after the end of the month in which this Agreement is terminate, any balance of monies due Parhership or of
tenant security deposits, or both, which were held by Agent with respect to the Premises, as well as a final accounting
reflecting the balance of income and expenses with respect to the Premises as of the date of terminator or withdrawal, and
all records, contracts, leases, receipts for deposits, and other papers or documents which pertain to the Premises.

21.5 Sale of Premises

In the event that the Premises are sold by Partnership during the period of this Agreement, Agent shall have exclusive rights
of representation in the sale as stated in a specific sales agreement to be negotiated separately. Upon transfer of Partnership,
this Agreement shall terminate by mutual consent of Partnership and Agent.




                              SE C   TI ON 22, INDEMIUtr'ICATION ST'RVTVES            TERMINATION

All representation and warranties of the parties contained herein shall survivc the termination of this Agreement. All
provisions of this Agreement that require Partnership to have insured or defend, reimburse, or indemnif Agent (including,
but not limited to, paragraph s2.1,2.3,5,8.4,9.2,9.5, 13, 14, I 5, 16, 17 .'1,20,21 .3, and 21.4) shall survive any termination;
and if Agent is or becomes involved in any proceeding or litigation by reason of having been Partnership's Agent, such
provisions shall apply as if they Agreement were still in effect.




                                                     SECTION 23, HEADINGS

All headings and silbheadings employed within this Agreement and in the accompanying List of Provisions are inserted
only for convenience and ease of reference and are not to be considered in construction or interpretation of any provision
of this Agreement.



                                                 SECTION 24, FORCE MAJEUR

Any delays in the perforn'rancc of any obligation olAgent under this Agreement shall be excuscd to the extent that such
delays are caused by wars, national emergencies, natural disasters, strikes, labor disputes, utility failures, governmcntal
regulations, riots, adverse weather, and other similar cause not within the control of Agent, and any time periods required
for performance shall be extended accordingly.



                                                                                                                              /)
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                                          SECTION 25, COMPLETE AGREE,MENT

This Agreemenl including any specified attachments, constitutes the entire agreement between Partnership and Agent with
respect to the management and operation of the Premises and supersedes and replaces any and all previous management
agreements entered into or/and negotiated between Partnership and Agent relating to the Premises covered by this
Agreement. No change to this Agreement shall be valid unless made by supplemental written agreement executed and
approved by Partnership and Agent, Except as otherwise provided herein, any and all amendments, additions, deflections
to this Agreement shall be null and void unless approved by Partnership and Agent in writing. Each partyto this Agreement
hereby acknowledges and agrees that the other party has made no warranties, representations, covenants, or. agreements,
express or implied, to such pafty, other than those expressly set forth herein, and that each party, in entering into and
executing this Agreement, has relied upon no warranties, representations, covenants, or agreements, expness or implied, to
such party, otherthan those expressly set forth herein.




                                    SECTION 26, RIGHTS CUMULATIVE; NO                 WAMR
No right or remedy herein conferred upon or reserved to either of the pa*ies to this Agreement is intended to be exclusive
of any other right or remedy, and each.and every right and remedy shall be cumulative and in addition to any other right or
remedy given under this Agreement or now or hereafter legally existing upon the occurrence of an event of default under
this Agreement. The failure ofeither party to this Agreement to insist at any time upon the occurrence of an event of default
under this Agreement. The failure of either party to this Agreement to insist at any time upon the strict observance or
performance of any of the provisions of this Agreement, or to exercise any right or remedy as provided in the Agreement
shatl not impair any such right or remedy or be constructed as a waivcr or relinquishment of such right or remedy with
respect to subsequent defaults. Every right and remedy given by this Agreement to the parties to it may be exercised from
time to time and as often as may be deemed expedient by those parties.




                              SECTION IT,APPLICABLE LAW AND PARTIAL INVALIDITY

The execution, interpretation, and performance of this Agreernent shall in all aspects be controlled and govemed by the
laws of the State of     PA         any part ofthis Agrecment shall be declared invalid or unenforceablg Agent shall have
                               -If
the option to terminate this Agreement by notice to Partnership.


                                                     SECTION 28, NOTICES

Any notices, demands, consents, and reports necessary or provided for under this Agreement shall be in writing and shall
be addressed as follows, or at such other address as Partnership and Agent individually may specifr hereafter in writing:

Agcnt:                   AntRentz I.[.C

Partnership:            Tunbridse Aoartments- LP

Such notice or other communication may be mailed by United States registered or certified mail, return receipt requested,
postage prepaid, and may be deposited in a United States Post Office or a depository for the receipt of mail regularly
maintained by the post office. Such notices, demands, consents, and reports may also be delivered by hand or by any other
receipted method or means permitted by law. For purposes of this Agreement, notices shall be deemed to have been "give"
or "delivered" upon personal delivery thereof or forry-eight (48) hours after having been deposited in the United States
mails as provided herein.


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                                                    StrCTION 29, NOTICBS

       Tlris agreement slrall be bilrding upon the partic.s hereto arrd their respcctive personal rcprescnlatives, heirs,
       adrninistrators, executors, successors and assigns.




       SICNATURtrS




       IN WITNESS WIjEIf OF. the parties hercto l:avc al'llxed or caused to hc affixed   the   ir respectivc signatures lhis
                 ta{n                    dayof Jqwl             .-             \7
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                                                 Arldress

                                                   474
                                                 (lity, Strtc, Zip




                                                 Agent

                                                 Firm
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Subrnitted by
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                         Exhibit F
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                                     AptRentz, LLC
F'or property located   at:     Scarboroueh Mews. 501 North Orange Street Media. PA 19063

Elfective:     June     12^2017                    r'
       -
Partnership(s):                                         /
                         Scarborough Mervs.   LP
Agent(c):      AptRentz LLC




                                     Mqnqgemenl
                                      Agreement




     AptRentz, LLC., 509 Dickinson St.. Phitodelphio. PA 19147, (P) 215.266.7785 (E) AptRentzLLC@gmoil.com
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     List of Provisions
                                                           Section 12 Relationship of Agent to
    'Section
               I Appointment of Managing Agent             Partnership
       l.l       Appointrnent and Acceptance               Section 13 Save Harmless
       1.2       Description of Premises                   Section 14 Liability Insurance
       1.3       Term                                      Section 15 Agent Assumes No Liability
       1.4                                                 Section 16 Partnership Responsible for AII
                 Management Oftice
                                                           Expenses of Litigation
       1.5       Apartment for On-Site Staff                  16.1. Fees for Logal Advice
    Section 2 Bank Accounts                                Section 17 Agentrs Compensation and
                                                           Eipenses
       2.1       Operating (and/or) Reserve Account(s)        17.l      For Management Services
       2.1.1     Initial Deposit and Contingency Reserve      17.2      For Apartment Leasing
       2.2       Securip Deposit Account                      17.3      For Commercial Leasing
                                                                        For Modernization
      2.3 Fidelity Bond                                       17.4      (Rehab/Constnrction)
    Section 3 Collection of Rents and Other Receipts          17.5      For Fire Restoration
                                                                        For Other Items of Mutual
       3.1      ,Agent's Authority                            17.6      Agreement
       3.2       SpecialCharges                               17.7      Interest on Unpaid Sums
       3.3       Security Deposits                         Section 18 Representations
    Section 4 Disbursements from Operating (and/or)
    Reseroe Accounts                                       Section l9 Structural Changes
       4.1       Operating Expenses                        Section 20 Building Compliance
       4.2       Debt Service                              Section 2l Terminetion
                                                               27.7     Termination by Eittrer Party
    Section 5 Agent Not Required to Advance X'unds             21.2     Terrnination for Cause
    Section 6 X'inancial and Other Reports                              a) Breach of Agreement
      6.1 Partnership's Right to Audit                                  b) Failure to Act, etc.
    Section 7 Advertising                                               c) Excessive Damage
    Section 8 Leasing and Renting                                       d) Inadequate Insurance
       8.1      Agent's Authority to Lease Premises           21.3      Termination Compensation
                                                                        Partnersh ip Responsib le for
      8.2       No Other Rental Agent                         21.4      Payments
      8.3       Rental Rates                                  2l   .5   Sale of Premises

      8-4                                                  Section 22 Indemnification Survives
                Enforcement of Leases
                                                           Termination
    Section 9 Employees                                    Section 23 Ileadings
      9.1 Agent's Authority to Hire                        Section 24 Force Majeur
      9.2       Partnership Pays Employee Expenses         Sectiou 25 Complete Agreement
      9.3       Agent's Authority to file returns
                                                           Section 26 Rights Cumulative; No Waiver
      9.4                                                  Section 27 Applicable Law and Partial
                Workers'Compensationlnsurance
                                                           Invalidity
      9.5       Hold Harmless, Labor Laws                  Section 28 Notices
                                                           Section 29 Agreement Binding Upon
    Section l0 Maintenance and Repair                      Successors and Assigns
              Approval for Exceptional Maintenance
c     l0.l      Expense                                      Power of Attomey
    Section   1l Contracts, Utilities and   Services
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 This Agreement is made     this             tlzth /         day   of            June          .2017   .


 by and betwecn           Scarborough Mews-       LP         (."Partnership')    and    AptRenta   LLC          ("Agent").




                                          SECTION 1, APPOINTMENT AND ACCEPTANCE

 1.1 Appointment and Acceptance

Parbrership hereby appoints Agent as sole and exclusive Agent of Partnership to lease and manage thc property described
in paragraph I.2 upon the terms and conditions provided herein. Agent accepts the appointmentind agreei to fumish the
services of its organization for the leasing and management of the Premises; and Partnership agrees to pay all expenses in
connection with such services.




1.2 Description of Premises

The property to be managed by Agent under this Agreement ("Premises") is known           as            Scarborough   Mews        ,
Iocatedat              501    Northoraneestr                           onsisting           of the land, buildingi, and       other
improvements,


13 Term

The term of thisy'greemcnt shall be for an initial period   of          five   (5)      year(s) ("initiat term') from         the
         l2th 'Day of              June   2017               . and theneafter shall be automaticalty renewed fiom year to year
unless terminated as provided in sections    2l   or 27 hercin. Each of said one-year renewal periods is referred to as "term
yeaf'.


1.4 Management Office

Partnership shall provide adequate space on the Premises for a management office. Partrrership shall pay all expenses
related to such office, including, but not limited to, furnishings, equipmen! postage and office supplies, electricity and other
utilities, and telephone.



I.5 Apartment for On-Site Stgff

Partnership shall provide a suitable apartment(s) on the Premises for the use of an on-site manager and/or a resident facilities
manager and their families, reit-free, except that such resident staff shall pay for heat and utilities in the same manner as
other ten,lnts. The specific apartment(s) shall be the Partnership's choice.
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                                            SECTION 2, BANK ACCOITNTS
  -
 The various bank accounts established under this Agreement shall be established in the Partnership's name but under
 Agent's contro!. Agent's designees shall be the only parties authorized to draw upon such accounts. No amounts deposited
 in any accounts established under this Agreement shatl in any event be commingled with any other funds of Agent.


 2.1 Operating (and/or) Resene Account(s)

Agent shall establish a separate account(s) known as the          Scarborough MeWs Manaeement
Operating (and/or) Reserve Account(s), separate and apart fr6p Agent's corporate                for the d"posit of receipts
                                                                                      "ccountc
collccted as described herein, in a bank or other institution whose deposits are insured by the federal government. Such
depository shall be selected by the Agent. Howeveq Agent shalt not be held liable in the Lvent of bankruptry or faiture of
a depository. Funds in the Operating (and/or) Reserve Accoun(s) remain the property of partnerstrlp subject to
disbursement of expenses by Agent as described in this Agreement.




2.1.1 Initial Deposit and Contingency Reserve

Immediately upolt Gommencement of this Agreement, Partnership shall remit to Agent the sum of $             13.000.00 /
to be deposited in the Operating (and/or) Reserve Account(s) as initial deposit representing the estimated disbursements to
be made in the first month following the commencement'of this Agreement, plus an additional sum of $__13J89.08_
as a contingency reserve. Partnership agrees to maintain the contingency ieserve stated above at all times in the Operating
(and/or) Reserve Account(s) to enable Agent to pay the obligations of Partnership under this Agreement as they become
due. Partnership and Agent shall review the amount ofthe contingency reserve from time to timeind shall agree in writing
on a new contingency reserve amount when such is required.




2.2 Security Deposits

Agent shall, if required by law, maintain a separate interest-bearingaccount fortenant security deposirc and advance rentals.
Such account shall be maintained in accordance with applicable state or tocal taws, if any.




2.3 Fidelity Bond

Agent shall cause all personnel who handle or are responsible for safekeeping of any monies of Partnership to be covered
by fidelity bond with a company determined by Agent. Suoh a bond shalt be sscured at Partnership's expense. If a fidelity
bond cannot be obtained, an arrest and conviction bond shall be obtained at Partnership's expense. Partnership shall save
Agent harmless from any loss or damages caused by such personnel if no bond can be obtained.




                             SECTION 3, COLLECTIONS OF RENTS A}ID OTIIER RECIPTS

3.1 Agent's   Authority

Agent shall collcct (and give receipts for, if necessary) all rents, charges and other amounts receivable on Partnership's
account in connection with the management and operation of the Premises. Such receipts (except tenants' security deposits
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     and advance rentals, which shall be handled as specified in paragraphs2.2 and 3.3 hereof; and special charges, which shall
        handled as specified in paragraph 3.2 hereof) shall be deposited in the Operating (and/or) Reserve Account(s) maintained
    ,be
     by Agent for the Premises,



    3.2 Special Charges

    If permitted by applicable law, Agent may cotlect from tenants sny or all of the following: an administrative charge for late
    payment of rent, a charge for retumed or non-negotiable ohecl<s, a credit report fee, an adminishative charge and/or broker's
    commission for subleasing. 'Agent need not account to Parrrership for suih charges and/or commission.




    3.3 Security Deposits

    Agent shall collect, deposig and disburse tenant's security deposits in accordance with the terms of each tenant's lease.
    Agent shall pay tenants interest upon such seourity deposits only if required by law to do so; otherwisg any interest eamed
    on tenant security deposits is to be retained by Agent as compensation for administering these funds. Agent shall comply
    with all applicable state or local laws concerning the responsibility for security deposits and interest, if any.



                   SECTION 4, DISBIIRSEMENTS rROM OPERATTNG (AND/OR) RESERyE ACCOUNT(S)

    4.1 Opereting Erpenses


,
 From the Opcrating (and/or) Reserve Account(s), Agent is hereby authorized to pay or reimburse itself for all expenses and
)costs of operating the Premises and for all other sums due Agent under this Agreement, including Agent's compensation
    undersection 17.

    4,2Debt Service

    Partnership shall give Agent advance written notice of at least l0 business days          if
                                                                                               Partnership desires Agent to
    make an additional monthly or recurring payments (such as mortgage indebtedness, general taxes, or special assessments,
    or fire, steam boiler, or other insurance premiums) out of the proceeds from the Premises. If Partnership notifies Agent to
    make such payments after the beginning of the term of this Agreement, Agent shall have the authority to name a new
    contingency reserve arnount pursuant to paragraph 2.1.1 of this Agreement, and Partnership shall maintain this new
    contingency reserve amount at all times in the Operating (and/or) Reserve Account(s).




                                  SECTION s, AGENT NOT REQUIRXD TO ADVANCE Ft IYDS

In the event that the balance in the Operating (and/or) Reserve Account(s) is at any time insufficient to pay diibursements
due and payable gnder paragraphs 4.1 and 4.2 above, Partnership shall, immediately upon notice, remit to Agent sufficient
firnds to cover deficiency and replenish the contingency reserve. In no event shall Agent be required to use its own fi:nds
to pay such disbursements. Nor shall Agent be required to advance any monies to Partnership, to the Security Deposit
Accounl or to the Operating (and/or) Reserve Account(s).

lf Agent elects to advance any money in connection with the Premises to pay any expenses for Partnership, such advance
shall be considered a loan su-bject to repayment with interesl and Partnership hereby agrees to reimburse Agent, including
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 interest as provided in paragraph 17.7, and hereby authorizes Agent to deduct such amounts from any monies due
 Partnership.




                 SECTTON 6, DISBT RSEMENTS FROM OPERATTNG (AND/OR) RESERVE ACCOITNT(S)

 B-y.the 20th                    day of each month, Agent shall furnish Partnership with a statement of cash receipts and
 disbursements fiom the opcration of the Prcmises during the previous month. In addition, Agent shalt, on u     ,ut
                                                                                                                uily
 acceptable schedulg prepare and submit to Partnership such other reports as are agreed on by both parties.




 5.1 Partnerrhip's Right to   Audit
 Partnership shall have t right to request periodic audis of all applicable accounts managed by Agent, and the cost of such
 audit(s) shall be paid by Partnership.




                                                   SECTION 7, ADVERTISING

Agent is authorized to advertise the Premises or portions thereof for rent, using periodicals, signs, plans, brochures, qr
  displays, or such other means as Agent may deem property and advisable. Agent is authorized to
                                                                                                    [f""" signiA on P.emisds
  advertistng the Premises for rent, provided such signs comply with applicabie laws. The cost ofiuch adiertising shall be
  paid out of the Operating (and/or) Reserve Account(s). All advertising shall make ctear that Agent is the manager-and NOT
,
)the Parurership of the Piemises.




                                             SECTION 8, LEASING AND RENTING

8.1 Agent's Authority to Lease Premiseg

Agent shall use all reasonable efforts to keep the Premises rented by procuring tenants for the Premises. Agent is authorized
to negotiate, prepare, and execute all leases, including all renewals and extensions ofleases (and expansions ofspace in the
Premises, if applicable) and to cancel and modif, existing leases. Agent shall execute all leaies as agent for the Partnership.
AII coast of leasing shall be paid out of the Operating (and/or) Reserve Account(s). No lease shall be in excess of
                     ars(s) without written approval by Partnership. The form ofthe lease shatt be agreed upon by Partnership
and Agent.




8.2 No Other Rental Agent

During the term of this.Agreemen! Partnership shall not authorize any other person, firm, or corporation to negotiate or act
as leasing or rental agent with respect to any leases for space in the Premises. Partnership agr"is to promptty forward all
inquiries about lease to Agent.
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  8.3 Rental Rstes

  Agent is authorized to establish and change or revise all rents, fees, or deposits, and any other charges chargeable with
  respect to the Premises.




 8.4 Enforcement of Leases

 Agent is authorized to institute, in Partnership's name, all legal actions or proceedings for the enforcement of any lease term,
 for the oollection of rent or other income from the Premises, or for the evicting of dispossessing of tenantr o. oth.r persons
 from the Premises. Agent is authorized to sign and serve such notices as Agent deems n"c"ssary for lease enforcement,
 including the collection of rent or other income- Agent is authorized, whenixpedient to settle, compromise, and release
 such legal actions or suits or reinstate such tenancies. Any monies for such settlements paid out by Agent shall not exceed
 $        N/A    without prior approvat by Partnership. Attomey's fees, filing fees, court coits, ind other necessary
 expcnses incured in connection with such actions and not recovered from tenants shall be paid out ofthe Operating (and/oi)
 Res-erv9 Account(s) or reimbursed directly to Agent by Partnership. Agent may select the attomey         of its choice to handle
 such litication.




                                                     SECTION 9, EMPLOYEES

 9.I Agent's Authority to Hire

. Agent is authorized to hire, supervise, discharge, and pay all employees, contractor.s, or other personnel necessary to be
)employed in the management, maintenance, and op"*iion of the iremises. All employees shali be deemed employees of
  the Partrership/Agent, and Agent shall not be liable to Partnership or others for any act or omission on the part of such
 employees.




 9.2 Partnership Pays Employee Expenses

 All wages and fringe benefits payable to such employees hired per paragraph 9.1 above, and all local,     state, and feral raxes
and assessments (including but not limited to Social Security ta(es, unemployment insurance, and worker's compensation
insurance) incident to the employrnent of such personnel, shall be paid by Agent out of the Operating (and/or) Reserve
Accouni(s) and shall be treated as operating expenses. Agent shall not be liable to such employees for their wages or
compensation.




9.3 Agent's   Authority to File Returns

Agent shall do and perform all actus required of an employer with respect to the Premises and shall execute and file al tax
and other returns required under the applicable feral, state, and local laws, regulations, and/or ordinances governing
employment, and all other statements and reports pertaining to labor employed in connection with the Premises and under
any similar federal or state law now or hereafter in force. In connection with such filing, Partnership shall upon request
promptly execute and deliver to Agent atl necessary powers of attorney, notices of appointmenl and the tike. Partnership
shall be responsible for all amounts required to be paid under the foregoing laws, and Agent shall pay the same from the
Operating (and/or) Reserye Account(s).
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 9.4   Workers' Compensation Insurance

 Agent shall, at Partnership's expense, maintain workers' compensation insurance covering all liability
                                                                                                        ofthe employer under
 established workers' compensation laws.




 9.5 Hold Harmless,   Laborlaws
 Aeent shall be responsible for compliance with atl applicable state or federal tabor taws. Partnenhip shall
                                                                                                             indemniry, defend,
 and save Agent harmless frorn all claims, investigaiions, and suits, or from Partnership's actions
                                                                                                       or failures to act, with
 respect to any alleged or actual violation of state or federal tabor laws. Partnership;s obligation with respect to such
 violation(s) shall include payment of all settlements, judgements, damages, liquidated dam"ges, penalties, fo#eitures, back
 pay awards, court costs, litigation expenses, and attomey,s fees.




                                     SECTION IO, MAINTENANCE AND RTPAIR

 Agent is authorized to make-or cause to be made, through contracted services or otherwise, all ordinary repairs and
 replacements reasonably necessary to preserve the Premisei in its present condition and for the operating edciency of the
Premises, and all alterations required to comply with lease iequirements, governmental regulatiJns, or in-surance
requirements- Agent is also authorized to decorate the Premises and to purchke or rent, on Fartnershiprs behatfl, all
equipment necessary for the management, maintenance, or operation of the Premises. Such maintenance and decorating
expenses shall be paid out of the Opcrating (and/or) Reserye Account(s). This section applies except where decorating
and/or maintenance are at tenants' expOnse as stipulated in a lease.




l0.l Approval for Exceptional    Maintenance Expenses

The expcnse to be incurred for any one items of maintenance, alteration, refurbishing, or repair shall not exceed the sum
                                                                                                                     of
$.       15.000.00 ,       unless such expense     is specifically authorized by Partnership, or is incurred under such
circumstan_ces as Agent shall reasonabty deem     to be an emergency. In an Lmerger"y *-hrr. repairs are immediatety
necessary for the preservation and safety of the Premises, or to avoid the suspension of an essential sirvice to the premises,
or to avoid danger to life or property, or to compty with federal, slate, or local taw, such emergency repairs shall be made
by Agent at Partnership's expense without prior approval.




                                 SECTION 11, CONTRACTS, UTILITIES AND SERVTCES

Agent is authorized to negotiate contracts for nonrecurring items of expense, not to excess $___Jj-000.00__
unless approved by Parrrership, and to enter into agreements in Partnership's name for alt neceisary r"p"io, rnaint"nance,
minor alterations, and utility services. Agent shall, in Partnership's name and at Partnership's u*pense, make contracts on
Partnership's behalffor electricity, gas, telephone, fuel, or water, and such other services asAgeni shall deem necessary or
prudent for the operation of the Premises. All utility deposits shall be the Partnership's responsibility, except that Agent
may pay same from the Operating (and/or) Reserue Account(s) at Partnership's request.
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                                 SECTION 12, RELATIONSHIP OI'AGENT TO PARTNERSHIP

  The relationslip of the parties to this Agreement shall be that of Principal and Agent, and all duties to be performed by
  Agent under this Agreement shall be for and on behatf of Partnership, in iartnershif,', nrrn", and for Partnership's account.
  In taking any action under this Agreemeng Agent shall be acting only as Agent for Partnership, and notiring in this
  Agreement shall be construed as creating a partnership, joint venture, or any othlr relationship berwlen the partiJs to this
  Agreement except that of Principal and Agent, or as requiring Agent to bear any portion of losses arising outoior ronnected
  with.the Partnership or operation of the Premises. Nor shall Agent at any time during the period oithis Agreement be
  considered a direct employee of Partnership. Neither party shail have the power to bind or obtigate the omir except ari
  expressly set forth in the Agreemen! exsept that Agent is authorized to act with such additional auti'ority and power as may
  be necessary to carry out the spirit and intent of this Agreement.




                                                  SECTION 13, SAVE IIARMLESS

 Partnership shall indemniff, defend, and save Agent harmless from all loss, damage, cost expense (including aftorney's
 fees), liability, or claims for personal injury or property damage incurred or occ-urring in, Ln, or about thi Premises,




                                          SECTION t4, LIABILITY INST RANCE

  Partnership shall obtain and keep in force adequate insurance against physical damage (e.g. fire with extended coverage
  endorsement, boiler and machinery, etc...) and against liability for toss, damage, orlnjury to property or persons which
) might arise out of the occupancy, mBnagement, iperation, or maintenance of the Premi.o. fn" amounts and types of
  insurance shall be accePtable to both Partnership and Agent, and any deductible required under such insurance policies shall
  be Partnership's exponse. Agent shall be covered as an additional insured on atl liabitity insurance maintained with respect
  to the Premises. Liability insurance shall be adequate to protect the interest of both Partnership and Agent and in form,
  substance, and amounts reasonably satisfactory to Agent. Partnenhip agrees to furnish Agent with certifrcates evidencing
  such insurance or with duplicate copies of such polices  within      I 0 business days of ith execution of this Agreement.
  If Partnership fails to do so, Agent may, but shatl not be obligated to, place said insurance and charge the cost thereof to the
  Operating (and/or) Reserve Account(s). Said policies shall provide that notice of default or cancellation shall be sent to
  Agent as well as Paftnership and shall require a minimum    of      60 busincss days' written notice to Agent before any
 cancellation of or changes to said policies.




                                        SECTION 15, AGENT ASSUMES NO LIABILTTY

Agent assumes no liability whatsoever for any acts or missions of Partnership, or any previous Partnerships of the Premises,
or any previous management or other agent of either. Agent assumes no liability for any failure of or default by any tenant
in the payment of any rent or other charges due Partnership or in the performance of any obligation owed by any tenant to
Partnership pursuant to any lease or otherwise. Nor does Agent assume any liability for previously unknown violations of
environmental or other regulation which may become known during the period this Agreemehi is in effect. Any such
regulatory violations or hazards discovered by Agent shall be brought to the attention of Partnership in writing, an
Parrnership shall promptly cure them.
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                       SECTION 16, PARTNERSHIP RESPONSIBLE FOR ALL E}(PENSE OF LITIGATION

 Partnership shall pay all expenses incurred by Agent, including, but not limited to, reasonable attorneys' fees and Agent's
 costs and time, and any liability, fines, penalties or the like, in connection with any claim, proceeding, or suit involving an
 alleged violation by Agent or Partnership, or both, of any law pertaining to fair employment, fair credit rcporting
 environmental protection, rent control, taxes, or fair housing, including but noi timited to, any iaw prohibit or mafing illegat
 discrimination on the basis of nace,.sex, creed, cotor, religion, nationat origin, or mental or physical handicap, piovided
 however, tlat Partnership shall not be responsible to Agent for any such expinses in the event Agent is finally adjudged to
 have personally, and not in a representative capaoity, violated any such law. Nothing conainei in this Agreemenishall
 obligate Agent to employ legal counsel to represent Partnership in any such proceeding or suit.




 l6.l   tr'ees   for Legal Advice

 Partnership shall pay reasonable expenses incurred by Agent in obtaining legal advice regarding compliance with any law
 affecting the Premises or activities related to them. IF such expenditure also benefits others foiwhom Agent in this
 Agreement acts in similar capacigr, Partnership agrees to pay an apportioned amount of such oxpense.




                                    SECTION 17, AGENT'S COMPENSATION AryD E)PENSES

 As compensation for the service provided by Agent under this Agreement (and exclusive of reimbursement of expenses to
 which Agent is entitled hereunder), Partnership shall pay Agent as follows:

, l7.l For Management        Services
)v/
 The greater of (i)       s575.00               per month or       (ii)      3.00%             of
                                                                                              the total monthly gross
 receipts from the Premises, payable by the              201t,            day of each (I) calendar month for the duration
 of this Agreement. Payments due Agent for period of less than a calendar month shall be prorated over the number of days
 for which compensation is due. The percentage amount set forth in (ii) above shall be based upon the total gloss receipts
 from the Premises during the preceding month.

 The term "gross receipts" shall be deemed to include all rents and other income and charges from the normal operation of
 the Prerriises, including, but not limited to, rents, parking fees, laundry income, amenity income, forfeited security deposits,
 pet deposits, other fees and deposits, and other miscellaneous income. Gross receipts shall not be deemed to inctude the
 specialcharges listed in paragraph 3.2, or excess interest on security deposits (from paragraph 3.3), or income arising out
 of the sale of real property or the settlement of fire or other casualty losses and items of a similar nature.

 17.2 For Apartinent Leasing
                     N/A


 17.3 For Commercial Leasing
                     N/A


17.4 F'or Mod ernization (Rehab/Construction)

                     $2.000.00 oer unit Fee
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 I7.5 For I'ire Restoration

                  NIA

 17.6 For Other Items of Mutual Agreement

         Bonus equalto 10.00% of Annual Fee as result      of l0.00oZ   increase ofsross receiDts.




 17.7 For Interest on Unpaid Sums

Any sums due Agent under any provision of this Agreement, and not paid         within          30       days after such sums
 have become due, shall bear interest at the rate   of      10.00             % per annum.




                                                sEcTroN      18, REPRESNTATIONS

Partnership represents and warants: That Partnership has full power and authorit5r to enter this Agreement; that there are
no written or orat agreements affecting the Premises other than tenant leases, copies of which have been furnished to Agent;
that there are no recorded easements, restrictions, reserations, or rights of way which adversely affect the use of the
Premises for the purposes intended under this Agreement; that to the best of Partnership's knowledge, the property is zoned
for the intended use; that all leasing and other permits for the operation of the Premises have been secured and are curent;
that the building and its construction and operation do not violate any applicabte statues, laws, ordinances, rutes, regulations,
orders or the like (including, but not limited to, those pertaining to hn,ardous or toxic substances); that the building does
not corliain any asbestos, urea, formaldehyde, radon, or other toxic or hazardous substance; and that no unsafe condition
exists.




                                            SECTION 19, STRUCTURAL CHANGES

Partnenhip expressly withholds from Agent any power or authority make any structural changes in any building, or to make
any other major alterations or additions in or to any such building or to any equipment in any such building, or to incur any
expense chargeable to Partnership other than expenses related to exercising the express powers vested in Agent through this
Agreement without the prior written consent of the following person:


Name:

Brooke P. Cottman. Partner

However, such emergency repairs as may be required because of danger to life or property, or which are immediately
necessary for the preservation and safety ofthe Premises or the safety ofthe tenants and occupants thereof, or required to
avoid the suspension of any necessary service to the Premises, or to comply with any applicable federal, state, or local laws,
regulations, or ordinances, shall be authorized pursuant to paragraph        l0.l of this Agreement,    and Agent shall   notifi
Partnership appropriately.




                                                                                                                               n
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                                             SECTION 20, BUTLDING COMPLTANCE

 Agent does not assume and is given no responsibility for compliance of the Premises or any building thereon or any
 equipment therein with the requirements of any building codes or with any stature, ordinance, taw, or regulation of any
 gov-ernmentalbody or of any public authority or officialthereof havingjurisdiction, except to noti$ Parinership promptly
 of forward to Partnership promptly any compliances, warnings, notices, or summonses received by Agent relating to such
 m{terl. Partnership represents that to the best of Partnership's knowledge the Premises and all such equipment comply
 with all of the Premises to any such officials and agrees to indemnify and hold Agent, its representatives, and employees,
 harmless of and from all loss, cost, expense, and liability whatsoever which may be imposed by reason of any present or
 firture violation or alleged violation of such taws, ordinances, statutes, or regulations.




                                                   SECTION 21, TERMINATION

 2l.l Termination by Either Party
This Agreement may be terminated by either Partnership or Agent, with or without cause, at the end of the initial term or       of
any following term year upon the giving     of      60       days' written notice prior to the end of said initiat term of
following term year.



)Zt.Z termination for Cause

Notwithstanding the foregoing this Agreement shall terminate in any event, and allobligations of the parties hereunder
shall cease (except as to liabilities or obligation which have accrued or arisen prior to such termination, or which accrue
pursuant to paragraph 2l.3 as a result of such termination, and obligations to insure and indemnifu), upon the occunence of
any of the following events:


a)Breach of Agreement - Thirty (30) days after the receipt of notice by either party to the other speciffing in detail a material
breach of this Agreemen! if such breach has not been cured within said thirty (30) day period; or if such breach is of a
nature that it cannot be cured within said thirty (30) day period but can be cured within a reasonable time thereafter, if efforts
to cure such breach have not commenced orland such efforts are not proceeding and being continued diligently both during
and after such thirty (30) day period prior to the breach being cured. However, the breach of any obligation of either party
hereunder to pay any monies to the other party under the terms of this Agrcement shall be deemcd to be curable within
thirty (30) days.

b) Failure to Act, Etc.- In the event that any insurance required of Partnership is not maintained without any lapse, or it is
alleged or charged that the Premises, or any portion thereof, or any act or failure to act by Partnership, its agent and
employees with respect to the Premises, fails to comply with any law or regulation, or any order or ruling of any public
authority, and Agent in its sole discretion considers that the action or position of Partnership or its represented with respect
thereto may result in damage or liability to Agent, or disciplinary proceeding with respect to Agent's license, Agent shall
have the right to terminate this Agreement at any time by written notice to Partnership of its election to do so, which
termination shall be effective upon the service of such notice. Such termination shalt not release the indemnities of
Partnership set forth herein.
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 c) Excessive Damage   - Upon the destruction of or substantial damage to the Premises by any cause, or taking of all or a
substantial portion of the Premises by eminent domain, in either case making it impossible or impracticable to continue
operstion of the Premises.

d) Inadequate Insurance    - If Agent deems that the liability insurance obtained by Partnership per section l4 is not reasonably
satisfactory to protect its interest under this Agreemenf and if Partnership and Agent cannot agree as to adequate insurance,
Agent shall have the right to cancel this Agreement upon the seruice of the notice to Partnership.



2   1.3 Termination Compensation

If (i) Partnership tenninates this Agreement before the end of the initial term or any subsequent term year as provided in
paragraph 2l.l above for anli rearion other than fora breash by Agent under paragraph 21.2(a) above, or if (ii) Agent
tetminates this Agreement for a breach by Partnership under paragraph 21,2(a) above or pursuant to the provision of
paragraphs 21.2(b) or 2t.2(d) above, then in any such event, Paftnership shall be obligated to pay Agent as liquidated
damages an amount equal to the management fee eamed by Agent, as determined under paragraph l7.l abovg for the
calendar month immediately preceding the month in which the notice of termination is given to Agent or to Partnership
multiplied by the number of month and/or portions thereof remaining from the termination date until the end of the initial
term or term year in which the termination occurred. Such damages, plus any amounts accruing to Agent prior to such
termination, shall be due and payable upon termination of this Agreement, to the extent that firnds are available, such'sums
shall be payable from the Operating (and/or) Reserve Account(s) shall be paid by Partnership to Agent upon demand.



21.4 Partnership Responsibility for Payments

Upon termination of or withdrawal from this Agreement, Partnership shall assume the obligation of any contract or
outstanding bill executed by Agent under this Agreement for and on behalf of Partnership and Reusability for payment of
all unpaid bills. In addition, Partnership shall furnish Agent security, in an amount satisfactory to Agent, against any
obligations or liabilities which Agent may have properly incurred on Partnership's behalf under this Agreement,

Agent may withhold firnds for ninety (90) days after the end of the month in which this Agreement is terminated, in order
to pay biils previously incurred but not yet invoiced and to close accounts. Agent shall deliver to Partnership, within ninety
(90) days after the end of the month in which this Agreement is terminate, any balance of monies due Partnership or of
tenant security deposits, or both, which were held by Agent with respect to the Premises, as well as a final accounting
reflecting the balance of income and expenses with respect to the Premises as of the date of terminator or withdrawal, and
all records, contracts, leases, receipts for deposits, and other papers or documents which pertain to the Premises.

21.5 Sale of Premises

In the event that the Premises are sold by Partnership during the period of this Agreement, Agent shall have exclusive rights
of representation in the sale as stated in
                                         a specific sales agreement to be negotiated separately. Upon hansfer of Partnership,
this Agreement shall terminate by mutual consent of Partnership and Agent.




                               SECTION 22, TNDEMNIFICATION SURVTyES TERMINATTON

AII representation and warranties of the parties contained herein shall survive the termination of this Agreement. All
provisions of this Agreement that require Partnership to have insured or defend, reimburse, or indemniff Agent (including,
butnotlimitedto,paragraphs2.7,2.3,5,8.4,9.2,9.5, 13, 14,15,16,17.7,20,21.3,and21.4)shallsurviveanytermination;
                                                                                (

                                                                                                                              l)
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 and  if Agent is or becomes involved in any proceeding or litigation by reason of havingbeen Partnership'sAgent, such
 provisions shall apply as if they Agreemeni were still in effect.




                                                     SECTION 23, HEADINGS

 All headings and subheadings employed within this Agreement and in the accompanying List of Provisions are inserted
 only for convenience andease of reference and are not to be considered in construction or interpretation of any provision
 ofthis Agreement.



                                                 SECTION 24, trORCE lt{AJEriR

Any delays in the performance of any obligation of Agent under this Agrbement shall be excused to the extent that such
delays are caused by wars, national emergencies, nafural disasters, strikes, tabor disputes, utility failures, governmental
regulations, riots, adverse weather, and other similar cause not within the control of Agent, and any time periods required
for performance shall be extended accordingly.




                                           SECTION 25, COMPLETE AGREEMENT

This Agrcement including any specified attachments, constitutes the entire agreement between Partnership and Agent with
resPect to the management and operation of the Premises and supersedes and replaces any and all previous management
agreements entered into orland negotiated between Partnership and Agent relating to the Premises covered by this
Agreement. No change to this Agreement shall be valid unless made by supplemental written agreement executed and
approved by Parmership and Agent. Except as othenvise provided herein, any and all amendments, additions, deflections
to this Agreement shall be null and void unless approved by Partnership and Agent in writing. Each party to this Agreement
hereby acknowledges and agrees that the other party has made no warranties, representations, covenants, or agreements,
express or implied, to such parly, other than those expressly set forth herein, and that each pafty, in entering into and
executing this Agreement, has relied upon no warranties, representations, covenants, or agreements, expr€ss or implied, to
such party, otherthan those expressly set forth herein.




                                    SECTION 26, RIGHTS CUMULATIVE; NO                  WAMR
No right or romedy herein conferred upon or reseryed to either of the parties to this Agreement is intended to   be exclusive
of any other right or remedy, and each and every right and remedy shall be cumulative and in addition to any other right or
remedy given under this Agreement or now or hereafter legally existing upon the occurrence of an event of default under
this Agreement. The failure of either party to this Agreement to insist at any time upon the occurrence of an event of default
under this Agreement, The failure of either party to this Agreement to insist at any time upon the strict obseruance or
performance of any of the provisions of this Agreemen! or to exercise any right or remedy as provided in the Agreement,
shall not impair any such right or remedy or be constructed as a waiver or relinquishment of such right or remedy with
respect to subsequent defaults. Every right and remedy given by this Agreement to the parties to it may be exercised from
time to time and as often as may be deemed expedient by.those parties.




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                             SECTION 27, APPLTCABLE LAW AIyD PARTIAL INVALIDITY

The execution, interpretation, and performance of this Agreement shall in altaspects be controlled and govemed by the
laws of the State of PA           . If any part of this Agreement shall be declared invalid or unenforceablg Agent shall have
the option to terminate this Agreement by notice to Partnership.



                                                    SECTION 28, NOTTCES

Any notices, demands, coDsents, and reports necessary or provided for under this Agreement shatl be in writing and shall
be addressed as follows, or at such other address as Partnership and Agent individually may speci$ hereafter in writing:




PartncisLip:            Scarborouqhllews. LP

Such notice or other communication may be mailed by United States registered or certified mail, return receipt requested,
postage prepaid, and may be deposited in a United States Post Office or a depository for the receipt of mail regularly
maintained by the post office. Such notices, demands, consents, and reports may also be delivered by hand or by any other
receipted method or means permined by law. For purposes of this Agreement, notices shall be deemed to have been "give"
or "delivered" upon personal delivery thereof or forty-eight (48) hours after having been deposited in the United States
mails as provided herein.




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                                                     SECTION 29, NOTICDS

This agreement shall be binding upon the parties hereto and their respective personal representatives, heirs, adminish'ators,
executors, succcssors and assigns.




SIGNAi'URES




IN WITNESS WHEROIT, the parties hereto have affixed or caused to be al'fixed their respective signatures this
     larl.                        day   of Jr,mO-                    .20 l'7       .




Witness                                       .   Partncrship

                                              \,-*,"*l S,Ct-
                                                  Conrpany

                                                  Scr^rU"co-a\n- nnerus-                      tt'
                                                  Addrcss



                                                  City, State, Zip

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                                                                                                          "f
Submittcd by
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                        Exhibit G
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                              '   /"/i?/
           2*N/O'{z/L'&




          PROP=RTY MANAG=MTNT AGREEM ENT


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                                                                                                      "',,,;,-,-




REMINDER: This form has been prepared for general informational use
only. Because this sample contract does not represent the unique facts
and circumstances of your situation, it is highly recommended that you
seek legal advice from an appropriately licensed attorney.
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                          Property Management Agreement Sample

 For Property located at:                                                     .   Beginning on the

         day of                         and ending the end of


Owner:
                                                                                                     Agent:
                                                                                                   This
Agreement is made thrs           day   of                                          , by and between
                                                                                            (the "Owner")
and                                                                                        . (the "Agent").


SECTION     1   APPONT}IENT OF MANAGING AGENT

l.l   Appointment and Acceptance

Owncr hereby appoints Agent as sole and exclusive Agent of Owner to lease and managc thc
property described in paragraph 1.2 upon the terms and conditions provided herein. Agent accepts
the appointment and agrees to f'urnish the services   of its organization for the leasing and management
of the Premises; and Owner agrees to pay all expenses in connection with thosc scrvices.


I.2 Description of Premises

The Property to be managed by Agent under this Agrecment is known as

                                                                                             , located at
                                                                                    consisting of the land.
buildings, and other improvements located at
                                                                                             . in the State
of

1.3 Term


The term of this Agreement shall be for an initial period   of           year(s) (the "initial term") from
the                                              to                                                   and

including the last day   of                                            , and thereafter shall be
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autonratically renewed from year to year unless terminated as provided in sections        2l   or 27 herein.


Each   of said one-year renewal periods is referred to as a "term year."


1.4 Management Office


Add address if applicable


1.5   Apartment For On-Site Staff

Actct actdress i.f   appticabte.
                                                              /fu"7-*7
                                        ^-Z/'-/
sECrroN       2 BANK
                            ^"")))*&;
2.1 Operating (And/Or) Reserve
                                                 -4r"--.n
                                         Account(s)
                                                                          ^-^--Lr
                                                                             /
                                                       ,7
Agent shall establish a separate account(s) known        as the

                                                                                                 (andior)
Reserve Account(s), separate and apart from Agent's coryorate accounts, for the deposit of receipts

collected as described herein, in a bank or other institution whose deposits are insrred by the federal
govcrnmcnt.      Sr"rch   dcpository shall be selected by the Agent. Holvcver, Agcnt shall not be hcld
liable in the event of bankruptcy or failure of a depository. Funds in the Operating (andtor) Reserve
Account(s) remain the property of Owner subject to disbursement of expenscs by Agcnt as describcd
in this Agreement.


2.1.1 Initial Deposit and Contingency Reserve


lmrnediately upon commencement of this Agreement, Owner shall remit to Agent the sum                of
                          to be depositcd in the Operatirig (and/or) Reserve Account(s) as an initial deposit
representing the estimated disbursements to be made in thc first month following the commencement
of this Agreement, plus an additional sum of       S                    as a contingency reserve. Owner

agrees to maintain the contingency reserve stated above at all times in Operating (and/or) Reserve

Account(s) to enable Agent to pay the obligations of Owner under this Agrccmcnt as they become
due. Owner and Agent shall review the amount of the contingency reserve from time to time and
shall agree in writing on a new contingency reserve amount rvhen such is requircd.
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2.2 Security Deposit Account


Agent shall, if required by larv, maintain a separate interest-bearing account for tenant secrrity
deposits and advancc rcntals. Such account shall be maintained in accordance with applicable state

or local laws,   if   any.


2.3 Fidelity Bond


Agent shall cause all personnel who handle or are responsible for the safekceping olany monies              of
Owner to be covered by a fidelity bond in the amount of   $                           with a.o*nrry zler4tz<-zl
determined by A-eent. Such bond shall be sccurcd at Agent's expense.        If   a   tidclity bond cannot bc
obtained, an arrest and conviction bond shall be obtained at Agent's expense. Owner shall save
Agent harmless from any loss or damages caused by such personnel       if   no bond can be obtained.


SECTION 3 COLLECTION OF RENTS AND OTHER RECEIPTS


.l   Agent's Authority


Agent shall collect (and give receipts for, if necessary) all rents, charges and other amounts
receir,able on Owner's account in connection with the management and operation of the
Premises. Such receipts (except tenant's security deposits and advance rentals, which shall be
handled as specified inparagraphs 2.2 and 3.3 hereof; and special charges, which shall be handled as
specified in paragraphs 3.2 hereof) shall be deposited in the Operating (andior) Reserve Account(s)
maintaincd by Agent for the Premises.


3.2 Special Charges


If permitted by applicable law, Agent may collect from tenants any or all of the following: an
administrative chargc fbr latc payment of rent, a charge lbr returned or non-negotiable checks,         a

credit report fee, an administrative charge and/or broker's commission for subleasing. Agent need
not account to Owner for such charges and/or commission.


3.3 Security Deposits


Agent shall collect, deposit, and disburse tenants' security deposits in accordance with the terms          of
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each tenant's lease. Agent shall pay tenants interest upon such security deposits only ifrequired by

law to do so; otherwise, any interest earned on tenant security deposits is to bc retained by Agent    as

compensation for administering these funds. Agent shall comply with all applicable state or local

laws concerning the responsibility for security deposits and interest,    if   any.


SECTION 4 DISBURSEMENTS FROM OPERATNG (AND/OR) RESERVE ACCOUNT(S)

4.1   0perating Expenses

From the Operating (andor) Reserve Account(s). Agent is hereby authorizc-d to pay or rcimburse
itself fbr ali expenses and costs of operating the Premise.s and fbr all other sums duc Agent undcr this
Agreement. including Agent's compensation under section          17.


4.2 Debt Service


Owner shall give Agent advance written notice of at least 30 days if Owncr desircs Agent to make
any additional monthly or recurring paylncnts (such as mortgage indebtedness. general taxes, or
special assessments, or fire, steam boiler, or other insurance premiums) out of the proceeds from the
Premises. If Or'vner notifles Agent to make such payments afier the beginning of the term of this
Aglecment, Agcnt shall have the authority to name a new contingency reserve amount pursuant to
paragraph 2.1.1 of this Agreement, and Owner shall maintain this new contingency reserve amount at

all timcs in the Operating (and/or) Reserve Account(s).


4.3 Net Proceeds


To the extent that funds are available, and after maintaining the cash contingency reserve amount      as

specified in paragraph 2.1.   l, Agent   shall transmit cash balances to Owncr periodically, as
follows: monthly. Such periodic      cash balances shall be remitted to the follorving person(s), in the

percentage(s) specified, and at the address(es) shor,vn:




Name                                       o/o    Address
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SECTION 5 AGENT NOT REQUIRED TO ADVANCE FUNDS

In the event that the balance in the Operating (and/or) Reserve Account(s) is at any timc insufficient
to pay disbr.rsements due and payable under paragraphs 4.1 and 4.2 above, Orvner shall, immediately
upon notice. remit to Agent sufficient funds to cover the deficiency and replenish the contingency
reserve. [n no event shall Agcnt be required to use its own funds to pay such disburscme nts. Nor
shall Agent be required to advance any monies to Orvner, to the Security Deposit Account, or to the
Operating (and/or) Resen''e Account(s).


if   Agent elects to advance any money in connection with the Premises to pay any expenses for
Owner, such advance shall be considered a loan subject to repayment with interest, and Owner
hereby agrees to reimburse Agent, including interest as provided in paragraph 17.7. ard hereby
authorizes Agent to deduct such amounts liom any monies due Owner.


SECTION 6 FINANCT{L AND OTHER REPORTS

By thc tenth day of each month. Agent shall furnish owner    *rrn*K(             "3r:"r;(:;'-
disbursements from the opcration of the Premises during the previous month. In addition, Agent
shall, on a mutually acceptable schedule, prepare and submit to Owner such other reports as are
agrccd on by both     parties.                                                        /
                                                                  /&t+t z-uza/
It   is important   for the Owner to review these statements each month. Monthly reports are held
open to correct errors for 90 days, and then become final, subject to an annual audit that may
be required by the Owner per paragraph 6.1.
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6.1 Owner's Right To     Audit

Owner shall have the right to request periodic audits of all applicable accounts managed by Agent,
and the cost of such audit(s) shall be paid by Owner.


SECTION 7 ADVERTISING

Agent is authorized to advertise the Premises or portions thcreof for rent, using periodicals, signs,
plans, brochures, or displays, or such other means as Agent may dcem propcr and advisable. Agent
is authorized to place signs on the Prernises advertising the Premises for rent, pror-ided such signs

comply with applicable laws. The cost of such advertrsing shall be paid out of thc Operatinrr (andor)
Reserve Account(s). AII advertising shall make clear that Agent is the manager and NOT thc Owner
of the Premises. Nelvspaper ads that share space with other properties managed by thc Agent shall
be prorated based   on: Actual lineage of the ad devoted to the Owner's property plus a proratetl
share of any headlines and/or signature lines.


SECTION 8 LEASING AND RENTING

8.1 Agent's   Authority To Lease Premises

Agent shall use all reasonable efforts to keep the Premises rented by procuring tenants for the
Premises. Agent is authorized to negotiate, prepare, and execute all leases, including all renew'als
and extensions   of leases (and expansions of space in the Premises, if applicable) and to cancel and
modify eristing leases. Agent shall execute all leases as agent for the Owner. All costs of leasing
shall be paid out of the Operating (and/or) Reserve Account(s). No lease shall bc in exccss    of
           year(s) without written approval by Owner. The form of the lease shall be agreed upon by
Owner and Agent.


8.2 No Other Rental Agent


During the terrn of this Agrcement, Owner shall not authorize any other person. firm or corporation
to negotiate or act as leasing or rental agent with respcct to any lease lbr space in the
Premises. Owner agrees to promptly forward all inquiries about leases to Agent.


8.3 Rental Rates
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Agent is authorized to establish and change or revise all rents, fees, or deposits. and any other
charges chargeable with respect to the Premises.


8.4 Enforcement of Leases


Agent is authorized to institute. in Owner's name, all legal actions or proceedings for the
enforcement of any lease term, for the collection of rent or other incomc from the Premises, or for the
evicting or dispossessing of tenants or other persons from the Premiscs. Agcnt is authorized to sign
and serve such notices as Agent deems necessary fbr lease enfbrcement. including the collection       of
rent or other income. Agent is authorized, when expedient, to settle, compromise, and release such
lcgal actions or suits or reinstate such tenancies. Any monies for such settlements paid out by Agent
shall not exceed $                    without prior approval by Owner. Attorneys' fces, filing fees,
court costs. and other necessary expenses incurred in connection with such actions and not recovered
fi'om tenants shall be paid out of the Opcrating (and/or) Reserve Account(s) or reimbursed directly to
Agent by Orvner. Agent may select the attorney of its choice to handle such litigation.


SECTION 9 EMPLOYEES

9.1 Agent's   Authority to Hire

Agent is authorized to hire, supervise, discharge. and pay all servants, employees, contractors, or
other personnel necessary to be ernployed in the management. rnaintenance, and operation of the
Premises. All employees shall be deemed employees of the Owner, and Agent shall not be liable to
Owner or others fbr any act or omission on the part of such empioyees.     [/LA.Or/           &
                                                                  @'4
                                                                  I                  /'e/'*r
e.2   orrner pavs Emproyee    Expenses                                                  U

A11   wages and fringe bcnefits payable to such employees hired per paragraph 9.1 above, and all local,
state, and federal taxcs and assessments (including but not limited to Social Security taxes,

unemployment insrrance, and workers' compensation insrrancc) incident to the employment of such
personnel. shall be paid by Agerrt
personnel,                            of the Operating (gnd
                            Agent out olthe                       Resgrve Agcount(s).
                                                             or) ResS:rve
                                                       (ELndro-r)         Agcount(s).   fu"-/4/*4L
h-a,&/ *-       re             -ry/,ize, lzf r//e/-// 4-?./ /d4*'*T-d-
o I Agent's
9.3 Aron*'c Authority
            trrrhnrirr.rnto File Returns
                            Eilo D/or,,.-o '/"-"i4;/
                                           '/err.*/rlr-leZo ,Ah-tA''*' utVa-4
Agent shall do and perform all acts required of an employer with respect to the Premises and shall
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execute and file all tax and other returns required under the applicable federal. state. and local laws,
regulations. andior ordinances governing employment, and all other statements and repofis pertaining
to labor employed in connection with the Premises and under any similar fbderal or state law now or
hereafter in force. [n connection u'itli such filings, Owner shall upon request promptly execute and
deliver to Agent all necessary powers of attorney, notices of appointment. and the like. Owner shall
be responsible for all amounts required to be paid under the foregoing laws. and Agent shall pay the

samc frorn thc Opcrating (andior) Reserve account(s).


9.4 Workers' Compensation Insurance


Agent shall, at Olvner's expense, maintain workers' compensation insurance covcring all liability           of
thc e mploycr under established workers' compensation laws.


9.5 Hold Harmless, Labor Laws


Agent shall be   re   sponsible for compliance with all applicable state or federal labor laws. Owncr shall
indemnify, defend. and      sar,'e   Agent harmless tiom all claims, investigations. and suits. or from
Owner's actions or failures to act, with respect to any alleged or actu,al violation of state or f-ederal
labor laws. Olvner's obligation with respect to such violation(s) shall include payment of all
settlements, judgments. damages, Iiquidated damages, penalties, forfeitures. back pay awards, court

costs, litigation expenses. and attorneys' fees.


SECTION IO MAINTENANCE AND REPAIR

Agent is authorized to make or cause to be made, throu-eh contracted services or otherwisc, all
ordinary repairs and replacements reasonably necessary to preserve the Premises in its present
condition and tbr the operating etfrciency of the Prcmises. and all alterations required to comply with
lease requirements.     go!ernlxental rcgLrlations, or insurance reqrdrements. Agent is also authorized to
decorate the Premrses and to purchase or rent, on Owner's behalt, all equipment, tools. appliances,
matcrials, supplies, unifbrms, and other items nccessary lbr the management, maintenance, or
operation ofthe Premises. Such maintenance and decorating expenses shall be paid out ofthe
Operating (and/or) Reserve Account(s). This section applies except where decorating and/or
maintenance are at tenants' expcnse as stipulated in a lease.


l0.l Approl'al For Exceptional            Nlaintenance Expense
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The expense to be incured for any one itenr of maintenance, alteration. ref-urbishing. or repair shall
not exceed the sum ofS                     . unless such expense is spccifically authorized by Owner,
or is incured under such circumstances as Agent shall reasonably deem to be an emergency. In an
emergency r.vhere repairs are immediately necessary for the preservation and safety of the Premises.
or to avoid the suspension of any essential service to the Premises, or to avoid danger to litb or
property, or to comply with federal, state. or local lar,v, such emergency rcpairs shall be made by
Agcnt at Owncr's cxpense without prior approval.


SECTTON I1 CONTRA.CTS, UTILITIES AND SERVICES


Agent is authorized to negotiate contracts for nonrecurring items of expense, not to exceed
                    tmless approvcd by Owner, and to enter into agreements in Ow.ncr's name fbr all

necessarv repairs, maintenance. minor alterations, and   utility services. A-gent shall. in Orvner's name
and at Owner's expcnsc, make contracts on Owner's behalf for electricity, gas. telcphonc, fuel, or

water, and such other services as Agent shall deem necessary or prudent for the operation of the
Premiscs. AII utility deposits shall be the Orvner's responsibility, except that Agent may pay same
from the Operating (and/or) Reserve Account(s) at Orvner's request.


SECTION 12 RELATIONSHIP OF AGENT TO OWNER

The retationship of the parties to this Agreement shall be that of Principal and Agcnt, and all duties to
be performed by Agent under this Agreement shall be for and on behalf of Owner. in Owner's name.

and for Owner's account. In taking any action under this Agrcement, Agent shall be acting only as
Agent fur Owner, and nothing in this Agreement shall be construed as creating a parlnership, joint
venture. or any other relationship between the parties to this Agreement except that of Principal and
Agent, or as requiring Agent to bear any portion of losscs arising out of or connected with the
ownership or operation of the Premises. Nor shall Agent at any time during the period of this
Agreement be considcrcd a direct employee of Owncr. Neither party shall have the power to bind or
obligate the other except as expressly set forth in this Agreement, except that Agent is authorized to
act with such additional authority and power as may be necessary to carry out the spirit and intent   of
this Agreemcnt.


SECTION 13 SAVE HARMLESS
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                Owner shall indemnify. defend" and save Agent harmless from all loss, danrage, cost. expense
                (including attorneys' fees), liability, or claims fbr pcrsonal injury or propcrty damage incurred or
                occurring in, on, or about the Premises.


                SECTION 14 LIABILITY INSURA.NCE

                Owner shall obtain and keep in force adequate insurance against physical damase (e.g.. fire lvith
                extertded coverage endorsement, boiler and machinery, etc.) and against        liability for loss, damage. or
                injury to property or persons which might arise out of the occupancy, management. opcration, or
                maintenance of the Premises. The amounts and tlpes of insurance shall be acccptable to both Owner
                and Agcnt, and any dcductible required under such insurance policies shall be Orvncr's

                expense. Agent shall be covered as an additional insured on all liability insurance maintaine.d with
                respect to the Premises.      Liability insurance shall be adequate to protect the intcrests of both Ow,ner
                and Agcnt and in      forrn   substancc. and amounts reasonably satisfactory to Agent. C)rvner agrees to

         y fu   fwntsh Agent with certificates evidencing such insurance or with duplicate copies of such policies

n,{"a{^
UY'- L l)
                r,r   ithin 30 days of the cxccution of this Agreement. If Owner fails to do so, Agcnt may, but shall not
     t -
                be obligated to, place said insurance anil charge the cost thereof to the Operating (and/or) Reserve

                Account(s). Said Policies shall provide that notice of default or cancellation shall be sent to Agent         as

                well as Orvner and shall require a minimum of 30 days' written notice to Agent betbre any
                cancellation of or changes to said policies.                                     t (, a
                                                                                irfu"-r"/
                                                                                       (/'
                SECTION I5 AGENT ASSUMES NO LIABILITY

                Agent assumes no liability whatsoever for any acts or omissions of Ow'ner. or any previous owners             of
                the Premises, or any prev'ious managemcnt or other agent of either. Agent assumes no          liability for
                any failure of or default by any tenant in the payment of any rent or other charges duc Or,vner or in
                the performance of anv obligations orved by any tenant to Owner pursuant to any lease or

                otherwise. Nor does Agcnt assumc any liability for previously unknown violations of environmental
                or other regulations which may become known during the period this Agreement is in eff'ect. Any
                such regulatory violations or hazards discovered by Agent shall be brought to the attention of Owner

                in writing, and Owner shall promptly cure them.


                SECTION I6 OWNER RESPONSIBLE FOR ALL EXPENSES OF LTTIGATION
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Owner shall pay all expenses incurred by Agent, including, but not limited to, reasonable attomeys'
t-ees and    Agent's costs and timc, and any liability, fines, penalties or the like. in connection with any
clainr. proceeding, or suit involving an alleged violation by Agent or Owner, or both, of any law
pertaining to fair employment, fair credit reporting, environmental protection, rent control, taxes, or
f-air housing, including, but not limited to, any law     prohibiting or making illegal discrimination on the
basisofrace. sex. creed. color, religion, national origin. or mental orphysical handicap, provided,
however, that Owner shall not be responsible to Agcnt for any such expc-nscs in the event A-qent is
finally adjudged to have personally, and not in a representativc capacity. violated any such
law. Nothing contained in this Agreement shall obligate Agent to employ legal counsel to rcpresent
Owner in any such proceeding or suit.


16.1 Fees     for Legal Advice

Owner shall pay rcasonable expenses incurred by Agent in obtaining legal advice regarding
compliance rvith any law affectin_e the Premises or activities related to them.      If   such expenditure also

benefits others for rvhom Agent in this Agreemcnt acts in a similar capacity, Orvner agrees to pay an
apportioned amount of such expense.


SECTION 17 AGENT'S COMPENSATION AND EXPENSES

As compensation for the services provided by Agent under this Agreement (and exclusive              ol
reimbursement of expenses to which Agent is entitled hereunder), Owner shall pay Agent as follows:


17.1 For llanagement Services


The greater of     (i)   $   Qt 7 00       per month or   (ii) 7        % of the total monthly    gross   cL

receipts frorn the Premises, payable by the 25th day of the current month for the duration of         this-_--z-..,$
                                                                                                           c/'-vV*
Agreemcnt. Payme nts due Age nt lbr periods of less than a calendar month shall be prorated over               the
                                                                                                                     %
number of days for which compcnsation is due. The percentage amourlt set forth in             (ii) above shall
be based upon the total gross rcceipts from the Premises during the preceding month.


The term "gross receipts" shall be deemed to include all rents and other income and charges from the
normal operation of the Premises, including, but not limited to, rents, parking fees, laundry income,
forfeited security deposits, pet deposits, other fees and deposits, and other miscellaneous
income   ,   Cross rece ipts shall NOT be deemcd to include the special chargcs listed in paragraph 3.2,




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                     or excess interest on security deposits (from paragraph 3.3), or income arising out of the sale of real
                     property or thc scttlement of trre or othcr casualty losses and items of a similar naturc.


                     17.2 For Apartment Leasing


                     New    1   Year lease ist/z of lst month's rent; Renewal of a       I Year lease   is   1/.t
                                                                                                                    of lst month      rent.


                     New 6 Month lease is      '/q   of   lst month's rent: Renewal 6 Month lease is li 8           of   l st month   rent. ,2t 'n*-'-.r/

                     17.3 For Commercial Leasing


                     Not applicable


                     17.4   For Nlodernization (Rehabilitation/Construction) Repairs & Replacements

                     59ztlofthegroSSamountofanysinglecontractorbiIlexceeding$-willbechargedJ7
                     for supervision. unless handled directly by the owner.                  ,/--;rr                r/ L                      "----4-
                                                                                                                               'r-/^
                     17.5   For Fire Restoration

                     Some os paragraph 17.4.


                     17.6 For Other Items of Nlutual Agreement


             )'"'\   The Agent is to have the privilege of re-r,vriting any insurance, at competitive rates, on the property
 ,.' z/'da
/.2-'{'              expiring during the life of this contract, but      will   not be held responsible for the writing of said
                     insurance. A company of comparable rating must be used. The Owner understands that the Agcnt is
                     directly involved as a partner in a full-line insurance agency. At the Ou'ner's direction- the Agent
                     will sccurc competitive bids vearlv.
                            /1      qrz-J * li ?r,{o*-r---,a7r, 4,4 A zrz-r"-(/4lo 7, **o
   "&/                 /e-.'>-r-'
                     17.7 Interest onlUnpaitl Sums ['
                                                      4 .ft''-' /tzz-art
                                                                               (/

                     Any sums due Agent under any provision of this Agreement, and not paid within 10 days after quch
                     sums have become due. shall bear interest at the rate          of 10% pcr   annum.                      C'*1r--(         l' 7   o


                     SECTION 18 REPRESENTATIONS
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Owner represents and warrants: That Owner has full power and authority to enter this Agreement:
that there are no written or oral agrcements aff'ecting the Premiscs other than tcnant leascs, copies     of
which have been ftunished to Agent; that there are no recorded easements. restrictions, reservations,
or rights of r,vay which adversely affect the use of the Premises for the purposes intended under this
Agreement; that to the best of Owner's knowledge, the property is zoned fbr the intended use; that all
leasing and other permits for the operation of the Premises have been securcd and are current; that

the building and its construction and opcration do not violate any applicable statutcs. laws,

ordinances, rules, regulations, orders, or the like (including, but not limited to, those pertaining to
hazardous or toxic substances); that the building does not contain any asbestos. urca. tbrmaldehyde,
radon. or other toxic or hazardous substance; and that no unsafe condition exists.


SECTION 19 STRUCTURA.L CHANGES

Owncr cxpressly lvithholds from Agent any power or authority to make any structural changes in any
building, or to make any other major alterations or additions in or to any such building or to any
equipment in any such building. or to incur any expense chargeable to Owner other thau expenses
related to exercisin_q the exprcss powers vested in Agent through this Agreement, without the prior
w'ritten consent of the following person:


Name:
However, such emergency repairs as may be required becausc of danger to life or property, or r.vhich
are immediately necessary for the preservation and safety of the Premises or the safety of the tenants

and occupants thereof, or required to avoid the suspension of any necessary service to the Prernises,

or to conrply with any applicable federai, state, or local laws, regulations, or ordinances, shall bc
authorizcd pursu.?nt to paragraph 10.1 of this Agreement, and Agent shall notity Owner
appropriately.


SECTION 20 BUILDING CO}IPLIANCE

Agent does not assllme and is given no responsibility for compliance of the Premises or any building
thereon or any equipment thcrcin with the requirements of any building codes or wit any statue,
ordinance, law, or regulation of any goverrrment body or of any public authority or official thereof
having jurisdiction, except to notify Owncr promptly or forward to Owner promptly any complaints,
warnings, notices, summonses received by Agent relating to such matters. Owner represents that to
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the best of Orvner's knowledge the Premises and all such equipment comply with all such

requircments, and Owner authorizes Agent to disclose the ownership of thc Premrses to any such

officials and agrees to indemnify and hold Agent, its representatives, servants. and empioyees.
harmless of and from all loss. cost, expense. and liability u,hatsoever rvhich may be imposed by
reason of any present or future violation or alleged violation          of such laws. ordinances, statues, or
regulations.


SECTION 2I TERMNATION




21.1 Termination by Either Party


This Agreement may be terminated by either Olvner or Agent, with or without                cause . at the end   of
the initial term or     olany fbllowing tcrm year upon the giving of 30 days' written notice prior to thc
end    of said initial term or following term year.                                                 GO

21.2 Termination         for Cause

Notwithstanding the foregoing, this Agreement shall terminate in any event. and all obligations of the
parties hereunder shall cease (except as to liabilities or obligations which have accmed or arisen prior
to   st-tch   termination, or which accrue pursuant to paragraph 2l.3 as a result of such termination, and
obligations to insure and indemnify), upon the occurrence of any of the follor.ving events:


                      (a) BREACH OF AGREEMENT              -   Thirty (30) days after the receipt of notice by
                      either party to the other specifying in detail a material breach of this Agreement.        if
                      such breach has not been cr.u'ed   within said thirty (30) day period; or if such breach is
                      of a nature that it cannot be cured within said thirty (30) day period but can be cured
                      within a reasonablc time thereafter. if eflorts to curc such brcach have not
                      commenccd oriand such efforts are not proceeding and being continued diligently
                      both during and aftcr such thirty (30) day period prior to the breach being
                      cured. HOWEVER, the breach of any obligation of either party hereunder to pay any
                      monies to the other party under the terms of this Agreement shall be deemed to be
                      curable within thirty (30) days.




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                  (b) FAILURE TO ACT, ETC. - In the event that any insurance required of Owner is
                  not maintained without any lapse, or it is allcged or charged that the Premises, or any
                  portion thereof, or any act or failure to act by Owner. its agent and ernployees with
                  respect to the Premises, fails to comply rvith any lar,l'' or regulation, or any order or

                  ruling of any ptrblic authority, and Agent, in its sole discretion, considers that the
                  action or position of Owner or its representatives rvith rcspect thereto may result in

                  damage or     liability to Agcnt, or disciplinary proceeding with respcct to Agent's
                  license, Agent shall have the right to terminate this Agrcemcnt at any tirne by written
                  notice to Ou,'ner of its election to do so. which termination shall bc ef'fective upon the
                  service of such notice. Such termination shall not release the indemnities of Olvner
                  set forth herein.


                  (c) EXCESSIVE DAMAGE             - Upon the destruction of or substantial damage    to the
                  Premises by any calrse. or the taking of all or a substantial portion of the Premises by

                  cminent domain, in either case making it impossible or impracticable to continuc
                  operation of the Prcrniscs.


                  (d) INADEQUATE INSURANCE               - If Agent deems that the liability   insuance
                  obtained by Owner per section      l4 is not reasonably satisfactory to protect its interest
                  under this Agreement, and if Owner and Agent cannot agree as to adcquate insurance,
                  Agent shall have thc right to cancel this Agreement upon the service of notice to
                  Owner.


2   1.3   Termination Compensation                  NIonth Minimum


If (i) Owner terminates this Agreement before the end of the initial tcrm of any        subseque nt term year

as   provided in paragraph    2 1.1 above   for any reason other than for a breach by Agent under paragraph
21.2(a) above, or   it(ii)   Agent terminates this AgTeement for a breach by Orvner under paragraph
21.2(a) above or pLrsuant to the provisions of paragraphs 21.2(b) or 21.2(d) above, then in any such
event, Owner shall be obligated to pay Agent as liquidated damages an amount equal to the
management fee earned by Agcnt. as determined under paragraph 17.1 above, fbr the calendar month
immediately preceding the month in which the notice is given to Agent or to Owner, multiplied by
the number of months and/or portions thereof rernaining frorn the termination date until the end          of
the initial term or term ycar in which the termination occurred. Such damages, plus any amoLrnts




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accruing to Agent prior to such termination. shall be due and payable upon termination of this
Agreement. To thc extcnt that lunds are available, such sums shall be payable fiom thc Operating
(and/or) Reserve Account(s). Any amourt due in excess of the funds available from the Operating
(and/or) Reserve Account(s) shall be paid by Owner to Agent upon demand.


21.4 Orvner Responsible For Payments


Upon termination of or withdrarval from this Agreement, Owner shall assume the obligations of any
contract or outstanding   bill executed by Agent under this Agreement fbr   and on bchalf of Owner and

responsibility for payment of all unpaid bills. In addition. Owner shall furnish Agent securitv. in an
amount satisfactory to Agent, against any obligations or liabilities which Agent may have propcrly
incurred on Owner's behalf under this Agreement.


Agent may withhold funds for ninety (90) days after the end of the month in which this Agreement is
terminated. in order to pay bills previously incurred but not yet invoiced and to close
accounts. Agent shall deliver to Owner, within ninety (90) days after the end of the month in which
tliis Agreement is terminated, any balance of monies due Owner or of tenant security deposits, or
both. which were held by Agent 'uvith respect to the Premises. as well as a final accounting reflecting
the balance of incomc and expenses lvith respect to the Premises as of the date of tcrmination or

withdrawal, and all records, contracts, leases, receipts fbr deposits, and other papers or documents
w'hich pertain to the Premises.


21.5 Sale of Premises


In thc cvent that the Premises are sold by Orvner during the period of this Agreement, Agent shall
have exclusive riglrts of representation in the salc as stated in a specific sales agrecment to be

negotiated separately. Upon transfer of ownership, this Agreement shall terminate by mutu.ll consent
of Owner and Agent uncler thc tcrms and conditions set forth bclow. (See Addendum A)


In the event of any sale, the Agent shall receil'e   a           7o sales commission based on the
gross sales   price. This exclusive right-to-sell shall survive the termination of this agreement for
120 days.


SECTION 22 INDEMNIFICATION SURVT!'ES TERMINATION
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All representations   and warranties of the parties contained herein shall survive the termination of this

Agreement. All prol'isions of this Agreement that require Owner to har,'e insurcd or to defend,
reimburse, or indemnify Agent (inciuding, but not limited to, paragraphs 2.1,    2.3,5.8.1,9.2,9.5,    13,

14, 15. 16.17.1,20.21.3,and21.4)shall sur'"iv'eanytermination; andifAgentisorbecomes
involved in any proceeding or litigation by reason of having bcen Owner's Agent, such provisions
shall apply as   if this Agreement were still in effect.

SECTION 23 HEADNGS

All   headings and subheadings employed within this Agreement and in the accompanying List        of
Provisions are inserted only for convenicnce and ease ofreference and are not to bc considcred in the
construction or interpretation of any provision of this Agreement.


SECTION 24 FORCE MAJEURE

Any delays in the perfbrmance of any obligation of Agent under this A-creement shall be excused to
the extent that such delays are caused by wars, national emergencies. natural disasters, strikes, labor

disputcs. utility tailures. go!ernrnental regulations, riots, adverse weather, and other similar causcs

not within the control of Agent, and any time periods required for performance shall be extended
accordingly.


SECTION 25 COMPLETE AGREEMENT

This Agrcement, including any specified attachments. constifutes the entire agreement betweeu
Owncr and Agent with respect to the management and operation of the Prcmiscs and supersedes and
replaccs any and all previous management agreements entered into or/and negotiated between Owner
and Agcnt relating to the Premises covered by this Agrecment. No change to this Agpeement shall be

valid unless made by supplemental r,l,ritten agreement executed and approved by Owner and
Agent. Except as otherw'isc pror.ided herein. any and all amendments, additions, or deletions to this
Agreement shall be null and void unless approved by Owner and Agent in writing. Each party to this
Agreernent hereby acknowledges and agrees that the other party has made no warranties.
representations, covenants, or agreements, express or implied, to such party, other than those
expressly set forth herein, and that each party, in entering into and executing this Agreement, has
relied upon no warranties. representatious, covenants. or agreements, express or implied. to such




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party, other than those expressly set forth herein.


SECTION 26 RIGHTS CUNIULATNE; NO WAwER

No right or remedy herein conferred upon or resen'ed to either of the parties to this Agreement is
intended to bc cxclusivc of any other right or remedy, and each and evcrv riglrt and rcmedy shall be

cumulative and in addition to any other right or remedy given under this Agce ment or now or
hereafter legally existing upon the occllrreuce of an event of default undcr this Agrecment. The

failure of either party to this Agreement to insist at any time upon the strict obscrvance or
performance of any of the provisions of this Agreement, or to exercise any right or remcdy as
providcd in this Agrccmcnt, shall not impair any such right or remedy or be construed as a vvaivcr or
relinquishment of such right or remedy with respect to subsequent dethults. Er cry right and remedy
given by this Agreement to the parties to     it may be exercised from time to tir-ne and as often as may
be dee med expedient by those parties.


SECTION 27 APPLICABLE LAIV AND PARTIAL INVALIDITY


The execution, interpretation, and performance of this Agreement shall in all respects be controlled

and governed by the laws of the State    of                                    . Ifany   part ofthis
Agreement shall be declared invalid or unenforceable, Agent shall have the option to terminate this
Agreement by notice to Owner.


SECTION 28 NOTICES

Anv notices, demands, consents, and reports necessary or provided for undcr this Agrecmcnt shall be
in writing and shall be addressed as follows. or at such other address    as   Owner and Agent
individually may specify hereafter in writing:




Agent:




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Owner:

Mailing
Address:




Contact
Phone:

Contact
Email:




Such notice or other communication may be mailed by United States registered or certified mai[,
return receipt requested, postage prepaid, and may be deposited in a United States Post Office or    a

depository for the receipt of mail regularly maintained by the post office. Such notices, demands,
consents. and reports may also be delivered by hand or by any other receipted method or mcans

perrnitted by   law. For purposes of this Agreement, notices shall   be deemed to have been "given" or
"dclil'cred" upon personal delivery thereof of fbrty-eight (48) hours aftcr having been deposited in
the United States mails as provided herein.


SECTION 29 AGREE}IENT BNDNG UPON SUCCESSORS AND ASSTGNS




This Agreement shall be binding upon the parties hereto and their respective personal
                                                                                             ,'rZ,r'r"n   U"-/
representatives, heirs, administrators, executors. successors and assigns.
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Signatures

 IN WITNESS WHEREOF. the parties hercto havc affixcd or caused to be aftixed thcir rcspective

signatures this   _     day   of

Witnesses:


Owner:


Agent:   .




PRO By:

Submitted bv:


State   of

County       of

The foregoing instrument was acknowledged, subscribed and swom before me    this        day   of
                                      ,by




My
Commission
Expires:

                  Notary Public




                                               2{)
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State   of




County   of

The forcgoing instrument was ackno'uvledged, subscribed and sworn betbrc me   this _   day   of



by


My
Commission
Expires:

              Notary Public
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                        Exhibit H
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                                   James F. Proud Esq., P.C.
                                       25 E2nd Street
                                      Media, PA 19063
                                         6ta-892-77A0
                                     jfproud@gmail.com


                                              February 21,2018

Via E-Mail: mediastation@verizon,net

Brooke P. Cottman
1015 Brooks Lane
Delray Beach, Florida 33483

       Re:      Proposed Loans from New York Community Bank
                to Media Station, L.P. and Tunbridge, L.P.

Dear Mr. Cottman:

        As you may be aware, I have recently been retained to replace Kevin Flynn as the Director
of the Class A stock for Media Station, Inc., Tunbridge, Inc., Scarborough Mews, Inc. and Ventura,
Inc. I am confident that we can work together in a positive and profitable relationship, and you
can reach out to me anytime to discuss these businesses.

         I am familiar with the proposed loans from New York Community Bank to Media Station,
L.P. and Tunbridge, L.P. As you know, my predecessor Kevin Flynn had reserved the right to
approve the amount of the loan and other terms. Nevertheless, you have proceeded unilaterally by
setting the loan amounts as well as the language of the note, mortgage and related loan documents.
We learned yesterday that these loans were scheduled to close tomorrow, February 22,2018, and
that the last condition of the loan closing was the submission of the Ownership and I.D. Forms for
Bodo Family of Media Limited Partnership, which need to be signed by Deborah Convery and
Shirley Bodo. I am attaching those signed forms, and consent to their submission to the bank,
provided that the following conditions are satisfied:

           1.   AptRentz, LLC shall not receive payments or act as the construction manager or
                property manager. An independent construction manager shall be retained no later
                than March 6,2018 to oversee the renovation projects and the spending of the loan
                proceeds, with full transparency being provided as to the spending of the loan
                proceeds. Branch Coslett and maintenance supervisor Richard Beckley met with
                and apparently approved of Bob Ellis as a prospective construction manager, and
                we would agree to Bob's appointment if you would also agree.

           2.   No later than March 6,2018, an independent advisor/director shall be appointed
                pursuant to Section 4.03(b) of the Bylaws.
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           3.   Section 11.1(ll) of the proposed Mortgages and section 14 of the Commitment
                Letters contain a representation and warranty that that there is no suit pending
                against or affecting the Borrower or any Principal of the Bonower (either direct or
                indirect), so these terms must be modified in light of the pending suit, or the suit
                must be discontinued before closing on the loans.



        Provided that the above conditions are met, you are authorized to submit the attached forms
to the bank, and to proceed with the closing on the loans.

       I look forward to a very positive and profitable relationship going forward.

                                                         yours,




       Michael N. onufrak, Esquire (wlencl.) (via E-Mail: @whiteandwilliams.com)
       Guy N. Paolino, Esquire (w/encl.) (Via E-Mail: gpaolino@fbpdlaw.com)
       Dr. H. Branch Coslett (w/encl.) (Via E-Mail: hbc@mail.med.upenn.edu)
       Edward P. Lawlor, Esquire (wlencl.) (Via E-Mail: elawlor3@gmail.com)
       H. Fintan McHugh, Esquire (w/encl.) (Via E-Mail: hfm@petrikin.com)
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                         Exhibit I
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Brooke Cothan




July 30, 2018

By E-Mail

Jarnes F. Proud, Esquire
201 W. Front Street
Medi4 PA 19063

Dr. H. Branch Coslett
2003 Wallace Street
Philadelphia, PA 19130

Re. Payments to AptRenE,      LLC
Gentlemen:

As you know, the Directors of Tunbridge and Scarborough Mews recently voted in favor of
paFng AptRentz the past-due management and renovation fees owed under its contacts with
Tunbridge and Scarborough Mews. The vote was 2-0 in favor of issuing the payments. I note
that Jim Proud refused to vote despite serving as the Director for the Bodo family stockholders.
Please be advised that the payments have been made to AptRentz and the detailsshould be
available on AppFolio.

With respect to Media Station, it was and is my position that the previous Director for the Bodo
family interests (Kevin Fly..) approved the AptRentz contact for Media Station. The terms of
AptRentz's agreement with Media Station are similar to those in place for Tunbridge. The total
past due management and renovation fees due AptRentz from Media Station is currently
$t70,463.23.

N-otwithstanding Kevin Flynn's prior approval of the AptRentz-Media Station agreement, in an
effort to avoid additional conflict I proposed that the current Directors of Media Station vote on
whether to authorize payment of the fimds. Despite my numerous pleas, as well as those of my
attorneys, Jim Proud refused to vote on the issue when it was raised at the meeting and has noi
met with me or my attomeys to discuss this matter afterwards. My attorney sent detailed
information about the AptRentz debt to Jim and offered to meet with him to resolve the issue.

At present it is unclear whether Jim Proud intends to take action to discharge his duties as a
Director of Media Station. It is also unclear whether Jim Proud is a full-fledged Director having
all of the powers, rights, and responsibilities bestowed upon a Director underPennsylvania law.
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Under the circt'mstances, I intend to pay the disputed sum of $170,463 .23 intoescrow
                                                                                      on the
fust of August.

I   ask Jim to call me   ormy attorney to resolve this issue.

Sincerely,



Brooke P. Cottnan


cc:      Guy Paolino, Esquire
         Michael N. Onufralq Esquire
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       Lrnler the circumstaaces, I intend to pa1' the disputcd sum of    $ 170   ,#3.z1inre cxrorv or   the
       first olAugust.

       I ask Jim to call   nae   or.qy attorney & rqsohe this   issue,

      Sincerely.

    -T3r.-}u-J(
      tsrookeP. Cortman
                                    W
      cc:     Guy Paolinr, Esgrrirc
              Mishasl N. Onuhr!, Esquire
